        USCA Case #21-3072       Document #2077668            Filed: 10/01/2024    Page 1 of 477




                         ORAL ARGUMENT NOT YET SCHEDULED

                                          No. 21-3072
                    (consolidated with Nos. 21-3073, 21-3078, 22-3016, 23-3015)

                                                In the

                    United States Court of Appeals
                                 for the District of Columbia Circuit
                                          _______________

                             UNITED STATES OF AMERICA,

                                                         Appellee,

                                                  v.

                       SEAN COATES, WILLIAM K. SWEENEY,
                    JEROME MARTIN, JR., AND SAMUEL CARSON,

                                                         Appellants.
                                          _______________

                                         On Appeal from the
                       United States District Court for the District of Columbia
                          (Nos. 1:98-cr-00329-RCL-002, -003, -004, -006)
                                          _______________

                               APPELLANTS’ APPENDIX

                                        Volume III of V




(Page 1 of Total)
        USCA Case #21-3072      Document #2077668         Filed: 10/01/2024   Page 2 of 477


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(Page 2 of Total)
        USCA Case #21-3072                     Document #2077668                          Filed: 10/01/2024               Page 3 of 477



                                                         TABLE OF CONTENTS

                                                                                                                                   PAGE(S)

         VOLUME I (APP 1–141)
         United States District Court Docket Report, Case No. 98-329
            (accessed September 27, 2024) .................................................................................. App 1–141

         VOLUME II (APP 141–575)
         Excerpts of Transcript
            (September 27, 2000) ............................................................................................. App 142–147

         Excerpts of Transcript
            (December 10, 1996) ............................................................................................. App 148–150

         Excerpts of Transcript
            (June 8, 2000)......................................................................................................... App 151–173

         Excerpts of Transcript
            (January 8, 2001) (AM) ......................................................................................... App 174–177

         Excerpts of Transcript
            (January 10, 2001) (AM) ....................................................................................... App 178–188

         Excerpts of Transcript
            (January 23, 2001) (PM) ........................................................................................ App 189–193

         Excerpts of Transcript
            (January 24, 2001) (AM) ....................................................................................... App 194–212

         Excerpts of Transcript
            (January 30, 2001) (PM) ........................................................................................ App 213–217

         Excerpts of Transcript
            (February 1, 2001) (AM) ....................................................................................... App 218–225

         Excerpts of Transcript
            (February 5, 2001) (AM) ....................................................................................... App 226–241

         Excerpts of Transcript
            (February 8, 2001) (PM) ........................................................................................ App 242–260

         Excerpts of Transcript
            (February 12, 2001) (AM) ..................................................................................... App 261–274




(Page 3 of Total)                                                          i
        USCA Case #21-3072                    Document #2077668                         Filed: 10/01/2024              Page 4 of 477



         Excerpts of Transcript
            (February 13, 2001) (AM) ..................................................................................... App 275–290

         Excerpts of Transcript
            (February 15, 2001) (PM) ...................................................................................... App 291–299

         Excerpts of Transcript
            (March 7, 2001) (PM) ............................................................................................ App 300–322

         Excerpts of Transcript
            (March 12, 2001) (PM) .......................................................................................... App 323–357

         Excerpts of Transcript
            (March 13, 2001) (PM) .......................................................................................... App 358–375

         Excerpts of Transcript
            (March 14, 2001) (AM) ......................................................................................... App 376–395

         Excerpts of Transcript
            (March 14, 2001) (PM) .......................................................................................... App 396–409

         Excerpts of Transcript
            (March 15, 2001) (AM) ......................................................................................... App 410–435

         Excerpts of Transcript
            (April 4, 2001) (AM) ............................................................................................. App 436–455

         Excerpts of Transcript
            (April 9, 2001) (AM) ............................................................................................. App 456–462

         Excerpts of Transcript
            (April 9, 2001) (PM) .............................................................................................. App 463–466

         Excerpts of Transcript
            (April 24, 2001) (PM) ............................................................................................ App 467–469

         Excerpts of Transcript
            (April 25, 2001) (AM) ........................................................................................... App 470–476

         Excerpts of Transcript
            (May 1, 2001) (AM) .............................................................................................. App 477–485

         Excerpts of Transcript
            (May 23, 2001) (AM) ............................................................................................ App 486–496

         Excerpts of Transcript
            (May 23, 2001) (PM) ............................................................................................. App 497–514




(Page 4 of Total)                                                        ii
        USCA Case #21-3072                    Document #2077668                         Filed: 10/01/2024               Page 5 of 477



         Excerpts of Transcript
            (May 29, 2001) (PM) ............................................................................................. App 515–531

         Excerpts of Transcript
            (May 30, 2001) (AM) ............................................................................................ App 532–541

         Excerpts of Transcript
            (June 14, 2001) (PM) ............................................................................................. App 542–550

         Excerpts of Transcript
            (June 26, 2001) (AM) ............................................................................................ App 551–565

         Excerpts of Transcript
            (June 26, 2001) (PM) ............................................................................................. App 566–569

         Excerpts of Transcript
            (July 2, 2001) (PM) ................................................................................................ App 570–575

         VOLUME III (APP 576–1043)
         Sweeney Motion to Compel Discovery Number 1
            (February 9, 1999) (Doc. 71) ................................................................................. App 576–602

         Carson Motion for Dismissal of Counts, to Compel Disclosure of Exculpatory Evidence,
            and for Additional Sanctions Due to Violations of Brady v. Maryland
            (July 16, 2000) (Doc. 329) ..................................................................................... App 603–616

         Sweeney Motion to Admit into Evidence the Maryland Grand Jury Testimony of Two
            Unavailable Witnesses Who Were Introduced
            by the State’s Attorney for Prince George’s County
            (November 2, 2000) (Doc. 450).............................................................................App 617–620

         Order Denying Motions to Compel (Jackson, J.)
            (September 28, 2000) (Doc. 451) .......................................................................... App 621–625

         Carson Motion to Adopt William Sweeney’s Motion to Admit into Evidence the Maryland
            Grand Jury Testimony of Two Unavailable Witnesses Who Were Introduced by the State’s
            Attorney for Prince George’s County
            (November 6, 2000) (Doc. 452)..................................................................................... App 626

         Government’s Memorandum in Opposition to Sweeney and Hill’s Motions for Admission of
            Grand Jury Testimony of Unavailable Witnesses
            (November 16, 2000) (Doc. 481) ........................................................................... App 627–632

         Second Retyped Indictment
            (July 2, 2001) (Doc. 760) ....................................................................................... App 633–711




(Page 5 of Total)                                                        iii
        USCA Case #21-3072                     Document #2077668                           Filed: 10/01/2024               Page 6 of 477



         Verdict Form
            (August 16, 2001) (Doc. 810) ................................................................................ App 712–749

         Order Denying Appellants’ Motion to Allow Counsel to Review Specific Sealed Portions of the
            Trial Record
            (August 28, 2003) (USCA Case No. 02-3015, Doc. 769196) ....................................... App 750

         Brief of Appellants Sweeney, Carson, Coates, Martin, and Hill
            (April 25, 2005) ..................................................................................................... App 751–771

         Appeal from the United States District Court for the District of Columbia
            (June 14, 2005).......................................................................................................App 772–814

         Reply Brief of Appellants Sweeney, Carson, Coates, Martin, and Hill
            (July 6, 2005) ......................................................................................................... App 815–929

         Sweeney Emergency Motion for Access to Court Records and Points and Authorities in Support
            Thereof
            (February 5, 2008) (Doc. 1013) .............................................................................App 930–933

         Martin Motion to Vacate, Set Aside, Correct Sentence Pursuant
           to 28 U.S.C. Section 2255
           (February 18, 2008) (Doc. 1021) ...........................................................................App 934–950

         Sweeney Motion to Vacate, Set Aside or Correct Sentence Pursuant to 18 USC §2255
            (February 19, 2008) (Doc. 1017) ...........................................................................App 951–967

         Martin Motion to Vacate, Set Aside, Correct Sentence Pursuant to 28 U.S.C. Section 2255
           (February 18, 2008) (Doc. 1021) ...........................................................................App 968–984

         Carson Motion Under 28 USC § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in
            Federal Custody
            (February 18, 2008) (Doc. 1023) ...........................................................................App 985–990

         Coates Motion Pursuant to 28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence
            (February 19, 2008) (Doc. 1020) .........................................................................App 991–1043


         VOLUME IV (APP 1044–1456)
         Carson Motion to Join the Petitions Filed by Co-Defendants for Relief
            Pursuant to 28 U.S.C. § 2255
            (March 17, 2008) (Doc. 1024) ........................................................................... App 1044–1045

         Martin Motion to Stay the 28 U.S.C. 2255 Motion
           (May 7, 2008) (Doc. 1028) ................................................................................ App 1046–1050




(Page 6 of Total)                                                          iv
        USCA Case #21-3072                  Document #2077668                        Filed: 10/01/2024             Page 7 of 477



         Carson and Sweeney Joint Unopposed Motion for Extension of Time to File Supplements to
            Motions to Vacate
            (February 2, 2011) (Doc. 1065) ............................................................... App 1051, 1056–1057

         United States’ Unopposed Motion for Extension of Time to File Response to Defendants’
            Motions to Vacate, Set Aside or Correct Sentence Pursuant to 28 U.S.C. § 2255
            (July 2, 2010) (Doc. 1053) ................................................................................. App 1052–1055

         Carson Motion to Reconsider Motion for Discovery Based Upon New Evidence
            (October 9, 2014) (Doc. 1132) ...........................................................................App 1058–1068

         Sweeney Supplemental Motion to Vacate, Set
            Aside or Correct Sentence, Pursuant to 28 USC §2255 and Incorporated Memorandum of
            Facts and Law (November 28, 2014) (Doc. 1140-2) ......................................... App 1069–1152

         Carson Motion to Join Petitioner Sweeney’s Motion to Unseal Specific Exhibits
            (January 29, 2015) (Doc. 1153) ......................................................................... App 1153–1154

         Coates Pro Se Supplemental
            Claims in Relation to the Original Motion Pursuant to 28 U.S.C. § 2255
            (February 24, 2015) (Doc. 1166) ....................................................................... App 1155–1163

         Exhibit 1 to Sweeney’s Supplemental Motion
            (February 25, 2015) (Doc. 1156-2) ....................................................................App 1164–1173

         Exhibit 2 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1144-1, 1145-1, 1146-1, 1147-1) ......................... App 1174–1226

         Exhibit 3 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1141-2) ................................................................. App 1227–1230

         Exhibit 4 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1141-3) ................................................................. App 1231–1236

         Exhibit 5 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1142-1) ................................................................. App 1237–1246

         Exhibit 6 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1143-1) ................................................................. App 1247–1268

         Exhibit 7 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1142-2) ................................................................. App 1269–1270

         Exhibit 8 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1142-3) ................................................................. App 1271–1272




(Page 7 of Total)                                                     v
        USCA Case #21-3072                  Document #2077668                       Filed: 10/01/2024             Page 8 of 477



         Exhibit 9 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1142-4) ................................................................. App 1273–1275

         Exhibit 10 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1142-5) ................................................................. App 1276–1277

         Exhibit 11 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1142-6) ................................................................. App 1278–1280

         Exhibit 12 to Sweeney’s Supplemental Motion
            (November 28, 2014) (Doc. 1142-7) ................................................................. App 1281–1285

         Defendants’ Unopposed Motion for Extension of Time to File Memorandum in Support of
            Defendants’ Motion to Vacate Sentence
            (February 25, 2015) (Doc. 1158) ....................................................................... App 1286–1288

         Carson Supplemental Motion to Vacate, Set Aside or Correct Sentence Pursuant to 18 U.S.C.
            Section 2255
            (April 9, 2015) (Doc. 1170) ............................................................................... App 1289–1332

         Government’s Ex Parte Submission of Additional Materials to the Court Regarding James
            Montgomery
            (April 9, 2015) (Doc. 1174-3) ............................................................................ App 1333–1363

         Court Exhibit 8
            (April 9, 2015) (Doc. 1175-1) ............................................................................ App 1364–1424

         Affidavit of Lexi Negin Christ
            (April 9, 2015) (Doc. 1178-1) ............................................................................ App 1425–1427

         Application for Statement of Charges
            (April 9, 2015) (Doc. 1178-3) ............................................................................ App 1428–1429

         Court Exhibit 4
            (April 9, 2015) (Doc. 1174) ............................................................................... App 1430–1456


         VOLUME V (APP 1458–1831)
         Carson Unopposed Motion for Leave to File Under Seal
            (July 23, 2015) (Doc. 1180) ............................................................................... App 1458–1461

         Martin Supplement to Motion to Vacate in Light of Johnson v. United States
           (June 23, 2016) (Doc. 1182) .............................................................................. App 1462–1465

         Carson Supplement to Motion to Vacate After Johnson Decision
            (June 24, 2016) (Doc. 1183) .............................................................................. App 1466–1468



(Page 8 of Total)                                                    vi
        USCA Case #21-3072                  Document #2077668                       Filed: 10/01/2024             Page 9 of 477



         Coates Supplement to Motion to Vacate in Light of Johnson v. United States
            (June 27, 2016) (Doc. 1184) ..............................................................................App 1469–1470

         Coates Motion for Leave to Join Samuel Carson’s Supplemental Motion and to File Under Seal
            and to Late File This Motion
            (June 27, 2016) (Doc. 1185) ..............................................................................App 1471–1517

         Carson Supplemental Motion to Vacate, Set Aside or Correct Sentence Pursuant to 18 U.S.C.
            Section 2255
            (June 27, 2016) (Doc. 1185-1) ...........................................................................App 1518–1561

         Order Granting Carson’s Motion for a Briefing Schedule (Lamberth, R.)
            (April 7, 2017) (Doc. 1188) ............................................................................... App 1562–1563

         Sweeney Supplemental Motion to Vacate, Set Aside or Correct Sentence Pursuant to 28 USC
            §2255 and Incorporated Memorandum of Facts and Law
            (June 26, 2017) (Doc. 1197) ..............................................................................App 1564–1647

         Sweeney Supplement to Amended Supplemental Motion to Vacate, Set Aside or Correct
            Sentence Pursuant to 28 USC §2255 and Incorporated Memorandum of Facts and Law
            (October 31, 2018) (Doc. 1229) .........................................................................App 1648–1650

         Martin Supplement to Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C.
           §2255 by a Person in Federal Custody
           (November 21, 2018) (Doc. 1233) .....................................................................App 1651–1688

         Affidavit of Jennifer Wicks
            (October 6, 2020) (Doc. 1280) ...........................................................................App 1689–1690

         Memorandum Opinion (Lamberth, R.)
           (October 27, 2021) (Doc. 1283) .........................................................................App 1691–1739

         Memorandum Opinion (Lamberth, R.)
           (May 23, 2022) (Doc. 1305) .............................................................................. App 1740–1765

         Sweeney's Reply to the Government’s Opposition to His Motions to Vacate, Set Aside or Correct
            Sentence Pursuant to 18 U.S.C. § 2255
            (July 14, 2020) (Doc. 1277) ...............................................................................App 1766–1828

         Declaration of William K. Sweeney
            (October 6, 2020) (Doc. 1280-2) .......................................................................App 1829–1831




(Page 9 of Total)                                                    vii
  ~ .... t



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             I
                 USCA Case #21-3072
                 ., .
                                                                         Document #2077668
                                   Case 198-cr-OO~•L Document71 ~ i ~ d 0 ~ 0 9 1 : : ~ ~ ~
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                            DISTRICT OF COLUMBIA                                                              ~!STRICT OF COLl1MbiA
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                                          V.                                            )     Criminal No. 98·329
                                                                                        )     {TPJ)
                        WILLIAM SWEENEY                                                 )
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                                                                              MOTION TO COMPEL DISCOVERY
                                                                                       NUMBER 1                         FEB O91999
                                                                                                               NANCY MA~ER WHITTINGTON. CLEru<
                                                                                                                     U.S. DISTRICT COURT
                               Defendant, William Sweeney, by and through undersigned counsel, respectfully

                        sets forth to this Honorable Court as follows:

                                                                                      I) OVERVIEW


                               1.) This case is a multiple count, multiple party indictment alleging criminal

                        activity spanning a period of time in excess of ten years.

                              ,?..) The United States has announced that it may seek the death penalty against

                        William Sweeney. Counsel for Mr. Sweeney will meet with the death penalty review

                        committee of the United States Attorney's Office prior to April 12, 1999 to discuss

                        issues related to the death penalty.

                               3.) A principle component of the government's case relates to a triple homicide

                        which is alleged to have occurred 1n Prince George's County, Maryland on November

                        17, 1996. The triple homicide is identified :n paragraph 79 of the indictment and

                        alleges that William Sweeney killed Alonzo Gaskins, Darnell Mack and Melody

                        Anderson. The allegations against Mr. Sweeney with respect to the triple homicide are

                        among the primary bases for the fo!lowing counts against him in this indictment:




(Page 10 of Total)
                                                                                       App 576
        USCA Case #21-3072           Document #2077668            Filed: 10/01/2024      Page 11 of 477


                                     •                                   --
                     Case 1:98-cr-0032.L Document 71 Filed 02/09/:= age 2 of 27



           Narcotics conspiracy and Rico conspiracy. In addition, the allegations pertaining to the

          triple homicide in Maryland are the subject of Racketeering Act 65 (a)-(g) of the Rico

          count of the indictment.

                 4.) The events surrounding the triple homicide in Maryland were the subject of

          an exhaustive investigation by members of law enforcement in Prince George's County,

          Maryland.

                 5.) The events surrounding the triple homicide were the subject of an indictment

          in Prince George's County, Maryland in which WHtiam Sweeney was named as a

          defendant. That indictment in Maryland has been dismissed by the State's Attorney's

          Office as it is now a subject of this indictment.

                 6.) Upon information and belief, an individual by the name James Montgomery

          was taken into custody and spoken to by both the Metropolitan Police Department and

          the Prince George's County Police Department as a suspect in the Maryland triple

          homicide.

                 7.) Upon information and belief, James Montgomery was not charged with the

          triple homicide. Rather, in return for a benefit, or a promise of benefit, James

          Montgomery has become a witness against William Sweeney and it is expected that

          James Montgomery will either testify at trial against Mr. Sweeney or will provide

          information that will be used in attempt to incriminate Mr Sweeney.


                                       II.) SPECIFIC BRADY REQUEST


                 The request which is the subject of this motion to the United States was made

          pursuant to Brady v. Maryland, 373 U.S. 83 (1963). The specific request is for any




(Page 11 of Total)
                                                    App 577
        USCA Case #21-3072         Document #2077668               Filed: 10/01/2024    Page 12 of 477
                     Case 1:98-cr-00• • L Document 71 Filed 02/09• •ge 3 of 27



           and all information pertaining to why James Montgomery was investigated and/or

           charged with the triple homicide in Maryland which occurred on November 17, 1996.

           The request related to any and all information in the possession of Mr. Wainstein, the

           possession of any member of the Office of the United States Attorney for the District of

           Columbia, the possession of any law enforcement agency in any jurisdiction, and in the

           possession of the Maryland State's Attorney's Office.

                 In response to this specific request for exculpatory information, Mr. Wainstein

           represented to counsel that he has reviewed the investigative file and there is no

           information therein that would exculpate Mr. Sweeney.

                 For the reasons discussed later herein, the response of Mr. Wainstein is

           inadequate and does not satisfy the obligations of the United States pursuant to Brady

           v. Maryland


                                    111.) CHRONOLOGY OF REQUESTS


                 On November 17, 1998, counsel served upon Kenneth Wainste1n and Nancy

           Jackson a nine page letter detailing numerous discovery requests pursuant to Rule 16

           and controlling legal precedent. On page seven of the letter, under the category Brady

           Disclosures at part (d}, defendant made the following request for information:

                               Any information which has come or may
                               come to the attention of the government
                               from any source indicating that persons
                               other than the defendant may have caused
                               or have been responsible for any of the
                               offenses alleged in the indictment.

                 A copy of the discovery letter is attached hereto and identified as Defendant's




(Page 12 of Total)
                                                  App 578
        USCA Case #21-3072         Document #2077668
                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99



           Exhibit #1.
                                   -·                                    .   tt9e
                                                                  Filed: 10/01/2024      Page 13 of 477
                                                                                    4 of 27




                  On January 19, 1999, counsel for Mr. Sweeney sent a letter to Mr. Wainstein

           making the specific Brady demand related to James Montgomery which is the subject of

           this motion (Defendant's Exhibit #2).

                  On January 29, 1999, counsel for William Sweeney sent a letter to Mr.

           Wainstein reiterating their need to obtain the requested information pertaining to James

           Montgomery (Defendant's Exhibit #3).

                  On February 1, 1999, counsel for William Sweeney and Mr. Wainstein spoke

           directly to address, among other issues, the investigative materials as they related to

           James Montgomery. It was at that time that Mr. Wainstein represented to counsel that

           he had seen the investigative file and there was not any information that would

           exculpate Mr. Sweeney. Mr. Wainstein declined to make available to counsel the

           investigative files.

                  On February 1, 1999, counsel memorialized the subject of the telephone

           conversation identified in the preceding paragraph in a letter to Mr. Wainstein

           {Defendant's Exhibit #4).




                                       IV.) LEGAL BASIS FOR REQUEST




                  In Brady v. Ma[Yland, 373 U.S. 83 (1963), the United States Supreme Court

           required the government to disclose in criminal cases, upon request, evidence in its




(Page 13 of Total)
                                                   App 579
        USCA Case #21-3072           Document #2077668           Filed: 10/01/2024      Page 14 of 477



                                    •                                   •
                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99 . g e 5 of 27




          possession that is material and favorable to a charged defendant. The duty of

          disclosure arises from the Due Process Clause of the Fifth Amendment to the United

          States Constitution.

                 In United States v. Bagley, the Supreme Court held that favorable evidence is

          material, and constitutional error results from its suppression by the government if there

          is a reasonable probability that, had the evidence been disclosed to the defense, the

          result of the proceeding would have been different. 473 U.S. 667 at 682 (1985).

                 The Supreme Court in Kyles v. Whitney elaborated on the definition of

          materiality in the context of a Brady demand.

                                 [A] showing of materiality does not require
                                 demonstration by a preponderance that
                                 disclosure of the suppressed evidence
                                 would have resulted ultimately in the
                                 defendant's acquittal.. .. Bagley's touchstone
                                 of materiality is a "reasonable probability"
                                 of a different result, and the adjective is
                                 important. The question is not whether the
                                 defendant would more likely than not have
                                 received a different verdict with the evidence,
                                 but whether in its absence he received a fair
                                 trial, understood as a trial resulting in a verdict
                                 worthy of confidence. A "reasonable probability"
                                 of a different result is accordingly shown when
                                 the Government's evidentiary suppression
                                 "undermines confidence in the outcome
                                 of the trial."

          115 S.Ct. 1555 at 1566 (1995).

                 The request of defendant for any and all information in the possession of any

          and all law enforcement agencies or prosecutor's offices that investigated the matter is

          consistent with the !aw of this jurisdiction which extends the prosecutor's Brady




(Page 14 of Total)
                                                   App 580
        USCA Case #21-3072          Document #2077668              Filed: 10/01/2024      Page 15 of 477
                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99 • .ge 6 of 27

                                   •                                      •"'
           obligations to files in possessions of agencies other than the individual prosecutor's

           offices. See United States v. Brooks, 966 F.2d 1500, 296 U.S. App. D.C. 219 (1992),

           appeal after remand 55 F.3d 684, 312 U.S. App, D.C. 119, rehearing and suggestion

           for rehearing denied; United States v. Caldwell, 543 F.2d 13331 178 U.S. App. D.C.

           20 (1974). cert. denied, 96 S.Ct. 877.

                 It may be an argument of the defense that persons other than William Sweeney

           had both the motivation and opportunity to commit the triple homicide in Maryland. The

           right to suggest, through the introduction of testimony, evidence that someone other

           than the defendant committed a charged offense is guaranteed by the Due Process

           Clause and has been recognized as such by the District of Columbia Court of Appeals.

           See Brown v. United States, 409 A.2d 1093, 1097 (D.C. App. 1979).

                 In Winfield v. United States, 676 A.2d 1 (D.C. App. 1996), the Court analyzed

           the standard of admissibility of evidence proffered by a defendant that another person

           or persons committed the crime alleged. In so ruling, the Court adopted the

           "reasonable probability" formulation first announced in Johnson v. United States, 552

           A.2d 513 (D.C. App. 1989).

                 The importance and practical application of the "reasonable probability"

           standard of admissibility as it relates to the facts herein was predicted in Johnson.

                               There is no requirement that proffered evidence
                               must prove or even raise a strong probability that
                               someone other than the defendant committed the
                               offense. Rather, the evidence need only tend to
                               create a reasonable doubt that the defendant
                               committed the offense. In this regard, our focus
                               is on the effect the evidence has upon the defendant's
                               culpability, and not the third party's culpability,




(Page 15 of Total)
                                                    App 581
        USCA Case #21-3072             Document #2077668          Filed: 10/01/2024      Page 16 of 477



                                       •                                 •
                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99 . e 7 of 27




           Id. at 517, citations omitted.

                  With respect to the facts herein, any and all information pertaining to the

           investigation and/or arrest of James Montgomery for the triple homicide undoubtedly

           creates a reasonable probability that someone other Mr. Sweeney committed the triple

           homicide.

                  There had to have been paperwork generated as a result of Mr. Montgomery

           being a suspect in this event. Defense counsel must have the opportunity to review

           this paperwork in order to properly investigate this massive indictment.

                  Mr. Wainstein's position that there was nothing produced in the investigation of

           James Montgomery that would exculpate Mr. Sweeney is entirely inconsistent with the

           law of this jurisdiction.

                  There simply can be no reasonable dispute that the products of an investigation

           focusing upon someone other than the defendant are material and fall within the

           disclosure mandate set forth in Brady v. Maryland and guaranteed by the United

           States Constitution.

                  As part of defendant's defense, he will also be challenging the bias and

           credibility of James Montgomery. Any promise, or benefit of promise, will have to be

           made available to the defense. See Giglio v. United States, 405 U.S. 150 (1972).

           However, in order to ful!y explore the scope of Mr. Montgomery's bias arising from his

           agreement with the United States, it is absolutely imperative that counsel be provided

           with the basis for his inclusion in the case as a suspect or as a detainee.

                  The jury can only evaluate the bias and credibility of this essential Government

           witness if it learns how close Mr. Montgomery came to being indicted for the triple




(Page 16 of Total)
                                                   App 582
        USCA Case #21-3072          Document #2077668              Filed: 10/01/2024      Page 17 of 477



                                   •                                      •
                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99-ge 8 of 27




          homicide.

                 Counsel can only learn about Mr. Montgomery's involvement and conduct an

          appropriate investigation if the investigate file is made available.



                                               V. CONCLUSION

                 ft is only the attorneys who are representing Mr. Sweeney that can make tactical

          decisions regarding what use to make of evidence. Mr. Wainstein is no position to

          substitute his judgment for that of defense counsel by representing that he has

          reviewed Montgomery's investigative file and it does not contain exculpatory

          information related to William Sweeney.

                 Counsel for Mr. Sweeney must have access to this information as it is clearly the

          type of information contemplated by Brady and is essential to the preparation of the

          defense.

                 WHEREFORE, defendant prays this Honorable Court for an Order requiring the

          United States to produce to counsel any and all information pertaining to the

          investigation and/or arrest of James Montgomery for the triple homicide in Maryland.



                                                                           ubmitted,




                                                           Steven R Kiersh #32 329
                                                           1825 K Street, NW
                                                           Suite 901
                                                           Washington, D. C. 20006
                                                           (202) 347-0200




(Page 17 of Total)
                                                   App 583
        USCA Case #21-3072       Document #2077668         Filed: 10/01/2024     Page 18 of 477


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                     Case 1:98-cr-003~CL Document 71 Filed 02/09/9.ge 9 of 27



                                                         d/4~
                                                     Paul DeWolfe, Esquire
                                                     20 Courthouse Square
                                                     Suite 214
                                                     Rockville, Maryland 20850




(Page 18 of Total)
                                             App 584
        USCA Case #21-3072           Document #2077668            Filed: 10/01/2024     Page 19 of 477
                     Case l:98-cr-003.. Document 71 Filed 02/09/9.          f/t' of
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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRlCT OF COLUMBIA

                                                     )
                                                     )
           UNITED STATES OF AMERICA                  )
                                                     }
                           V.                        )      Criminal No. 98-329
                                                     )      (TPJ)
           WILLIAM SWEENEY                           )

                                          CERTIFICATE OF COUNSEL

                     Undersigned counsel do hereby certify that they have made a bona fide attempt

           to secure the necessary relief from the prosecutor on a voluntary basis and that the

           prosecutor has not complied with such request.




                                                            Respectfully Submitted,




                                                              tev n R. Kiersh #
                                                            1825 K Street, NW
                                                            Suite 901
                                                            Washington, D.C. 20006
                                                            (202) 347-0200



                                                            Paul DeWolfe, Esquire
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                                                            Suite 214
                                                            Rockville, Maryland 20850




(Page 19 of Total)
                                                   App 585
        USCA Case #21-3072         Document #2077668           Filed: 10/01/2024     Page 20 of 477
                     Case 198-cr-00• •L Document 71 Flied 02/09/• •e 11 of 27



                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

                                                  )
                                                  )
           UNITED STA TES OF AMERICA              )
                                                  )
                         V.                       )      Criminal No. 98-329
                                                  )      {TPJ}
           WILLIAM SWEENEY                        )

                                         CERTIFICATE OF SERVICE

                 I hereby certify that a true and correct copy of the Motion To Compel

           Discovery Number 1 was mailed postage pre-paid, on this 9th day of February, 1999

           to:



           Kenneth Wainstein, Esquire
           Assistant U.S. Attorneys
           555 4th St, NW
           Fourth Floor
           Washington, D.C. 20001

           Joanne Roney Hepworth, Esquire
           305 H Street, NW
           Washington, D.C. 20001

           Gerald Fisher, Esquire
           Joseph Beshouri, Esquire
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           Washington, D.C. 20004

           Frederick Sullivan, Esquire
           12427 Sadler Lane
           Bowie, Maryland 20715




(Page 20 of Total)
                                                App 586
        USCA Case #21-3072         Document #2077668       Filed: 10/01/2024   Page 21 of 477


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                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99 . e 12 of 27



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          601 Indiana Avenue, NW
          Washington, D.C. 20004

          Frederick D. Jones, 111, Esquire
          901 6th Street, S. W.
          Suite 409
          Washington, D.C. 20024

          Pleasant S. Brodnax, 111, Esquire
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          Alexandria, Virginia 22314

          Patrick Donahue, Esquire
          18 West Street
          Annapolis, Maryland 21401




(Page 21 of Total)
                                              App 587
         USCA Case #21-3072                        Document #2077668                          Filed: 10/01/2024        Page 22 of 477
                         case l:98-cr-003.CL Document 71 Filed 02/09/9.ge 13 of 27
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                                                                182:S H. STRE:li:'.:T. N.W.
                                                                    SUIT£ 90,
                                                              WASHINGTON. a.c. 2000&
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      NICHOLAS G MAA!-<a!::..>.S ,DC. >,y,                      TEL <ZOZJ 3-47--0200
      OFCOI.JNS.:L
                                                                FAA. IZOZJ 835-1543



                                               November 17. 199&

                 TELEFAX AND REGULAR MAIL

                 Nancy Jackson, Esquire
                 Kenneth Wainstein, Esquire
                 Assistant United States Attorneys
                 555 4th Street, NW
                 Fourth Floor
                 Washir.gton, D. C. 20001

                                             Re l United States v William Sweeney
                                                   98-CR-329 (TP J)

                 Dear Ms. Jackson & Mr. Wainstern:

                         In accordznce with Rule 16 of the Federal Rules of Criminal Procedure, we are
                 writir.g to request discover/ and discfosure of the items which are enumerated below
                 and to permit the defendant to inspect and copy or photograph all items which are in
                 the possession, custody or control of the government, the existence of which is known,
                 or by the exercise of due diligence may become known to you and which are material to
                 the preparation of the defense, viz:

                                   STATEMENTS OF WILLIAM SWEENEY/ CO-CONSPIRATORS

                 Defendant's Statements:

                         1.    Any and all written and recorded statements made by William Sweeney,
                or copies of those writings and recordings, within the possession, custody or control of
                 the government, the existence of which is known, or by the exercise of due diligence
                 should or may become known, to the attorney for the government. Defendant
                specifica!!y requests that government counsel inquire of all law enfocement personnel
                whom they know to have been connected with this case as well as any and all potgntial
                government witnesses or other people who have supplied information to the
                government whether they are aware of any written or recorded statements of the
                defendants, and if so, to make those statements available fer inspection.
                         2.    The substance of any and an oral statements made by any defendant
                which government imends to offer ;n evidence at ~he tria!.
                         3.    Any orai onvriten statement whic.'1 -any C::efe:;dant r.as rTlsQli,Q..,~.-~--_Y
                jur::sdicticn.                                                             rl ~BJ}

                                                                                                             FEBO 91999
                                                                                                       NANCY MAYER WHITTl
                                                                                                             U.S. DISTRICT

(Page 22 of Total)
                                                                App 588
        USCA Case #21-3072         Document #2077668             Filed: 10/01/2024     Page 23 of 477
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                                                                      -
                     Case 1:98-cr-003.CL Document 71 Filed 02/09/9-age 14 of 27


        STEVEN R. K:rERSH        -
             Nancy Jackson, Esquire
             Kenneth 1/'/ainstein, Esquire
            Assistant U.S. Attorneys
            Re: United States v William Sweeney
            98<!29 (TPJ)
            November i 7, 1998
             Page 2 of 9

                    4.     Any and all or written or oral statement made by any defendant which you
             contend was made in furtherance of the conspir2cy.
                    5.     With regard to any statements claimed to have been made by any co-
            conspirator dunng the course of or in furtherance of the alleged conspiracy, William
             Sweeney requests disciosure of:
                           a.     The date of the aileged statement;
                           b.     Thenarnes,addr9sses and present whereabouts of all persons
            present when the statements were made;
                           c     The substance of each statement;
                           d.    Whether the statement was memorialized in any manner, including
            rough notes, reports or t2pe recordings; and
                           e.     Copies of all memorializations or any explanations of their
            absence.
                   6.      Any oral, written or recorded statement made by any other person which
            the government intends to introduce at trial or which evidences. reflects or relates in
            any way to the conspiracy charged in the indictment. This request includes, but is not
            limited to. any statement by an informant to the government.

                                                WITNESS LJSTS

                    7.     A list of the names and addresses of each and every person whom the
            government intends to call as a witness in the presentation of its case in chief;
                    8.     A list of the names and addresses of each and every person who was
            interviewed by the government as a prospective, possible, or potential witness for the
            tdal of this matter.
                    9.    The names, addresses and phone numbers of, or access to, all witnesses
            who have material and relevant information and will not be called by the government.
                    10.   The names, addresses and phone numbers of eac.'i expert witness the
            government intends to call at trial including, but not limited to, government agents •
            whether federal, state or local agents, along with any reports, studies or other data
            upon which the expert wHI rely in giving nis/her testimony.
                    11 .  A list of the names of any witnesses or prospective witnesses or
            prospective witnesses to enter the Witness Protection Program.
                    12.   Any ar.a all reports of the Federal Bureau of Investigation or any other
            govemmentai agency 1Nhich re 11ea, the arrest, conviction or prior criminal record of any
            cc-canspiratcr or any prospec:ive government witness.




(Page 23 of Total)
                                                 App 589
        USCA Case #21-3072          Document #2077668                Filed: 10/01/2024       Page 24 of 477



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                     Case 1:98-cr-003-CL Document 71 Filed 02/09/9.ge 15 of 27


       STE"\TEN R. K.IEH....c;H

           Nancy Jackson, Esquire
                                  •
           Kenneth Wainstein, Esquire
           Assistant U S. Attorneys
           Re: United States -. ., . William Sweeney
           98·329 (TPJ)
           Discovery Letter
           November 17, !998
           Page 3 of 9

                   13.   Any and all statements, notes, recordings or any other form of
           transcription of statements made by any and all prospective government witnesses.
                   14    Any and all reports, dccuments or writter. notes or, if-not in writing, the
           substance of any agreement between the government and any prospective government
           witness concerning leniency or favorable treatment he or she might receive at the
           hands of the government.
                   15.   Any and all promises, representations, offers or any other statements
           made to any witness in this case involving either grants of immunity or representations
           that the witness would net be prosecuted for either the conduct which is the subject of
           this indictment or any ether misconduct that the prosecutor knows of.
                   16.   State whether any witness or prospective witness was subjected to
           po!ygraph examinations. lf so. provide the identity of the wilriesses and examiners and
           copies of any reports or tapes.
                   17.   Set torth all judicial proceedings in any criminai case involving any person
           who is a potential government witness at the trral in tt'lis action.

                      DISCLOSURE OF INFORMANTS AND REQUEST FOR INTERVIEW

                   18.    The- identity of any informant from wtlom the government has obtained
           information, regardless of whether the government actually intends to call that
           informant at trial.
                   19.    Defendant aiso requests access to all informants for the purpose of
           interviewing them and that tlie government neither bar access nor instruct the
           informants to deny any request for an interview.
                   20.    The Defendant requests that the government disclose whether any
           infom,ers were acting as agents of the prosecution in obtaining information concerning
           the alleged offenses and supplying it to the government; whether those informers were
           paid or unpaid, or received any consideration and whether they were federal or state
           employees.

                                             AGENTS DISCLOSURE

                 21.    Defend0nt requests discrcs..ire of the names and piaces at work of all the
           agents and law e:1fa:--ceme:1t cfficia!s that partidpated ir. the investigation of this cas-=.




(Page 24 of Total)
                                                    App 590
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        USCA Case #21-3072            Document #2077668                Filed: 10/01/2024        Page 25 of 477


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                     Case 1:98-cr-003-CL Document 71 Filed 02/09/9.ge 16 of 27




            Nancy J.ackson, Esquire
            Kenneth vVainstein, Esquire
            Assistant U.S. Attorneys
            Re: United States v. William Sweeney
            98-329 (TPJ)
            Discovery Letter
            November 17. 1998
            Page 4 of 9

                                      DOCUMENTS ANO TANGIBLE OBJECTS

                    22       !n accordance with Rule 16(a)(1 )(C) of the Federal Rules of Criminal
             Proceaure. all bocks. papers, documents, photographs, tangible objects, buildings or
            places, or pictures Of copies of portions thereof which:
                            a.      ft.re material to the preparation of the defense, including those
            obtained from thrrd parties to this indictment;
                            b.      Are intended for use by the goverr.rnent as evidence in its case in
            chief at trial; or
                            c.      Were obtained from or be1ong to any defendants. This request
            includes, but is nc-t limited to, any beaks, papers, documents, photographs or other
            tangible objects, or copies. which came into the possession, custody or control of the
            prosecution by subpoena, seiz1.Jre or request directed to:
                    a.      Any person whom the prosecution intends to call as a witness at trial; and
                            b.     Any corporation, partnership, employee, organization, pension
            fund, financial institution, enterprise or other association wtlere a person whom the
            prosecution intends tc call as a witness at trial was an officer, emplcyee, agent,
            member, trustee, associate, partner or had and interest therein.
                    23.     Pursuant to Rule 16(a)(1)(C) of the Federal Rules of Criminal Procedure,
            any and all results of reports of physical or mental examinations and of scientific tests,
            eg, fingerprint, ballistic, handwriting, etc. or experiment. or copies thereof.
                    24.     State whether any inks, dyes or other markings were used by government
            agents on any tangible items to be offered into evidence. If so, identify the item and
            describe the nature of the marking.

                       SEARCHES, MAIL COVER, PEN REGISTERS, TELEPHONE TOLL
                       RECORD~, VIDEO, TELESCOPIC OR PHYSICAL SURVEILLANCE

                     25.    Any and ail records or other documents which reflect telephone calls or
            toll call recoras or !elephcr.e charges over any instrument in which any defendant or
            co~conspir::tor maintained a possessory interest or over which the go'-'ernment knew or
            believed any deier;dant -.Jtilized.
                   25.      ..:.r.y ~na all apr.;!ications. affidavits. testimcny, invsntcries and/or orders
            seeking, ;r 2.r.1;;19 or cenying ;udic:ai permissicr. to conduct a physical sear.:h of any
            perscr: 'Jr :r?~!S!!-22 ,,vr,1c~ reiate \c this case.




(Page 25 of Total)
                                                      App 591
        USCA Case #21-3072           Document #2077668               Filed: 10/01/2024        Page 26 of 477



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                     Case 1:98-cr-0032.L Document 71 Fi!ed 02/09/99 - e 17 of 27


       STEVEN R. Kl:E:RSH

           Nancy Jackson, Esqu~e
           Kenneth Wainstein, Esquire
           Assistant U.S. Attorneys
           Re: United States v. William Sweeney
           98-329 (TPJ)
           Discovry Letter
           November 17. 1998
           Page 5 of 9

                    27. Any and all documents, objects or ether tangible things which were obtained
           by virtue of any physical search and/er seizure of any person or p!ace, with or without
          prior judicial authchzation.
                    28.    Any and all pre-trial identification procedures used, including, but not
          limited to photographic displays, lineups, show-up identifications, etc. State the nature
          and circumstances of any idenWication procedure as weH as the time, date and place of
          the identification Slate whether any witnesses were unable to identify any defendant
          made a mistaken identification or were uncertam <n rn21<ing an identification
                    29.    Arr-; and a!I informatior., docurier1ts. repons, orders. affidavits, etc., which
          rt:!late in any v1ay to any "mail cover' operations of the examination of the mail of any
          individuals involved in this case.
                    30.    Any ar.ci all information, documents. repcrts. orders, affidavits, etc., which
          relate iri ::.ny way to any 'pen register" operations or to the affixing of any instruments to
          record thP. teiephcne f'lumber of any incoming or outgoing telephone :ails which were
          ut1!ized 1n the !nvestigation of this case, ano whii:h are within the possession, custody
          or control of the government, the existence rJf ..,,,,;hich is known or through the exercise of
          due diligence may become known to counsei for the government.
                    31     Any and all photographs, video recordings or motion pictures wtiich were
          made in conjunction with this case, or which relate n any manner to this case.
                    32.    Any ar.c all applications, affiaavits, orders or other documents which
          relate to ar:iy 1e!escopically..enhanced sur,.ieiUance which was conducteel in conjunction
          with the inve:stigatio11 underlying this case.
                    33.    Any :md all forms, affidavits, <Jr other documents whieh purport to grant
          consent to searer, any individuals. persons •::ir premises wnich relate in any manner to
          this case.
                   34.     Any and all notes, memorandil, reports or other writings made by officers
          or agents af ,:my lavv enforcement agency d 1Jrinr; physical surveillance of any defendant
          or alleged co-cons;:;,rator in this case.
                                                              .                .
                    WIRETAPPtNG, EAVESOROPPING'ANO CONSENSUAL RECORDINGS

                 3t'•    ,A..r.y ana a!I documents, applications, :~ffidavits, supplemental affidavits,
          exhibits. transcripts. testimony, r.1emoranda, warrants. orders. etc. 'Nhich relatl:! to this
          ::ase and wht,:h per.:a1n to the use of mechar1i~ai or electrcnic interception devices
          whicn we,-e ~ace <t\f''"•tten -:lr issued by ar-y re:,rasantat;ve of federai, 5tate c1r c:ty




(Page 26 of Total)
                                                     App 592
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        USCA Case #21-3072         Document #2077668             Filed: 10/01/2024      Page 27 of 477


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                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99 . e 18 of 27


       STEVEN R. KIER.SH


           Nancy Jackson, Esquire
           Kenneth Wainstein, Esquire
           Assistant U.S. Attorneys
           Re: United States v. William Sweeney
           Discovery Letter
           November 17, 1998
           Page 6 of 9

                  36.    Any and alt statements of defendants, co-conspirators, or other
           individuals, whether ora!, recorded or written which were seized by electronic or
           mechanical means.
                   37.    Any and all mechanical or electronic recordings and/or tapes that contain
           any defendant's or co-conspirator's conversations or which emanated from any
           premises er over any instrument in which any defendant possessed a proprietary
           interest or which were made in connection with a court ordered eavesdropping warrant
           in which a defendant was r.amed as a party to be intercepted or was a person who was
           in fact intercepted.
                   38.    Any and a!I memoranda. logs, reports, notes, summaries, transcripts,
           periodic reports to the court or other written communications whatsoever which were
           made by any pubiic\c servant and which are germane to this case and re!ate in any way
           to wiretapping or eavesdropping conducted by government agents.

                                       GRANO JURY INFORMATION

                39.   The names, ::,resent addresses and telephone numbers of each and every
          witness appearing before the Grand Jury in connection with the return of the
           indictment.
                 40.     The names, present addresses and telephone numbers of each and every
          persons whose testlmony was given to the Grand Jury by or through someone else in
          connection with the return of said indictment.
                 41.     Copies of all documents and exhibits presented to the Grand Jury.
                 42.     Transcripts of the testimony of all witnesses appearing before the Grand
          Jury. If no transcript or minutes exits. a summary of the testimony.
                 43.     Summaries and copies cf the statements of witnesses which were not
          presented or conveyed to Grand Jury.
                 44.     Copies of a!l documents in possession of the government potentially
          relevant to the charges in the indictment and which the government did not present to
          the Grand Jury at the time this case was presented for Grand Jury consideration.
                 45.     A copy cf the charge of the Court ta the Grand Jury that returned this
          indictment.
                 46. . A list cf the names and titles of each government employee who was
          present in the Grand Jury _..com during the taking of any testimony in the course of the
          investigations of ihis case. or who was prasent dwr:ng any other portion of the Grand
          Jury proceedings




(Page 27 of Total)
                                                  App 593
        USCA Case #21-3072          Document #2077668              Filed: 10/01/2024       Page 28 of 477
                     Case 1:98-cr-OO~L Document 71            Filed 02/09/• •e 19 of 27


      STEVEN R. K.:r:ERSH



           Nancy Jackson, Esquire
           Kenneth Wainstein, Esquire
           Assistant U.S. Attorneys
           Re: United States v. William Sweeney
           Discovery Letter
           November 17, 1998
          Page 7 of 9

                  47.    A list of the raames and titles cf each government employee who, prior to
          the return of the indictment, exarr.ir.ed outside of he grand jury's presence any
          document or other items obtained by means of any Grand Jury subpoena issued in the
          course of the investigation cf this case.
                  48.    A copy of any letter or other document authorizing the examination of
          Grand Jury materials by eacil of the government emi:-toyees.
                  49.    A list cf all Grand Jury subpoenas issued for documents and/or testimony
          in this case.

                                           BRADY DISCLOSURES

                  50.    The defendant requests that the Government disclose and produce any
          evidence in its possession favorable to the accused. regardless of whether the
          evidence is deemed to be admissible at trial. The disclosure and production should
          include, but not be limited to, the following:
                         a.     Any written or stenographic, mechanical, electrical or other
          recording cf statements made by any witness. non-witness or co-<:0nspirator. which
          may be exculpatory in nature or favorable to the accused or which may be used for
          impeachment of government witnesses and which are within the possession, custody or
          control of the government. the existence of which is known or through the exercise of
          due diligence may become known to counsel for the government.
                         b_     All :r.formation which illustrates that the ads, conduct and efforts of
          each defendant or others at his or her direction were done without criminal intent and
          evidence that could.or may arguably be used by defense counsel in support of the
          defendant's contention that he lacked any criminal knowledge or criminal intent and
          that he did not act knowingly with knowledge of the existence of any conspiracy to
          participate in a conspiracy to distribute controlled substance.

                        c.    All evidence arguably heipful to he defendant's claim that he was
          not involved or connected with or had no part in activities or statements made by the
          co-defendants or of other persons which the government contends were co-
          conspirators but who have not been named as defer.dar.ts.
                        d.     Anv information whicri. has c:Jme or may came to the attention of
          the government frar.. a~y scurce indication that persons other than the defendant may
          causeo or have ::.een rasponsible for any cf the dfe:7ses alleged i,1 ~he indictment.




(Page 28 of Total)
                                                   App 594
        USCA Case #21-3072         Document #2077668              Filed: 10/01/2024      Page 29 of 477



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                     Case 1:98-cr-O~L Document 71 Filed 02/09/99-ge 20 of 27


        STEVEN R. K.:r:E:HSH




           Nancy Jackson, Esquire
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           Assistant U.S. Attorneys
           Re: United States v. William Sweeney
           98-329 {TP J)
           Discovery Letter
           November 17, 1998
           Page 8 of 9

                          e.     Any and all criminal records of any witnesses whom the
           government intends to use in any way, or any other information demonstrating that
           commission on their part, or participation in a;;y illegal actlvity, or any so-called "bad
           acts" or other instances of immcra! or criminal conduct or conduct bearing on veracity.
                          f.    An~· and all statements that any individual may have given or other
          information tending to reflect in any way inconsistent statements concerning and
          relevant to the charges against Mr Sweeney
                          g.    The criminal record and any list or summary reflecting the criminal
          record of any and all persons the government intends to e21\ as witnesses at the trial of
          each defendanl, including, but not limited to, the FBI arrest and conviction records.
                          h.    Any evidence of the existence of, and the substance of, any
          promises, agreements, understandings and arrangements, either verbal or written,
          between the government ar,d any person the government intends to call as a witness,
          in which the government agreed, either expressly or impliedly, not to prosecute the
          witness for any crime er crimes, net to prosecute a third party for informal assurance
          that the government would not prosecute the witness in connection with any testimony
          he or she might give.
                          I.    Any evidence cf the existence of, ar.d the substance of, any
          promises, agreements, understandings and arrangements, either verbal or written,
          between the government and any person the government intends to call as a witness,
          in which the go11emment agreed, either expressly or impliedly. to recommend leniency
          in sentencing or to recommend a certain sentence for any crime or crimes for which the
          witness has been, is, or will be convicted, or to advise the court of any cooperation with
          the government.
                         j.     /l.ny evidence of the existence of, and the swbstance_of, any
          promises, agreements, understandings and arrangements, either verbal or written,
          between the government and any person the government intends to call as a witness,
          in which the government agreed, either expressly or impliedly, tc provide favorable
          treatment or payment of monies in return for the witness' cooperation and testimony.
                         k.     Any evidence of any and al! actions, promises or efforts on the part
          of the government tc aid, assist er obtain t::eneflts of nay k:r.d for any person whom the
          government considers a potential witness at trial, or a member of the immediate family
          of the witness, er fr1encs of ~he witness.




(Page 29 of Total)
                                                  App 595
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           USCA Case #21-3072         Document #2077668                 Filed: 10/01/2024   Page 30 of 477



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                     Case 1:98-cr-0032.L Document 71 Filed 02/09/99 ege 21 of 27

      --
       STEVEN R. KIERSH


            Nancy Jackson, Esquire
            Kenneth Wainstein, Esquire
            Assistant U.S. Attorneys
            Re: United States v. William Sweeney
            98-329 (TPJ)
            Discovery Letter
            November 17, 1998
            Page 9 of 9


                            L Any evidence of the existence of, and substance of. any promises,
            agreements, understandings and arrangements. either verbal or written, between the
            government and any person the government intends to call as a witness, in which
            government agreed, either expressly or impliedly, to removal or destruction of the
            criminal record of any witness or to cause any change of identity of the witness.
                            m.    Any evidence of threats made to the witness er any member of his
            or her family y any law enforcement officer or agent of the government.
                            n.    Any and all personnel files fer the witness and the existence and
            identity of all government fi!as for the witness.
                            o     Any and all records and/or information relating to witnesses and
            non-witness dec!arant which could arguably be useful to the defense for impeachment
            purposes.
                            p.    Any and a!I evidence of mental examinations of the witnesses,
            whether psychiatric or psychologicaJ, including, but not limited to. ar.y tests conducted
            during those examinations.
                            q.    Any evidence of polygraph examinations given to any witness,
            including the tapes, reports and identities of witnesses and examiners.
                            r.    Any and ail evidence of the use of illegal drugs of narcotics or
            prescription drugs which have a mind or sensory altering effect, by any .witness from
            one week before through the date af testifying ~nder oath in any proceeding, including
            any sworn testimony provided to any Grand Jury, and at any time since commencing
            his or her cooperation with the government.


               Thank you for your earliest attention to this letter.




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(Page 30 of Total)
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           USCA Case #21-3072             Document #2077668                     Filed: 10/01/2024         Page 31 of 477



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                             Case 1:98-cr-0032.L Document 71 Filed 02/09/99




   ST[VEN R Kit.RSI-! ,ac1
                                                STEVEN R. KIERSH
                                                         ATTORNEY AT LAW
                                                        1825 K STREET. N,W.
                                                             SUITE 901
                                                      WASHINGTON. 0.C. 20006
                                                                                               I       aBIT




   NICHOLAS G. KARAM8ELAS <DC. NYJ                      TEL. i2021 347-0i?OO
   01' (;01JNS£L                                        f"AA, (202183S-1543



                                            January 19, 1999

               TELEFAX (202) 307-2022 AND REGULAR MAIL
               Kenneth~- Wainstein, Esquire
               Assistant U.S. Attorney
               55S 4th Street, N.W.
               Washington, D.C. 20001
                                            Re: United States v. William Sweeney
                                                                         Cr. 98-329

               Dear Mr. Wainstein:
                    This letter            is    in      regard          to    government     witness           James
               Montgomery.
                     It is ou:::- position that Mr. Montgomery, and the police
               investigation of his conduct, can provide information which will
               exculpate Mr. Sweeney of some of the overt acts and charges for
               which he has been indicted. Accordingly, pursuant to Brady v.
               Maryland, this letter is a request for the following specific
               i~forrnation pertaining to Mr. Montgomery:
               l. We are requesting the precise location of Mr. Montgomery. Mr.
               DeWclfe and I have net been able to locate Mr. Montgomery. If he is
               in the Witness Protection Program, please immediately so advise us
               so that we can make arrangements to interview h.im at a ti.me and
               locatio~ which will net jeopardize his security concerns.
              2. Please provide us with all information pertaining to why James
              montgomery was investigated and/or charged with the triple homicide
              in Maryland which occurred on November 17, 1996. This request
              relates to any and all information in your possession, the
              possession of any member of the Office of the United States
              Attorney for the District of Columbia, the possession of any law
              enforcement agency in any jurisdiction, and the possession of ~~e
              Maryland State's Attorney's office.
              3. Pursuant to Giglio v. United States, please provide us witb che
              full te.::ms of any agreement reached between James Montgomery and
              any prosacu~cr's cifice Nhi~h ~~ any man~er relates to his
              antic~patsc tes~~mony in the above-referenced matter. If an
              a~=semen~ has ~e~n ~:duced to wri~ir.g, ~lease prcvide us wi~~ =
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         STEv-EN R. K.IERSH               -                                    •
                              Case 1:98-cr-0032.L Document 71 Filed 02/09/99-ge 23 of 27




                 Kenneth L. Wainstein, Esquire
                 Page Two
                 January 19, 1999 .

                 Re: United States v. William Sweeney


                      Please advise Mr. Dewolfe and myself of your position
                 regarding ~hese requests no later ~han January 26, 1999 so that w2
                 will lea=n whether it will be necessary to litigate these requests.
                         Thank you for your attention to this letter.




                                              Very truly yot.U:"s,



                                              ~~~~~----__.,.,,-
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                                          .     A
                                        ~Steven R. Kiers
                                           Paul DeWolfe




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(Page 32 of Total)
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      er COVNSEL
                                                              F'AX. CZOZ) 835•1543



                                                     January 29, 1999
                  TELEFAX AND REGULAR MAIL
                  Kenneth L. Wainstein, Esquire
                  Assistant United States Attorney
                  555 4th Street, N,W.
                  Washington, D.C. 20001
                                                     Re: united States v. William Sweeney
                                                                    Cr. 98-329
                  Dear Mr, Wainstein:
                       on January 4, 1999 and on two separate occasions on January
                  19, 1999, Paul Dewolfe and I, on behalf of William Sweeney, made
                  three very specific Brady requests.
                      I want to reiterate that the Brady requests we made are for
                 information absolutely essential to our ability to investigate the
                 charges against our client.

                      We have not received any response from you to our Brady
                 demands and we had previously requested that you respond to our
                 requests by January 26, 1999.
                       Please immediately advise me whether you will provide us with
                  the  requested information. We need to have your response by
                  February 1 1 1999. If we do not hear from you by that date, we will
                 assume that you have chosen to deny our requests and we will have
                 no alternative but to move to compel disclosure of the information.
                              Thank you for your attention to this letter.


                                                     Very truly yours,                                     f~[L~IO)


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                                                    z.       R. Kie          h
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                                                                                               NANCY MAYER WH!TTTt,.vl'/'1...,~. ---• 11,
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                                              STEVEN R. KIERSH
                                                                             '       .
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                                                     ATTORNEY AT LAW
                                                    •6.!e IC STREE:T, N.W,
                                                         SUITE 901
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                                                  WASHINGTON, 0.C. 20001!1
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    Ol'COlJNStL
                                                    FAA. <202J 83!5-I ~43



                                            February 1, 1999

              TELEFAX AND REGULAR MAIL

             Kenneth L. Wainstein, Esquire
             Assistant U.S. Attorney
             555 4th Street, N.W.
             Washington, n.c. 20001
                                            Re: United States v. William Sweeney
                                                          Cr. 98-329
              Dear Mr. Wainstein:
                  This letter will memorialize my understanding of the substance
             of our telephone conversation this afternoon related to defendant's
             outstanding discovery requests made pursuant to Brady v. Maryland.
             1. James Montgomery: You would not reveal his whereabouts and
             referred me to his attorney Alan Dale regarding availability for a
             statement. With respect to my request for information linking Mr.
             Montgomery to the triple homicide in Maryland, you stated that
             there was nothing you have seen in that investigation that would
             tend to exculpate Mr. Sweeney.
                  Our position regarding the investigation of Mr. Montgomery for
             the triple homicide is that the mere fact that he was considered a
             suspect is in and of itself Brady. Any information developed by any
             law enforcement agency or any prosecutor's office that in any
             manner related to Mr. Montgomery as a suspect, in the defense view,
             should immediately be turned over.
                  I am confident as a matter of fact that Mr. Montgomery was
             investigated as a suspect for the triple murder. We feel that any
             person involved in the investigation and any product of the
             inve~tigation is Brady.
                  We obviously disagree on this issue and I will file a motion
             to litigate the issue.
                  You did state that you will look into the investigation of Mr.
             Montgomery in Maryland and advise me if your views change after
             looking into the matter.


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                                                                                    NANCY W.1t:;11 \l'lhlmOOTOi>l, ~nl\
                                                                                          U.S. OismlCT COURT


(Page 34 of Total)
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        USCA Case #21-3072    Document #2077668       Filed: 10/01/2024     Page 35 of 477
         •      Case l:98-cr-003.CL  Document 71 riled 02/0i     'age 26 of 77
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       ~TEVEN R. KIERSH

           Kenneth L. Wainstein, £squire
           Page Two
           February 1, 1999
           Re: United States v. William Sweeney


           2. Dennis Green: You stated that AUSA Peter Zeidenberg is
           investigating this matter and will advise me in two weeks whether
           there was an arrest of Dennis Green.
                Our position on Dennis Green is th.at any and all information
           related to any investigation of him as a suspect in the case is
           Brady regardless of whether he was arrested.
                 I will follow up on this in two weeks. If we can no.t reach
           agreement on disclosure of this information,   we will file the
           appropriate pleading.
           3. Pinckney & Owens: We are reiterating our request for any and all
           information regarding the whereabouts of these exculpatory
           witnesses regarding the triple murder in Maryland. They have been
           interviewed by the State's Attorney in Maryland and I requested
           that you contact that prosecutor for any and all information
           regarding their whereabouts. We agreed to wait two weeks while you
           investigate this information and will so advise me.
           4. Sprint telephone records. You agreed to check whether these
           records are in the possession of the State's attorney in Maryland
           and will advise me in two weeks of their availability.
                Please let me know if the representations in this l~tter do
           not comport with your understanding of our conversation.


                                   Very truly yours,




           SRK:le




(Page 35 of Total)
                                           App 601
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(Page 36 of Total)
                                           App 602
               USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 37 of 477
                            Case 1:98-cr-00.-RCL Document 329 Filed 07/161 Page 1 of 14

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                                                                                                              FILED
                                            UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF COLUMBIA                                   JUL 1 6 2000
                                                                                                     NANCY MAY£R WHITTINGTON, CWIK
                                                                                                           U.S. OlSTRlCT COURT
                UNITED STA TES OF AMERICA                      )
                                                               )
                                V.                             )       Criminal No. 98-329
                                                               )       (TPJ)
                SAMUEL CARSON                                  )


                                      MOTION FOR DISMISSAL OF COUNTS,
                               TO COMPEL DISCLOSURE OF EXCULPATORY EVIDENCE,
                                       AND FOR ADDITIONAL SANCTIONS
                                   DUE TO VIOLATIONS OF BRADY V. MARYLAND

                       Defendant Samuel Carson, by and through undersigned counsel, Gerald I. Fisher and

                Joseph Beshouri, moves this Court, pursuant to the Due Process Clause of the Fifth Amendment

                and Brady v. Ma,yland, 373 US. 83 (1963), for an Order (1) dismissing Counts 5-8 of the

                Indictment, (2) precluding the Government from introducing evidence related to those charges at

                trial, (3) requiring disclosure of other material and witnesses requested by the defense, and (4)

                establishing a mechanism for independent review of the files of the United States Attorney and the

                law enforcement agencies involved in this case for the presence of information/evidence which

                may be deemed exculpatory under Brady. These requests are made due to the Government's 1

                repeated violation of Brady through disclosure of clearly exculpatory evidence so belatedly that

                the defense cannot effectively use the evidence at trial.


                        1ln this motion Mr. Carson uses the term "Government" to apply collectively to aU
                members of the United States Attorney's Office and all law enforcement officials involved in the
                investigation and prosecution of this case. Consequently, no assertion of a failure to comply with
                Brady is directed at a particular individual. The two Assistant United States Attorneys currently
                prosecuting this case made the disclosures mentioned in this motion and have assured defense
                counsel that they did so as soon as possible after discovering the exculpatory materials. Neither
                Mr. Carson nor his counsel have any reason to question the truth of that representation.




(Page 37 of Total)
                                                              App 603
        USCA Case #21-3072    Document #2077668       Filed: 10/01/2024 Page 38 of 477
                Case 1:98-cr-001-RCL Document 329 Filed 07/1. Page 2 of 14




                 In support of this Motion, Mr. Carson states:

                 1. Mr. Carson and his co-defendants are charged in a Superseding Indictment with

          conspiracy to distribute controlled substances, conspiracy to participate in a racketeer influenced

          corrupt organization ("RICO"), and 99 other counts of criminal activity spanning a period of time

          from 1988 through March 1999, including numerous counts of first-degree murder and other

          violent crimes. The original Indictment in this case was handed down in !ate-August 1998. The

          Superseding Indictment was returned in March 1999 Among the specific charges pending

          against Mr Carson are:

                         (a) The December 19, 1989 murders of Maurice Hallman and Leonard Hyson

                 (OA 3; RA 51; Cts. 5-6).

                         (b) The March 22, 1991 murders of Teresa Thomas and Terita Lucas. (OA 7;

                 RA 52; Ct. 7-8). Though not charged until the instant Indictment was handed down, Mr.

                 Carson has been a prime suspect since the day these homicides were committed and was

                 questioned extensively by the police shortly after the murders took place Also, on at least

                  one occasion, the police sought a warrant for Mr. Carson's arrest, but the warrant was

                  refused.

                         (c) The August 6, 1991 murder of Anthony Fortune, allegedly in retaliation for a

                  prior robbery of Co-Defendant Jerome Martin by Fortune (OA 8; RA 33, Ct. 9). Mr.

                 Martin is also charged with this crime.

                         (d) The November 17, 1996 murders of Alonzo Gaskins, Darnell Mack, and

                 Melody Anderson during a robbery at Mr. Mack's home in Prince George's County,

                  Maryland (OA 92; RA 70; Cts. 48-50) Co-Defendants William Sweeney and Sean


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(Page 38 of Total)
                                                       App 604
        USCA Case #21-3072             Document #2077668              Filed: 10/01/2024        Page 39 of 477
                     Case 1:98-cr-OO.-RCL Document 329 Filed 07/1. Page 3 of 14




                 Coates are charged along with Mr. Carson.

          Recently, the Government also informed counsel that they will present evidence that Mr. Carson

          was involved in the August 6, 1992 murder of Kevin Hart. Co-Defendants Proctor and Martin

          are charged in the Superseding Indictment with that murder. (OA 20; RA 54.55; Ct. 20)

                 2. Counsel for Mr. Carson have made both specific and general requests of the

          Government for the disclosure of Brady material as to each of these charges.

                 3. Between late-April 2000 and today, the Government provided defense counsel the

          following Brady material relating to the 1989 Hallman/Hyson murder, which has been in the

          Government's files/or more than ten years:

                         (a) A police report prepared by Off.. Daniel Whalen on December 29, 1989 (Bate-

                 stamped 00902303-04) concerning an interview with one Randy Givens, an eyewitness

                 who described the two individuals responsible for the murders and identified them by

                 nicknames.

                         (b) A one-page resume prepared by Det. Bob Vacin on December 25, 1989 (Bate-

                 stamped 00902436), regarding an interview Vacin conducted that same day with Lance

                 Lyles. Lyles related that he had received a telephone call on the date of the murders from

                 one Wayne Perry threatening Hallman and Hyson. Lyles also stated that he knew Ha!lman

                 had "messed up" some cocaine belonging to Perry and that Hallman was an associate of

                 Perry's.

                            (c) A one-page resume prepared by Off. Whalen and Det Danie! Wagner on

                 January 4, 1990 (Bate-stamped 00902435), less than a month after the murders,

                 concerning the observation of an automobile identified by Randy Givens as belonging to


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(Page 39 of Total)
                                                       App 605
        USCA Case #21-3072             Document #2077668              Filed: 10/01/2024       Page 40 of 477
                     Case 1:98-cr-00.-RCL Document 329 Filed 07/1. Page 4 of 14




                  one of the murderers. The automobile was registered to and driven by an Alonzo

                  Washington. Arthur Keys was a passenger in the car.

                  4. Also between late-April 2000 and today, the Government provided the following

          Brady material concerning the Thomas/Lucas murders, which has been in the Government's files

          for at least five years:

                          (a) A three-page FBI report, dated January 21, 1992 (Bate-stamped 00902306)

                  concerning an interview with James Montgomery, a government informant and prnbable

                  witness at trial. In the inteiview Montgomery provided extensive information about

                  murders committed by two drug dealers, Alberto Martinez (AKA "Alpo") and Wayne

                  Perry. Much of the infonnation known to Montgomery was derived from conversations

                  he either overheard or participated in with Martinez and Perry. Among the murders

                  Montgomery discussed with the FBI were the murders of Ms. Thomas and Ms. Lucas.

                  Montgomery told the FBI that Perry kiUed the two women because an individual known

                  as "Kenny Man," robbed a good friend of Perry's and Ms. Thomas was the mother of

                  Kenny Man's child_

                          (b) A one-page report by MPD Homicide Det. Munsey (Bate-stamped

                  00902309), dated April 24, 1995 concerning an anonymous phone call he received that

                  day. The caller informed the detective thats/he overheard a conversation between two

                  individuals in February who said that they had spoken with a woman named Tameka Hill

                  who told them she had helped the murderers by knocking on the door of Teresa Thomas'

                  apartment in the early morning hours of March 22, 199 I, and when Ms. Thomas opened

                  the door, two men in Ms. Hill's company, known as «Ant" and "Mark," rushed in and




(Page 40 of Total)
                                                     App 606
        USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024         Page 41 of 477
                     Case 1:98-cr-00.-RCL Document 329 Filed 07/1. Page 5 of 14




                 killed Ms. Thomas and Ms. Lucas. In the report provided to the defense. the Government

                 blacked out the names of the two women who had spoken with Ms. Hill.

                           (c) Two pages of a running resume relating to the investigation of the murders

                 (Bate-stamped 00902310-11) and containing the following information:

                                  (i) After being arrested on an unrelated rape and unauthorized use of a

                           vehicle on April 10, 199 l, Anthony Bragdon, the last known person to be in Ms.

                           Thomas' apartment, was questioned about the murders. He contended that he had

                           left the apartment at 12:30 a. m. He had previously provided the police with the

                           same information and had claimed that he had been seen leaving by a little boy.

                           However, the police had interviewed 14 boys who had been playing outside the

                           apartment and had stated they had last seen Bragdon entering tbe apartment, at

                           approximately 9:30 p.m. The report goes on to note that Bragdon had taken three

                           polygraphs and had been found to be deceptive when he stated he did not kill the

                           decedents~ that he did not leave the apartment with a 9mm gun2 ; that he did not

                           know where the gun was; and that he was telling the truth. The running resume

                           also noted that the rape victim had told the police that during his assault of her

                           Bragdon toid her he was carrying a 9mm gun.

                                   (ii) On June IO, 1991, David Duarte spoke with a woman named Wanda

                           Dixon, who told Duarte that Kenny Man wanted Ms. Thomas to set up a drug

                           dealer, and that Thomas had done so in the past. For unknown reasons, said

                           Dixon, Thomas refused to do and then told the dealer what Kenny Man had asked


                 2   A 9mm gun was used to kill Ms. Thomas and Ms. Lucas.

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(Page 41 of Total)
                                                        App 607
        USCA Case #21-3072           Document #2077668                Filed: 10/01/2024        Page 42 of 477
                     Case 1:98-cr-0O.-RCL Document 329 Filed 07/1. Page 6 of 14




                         her to do. Kenny Man learned what Thomas had done, and killed her then killed

                        Ms. Lucas so there would be no witnesses. Later, Kenny Man bragged to others

                         about what he had done. The resume also reports that a few days after relating his

                         conversation with Ms. Dixon, Duarte learned that the drug dealer Kenny Man had

                         wanted Ms. Thomas to set up was named "Wayne."

                         (d) A one-page report prepared by Det. Parson and Det. Queen on April 4, 1991

                 (Bate-stamped 00902312), relating to a phone call from one Renee Brown. Ms. Brovm

                 infonned the detectives that she had been told that a man named "Deph" was involved in

                 the shootings. Ms. Brown also related that Ms. Thomas had gotten into an argument with

                "Deph's" mother during a birthday party for Wanda Edwards and the mother had

                 threatened Ms. Thomas.

                         (e) A one-page resume prepared by Dets. Parson and Queen on June 11, 1991

                 (Bate-stamped 00902433), stating that an Off. Hines had spoken with David Duarte, who

                 had spoken with an unidentified female who told Duarte that Kenny Man told her he killed

                 Ms. Thomas and Ms. Lucas.

                         (f) Grand jury testimony given on January 12, 1995 by Anna B. Davis (Bate-

                 stamped 00902477-79), in which Ms. Davis stated that she had been told that an

                 individual named Mark Ford had committed the murders along with "Dep" and "Ant," and

                 that Ford had admitted to her that he had done so.

                         (g) A one-page resume prepared by Det. Pearson and Det Queen on April 15,

                 1991 noting that one of the decedents had been involved a fist fight with ''Ant's" mother

                 and that "Ant" had told her he was going to "bust" her. The resume identifies "Ant" as


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(Page 42 of Total)
                                                     App 608
        USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024       Page 43 of 477
                     Case 1:98-cr-OO.-RCL Document 329 Filed 07/1. Page 7 of 14




                  Lamar Allen.

                  5. On June 16, 2000, the Government provided counsel with a one-page resume

          (Bate-stamped 00902481) identifying Anthony Chandler, Eric Jones, and Antoine Gaithers as

          suspects in the murder of Kevin Hart.

                  6. By letter dated June 1, 2000, the Government refused to disclose the following

          inforrnation until trial:

                           (a) The names and addresses of w1tnesses to the murder of Anthony Fortune who

                  heard co-defendant Martin claim sole responsibility for the murder

                           (b) A statement by Government witness James Montgomery concerning the

                  November 13, 1996 murders of Alonzo Gaskins, Darnell Mack, and Melody Anderson

                  which omitted any mention of Mr. Carson's involvement. Despite the omission of Mr.

                  Carson in his statement, Mr. Montgomery is expected to implicate '.Mr, Carson at trial.

                  Counsel for Mr. Carson also understand that in his statement Montgomery ascribed

                  different roles to the al!eged participants than he now claims.

                  7 In a June 30, 2000 pleading he Government has also refused to disclose all statements

          by James Montgomery until trial on the theory that a11 such statements are simply impeachment

          and, therefore, governed by the Jencks Act,18 U.S.C. § 3500, et seq. Government's Notice of

          Submission of Ex Parte Materials to the Court Regarding James Montgomery (hereinafter

          "Montgomery Notice").

                                                       Argument

                  In Brady, the Supreme Court held that, regardless of good or bad faith, suppression by the

          prosecution of evidence in its possession that is favorable to the accused violates due process


                                                            7




(Page 43 of Total)
                                                       App 609
        USCA Case #21-3072            Document #2077668                   Filed: 10/01/2024         Page 44 of 477
                     Case 1:98-cr-OO.-RCL Document 329 Filed 07/1. Page 8 of 14




          when that evidence is material either to guilt or punishment. 373 U.S. at 87. The Brady doctrine

          imputes the knowledge oflaw enforcement agencies to the prosecution, Kyles v. Whitley, 514

          U.S. 419, 434-38 (1995), and imposes on the prosecutor the affim1ative duty to search the files of

          all law enforcement agencies for exculpatory evidence United States v. Butler, 499 F.2d 1006

          (D.C Cir. 1974).

                 The doctrine also requires the prosecution to produce the exculpatory evidence in its

          possession "at such time as to allow the defense to use the favorable material effectively in the

          preparation and presentation of its case." United States v. Pollack, 534 F.2d 964, 973 (D.C.

          Cir.}, cert. denied, 429 U.S. 924 (1976); see also United States v Allain, 671 F.2d 248, 25S (7lh

          Cir. 1982); Edelen v. United States, 627 A2d 968, 970 (D.C. 1993). Both the duty to disclose

          and the requirement that disclosure be effective are independent of other discovery obligations on

          the part of the prosecution, such as the Jencks Act and Rule 16 of the Federal Rules of Criminal

          Procedure, which may allow the Government to withho1d some discoverable evidence until trial.

          Brady evidence, in contrast, should be disclosed "as soon as practicable following the filing of

          charges." American Bar Association Standards for Criminal Justice, 11-2. l(c), 11-2.2. See also

          id. at 3-3.1 l(a) (disclosure of Brady material should take place "at the earliest feasible

          opportunity"); Pollack, 534 F 2d at 973-74; Grant v. Alldredge, 498 F.2d 376, 382 (2nd Cir.

           1974); United States v. Deutsch, 373 F. Supp. 289, 290·91 (S.D.N Y 1974).

                  The determination of what constitutes Brady material should not necessarily be left to the

           prosecutor, or even the court. Dennis v. United States, 384 U.S. 855, 875 (1966) ("In our

          adversary system, it is enough for judges to judge. The determination of what may be useful to

          the defense can properly and effectively by made only by an advocate."). And even when the


                                                             8




(Page 44 of Total)
                                                        App 610
        USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024         Page 45 of 477
                     Case 1:98-cr-0.-RCL Document 329 Filed 07/1. Page 9 of 14




          determination whether to disclose rests entirely with the prosecution, the prosecution should not

          apply a narrow definition of what constitutes exculpatory material. "[B}ecause the significance of

          an item of evidence can seldom be predicted accurately until the entire record is complete, the

          prudent prosecutor will resolve doubtful questions in favor of disclosure." Agurs v. United

          States, 427 US. 97, 108 (1976). See also Kyles, 514 U.S. at 439 ("This means, naturally, that a

          prosecutor anxious about tacking too dose to the wind will disclose a favorable piece of

          evidence.); Lewis v. United States, 408 A.2d 303, 308 (D.C. 1979).

                 For unknown reasons, the Government did not turn over the clearly exculpatory evidence

          about the Maurice Hallman/Leonard Hyson murders and the Teresa Thomas/Terita Lucas

          murders until more than two years after the charges were brought against Mr. Carson and his Co-

          Defendants and betweenfive and ten years after the information came into the Government's

          possession. The evidence as to both crimes is obviously and compellingly exculpatory; if true, it

          exonerates Mr. Carson from those charges. Although the Government has offered to make those

          witnesses known to them available for the defense to interview, that is a woefully inadequate

          remedy for this violation of Brady The Government simply cannot say with confidence that there

          were not other witnesses to these events who could have provided additional exculpatory

          testimony but are now unavailable; that leads which once would have been fresh are not now

          stale; or that the witnesses who remain will remember the events in sufficient detail to pennit the

          defense to present the evidence of Mr. Carson's innocence as effectively as would have been

          possible had the information been promptly disclosed. The Government offers no explanation for

          its inaction other than simple oversight. But, as noted, Brady does not differentiate between good

          and bad faith non-disclosure. The obligation to disclose is measured by the "character of the


                                                           9




(Page 45 of Total)
                                                       App 611
        USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024         Page 46 of 477
                     Case 1:98-cr-OO.-RCL Document 329 Fi!ed 07/16. Page 10 of 14



          evidence, not the character of the prosecutor." Agurs, 427 U.S. at 110.

                 The refusal by the Government to immediately disclose the names and addresses of the

          witnesses and the other exculpatory information requested by the defense is equally, if not more,

          troubling. The Government acknowledges that the evidence is exculpatory, but asserts in its June

          30 th pleading that it need not disclose that evidence until trial or shortly beforehand. In that

          pleading the Government takes the position that it need not disclose contradictory statements of

          its witnesses prior to trial because such evidence is merely impeachment. See Montgomery

          Notice at 1-2 It relies on United States v. Tarantino, 846 F.2d 1384, 1416 (D.C. Cir. 1988) as

          authority for this position. Montgomery Notice at 2, 3. That reliance, however, is misplaced.

                  Tarantino did not involve a Brady request. Rather, as clearly stated by the Court of

          Appeals, the issue was whether the Government was required under the Jencks Act, 18 U.S.C §

          3S00 (1982), to turn over witness statements prior to trial "because access to these statements

          would have enhanced defense counsel's ability to cross-examine Strickland - the key government

          witnessl' Tarantino, 846 F.2d at 1413. The Court held that the Jencks Act did not so require.

          However, the Court went on to explicitly remark that the Government's duty relating to the

          disclosure of statements does not end with the Jencks Act. "Of course, under Brady v. Maryland,

           .. the government has additional obligations deriving from the Fifth Amendment to dis!cose

          exculpatory material, and the limitations on discovery contained in the Jencks Act do not lessen

          those obligations." Tarantino, 846 F .2d at 1414 n.11 ( citations omitted).

                  That admonition is particularly appropriate here. In the first place, statements from

          witnesses which contradict their expected trial testimony, even if it only serves to impeach,

          qualifies as exculpatory evidence under Brady. See Kyles, 514 U.S. at 421-22; Giles v.


                                                             10




(Page 46 of Total)
                                                        App 612
        USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024         Page 47 of 477
                     Case 1:98-cr-00.-RCL Document 329 Filed 07/1. Page 11 of 14



          Al/aryland, 386 U.S. 66, 76-77 (1967) (plurality opinion) But contradictory statements may also

          contain a rendition of events or other information that, if true, lends to exoneration of the

          defendant or reduces his culpability. That information is not simply "impeachment" but is

          affinnative Brady evidence which must be disclosed when it can be effectively used by the defense

          to investigate the case. Based upon investigation and what has been obtained in discovery, it is

          undersigned counsel's good faith belief that the statements in the Government's possession are

          not merely impeachment and must be disclosed now.

                 Furthermore, the Government has not yet provided the supporting information or the

          persons who supplied it which led the police to consider Anthony Chandler, Eric Jones, and

          Antoine Gaithers, and not Mr. Carson, to be suspects in the murder of Kevin Hart Brady would

          appear to require disclosure of that information, too.

                 Courts are empowered to fashion remedies that are commensurate with the violations of

          Brady. See United Slates v. Bryant, 439 F.2d 642, 652 (D.C. Cir. 1971 ). Because the impact of

          the Government's inexcusably dilatory disclosure of exculpatory evidence as to the

          Hallmon/Hyson and Thomas/Lucas murders cannot be remedied, this Court should exercise its

          supervisory powers to dismiss those charges. In order to further ensure that the remedy of

          dismissal is effective, the Court should additionally prevent the Government from introducing any

          evidence about those charges at trial.

                 As to the other exculpatory evidence known to and being withheld by the Government,

          this Court should require its immediate revelation to the defense and consider additional sanctions

          should the delay in disclosure diminish the defense presentation at trial.

                 Finally, due to these multiple violations of Brady, Mr. Carson asks that this Court appoint


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(Page 47 of Total)
                                                       App 613
        USCA Case #21-3072           Document #2077668                  Filed: 10/01/2024       Page 48 of 477
                     Case 1:98-cr-00.-RCL Document 329 Filed 07/161 Page 12 of 14




          an attorney independent of the prosecution and the defense to examine the Government's files to

          detennine whether other non-disclosed exculpatory evidence exists. Only in that way can this

          Court be confident that the defense has received all exculpatory material and that Brady and its

          progeny are being properly interpreted and applied.

                                                                 Respectfully submitted,




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                                                                 Gerald I. Fisher
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                                                                 Counsel for Samuel Carson




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(Page 48 of Total)
                                                      App 614
        USCA Case #21-3072           Document #2077668                  Filed: 10/01/2024         Page 49 of 477
                     Case 1:98-cr-00.-RCL Document 329 Filed 07/161 Page 13 of 14




                                          CERTIFICATE OF SERVICE

                 I hereby certify that this 15 th day ofJuly, 2000, I have served copies of the foregoing

          pleading upon:

          Peter R. Zeidenberg, Esq.                             Christopher M. Davis, Esq.
          Anjali Chaturvedi                                     601 Indiana Ave., N.W.
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                                                                Gerald I. Fisher




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(Page 49 of Total)
                                                      App 615
        USCA Case #21-3072     Document #2077668       Filed: 10/01/2024   Page 50 of 477
                 Case 1:98-cr-()0.-RCL Document 329 Filed 07/1. Page 14 of 14




(Page 50 of Total)
                                           App 616
        USCA Case #21-3072         Document #2077668             Filed: 10/01/2024       Page 51 of 477
                      Case 1:98-cr-O0.-RCL Document 450 Filed 111021 Page 1 of 43



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                                   UNITED STATES DlSTRJCT COURT
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                                                   )                             NANCY MAYERWH11Tlt,•. • -·.
          UNITED STATES                            )                                   U.S. DISiR\il Cu......
                                                   )
                 v.                                )       Criminal No. 98M329
                                                   )       (TPJ)
          WILLIAM SWEENEY                          )
                                                   )

                          MOTION TO ADMIT INTO EVIDENCE THE MARYLAND
                      GRAND JURY TESTIMONY OF TWO UNAVAILABLE WITNESSES
                       WHO WERE INTRODUCED BY THE STATE'S ATTORNEY FOR
                                   PRINCE GEORGE'S COUNTY

                Defendant, by and through undersigned counsel, Steven R Kiersh and Leonard

          Long, does hereby set forth to this Honorable Court as follows:

                 1 ) This pleading relates to two individuals who have provided exculpatory

          information regarding William Sweeney in the context of the triple murder in Temple

          Hills, Maryland which is a subject of this indictment. The two witnesses, John Pinckney

          and Cheree Owens, can not be located and thus are unavailable to testify at trial.

                2.) When the Maryland triple murder was prosecuted in the Circuit Court for

          Prince George's County, both Pinckney and Owens were called by the State's Attorney

          to testify before the grand jury on December 10, 1996 ( less than one month foJlowing

          the commission of the triple murders). Cheree Owens testified that prior to the past

          Thanksgiving she had been living in Temple Hills, Maryland with her fiance John

          Pinckney. A man by the name Dennis Green came to her home and began talking on

          the telephone. She overheard Green say that "Me (sic} just took three people out of

          the street." Afterwards, Owens told Green that he could no longer come to her house.

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(Page 51 of Total)
                                                 App 617
        USCA Case #21-3072         Document #2077668             Filed: 10/01/2024      Page 52 of 477
                     Case l:98-cr-003.RCL Document 450 Filed 11/02/. Page 2 of 43




          Green replied by demanding $200. 00 in cash from Owens. Their dispute, over the

          course of the next few days, escalated with Green trying to kick her back door in. She

          said that he had a weapon and he and a friend were firing a weapon.

                 Cheree Owens was asked to adopt as truthful a nine page statement that she

          provided to the police prior to her appearance before the grand jury. She adopted the

          statement which in relevant part read as follows:

                         Q: In response to the telephone conversation between Dennis Green
                         and the unknown person, what was Dennis' exact words?

                         ~: Man you should had come around here yesterday. Cause we went
                         up the street and had to take these people out already. The person
                         he was talking to asked who were we and he said me, Khalis and
                         Frank and the rest of the guys. That is when I learned about a killing
                         around here.

                         Q: Did Dennis say why they kiffed these people?

                         A: No.

                         Q: When was this telephone conversation?

                         /j_: Almost two weeks after the killing. That is when he stayed over
                         night at my house.

                 3.) John Pinckney also appeared before the Maryland grand jury. Pinckney

          acknowledged talking to the police about the triple homicide which is a subject of this

          indictment. The homicides occurred right down the street from the home he shared with

          Cheree Owens.

                 Pinckney addressed his activities with Dennis Green {the man who Owens

          testified was talking about murders). Pinckney testified that he was involved in drug

          running with Dennis Green. He further testified that after Green left his home, Ms.

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(Page 52 of Total)
                                                  App 618
        USCA Case #21-3072           Document #2077668                Filed: 10/01/2024        Page 53 of 477
                     Case 1:98-cr-00.-RCL Document 450 Filed 11/0. Page 3 of 43
                                                                                ...

          Owens was shaking and crying. His testimony included the following statement. "And

          so after he (Green) had left, she told me what he had said on the cell phone while

          he was upstairs in one of the bedrooms, and that it had something to do with the

          homicide down the street."

                 4.) Defendant submits that the respective grand jury testimony of Cheree Owens

          and John Pinckney is relevant and material as follows:

                         a.) It demonstrates that Dennis Green. a person entirely unknown to
                         Mr. Sweeney, was a suspect in the investigation of the triple
                         murders;
                        b.) It demonstrates that Dennis Green acknowledged responsibility
                        for the triple murders and provides a motive for the murders;
                        c.) It demonstrates that Dennis Green was involved in narcotics
                        trafficking, possessed weapons. and used threats to intimidate
                        individuals. This is the type of conduct that can very easily lead to
                        murder.

                 5.) The Grand Jury testimony of the unavailable witnesses is clearly exculpatory

          and should be admitted into evidence for consideration by the jury_

                 6.) The United States Marshal has been unable to locate either Mr. Pinckney or

          Ms. Owens

                 7.) Attached to this Pleading are the following Exh1bits to this Motion.

                         a.) Grand jury testimony of John Pinckney;
                         b.) Grand jury testimony of Cheree Owens;
                         c.) Statement of Cheree Owens;
                         d.) Returns of service from the U.S. Marshal evidencing an inability
                             To locate either Pinckney or Owens;
                         e.) Statement of charges against Dennis Green.

          Footnote #1: In SeP.tember, 1999, Defendant's investigator was able to locate Pinckney and
          Owens. They coulo not be subpoened because there was no pending trial date. They told the
          investigator substantially the same story as is in the respective Grand Jury transcripts. The
          investigator could not again locate them.


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(Page 53 of Total)
                                                     App 619
        USCA Case #21-3072         Document #2077668            Filed: 10/01/2024     Page 54 of 477
                     Case l:98-cr-003.RCL Document 450 Filed 11/02/i Page 4 of 43




                      WHEREFORE, the foregoing considered, Defendant prays this Honorable Court

              for an Order authorizing the admission of the grand jury testimony of John Pinckney

              and Cheree Owens into evidence.




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(Page 54 of Total)
                                                 App 620
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                  #21-3072     Document Document
                      1:98-cr-00i9-RCL  #2077668451 Filed
                                                       Filed: 10/01/2024
                                                          09/.00    Page 1 ofPage
                                                                              5   55 of 477



                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA
                                                                                                                                    ,;f
           UNITED STATES,                                  )
                                                           )
                                                                                                                            /2   -/I    .4 c.,_,,••
                                                                                                                                  .... ~~



                                                           )                                                        v/
                V.                                         ) Cximinal No. 98-329-01 (TPJ)
                                                           )
           VINCENT K. HILL, et al.,                        )
                                                           )
                             Defendants.                   )
                                                           )
                                                           )           1"•.!_;\(J~ Y ~.iAYER 'NHlTTfN(;T(1~~. t~'.S;h;-..
                                                                                     li S. DiStfl!CT GOU HT
           UNITED STATES,                                  )
                                                           )
                                                           )
                V.                                         ) Criminal No. 99-348-03 (TPJ)
                                                           )
           GARY PRICE,                                     )
                                                           )
                             Defendant.                    )
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _)

                                                           ORDER

                     In accordance with the proceedings in open corn1 at the motions hearing of September 26

           and 27, 2000, and upon consideration of the evidence taken and the representations of counsel,

           for the reasons advanced by the government or set forth on the record, it is this~ay of

            September, 2000,

                     ORDERED, that the government's motions to quash defendant Carson's subpoenas duccs 1/

           tecum addressed to the acting chief of lrnman resources at the U.S. Department of Agriculture
                                                  .·· ✓ .... ··:
            and to the medical examiners office [#197, #19'jJ are denied as moot; and it is

                     FURTHER ORDERED, that the government's motion for an anonymous jury [#289l"is

            granted, subject to conditions to be determined at a later date; and it is

                     FURTHER ORDERED, that the government's motion to admit out-of-court statements of

            murdered witnesses[#3 l 4.Jrs granted as to the statements of Robert Smith and Kevin Hart,

            subject to the condition that the government disclose any and all evidence in its possesi

(Page 55 of Total)
                                                         App 621
        USCA Case #21-3072
                Case          Document Document
                     1:98-cr-00-9-RCL  #2077668451 Filed
                                                      Filed: 10/01/2024
                                                         09/.00    Page 2 ofPage
                                                                             5   56 of 477



           may impeach the out-of-court statements of Smith and/or Hait or may indicate that persons other

           than defendants attempted or had reason to murder Smith and/or Hart, and is denied as moot as to

           the statements of Chrishuana Gladden; and it is

                     FURTHER ORDERED, the defendants' joint motion to strike all racketeering counts and

           counts under the Violent Crime in Aid of Racketeering Statuk, 18 U.S.C. § 1959 et ~.,{#338f

           is denied without prejudice; and it is

                     FURTHER ORDER.ED, that defendant Sweeney's motion to dismiss counts 48, 49, and

           50, and to strike oveii acts m1d racketeering acl 70(a)-(g) of Count 2 and to strike all references to

           the triple murder in Maryland[#307]hs denied without prejudice; and it is

                     FURTHER ORDERED, that defendant Ma1tin·s motion to dismiss the indictment for

           prejudicial pre-accusatorial delay, violations of tbe statute of limitations, and Speedy Trial Act

           provisions[#337]'1s granted as to Counts 10, 11, 12, 13, 14, 15, 16, I 8, and 19, on statute of

           limitations grounds only, and denied in all other respects; and it is

                     FURTHER ORDERED, thut defendant ivfortin's motion to dismiss Counts 1 and 2 on

           Fitlh and Sixth Amendment groundsf#336j1s denied; and it is

                     FURTHER ORDERED, the defendant Carson's motion for dismissal of counts, to

           compel disclosure of exculpatory evidence, and for sanctions [#329fis denied; and it is

                     FURTHER ORDERED, that defendant Carson's and Martin's motions to strike all

           aliases from the indictment [#33t#3Ji arc denied; and it is

                     FURTHER ORDERED, that defendant Sweeney's motion to identify witnesses \.Viih

           juvenile adjudications and pendingjuvenile procec{fo1gs and to inspect juvenile files[#3llt,is

           denied without prejudice as moot; and it is




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(Page 56 of Total)
                                                         App 622
        USCA Case #21-3072
                Case          Document Document
                     1:98-cr-00-9-RCL  #2077668451 Filed
                                                      Filed: 10/01/2024
                                                         09/.00    Page 3 ofPage
                                                                             5   57 of 477



                     FURTHER ORDERED, that defendant Sweeney's motion io disclose identities of each

           confidential informant regardless of whether the informant will be ca1led as a witness at trial

           [#303)tt-!i denied; and it is

                     FURTHER ORDERED, that defendant Sweeney's motion for pretrial identification and

            production of Jencks material [#30~s denied as moot, provided that the government shall

            disclose Jencks and Gi2lio materials relating to a witness the Friday before the week in which the

           ·witness testifies; and it is

                     FURTHER ORDERED. that defendant Sweeney's motion for pretrial production of

            statements of persons \Vho will not be called as witnesses at triat[#308J/rs denied; and it is

                     FURTHER ORDERED, that defendant Carson's motion for discovery of statements of

            co-defendants and co-conspirators [#i23ffs denied; and it is

                     FURTHER ORDERED, that defendant Sweeney's motion for an order directing the

            government to give notice of its intention to rely upon other crimes evidence[#':rio}is-denied

            without prejudice, to the extenl that notice has not otherwise been furnished; and it is

                     FURTHER ORDERED. that defendant Carson's motion for notice of government's

            intention to use the residual hearsay exception under Fed. R. Evid. 807}#32,i-a.nd defendant

            Sweeney's motions for notice of government's intention to use the residual hearsay exception

            under Fed. R. Evid. 804(b)(5)''[#3041\nd 803(24)[#309'ffen-e denied as moot; and it is

                     FURTHER ORDERED, that defendant Sweeney"s motion for a pretrial hearing to

            determine the admissibility of the testimony of each of the government's proposed expert

            \•vitnesses [#230)\is denied; and it is

                     FURTHER ORDERED. that defendant Sweeney's motion for in camera review of grand

            jury testimony to determine existence of racketeering enterprise   [~aii}ifi; denied; and it is
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(Page 57 of Total)
                                                        App 623
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        USCA CaseCase 1:98-cr-0.9-RCL
                  #21-3072    Document Document
                                       #2077668451 Filed 09/28/00
                                                      Filed:       Page 4 ofPage
                                                             10/01/2024      5   58 of 477



                     FURTHER ORDERED, that defendant Sweeney's motion for a pretrial hearing to

            determine existence of conspiracy and admissibility of co-conspirators' statements [#3i~s

            denied; and it is

                     FURTHER ORDERED, that defendant Carson's motion to compel disclosure of evidence

            subject to suppression under Fed. R. Crim. P. 12(b)(3}[#328)4-s denied as moot; and it is

                     FURTHER ORDERED, that defendant Carson's motion for bill of particulars [#327~

            denied; and it is

                     FURTHER ORDERED, that defendant Sv1 eeney's third motion to compel discovery
                                                                  1



              ;,· :t-                      . . .                      .                     .       .
            [#J40] is granted to the extent that the government must disclose the above-mentioned evidence

            regarding Robert Smith and is denied in all other respects; and it is

                     FURTHER ORDERED that defendant Maiiin's motion to suppress evidence from the
                                            0




            seizure that occurred on or about September 14, 1991. [#J34{.s denied: and it is

                     FURTHER ORDERED, that defendant Sweeney's motion to suppress physical evidence

            seized from the November I, 1994, search at 21 l I Street. SE, [#306tJs denied; and it is

                   FURTHER ORDERED, that defendant Sweeney's motion to suppress identification
                                                      ✓
            testimony from February 19, I 997, [#344] is denied; and it is

                     FURTHER ORDERED, that detendant Sweeney's second motion to suppress

            identification testimony (#37~ denied as moot: and it is f·

                     FURTHER ORDERED, thut deJendant Sweeney's motjon to suppress custodial

            statements made on or about April 20. 1997,--[#~0slf; denied~ and it is

                     FURTHER ORDERED, defendant Martin's motion to suppress statemenis[#333]hs

            denied as moot as to the statements made January 24, 1992, October 27, 1992, and June 9, 1994,




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(Page 58 of Total)
                                                        App 624
        USCA Case #21-3072
                Case 1:98-cr-00329-RCL

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                               DocumentDocument
                                       #2077668451 Filed
                                                       Filed: 10/01/2024
                                                          09/28/00  Page 5 ofPage
                                                                              5

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                                                                                  59 of 477



           and denied on the merits as to tbe statements made on or about August 7, 1991, and September

            16, 1997; :cmd it is

                     FURTHER ORDERED, that defendanl Hill's motion to suppress evidence and statements

           from the April 21, 1992, search [#3.74 exhit/Tts] is denied; and it is

                     FURTHER ORDERED. that defendant Hill's motion to suppress identification from

           February 3, 1997 [#374 exhibrl;;j is denied; and it is

                     FURTHER ORDERED, that defendant Sweeney's motion for clumge in location pending

           trial (#296)\fs granted to the extent that defendant will be incarcerated in D.C. Jail or elsewhere

           in the metropolitan area during trial; and it is

                     FURTHER ORDERED, that defendant Sweeney's motion for an order granting leave to

           serve subpoenas on two assistant United States attorneys(#291ij i's denied; and it is

                     FURTHER ORDERED, that defendant Coates' motion for reconsideration of motion for

            severance [#366t"anct all other defendants' oral renewed motions for severance are denied; and it is

                   FURTHER ORDERED, that defendant Carson's supplemental motion to compel
                                                                             :\~ ,nJ·
           disclosure of exculpatory evidence (filed September 26, 2000) is.denied; and it is

                     FURTHER ORDERED, that defendant Carson's supplemental motion for bill of

           particulars of unindicted crimes which the government intends to prove at trial (filed September
                     .   .j\1\11\
           27, 2000) is 1denied; and it is

                     FURTHER O~DERED, thut defendant Proctor's motion to compel discovery ~filed ·~

            September 27,2000yis denied without prejudice.




                                                    10mas Penfield Jackson
                                                     U.S. District Judge




(Page 59 of Total)
                                                         App 625
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                                                                      Page 1 of 3 60 of 477
                                                                             Page


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                                      IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA                             NOV O6 2000
                                                                                            NANCY MAYER WHITTINGTON, CLERK
                                                                                                   U.S. DISTRICT COURT
            UNITED STATES OF AMERICA
                                                                Crim. No. 98-329 (TPJ)

                            v.

            SAMUEL CARSON, et al.
                     Defendants


                  SAMUEL CARSON'S MOTION TO ADOPT WILLIAM SWEENEY'S
                 MOTION TO ADMIT INTO EVIDENCE THE MARYLAND GRAND JURY
            TESTIMONY OF TWO UNAVAILABLE WITNESSES WHO WERE INTRODUCED BY
                    THE STATE'S ATTORNEY FOR PRINCE GEORGE'S COUNTY


                     Samuel Carson, by and through his undersigned counsel, respectfully moves this

            Honorable Court to adopt and confonn to the motion previously filed by William Sweeney

            captioned "Motion to Admit into Evidence the Maryland Grand Jury Testimony of Two

            Unavailable Witnesses Who Were Introduced by the State's Attorney for Prince George's

            County."

                                                                Respectfully submitted,



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(Page 60 of Total)
                                                      App 626
        USCA CaseCase
                  #21-3072   Document Document
                      1:9.00329-RCL   #2077668481 File.1/16/00
                                                    Filed: 10/01/2024
                                                                  Page 1 ofPage
                                                                            6 61 of 477




                                                                                                   NOV 1 ,.,
                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRJCT OF COLUMBIA                 i'. il.~'.C'/ il IiYER l
                                                                                                   t.s. c.;,t., ;i~ov 1 6 2000
            UNITED ST ATES OF AMERICA,                             Criminal No. 98-329 (TPJ)
                                                                                                          ;1,'.;;,:~   _- ·: :m:;~GTON. CLERI(
                                                                                                                       ... :. ,. COUIU

                     V.




            VINCENT HILL, ET. AL.
                                    Defendants.


                            GOVERNMENT'S MEMORANDillv1 IN OPPOSITION TO
                      DEFENDANTS SWEENEY AND HILL'S MOTIONS FOR ADMISSION OF
                          GRAND ruRY TESTilv10NY OF UNAVAILABLE WI1NESSES

                     The United States of America, by and through its attorney, the United States Attorney for the

            District of Columbia, hereby requests that this Court deny the motions of defendants Sweeney and

            Hill to admit the grand jury testimony of unavailable witnesses. In support of this opposition, the

            government states as follows•

                     1.     Defendants Sweeney, Carson and Coates have been charged in connection with the

            triple murder that occurred in Temple Hills, Maryland on November 17, 1996. That homicide was

            originally investigated by the Prince George's County Police Department, along with the State's

            Attorney's Office in Prince George's County.         Initially, the investigators had no identifying

            eyewitnesses to this murder and had no strong investigative leads.             Within several weeks,

            investigators identified John Pinckney and Cheree Owens as potential witnesses. Pinckney and

            Owens told investigators that they overheard a telephone conversation by an individual named Dennis

            Green in which Green claimed responsibility for what sounded like the triple murder in Temple Hil!s.

            Both Pinckney and Owens were put into the grand jury and testified regarding Dennis Green and his

            alleged involvement in the triple homicide.        At the time Pinckney and Owens testified, the



(Page 61 of Total)
                                                         App 627
        USCA Case #21-3072
                Case         Document Document
                     1:98.00329-RCL   #2077668481 Filettl/16/00
                                                    Filed: 10/01/2024
                                                                 Page 2 ofPage
                                                                           6   62 of 477




            investigators had no reason to believe that either Pinckney or Owens were lying. 1 After testifying in

            the grand jury in Prince George's County, both Pinckney and Owens seemingly disappeared.

            Defendant Sweeney is now seeking to admit the testimony of both Pinckney and Owens.

                     2.     Defendant Hill is also seeking to admit the testimony of an unavailable witness, named

            "Michael Jenifer, who testified on March 20, I990, regarding the murder of Larry "Patcho" Wright,

            a homicide that defendant Hill is now alleged to have committed. At the time Mr. Jenifer testified,

            however, oneiyrone Brawner was charged with having committed the murder of Mr. Wright. Mr.

            Jenifer professed to have no knowledge of the murder of Larry Wright, but claimed that he was in

            the company of Vincent Hill for virtually the entire day that Mr. Wright was killed. Mr. Jenifer was

            subsequently killed in November 3, I990 2, and defendant Hill is seeking the admission of Mr. Jenifer's

            grand jury testimony.

                     Argument

                     The precise argument advanced by defendants Sweeney and Hill --that exculpatory grand jury

            testimony of an unavailable witness should be admissible by the defense~ was made in United States

            v. Salerno. 505 U.S. 317 (1992). In Salerno, a RICO prosecution, the defendants sought to introduce




                     This view quickly changed. The police soon came to believe that they were being used by
                     1

            Pinckney and Owens. This belief was based on the fact that Pinckney and Owens were given a
            considerable amount of money that was to be used for their relocation and was meant to last several
            weeks. The pair went through the funds in a matter of days and then demanded additional funds. The
            police also learned that Pinckney and Owens owed Dennis Green the person they implicated in the
            triple murder -- money for drugs. After investigating more fully, the police found nothing to
            corroborate the stories of Pinckney and Owens. A short time later, Pinckney and Owens seemingly
            disappeared.

                    The government is unaware of the circumstances surrounding the murder ofMr. Jenifer. The
                     2

            defense has not suggested that Mr. Jenifer was killed bee au se of his status as a potential witness in
            the murder of Larry Wright.

(Page 62 of Total)
                                                         App 628
        USCA Case #21-3072
                Case        Document Document
                     1:9.00329-RCL   #2077668481 File.1/16/00
                                                   Filed: 10/01/2024
                                                                Page 3 ofPage
                                                                          6   63 of 477




            the exculpatory grand jury testimony of unavailable witnesses. 3 The Court first looked to Rule

            804(b)( 1). which states, in pertinent part:

                            The following are not excluded by the hearsay rule if the declarant is
                            unavailable as a witness:
                                     Former Testimony. -Testimony given as a witness at another
                            hearing. . if the party against whom the testimony is now offered .
                            . . had an opportunity and similar motive to develop the testimony by
                            direct, cross, or redirect examination.

                     The Salerno Court held that the grand jury testimony that the defense sought to introduce was

           inadmissible absent a showing that the government had a "similar motive" in "developing" the

           testimony at issue. Salerno at 322. The defendants here cannot make such a showing. In the case

           of defendant Sweeney, the government had absolutely no motive to impeach either Pinckney or

           Owens. On the contrary, at the time the witnesses were presented to the grand jury, the government

           believed they were being truthful. Certainly the government had no reason to believe at that time that

           the witnesses were falsely implicating Mr. Green Thus, there was absolutely no motive for the

           assistant state's attorney to cross-examine either witness when they testified in the grand jury.

                     Similarly, the government had no motive to cross-examine Mr. Jenifer when he testified that

            he was with Vincent Hill at the time of the murder of Larry Wright As pointed out previously,

            Vincent Hill was not charged with Mr Wright's murder at the time of the testimony of Mr. Jenifer;

            an individual name Tyrone Brawner was charged with this offense. There was no reason for the

            prosecutor to attempt to impeach or attack Mr. Jenifer's testimony when that testimony did not

            exculpate the individual was at that time being prosecuted for Larry Wright's murder.




                     31n Salerno, the witnesses were unavailable because they asserted their Fifth Amendment

            privilege.

(Page 63 of Total)
                                                           App 629
        USCA Case #21-3072
                ~ase        Document Document
                     1:9.00329-RCL   #2077668481 File.1/16/00
                                                   Filed: 10/01/2024
                                                                Page_ 4 ofPage
                                                                           6   64 of 477




                     Because the defendants have failed to establish that the government had a similar motive to

           develop the grand jury testimony ofthe proffered witnesses, the admission of this testimony is barred

           by Fed. R 804(b)(1).

                     WHEREFORE, it is respectfully requested that defendants' motion be denied




                                                          Respectfully submitted,

                                                          WILMA A. LEWIS
                                                          UNITED STATES ATTORNEY


                                                   By:

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(Page 64 of Total)
                                                         App 630
        USCA Case #21-3072
                Case         Document Document
                     1:9,-00329-RCL   #2077668481 Fi!e.1/16/00
                                                    Filed: 10/01/2024
                                                                  Page 5 ofPage
                                                                            6   65 of 477




                                             CERTIFICATE OF SERVlCE

                    I HEREBY CERTIFY that a copy of the foregoing was served by mail upon the attorneys
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(Page 65 of Total)
                                                   App 631
        USCA Case #21-3072
                Case         Document Document
                     1:98.00329-RCL   #2077668481 File.1/16/00
                                                    Filed: 10/01/2024
                                                                 Page 6 ofPage
                                                                           6   66 of 477




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(Page 66 of Total)
                                                      App 632
        USCA Case #21-3072          Document #2077668          Filed: 10/01/2024            Page 67 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 1 of 79



                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

                                       Holding a Criminal Term

                                 GRAND JURY SWORN IN JULY 22, 1998

          UNITED STATES OF AMERICA                      Criminal No. 98-329(TPJ)
                                                                                        '.-=-~· · :_- 0

                          v.                            Grand Jury Original

          VINCENT HILL,                                 Violations:
               a/k/ a '"Vi to, "                                             -.,--Jc-
                                                        21   u.s.c.   §846
          JEROME MARTIN,                                {Conspiracy to Dist~ib~te
               a/k/a "Pimp,"                            and Possess with Intent to
                                                        Distribute Controlled
           SAMUEL CARSON,                        :      Substances)
                a/k/a "Chin,"
                                                 :      18 u.s.c. §1962(d}
          WILLIAM KYLE SWEENEY,                         (Conspiracy to Participate
                a/k/a "Draper,"                         in a Racketeer Influenced
                                                        Corrupt Organization}
           SEAN COATES,
                a/k/a "Birdy,"                          22  D.C.   Code  §§2401, 3202
                                                        {First Degree Murder While
                                                        Armed)

                                                        22 D.C. Code §§501, 3202
                                                        (Assault with Intent to
                                                        Kill While Armed)

                                                 :      18   u.s.c. §1959
                                                        (Violent Crime in Aid of
                                                 ~      Racketeering Activity)

                                                        22 D.C. Code §§2101 1 3202
                                                        {Kidnaping While Armed)

                                                        22 D.C. Code §S0S(b)
                                                        {Assaulting a Police Officer)

                                                        18 U.S.C.     §924(c) (1)
                                                        (Use of a Firearm)

                                                        22 D.C. Code §3204(b)
                                                        {Possession of a Firearm
                                                        During a Crime of Violence)




(Page 67 of Total)
                                                App 633
        USCA Case #21-3072            Document #2077668                Filed: 10/01/2024         Page 68 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 2 of 79



                                                               21 U.S.C.-§84l(a) (1)
                                                               (Possession With Intent to
                                                               Distribute and Distribution of
                                                               Controlled Substances)

                                                               22 D.C. Code §105
                                                               (Aiding and Abetting)

                                                               18   u.s.c.    §2
                                                               (Aiding and Abetting)

                                       SEc?o.1v D ~ETY?E.lJ
                                                  INDICTMENT

                 THE GRAND JURY CHARGES THAT:

                                                  COUNT ONE

                                          NARCOTICS CONSPIRACY

                         A.      The Conspiracy

                 From on or about sometime in at least 1988, the exact date

          being unknown to the Grand Jury, and continuing thereafter up to

          and    including        March   1999,     in       the     District        of    Columbia       and

          elsewhere,          the defendants,      VINCENT          HILL1    a/k/a        "Vito,"    JEROME

          MARTIN,      a/k/a upimp," SAMUEL CARSON,                  a/k/a "Chin,'' WILLIAM KYLE

          SWEENEY,       a/k/a    "Draper,"      SEAN    COATES,        a/k/a      "Birdy,"         and   co-

          conspirators not indicted herein, did unlawfully,                                knowingly and

          intentionally combine, conspire, confederate and agree together,

          with each other, with co-conspirators not indicted herein, and with

          others       known    and    unknown    to     the       Grand     Jury,        to   unlawfully,

          knowingly, and intentionally possess with intent to distribute and

          to distribute the following:



                                                         2




(Page 68 of Total)
                                                   App 634
        USCA Case #21-3072                Document #2077668                   Filed: 10/01/2024     Page 69 of 477
                      Case 1:98-cr-00329-RCL Document 760 Fifed 07/02/01 Page 3 of 79



                     ( 1)   Mixtures and substances containing a detectable amount of

           cannabis,         also     known       as    marijuana,        a     Schedule      I    controlled

           substance, and the amount of said mixtures and substances was 1000

           kilograms or more, in violation of Title 21, United States Code,

           Sections 841 (a) (1) and 841 (bl (1) (A} (vii).

                     (2)    Mixtures and substances containing a detectable amount of

           cocaine base, also known as crack cocaine, a Schedule II narcotic

           controlled            substance,       and    the    quantity         of    said   mixtures     and

           substances was fifty (50) grams or more, in violation of Title 21,

           United States Code, Sections 841 (a) (1) and 841 (bl (1) (A) (iii).

                     (3)    Phencyclidine (PCP), a Schedule III controlled substance,

           and mixtures and substances containing a
                                                                                              .
                                                                                     detectable amount of

           phencyclidine (PCP), in violation of Title 21, United States Code,

           Sections 841 ( a) ( 1) and 841 (bl ( 1) (Cl .

                            B.      Goals of the Cons12iracy

                 The conspiracy had the following goals and objectives:

                     (1)    It     was    a    principal       goal      of    the    conspiracy     for   the

           defendants and co-conspirators to obtain as much money and other

           things of value as possible through the trafficking of controlled

           substances, namely marijuana, cocaine base,                                also known as crack

           cocaine,         PCP     and       other    drugs,       in   the    District      of    Columbia,

           Maryland, Virginia and elsewhere.

                     (2)    It was a further goal of the conspiracy to commit acts of

           robbery,         kidnaping,         murder and other acts of violence for the


                                                                3




(Page 69 of Total)
                                                         App 635
        USCA Case #21-3072            Document #2077668          Filed: 10/01/2024    Page 70 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 4 of 79



           following purposes,           among others:     to enrich the members of the

           conspiracy; to create, maintain and control a market place for the

           distribution of its controlled substances; to enforce discipline

           among members of the conspiracy; to collect monies owed to members

           of the conspiracy; to protect the conspiracy and its members from

           detection,       apprehension and prosecution by law enforcement;                 to

           intimidate and prevent persons from testifying as witnesses in

           criminal        prosecutions     against    members    of     the   conspiracy;   to

           prevent, thwart, and retaliate against acts of violence perpetrated

           by rivals against the conspiracy and its members; and to promote

           and enhance the reputation and standing of the enterprise and its

           members.

                           C.     Ways, Manner and Means To
                                  Accomplish the Conspiracv

                     The ways, manner and means by which the defendants and co-

           conspirators operated their illegal drug trafficking organization,

           include, but are not limited to, the following:

                     (1)   The members of the conspiracy knowingly and intentionally

           distributed and possessed with intent to distribute marijuana 1

           cocaine base, also known as crack, PCP and other illegal drugs, and

           aided and abetted such distribution and possession with intent to

           distribute.          The   locations   at   which   members    of   the   conspiracy

           conducted their illegal narcotics business included areas within

           the Greenleaf Gardens housing complex in Southwest Washington, D. C.

           --including, but not limited to, the 200 block of K Street, S.W.,

                                                       4




(Page 70 of Total)
                                                  App 636
        USCA Case #21-3072              Document #2077668                 Filed: 10/01/2024    Page 71 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 5 of 79



          the 900 and 1000 blocks of Delaware Avenue, S.W., and the 900 block

          of 3rd Street, S.W.-the 1500 block of Canal Street, S.W., the 200

          blocks of 37th Street and 37th Place, S.E.

                 {2)       It was part of the conspiracy that the defendants would

           and   did       play    different      roles       in    the     conspiracy,       take    upon

           themselves different tasks and participate in the conduct of the

           organization through various criminal acts.                          The defendants made

           themselves and their services available at various times throughout

           the   life of          the   conspiracy    and participated              in certain drug

           trafficking        ventures      as    required         to   promote     and    protect      the

           distribution operation.               The roles assumed by some defendants were

           interchangeable at various times throughout the conspiracy.                                 Some

           of the roles assumed and carried out by the defendants included,

           among others, holder, helper, packager, lookout, supplier of drugs,

           organizer I       intermediary,        courier,         driver,     enforcer,      protector,

           street seller and runner.

                     (3)   It was further part of the conspiracy that marijuana,

           crack cocaine,          PCP and other illegal drugs were stored, prior to

           distribution to street sellers,                    runners,       and customers,          in and

           around designated stash locations.                  The defendants used these stash

           locations to store illegal drugs and weapons in order to prevent

           them from being found by the police or rivals and to hide their
           connection to members of the organization.                           Some of these stash
           locations were also used for processing, cutting, packaging, and


                                                          5




(Page 71 of Total)
                                                     App 637
        USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024       Page 72 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 6 of 79



           distributing the organization's marijuana, crack cocaine, PCP and

           other illegal drugs.

                   (4)     I t was   further part of the conspiracy that the defendants

           and     co-conspirators         used     telephones,            cellular       and    portable

           telephones,         and     beepers/pagers          to    facilitate          their    illegal

           narcotics business; that is, making telephone calls to communicate

           with each other, their suppliers and their customers, to direct or

           facilitate acts of violence in furtherance of the conspiracy, and

           to    protect       against     the    detection         of    the    conspiracy        by    law

           enforcement officials.

                     (5)   It was further part of the conspiracy that the defendants

           and co-conspirators possessed, carried and used firearms, including

           semi-automatic pistols, machine pistols, and revolvers, to protect

           their       drug    trafficking        operation         from        theft,     robbery       and

           competition from rival sellers, and to do violence in furtherance

           of the conspiracy.            These weapons were possessed, carried and used

           for various reasons, including, but not limited to:                            to ensure the

           personal safety of the members of the organization; to protect the

           organization's            illegal     drugs,       including       marijuana         and     crack

           cocaine, and the proceeds of drug distribution; to intimidate rival

           drug      dealers    from distributing illegal                  drugs    in the areas of

           Washington, D.C. that the organization claimed to control; to rob

           rival drug dealers of their drugs and monies in order to prevent

           them from competing for illegal drug sales in the organization's


                                                          6




(Page 72 of Total)
                                                    App 638
        USCA Case #21-3072         Document #2077668             Filed: 10/01/2024   Page 73 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 7 of 79




          area; to rob customers of monies used to purchase illegal drugs; to

          retaliate against rival drug dealers for harm caused to members of

           the organization; and to ensure that drug distribution activities

          were controlle~ by the defendants and their co-conspirators.

                 {6)       It was further part of the conspiracy that the defendants

           and co-conspirators engaged in acts of violence, including murder,

           armed robbery, kidnaping and armed assaults and threatened acts of

           violence to protect themselves,              to eliminate rival sellers,         to

           retaliate for acts of violence against members of the organization,

           to   prevent       potential     witnesses     from     cooperating       with   law

           enforcement       agencies     investigating    the     drug    organization,     to

           prevent potential witnesses from testifying against members of the

           organization at criminal proceedings,             to conceal the conspiracy

           from law enforcement authorities,             to pro~ote and perpetuate the

           organization's        distribution     operation         and    to   enhance     the

           organization's reputation.

                     (7)   It was further part of the conspiracy that members caused

           third parties to purchase and/or register automobiles and to rent

           apartments used by members of the conspiracy, a practice designed

           to conceal from law enforcement authorities the connection between

           the members of the conspiracy and their automobiles and apartments.

                     (8)   It was further part of the conspiracy that its members

           took efforts to avoid detection, investigation by law enforcement




                                                    7




(Page 73 of Total)
                                                App 639
        USCA Case #21-3072            Document #2077668             Filed: 10/01/2024     Page 74 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 8 of 79



           authorities and conviction for criminal charges against any members

          of the organization.

                         D.      Overt Acts

                 In furtherance of the conspiracy and in order to effect the

           objects      thereof,      the     defendants,    co-conspirators        not   indicted

           herein, and others who are known and unknown to the Grand Jury, in

           various combinations, directly and indirectly, within the District

           of Columbia,        Maryland,       Virginia and elsewhere,         committed overt

           acts, including, but not limited to, the following:

                 1.       On   or    about     June   29,   1989,   within    the    District    of

           Columbia, VINCENT HILL, a/k/a ''Vito," while armed with a pistol,

           purposely and with deliberate and premeditated malice,,. killed Larry

           Wright, by shooting him with a pistol.

                 2.       On or about December 19, 1989, within the District of

           Columbia,      SAMUEL CARSON,         a/k/a "Chin,"      and a co-conspirator not

           indicted herein,          while armed with pistols,             purposely and with

           deliberate and premeditated malice,                  killed Maurice Hallman and

           Leonard Hyson, by shooting them with pistols.

                 3.       on or about April 28,             1990,    within the      District    of

           Columbia,      SEAN      COATES,     a/k/a   "Birdy,"    and co-conspirators         not

           indicted      herein,      while     armed   with    pistols,     seized,      confined,

           kidnaped, abducted and carried away Norman Yusef Simmons and held

           him for ransom.




                                                        8




(Page 74 of Total)
                                                      App 640
        USCA Case #21-3072           Document #2077668                 Filed: 10/01/2024     Page 75 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 9 of 79




                 4.      Between in or about 1991 and on or about June 20, 1992,

          within       the     District   of    Columbia,      WILLIAM       KYLE   SWEENEY,     a/k/a

           "Draper," and co-conspirators not indicted herein, while armed with

          pistols, assaulted persons in the Kentucky Courts neighborhood of

           Southeast Washington,           D.C.    whose identities are unknown to the

          Grand Jury with intent to kill them.

                 5.       Between in or about 1991 and on or about June 20, 1992,

          within       the     District   of    Columbia,      WILLIAM       KYLE   SWEENEY,     a/k/a

           "Draper,"         SEAN COATES,      a/k/a     "Birdy,"       and co-conspirators not

           indicted herein, while armed with pistols, assaulted persons in the

           Kentucky Courts neighborhood of Southeast Washington, D.C. whose

           identities are unknown to the Grand Jury with intent to kill them.

                 6.       On or about          March 22,      1991,     within the         District   of

           Columbia, SAMUEL CARSON, a/k/a ''Chin," while armed with a pistol,

           purposely and with deliberate                  and premeditated malice,              killed

           Teresa Thomas and Terita Lucas, by shooting them with a pistol.

                 7.       On    or about       August    6,   19 91,    within the         District of

           Columbia,      JEROME MARTIN,         a/k/a    "Pimp,"      and   SAMUEL CARSON,      a/k/a

           ''Chin," while armed with a pistol, purposely and with deliberate

           and premeditated malice, killed Anthony Fortune, by shooting him

           with a pistol.

                 8.       On or about September 10, 1991, within the District of

           Columbia,      JEROME MARTIN, a/k/a "'Pimp," SAMUEL CARSON, a/k/a "Chin,"

           and co-conspirators not indicted herein, while armed with pistols,

                                                          9




(Page 75 of Total)
                                                    App 641
        USCA Case #21-3072               Document #2077668                     Filed: 10/01/2024         Page 76 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 10 of 79



           assaulted Ofc. Adrian Treadwell, Ofc. Edward McDonald, Ofc. Marc

           Little and Ofc. Alvin Ray with intent to kill them.

                 9.      On or about October 26, 1991, in the area of 8th Street

           and Massachusetts Avenue, N. E., in the District of Columbia, SAMUEL

           CARSON,     a/k/a     11   Chin, 11    and a co-conspirator not indicted herein,

           possessed a loaded .45 caliber semi-automatic pistol.

                 10.     On or about January 23, 1992, inside of Apartment 21, 241

           37th Place, S.E., in the District of Columbia, JEROME MARTIN, a/k/a

           ''Pimp," possessed a loaded 9mm semi-automatic pistol and a bullet-

           proof vest.

                 11.     On or about April 7,                        1992,   in the state of Maryland,

           SAMUEL      CARSON,         a/k/a      "Chin,"       and co-conspirators               not     indicted

           herein,      while         armed       with     a     dangerous        weapon,         that     is,    an

           automobile,        assaulted Ofc.              Alfred Moss            of   the   Prince George's

           County Police Department with intent to kill him.

                 12.     On or about April 22, 1992, in the area of the 900 block

           of the Southeast Freeway,                      in the District of Columbia,                      JEROME

           MARTIN, a/k/a "Pimp," possessed a loaded "Tec-9 11 9mm semi-automatic

           pistol.

                 13.     On    or       about      June        20,     1992,    within      the    District       of

           Columbia,      SEAN         COATES I     a/k/ a      "Birdy 1 "      and   co- conspirators           not

           indicted herein, while armed with pistols, assaulted Jermaine Hall

           and Michael Jones with intent to kill them.



                                                                 10




(Page 76 of Total)
                                                          App 642
        USCA Case #21-3072           Document #2077668                Filed: 10/01/2024     Page 77 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 11 of 79



                 14.        Between on or about June 20, 1992 and. June 28,                      1992,

           within the District of Columbia,                 SEAN COATES,      a/k/a "Birdy,"         and

           co-conspirators not indicted herein,                  conspired to kill Michael

           Jones to prevent him from implicating and testifying against                           a co-

           conspirator not indicted herein, regarding the shooting of Jermaine

           Hall on June 20, 1992.

                 15.        On or about       June    28,    1992,     within    the      District    of

           Columbia,        SEAN    COATES,   a/k/a    "Birdy,"        and co-conspirators not

           indicted herein, while armed with pistols, assaulted Michael Jones

           with intent to kill him.

                 16.        On or about August 29,            1992,     within the District of

           Columbia,        JEROME MARTIN,     a/k/a    "Pimp,"       and a co-conspirator not

           indicted herein, while armed with a pistol,                        purposely and with

           deliberate         and   premeditated malice,         assaulted Curtis              Edwards,

           Richard         Burton and Keith Jones with intent                 to kill       them,    and

           thereby killed Curtis Edwards, by shooting him with a pistol.

                -17.        On or about October 27, 1992, in the area of 300 Yoakum

           Parkway,         in Alexandria,     Virginia,      JEROME MARTIN,           a/k/a    "Pimp,"

           possessed a 9mm semi-automatic Intratec pistol, a 12-gauge Mossberg

           shotgun, and a loaded 9mm Beretta pistol with an obliterated serial

           number.

                     18.    On or about January 7, 1993, in the area of Half and T

           Streets,        S. W.,   in the District of Columbia,              SEAN COATES,          a/k/a

           "Birdy", possessed a loaded Glock 9mm semi-automatic pistol.


                                                        11



(Page 77 of Total)
                                                     App 643
        USCA Case #21-3072        Document #2077668                 Filed: 10/01/2024   Page 78 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 12 of 79



                 19.    On   or   about   July    7,        1993,   within    the    District   of

           Columbia, WILLI.AM KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a

           "Birdy," and co-conspirators not indicted herein, while armed with

           pistols,    purposely and with deliberate and premeditated malice,

           killed Glenn Jenkins, by shooting him with a pistol.

                 20.    On or about October 22, 1993, in the state of Maryland,

           VINCENT HILL, a/k/ a ""Vi to," WILLIAM KYLE SWEENEY, a/k/ a "Draper,"

           SEAN COATES, a/k/a "Birdy" and other co-conspirators not indicted

           herein,     while armed with pistols,              attempted to kidnap,       rob and

           murder Anthony Pryor.

                 21.    On or about October 28,               1993, within the District of

           Columbia,    SAMUEL CARSON,     a/k/a "Chin," and a co-conspirator not

           indicted herein, while armed with pistols, assaulted Roland Brown

           with intent to kill him.

                 22.    On or     about   April    9,       1994,    within   the    District   of

           Columbia, SAMUEL CARSON, a/k/a "Chin," and other co-conspirators

           not indicted herein, conspired to kill Steven Dunbar.

                 23.    On or about       April    9,       1994,    within   the    District   of

           Columbia,    co-conspirators not indicted herein,                  while armed with

           pistols, purposely and with deliberate and premeditated malice,

           killed Steven Dunbar by shooting him with a pistol.

                 24.    On or     about   June    26,       1994,    within    the   District   of

           Columbia, SAMUEL CARSON, a/k/a "Chin," while armed with a pistol,

           assaulted Ulysses English with intent to kill him.

                                                       12




(Page 78 of Total)
                                                 App 644
        USCA Case #21-3072         Document #2077668                 Filed: 10/01/2024        Page 79 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01             Page 13 of 79



                 25.    On or about September 21, 1994, within the District of

          Columbia, co-conspirators not indicted herein, while armed with a

           pistol,     purposely and with deliberate and premeditated malice,

           killed Phillip Clayborne, by shooting him with a pistol.

                 26.    On or about September 26, i994, within the District of

           Columbia,     WILLIAM     KYLE     SWEENEY 1        a/k/a    "Draper,"        and    a   co-

           conspirator       not   indicted    herein,         while    armed   with      a    pistol,

           purposely and with deliberate                and premeditated malice,                killed

           Donnell Whitfield, by shooting him with a pistol.

                 27.    On or about November 1, 1994, inside of 211 I Street,

           S. E., in the District of Columbia, WILLIAM SWEENEY, a/k/a "Draper,"

           and a co-conspirator not indicted herein, possessed_a loaded 9mm

           semi-automatic Makarov pistol, a loaded 9mm semi-automatic Beretta

           pistol and a loaded 9mm semi-automatic Star pistol.

                 28.    On    or   about    May   30,        1995,   within     the   District       of

           Columbia, JEROME MARTIN, a/k/a "Pimp," while armed with a pistol,

           assaulted James Coulter with intent to kill him.

                 29.    On or about June 6,        1995,        in the District of Columbia,

           VINCENT HILL, a/k/a "Vito," obstructed justice by threatening to

           kill an individual HILL believed to be assisting the government in

           its investigation into the criminal activities of HILL and his co-

           conspirators.

                 30.     On or about September 27,              1995, in the area of the 200

           block of K Street, S.W., in the District of Columbia, VINCENT HILL,

                                                        13



(Page 79 of Total)
                                                  App 645
        USCA Case #21-3072                  Document #2077668        Filed: 10/01/2024      Page 80 of 477
                    Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 14 of 79



           a/k/a "Vito,u possessed with intent to distribute a mixture and

           substance containing marijuana.
                    31.      On or about October 4, 1995, in the area of the 200 block

           of K Street, S.W., in the District of Columbia, VINCENT HILL, a/k/a

           "Vito    1 "    distributed a mixture and substance containing marijuana.

                    32.       On or about November 2,            1995, in the area of the 200

           block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/a          "Vito, n    distributed      a   mixture   and   substance       containing

           marijuana.

                    33.       On or about November 3,            1995, in the area of the 200

           block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/ a         "Vi t·o,"   di str ibut ed   a   mixture   and       substance   containing

           marijuana,           during       which HILL     identified     a    co-conspirator    not

           indicted herein as a person who could sell marijuana to the buyer

           in the future.

                    34.       On or about November 15, 1995, in the area of the 200

           block of K Street, S. W., in the District of Columbia, VINCENT HILL,

           a/k/ a         "Vi to,"    and     JEROME   MARTIN,    a/k/a "Pimp," distributed a

           mixture and substance containing marijuana.

                    35.       On or about November 16, 1995, in the area of the 200

           block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/a          "Vito,n     distributed      a   mixture   and       substance   containing




                                                           14



(Page 80 of Total)
                                                       App 646
        USCA Case #21-3072          Document #2077668          Filed: 10/01/2024     Page 81 of 477
                   Case 1:98"cr"00329"RCL Document 760 Filed 07/02/01 Page 15 of 79



          marijuana, during which transaction HILL and.JEROME MARTIN, a/k/a

           "Pimp," spoke with the buyer about future purchases of marijuana.

                   36.    On or about November 28, 1995, in the area of the 200

          block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/a     "Vito,"     distributed     a   mixture   and   substance      containing

          marijuana.

                   37.    On or about November 29, 1995, in the area of the 200

          block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/a     "Vito, 11   distributed a       mixture   and   substance      containing

          marijuana in the presence of JEROME MARTIN,                     a/k/a    "Pimp,"   who

           explained to the buyer how to repackage and resell the marijuana.

                   38.     On or about December 6, 1995,         in the area of the 200

           block of K Street I          S. W.,   in the District     of    Columbia,    JEROME

           MARTIN,       a/k/a   ''Pimp,"   and a co-conspirator not indicted herein,

           distributed a mixture and substance containing marijuana.

                   39.     On or about December 8,        1995, in the area of the 200

           block of K Street, s.w. I in the District of Columbia, VINCENT HILL,

           a/k/a "Vito," while in the company of co-conspirators not indicted

           herein, distributed a mixture and substance containing marijuana.

                   40.     On or about December 13, 1995, in the area of the 200

           block of K Street,           S. W.,   in the District of Columbia,           JEROME

           MARTIN,       a/k/a   "Pimp,"    and a co-conspirator not indicted herein,

           distributed a mixture and substance containing marijuana.


                                                     15




(Page 81 of Total)
                                                  App 647
        USCA Case #21-3072          Document #2077668                 Filed: 10/01/2024     Page 82 of 477
                   Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 16 of 79



                   41.   On or about December 13, 1995,                 in. the area of the 200

           block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/a "Vito," and a co-conspirator not indicted herein, distributed

           a mixture and substance containing marijuana.

                   42.   On or about December 13, 1995,                 in the area of the 200

           block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/a     "Vito,"    distributed        a    mixture       and   substance      containing

           marijuana.

                   43.   On or about December 15, 1995,                 in the area of the 200

           block of K Street, S.W., in the District of Columbia, VINCENT HILL,

           a/k/a "Vito," and co-conspirators not indicted herein,                         distributed

          ·a mixture and substance containing marijuana.
                   44.   In    or   about   1996       and    1997,    within    the    District   of

           Columbia and the Commonwealth of Virginia,                       SAMUEL CARSON,      a/k/a

           "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a

           "Birdy," and another co-conspirator not indicted herein, drove to

           Centerville, Virginia in search of Kenneth Adams, in order to find

           and kill Kenneth Adams to prevent him from testifying in the murder

           trial of a co-conspirator not indicted herein.

                   45.   On or about February 1, 1996,                  in the area of the 200

           block of      K Street,     s. W.,   in the District of Columbia,                   JEROME

           MARTIN, a/k/a \'Pimp," possessed with intent to distribute a mixture

           and substance containing marijuana.



                                                         16




(Page 82 of Total)
                                                   App 648
        USCA Case #21-3072        Document #2077668               Filed: 10/01/2024    Page 83 of 477
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 17 of 79



                  46.   On or about February 14, 1996, in the area of the 200

          block of K Street, S. W., in the District of Columbia, VINCENT HILL,

          a/k/a      "Vito,"    distributed   a    mix.ture   and      substance      containing

          marijuana, during which transaction HILL provided the buyer with

          his pager number (202-519-9153)            so that the buyer could arrange

           future drug purchases from HI~L.

                  47.    On or about February 20, 1996, in the area of the 200

           block of K Street, s. W., in the District of Columbia, VINCENT HILL,

           a/k/a uvito," and a co-conspirator not indicted herein, distributed

           a mixture and substance containing marijuana.

                  48.   On or about February 26, 1996, in the area of the 200

           block of K Street,        S. W.,   in the     District of Columbia,            JEROME

           MARTIN,      a/k/a    "Pimp,"   distributed        a     mixture    and     substance

           containing marijuana.

                  49.   On or about February 26,         1996, in the area of the 200

           block of K Street,        S. W.,   in the District of Columbia,                JEROME

           MARTIN,      a/k/a    "Pimp,"   distributed        a     mixture    and     substance

           containing marijuana.

                  so.   On or about March 5, 1996, in the area of the 200 block

           of K Street, S.W., in the District of Columbia, VINCENT HILL, a/k/a

           "Vito," and a co-conspirator not indicted herein,                     distributed a

           mixture and substance containing marijuana.




                                                    17




(Page 83 of Total)
                                                  App 649
        USCA Case #21-3072        Document #2077668                Filed: 10/01/2024   Page 84 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 18 of 79



                 51.   On or about March 15, 1996, in the area of the 200 block

          of K Street, S.W., in the District of Columbia, VINCENT HILL, a/k/a

           "Vito," and a co-conspirator not indicted herein,                     distributed a

          mixture and substance containing marijuana.

                 52.   On or about August          30,   1996,      within the District of

           Columbia,   SAMUEL CARSON1      a/k/a "Chin," and a co-conspirator not

           indicted herein,      while   armed with pistols,             assaulted     Popa Mark

           Phillip with intent to kill him.

                 53.   In or about October 1996, within the District of Columbia

           and the Commonwealth of Virginia,             JEROME MARTIN,          a/k/a "Pimp,"

           SAMUEL CARSON, a/k/a "Chin," SEAN COATES, a/k/a "Birdy," and co-

           conspirators not indicted herein, conspired to kill•the witnesses

           who were expected to testify in the murder trial of JEROME MARTIN,

           a/k/a "Pimp."

                 54.   On   or   about   October    5,   19 9 5,    within    the   District   of

           Columbia,   SAMUEL CARSON,      a/k/a "Chin,"           and a co-conspirator not

           indicted herein,      while   armed with a        pistol,      purposely and with

           deliberate and premeditated malice,            killed Chrishauna Gladden,           by

           shooting her with a pistol.

                 55.   On or about October 30,           1996,       within the District of

           Columbia,   SAMUEL CARSON,       a/k/a    "Chin,"        and SEAN COATES,       a/k/a

           "Birdy," while armed with a pistol, assaulted Ronald Sowells with

           intent to kill him.



                                                    18




(Page 84 of Total)
                                              App 650
        USCA Case #21-3072         Document #2077668              Filed: 10/01/2024     Page 85 of 477
                 Case 1:98-cr-00329-RCL Document 760 Fi!ed 07/02/01 Page 19 of 79



                 56.     On or about November 13,             1996,     a    co-conspirator not

           indicted      herein,    possessed    a     loaded    Glock       .40   caliber   semi-

           automatic      pistol    as    he   fled    from     police      officers   who   were

           attempting to stop him.

                 57.     On or about November 17, 1996, in the state of Maryland,

           SAMUEL CARSON, a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper,"

           SEAN COATES,         a/k/a "Birdy,"       and a    co-conspirator not         indicted

           herein, while armed with a pistol, purposely and with deliberate

           and premeditated malice,            and in perpetrating and attempting to

           perpetrate the crime of attempted armed robbery,                        killed Alonzo

           Gaskins, Darnell Mack and Melody Anderson, by shooting them with a

           pistol.

                 58.      On or about November 21,              1996,    in the area of 11th

           Street,     S. E.,   and Interstate 295,          in the District of Columbia,

           VINCENT HILL,        a/k/a "Vito," led police officers on a high-speed

           automobile chase and then assaulted a police officer with a loaded

           Browning 9mm semi-automatic pistol.

                 59.     Between in or about April 1997 and on or about June 17,

           1997, within the District of Columbia and the state of Maryland,

           SAMUEL CARSON, a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper,"

           and a     co-conspirator not         indicted herein,            conspired to murder

           Robert      Smith,   a/k/a    "Butchie, n    in order to prevent Smith from

           implicating them in the triple murder they committed in Temple

           Hills on November 17, 1996.


                                                       19




(Page 85 of Total)
                                                 App 651
        USCA Case #21-3072          Document #2077668            Filed: 10/01/2024      Page 86 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 20 of 79



           (Conspiracy to Distribute and Poesess with .Intent to Distribute
           Controlled Substances,          in violation of Title 21,                United States
           Code, Section 846)

                                                   COUNT TWO

                                             RICO CONSPIRACY

                           A.     The Enterprise

                 1.        From   in or    about    sometime    in     1988,    up   through   and

           including in or about March 1999, defendants VINCENT HILL1 a/k/a

           "Vi to," JEROME MARTIN, a/k/ a \•Pimp," SAMUEL CARSON, a/k/ a "Chin, "

           WILLIAM KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a "Birdy,"

           and   co-conspirators          not   indicted       herein,       were    members   and

           associates of a drug trafficking organization which was based in

           the District of Columbia and elsewhere                     and which operated in

           various locations including, but not limited to, areas within the

           Greenleaf Gardens housing complex in Southwest Washington, D.C.--

           including, but not limited to, the 200 block of K Street, S.W., the

           900 and 1000 blocks of Delaware Avenue, S.W., and the 900 block of

           3rd Street, S.W.--the 1500 block of Canal Street, S.W.,                        the 200

           blocks     of    3 7th Street    and 3 7th Place,         S. E.     The organization

           constituted an enterprise, as defined by Title 18, United States

           Code, Section 1961{4), that is, a group of individuals associated

           in fact.         The enterprise engaged in, and the activities of the

           enterprise affected,           interstate and foreign commerce,               and   the

           activities of the enterprise were conducted in the District of

           Columbia, Maryland, Virginia and elsewhere.

                                                      20




(Page 86 of Total)
                                                   App 652
        USCA Case #21-3072      Document #2077668             Filed: 10/01/2024     Page 87 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 21 of 79



                 2.   A principal goal of the organization was to obtain as

           much money and other things of value through the trafficking of

           controlled substances,       including marijuana,         cocaine base,       also

           known as crack cocaine, and PCP.            It was a further goal of the

           enterprise to commit acts of robbery, kidnaping, murder and other

           acts of violence for the following purposes,                 among others:       to

           enrich the enterprise and its members;              to create,     maintain and

           control a market place for the distribution of its controlled

           substances; to enforce discipline among members of the enterprise;

           to   protect   the   enterprise    and      its    members     from     detection,

           apprehension and prosecution by law enforcement; to intimidate and

           prevent    persons    from   testifying       as     witnesses     in     criminal

           prosecutions against members of the conspiracy; to prevent, thwart,

           and retaliate     against    acts of     violence perpetrated by rivals

           against the enterprise and its members; and to promote and enhance

           the reputation and standing of the enterprise and its members.




                                                  21




(Page 87 of Total)
                                             App 653
        USCA Case #21-3072            Document #2077668      Filed: 10/01/2024     Page 88 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 22 of 79



                          B.     Roles of the Defendants

                   The defendants have performed,          or agreed to perform,         the

           following       roles and have committed,        or agreed to commit,         the

           following crimes--among others that are charged in later sections

           of this indictment--in furtherance of the enterprise:

                   VINCENT HILL a/k/a "Vito"

                     3.   VINCENT HILL was one of the leaders of the organization.

           Prior to his arrest and incarceration in 1996, he consistently sold

           quantities of marijuana in concert with his co-conspirators in the

           area of the Greenleaf Gardens public housing complex.                 In addition

           to providing marijuana in wholesale amounts to co-conspirators and

           other individuals, he and co-conspirators worked together to sell

           retail amounts to customers who met him on the street.                  HILL and

           his co-conspirators centered their street-level distribution in the

           area surrounding the intersection of Delaware Avenue and K Street,

           s. w.      HILL and his co-conspirators considered that distribution

           spot reserved for the use of himself and the co-conspirators, and

           they guarded against incursions by other drug sellers who tried to

           do business in that area without permission from HILL and the co-

           conspirators.          On occasion, HILL resorted to beating competitors

           with sticks or bats when they did not follow his orders to leave

           the area.           HILL   also used firearms to settle disputes between

           himself and his co-conspirators and rival drug dealers.                  On June

           29, 1989, he shot and killed Larry Wright in the area of First and

                                                    22




(Page 88 of Total)
                                                 App 654
        USCA Case #21-3072        Document #2077668         Filed: 10/01/2024   Page 89 of 477
                   Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 23 of 79



           O Streets, S.W.       On October 22, 1993, he planned and participated

           with co-conspirators        in the attempted robbery and shooting of

           another drug dealer named Anthony Pryor.

                   JEROME MARTIN a/k/a "Pimp"

                   4.    JEROME MARTIN grew up in Southwest Washington, D.C. and

           has been associated with most of the co-conspirators since his

           childhood.      Since approximately 1989, he has routinely engaged in

           drug distribution--including street-level sales of marijuana in the

           area of the 200 block of K Street,             s.w.--carried firearms and

           resorted to violence to fend off real or perceived threats                   to

           himself and his co-conspirators.         In approximately 1991, MARTIN and

           several of his co-conspirators expanded their narco~ics operation

           over to the area of 37th Place, S.E.            After being introduced to

           that neighborhood by a friend who had moved there from Southwest,

           D. C.     and getting acquainted with       the local    narcotics dealers,

           MARTIN quickly became one of the leading distributors of crack

           cocaine in the area.        He and his co-conspirators set up a network

           of street-level dealers who sold crack cocaine for them.                   This

           narcotics business netted MARTIN handsome profits which permitted

           him to buy luxury automobiles and to live in a luxury apartment.

                   On August 6,    1991, MARTIN and co-conspirator SAMUEL CARSON

           initiated a violent feud with a group of drug dealers in the 58th

           Street neighborhood when they killed a member of that group named

           Anthony Fortune in retaliation for Fortune having earlier robbed

                                                  23




(Page 89 of Total)
                                              App 655
        USCA Case #21-3072          Document #2077668             Filed: 10/01/2024     Page 90 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 24 of 79



           MARTIN and others at gunpoint.                The ensuing feud resulted in a

           series of shootings between MARTIN and his co-conspirators who were

           involved in drug distribution in the 37th Place neighborhood and

           friends of Anthony Fortune from the 58th Street neighborhood.                     Over

           the next year, members of the rival groups routinely drove through

           their rivals'        neighborhood and shot people who happened to be

           standing outside.          On September 10,       1991,       for example,     MARTIN,

           CARSON and several co-conspirators drove through the 58th Street

           neighborhood and shot at two rivals.             In the process, they got into

           a shootout with four policemen who happened to be nearby when the

           co-conspirators opened fire on their targets.

                     MARTIN also went to extreme efforts to avoid prosecution and

           conviction for the          crimes he committed in furtherance                of this

           conspiracy.        When tried for a murder arising during the feud with

           the 58th Street group, MARTIN directed co-conspirators to murder

           persons he suspected were witnesses against him.                   At his request,

           co-conspirators        staked   out   the     houses     of   several      prospective

           witnesses and murdered one witness--Ms. Chrishauna Gladden--four

           days prior to the commencement of MARTIN'S trial.




                                                    24




(Page 90 of Total)
                                                 App 656
        USCA Case #21-3072         Document #2077668                Filed: 10/01/2024    Page 91 of 477
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 25 of 79



                  SAMUEL CARSON a/k/a "Chin''

                  5.      SAMUEL   CARSON        associated     closely        with     the     co-

          conspirators,       and participated in numerous acts of violence                      in

          furtherance of the conspiracy.             He participated with JEROME MARTIN

           in the murder of Anthony Fortune and the drive-by shooting that was

          part of the ensuing feud with Fortune's                      friends   from the 58th

          Street neighborhood.           He also sought to help his co-conspirators

          avoid prosecution for           their crimes by executing               the witnesses

          against them.       In 1995, he and co-conspirators WILLIAM KYLE SWEENEY

          and SEAN COATES tried to locate and kill Kenneth Adams, who was a

          witness in the murder trial of co-conspirator MAURICE PROCTOR.                          On

          October 5, 1996, he killed Chrishauna Gladden at MARTIN'S behest,

           four days before she was scheduled to testify in the trial of a

           case      in   which MARTIN     was    charged     with     murder.        Carson    also

          participated in other shootings and murders that were committed in

           furtherance of the racketeering conspiracy, as charged in this and

           subsequent counts of this indictment, between 1991 and his arrest

           and incarceration in 1997.

                  WILLIAM KYLE SWEENEY a/k/a "Draper"

                  6.      WILLIAM KYLE SWEENEY actively distributed narcotics and

           participated in numerous shootings and robberies in concert with

           the    co-conspirators     in    this     case     and     in   furtherance     of    the

           conspiracy.       He routinely carried firearms and used them to commit

           robberies in order to enrich himself and his co-conspirators, to

                                                     25




(Page 91 of Total)
                                                  App 657
        USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024       Page 92 of 477
                     Case 1:98-cr-00329-RCL Document 760 Fi:ed 07/02/01 Page 26 of 79



           kill      persons      he perceived as         a    threat     to. himself         or his    co-

           conspirators and to enhance the reputation of the membership of the

           conspiracy.         SWEENEY committed a number of shootings in furtherance

           of   this      conspiracy,          including shootings         that       were directed at

           persons        from     the    Condon       Terrace     neighborhood          of     Southeast

           Washington,         D.C.      who    were   feuding     with     SWEENEY       and    his    co-

           conspirators;          the kidnaping,        shooting and at tempted robbery of

           Anthony Pryor on October 22, 1993; the murder of Donnell Whitfield

           on September 26,           1994;      and the murder and attempted robbery of

           three persons in Temple Hills, Maryland on November 17, 1996.

                     SEAN COATES a/k/a "Birdy"

                     7.    SEAN COATES was a central merr~er of the conspiracy, and

           he consistently participated in narcotics distribution with the co-

           conspirators and committed violent acts re=._ated to the conspiracy.

           For example, on April 28,                1990, he and cc-conspirators kidnaped

           Norman Yusef Simmons in order to collect ransom from Simmons'

           brother, who was a successful rival drug dealer.                           On June 28, 1992,

           he participated in the attempted murder of Michael Jones, who was

           a witness against co-conspirator Clifton Edwards.                            On October 22,

           1993, he joined SWEENEY and other co-conspirators in the abduction,

           attempted robbery and shooting of Anthony Pryor, another rival drug

           dealer.         On October 30,           1996,      COATES    ambushed and           fired   two

           gunshots        into    Ronald        Sowells-a      member     of     a    rival     gang--as

           retaliation for Sowells' alleged participation in the shooting of

                                                          26




(Page 92 of Total)
                                                       App 658
        USCA Case #21-3072         Document #2077668          Filed: 10/01/2024     Page 93 of 477
                     Case 1:98-cr-00329-RCL Document 760   Filed 07/02/01   Page 27 of 79



           ~o-conspirator VINCENT HILL on July 10,              1996.       On November     17,

           19961 he participated in the robbery and triple mu~der of three

           victims in Temple Hills, Maryland.

                  C.      The RICO Consoiracy

                  8.      From in or about sometime in at least 1988,               ~he exact

           date being unknown to the Grand Jury, and continuing t~ereafter up

           to and including March 1999, in the District of Colurnbia, V:'.rginia,

           Maryland and elsewhere, the defendants, VINCENT HILL, a/k/ a "Vi to,"

           JEROME MARTIN, a/k/a "Pimp," SAMUEL CARSON, a/k/a "Chin," WILLIAM

           KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a "Birdy," together

           with other persons known and unknown, being persons employed by and

           associated with the enterprise described above,                  which enterprise

           was engaged in, and the activities of which affected,                   interstate

           and foreign commerce, unlawfully, knowingly and intentionally did

           combine, conspire, confederate and agree wit.h each other, and with

           persons known and unknown to the Grand Jury, to violate Title 13 1

           United      States   Code,   Section   1962 (c};   that   is,     to   conduct   and

           participate, directly and indirectly, in the conduct of the affairs

           of the enterprise through a pattern of racketeering activity,                     as

           that      term is defined by Title 18,          United States Code,        Sect io:1

           1961(1) and 1961(5), consisting of the following:

                     (a) offenses involving distribution and possession with intent

           to distribute controlled substances, including marijuana, cocaine

           base, also known as crack cocaine, and PCP, in violation of Title

                                                   27




(Page 93 of Total)
                                               App 659
        USCA Case #21-3072               Document #2077668                       Filed: 10/01/2024       Page 94 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 28 of 79



          21, United States Code, Section 841(a) {1), and Title 18, United

          States Code, Section 2;

                   {b)      conspiracy to distribute and to possess with intent to

          distribute          controlled substances,                    including marijuana,              cocaine

          base, also known as crack cocaine, and PCP, in violation of Title

          21, United States Code, Section 846; and

                   (c) acts and threats involving murder, kidnaping and robbery,

          in violation of Title 22, D.C. Code, Sections 103, 105, l0Sa, 106,

          5 ol ,   so 3 ,    21 ol ,   2 4 o1 ,   2 9 o1 ,   2 9 o2 ,   3 2 O2    and 3 2 0 4 ( b) ;   Tit 1 e   18 ,

          United States Code,                Section 1959; and Title 27,                       Maryland Code,

          Sections 12, 337, 407, 410, 486, and 488.

                   9.    It was further part of the conspiracy that each defendant

          agreed that a co-conspirator would commit at least two acts of

          racketeering           activity         in    the     conduct          of   the    affairs      of     the

          enterprise.

                            D.     The Pattern of Racketeering Activity

                   10.      The pattern of racketeering activity through which the

          defendants conspired to conduct and participate in the conduct of

          the affairs of the enterprise consisted of racketeering acts set

          forth below, which are set forth in the corresponding overt acts

           (OA) of Count One and the corresponding counts of this indictment,

          which are realleged and incorporated by reference herein:




                                                               28




(Page 94 of Total)
                                                             App 660
        USCA Case #21-3072        Document #2077668                  Filed: 10/01/2024     Page 95 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 29 of 79



          Racketeering Act 1               Act Involving Distribution of a
                                           Controlled Substance
                                            (Conspiracy)

                From on or about sometime in 1988,                      the exact date being

          unknown to the Grand Jury,             and continuing thereafter up to and

          including     September     l998,      in     the    District        of    Columbia     and

          elsewhere,    the     defendants,      VINCENT       HILL,     a/k/ a     "Vi to,"   JEROME

          MARTIN,    a/k/a "Pimp,"     SAMUEL CARSON,           a/k/a     "Chin," WILLIAM KYLE

          SWEENEY,     a/k/ a    "Draper, "      SEAN       COATES,      a/k/ a      "Birdy,"     did

          unlawfully,     knowingly        and    intentionally            combine,       conspire,

          confederate     and     agree     together,         with     each    other,     with    co-

          conspirators not indicted herein, and with others known and unknown

          to the Grand Jury,        to unlawfully,            knowingly,       and intentionally

          possess    with intent      to    distribute         and     to distribute       narcotic

          controlled substances,           in violation of Title 21,                 United States

          Code, Section 846, as set forth more fully in Count One of this

          indictment.

          Racketeering Acts 2-20            Acts Involving Distribution of a
                                            Controlled Substance
                                            (Distribution)

                 On or about the dates set forth below,                       in the District of

          Columbia, Maryland and elsewhere, the defendants named below did,

          in violation of Title 21, United States Code, Section 841(a) (1),

          and Title 18, United States Code, Section 2, unlawfully, knowingly

          and intentionally distribute a mixture and substance containing a

          detectable amount of marijuana, a Schedule I controlled substance,


                                                      29·




(Page 95 of Total)
                                                 App 661
        USCA Case #21-3072         Document #2077668         Filed: 10/01/2024     Page 96 of 477
                     Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 30 of 79



           as more fully set forth in the specified overt acts of Count One,

           which are realleged and incorporated by reference herein:

           Rack. Defendant or              Nature of
           Act   Co-Conspirator            Offense/Date      Overt Act    Violation


           2     VINCENT HILL              Dist. Marijuana   OA 31       21 u.s.c. §841
                                           (October 4, 1995)             (a) (l)

           3     VINCENT HILL              Dist. Marijuana     QA 32     21 u.s.c. §841
                                           (November 2 , 1995)           (a) (1)

           4     VINCENT HILL              Dist. Marijuana    OA 33      21 u.s.c. §841
                                           (November 3, 1995)            (a) (1)

           5     VINCENT HILL              Dist. Marijuana   OA 34       21 u.s.c. §841
                 JEROME MARTIN             (November 15, 1995)           (a) (1)

           6     VINCENT HILL              Dist. Marijuana    OA 35      21 u.s.c. §841
                                           (November 16 , 1995)          (a) (1)

           7     VINCENT HILL              Dist. Marijuana    OA 36      21 u.s.c. §841
                                           (November 2 8, 1995)          ( a) ( 1)

           8     VINCENT HILL              Dist. Marijuana    QA 37      21 u.s.c. §841
                                           (November 2 9, 1995)          (a) (1)

           9     JEROME MARTIN             Dist. Marijuana    OA 38      21 u.s.c. §841
                                           (December 6, 1995)            (a) (l)

           10    VINCENT HILL              Dist. Marijuana    OA 39      21 u.s.c. §841
                                           {December 8, 1995)            {a) ( 1)

           11    JEROME MARTIN             Dist. Marijuana   OA 40       21 u.s.c. §841
                                           (December 13, 1995}           (a) (1)

           12    VINCENT HILL              Dist. Marijuana   OA 41       21 u.s.c. §841
                                           (December 13, 1995)           (a) (1)

           13    VINCENT HILL              Dist. Marijuana   OA 42       21 u.s.c. §841
                                           (December 13, 1995)           (a) (1)

           14    VINCENT HILL              Dist. Marijuana   OA 43       21 u.s.c. §841
                                           (December 15, 1995)           (a) (1)


                                                   30




(Page 96 of Total)
                                                App 662
        USCA Case #21-3072       Document #2077668        Filed: 10/01/2024       Page 97 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 31 of 79




           15    VINCENT HILL           Dist. Marijuana   OA 46       21   u.s.c. §841
                                        (February 14, 1996)           (a)(l)

           16    VINCENT HILL           Dist. Marijuana   OA 47       21 u.s.c. §841
                                        (February 20, 1996)           (a) (1)

           17    JEROME MARTIN          Dist. Marijuana   OA 48       21   u.s.c. §841
                                        (February 26, 1996)           (a) 0)

           18    JEROME MARTIN          Dist. Marijuana   OA 49       21 u.s.c.       §841
                                        {February 26, 1996}           (a) (1)

           19    VINCENT HILL           Dist. Marijuana      OA 50    21   u.s.c. §841
                                        (March 5, 1996)                (a) ( 1)

           20    VINCENT HILL           Dist. Marijuana      OA 51    21 U.S.C. §841
                                        (March 15, 1996)              {a) ( 1)

           Racketeering Acts 21-22      Acts Involving Distribution of a
                                        Controlled Substance
                                        (Possession with Intent to Distribute)

                 On or about the dates set forth below,          in the District of

           Columbia, Maryland and elsewhere, the defendants named below,                 in

           violation of Title 21, United States Code, Section 84l(a) (1), and

           Title 18, United States Code, Section 2, unlawfully, knowingly and

           intentionally did possess with intent to distribute a mixture and

           substance containing a detectable amount of a             Schedule I or II

           controlled substance,     as more fully set      forth in the specified

           overt acts of Count One, which are realleged and incorporated by

           reference herein:




                                                31



(Page 97 of Total)
                                            App 663
        USCA Case #21-3072          Document #2077668                  Filed: 10/01/2024       Page 98 of 477
                   Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 32 of 79



           Rack. Defendant or                  Nature of
           Act   Co'-Consp,i ra tor            Offense/Date            Overt Act Violation

           21      VINCENT HILL                PWID Marijuana             OA 30    21 U.S.C.§841
                                               (September 27, 1995)                (a) (1)



           22      JEROME MARTIN               PWID Marijuana     OA 45            21 U.S.C.§841
                                               (February 1, 1996)                  (a) (1)

           Racketeerina Acts 23-50             Acts and Threats Involving
                                               Murder, Kidnap;ng and Robbery

                   On or about the dates set forth below,                       in the District of

           Columbia, Maryland and elsewhere,                   the defendants named below in

           Acts 23-50, in violation of Title 22, D.C. Code, Sections 103, 105,

           105a,     106,   501,   503,    2101,    2401,      2901,    2902,    3202   and     3204 (b);

           Title 18, United States Code, Section 1959; and Title 27, Maryland

           Code, Sections 12, 337, 407, 410, 486, and 4B8, did commit acts and

           threats     involving murder,           kidnaping and robbery,               as    set   forth

           below.

                   A number of the acts and threats involving murder, kidnaping

           and robbery through which the defendants conspired to conduct and

           participate in the conduct of the affairs of the racketeering

           enterprise       related       to   violent        feuds    between    the        defendants'

           enterprise and other criminal groups in and around the District of

           Columbia.        This indictment charges the defendants with committing

           racketeering acts of murder, kidnaping and robbery in relation to

           four separate feuds.            In addition, it charges the defendants with

           "General Racketeering Acts"--acts of murder, k.idnaping and robbery

           committed in furtherance of the racketeering enterprise that are

                                                         32




(Page 98 of Total)
                                                    App 664
        USCA Case #21-3072        Document #2077668        Filed: 10/01/2024   Page 99 of 477
                 Case 1:98-cr-00329-RCL Document 760    Filed 07/02/01 Page 33 of 79



           not related to these three feuds.          The acts and threats involving

           murder, kidnaping and robbery are set forth in Racketeering Acts 24

           through 53.

                                THE J 7TH PLACE/SB TH STREET FEUD

           Racketeering Act 23

                 On or about August 6, 1991, within the District of Columbia,

           JEROME MARTIN, a/k/a "Pimp," and SAMUEL CARSON, a/k/a "Chin," while

           armed with a pistol, purposely and with deliberate and premeditated

           malice, killed Anthony Fortune, by shooting him with a pistol on or

           about August 6, 1991, thereby causing injuries from·which Anthony

           Fortune died on or about August 6, 1991, in violation of 22 D.C.

           Code Sections 105, 2401 and 3202.                             ..
           Racketeering Act 24

                     The defendants named below committed the following acts, each

           of which alone constitutes the commission of Racketeering Act 24:

                     {a)   On or about September 10, 1991, within the District of

           Columbia, JEROME MARTIN, a/k/a ''Pimp," SAMUEL CARSON, a/k/a "Chin,.,

           and co-conspirators not indicted herein, while armed with pistols,

           assaulted Keith Bradley, a/k/a "Peewee," with intent to murder him,

           in violation of 22 D.C. Code Sections 105, 503 and 3202.

                     (b)   On or about September 10, 199l, within the District of

           Columbia, JEROME MARTIN, a/k/a "Pimp," SAMUEL CARSON, a/k/a "Chin,"

           and co-conspirators not indicted herein, while armed with pistols,

           assaulted Jimmy Thomas,       Jr.,   a/k/a   "Sugarspoon," with intent to

                                                 33




(Page 99 of Total)
                                             App 665
        USCA Case #21-3072      Document #2077668         Filed: 10/01/2024     Page 100 of 477
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 34 of 79



          murder him,     in violation of 22 D.C. Code Sections 105,             503 and

          3202.

                  (c}   On or about September 10, 1991, within the District of

          Columbia, JEROME MARTIN, a/k/a "Pimp," SAMUEL CARSON, a/k/a "Chin,"

          and co-conspirators not indicted herein, while armed with pistols 1

          assaulted Officer Adrian Treadwell with intent to murder him, in

          violation of 22 D.C. Code Sections 105, 503 and 3202.

                  {d)   on or about September 10, 1991, within the District of
          Columbia, JEROME MARTIN, a/k/a "Pimp," SAMUEL CARSON, a/k/a "Chin,"

          and co-conspirators not indicted herein, while armed with pistols,

          assaulted Officer Edward McDonald with intent to murder him,                 in

          violation of 22 D.C. Code Sections 105, 503 and 3202.

                  (e,   On or about September 10, 1991, within the District of

          Columbia, JEROME MARTIN, a/k/a "Pimp," SAMUEL CARSON,          a/k/a "Chin,"

          and co-~onspirators not indicted herein, while armed with pistols,

          assaulted     Officer Marc    Little    with   intent   to   murder   him,   in

          violation of 22 D.C. Code Sections 105, 503 and 3202.

                  (f)   On or about September 10, 1991, within the District of

          Columbia, JEROME MARTIN,     a/k/ a "Pimp," SAMUEL CARSON, a/k/ a "Chin,"

          and co-conspirators not indicted herein, while armed with pistols,

          assaulted Officer Alvin Ray with intent to murder him, in violation

          of 22 D.C. Code Sections 105, 503 and 3202.




                                                 34




(Page 100 of Total)
                                             App 666
       USCA Case #21-3072      Document #2077668                 Filed: 10/01/2024     Page 101 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 35 of 79



          Racketeering Act 25

                The defendant named below committed the following acts, each

          of which alone constitutes the commission of Racketeering Act 25:

                 (al   On or about August 29,            1992,     within the District of

          Columbia,    JEROME MARTIN,    a/k/ a   "Pimp 1 "      and a co-conspirator not

          indicted herein,     while armed with a pistol,               purposely and with

          deliberate    and premeditated malice,            killed Curtis            Edwards,    by

          shooting him with a pistol on or about August 29,                     1992, thereby

          causing injuries from which Curtis Edwards died on or about August

          29, 1992, in violation of 22 D.C. Code Sections 105, 2401 and 3202.

                 (b)   On or about August         2 9,   1992,      within the District of

          Columbia, JEROME MARTIN,       a/k/a     "Pimp,"       and a co-conspirator not

          indicted herein,     while    armed with a pistol,              assaulted Richard

          Burton with intent to murder him,              in violation of 22 D.C.                Code

          Sections 105, 503 and 3202.

                 (c)   On or about August 29,            1992,     within the District of

          Columbia,    JEROME MARTIN,    a/k/a     "Pimp,"       and a co-conspirator not

           indicted herein, while armed with a pistol, assaulted Keith Jones

          with intent to murder him, in violation of 22 D.C. Code Sections

          105, 503 and 3202.

                             THE SOUTI-TWEST/CONDON TERRACE FEUD

          Racketeering Act 26

                 The defendants named below committed the following acts, each

          of which alone constitutes the commission of Racketeering Act 26:

                                                  35




(Page 101 of Total)
                                             App 667
        USCA Case #21-3072     Document #2077668       Filed: 10/01/2024  Page 102 of 477
                Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 36 of 79



                   (a)   On or about June         20,    1992,   within     the District   of

           Columbia,     SEAN COATES,     a/k/a    "Birdy," and a       co-conspirator not

           indicted herein, while armed with a pistol, assaulted Jermaine Hall

           with intent to murder him, in violation of 22 D.C. Code Sections
           105, 503 and 3202.

                   (b)   On or    about   June    20,    1992,   within     the District    of

           Columbia,     SEAN COATES,     a/k/a "Birdy," and a co-conspirator not

           indicted herein, while armed with a pistol, assaulted Michael Jones

           with intent to murder him, in violation of              22   D.C. Code Sections
           10s, 503 and 3202.

           Racketeering Act 22

                   Between on or about June 20, 1992 and June 28, 1992, within

           the District of        Columbia,   SEAN COATES,.      a/k/a "Birdy," and co-

           conspirators     not    indicted      herein,    unlawfully,       wilfully,    and

           knowingly did conspire and agree with each other to commit the
           crime of first degree murder while armed (premeditated} of Michael

           Jones      in order to prevent Michael Jones             f ram   implicating and

           testifying against a co-conspirator not indicted herein regarding

           the shooting of Jermaine Hall on June 20, 1992, in violation of 22
           D.C. Code Sections 105a, 2401 and 3202.

                   The object of the conspiracy charged in Racketeering Act 27

           was for the co-conspirators to murder Michael Jones to prevent him

           from testifying against the co-conspirator not indicted herein.                 In

           furtherance of this conspiracy and to effect the object thereof,

                                                    36




(Page 102 of Total)
                                                 App 668
       USCA Case #21-3072          Document #2077668             Filed: 10/01/2024     Page 103 of 477
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 37 of 79



          SEAN   COATES,      a/k/a     "Birdy,"     and   co-conspirators      not    indicted

          herein,      committed the following overt acts in the District of

          Columbia:

                        {l)   After the arrest of the co-conspirator not indicted

          herein on June 20,          1992,   the co-conspirators discussed over the

          telephone the fact that Michael Jones was a witness against the co-

          conspirator not indicted herein and agreed that they needed to kill

          Michael Jones to prevent the co-conspirator not indicted herein

          from being convicted for the shooting of Jermaine Hall.

                        {2)   On or      about     June    28,   1992,   SEAN   COATES,    a/k/a

          "Birdy," and co-conspirators not indicted herein, drove to the area

          of the 1000 block of Mississippi Avenue, S.E. where they spotted

          Michael Jones.

                        (3)   On   or    about     June    28,   1992,   SEAN   COATES,    a/k/a

          "Birdy, 11    and   co-conspirators        not     indicted    herein,      approached

          Michael Jones, chased him down and shot him multiple times.

          Racketeering Act 28

                 On or about June 28, 1992, within the District of Columbia,

          SEAN    COATES1     a/k/a     "Birdy, 11   and    co-conspirators      not    indicted

          herein,      while armed with pistols,            assaulted Michael Jones with

          intent to murder him, in violation of 22 D.C. Code Sections 105,

          503 and 3202.




                                                      37




(Page 103 of Total)
                                                   App 669
       USCA Case #21-3072        Document #2077668         Filed: 10/01/2024     Page 104 of 477
                   Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 38 of 79



           Racketeering Act 29

                   On or about July 7, 1993, within the District of Columbia,

          WILLIAM KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a "Birdy,"

           and co-conspirators not indicted herein, while armed with pistols,

           purposely and with deliberate and premeditated malice, killed Glenn

           Jenkins, by shooting him with a pistol on or about July 7, 1993,

           thereby causing injuries from which Glenn Jenkins died on or about

           July 7, 1993, in violation of 22 D.C. Code Sections 105, 2401 and

           3202.

                               THE SOf.ITHWESTLKENTUCKY COT.JR.TS FEUD

           Racketeering Act 30

                   Between in or about 1991 and on or about June 20~ 1992, within

           the District of Columbia, WILLIAM KYLE SWEENEY, a/k/a "Draper," and

           a co-conspirators not indicted herein, while armed with pistols,

           assaulted persons in the Kentucky Courts neighborhood of Southeast

           Washington, D.C. whose identities are unknown to the Grand Jury

           with intent to murder them, in violation of 22 D.C. Code Sections

           105, 503 and 3202.

           Racketeering Act 31

                   Between in or about 1991 and on or about June 20, 1992, within

           the District of Columbia,        WILLIAM KYLE SWEENEY1        a/k/a "Draper, 1'

           SEAN    COATES,   a/k/a   "Birdy,"   and co-conspirators        not    indicted

          herein, while armed with pistols, assaulted persons in the Kentucky

          Courts neighborhood of Southeast Washington, D.C. whose identities

                                                 38




(Page 104 of Total)
                                              App 670
                   Case l:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 39 of 79
       USCA Case #21-3072         Document #2077668       Filed: 10/01/2024   Page 105 of 477


           are unknown to the Grand Jury with intent to murder them,                     in

           violation of 22 D.C. Code Sections lOS, 503 and 3202.

                                     THE K STREET/L STREET FEUD

           Racketeering Act 32

                   On or about June 29, 1989, within the District of Columbia,

           VINCENT HILL,        a/k/a ~'Vito," while armed with a pistol, purposely

           and with deliberate and premeditated malice, killed Larry Wright,

           Jr.,    by   shooting him with a pistol on or about June 29,               1989,

           thereby causing injuries from which Larry Wright, Jr. died on or

           about June 29, 1989, in violation of 22 D.C. Code Sections 2401 and

           3202.

           Racketeering Act 33

                   On or atout April 28, 1990, in the District of Columbia, SEAN

           COATES,      a/k/a   "Birdy,"   and co-conspirators not indicted herein,

           while armed with pistols, seized, confined, kidnaped, abducted and

           carried away Norman Yusef Simmons, with intent to hold and detain

           Norman Yusef Simmons for ransom, reward and otherwise, in violation

           of 22 D.C. Code Sections 105, 2101 and 3202.

           Racketeering Act 34

                   In or about July 1996, in the Commonwealth of Virginia,        SAMUEL

           CARSON,      a/k/a "Chin,u and co-conspirators not         indicted herein,

           knowingly did conspire and agree with each other and with others to

           commit the crime of first degree murder while armed (premeditated)

           of members of a rival criminal group which operated in the area of

                                                  39




(Page 105 of Total)
                                               App 671
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 40 of 79
        USCA Case #21-3072          Document #2077668            Filed: 10/01/2024     Page 106 of 477


            L Street, S.W., in violation of 22 D.C. Code Sections 105a,                      2401

            and 3202.

                  The object of the conspiracy charged in Racketeering Act 34

            was for the conspirators to retaliate against the me~bers of the

            criminal group from L Street, S.W. for their alleged responsibility

            for the July 6,        1996, murder of an individual's brat.her.

                  In furtherance of this conspiracy and to effect the object

            thereof,      SAMUEL    CARSON,   a/k/a    "Chin,"    and   co-cocs;_=,irators    not

            indicted herein, committed the following overt act ~n ~he District

            of Columbia:

                           (1) On or about October 30, 1996, within the District of

            Columbia, SAMUEL CARSON, a/k/a "Chin," while armed with a pistol,

            participated in the shooting of Ronald Sowells, a recosr.ized member

            of the L Street criminal group.

            Racket~~~lgg_Act 35

                  On or about October 30, 1996, within the District of Columbia,

            SAMUEL CARSON, a/k/a "Chin," and SEAN COATES, a/k/a "Birdy," while

            armed with a pistol, assaulted Ronald Sowells w:'.::1-: intent to murder

            him, in vioJation of 22 D.C. Code Sections 115, SC3 and 3202.

                                      GENERAL RACKETEERING /\CTS'

            Racketeering Act 36

                  The defendant named below committed the following acts, each

           of which alone constitutes the commission of Racketeering Act 36:




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                                                                                     I I.

(Page 106 of Total)
                                                App 672
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 41 of 79
        USCA Case #21-3072          Document #2077668             Filed: 10/01/2024      Page 107 of 477


                  (a)    On or about December 19, 1989, within the District of

           Columbia,     SAMUEL CARSON,      a/k/a "Chin,'' and a         co-conspirator not

            indicted herein,        while armed with pistols,             purposely and with

           deliberate     and    premeditated malice,         killed Maurice Hallman,             by

           shooting him with a pistol on or about December 19, 1989, thereby

           causing      injuries    from   which    Maurice Hallman died            on    or about

           December 19, 1989, in violation of 22 D_c_ Code Sections 105, 2401

           and 3202.

                  (b)    On or about December 19, 1989, within the District of

           Columbia,     SAMUEL CARSON,      a/k/a "Chin," and a           co-conspirator not

           indicted herein,         while armed with pistols,             purposely and with

           deliberate      and     premeditated     malice,    killed     Leonard        Hyson,   by

           shooting him with a pistol on or about December 19, 1989, thereby

           causing injuries from which Leonard Hyson died on or about December

           19, 1989, in violation of 22 D.C. Code Sections 105, 2401 and 3202.

           Racketeering Act 37

                  The defendant named below committed the following acts, each

           of which alone constitutes the commission of Racketeering Act 37:

                  (a)    On or     about   March 22,      1991,     within    the     District    of

           Columbia, SAMUEL CARSON, a/k/a "Chin,'' while armed with a pistol,

           purposely      and    with deliberate      and premeditated malice,               killed

           Teresa Thomas, by shooting her with a pistol on or about March 22,

           1991, thereby causing injuries from which Teresa Thomas died on or




                                                     41



                                                                                      I I.
(Page 107 of Total)
                                                   App 673
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 42 of 79
        USCA Case #21-3072          Document #2077668                Filed: 10/01/2024       Page 108 of 477


           about March 22, 1991, in violation of 22 D.C. Code Sections 2401

           and 3202.

                  (b)     On    or about   March       22,   1991,    within    the      District     of

           Columbia, SAMUEL CARSON, a/k/a "Chin," while armed with a pistol,

           purposely and with deliberate                 and premeditated malice,                killed

           Terita Lucas, by shooting her with a pistol on or about March 22,

           1991, thereby causing injuries from which Terita Lucas died on or

           about March 22, 1991, in violation of 22 D.C. Code Sections 2401

           and 3202.

           Racketeering Act 38

                  On or about April 7, 1992, in the state of Maryland, SAMUEL

           CARSON,       while    armed    with    a    dangerous        weapon,      that      is,   an

           automobile,         assaulted Of c.    Alfred Moss          of the      Prince George's

           County Police Department with intent to murder him, in violation of

           27 M.D. Code Section 12.

           Racketeering Act 39

                  The defendants named below committed the following acts, each

           of which alone constitutes the commission of Racketeering Act 39:

                  (a)     On or about October 22, 1993, in the state of Maryland,

           VINCENT HILL, a/k/a "Vito," WILLIAM KYLE SWEENEY, a/k/a "Draper,"

           SEAN COATES, a/k/a "Birdy," and other co-conspirators not indicted

           herein, while armed with pistols, did attempt, by violence and by

           putting in fear,         to take and carry away money or other valuable



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                                                                                          I I

(Page 108 of Total)
                                                   App 674
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01        Page 43 of 79
        USCA Case #21-3072          Document #2077668          Filed: 10/01/2024    Page 109 of 477


           property from the person of Anthony Pryor, in violation of 27 M.D.

           Code, Sections 486 and 488.

                  (b)    On or about October 22, 1993, in the state of Maryland,

           VINCENT HILL,        a/k/a "Vito," WILLIAM KYLE SWEENEY,         a/k/a "Draper,"

           SEAN COATES, a/k/a "Birdy," and other co-conspirators not indicted

           herein,      while    armed    with pistols,      seized,   confined,     kidnaped,

           abducted and carried away Anthony Pryor, with intent to hold and

           detain Anthony Pryor, in violation of 27 M.D. Code, Section 337.

                  {c)    On or about October 22, 1993, in the state of Maryland,

           VINCENT HILL,        a/k/ a ''Vi to, "   WILLIAM KYLE SWEENEY,   a/k/ a "Draper, "

           SEAN COATES, a/k/a "'Birdy," and other co-conspirators not indicted

           herein,      while    armed with pistols,        assaulted Anthonoy Pryor with

            intent to murder him, in violation of 27 M.D. Code, Section 12.

           Racketeering Act 40

                  On or about October 28, l993, within the District of Columbia,

           SAMUEL CARSON,         a/k/a    "Chin,"    and a co-conspirator not indicted

            herein,     while armed with pistols,           assaulted Roland Brown with

            intent to murder him, in violation of 22 D.C. Code Sections 105,

            503 and 3202.

           Racketeering Act 41

                  On or about April 9, 1994, within the District of Columbia,

            SAMUEL CARSON, a/k/a "Chin," and other co-conspirators not ind.icted

            herein, unlawfully, willfully, and knowingly did conspire and agree

            with each other and with others to commit the crime of first degree

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                                                                                   I.L
(Page 109 of Total)
                                                    App 675
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 44 of 79
        USCA Case #21-3072                 Document #2077668      Filed: 10/01/2024     Page 110 of 477


            murder while armed (premeditated) of Steven Dunbar, in violation of

            22 D.C. Code Sections 105a, 2401 and 3202.

                  The object of the conspiracy charged in Racketeering Act 41

            was to murder Steven Dunbar.               In furtherance of this conspiracy and

            to effect        the object thereof,         SAMUEL   CARSON,   a/k/a     "Chin,"   and

            other co-conspirators not indicted herein, committed the following

            overt acts in the District of Columbia:

                             (l)    Prior to the murder of Steven Dunbar on the evening

            of April 9,            1994,    two co-conspirators not indicted herein had a

            conversation in which they agreed to murder Steven Dunbar that

            night and one of the co-conspirators not indicted herein told the

           other co-conspirator not indicted herein that Dunbar was sitting up

            the street.

                             (2)     Moments prior to the murder of Steven Dunbar on the

           evening of April 9,                1.994, a co-conspirator not indicted herein

           produced two handguns and gave one to the other co-conspirator not

            indicted herein for the purpose of murdering Steven Dunbar.

                             (3)     Moments prior to the murder of Steven Dunbar, SAMUEL

           CARSON, a/k/a "Chin," arranged for a co-conspirator not indicted

           herein to wait in a parked car nearby where Steven Dunbar was

           sitting so that that co-conspirator could be ready to drive the

           murder weapons away from the scene after the murder was committed.

                             (4)     While a co-conspirator not indicted herein waited

           nearby,       a   co-conspirator not          indicted herein walked up behind

                                                         44



                                                                                      I I.
(Page 110 of Total)
                                                      App 676
                   Case 1:98~cr~00329~RCL Document 760 Filed 07/02/01 Page 45 of 79
        USCA Case #21-3072           Document #2077668         Filed: 10/01/2024     Page 111 of 477


           Steven Dunbar in the 200 block of K Street, S.W., Washington, D.C.,

           and murdered Dunbar by shooting him approximately seven times.

                           (5)   Within seconds after the co-conspirator not indicted

           herein shot Steven Dunbar,            co-conspirators not indicted herein,

           opened fire on an eyewitness to the murder named Roge.st Webb in

           order      to   prevent     Rogest   Webb   from   implicating   and    testifying

           against the co-conspirators in the murder of Steven Dunbar.

                           (6)   After the co-conspirator not indicted herein shot

           Steven Dunbar, he handed the murder weapon to a co-conspirator not

           indicted herein.

                           {7)   After the co-conspirator not indicted herein handed

           the murder weapon to another co-conspirator not indicted herein,

           they both went into an alley and met oLher co-conspirators.

                           (8)   A   co-conspirator not indicted herein then took the

           two handguns from the co--con.spir<1tor not indi ctPd herein and rc1n to

           the car that was waiting nearby.

                           (9)   The co-conspirator not indicted herein who had been

           told by SAMUEL CARSON, a/k/a "Chin," to park nearby then drove the

           co-conspirator        not    indicted    herein    who   was   carrying      the   two

           handguns away from the area.

           Racketeering Act 42

                   On or about June 26, 1994, within the District of Columbia,

           SAMUEL CARSON, a/k/a "Chin," while armed with a pistol, assaulted




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(Page 111 of Total)
                                                   App 677
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 46 of 79
        USCA Case #21-3072             Document #2077668             Filed: 10/01/2024      Page 112 of 477


            Ulysses English with intent to murder him, in violation of 22 D.C.

            Code Sections 503 artd 3202.

           Racketeering Act 43

                  On     or    about    September    26,     1994,    within     the     District     of

            Columbia,         WILLIAM    KYLE     SWEENEY,    a/k/a      "Draper,"       and      a   co-

            conspirator        not     indicted    herein,    while      armed   with      a     pistol,

           purposely and with deliberate and premeditated malice,                                 killed

           Donnell       Whitfield by shooting him with a                   pistol     on or about

           September 26,         1994,    thereby causing injuries from which Donnell

           Whitfield died on or about September 26, 1994, in violation of 22

           D.C. Code Sections 105, 2401 and 3202.

           Racketeering Act 44

                  On or about May 30,             1995, within the District of Columbia,

            JEROME MARTIN, a/k/ a ''Pimp, 11 while armed with a pistol , assaulted

           James Coulter with intent to murder him, in violation of 22 D.C.

           Code Sections 503 and 3202.

           Racketeering Act 45

                  Between in or about 1996 and in or about 1997, within the

           District of          Columbia and the Commonwealth of Virginia,                        SAMUEL

           CARSON, a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper," SEAN

           COATES,       a/k/a "Birdy," and another co-conspirator not                           indicted

           herein, unlawfully, wilfully, and knowingly did conspire and agree

           with each other to commit the crime of first degree murder while



                                                       46




                                                                                          I I.
(Page 112 of Total)
                                                    App 678
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01                  Page 4 7 of 79
        USCA Case #21-3072            Document #2077668               Filed: 10/01/2024       Page 113 of 477


           armed (premeditated), in violation of 22 D.C. Code Sections 105a,

           2401 and 3202.

                  The object of the conspiracy charged in Racketeering Act 45

           was   for    the     conspirators      to     eliminate       those      people      who    were

           expected to testify as witnesses for the government in the murder

           trial of United States v. Maurice Proctor a/k/a "PooPoo," Criminal

           Case No. F9885-94, in the District of Columbia Superior Court, by

           killing the witnesses prior to their testimony.

                  In furtherance of this conspiracy and to effect the object

           thereof, SAMUEL CARSON, a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a

           "Draper," SEAN COATES,             a/k/a "Birdy," and another co-conspirator

           not   indicted herein committed U1e                  following overt.          acts      in the

           lJisLri.ct of Columbia dild the Commonwealth of Virginia:

                         (1)     CARSON,      SWEENEY    and   ct   cu-conspiratc.n       nol      .indicted

           herein discw..:sed a plan whereby they would k iJ J Kt~nneth Adam~:;, an

           individual who was expccterl                to testify al          Lhe     trial     of a    co

           conspir::-o.tor.

                         (7.)    CARSON,      SWEENEY,       COATES   aiid   a co-conspirator. not

           indicted herein drove to an address in Centerville, Virginia wh.ich

           SWEENEY believed to be the residence of Kenneth Adams in order to

           find and kill Kenneth Adams.

                         (3)     CARSON,      SWEENEY and a co-conspirator not indicted

           herein      drove     to     the    area     of     Kenneth       Adams'      residence        in

           Centerville, Virginia and stashed a gun in a nearby wooded area in

                                                         47




                                                                                            I.I.
(Page 113 of Total)
                                                      App 679
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01            Page 48 of 79
        USCA Case #21-3072             Document #2077668             Filed: 10/01/2024       Page 114 of 477


            order to facilitate future attempts to hunt .£or and kill Kenneth

            Adams.

            Racketeering Act 46

                    On or about August 30, 1996, within :he District of Columbia,

            SAMUEL CARSON,           a/k/a "Chin,"        and a    co-conspirator        not     indicted

            herein, while armed with pistols, assaulted Popa Mark Phillip with

            intent to murder him,               in violation of 22 D.C. Code Sections 105,

            503 and 3202.

            Racketeering Act 47

                    In or about October,            1996, within the DistricL o: Columbia,

            JEROME MARTIN,           a/k/a "Pimp,"        SAMUF.L CARSON,        a/k/a "Chin,"       SEAN

            COATES,       a/k/a "Birdy," and co-conspirators not ind.:ircted herein,

            unlawfully,          wil.!.tully,   and knowinqly did conspire and agree with

            each other and with others to commj_t the crime of fi ,,.;t_ degree

           murder while armed {premeditated) of persons who were expected to

            testify as witnesses for the government                     in   the murder trL:i.l        of

            United States v.           Jerome Martin,       a/k/a    "Pinu_~,"    Criminal Case No.

            F8414-91,       in violation of 22            D.C.    Code Sections      105a,       2401 and

            3202.

                    The object of the conspiracy charged in Racketeering Act 47

           was      for    Lhe     conspirators      to   eliminate     those      people      who   were

           expected to testify as witnesses for the government in the murder

           trial of United States v.                Jerome Martin,       a/k/a     "Pimo,"       Criminal




                                                           48




                                                                                          I I.
(Page 114 of Total)
                                                     App 680
               Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 49 of 79
        USCA Case #21-3072    Document #2077668       Filed: 10/01/2024  Page 115 of 477


           Case No. F8414-94, in the District of Columbia Superior Court, by

           killing them prior to their testimony.

                   In furtherance of this conspiracy and to effect the object

            thereof,        JEROME MARTIN,       a/k/a   "Pimp,"      and SAMUEL CARSON,         a/k/a

            "Chin," and other co-conspirators not indicted herein, committed

            the following overt acts in the District of Columbia:

                             (1)    Shortly    before    the   trial,    SAMUEL      CARSON,     a/k/a

            "Chin," told a co-conspirator not indicted herein that he needed to

            "bust" a woman who lived on 37th Place, S.E. because that woman was

           scheduled to testify at "Pimp's trial."

                             (2)     SAMUEL CAR.SON, a/k/a "Chin," enlisted the support of

           a co-conspirator not indicted herein in eliminating the witnesses

           at     "Pimp 1 s        trial,"    telling    him   that     they   had    to      approach

           eliminating the witnesses like a                    job and that       they had to do

           whatever was necessary to kill the witnesses.

                             (3)     On several occasions in 1996, SAMUEL CARSON, a/k/a

            "Chin," and that co-conspirator not indicted herein waited outside

            the witnesses' homes in an attempt to locate and ambush them.

                             (4)    On or about October 5, 1996--four days before the

           trial of United States v. Jerome Martin,                     a/k/a "Pimp," Criminal

           Case       No.   F8414-94--SAMUEL        CARSON,     a/k/a    "Chin,"     and      that   co-

           conspirator not indicted herein spoke to an associate and learned

            that Chrishauna Gladden, one of the potential witnesses on the list



                                                         49




                                                                                        I I
(Page 115 of Total)
                                                    App 681
                      Case 1·98-cr-00329 RCL Document 760 Filed 07/02/01 Page 50 of 79
        USCA Case #21-3072              Document #2077668                Filed: 10/01/2024     Page 116 of 477


            that      JEROME MARTIN,           a/k/a   upimp,"        had provided was attending a

            party at a house on 37th Place, S.E.

                               {5)    On or about October 5, 1996,              SAMUEL CARSON, a/k/a

            "Chin," and that co-conspirator not indicted herein waited in an

            abandoned house across the alley from the house where the party was

            taking place until Chrishauna Gladden emerged from the house.                              When

            Chrishauna Gladden walked out                     the      door,   SAMUEL   CARSON,       a/k/a

            "Chin," ran out of the abandoned house and shot Ms.                               Gladden to

            death.

            Racketeering Act 48

                   On or about October 5, 1996, within the Distrlct of Columbia,

            SAMUEL          CARSON,    a/k/a    "Chin, 11   and   a    co-conspirator not           indicted

            herein, while armed wilh a pistol, purposely and wi_th deJ iberate

            and premeditated malice, killed Chrishauna Gladden, by shooting her

            with a pi~-:;tol on or about October 5, 1996, thereby causing iI1jur-1e::1

            from which Clnishauna Gladden died on or about October 5, 1996, in

            violat _ion of 7.2 D.C. Code Sf>ctions 2401 and 3202.

            Racketeeri!_!g___ _J\ct 49

                   The def~ndant named below committed the following acts, each

            of which alone constitutes the commission of Racketeering Act 49:

                      (a)     On or about November 17, 1996, in the state of Maryland,

            SAMUEL CARSON, a/k/ a "Chin," WILLIAM KYLE SWEENEY, a/k/ a "Draper,''

            SEAN      COATES,        a/k/a   "Birdy,"       and a      co-conspirator not           indicted

            herein, while armed with a pistol, did attempt, by violence and by

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                                                                                             I I.
(Page 116 of Total)
                                                       App 682
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 51 of 79
        USCA Case #21-3072              Document #2077668                Filed: 10/01/2024    Page 117 of 477


           putting in fear,             to take and carry away money or·other valuable

           property from the persons of Alonzo Gaskins,                             Darnell Mack and

           Melody Anderson,             in violation of 27 M.D. Code,               Sections 486 and

           488.

                   (b)      On or about November 17, 1996, in the state of Maryland,

           SAMUEL CARSON, a/k/a "Chin,,, WILLIAM KYLE SWEENEY, a/k/a "Draper,"

           SEAN       COATES,    a/k/a     "Birdy,"     and   a     co-conspirator not            indicted

           herein, while armed with a pistol, in perpetrating or attempting to

           perpetrate the crime of at.tempted armed robbery as set forth in

            Paragraph a)         of Racketeering Act              49,    killed Alonzo Gaskins by

            shooting him with a pistol,                thereby causing injuries from which

           Alonzo Gaskins died on or about November 17, 1996,· in violation of

            27 M.D. Code, Section 410.

                   (c)      On or about November 17, 1996, in the state of Maryland,

            SAMUEL CARSON,         a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper, ,r

            SEAN      COATES,    a/k/a     "Birdy,rr    and   a     co-conspirator not            indicted

            herein, while armed with a pistol, in perpetrating or attempting to

            perpetrate       the    crime of attempted armed robber_{ as set forth in

            Paragraph       a)     of   Racketeering     Act       49,     killed    Darnell      Mack   by

            shooting him with a pistol,                thereby causing injuries from which

            Darnell Mack died on or about November 17, 1996, in violation of 27

            M.D. Code, Section 410.

                      (d)   On or about November 17, 1996, in the state of Maryland,

            SAMUEL CARSON, a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper,u


                                                         51



                                                                                             IL
(Page 117 of Total)
                                                       App 683
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01       Page 52 of 79
        USCA Case #21-3072           Document #2077668            Filed: 10/01/2024    Page 118 of 477


            SEAN COATES,          a/k/a ~'Birdy,"     and a     co-conspirator not         indicted

            herein, while armed with a pistol, in perpetrating or attempting to

            perpetrate the crime of attempted armed robbery as set forth in

            Paragraph a)         of Racketeering Act        49,   killed Melody Anderson by

            shooting her with a pistol,              thereby causing injuries from which

            Melody Anderson died on or about November 17, 1996, in violation of

            27 M.D. Code, Section 110.

                      (e)     On or about November 17, 1996, in the state of Maryland,

            SAMUEL CARSON, a/k/a "Chin,n WILLIAM KYLE SWEENEY, a/k/a "Draper,"

            SEAN      COATES,     a/k/a   "Birdy,"    and   a   co-conspirator not         indicted

            herein,          while armed with a pistol, purposely and w.ilh deliberate

            and premeditated malice, killed Alonzo !}a.skins by shooting him with

            a pistol, thereby causing injuries from which Alonzo Gaskins died

            on or        about   November   1 7,   1996,    in violation of      2 7 M. D.     Code,

            Section 407.

                      ( f)    On or about November 1 7, 1996, in the state of Maryland,

            SAMUEL CARSON, a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper,"

            SEAN      COATES,     a/k/a   "Birdy,"    and   a   co-conspirator not         indicted

            herein,          while armed with d pi2tol, purposely and with deliberate

            and premeditated malice, killed Darnell Mack by shooting him with

            a pistol, thereby causing injuries from which Darnell Mack died on

            or about November 17, 1996, in violation of 27 M.D. Code, Section

            407.




                                                       52



                                                                                      IL
(Page 118 of Total)
                                                     App 684
                    Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 53 of 79
        USCA Case #21-3072          Document #2077668          Filed: 10/01/2024     Page 119 of 477


                    (g)    On or about November 17, 1996, in the state of Maryland,

            SAMUEL CARSON, a/k/a "Chin," WILLIAM KYLE SWEENEY, a/k/a "Draper,"

            SEAN      COATES,   a/k./a   "Birdy,"    and a   co-conspirator not           indicted

            herein, while armed with a pistol, purposely and with deliberate

            and premeditated malice,          killed Melody Anderson by shooting her

            with a pistol, thereby causing injuries from which Melody Anderson

            died on or about November 17, 1996, in violation of 27 M.D. Code,

            Section 407.

            Racketeering Act 50

                   Between in or about April 1997 and on or about June 17, 1997,

            within the District of Columbia and the state of Maryland, SAMUEL

            CARSON, a/k/ a -..Chin, " WILLIAM KYLE SWEENEY, a/k/ a "'])raper,              11   and a

            co-conspirator not indicted herein,               knowingly did conspire and

            agree with each other and with others to commit the crime of first

            degree murder while armed (premeditated)              of Robert Smith,              a/k/a

            "Butchie," in order to prevent Robert Smith from implicating them

            in the murders of Alonzo Gaskins, Darnell Mack and Melody Anderson

            on November 17, 1996, in violation of 22 D.C. Code Sections 105a,

            2401 and 3202.

                   The object of the conspiracy charged in Racketeering Act 50

            was for the conspirators to prevent Robert Smith from implicating

            and testifying against them regarding the triple murder on November

            17,    1996.     In furtherance of this conspiracy and to effect the

            object thereof, SAMUEL CARSON, a/k/a "Chin," WILLI.AM KYLE SWEENEY,

                                                      53



                                                                                   I I.
(Page 119 of Total)
                                                    App 685
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01               Page 511 of 79
        USCA Case #21-3072              Document #2077668            Filed: 10/01/2024         Page 120 of 477


            a/k/a •~Draper," and a co-conspirator not indicted herein, committed

            the following overt acts in the District of Columbia and the state

            of Maryland:

                            (1)   At some point after his arrest on April 20,                           1997,

            WILLIAM KYLE          SWEENEY,      a/k/a   "Draper," told SAMUEL CARSON,                   a/k/a

            "Chin," that he had admitted to Robert Smith, a/k/a "Butchie," that

            they had committed the triple murder on November 17, 1996 and asked

            SAMUEL CARSON, a/k/a "Chin," to kill Smith.

                           (2)     At    some    point    after      that   conversation,              SAMUEL

            CARSON,      a/k/a     "Chin,"      told a co-conspirator not indicted herein

            thal they needed to kill Robert Smith, and that they would not have

            to worry about being implicated in the November 17,                              1996 triple

            murder once Robert: f~mi th was dead.

                           (3)     At    ~ome point      after SAMUEL CARSON,             a/k/a        "Chin,"

            solicited the co-conspirator not indicted herein to murder l<oberL.

            Smith,      those two men spolled Robert Smith on Ha If Street,                              S. W.,

            Washington, D.C.

                           (4)     After     spotting Robert Smith,             SAMUEL CARSON,           a/k/a

            "Chin,"      and      the    co-conspirator        not   indicted      herein          drove     to

            Carson's       house,       where    Carson    retrieved        a    gun     and       a   hooded

            sweatshirt.

                           (5)     SAMUEL CARSON, a/k/a "Chin,"             and the co-conspirator

            not indicted herein then devised a plan whereby the following would

            take place:        (a) the co-conspirator would drop SAMUEL CARSON, a/k/a

                                                          54




                                                                                            I I.

(Page 120 of Total)
                                                        App 686
                  Case 1:98-cr--00329--RCL Document 760   Filed 07/02/01   Page 55 of 79
        USCA Case #21-3072      Document #2077668           Filed: 10/01/2024      Page 121 of 477


           "Chin,'' off near whe:re they had spotted Robert Smith;                {b) SAMUEL

           CARSON,    a/k/a "Chin,"   would shoot Robert Smith to death and run

           back to the car;     (c) the co-conspirator not indicted herein would

           then drive over the South Capitol Street bridge from which they

           would throw the gun in the river; and {d) they would continue on to

           the area of 37th Street, S.E. where they would establish an alibi

           for themselves by standing outside and being seen by other persons

           who could later say that they were in that area and not around Half

           Street, S.W. on the day of Robert Smith's murder.

                        (6)   In accordance with their plan,          the co-conspirator

           not indicted herein dropped SAMUEL CARSON, a/k/a "Chin," in the

           1400 block of South Capitol Street, S.W.

                        (7)   SAMUEL CARSON, a/k/a "Chin," walked through an alley

            from the 1400 block of South Capitol Street, S.W. toward where they

           had seen Robert Smith on Half Street, S.W.

                        (8)   SAMUEL CARSON, a/k/a "Chin," came back to the car a

           short time later, telling the co-conspirator not indicted herein

           that he had been unable to commit the murder as Robert Smith was no

            longer on Half Street, S.W.

           (Conspiracy to Participate in Racketeer Influenced Corrupt
           Organization, in violation of Title 18, United States Code,
           Section 1962(d))




                                                 55




                                                                                 I.I
(Page 121 of Total)
                                             App 687
                Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 56 of 79
        USCA Case #21-3072     Document #2077668       Filed: 10/01/2024  Page 122 of 477



                                  JUNE 29,      1989 MURDER OF LARRY WRIGHT

                                                   COUNT THREE

                          FIRST-DEGR~jt_MURDER WHILE ARMED OF LARRY WRIGHT

                    On or about June 29, 1989, within the District of Columbia,

            VINCENT HILL,        a/k/a "Vito," while armed with a pistol,                          purposely

            and with deliberate and premeditated malice, killed Larry Wright by

            shooting him with a            pist.ol on or about            June    29,      1989,     thereby

            cau::;ing injuries from which Larry Wri~ht died on or about June 29,

            1989.

            (Fir.at-Degree Murder While Armed,                  in violation of Title 22, D.C.
            Code, Sections 2401 and 3202)

              DECEMBER 19, _1989 MURDERS OF MAURICE HALLMAN MID LEONARD HYSON

                                                    COUNT FOUR

                         FIRST-D:BG_REE;_1!IDRDER WHILE ARMED OF MAURICE HALLMAN

                    On    or    about    Decen~er       19,    1989,    within     the      Distrjct        of

            Columbiu,       SAMUEL CARSON,        a/k/a       "Chin,u   and a    co-conspirator not

            indicted       herein,      while   armed     with    pistols,       purposely         and    with

            deliberate         and premeditated         malice,    killed    Mcturice        Hallmau,       by

            shootin9 him with a pistol on or about December 19, 1989, thereby

            causing       inJuries      from    which    Maurice       Hallman    d:i.ed    on     or    about

            December 19, 1989.

            (First-Degree Murder While Armed, in violation of Title 22,                                  D.C.
            Code, Sections 105, 2401 and 3202)




                                                          56



                                                                                             I I

(Page 122 of Total)
                                                        App 688
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 57 of 79
        USCA Case #21-3072           Document #2077668                Filed: 10/01/2024      Page 123 of 477


                                                  COUNT FIVE

                       FIRST-DEGREE MURDER WHILE ARMED OF LEONARD HYSON

                  On    or   about     December    19,        1989,    within    the      District   of

            Columbia, SAMUEL CARSON, a/k/a "Chin," and a co-conspirator not

            indicted herein,          while armed with pistols,                purposely and with

            deliberate       and    premeditated malice,              killed    Leonard Hyson,       by

            shooting him with a pistol on or about December 19, 1989, thereby

            causing injuries from which Leonard Hyson died on or about December

            19, 1989.

            (First-Degree Murder While Armed,                 in violation of Title 22, D.C.
            Code, Sections 105, 2401 and 3202}

                 MARCH 22,         1991 MURDERS OF TERESA THOMAS AND TERITA LUCAS

                                                  COUNT SIX

                       FIRST-DEGREE MURDER WHILE ARMED OF TERESA THOMAS

                  On or about March 22, 1991, within the District of Columbia,

            SAMUEL CARSON, a/k/a "Chin," while armed with a pistol, purposely

            and with deliberate and premeditated malice, killed Teresa Thomas,

            by shooting her with a pistol on or about March 22, 1991, thereby




                                                         57



                                                                                           I I.

(Page 123 of Total)
                                                   App 689
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 58 of 79
        USCA Case #21-3072         Document #2077668         Filed: 10/01/2024    Page 124 of 477


            causing injuries from which Teresa Thomas died on- or about March

            22, 1991.

            (First-Degree Murder While A:aned, in violation of Title 22, D.C.
            Code, Sections 2401 and 3202)

                                               COUNT SEVEN

                          FIRST-DEGREE MURDER WHILE ARMED OF TE~ITA LUCAS

                    on or about March 22, 1991, within the District of Columbia,

            SAMUEL CARSON, a/k/a "Chin," while armed with a pistol, purposely

            and with deliberate and premeditated malice, killed Terita Lucas,

            by shooting her with a pistol on or about March 22, 1991, thereby

            causing injuries from which Terita Lucas died on or about March 22,

            1991.
                                                                            •
            (First-Degree Murder While Armed, in violation of Title 22, D.C.
            Code, Sections 2401 and 3202)

                              AUGUST 6,   1991 MURDER OF ANTHONY PORTUNE

                                               COUNT EIGHT

                        FIRST-DEGREE MURDER WHILE ARMED OF ANTHONY FORTUNE

                    On or about August 6, 1991, within the District of Columbia,

           JEROME MARTIN, a/k/a "Pimp," and SAMOEL CARSON, a/k/a "Chin," while

           armed with a pistol, purposely and with deliberate and premeditated

           malice, killed Anthony Fortune, by shooting him with a pistol on or

           about August 6, 1991, thereby causing injuries from which Anthony

           Fortune died on or about August 6, 1991.

            {First-Degree Murder While Armed,            in violation of Title 22, D.C.
           Code, Sections 105, 2401 and 3202)


                                                    58




                                                                                 IL
(Page 124 of Total)
                                                App 690
               Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 59 of 79
        USCA Case #21-3072    Document #2077668       Filed: 10/01/2024  Page 125 of 477



               SEPTEMBER 10, 1991 SHOOTING AT 60TH AND EAST CAPITOL STREETS

                                           COUNT NINE

                          ASSAULTING, RESISTING 1\ND ~N'l'ERFERING WITH
                              OFC. LITTLE WITH A DANGEROUS WEAPON

                  On or    about   September    10,    1991,       within   the   District of

            Columbia,   JEROME MARTIN,    a/k/a       "Pimp,"      and co-conspirators not

            indicted herein, without justifiable and excusable cause, and with

           deadly and dangerous weapons,              that   is,    pistols,      did assault,

            resist, oppose, impede, and interfere with Marc Little, a member of

            a police force operating in the District of Columbia, knowing him

            to be a police officer, while Marc Little was engaged in and on

            account of the performance of his official duties-

            (Assaultingr Resisting and Interfering with a Police Officer with
            a Dangerous Weapon, in violation of Title 22, D.C. Code, Sections
            105 and S0S{b)}

                             JULY 7,   1993 MURDER OF GLENN JENKINS

                                               COUNT TEN

                      FIRST-DEGREE MURDER WHILE ARMED OF GLENN JENKINS

                  On or about July 7, 1993, within the District of Columbia,

           WILLIAM KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a "Birdy,"

            and co-conspirators not indicted herein, while armed with pistols,

            purposely and with deliberate and premeditated malice, killed Glenn

           Jenkins, by shooting him with a pistol on or about July 7, 1993,




                                                  59



                                                                                   II
(Page 125 of Total)
                                               App 691
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 60 of 79
         USCA Case #21-3072     Document #2077668       Filed: 10/01/2024  Page 126 of 477



            thereby causing injuries from which Glenn Jenkins died on or about

            July 7, 1993.

             (First-Degree Murder While Armed,              in violation of Title 22, D.C.
            Code, Sections 105, 2401 and 3202)

                    OCTOBER 22,      19:!_:} __KIDNAPING AJYJL.5-JiQOTTNG OF ANTHONY PRYOR

                                                   COUNT ELEVEN

                            ATTEMPTED MURDER IN AID OF RACKETEERING ACTIVITY
                                            OF ANTHONY PRYOR

                    The defendants named below committed the following violent

            crime in aid of racketeering activity:

                      (1)     At   all   times     relevant         to       this     Indictment,      the

            racketeering enterprise, as more fully described in paragraphs One

            through Ten of Count Two of this Indictment, which are realleged

            and incorporated by reference as though set forth fully herein,

            constituted an enterprise as defined in Title 18, United States

            Code,       Section     1959(b} (2},     that     is,        a    group    of    individuals

            associated in fact which was engaged in,                          and the activities of

            which affected, interstate and foreign commerce.

                      (2)    At all times relevant          to this Indictment,               the   above-

            described enterprise, through its members and associates, engaged

            in racketeering activity as defined in Title 18, United States

            Code, Sections 1959{b) (1) and 1961(1), namely, offenses involving

            the felonious manufacture,              importation,             receiving,     concealment,

            buying, selling, or otherwise dealing in a controlled substance, in

            violation of Title 21, United States Code, Sections 841 and 846,


                                                       60




                                                                                             I I


(Page 126 of Total)
                                                     App 692
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 61 of 79
        USCA Case #21-3072              Document #2077668             Filed: 10/01/2024        Page 127 of 477


            and acts involving mur-der, kidnaping and robbery, in violation of

            Title 22, D.C. Code, Sections 103, 105, lOSa, 106, 501, 503, 2101,

            2401, 2901 and 3202 and Title 27, Maryland Code, Sections 12, 337,

            407, 410, 486, and 488.

                      (3)    On or about October 22, 1993, in the state of Maryland,

            as consideration for the receipt of,                     and as consideration for a

            promise and an agreement to pay, anything of pecuniary value from

            the enterprise,            and for the purpose of gaining entrance to and

            maintaining and increasing their position in the enterprise,                               an

            enterprise engaged in racketeering activity,                           as   set forth more

            fully in Count Two of this indictment, VINCENT HILL, a/k/a "Vito,"

            WILLIAM KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a "Birdy,"

            and others unknown to the Grand Jury unlawfully,                             willfully and

            knowingly,        while       armed   with   pistols,      attempted        to   kidnap   and

            murder,         and     a.ssaul ted   Anthony    Pryor    with    a.    dangerous      weapon

            resulting in serious bodily injury, in violation of 27 M.D. Code,

            Sections 12, 337, 486 and 488.

            (Violent      Crime in Aid of Racketeering Activity, in violation of
            Title      18, United States Code, Sections 2 and 1959 (a) (3) &(5))

                                  QS:'TOBER 2 8, .1- 9 9 3 .8HOOTING OF ROJ,ll.ND BROWN

                                                    COUNT TWELVE

                    ASSAULT WITH INTENT TO KILL WHILE                ARMED OF ROLAND BROWN

                    On or about October 28, 1993, within the District of Columbia,

            SAMUEL CARSON,            a/k/ a   "Chin,"   and a co-conspirator not indicted


                                                            61




                                                                                             I I

(Page 127 of Total)
                                                       App 693
                Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 62 of 79
        USCA Case #21-3072     Document #2077668      Filed: 10/01/2024   Page 128 of 477


            herein,         while armed with pistols,    assaulted Roland Brown with

            intent to kill him.

            (Assault with Intent to Kill While Armed, in violation of Title 22,
            D.C. Code, Sections 501 and 3202)

                                JUNE 26, I994 SHOOTING OF ULYSSES ENGLISH

                                              COUNT THIRTEEN

                ASSAULT WITH INTENT TO KILL WHILE ARMED OF ULYSSES ENGLISH

                  On or about June 26,         1994, within the District of Columbia,

            SAMUEL CARSON, a/k/a "Chin," while armed with a pistol, assaulted

            Ulysses English with intent to kill him.

            (Assault with Intent to Kill While Armed, in violation of Title 22,
            D.C. Code, Sections 501 and 3202)

                                              COUNT FOURTEEN

                            ATTEMPTED MURDER IN AID OF RACKETEERING ACTIVITY
                                           OF ULYSSES ENGLISH

                  The defendant named below committed the following violent

            crime in aid of racketeering activity:

                      (1)     Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)    On or about June 26, 1994, in the District of Columbia,

            as consideration for the receipt of, and as consideration for a

            promise and an agreement to pay, anything of pecuniary value from

            the enterprise,         and for the purpose of gaining entrance to and

            maintaining and increasing his ·position in the enterprise,              an


                                                    62




                                                                            I I

(Page 128 of Total)
                                                 App 694
                    Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 63 of 79
        USCA Case #21-3072                                             Document #2077668             Filed: 10/01/2024      Page 129 of 477


            enterprise engaged in racketeering activity,                                                      as set forth more

            fully in Count Two of this indictment, SAMUEL CARSON, a/k/a "Chin,"

            unlawfully,                            willfully and knowingly,                     while armed with a pistol,

            attempted to murder and assaulted Ulysses English with a dangerous

            weapon resulting in serious bodily injury, in violation of 22 D.C.

            Code, Sections 501 and 3202.

            (Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Section 1959 (a) (3) &(5))
                  C-DO"T'DMD,UD                             ')L
                 1-J.J...:..r .i .L.'..LL'.J..LJ.L:1.1.'L   L. u   r    1994 WJRDE.1:~ OF DOJ''li'IELL "ROBOCOP" ~lHITFIELD

                                                                                  COUNT FIFTEEN

                         FIRST-DEGREE MURDER WHILE ARMED OF DONNELL WHITFIELD

                  On               or              about                September    26,     1994,     within    the     District        of

            Columbia,                        WILLIAM                     KYLE     SWEENEY,    a/k/a       "Draper,"       and      a     co-

            conspirator                              not               indicted    herein,    while      armed    with      a     pistol,

            purposely                       and with deliberate                            and premeditated malice,                killed

            Donnell                Whitfield by                              shooting      him with a       pistol       on or         about

            September 26,                                   1994,         thereby causing injuries from which Donnell

            Whitfield died on or about September 26, 1994.

            (First-Degree Murder While Armed,                                                in violation of Title 22, D.C.
            Code, Sections 105, 2401 and 3202)

                                                                                  COUNT SIXTEEN

                                                      MURDER IN AID OF RACKETEERING ACTIVITY
                                                               OF DONNELL WHITFIELD

                   The defendants named below committed the following violent

            crime in aid of racketeering activity:


                                                                                        63




                                                                                                                          I. I.
(Page 129 of Total)
                                                                                    App 695
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 64 of 79
         USCA Case #21-3072     Document #2077668       Filed: 10/01/2024  Page 130 of 477


                      (1)   Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)   On or   about   September   26,   1994,   in   the District of

            Columbia, as consideration for the receipt of, and as consideration

            for a promise and an agreement to pay, anything of pecuniary value

            from the enterprise, and for the purpose of gaining entrance to and

            maintaining and increasing their position in the enterprise,                an

            enterprise engaged in racketeering activity,               as set forth more

            fully in Count Two of this indictment, WILLIAM KYLE SWEENEY, a/k/a

            "Draper," and a co-conspirator not            indicted herein,     unlawfully,

            willfully, knowingly, and with deliberate and premeditated malice,

            while armed with a pistol, killed Donnell Whitfield, by shooting

            him with a pistol,         thereby causing injuries from which Donnell

            Whitfield died on or about September 26, 1994, in violation of 22

            D.C. Code, Sections 105, 2401 and 3202.

            (Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Sections 2 and 1959(a) (1})




                                                   64



                                                                               I I

(Page 130 of Total)
                                                App 696
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 65 of 79
        USCA Case #21-3072           Document #2077668         Filed: 10/01/2024      Page 131 of 477


                            MAY 30, 1995 SHOOTING OF JAMES "CREEKO;, COULTER

                                              COUNT SEVENTEEN

                 ASSAULT WITH INTENT TO KILL WHILE ARMED OF JAMES COULTER

                  On or about May 30,          1995, within the District of Columbia,

            JEROME MARTIN, a/k/a "Pimp," while armed with a pistol, assaulted

            James Coulter with intent to kill him.

            (Assault with Intent to Kill While Armed, in violation of Title 22,
            D.C. Code, Sections 501 and 3202)

                                              COUNT EIGHTEEN

                            ATTEMPTED MURDER IN AID OF RACKETEERING ACTIVITY
                                            OF JAMES COULTER

                  The defendant named below committed the following violent

            crime in aid of racketeering activity:

                      (1)     Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)     On or about May 30, 1995, in the District of Columbia, as

            consideration for          the   receipt   of,   and   as   consideration for a

            promise and an agreement to pay, anything of pecuniary value from

            the enterprise,         and for the purpose of gaining entrance to and

            maintaining and increasing his position in the enterprise,                        an

            enterprise engaged in racketeering activity,                 as set forth more

            fully in Count Two of this indictment, JEROME MARTIN, a/k/a ~~Pimp,"

            unlawfully, willfully and knowingly,              while armed with a pistol,

            attempted to murder and assaulted James Coulter with a dangerous

                                                       65



                                                                                   I. I.
(Page 131 of Total)
                                                 App 697
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 66 of 79
        USCA Case #21-3072           Document #2077668        Filed: 10/01/2024     Page 132 of 477


            weapon resulting in serious bodily injury, in.violation of 22 D.C.

            Code, Sections 501 and 3202.

            (Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Section 1959(a) (3)&(5))

                              AUGUST 30, 1996 SHOOTING OF POPA MARK PHILLIP

                                              COUNT NINETEEN

               ASSAULT WITH INTENT TO KILL WHILE ARMED OF POPA MARK PHILLIP

                      On or about August 30, 1996, within the District of Columbia,

            SAMUEL CARSON,          a/k/a "Chin,"   and a co-conspirator not            indicted

            herein, while armed with pistols, assaulted Popa Mark Phillip with

            intent to kill him.

             (Assault with Intent to Kill While Armed, in violation of Title 22,
            D.C. Code, Sections 105, 501 and 3202)

                                               COUNT TWENTY

                            ATTEMPTED MURDER IN AID OF RACKETEERING ACTIVITY
                                           OF POPA MARK PHILLIP

                      The defendants named below committed the following violent
            crime in aid of racketeering activity:

                      (1)     Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)     On or about August 30, 1996, in the District of Columbia,

            as consideration for the receipt of, and as consideration for a

            promise and an agreement to pay, anything of pecuniary value from

            the enterprise,         and for the purpose of gaining entrance to and


                                                    66




                                                                                  I I

(Page 132 of Total)
                                                 App 698
               Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 67 of 79
        USCA Case #21-3072    Document #2077668       Filed: 10/01/2024  Page 133 of 477


            maintaining and increasing their position in the enterprise,               an

            enterprise engaged in racketeering activity,           as set forth more

            fully in Count Two of this indictment, SAMUEL CARSON, a/k/a ''Chin,"

            and a co-conspirator not indicted herein, unlawfully, willfully and

            knowingly,     while   armed   with   pistols,   attempted   to   murder   and

            assaulted Popa Mark Phillip with a dangerous weapon resulting in

            serious bodily injury, in violation of 22 D.C. Code, Sections 105,

            501 and 3202.

            {Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Sections 2 and 1959(a) (3)&{5})

                          OCTOBER 5, 1996 MURDER OF CHRTSHAUNA GT.A..DDEN

                                           COUNT TWENTY-ONE

                      FIRST-DEGREE MURDER WHILE ARMED OF CHRISHAUNA GLADDEN

                  On or about October 5, 1996, within the District of Columbia,

            SAMUEL CARSON,     a/k/a "Chin," and a co-conspirator not indicted

            herein, while armed with a pistol, purposely and with deliberate

            and premeditated malice, killed Chrishauna Gladden, by shooting her

            with a pistol on or about October 5, 1996, thereby causing injuries

            from which Chrishauna Gladden died on or about October 5, 1996.

            (First-Degree Murder While Armed, in violation of Title 22, D.C.
            Code, Sections 2401 and 3202)




                                                   67




                                                                              I, I.

(Page 133 of Total)
                                               App 699
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 68 of 79
         USCA Case #21-3072     Document #2077668       Filed: 10/01/2024  Page 134 of 477



                                           COUNT TWENTY-TWO

                              MURDER IN AID OF RACKETEERING ACTIVITY
                                       OF CHRISHAUNA GLADDEN

                      The defendant named below committed the following violent

            crime in aid of racketeering activity:

                      (1)   Paragraphs One and Two of Count ll of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)   On or about October 5,     1996,   within the District of

            Columbia, as consideration for the receipt of, and as consideration

            for a promise and an agreement to pay, anything of pecuniary value

            from the enterprise, and for the purpose of gaining entrance to and

            maintaining and increasing their position in the enterprise, an

            enterprise engaged in racketeering activity,           as set forth more

            fully in Count Two of this indictment, SAMUEL CARSON, a/k/a '~Chin,"

            and a co-conspirator not indicted herein, unlawfully, willfully,

            knowingly, and with deliberate and premeditated malice, while armed

            with a pistol, killed Chrishauna Gladden, by shooting her with a

            pistol, thereby causing injuries from which Chrishauna Gladden died

            on or about October 5, 1996, in violation of 22 D.C. Code, Sections

            2401 and 3202.

            (Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Section 1959(a) (1))




                                                  68



                                                                          I I

(Page 134 of Total)
                                               App 700
                      Case 1:98~cr-00329wRCL Document 760 Filed 07/02/01 Page 69 of 79
        USCA Case #21-3072              Document #2077668          Filed: 10/01/2024    Page 135 of 477


                               OCTOBER. 30,     1996 SHOOTING OF RONALD SOWELLS

                                                COUNT TWENTY-THREE

                   ASSAULT WITH INTENT TO KILL WHILE ARMED OF RONALD SOWELLS

                      On or about October 30, 1996, within the District of Columbia,

            SAMUEL CARSON, a/k/a "Chin," and SEAN COATES, a/k/a •1 Birdy," while

            armed with a pistol, assaulted Ronald Sowells with intent to kill

            him.
            (Assault with Intent to Kill While Armed, in violation of Title 22,
            D.C. Code, Sections 105, 501 and 3202)

                                                 COUNT TWENTY-FOOR

                            ATTEMPTED MURDER ~N Aro OF RACKETEERING ACTIVITY
                                            OF RONALD SOWELLS

                      The defendants named below committed the following violent

            crime in aid of racketeering activity:

                      (1)     Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)     On   or   about    October    30,   1996,   in    the    District   of

            Columbia, as consideration for the receipt of, and as consideration

            for a promise and an agreement to pay, anything of pecuniary value

            from the enterprise, and for the purpose of gaining entrance to and

            maintaining and increasing their position in the enterprise,                           an

            enterprise engaged in racketeering activity,                       as set forth more

            fully in Count Two of this indictment, SAMUEL CARSON, a/k/a "Chin,"

            and       SEAN     COATES,     a/k/a    "Birdy,"      unlawfully,     willfully       and

                                                           69




(Page 135 of Total)
                                                     App 701
                      Case 1:98-crH00329-RCL Document 760 Filed 07/02/01 Page 70 of 79
        USCA Case #21-3072            Document #2077668            Filed: 10/01/2024     Page 136 of 477


            knowingly,       while     armed with a      pistol,     attempted to murder and

            assaulted Ronald Sowells with a                  dangerous weapon          resulting   in

            serious bodily injury, in violation of 22 D.C. Code, Sections 105,

            501 and 3202.

            (Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Sections 2 and 1959 {a) (3) &(5))

                                      NOVEMBER 17,    1996 TRIPLE MURDER

                                                COUNT TWENTY-FIVE

                                 MURDER IN AID OF RACKETEERING ACTIVITY
                                                OF ALONZO GASKINS

                      The defendants named below committed the following violent

            crime in aid of racketeering activity:

                      (1)   Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)   On   or   about    November 17,     1996,    within the state of

            Maryland, as consideration for the receipt of, and as consideration

            for a promise and an agreement to pay, anything of pecuniary value

            from the enterprise, and for the purpose of gaining entrance to and

            maintaining and increasing their position in the enterprise, an

            enterprise engaged in racketeering activity,                    as set forth more

            fully in Count Two of this indictment, SAMUEL CARSON, a/k/a "Chin,"

            WILLIAM KYLE SWEENEY,             a/k/ a "Draper,'' SEAN COATES,      a/k/ a "Birdy,"
            and a co-conspirator not indicted herein, unlawfully, willfully,

            kno_wingly, and with deliberate and premeditated malice, and in the

                                                        70




(Page 136 of Total)
                                                    App 702
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 71 of 79
        USCA Case #21-3072          Document #2077668        Filed: 10/01/2024     Page 137 of 477


            perpetration of, or attempt to perpetrate, the crime of robbery,

            while armed with a pistol, killed Alonzo Gaskins, by shooting him

            with a pistol, thereby causing injuries from which Alonzo Gaskins

            died on or about November 17, 1996, in violation of 27 M.D. Code,

            Sections 407 and 410.

            (Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Section 1959{a) (1))

                                            COUNT TWENTY-SIX

                               MURDER IN AID OF RACKETEERING ACTIVITY
                                           OF DARNELL MACK

                  The defendants named below committed the following violent

            crime in aid of racketeering activity:

                      (1)   Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)   On or about November 17,        1996,   within   the    state of

            Maryland, as consideration for ~he receipt of, and as consideration

            for a promise and an agreement to pay, anything of pecuniary value

            from the enterprise, and for the purpose of gaining entrance to and

            maintaining and increasing their position in the enterprise,                    an

            enterprise engaged in racketeering activity,               as set forth more

            fully in Count Two of this indictment, SAMUEL CARSON, a/k/a "Chin,"

            WILLIAM KYLE SWEENEY, a/k/a "Draper," SEAN COATES, a/k/a "Birdy,"

            and a co-conspirator not indicted herein, unlawfully, willfully,

            knowingly, and with deliberate and premeditated malice, and in the

                                                     71




(Page 137 of Total)
                                                 App 703
                      Case 1:98-cr-00329~RCL Document 760 Fiied 07/02/01 Page 72 of 79
         USCA Case #21-3072         Document #2077668        Filed: 10/01/2024      Page 138 of 477


            perpetration of, or attempt to perpetrate, the crime of robbery,

            while armed with a pistol,          killed Darnell Mack, by shooting him

            with a pistol,        thereby causing injuries from which Darnell Mack

            died on or about November 17, 1996, in violation of 27 M.D. Code,

            Sections 407 and 410.

            (Violent Crime in Aid of Racketeering Activity, in violation of
            Title 18, United States Code, Section 1959 (a) (1))

                                           COUNT TWENTY-SEVEN

                               MURDER IN AID OP RACKETEERING ACTIVITY
                                         OF MELODY ANDERSON

                      The defendants named below committed the following violent

            crime in aid of racketeering activity:

                      (1)   Paragraphs One and Two of Count 11 of this Indictment are

            realleged and incorporated by reference as though fully set forth

            herein.

                      (2)   On or about    November 17,     ~996,   within    the    state of

            Maryland, as consideration for the rece~pt of, and as consideration

            for a promise and an agreement to pay, a~ything of pecuniary value

            from the enterprise, and for the purpose of gaining entrance to and

            maintaining and increasing their position in the enterprise,                     an

            enterprise engaged in racketeering ac:-i vi ty,            as set forth more

            fully in Count Two of this indictment, SAMUEL CARSON, a/k/a ~'Chin, 11

            WILLIAM KYI,E SWEENEY, a/k/ a "Draper," SEAN COATES,             a/k/ a ''Birdy,"
            and a co-conspirator not indicted herein, unlawfully, willfully,

            knowingly, and with deliberate and premeditated malice, and in the


                                                    72




(Page 138 of Total)
                                                 App 704
                 Case
         USCA Case    1:98-cr-00329-RCL
                   #21-3072     Document Document
                                         #2077668 760 Flied  07/02/01
                                                         Filed:        Page 73Page
                                                                10/01/2024     of 79 139 of 477



             perpetration of, or attempt to perpetrate, the crime of robbery,

             while armed with a pistol, killed Melody Anderson, by shooting her

             with a pistol, thereby causing injuries from which Melody Anderson

             died on or about November 17, 1996, in violation of 27 M.D. Code,

             Sections 407 and 410.

             (Violent Crime in Aid of Racketeering Activity, in violation of
             Title 18, United States Code, Section 1959 (a) (1))

                                              COUNTS 28-37

                                          USE OF A FIREARM

                      On or about the dates set forth below,            in the District of

             Columbia, the defendants named below did knowingly, willfully and

             unlawfully use and carry a          firc<1rm during and in reL.1L ion to a
                                                                                  ..
             crime of violenc~ and a drug tratficking crime, which arc felonies

             prosecutable in a court of the United Slates, as set forth below

             and as further described in counts and overt acts ot Count One of

             this indictment which ctr0: realleged and incorporated as if fully

             set forth herein:

             CT       DATE       DEFENDANTS              PREDICATE_ OFF_f,;NSE           FOUND TN
                                                                                        COUNT t:,J_O .
             28       10-22-93   VINCENT HILL            RICO l\ssault                          11
                                 WILLIAM SWEENEY         18   u.s.c.   §19':,,9
                                 SEAN COATES             (Anthony Pryor:
                                                         Victim}

             29       6-26-94    SAMUEL CARSON           RICO Assault                           14
                                                         18 u.s.c. §1959
                                                         (Ulysses English:
                                                          Victim)




                                                    73




                                                                                       IJ.
(Page 139 of Total)
                                                 App 705
                  Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 74 of 79
        USCA Case #21-3072      Document #2077668          Filed: 10/01/2024   Page 140 of 477


           30                WILLIAM SWEENEY         RICO Murder                     16
                                                     18   u.s.c.   §1959
                                                     (Donnell Whitfield:
                                                     Decedent)

           31     5-30-95    JEROME MARTIN           RICO Assault                    18
                                                     18   u.s.c.   §1959
                                                     (James Coulter:
                                                      Victim)

           32     8-30-96    SAMUEL CARSON           Rico Assault                    20
                                                     18 u.s.c. §1959
                                                     (Popa Mark Phillip:
                                                      Victim)

           33     10-5-96    SAMUEL CARSON           RICO Murder                     22
                                                     18 u.s.c. §1959
                                                     (Chrishauna Gladden:
                                                      Decedent)

           34     10-30-96   SAMUEL CARSON           RICO Assault                    24
                             SEAN COATES             18 u.s.c. §1959
                                                     (Ronald Sowells:
                                                      Victim)

           35     11-17-96   SAMUEL CARSON           RICO Murder                     25
                             WILLIAM SWEENEY         18   u.s.c. §1959
                             SEAN COATES             (Alonzo Gaskins:
                                                      Decedent)

           36     11-17-96   SAMUEL CARSON           RICO Murder                     26
                             WILLIAM SWEENEY         1B U.S.C. §1959
                             SEAN COATES             {Darnell Mack:
                                                      Decedent}
           37     11-17-96   SAMUEL CARSON           RICO Murder                     27
                             WILLIAM SWEENEY         18   u.s.c. §1959
                             SEAN COATES             {Melody Anderson:
                                                      Decedent)

           (Use of a Firearm, in violation of Title 18, United States Code,
           Sections 2 and 924(c))




                                                74




(Page 140 of Total)
                                             App 706
                 Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 75 of 79
         USCA Case #21-3072     Document #2077668       Filed: 10/01/2024  Page 141 of 477


                                                   COUNTS 38-45

                                POSSESSION OF A FIREARM DURING CRIME
                                  OF VIOLENCE OR DANGEROUS OFFENSE

                      On or about the dates set forth below,               in the District of

            Columbia, the defendants named below did possess a firearm, that

            is, a pistol or imitation thereof, while committing the specified

            crimes      of   violence      and dangerous     crimes   as   set   forth   in the

            specified        counts   of    this    indictment    which    are   realleged     and

            incorporated by reference as if fully set forth herein:

                  DATE           DEFENDANTS                 PREDICATE OFFENSE       FOUND IN
                                                                                    COUNT NO.

            38    7-7-93         WILLIAM SWEENEY            First Degree Murder           10
                                 SEAN COATES                While Armed
                                                            22 D.C. Code§§
                                                            2401 and 3202
                                                            (Glenn Jenkins:
                                                             Decedent)

            39    10-28-93       SAMUEL CARSON              Assault With Intent           12
                                                            To Kill While Armed
                                                            22 D.C. Code.§§
                                                            501 and 3202
                                                            (Roland Brown:
                                                             Victim)

            40    6-26-94        SAMUEL CARSON              Assault With lntent           13
                                                            To Kill While Armed
                                                            22 D.C. Code§§
                                                            501 and 3202
                                                            (Ulysses English:
                                                             Victim)

            41    9-26-94        WILLIAM SWEENEY            First Degree Murder           15
                                                            While Armed
                                                            22 o.c. Code§§
                                                            2401 and 3202
                                                            (Donnell Whitfield:
                                                             Decedent)

                                                       75




(Page 141 of Total)
                                                     App 707
               Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 76 of 79
        USCA Case #21-3072    Document #2077668       Filed: 10/01/2024  Page 142 of 477


            42    5-30-95    JEROME MARTIN           Assault With Intent          17
                                                     To Kill While Armed
                                                     22 D.C- Code§§
                                                     501 and 3202
                                                     (James Coulter~
                                                      Victim)

            43    8-30-96    SAMUEL CARSON           Assault With Intent          19
                                                     To Kill While Armed
                                                     22 D.C. Code§§
                                                     501 and 3202
                                                     {Popa Mark Phillip:
                                                      Victim}

            44                SAMUEL CARSON          First Degree Murder          21
                                                     While Armed
                                                     22 D.C. Code§§
                                                     2401 and 3202
                                                     (Chrishauna Gladden:
                                                      Decedent)

            45    10-30-96    SAMOEL CARSON          Assault With Intent          23
                              SEAN COATES            To Kill While Armed
                                                     22 D . C.   Code § §
                                                     501 and 3202
                                                     (Ronald Sowells:
                                                      Victim)

            (Possession of Firearm During Crime of Violence or Dangerous
            Offense, in violation of Title 22, D.C. Code, Sections 105 and
            3204 (b))

                                         COUNTS 46-62

                             DISTRIBUTION OF CONTROLLED SUBSTANCES

                  On or about the dates set forth below, in the District of

            Columbia, Maryland and elsewhere, the defendants named below did,

            in violation of Title 21, United States Code, Sections 84l(a) (1)

            and 841(b) (1) (D), and Title 18, United States Code, Section 2,

            unlawfully, knowingly and intentionally distribute a mixture and

            substance containing a detectable amount of marijuana, a Schedule

                                                76




                                                                            IJ.
(Page 142 of Total)
                                              App 708
                 Case 1:98-cr-00329·RCL Document 760 Filed 07/02/01 Page 77 of 79
         USCA Case #21-3072     Document #2077668       Filed: 10/01/2024  Page 143 of 477



            II controlled substance, as more fully set forth in the specified

            overt acts of Count One, which are realleged and incorporated by

            reference heLein:

                  Defendant or          Nature of
            Ct.   Co-Conspirator        Offense/Date          Overt Act       Violation

            46    VINCENT HILL          Dist. Marijuana   OA 31           21 U.S.C.       §841
                                        (October 4, 1995)                 (a) (1)

            47    VINCENT HILL          Dist. Marijua~a    OA 32          21    u.s.c.    §841
                                        {November 2, 1995)                (a) ( 1)

            48    VINCENT HILL          Dist. Marijuana          OA 33    21    u.s.c.    §841
                                        (November 3, 1995)                (a) (1)

            49    VINCENT HILL          Dist. Marij•..;.ana      OA 34    l    U.S.C.    §841
                  JEROME MARTIN         (November 15, 1995)               (a) (1)

            50    VINCENT HILL          Dist. Marij~ana   OA 35           21    u.s.c.    §841
                                        (November 16, 1995)               (a) (1)


            51    VINCENT HILL          Dist. Marijuana   OA 36           21 U.S.C.       §841
                                        (November 28, 1995)               (a) (1)

            52    VINCENT HILL          Dist. Marijuana   OA 37           21 U.S.C.       §841
                                        (November 29, 1995)               (a) (1)

            53    JEROME MARTIN         Dist. Marijuana     CA 38         21 U.S.C.       §841
                                        (December 6 1 1995)               (a) (1)


            54    VINCENT HILL          Dist. Marijuana    OA 39          21 U. s. C.     § 841
                                        {December 8, 1995)                (a) (1)

            55    JEROME MARTIN         Dist. Marijuana          OA 40    21 U.S.C.       §841
                                        (December 13, 1995)               (a) (1)

            56    VINCENT HILL          Dist. Marijuana   OA 41           21 u.s.c. §841
                                        (December 13, 1995)               (a) (1}

            57    VINCENT HILL          Dist. Marijuana   QA 42           21    u.s.c. §841
                                        (December 13, 1995)               (a) ( 1)

            58    VINCENT HILL          Dist. Marijuana   OA 43           21    u.s.c.    §841
                                        (December 15, 1995)               (a) ( 1}


                                                77




(Page 143 of Total)
                                            App 709
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 78 of 79
        USCA Case #21-3072         Document #2077668          Filed: 10/01/2024     Page 144 of 477



            59    VINCENT HILL              Dist. Marijuana   OA 46        21     u.s.c. §841
                                            (February 14, 1996)             (a) ( 1)

            60    VINCENT HILL              Dist. Marijuana       OA 47    21     u.s.c. §841
                                             (February 2 0,   1996)         (a) ( 1)

            61    VINCENT HILL              Dist. Marijuana       OA so    21     u.s.c.   §841
                                             (March S,    1996)             (a) ( 1)

            62    VINCENT HILL               Dist.. Marijuana     OA 51    21     u.s.c.   §841
                                             (March 15, 1996)               (a) ( 1)

            (Distribution of Controlled Substances, in violation of Title 18,
            United States Code, Section 2 and Title 21, United States Code,
            Sections 841 (a) (1) and 841 (b) (1) (D))

                                              COUNTS 63-64

                                POSSESSION WITH INTENT TO DISTRIBUTE
                                        CONTROLLED SUBSTANCES

                  On or about the dates set forth below, in the ~istrict of

            Columbia, Maryland and elsewhere, the defendants named below, in

            violation of Title 21, United States Code, Sections 841(a) (1) and

            841 (b) (1) (D),    and Title 18, United States Code, Section 2,

            unlawfully, knowingly and intentionally did possess with intent

            to distribute a mixture and substance containing a detectable

            amount of marijuana, a Schedules II controlled substance, as more

            fully set torth in the specified overt acts of Count One, which

            are realleged and incorporated by reference herein:




                                                     78




                                                                                   IJ.
(Page 144 of Total)
                                                 App 710
                      Case 1:98-cr-00329-RCL Document 760 Filed 07/02/01 Page 79 of 79
        USCA Case #21-3072         Document #2077668         Filed: 10/01/2024     Page 145 of 477


                   Defendant or             Nature of
            Ct.    Co-Conspirator           Offense/Date      Overt Act Violation

            63     VINCENT HILL             PWID Marijuana    OA 30       21 U.S.C.§841
                                            (September 27, 1995)           {a) (1)

            64     JEROME MARTIN            PWID Marijuana,    OA 45      21 U.S.C.§841
                                            (February 1, 1996)             {a) (1)

            {Possession with Intent to Distribute Controlled Substances, in
            violation of Title 18, United States Code, Section 2 and Title
            21,   United States Code,      Sections 841 (a) (1)   and 841 (b) {l) (D))


                                                         A TRUE BILL=



                                                         FOREPERSON.


            Attorney of the United States in
            and for the District of Columbia




                                                    79




                                                                                 IJ,
(Page 145 of Total)
                                                App 711
                 Case
         USCA Case    1:98-cr-00329-RCL
                   #21-3072     Document Document
                                         #2077668 810 Filed 08/)0f
                                                        Filed:        Page 1 of
                                                               10/01/2024       38 146 of 477
                                                                             Page



                                       UNITED STATES DISTRICT CO'
                                       FOR THE DISTRICT OF COLUM1~
                                                                            l.
           UNITED STATES OF AMERICA                    )
                                                       )
                  V.                                   )       Criminal Nos. 98-329 & 99-348 (TPJJ
                                                       )
           VINCENT HILL                                )
           JEROME MARTIN                               )
           SAMUEL CARSON                               )
           WILLIAM SWEENEY                             )
           SEAN COATES                                 )
           GARY PRICE                                  )
                                                       )
                  Defendants.                          )




                                             VERDICT FORM

                  WE, THE JURY, UNANIMOUSLY FIND AS FOLLOWS:



                                           1. VINCENT HILL. a/k/a "Vito"

                   Count One Conspiracy to distribute and possess with intent to distribut~ a controHed
           substance from on or about sometime in at least 1988, and continuing thereafter up to and
           including March 1999. {Set?_ Final.Jury .Instructions, pp. 52-6}, 103-06)

                                 Guilty: 1. /          Not Guilty:__             \

                                               Controlled Substances

                        (A) Mixtures and substances containing a detectable amount of cam1abis, also
                  known as marijuana, a Scl1edt1le I controlled substance.

                                 Proven:   ✓                  Not Proven:

                        (B) Mixmres at1d substance" containing a detectable amount of cocaine base, also
                  known as crack cocaine, a Schedule lI narcotic drug controlle~ahstance.

                                 Proven;                      Not Proven: ✓




(Page 146 of Total)
                                                     App 712
                      Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 . Page 2 of 38
        USCA Case #21-3072            Document #2077668               Filed: 10/01/2024       Page 147 of 477



                         (C) Mixtures and substances containing a detectable amount of phencyclidine
                  (PCP), a Schedule III controlled substance.

                                 Proven:                       Not Proven:    ✓
                          If you find the defendant guilty of Count One, narcotics conspiracy, then you must
                  answer the following questions relating to the amount of drugs for which the defendant is
                  responsible, including those drugs that he actually distributed or possessed with intent to
                  distribute, and those drugs distributed or possessed with intent to distribute by co-
                  conspirators 1,vhich the defendant knew or reasonably could have foreseen would be
                  distributed or possessed in furtherance of the conspiracy:

                                        Cannabis. also known as Marijuana

                        (A) 1000 kilograms or more of mixtures and substances containing a detectable
                  amount of cannabis, also known as marijuana.

                                 Proven:   ✓                   Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 1000
                 kilograms or more, then you should consider whether the drug quantity was:

                        (B) 100 kilograms or more but less than 1000 kilograms of mixtures and
                 substances containing a detectable amount of cannabis, also known as marijuana.

                                 Proven:                       Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was I 00
                 kilograms or more but less than 1000 kilograms, then you should consider whether the
                 drug quantity was:

                        (C) 50 kilograms or more but less than 100 kilograms of mixtures and substances
                 containing a detectable amount of cannabis, also knmvn as marijuana.

                                Proven:                        Not Proven:- - - -

                         If you are unable to find unanimously that the quantity of marijuana was 50
                 kilograms or more but less than 100 kilograms, then you should consider whether the
                 drug quantity was:

                       (D) Less than SO kilograms of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                                Proven:                        Not Proven:




(Page 147 of Total)
                                                      App 713
                      Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01                 Page 3 of 38
        USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024         Page 148 of 477


                                      Cocaine Base, also known as Crack Cocaine

                          (A) 50 grams or more of mixtures and substances containing a detectable amount
                   of cocaine base, also known as crack cocaine.

                                  Proven:                         Not Proven:

                          If you are unable to find unanimously that the quantity of cocaine base was 50
                   grams or more, then you should consider whether the drug quantity was:

                          (B) 5 grams or more but less than SO grams of mixtures and substances
                   containing a detectable amount of cocaine base, also known as crack cocaine.

                                  Proven:                        Not Proven:

                           If you are unable to find unanimously that the quantity of cocaine base was 5
                   grams or more but less than 50 grams, then you should consider whether the drug
                   quantity was:

                           (C) Less than 5 grams of mixtures and substances containing a detectable amount
                   of cocaine base, also known as crack cocaine.

                                  Proven:                        Not Proven:

                   Count Two Conspiracy to conduct and participate, directly and indirectly, in the affairs
           of an enterprise, through a pattern of racketeering activity, from in at least l 988, and continuing
           thereafter up to and including March 1999.

                                  Guilty:   ✓             Not Guilty=~-

                          In order to find the defendant guilty of this Count, you must unanimously find that
                  the defendant agreed to commit at least two of the racketeering acts listed below. You
                  should make unanimous findings with respect to each of the racketeering acts listed
                  below by marking "Proven" or "Not Proven." (See Final Jury Instructions, pp. 64-81)

                          Ra:ckctcering Act I Conspiracy to distribute and possess with intent to distribute
                  a controlled substance from on or about sometime in at least 1988, and continuing
                  thereafter up to and including March 1999. (See Final Jury Instructions, pp. 64-81, 52-63)

                        (A) Mixtures and substances containing a detectable amount of cannabis, also
                  known as marijuana, a Schedule r controlled substance.

                                  Proven:    ✓                   Not Proven: _ _



                                                             3




(Page 148 of Total)
                                                        App 714
                      Case 1:98-cr-00329~RCL Document 810 Filed 08/16/01 Page 4 of 38
       USCA Case #21-3072          Document #2077668             Filed: 10/01/2024       Page 149 of 477


                       (B) Mixtures and substances containing a detectable amount of cocaine base, also
                 known as crack cocaine, a Schedule II narcotic drug controlled substance.

                                Proven:                     Not Proven:   ~
                        (C) Mixtures and substances containing a detectable amount of phencyclidine
                 (PCP), a Schedule III controlled substance.
                                                                              /

                                Proven:                     Not Proven:   ✓
                        Racketeering Act 2 Distribution of marijuana on or about October 4, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven: , /                 Not Proven:

                        Racketeering Act 3 Distribution of marijuana on or about November 2, 1995.
                 (See Final Jury Instructions, pp. 64-69, l 03-04)

                                Proven: /                   Not Proven:

                        Racketeering Act 4 Distribution of marijuana on or about November 3, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven:- -✓                Not Proven:- -

                        Racketeering Act 5 Distribution of marijuana on or about November 15, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven:_£_                 Not Proven:

                        Racketeering Act 6 Distribution of maiijuana on or about November 16, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven:   ✓                Not Proven:

                        Racketeering Act 7 Distribution of marijuana on or about November 28, 1995.
                 (See Final Jury Instructions, PR· 64-69, 103-04)

                                Proven: /                  Not Proven: _ _

                        Racketeering Act 8 Distribution of marijuana on or about November 29, 1995.
                 (See Final Jury Instructions, !J· 64-69, 103-04)

                                Proven:   i/               Not Proven: _ _


                                                       4




(Page 149 of Total)
                                                  App 715
       USCA Case #21-3072           Document #2077668                      Filed: 10/01/2024    Page 150 of 477
                  Case 1:98•cr-00329-RCL Document 810 Filed 08/16/01 Page 5 at 38




                        IbckeJ~cring Act IO Distribution of marijuana on or about December 8, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)
                                                ./....... ••

                                Proven:    L/                        Not Proven:

                        Racketeering Act 12 Distribution of marijuana on or about December 13, 1995
                 (co-conspirator BilJ Hill aided and abetted distribution). (See Final Jury Instrnctions, pp.
                 64-69, 103-04)

                                                                     Not Proven:

                        Racketeering Ad 13 Distribution of marijuana on or about December 13, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven: _J,/                         Not Proven:

                       Racketeering Act 14 Distribution of marijuana on or about December 15, 199S.
                (See Final Jury Instructions, pp. 64-69, 103-04)

                                                                     Not Proven:

                       R:,ckcfocriug Ad 15 Distribution of marijuana on or about February l 4, 1996.
                (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven: ~-,·                         Not Proven:

                       Rad<.ctcering A,:t 16 Distribution of marijuana on or about February 20, 1996.
                (See Final Jury Instructions, pp. 64~69, 103-04)
                                                /
                                Proven: . \,~                        Not Proven - - - .

                        l<ackctccrin.g Act 19 Distribution of marijuana on or about March 5, 1996.
                Final Jury Instructions, pp. 64-69, 103-04)

                                Proven: /                            Not Proven:

                       Racketeering Act 20 Distribution of marijuana on or about March 15, 1996.
                (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven: \.,/,,                       Not Proven:

                      Racketeering Act 21 Possession with intent to distribute marijuana on or about
                September 27, 199S. (See Final Jury Instructions, pp. 64-69, 105-06)

                                Proven:.\/                           Not Proven:

                                                                 5


(Page 150 of Total)
                                                               App 716
       USCA Case #21-3072           Document #2077668               Filed: 10/01/2024        Page 151 of 477
                   Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 6 of 38




                        R.nckctccring .Act 32 First-degree murder while armed of Larry Wright, Jr., a/k/a
                 "Patcho," on or about June 29, 1989. (See Final Jury Instructions, pp. 64-69, 83-85)

                                Proven: __   ~                Not Proven:

                         Racketeering Act 39

                       (A) Attempted armed robbery of Anthony Pryor, a/k/a "Wysocki," on or about
                 October 22, 1993. (See Final Jury Instructi:ms, pp. 64-69, 76)

                                Proven:
                                           I -Y  i'\
                                                             Not Proven:    ✓
                        (B) Armed kidnaping of Anthony Pryor, a/k/a "Wysocki," on or about October
                 22, 1993. (See Final Jury Instructions, pp. 64-69, 75)

                                Proven:                      Not Proven:    J
                       (C) Assault with intent to murder while armed of Anthony Pryor, a/k/a
                 "Wysocki," on or about October 22, 1993. (See Final Jury Instructions, pp. 64-69, 77)

                                Proven:                      Not Pro,·cn:_J_

                 Count Three First-degree murder while armed of Larry Wright, Jr., a/k/a "Patcho," on
          or about June 29, 1989. (See Final J{iry Instructions, pp 83-85)9 ~ \

                                Guilty:/               Not Guilty:~~

                 Count Eleven Attempted murder in aid of racketeering activity of Anthony Pryor, a/k/a
          "Vv'ysocki," on or about October 22, 1993. (See Final Jury Instructions, pp. 86-90, 75-77)

                                Guilty: ____           Not Guilty:. ✓

                  Count TwentY-Eigl1t Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about October 22, 1993 (Attempted murder in aid of racketeering
          activity of A..nthony Pryor, a/k/a "Wysocki"). (See Final Jury Instructions, pp. 95~99)

                                Guilty: _ _            Not Guilty: ./__

                  Count Forty-Six Distribution of marijuana on or about October 4, 1995. (See Final
          Jury Instructions, pp. 103-04)

                                Guilty:_   J           Not Guilty: _ _




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(Page 151 of Total)
                                                       App 717
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 152 of 477
                   Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 7 of 38




                  Count Forty-Seven Distribution of marijuana on or about November 2, 1995. (See
          Final Jury Instructions, pp. l 03-04)

                                 Guilty: /              Not Guilty: _ _

                  Count Forty-Eight Distribution of marijuana on or about November 3, 1995. (See
          Final Jury Instructions, pp. I 03-04)

                                 Guilty:_;/             Not Guilty: _ _

                  Count Forty-Nine Distribution of marijuana on or about November 15, 1995. (See
          Final Jury Instructions, pp. 103-04)

                                 Guilty:_~.             Not Guilty: _ _

                  Count Fifty Distribution of marijuana on or about November 16, 1995. (See Final Jury
          Instructions, pp. l 03-04)

                                 Guilty:_L              Not Guilty: _ _

                  Count Fifty-One Distribution of marijuana on or about November 28, 1995. (See Final
          Jury Instructions, pp. 103-04)

                                 Guilty: /              Not Guilty: _ _

                  Count Fifty-Two Distribution of marijuana on or about November 29, 1995. (See Final
          Jury Instructions, pp. l O3-04)

                                 Guilty: /              Not Guilty: _ _

                 Count Fiftr-Four Distribution of marijuana on or about December 8, 1995. (See Final
          Jury Instructions, pp. 103-04)

                                 Guilty: ✓              Not Guilty: _ _

                 Count Fifty-Six Distribution of marijuana on or about December 13, 1995 (co-
          conspirntor Bill Hill aided and abetted distribution). (See Final Jury Instructions, pp. 103-04)

                                 Guilty: ✓              Not Guilty: _ _

                  f-:ount Fifty-Seven Distribution of marijuana on or about December 13, 1995. (See
          Final Jury Instructions, pp. I03-04)

                                 Guilty:_V              Not Guilty: _ _


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(Page 152 of Total)
                                                      App 718
       USCA Case #21-3072          Document #2077668               Filed: 10/01/2024       Page 153 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 8 of 38




                  Count Fifty-Ei2ht Distribution of marijuana on or about December 15, 1995. (See
          Final Jury Instructions, pp. 103-04)

                               Guilty: ✓             Not Guilty: _ _

                  Count Fifty-Nine Distribution of marijuana on or about February 14, 1996. (See Final
          Jury Instructions, pp. 103-04)

                               Guilty: /             Not Guilty: _ _

                  Count Sixty Distribution of marijuana on or about February 20, 1996. (See Final Jury
          Instrnctions, pp. I 03-04)

                               Guilty: v'            Not Guilty:

                  Count Sixty-One Distribution of marijuana on or about March 5, 1996. (See Final Jury
          Instructions, pp. 103-04)

                               Guilty:   ✓           Not Guilty: _ _

                  Count Sixty-Two Distribution of marijuana on or about March 15, 1996. (See Final
          Jury Instructions, pp. 103-04)

                               Guilty:   ✓           Not Guilty: _ _

                Count Sixty-Three Possession with intent to distribute marijuana on or about
          September 27, 1995. (See Final Jury Instructions, pp. 105-06)

                               Guilty:   V           Not Guilty: _ _




                                                        8


(Page 153 of Total)
                                                   App 719
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024        Page 154 of 477
                   Case 1:98-cr-00329~RCL Document 810 Filed 08/16/01 Page 9 of 38




                                       2 . .JEROME MAR11N, a/k/a •~Pimp"


                  Count One Conspiracy to distribute and possess with intent to distribute a controlled
          substance from on or about sometime in at least 1988, and continuing thereafter up to and
          including March 1999. (See Final Jury Instructions, pp. 52-63, I 03-06)

                                Guilty: \ , /          Not Guilty: _ _

                                                Controlled Substances

                       (A) l\r1ixtures and substances containing a detectable amoW1t of cannabis, also
                 known as marijuana, a Schedule I controlled substance.

                                Proven: /                     Not Proven:

                       (B) Mixtures and substances containing a detectable amount of cocaine base, also
                 known as crack cocaine, a Schedule II narcotic drug controlled substance.

                                Proven:                       Not Proven:+"

                        (C) Mixtures and substances containing a detectable amount of phencyclidine
                 (PCP), a Schedule III controlled substance.

                                Proven:                       NotProven:    ✓
                         If you find the defendant guilty of Count One, narcotics conspiracy, then you must
                 answer the following questions relating to the amount of drugs for which the defendant is
                 responsible, including those drugs that he actually distributed or possessed with intent to
                 distribute, and those drugs distributed or possessed with intent to distribute by co-
                 conspirators which the defendant knew or reasonably could have foreseen would be
                 distributed or possessed in furtherance of the conspiracy:

                                       Onurnbis. also known as MariiuHna

                       (A) 1000 kilograms or more of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                                Proven:   ✓                   Not Proven:

                          If you are unable to find unanimously that the quantity of marijuana was l 000
                 kilograms or more, then you should consider whether the drug quantity was:




                                                          9


(Page 154 of Total)                                                                        IJA    L..VV-r

                                                     App 720
        USCA Case #21-3072          Document #2077668                Filed: 10/01/2024       Page 155 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 10 of 38




                        (B) 100 kilograms or more but less than 1000 kilograms of mixtures and
                 substances containing a detectable amount of cannabis, also known as marijuana.

                                Proven:                       Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 100
                 kilograms or more but less than 1000 kilograms, then you should consider whether the
                 drug quantity was:

                        (C) 50 kilograms or more but less than 100 kilograms of mixtures and substances
                 containing a detectable amount of cannabis, al so known as marijuana.

                                P:toven:                      Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 50
                 kilograms or more but less than 100 kilograms, then you should consider \.Vhether the
                 drug quantity was:

                       (D) Less than 50 kilograms of mixtures and substances containing a detectable
                 amount of cannabis, also lmo'Wll as marijuana.

                                Proven:                      Not Proven:

                                  Cocaine Base, also known as Crack Cocaine

                        (A) 50 grams or more of mixtures and substances containing a detectable amount
                 of cocaine base, also J.--J10Wn as crack cocaine.

                                Proven:                      Not Proven:

                       If you are unable to find unanimously that the quantity of cocaine base was 50
                grams or more, then you should consider whether the drug quantity was:

                       (B) 5 grams or more but less than 50 grams of mixtures and substances
                containing a detectable amount of cocaine base, also lmovm as crack cocaine.

                                Proven:                      Not Proven:
                                                                          --·
                       If you are unable to find unanimously that the quantity of cocaine base was 5
                grams or more but less than 50 grams, then you should consider whether the drug
                quantity was:




                                                        10


(Page 155 of Total)                                                                       IJA L.UVv
                                                     App 721
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 156 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 11 of 38




                        (C) Less than 5 grams of mixtures and substances containing a detectable amount
                 of cocaine base, also known as crack cocaine.                   ....
                                                                                    j'-lt \

                                 Proven:                        Not Proven:    I"
                  Count Two Conspiracy lo conduct and participate, directly and indirectly. in the affairs
          of an enterprise, through a pattern of racketeering activity, from in at least 1988, and continuing
          thereafter up to and including March l 999.

                                 Guilt)•:_✓ .           Not Guilty: _ _

                         In order to find the defendant guilty of this Count, you must unanimously find that
                 the defendant agreed to commit at least two of the racketeering acts listed below. You
                 should make unanimous findings with respect to each of the racketeering acts listed
                 below by marking 11 Proven" or "Not Proven." (See Final Jury Instructions, pp. 64-8 l)

                         Racketeering Act I Conspiracy to distribute and possess with intent to distribute
                 a controlled substance from on or about sometime in at least 1988, and continuing
                 thereafter up to and including March 1999. (See Final Jury Instructions, pp. 64-81, 52-63)

                       (A) Mixtures and substances containing a detectable amount of cannabis, also
                 known as marijuana, a Schedule I controlled substance.

                                 ProYcn:Y_                      Not Provtn:

                       (B) Mixtures and substances containing a detectable amount of cocaine base. also
                 lmown as crack cocaine. a Schedule II narcotic drug controlled substance.

                                 Proven:                        Not Proven:   J
                        (C) Mixtures and substances containing a detectable amount of phencyclidine
                 (PCP), a Schedule III controlled substance.

                                 Proven:                        Not Proven:_L

                        Racketeering Act 5 Distribution of marijuana on or about November 15, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)

                                 Proven: /                     Not Proven:

                        Racketeering Act 9 Distribution of marijuana on or about December 6, 1995.
                 (See Final Jury Instructions, pp. 64-69, 103-04)

                                 Proven:   j                   Not Proven:


                                                          11



(Page 156 of Total)
                                                      App 722
       USCA Case #21-3072          Document #2077668                Filed: 10/01/2024       Page 157 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 12 of 38




                        Racketeering: Act 11 Distribution of marijuana on or about December 13, I 995.
                 (See Final fory Instructions, pp. 64-69, 103-04)

                                Proven:_l_                   Not Proven:

                        Racketeering Act 17 Distribution of marijuana on or about February 26, 1996
                 (buyer Tobias Carrington). (See Final Jury Instructions, pp. 64-69, 103-04)

                                Proven:l__                   Not Proven:

                         Racketeering Act 18 Distribution of marijuana on or about February 26, 1996
                 (buyer James Bellflower). (See Final Jury Instructions, pp. 64-69, 103-04)

                               Proven:___l__                 Not Proven:

                        Racketeering Act 22 Possession with intent to distribute marijuana on or about
                 February 1, 1996. (See Final Jury Instructions, pp. 64-69, 105-06)

                               Provcn: ___i__                Not Proven:

                        Rncketccring Act 23 First-degree murder v,1hile armed of Anthony Fortune on
                 or about August 6, 1991. (See Final Jury Instructions, pp. 64-69, 83-85)

                               Proven: /                     Not Proven:

                        Rackctccrine; Act 24

                        (A) Assault with intent to murder while armed of Keith Bradley, a.t1da "Pee Wee,"
                 on or about September 10, 199 I. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:L                      Not Proven:

                         (B) Assault with intent to murder while armed of Jimmy Thomas, Jr., a/k/a
                 "Sugarspoon," on or about September 10, 1991. (See Final Juiy Instructions, pp. 64-69,
                 70-7 l)

                               Proven:L                      Not Proven:

                        (C) Assault with intent to murder while armed of Officer Adrian Treadwell on or
                 about September 10, 199 i. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:.i.__                 Not Proven:




                                                       12


(Page 157 of Total)
                                                    App 723
       USCA Case #21-3072          Document #2077668                Filed: 10/01/2024       Page 158 of 477
                 Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 13 of 38




                        (D) Assault with intent to murder while armed of Officer Edward McDonald on
                 or about September 10, 1991. (See FinalJury Instructions, pp. 64-69, 70-71)

                               Proven: ✓                     Not Proven:

                       (E) Assault \Vith intent io murder while armed of Officer Marc Little on or about
                 September 10, 1991. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:_J    ~                Not Proven:

                       (F) Assault \Vith intent to murder while armed of Officer Alvin Ray on or about
                 September I 0, I 991. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:__l___                 Not Proven:

                        Racketeering Act 25

                        (A) First-degree murder while armed of Curtis Edwards on or about August 29,
                 1992. (See Final Jury Instructions, pp. 64-69, 83-85)

                               Proven:_/_                    Not Proven:

                       (B) Assault with intent to murder while armed of Richard Burton on or about
                August 29, 1992. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:   J __                Not Proven:

                       (C) Assault with intent to murder while armed of Keith Jones on or about August
                29, 1992. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:_L                     Not Proven:
                      ---1
                 ~J'
                 -~- Racketeering Act 44 Assault with intent to murder while armed of James
                Coulter, a/k/a "Creeko," on or about May 30, 1995. (See Final Jury Instructions, pp. 64-
                69, 70-71)

                               Proven:_L                    Not Proven:
                                                                         --
                         R1tckctccring Act 47 Conspiracy to commit murder of persons expected to
                testify as witnesses for the government i~ the murder trial of l Tnited States v. Jer2me
                Marlin. a/k/a "Pimp", in or aboul October 1996. (See Final Jury Jnstmctions, pp. 64-69,
                72-73)

                               Proven:   V                  Not Proven:


                                                       13


(Page 158 of Total)
                                                    App 724
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024       Page 159 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 14 of 38




                 Count Eieht First-degree murder whik armed of Anthony Fortune on or about August
          6, 1991. (See Final Jury Instructions, pp. 83-85)

                                Guilty:_{__            Not Guilty: _ _

                 Count Nine Assaulting, resisting, and interfering with Officer Marc Little \Vith a
          dangerous \i.·eapon on or about September 10, 1991. (See Final Jury Instructions, pp. 94)

                                Guiltv: /             Not Guilty:
                 t~'-r               • --                      • ---
             )lcount Seventeen Assault with intent to kill while armed of James Coulter, a/k/a
          "Crceko," on or about May 30, 1995. (See Final Jury Instructions, pp. 91-92)

                                Guilty:   ✓           Not Guilty: _ _

                  Count Eighteen Attempted murder in aid of racketeering activity of James Coulter,
          a/k/a "Creeko," on or about May 30, 1995 .. (See Final Jury Instructions, pp. 86-90, 91-92)

                                Guilty: __/           Not Guilty: _ _

                  Count Thirtv-One Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about May 30, 1995 (Attempted murder in aid of racketeering
          activity of James Coulter, a/k/a "Creeko"). (See Final Jury Instructions, pp. 95-99)

                                Guilty:   ✓           Not Guilty: _ _

                 Count Forty-Two Possession of a firearm during a crime of violence or dangerous
          offense on or about May 30, 1995 (Assault with intent to kill while anned of.Tames Coulter, alk/a
          "Creeko"). (See Final Jury Instructions, pp. 100-02)

                                Guilty:   ✓           Not Guilty: _ _

                  Count Forty-Nine Distribution of marijuana on or about November 15, 1995.
          Final Jury Instructions, pp. I 03-04)

                                Guilty:/              Not Guilty: _ _

                 Count Fifty-Three Distribution of marijuana on or about December 6, I 995. (See Final
          Jury Instructions, pp. 103-04)

                                Guilty:   ✓_          Not Guilty: _ _




                                                        14


(Page 159 of Total)
                                                     App 725
       USCA Case #21-3072          Document #2077668               Filed: 10/01/2024      Page 160 of 477
                 Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 15 of 38




                  Count Fifty-Five Distribution of marijuana on or about December 13, 1995. (See Final
          Jury Instructions, pp. 103-04)

                               Guilty:   J          Not Guilty: _ _

                 Count Sixty-Four Possession with intent to distribute marijuana on or about February
          1, 1996. (See Final Jury Instructions, pp. 105-06)

                               Guilty:   ✓          Not Guilty: _ _




                                                      15


(Page 160 of Total)
                                                   App 726
       USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024        Page 161 of 477
                  Case 1:98-cr-00329-:HCL Document 810 Filed 08/16/01 Page 16 of 38




                 Count One Conspiracy to distribute and possess with intent to distribute a controlled
          substance from on or about sometime in at least 1988, and continuing thereafter up to and
          including March 1999. (See Final Jury Instructions, pp. 52-63, 103-06) -          Tf\cj

                                 Guilty:_L__            Not Guilty:~~-

                                                Controlled Substances

                       (A) Mixtures and substances containing a detectable amount of cannabis, also
                 lmmvn as marijuana, a Schedule I controlled substance.

                                Proven:    ✓                    Not Pnwen:

                       (B) Mixtures and substances containing a detectable amount of cocaine base, also
                 known as-crack cocaine, a Schedule II narcotic dmg controlled substance.

                                Proven:                         Not Provcn:_L

                        (C) Mixtures and substances containing a detectable amount of phencyclidine
                 (PCP), a Schedule III controlled substance.

                                Proven: _ _                     Not Proven:__L__
                                                                                            \
                        If you find the defendant guilty of Count One, narcotics conspiracy, t't~•; you must
                 answer the following questions relating to the amow1t of drugs for which the ~:~endanl is
                 r:sp?nsible, including those _dr~gs that he actually dis_tri~uted or p~~se:ssed with {ntent to
                 d1stnbute, and those drugs dtstnbuted or possessed with mtent to d1stnbute by co~
                 conspirators which the defendant knew or reasonably could have foreseen would t,_e
                 distributed or possessed in furtherance of the conspiracy:                             •

                                        Cannabis. ltlso known as Marijmma

                       (A) l 000 kilograms or more of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                                Proven: __/                     Not Proven:_ _

                         [f you are unable to find unanimously that the quantity of marijuana was I 000
                 kilograms or more, then you should consider whether the drug quantity was:




                                                          16


(Page 161 of Total)
                                                       App 727
       USCA Case #21-3072           Document #2077668               Filed: 10/01/2024        Page 162 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 17 of 38




                        (B) I 00 kilograms or more but less than 1000 kilograms of mixtures and
                 substances containing a detectable amount of cannabis, also known as marijuana_
                                                                               -.r~t
                                Proven:                      Not Proven:1

                         If you are unable to find unanimously that the quantity of marijuana was 100
                 kilograms or more but less than 1000 kilograms, then you should consider whether the
                 drug quantity was:

                        (C) 50 kilograms or more but less than 100 kilograms of mixtures and substances
                 containing a detectable amount of cannabis, also known as marijuana.
                                                                               -r*\
                                Proven:                      Not Proven:   I
                         If you are unable to find unanimously that the quantity of marijuana was 50
                 kilograms or more but less than I 00 kilograms, then you should consider whether the
                 drug quantity was:

                       (D) Less than 50 kilograms of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.
                                                                           --"-'i\--\
                               Proven:                      Not Proven:    IJ


                                  Cocaine Base, also known as Crack Cocaine

                         (A) 50 grams or more of mixtures and substances containing a detectable amount
                 of cocaine base, also l--,11own as crack cocaine.

                               Proven:                       Not Proven:

                        If you are unable to find unanimously that the quantity of cocaine base was 50
                 grams or more, then you should consider whether the drug quantity was:

                        (B) 5 grams or more but less than. 50 grams of mixtures and substances
                 containing a detectable amount of cocaine base, also known as crack cocaine.

                               Proven:                       Not Proven:

                        If you are unable to find unanimously that the quantity of cocaine base was 5
                 grams or more but less than 50 grams. then you should consider whether the drug
                 quantity was:




                                                        17


(Page 162 of Total)
                                                    App 728
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 163 of 477
                  Case 1:98-cr-00329~RCL Document 810 Filed 08/16/01 Page 18 of 38




                        (C) Less than 5 grams of mixtures and substances containing a detectable amount
                 of cocaine base, also k.nown as crack cocaine.

                                 Proven:                       Not Proven:

                  Count Two Conspiracy to conduct and participate, directly and indirectly, in the affairs
          of an enterprise, through a pattern of racketeering activity, from in at least 1988, and continuing
          thereafter up to and including March 1999.

                                 Guilty:-.Y__           Not Guilty: ___

                         In order to find the defendant guilty of this Count, you must unanimously find that
                 the defendant agreed to commit at least two of the racketeering acts listed below. You
                 should make unanimous findings with resp~ct to each of the racketeering acts listed
                 below by marking "Proven" or "Not Proven." (See Final Jury Instructions, pp. 64-81)

                         Racketeering Act I Conspiracy to distribute and possess with intent to distribute
                 a controlled substance from on or about sometime in at least 1988, and continuing
                 thereafter up to and including March 1999. (See Final Jmy Instructions, pp, 64-81, 52-63)

                       (A) Mixtures and substances containing a detectable amount of cannabis, also
                 known as marijuana, a Schedule l controlled substance.

                                 Proven: /                     Not Proven:

                       (B) Mixtures and substances containing a detectable amount of cocaine base, also
                 known as crack cocaine, a Schedule II narcotic drug controlled substance.

                                 Proven:                       Not Proven: /

                        (C) Mixtures and substances containing a detectable amount of phencyclidine
                 (PCP), a Schedule Ill controlled substance.

                                 Proven:                       Not Proven: /

                        Rac:ketccrjng Act 23 First-degree murder while armed of Anthony Fortune on
                 or about August 6, 1991. (See Final Jury Instructio11s, pp. 64-69, 83-85)

                                 Proven:~_                     Not Proven: __ . . _




                                                          18


(Page 163 of Total)
                                                      App 729
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024       Page 164 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 19 of 38




                        Racketeering; Act 24

                        (A) Assault with intent to murder while armed of Keith Bradley, a/k/a "Pee Wee,"
                 on or about September 10, 1991. (See Final Jury Instructions, pp. 64-69, 70-71)

                                Proven:_L                    Not Proven:

                        (B) Assault with intent to murder while armed of Jimmy Thomas, Jr., a/Ida
                 "Sugarspoon," on or about September I 0, 1991. (See Final Jury Instructions, pp. 64-69,
                 70-71)

                                Proven:   J                  Not Proven:

                        (C) Assault with intent to murder while anned of Officer Adrian Treadwell on or
                 about September 10, I 991. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:    i_                 Not Proven:

                       (D) Assault with intent to murder white armed of Officer Edward McDonald on
                or about September 10, 1991. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:_/_                    Not Proven:

                       (E) Assault with intent to murder while armed of Officer Marc Little on or about
                 September 10, 1991. (Sec Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:    J                  Not Proven:

                       (F) Assault with intent to murder while armed of Officer Alvin Ray on or about
                 September 10, 1991. (See Final Jury Instructions, pp. 64-69, 70-7])

                               Proven:_L__                   Not Proven:

                       Racketeering Act 34 Conspiracy to commit murder of members ofL Street
                group in or about July 1996. (See Final Jury Instmctions, pp. 64-69, 72-73)

                               Pro\'en: /     ..             Not Proven:

                       Racketecri.ng Act .35 Assault with intent to murder while armed of Rona]d
                Sowells, a/k/a "Manute,:' on or about October 30, 1996. (See Final Jury Instructions, pp.
                64-69, 70-71)

                               Proven:                       :'.'lot Proven:   J

                                                        19


(Page 164 of Total)
                                                    App 730
       USCA Case #21-3072          Document #2077668                Filed: 10/01/2024        Page 165 of 477
                 Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 20 of 38




                        (A) First-degree murder while mmed of Maurice Hallman, a/Ida ((Mo;> on or
                 about December 19, 1989. (See Final Jury Instructions, pp. 64-69, 83-85)

                               Proven:   j                   Not Proven:

                        (B) First-degree murder while armed of Leonard Hyson, a/Ida "Slick," on or
                 about December l 9, 1989. (See Final Jury Instructions, pp. 64-69, 83-85)

                               Proven:   J                   Not Proven:

                         Racketeering Ad 31

                      (A) First-degree murder while armed of Teresa Thomas, a!k/a «T.T.," on or about
                March 22, 1991. (See Final Jury Instructions, pp. 64-69, 83-85)

                               Proven:   'v/                 Not Proven:

                       (B) First-degree murder while armed ofTerita Lucas on or about March 22, 1991.
                (See Final Jury Instructions, pp. 64-69, 83-85)

                               Proven: __ / _                NotP:roven:

                        Racketeering Act 38 Assault with intent to murder while armed with a
                dangerous weapon of Officer Alfred Moss on or about April 7, 1992. (See Final Jury
                Instructions, pp. 64-69, 77)

                               Proven:                       Not Proven:    j
                      Racketeering Act 40 Assault with intent to murder while armed of Roland
                Brown on or about October 28, 1993. (See Final Jury Jnstructions, pp. 64-69, 70-71)

                               Proven:                       Not Proven:    J
                        Racketeering Act 41 Conspiracy to comm It murder of Steve Dun bar on or a bout
                April 9, 1994. (See Final Jury Instructions, pp. 64-69, 72-73)

                               Proven:                       Not Proven:   ✓
                       R~ckctecring Act42 Assault with intent to murder while armed of Ulysses
                English, a/k/a "Lou," on or about June 26, 1994. (See Final Jury Instructions, pp. 64-69,
                70-71)

                               Proven:   ✓                   Not Proven:

                                                        20


(Page 165 of Total)
                                                    App 731
       USCA Case #21-3072           Document #2077668                  Filed: 10/01/2024      Page 166 of 477
                 Case 1:98-cr-00329"RCL Document 810 Filed 08/16/01 Page 21 of 38




                          Racketeering Act 45 Conspiracy to commit murder of persons expected to
                 testify as witnesses for the government in the murder trial of Uni led States v. rv1auric~
                 Proctor. n/k/a "PooPoo·', between in or about 1996 and in or about 1997. (See Final Jury
                 Instructions, pp. 64-69, 72-73)

                                Proven:   j                   Not Proven:

                         R:,cketccring Act 46 Assault with intent to murder while armed of Popa Mark
                 Phillip on or about August 30, 1996. (See Final Jury Instructions, pp. 64-69> 70- 71)

                                Proven:                       Not Proven:    J
                          Racketccrin_g Act 4 7 Conspiracy to commit murder of persons expected to
                 testify as witnesses for the government in the murder trial of JJnited States v. Jerome
                 Martin. a/k/a "Pimp", in or about October 1996. (See Final Jury Instructions, pp. 64-69,
                 72-73)

                                Proven:   ✓                   Not Proven:

                         Racketeering Act 48 First-degree murder while armed of Chrishauna Gladden
                 on or about October 5, 1996. (See Final Jury Instmctions, pp. 64-69, 83-85)

                                Proven:   V                   Not Proven:

                        Racketeering Act 49

                         (A) Attempted robbery wfale armed of Alonzo Gaskins, Darnell Mack, and
                :tvlelody Anderson on or about November 17, 1996. (See Final Jury Instructions, pp. 64-
                69, 76)
                                                                   j
                                Proven:    j                  Not Proven:

                     (B) First-degree felony-murder while armed of Alonzo Gasldns on or about                   \
                November 17, 1996. (See Final Jury Instructions, pp. 64-69, 79-80)

                               Proven:_l_                     Not Proven:

                     (C) First-degree felony-murder while armed of Darnell Mack on or about
                November 17, l 996. (See Final Jury Instructions, pp, 64-69, 79-80)

                               Proven: /                      Not Proven:




                                                        21


(Page 166 of Total)
                                                     App 732
       USCA Case #21-3072          Document #2077668                  Filed: 10/01/2024    Page 167 of 477
                  Case 1:98-cr-00329-RCL Document 810             Filed 08/16/01 Page 22 of 38




                      (D) First-degree felony-murder while armed of Melody Anderson on or about
                 November 17, 1996. (See Final Jury Instructions, pp. 64-69, 79-80)

                               Proven:   J                   Not Proven:

                      (E) First-degree premeditated murder while armed of Alonzo Gaskins on or abollt
                 November 17, 1996. (See Final Jury Instructions, pp. 64-69, 78)

                               Proven:                       Not Proven:     j
                      (F) First-degree premeditated murder while armed of Darnell Mack on or about
                 November 17, 1996. (See Final Jury Instructions, pp. 64-69, 78)

                               Proven:                       Not Proven:         /

                        (G) First-degree premeditated murder while armed of Melody Anderson on or
                 about November 17, 1996. (See Final Jury Instrnctions, pp. 64-69, 78)

                               Proven:                       Not Proven:     ✓
                         R1lcketeering Act 50 Conspiracy to commit murder of Robert Smith, a/k/a
                 "Butchie," between in or about April 1997 and on or about June 17, 1997. (See Final
                 Jury Instructions, pp. 64-69, 12- 73)

                               Proven:_j_                    Not Proven:

                 Count Four First-degree murder while armed of Maurice Hallman, a/k/a "iv1o," on or
          about December 19, 1989. (See Final Jury Instrnctions, pp. 83-85)

                               Guilty:   J           Not Guilty: _ _

                 Count Five First-degree murder while armed of Leonard Hyson, a/k./a "Slick," on or
          about December 19, 1989. (See Final Jury Instructions, pp. 83-85)

                               Guilty:__L_           Not Guilty: _ _

                Count Six First-degree murder while armed of Teresa Thomas, a/k/a "T.T.," on or about
          March 22, 1991. (See Final Jury Instructions, pp. 83-85)

                               Guilty: , /           Not Guilty: _________

                  Count Seven First-degree murder while armed of Terita Lucas on or about March 22,
          l 991. (See Final Jury Instructions, pp. 83-85)

                               Guilty:_{_            Not Guilty:_~

                                                       22



(Page 167 of Total)
                                                    App 733
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024      Page 168 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 · Page 23 of 38




                  Count Eight First-degree murder while armed of Anthony Fortune on or about August
          6, 199 L (See Final Jury Instructions, pp. 83-85)

                                Guilty:_/_            Not Guilty: _ _

                Count Twelve Assault with intent to kill while armed of Roland Brown on or about
          October 28> 1993. (See Final Jury Instructions, pp. 91-92)

                                Guilty:__            Not Guilty:_,/_

                 Count Thirteen Assault with intent to kill while armed of Ulysses English, a/le/a "Lou,"
          on or about June 26, 1994. (See Final Jury Instructions, pp. 91-92)

                                Guilty:__   ,j       Not Guilty: _____ _

                  Count Fourteen Attempted murder in aid of racketeering activity of Ulysses English,
          alk/a "Lou," on or about June 26, 1994. (See Final Jury Instructions, pp. 86~90, 9 l-92)

                               Guilty:_j_            Not Guilty: _ _

                 Count Nineteen Assault with intent to kill while armed of Popa Mark Phillip on or
          about August 30, 1996. (See Final Jury Instructions, pp. 91-92)

                               Guilty:___            Not Guilty:     j
                 Count Twcntv Attempted murder in aid of racketeering activity of Popa Mark Phillip on
          or about August 30, 1996. (See Final Jury Instructions, pp. 86-90, 91-92)

                               Guilty: __ _ .-       Not Guilty:     ✓
                 Count Twenty-One First-degree murder vvfole armed of Chrishauna Gladden on or
          about October 5, 1996. (See Final Jury Instructions, pp. 83-85)

                               Guilty: __.j_ __      Not Guilty: _ _

                 Count Twenty-Two Murder in aid of racketeering activity of Chrishauna Gladden on or
          about October 5, 1996. (See Final Jury Instructions, pp. 86-90, 83-85)

                               Guilty:L              Not Guilty: _ _

                Count Twentv-Three Assault with intent to kill while armed of Ronald Sowells, a/kla
          "Manute," on or about October 30, 1996. (See Final Jury Instructions, pp. 91-92)

                               Guilty:__             Not Guilty:_{_


                                                       23



(Page 168 of Total)
                                                    App 734
       USCA Case #21-3072            Document #2077668                Filed: 10/01/2024       Page 169 of 477
                   Case 1:98-cr-00329-RCL Document 810 Fded 08/16/01 Page 24 of 38




                 Count Twenty-Four Attempted murder in aid of racketeering activity of Ronald
          Sowells, a/Ida '"Manute," on or about October 30, 1996. (See Final Jury Instructions, pp. 86-90,
          91-92)

                                Guilty: _ _            Not Guilty:_j__

                 Count Twentv-Five Murder in aid of racketeering activity of Alonzo Gaskins on or
          about November 17, 1996. (See Final Jury Instructions, pp. 86-90, 78-80)

                                Guilty:~
                                             I_       Not Guilty:_~. _
                                                                         r•t\

               Count Twenty-Six Murder in aid of racketeering activity ofDamelJ Mack on or about
          November 17, 1996. (Sec Final Jury Instructions, pp. 86-90, 78-80)

                                Guilty: __    ✓_      Not Guilty: _ _ _

                 Count Twenty-Seven Murder in aid of racketeering activity of Melody Anderson on or
          about November 17, 1996. (See Final Jury Instructions, pp. 86-90, 78-80)

                                Guilty:      ✓        Not Guilty: __ _

                  Count Twenty-Nine Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about June 26, 1994 (Attempted murder in aid of racketeering
          activity of Ulysses English, a/k/a "Lou"). (See Final Jury Instructions, pp. 95-99)

                                Guilty:      ✓---     Not Guilty:__ _

                  Count Thirty-Two Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about August 30, 1996 (Attempted murder in aid of racketeering
          activity of Popa Mark Phillip). (See Final Jury Instructions, pp. 95-99)

                                Guilty:__             Not   Guilty:--✓
                                                                     -
                  Count Thirty-Three Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about October 5, 1996 (Murder in aid of rackc.tcering activity of
          Chrishauna Gladden). (Sec Final Jury Instructions, pp. 95-99)

                                Guilty: __✓-_         Not Guilty: _ _

                  Count Thirtv-Four Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about October 30, 1996 (Attempted murder in aid of racketeering
          activity of Ronald Sowells, a/k/a "Manute"). (See Final Jury Instructions, pp. 95-99)

                                Guilty:~_             Not Guilty:_   J
                                                         24



(Page 169 of Total)
                                                      App 735
       USCA Case #21-3072           Document #2077668               Filed: 10/01/2024        Page 170 of 477
                  Case 1:98-cr-00329~RCL Document 810 Filed 08/16/01 .Page 25 of 38




                  Count Forty-Five Possession of a firearm during a crime of violence or dangerous
          offense on or about October 30. 1996 (Assault with intent to kill while armed of Ronald Sowells,
          a/k/a "Manute"). (See Final Jury Instructions, pp. 100-02)

                                Guilty:____           Not Guilty:   ✓_




                                                        26


(Page 170 of Total)
                                                    App 736
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024        Page 171 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 26 of 38




                                    4. \VlLLIAM SWEENEY, a/khl "Draper"


                  Count One Conspiracy to distribute and possess with intent to distribute a controlled
          substance from on or about sometime in at least 1988. and continuing th~reafter up to and
          including March 1999. (See Final Jury Instrnctions, pp. 52-63, 103'-06) -        J-#·!

                                Guilty:__
                                          ✓                        • :f-ll'\
                                                      Not Guilty: _ _
                                                                    .

                                              Controlled Substances

                       (A) Mixtures and substances containing a detectable amount of cannabis, also
                 known as marijuana, a Schedule I controlled substance.

                                Proven: /                     Not Proven:

                       (B) Mixtures and substances containing a detectable amount of cocaine base, also
                 known as crack cocaine, a Schedule II narcotic drug controlled substance.

                                Proven:                       Not Proven:      /

                        (C) Mixtures and substances containing a detectable amount of phencyclidine
                 (PCP), a Schedule III controlled substance.

                                Proven:                       Not Proven: /

                         If you find the defendant guilty of Count One, narcotics conspiracy, then you must
                 answer the following questions relating to the amount of drugs for which the defendant is
                 responsible, including those drugs that he actually distributed or possessed with intent to
                 distribute, and those drugs distributed or possessed with intent to distribute by co-
                 conspirators which the defendant knew or reasonably could have foreseen would be
                 distributed or possessed in furtherance of the conspiracy:

                                       Cmrnabis, also known as Mal'ijuan:1

                       (A) 1000 kilograms or more of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                                Proven:_!__                   Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 1000
                 kilograms or more, then you should consider whether the drug quantity was:




                                                         27


(Page 171 of Total)
                                                     App 737
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024       Page 172 of 477
                 Case 1:98-cr-00329-RCL Docurnent 810 Filed 08/16/01 Page 27 of 38




                        (B) 100 kilograms or more but less than 1000 kilograms of mixtures and
                 substances containing a detectable amount of cannabis, also known as marijuana.

                                Proven:                       Not Proven:

                         lf you are unable to find unanimously that the quantity of marijuana was l 00
                 kilograms or more but less than 1000 kilograms, then you should consider whether the
                 drug quantity was;

                        (C) 50 kilograms or more but less than I 00 kilograms of mixtures and substances
                 containing a detectable amount of cannabis, also known as marijuana.

                                Proven:                       Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 50
                 kilograms or more but less than 100 kilograms, then you should consider whether the
                 drug quantity was:

                       (D) Less than 50 kilograms of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                                Proven:                       Not Proven:

                                   Cocaine Base, also known as Crack Cocaine

                        (A) 50 grams or more of mixtures and substances containing a detectable amount
                 of cocaine base, also known as crack cocaine.

                                Proven:                       Not Proven:

                        If you are unable; to find unanimously that the quantity of cocaine base was 50
                 grams or more, then you should consider whether the drug quantity was:

                        (B) 5 grams or more but less than 50 grams of mixtures and substances
                 containing a detectable amount of cocaine base, also known a,:, crack cocaine.

                               Proven:                        Not Proven:

                        1f you are unable to find unanimously that the quantity of cocaine base was 5
                 grams or more but less than 50 grams, then you should consider whether the drug
                 guantity was:




                                                        28


(Page 172 of Total)
                                                     App 738
        USCA Case #21-3072           Document #2077668                  Filed: 10/01/2024        Page 173 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 28 of 38




                        (C) Less than 5 grams of mixtures and substances conictirnng a detectable amounl
                 of cocaine base, also known as crack cocaine.

                                 Proven:                        Not Proven:

                  Count Two Conspiracy to conduct and participate, directly and indirectly, in the affairs
          of an enterprise, through a paltern of racketeering activity, from in at least 198 8, and continuing
          thereafter up to and including March 1999.

                                 Guilty:   _✓ _         Not Guilty: ___ _

                         In order to find the defendant guilty of this Count, you must unanimously find that
                 the defendant agreed to commit at least two of the racketeering acts listed below. You
                 should make unanimous findings v.rith respect to each of the racketeering acts listed
                 below by marking "Provenr• or "Not Proven." (See Final Jury Instructions, pp. 64-81)

                         Rackctt:'ciing Act 1 Conspiracy to distribute and possess with intent to distribute
                 a controlled substance from on or about sometime in at least 1988, and continuing
                 thereafter up to and including March 1999. (See Final Jury Instructions, pp. 64-81, 52-63)

                       (A) Mixtur~s and substances containing a detectable amount of cannabis, also
                 known as marijuana, a Schedule I controlled substance.

                                 Proven:   J                    Not Proven:

                       (B) Mixtures and substances containing a detectable amount of cocaine base, also
                 known as crack cocaine, a Schedule II narcotics drug controlled substance.

                                 Proven:                        Not Proven: /

                        (C) Mixtures and substances containing a detectable amount of phcncydidine
                 (PCP), a Schedule TII controlled substance.

                                 Proven:                        Not Proven:    j
                        Racketeering Act 29 First-degree mmder vvhile an11cd of Glenn Jenkins on or
                 about July 7, 1993. (See Final Jury Instructions, pp. 64-69, 83-85)

                                 Proven:                        Not Proven:    ✓
                         Rackete1Jring Act 30 Assault with intent to murder while armed of persons in the
                 Kentucky Courts neighborhood between in or about 1991 and on or about June 20, I 992.
                 (See Final Jury Instructions, pp. 64-69, 70-71)

                                 Proven:                        Not Proven:   ✓
                                                          29


(Page 173 of Total)
                                                       App 739
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024       Page 174 of 477
                 Case 1:98-cr-00329~RCL Document 810 Filed 08/16/01 Page 29 of 38




                      Racketeering A.~Llt Assault with intent to murder while armed of persons in the
                Kentucky Courts neighborhood between in or about 1991 and on or about June 20, 1992
                (committed with co-defendant Sean Coates). (See Final Jury Instructions, pp. 64-69, 70-
                71)                                                                            •

                               Proven:                       Not Proven:   ✓
                       Racketeering Act 39

                      (A) Attempted armed robbery of Anthony Pryor, a/k/a '"Wysocki," on or about
                October 22, 1993. (See Final Jury Instructions, pp. 64-69, 76)

                               Proven: ✓                     Not Proven:

                       (B) Armed kidnaping of Anthony Pryor, a/k/a "Wysocki," on or about October
                22, 1993. (See Final Jury Instructions, pp. 64-69, 75)

                               Proven:   J                   Not Proven:

                      (C) Assault with intent to murder while armed of Anthony Pryor, a/k/a
                "Wysocki," on or about October 22, 1993. (See Final Jury Instructions, pp. 64-69, 77)

                               Proven:   ✓                   Not Proven:

                       Racketeering Act 43 First-degree murder while armed of Donnell \vb.itfield,
                a/k/a "Robocop," on or about September 26, 1994. (See Final Jury Instructions, pp. 64-
                69, 83-85)

                               Proven:   j                   Not Proven:

                         Racketeering Act 45 Conspiracy to commit murder of persons expected to
                testify as witnesses for the government in the murder trial of United States v. Maurice
                Proctor, a/k/a "Pool>oo,,, between in or about 1996 and in or about 1997. (Sec Final Jury ,
                Instructions, pp. 64-69; 72-73)

                               Proven: /                    Not Proven:

                       Racketeering Act 49

                        (A) Attempted robbery while armed of Alonzo Gaskins, Darnell Mack, and
                Melody Anderson on or about November 17, 1996. (See Final Jury Instructions, pp. 64-
                69, 76)

                               Proven:   ✓                  Not Proven:


                                                       30


(Page 174 of Total)
                                                    App 740
       USCA Case #21-3072           Document #2077668               Filed: 10/01/2024        Page 175 of 477
                   Case 1:98~cr-00329-RCL Document 810 Filed 08/16/01 Page 30 of 38




                  Count Fifteen First-degree murder while arrned of Donnell \Vhitfield, a/k/a "Robocop,"
           on or about September 26, 1994. (See Final Jury Instructions, pp. 83-85)
                                          ✓                             '111 \
                                 Guilty:~--           Not Guilty:   8
                 Count Sixteen Murder in aid of racketeering activity of Donnell Whitfield, a/k/a
           "Robocop," on or about September 26, 1994. (See Final Juzy Instructions, pp. 86-90, 83-85,

                                 Guilty: -✓           Not Guilty: _ _

                  Count Twenty-Five Murder in aid of racketeering activity of Alonzo Gaskins on or
           about November 17, 1996. (See Final Jury Instructions, pp. 86-90, 78-80)

                                Guilty:   ✓           Not Guilty: _ _

               Count Twenty-Six Murder in aid of racketeering activity of Darnell Mack on or about
          November 17, 1996. (See Final Jury Instructions, pp. 86-90, 78-80)

                                 Guilty:_!_           Not Guilty: _ _

                 Count Twenty-Seven Murder in aid of racketeering activity of .\-felody Anderson on or
          about November 17, 1996. (See Final Jury Instructions, pp. 86-90, 78-80)

                                Guilty:   ✓           Not Guilty: _ _

                  Count Twenty-Eight Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about October 22, 1993 (Attempted murder in aid of racketeering
          activity of Anthony Pryor, afk/a "Wysocki"). (See Final Jury Instructions, pp. 95-99)

                                Guilty:   J           Not Guilty: _ _

                  Count Thirty Use of a firearm during and in relation to a crime of violence or a drug
          trafficking crime on or about Sep1ember 26, 1994 (Murder in aid of racketeering activity of
          Donnell \Vhitfield, a/k/a "Robocop"). (See Finai Jury Instrnctions, pp. 95~99)

                                Guilty:   ✓           Not Guilty: _ _

                  Count Thirtv-Five Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about November 17, 1996 (Murder in aid of racketeering activity of
          Alonzo Gaskins). (See Final Jury Instructions, pp. 95~99)

                                Guilty:L              Not Guilty: _ _




                                                        32


(Page 175 of Total)
                                                     App 741
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 176 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 31 of 38




                  Count Thirty-Six Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about November 17, 1996 (l\:Iur<ler in aid of racketeering activity of
          Darnell Mack). (See Final Jury Instructions, pp. 95-99)

                                Guilty:~                Not Guilty: ___ ~

                  Count Thirty-Seven Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about November 17, 1996 (Murder in aid of racketeering activity of
          Iv1elody Anderson). (See Final Jury Instructions, pp. 95-99)

                                 Guilty:   ✓ _          Not Guilty: _ _

                  Count Thirty-Eight Possession of a firearm during a crime of violence or dangerous
          offense on or about July 7, 1993 (First-de~'Tec murder while armed of Glenn Jenkins). (See Final
          Jury Instructions, pp. 100-02)

                                Guilty: _ _             Not Guilty:   /

                  Count Forty-One Possession of a firearm dming a crime of violence or dangerous
          offense on or about September 26, l 994 (First-degree murder while armed of Donnell Whitfield,
          a/k/a "Robocop"). (See Final Jury Instructions, pp. 100-02)

                                Guilty:    ✓           Not Guilty: _ _




                                                          33


(Page 176 of Total)
                                                      App 742
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024        Page 177 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 32 of 38




                                          5. SEAN COATES, a/k/a "Birdy"


                 Count One Conspiracy to distribute and possess with intent to distribute a controlled
          substance from on or about sometime in at least I988, and continuing thereafter up to and
          including March 1999. (See Final Jury Instructions, pp. 52-63, 103-06)

                                Guilty:__L             Not Guilty: _ _

                                              Controlled Sub.stances

                       (A) Mixtures and substances containing a detectable amount of cannabis, also
                 known as marijuana, a Schedule I controlled substance.

                                Proven: /                     Not Proven:

                       (13) Mixtures and substances containing a detectable amount of cocaine base, also
                 known as crack cocaine, a Schedule II narcotic drug controlled substance.

                                Proven:                       Not Proven:    j
                        (C) Mixtures and ~ubstanccs containing a detectable amount of phencyclidine
                 (PCP), a Schedule III controlled substance.

                                Proven:                       Not Proven:    j
                         If you find the defendant guilty of Count One, narcotics conspiracy, then you must
                 answer the following questions relating to the amount of drugs for vvfoch the defendant is
                 responsible, including those drugs that he actually distributed or possessed with intent to
                 distribute, and those drugs distributed or possessed with intent to distribute by co-
                 conspirators which the defendant knew or reasonably could have foreseen would be
                 distributed or possessed in furtherance of the conspiracy:

                                       Cannabis, t,lso known :as M~lrijmma

                       (A) 1000 kilograms or more of mixtures and substances containing a dctcctabte
                 amount of cannabis, also known as marijuana.

                                Proven:   ✓                   Not Proven:

                         lf you are unable to find unanimously that the quantity of marijuana was 1000
                 kilograms or more, then you should consider whether the drug quantity \Vas:




                                                         34


(Page 177 of Total)
                                                     App 743
       USCA Case #21-3072          Document #2077668               Filed: 10/01/2024        Page 178 of 477
                  Case 1:98-cr-00329~RCL Document 810 Filed 08/16/01.
                                                                   ;ii
                                                                       Page 33 of 38




                        (B) 100 kilograms or more but less than !000 kilograms of mixtures and
                 substances containing a detectable amount of cannabis, also known as marijuana.

                               Proven:                       Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 100
                 kilograms or more but less than 1000 kilograms, then you should consider whether the
                 drug quantity was:

                        (C) 50 kilograms or more but less than 100 kilograms of mixtures and substances
                 containing a detectable amount of cannabis, also known as marijuana.

                               Proven:                      Not Proven:

                         If you are unable to fmd unanimously that the quantity of marijuana was 50
                 kilograms or more but less than 100 kilograms, then you should consider whether the
                 drug quantity was:

                       (D) Less than 50 kilograms of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                               Proven:                      Not Proven:

                                  Coc:tinc Base, also known as Crack Cocaine

                       (A) 50 grams or more of mixtures and substances containing a detectable amount
                of cocaine base, also known as crack cocaine.

                                                            Not Proven:

                       If you are mmble to find unanimously that the quantity of cocaine base was 50
                grams or more, then you should consider whether the drug quantity ,vas:

                       (B) 5 grams or more but less than 50 grams of mixtures and substances
                containing a detectable amount of cocaine base, also known as crack cocaine.

                               Proven:                      Not Proven:

                       If you are unable to find unanimously that the quantity of cocaine base was 5
                grams or more but less than 50 grams, then you should consider whether the drug
                quantity was:




                                                       35


(Page 178 of Total)
                                                    App 744
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 179 of 477
                  Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 34 of 38




                       (C) Less than 5 grams of mixtures and substances containing a detectable amount
                of cocaine base, also lmown as crack cocaine.

                                Proven:                       Not Proven:

                 Count Two Conspiracy to conduct and participate, directly and indirectly, in the affairs
         of an enterprise, through a pattern of racketeering activity, from in at least 1988, and continuing
         thereafter up to and including March 1999.

                                Guilty:   ✓            Not Guilty=~~

                        ln order to find the defendant guilty of this Count, you must unanimously find that
                the defendant agreed to commit at least two of the racketeering acts listed below_ You
                should make unanimous findings with respect to each of the racketeering acts hsted
                below by marking "Proven" or "Not Proven." (See Final Jury Instructions, pp. 64-8])

                        Racketeering Act l Conspiracy to distribute and possess with intent to distribute
                a controlled substance from on or about sometime in at least 1988, and continuing
                thereafter up to and including March 1999. (See Final Jury Instructions, pp. 64-81, 52-63)

                      (A) Mixtures and substances containing a detectable amount of cannabis, also
                known as marijuana, a Schedule I controlled substance.

                                Proven:   J                   Not Proven:

                      (B) Mixtures and substances containing a detectable amount of cocaine base, also
                known as crack cocaine, a Schedule II narcotic drug controlled substance.

                                Proven:                       Not Proven:. - -✓
                       (C) Mixtures and substances containing a detectable amount of phencyclidine
                (PCP), a Schedule III controlled substance.

                               Proven:                        Not Proven:_i__

                        Racketeering Act 26

                        (A) Assault with intent to murder while armed of Jermaine Hall on or about June
                20, I 992. (See Final Jury Instructions, pp. 64-69, 70-71)

                               Proven:                        Not Proven: /




                                                         36


(Page 179 of Total)
                                                      App 745
       USCA Case #21-3072          Document #2077668               Filed: 10/01/2024       Page 180 of 477
                  Case 1:98-cr-00329~.RCL Document 810 Filed 08/16/01 Page 35 of 38




                       (B) Armed kidnaping of Anthony Pryor, a/k/a "Wysocki," on or about October
                22, 1993. (See Final Jury Instructions, pp. 64-69, 75)

                              Proven: ✓                     Not Proven:

                      (C) Assault with intent to murder while armed of Anthony Pryor, a/k/a
                "Wysocki," on or about October 22, 1993. (See Final Jury Instructions, pp. 64-69, 77)

                              ProYtn:   ✓                   Not ProYen:

                         Racketccring_Act_45 Conspiracy to commit murder of persons expected to
                testify as witnesses for the government in the murder trial of Unit~d States v. Maurice
                Proctor, w~/n ·'r_QoPmC, between in or about 1996 and in or about 1997. (See Final Jury
                Instructions, pp. 64-69, 72-73)

                              Proven;                       l\ot Proven:   ✓
                       Rackctccr-ing Act 49

                        (A) Arternpted robbery while armed of Alonzo Gaskins, Darnell Mack, and
                JV1elody Anderson on or about November 17, 1996. (See Final Jury Instructions, pp. 64-
                69, 76)

                              Proven:   J                  Not Proven:

                       (B) First-degree felony-murder 'Nhile armed of Alonzo Gaskins on or about
                :\Jovember 17, 1996. (See Final Jury Instructions, pp. 64-69. 79-80)

                              Proyen:   ✓                  Not Proven:

                     (C) First-degree felony-murder while armed of Darnell Mack on or about
                November 17, 1996. (See Final Jury Instructions, pp. 64-69, 7Q-80J

                              Proven:   ✓                  Not Proven:

                     (D) First-degree felony-murder \.vhile armed of Melody Anderson on or abom
                November 17~ 1996. (See Final Jury Instructions, pp. 64-69, 79-80)

                              Proven:                      Not Proven:

                       (E) First-degree premeditated murder while armed of Alonzo Gaskins on or about
                )J"ovember 17, 1996. (See Final Jury Instructions, pp. 64-69, 78)

                              Proven:                      Not Proven: /


                                                      38


(Page 180 of Total)
                                                   App 746
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024       Page 181 of 477
                  Case 1:98-cru00329-RCL Document 810 Filed 08/16/01 Page 36 of 38




                  Count Tw£ntv-Eight Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about October 22, I 993 (Attempted murder in aid of racketeering
          activity of Anthony Pryor, a/k/a "Wysocki"). (See Final Jury lnstructions, pp. 95-99)

                                Guilty:_L              Not Guilty: _ _

                  Count Thirty~Four Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about October 30, 1996 (Attempted murder in aid of racketeering
          activity of Ronald Sowells, a/k/a "Manute"). (See Final Jury Instructions, pp. 95-99)

                                Guilty: /             Not Guilty: _ _

                  Count Thirty~Five Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about November 17, 1996 (Murder in aid of racketeering activity of
          Alonzo Gaskins). (See Final Jury Instructions, pp. 95-99)

                                Guilty:_{_            Not Guilty: _ _

                  Count Thirty~Six Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about November 17, 1996 (Murder in aid of racketeering activity of
          Darnell Mack), (See Final Jury Instructions, pp. 95-99)

                                Guilty:   ✓           Not Guilty: _ _

                  Count Thirty-Seven Use of a firearm during and in relation to a crime of violence or a
          drug trafficking crime on or about November 17, 1996 (Murder in aid of racketeering activity of
          Melody Anderson). (See Final Jury Instructions, pp. 95-99)

                                Guilty:_l             Not Guilty: _ _

                 Count Thirty-Eight Possession of a firearm during a crime of violence or dangerous
          offense on or about July 7, 1993 (First-degree premeditated murder while armed of Glenn
          Jenkins). (See Final Jury Instructions, pp. 100-02)

                                Guilty:__             Not Guilty:   ✓
                 Count Forty-Five Possession of a firearm during a crime of violence or dangerous
          offense on or about October 30, 1996 (Assault with intent to kill while armed of Ronald Sowells,
          a/Ida "Manute"). (See Final Jury Instructions, pp. 100-02)

                                Guilty: __{_          Not Guilty: _ _




                                                        40


(Page 181 of Total)
                                                     App 747
       USCA Case #21-3072           Document #2077668                Filed: 10/01/2024        Page 182 of 477
                  Case 1:98-cr-00329-RCL Document 810 Flied 08/16/01 Page 37 of 38




                                        6. GARY PRf(;E, a/khl "Harry-O"


                 Count One Conspiracy to distribute and possess with intent to distribute cannabis, also
          known as marijuana, a Schedule I controlled substance from on or about sometime in September
          1994 and continuing thereafter up to and including September 1999. (See Final Jury Instructions,
          pp. 52-63, 103-06)

                                Guilty:__i_            Not Guilty: _ _

                         If you find the defendant guilty of Count One, narcotics conspiracy, then you must
                 answer the following questions relating to the amount of drugs for which the defendant is
                 responsible, including those drugs that he actually distributed or possessed with intent to
                 distribute, and those drugs distributed or possessed with intent to distribute by co-
                 conspirators which the defendant knew or reasonably could have foreseen would be
                 distributed or possessed in furtherance of the conspiracy:

                                       Cannabis, also known as Marijuana

                       (A) 1000 kilograms or more of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                                Proven:   J                   Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 1000
                 kilograms or more, then you should consider whether the drug quantity \Vas:

                        (B) 100 kilograms or more but less than l 000 kilograms of mixtures and
                 substances containing a detectable amount of cannabis, also knov.rn. as marijuana.

                                Proven:                       Not Proven:

                         If you are unab!e to find unanimously that the quantity of marijuana \Vas 100
                 kilograms or more but less than 1000 kilograms, then you should consider whether the
                 drug quantity was:

                        (C) 50 kilograms or more but less than 100 kilograms of mixtures and substances
                 containing a detectable amount of ca1mabis, also known as marijuana.

                                Proven:                       Not Proven:

                         If you are unable to find unanimously that the quantity of marijuana was 50
                 kilograms or more but less than 100 kilograms, then you should consider whether the
                 drug quantity was:


                                                         41


(Page 182 of Total)
                                                     App 748
       USCA Case #21-3072                Document #2077668         Filed: 10/01/2024      Page 183 of 477
                     Case 1:98-cr-00329-RCL Document 810 Filed 08/16/01 Page 38 of 38




                       (D) Less than 50 kilograms of mixtures and substances containing a detectable
                 amount of cannabis, also known as marijuana.

                                     Proven:                 Not Proven:




          Date: ..    c,jr   I,, / 0 I
                                                                   Foreperson
                                                               J~( =I\.HT,~L'S U'$EJ:>
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                                                       42


(Page 183 of Total)
                                                    App 749
       USCA
         USCA
            Case
              Case
                 #21-3072
                    #02-3015 Document
                               Document
                                      #2077668
                                         #769196                  Filed:
                                                                    Filed:
                                                                         10/01/2024
                                                                           08/28/2003 Page
                                                                                       Page184
                                                                                             1 of
                                                                                                of1477
                        United States Court of Appeals
                                       FOR THE DISTRICT OF COLUMBIA CIRCUIT



         No. 02-3015                                                September Term, 2002
                                                                                       98cr00329-01
                                                                                       98cr00329-02
                                                                                       98cr00329-03
                                                                                       98cr00329-04
                                                                                       98cr00329-06

         United States of America,                                  Filed On: August 28, 2003 [769196]
                      Appellee

                v.

         Samuel Carson, a/k/a Chin,
                     Appellant

         __________________________________________
         Consolidated with 02-3016, 02-3017, 02-3018,
         02-3019, 02-3046


                       BEFORE:        Sentelle, Tatel, and Roberts, Circuit Judges

                                                   ORDER

                Upon consideration of appellants’ motion to allow counsel to review specific sealed
         portions of the trial record and the opposition thereto, it is

                 ORDERED that the motion be denied. As explained in the order filed October 2,
         2002, appellants may not review the sealed portions of the trial record in order to mount a
         challenge to the district court’s rulings under Brady v. Maryland, 373 U.S. 83 (1963), and the
         Jencks Act, 18 U.S.C. § 3500. See Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987); United
         States v. North American Reporting, Inc., 761 F.2d 735, 740 (D.C. Cir. 1985). Rather,
         appellants must identify the specific rulings that they believe are erroneous, and
         if they present a colorable claim, this court may review the sealed material in camera to
         determine whether a Brady or Jencks Act violation has in fact occurred. See 18 U.S.C.
         § 3500(c); United States v. Williams-Davis, 90 F.3d 490, 514 (D.C. Cir. 1996); United
         States v. Brooks, 966 F.2d 1500, 1505 (D.C. Cir. 1992).

                Because appellants seek to review the sealed material themselves, their motion must
         be denied. Any future arguments concerning the district court’s application of Brady and/or
         the Jencks Act should be presented in the appellants’ brief, rather than by motion.

                                                  Per Curiam


(Page 184 of Total)
                                                  App 750
       USCA Case #21-3072                    Document #2077668                   Filed: 10/01/2024           Page 185 of 477




                                                   UNITED STATES OF AMERICA,
                                                                                     AppeUee,




                                      WlLUt\M SVfEENEY r SAMUEL CARSON,
                                 SEAN COATES, JERO!lt·ffi MARTIN, and VINCENT HlLL,
                                                                                    AppeHants.


                                APPEAL FROM THE UNITED STATES DJSTRICT COURT
                                        FOR THE DISTRICT OF COLUI\•IBIA



                                        BRlEF OF APPEU.ANT5 S\VEEt\iTEY, CARSON,
                                                         COATES, MARTIN. :llOd HlLL

           .. ·Paw Rosen.zwctg. Esq.
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(Page 185 of Total)
                                                                App 751
        USCA Case #21-3072                                Document #2077668                                                                             Filed: 10/01/2024                                                      Page 186 of 477


                                                                       TABLE OF CONTENTS''
                                                                                                                                                                                                                                                     Page

      CERTIFICATION AS TO PARTIES·. Rt;U:SGS, AND RELATED CASES., ......... ., .................. i



      'l/'l•AB,U OF .AL'TliOR.11'"'.JE:S ....               1,,1,1•"'•1------~1,,, •• ,.,i,lll•1"'"•"'•'"•--IS~'"••·----.a.1~1'!•H1••••lll!!••••illll11,.,, ... 1 1 1 1 1 1 • • • • i l l l ' l ' ' • • • l i l 0 ~ " ' ........ 11.11~                           !(



      JUR1SDIC110N AL STA'TE1'iiffiI\11" ........ ,,,., ...... ··"······· ... ,,,. ............. ,, ......... ,,, ,.........,,,,, .... ,,.,,.......... ,.... ,1

      s~r ATEl'vlENT ·Q,F Tii:E ISSUES ................ ,,,.,.,......... ,........ ,.,,. .....,.,, ............................ ,,, ...... ,,. ......... ,... 2
      -ST. .i\Turns k""'D REG"ULA.TIONS .. ■•
                                  1
                                                                                    ,,11•1~'!"'•- .... ,,, 11 I!'"''.". 01 I It ... ,, .. .,, i I ' . , ....... ,. a ........... ,I I tll 1 ' " ........ sJJ ........... ,. ,,1 I 1·1--•·-• I I I ' I •• " 111   ,,9

      STi,,.A...TE'l\ffiN,., OF'1""1IB CA-SE . . .               ,.1,i1111••••--l•ll'!ll .. ••••· .. ••llf!•o-,lllll••••••lllll'-rr''''"'"'o1..J~•••• ...... ,,11"1'•~,.,.,..,,,,r,.., ........... ,:i,1•11•• .. • • .. l i l • • • • i • l i l l l ! , 9




      su:~Y OF ·ti"-RGl"'~~T                                   ,111111••··••.i.ll<J . . . . . . . . . . 1 , 1 , 1 , , .... i l , . l l l ! t • • .. llll!l•"•'"i,o11il!~ ........... "!!~1"1•• .... •.11,1r••'•"'"'"" .. '""''"P••o.•lll•1••-••ll1            l4



      L          The trial court\. indfacrimirni.m dlsmiss.a, of a deliberar;,ingJuror compromised the
                 tn·aJ•, :S st.nicrura 1·.       • ..
                                       ,' ,1•ntegnty                1.; 11 !'!••IIO i l l f " ' .. • • • • .... :,tJ't•••i,IQll!-• .. • · .. ·•L!rl"•••,lo,1.1i1'i'!'l'•••iltlll''"'''il.ll'l"'•_.•,ill1"'•"•"'lLlll•••ll<rll" ....
                                                                                                                                                                                                                                                              "]3




                 CLJ      J\.J:'gumcti;t ....   i 111••·-~ I I I i , , , , ,   "          ,i In I ! ' • • • • • I Id';!,,., . . . . 111111 • . . . . , , 1,1 ,. ......... ,, ............. ~.r-1 ......... ,;,1 I I'll'"""'""'. II. , •• ,, .. ,11,111 ~··   .:3 ,]

                          1.       The co'l!lrt. faiJoo to condu.ct a sufficient inqu.iry on the rc,cr,rd to :suppo11
                                   the rcmov~l of Juror No. 3 after dcl.iberatio11:s had begun ......,.., .......... ,..... ,,, ....... ,33

                          2.      .No cNi dence, showed thl:!lt Juror No, 3 .,,,,as suffering fu)m a ~bmca.ting
                                  mental Hlnes:s t!h.at ·would h;•we rendered him unfit to 1:1,ervc nn a jury ,, ..... ""' .... 34

                          3.      Jw:or No . 3 was remo,•ed io order m h&sten the dc'liber.a·tiom; hecause his
                                  vie\\•S ap~a:red to. question the Government's case .. ,..........................,,. ......... 39

              • We d.o not indude. a Glas:.,U)' of Alhhrc'°~timJ~ liS all of~• acrr.myll'IS used in thi:s brief ire of
     c:on:mion \tsage and. thns. do nm re1.1uin: definition.

                                                                                                             -ii-




(Page 186 of Total)
                                                                                                        App 752
       USCA Case #21-3072                                   Document #2077668                                                                                 Filed: 10/01/2024                                                                 Page 187 of 477



                      4.          Th.c district court's. reasor,,s for disnn:ssir.ig Juror No,. J, were 5.n.suft1c1cnt
                                  to su.ppm:t the use of Rule 2.3{b). lw findings that J~ror No. 3's answers to
                                  the ',,.\?ir dire q'uestkmrutire- were '\:Eeoeptive." aif. UTISl:bpportable .................,...46

                      5,          Had gooo. ceius.e ~egit.imai.e!)• existed to remove Jumr No. 3 theo the
                                  prcJper nex.t s.t-ep woutd have been w dc~lare a mistrial ............ .; ...... ,........, ....... 50

            D.        Conch.1sion ..... ,.• ·······• ·······.. ·····•.. O<e••·••ua••·· ., . . . . . . . . . . ··•· ...... , . . . . . . . . . . . . . . , . . . . . . . . . . . . . . . . . ,, , •• j......51

      n.    Ddenda.~ts were prejudice.d by the trial oowt's failure ta c:ondtict the w1-ir dir-e and trial
                cv-en!l:th.a:rtdcd.s- unbiased
            u1. a n                                                      m . a : n n c r 1 1 , , . , , ..... i , 1 , ~ • . . , • i • I I J H • · " i ' 1 , .. ,.. • .i.,':1'11"' .. ,. ....... !:ll!IP!'I ....... .,   · • - ! • • · · · · · , · · · .. , • 1 • • · · · ' " • 1 1 ' l l • S l




                      .1.         The trial court conducted the pretrial heanngs rn a way tha, made plain
                                  its :s.ympathies Ia)' widi tM Govemm.cnt.......... o....,..............................................51
                      2.          The ~.nw judge raJled LQ, (idmt_niistcr jury se-k.CllOB if.I a fair mann.er thal
                                  would have e-n~bled cooosel to asses:s the prospe<:t•ve j1..u·on:.' iJ:npa..rtudit .
                                                                                                                                                                                                                                                                  r
                                  Hl& act1c:ms probably had the opposite effccL ......... ,..... ,,. ....................... " ...... ~s

                      3.          The disttkc court threatened and demeaned defe~se comiscL .................. j......68

                      4.          The djstrict court made cle~r where its sympathi~ lay during the trial ht
                                  pfacirig undue rcstricti.O!!!.s on crnss-examin.ation ............................... ,....... )...... 76

                      :5'


                                  c~~~:~.c~~~~..~~.1~~=~~.~:.~,~~:~~~.~~.~~~.~~~~.~~~~~: ........1. .....85
                      6.


                      7.         'The tri.aJjudge sometimes ac-ted as a third pn,secutar ............................... j.. ,... 87

                      8.         The Coon·s ~par.ise to Brad)• and J~i requesE.s was lackadtdsmc:$1 ........... 90

                                 The. disuict court nfforJed the Guvt.rnment gre.at(:r lerfr1.y i;, 1.he- prescntatlt;in
                                 Qf H" case and :nr_g;urot.m than it d1d tbe defense .............................. ,,. ..... '" ...... 92



                      1CJ.       The pre.s.ence of &cquHt.als on some coun1s does nnl affecl the result.
                                 for Appd!a.nt-s d1d not cece1ve. !II fair trial .. .,, .......----···-· .. -· .. ···· ......................... 95




(Page 187 of Total)
                                                                                                          App 753
       USCA Case #21-3072                                       Document #2077668                                                                                             Filed: 10/01/2024                                                             Page 188 of 477




      m.    The district c(n.Jrt erred mn admitting Robert •··su.td:n~" Smith's he;:usaiy statements
            to Montgomery :and Agc:nt Lisi, 11:Jc $la1¢ments YiolMed d~fet1idMts' Confrontation
            C iause.
              l       ., I
                     ng.iits an d ""'ere.            • d.icia
                                     · h"1g11·1 y preJu    • J, ...... .;,., ...... , ......... , .................................................... Q6
                                                                                                                                                       .


            J,\   I   'ln,'troducbon ...............            i1J,-i• .. · · • .. ••I ' ••• , • • • • • r , , ...... ,., . . . . ,11" ........ il,0,\111"···• ...... 1114,., ••••••• , ' ' " " i i 111, ...... t•111,1 ! .... , '1111 • • • • I D•l"'"' .. ' ' i l 11'!'•                .9i



            C.        ·roe court erroneously conduded that Smitffs. hearsay :cou1d be admitted agai:ru;t
                      all dcfc.tldanits                i i I I I 1 •• .,. i i I I I ~,. . . . . .a ..   ,u,,,. •· ■ 1111 t ...... i 11 t ' •·• "" 0,1<11·1"• •• ~ I •• ,, . . . . . . . . . . . B-1 ........ ,. i,J .,,,,., .. ",ii ............ 1,111,,, ... ,i.J l'I"!'"'"''             100

            D.        11'1.e districl court's. ~dmissii:.m of Sw-eeney's. :Srnteruent to Smith to be: used
                      ~ain$t Carson and Coates viofated the Br:ut.on rule.................... ,.................. ., ....... l03

                      l.       There was no e,vidcnce pre:scnted by me Govc::mmctit that Robert Smith
                               was ~l i:ncmber of the charg1:d consp,ir3i;:y .... ,....... ,,, ....................... ,............... 103



                               b. Smith•~ salc:s ro the Gov-1!!.mment witnesses. and the defemiants .............. 1,04

                      2.       1'tie Co-urt cmd i~ holding thar me cocoTispirac.or statement -exctption to
                               the hearsay role applied to tho sta:tcmem.s of \VilUam Sweeney to
                               Robert S1lllth.,       1                     1,, ,-r.,, ....... ~~-- . . . . . . . . . , 9,,.. .... 1, , •• , , ••••• ; .• ,:,-,. ..   ~   ...... " " ' " " ' · · " ' " • '·· .. ··,· . . . . . ,,"' .. ,., ... 1 Jlll!!-••-•ii.Ltl ,-•. " ' ' ' " ~ •• L   105

            E.        The C.Olln erroneousty coru.::lude<l that Smiith' s hear~ay could be .adtni:ued
                      against defon.danit!i\ riot even nnplicated in SmJth' s murder ............ ,......... ,,, ... ,........ JOB

                      I.         lnlputed ..,,,,a:iver of' ,confo:mt.ation rights u applied by the courts of
                               a p - p c a J . s l 11 ,,, .. .a ,,~1·!.1.,.•••••• i I I " ' • • • 1, Iii~~•••• I ,11 •• • 1 I 11111 • • 0,1 I I 110 • • • Oi I i'"'"''"••ol 11'1" !••••1-·f'l"i.!"•••,.,•'l'l'J'' • ,,..,,1ill"!"•011 t'"'                                                 l 09

                      2.       Im.puied w~1r·er of co:nfrcnt::nion rights as applied by tins cou111 ............ ,., .... l l2



            F.        The error m adm.itti~1g Smith'~ hearsay was ~ug'hly proj1Jdicial .............. ., ··-·········.1 M

                      1,       s,vc::ency ::l.nd Carson ..... c........ a-.••··············· .... ······,.,····                                                                                                .................................... 114




(Page 188 of Total)
                                                                                                                        App 754
         USCA Case #21-3072                                         Document #2077668                                                                                             Filed: 10/01/2024                                                                 Page 189 of 477



            G.     ,co0,nchJ1sion .. ,. ..,. .... .,.,..,.............. ,,........................................... ,, .............. .,..,..... .,.,.. .,... ,,,,..,, 'l l 8

     IV.    The VICAR an:d First Degree Murder o:::o,ivict1011s must be vacated ............... ,............... 119

            A..     S,tandard fJf re~v ie'\!t                       1
                                                                        ••,. I,, •.•. ;, •• , . ,   t.,.,,, ,,, . ! , ...... -- . . . . . . .--,.."'""" • • • i 111, , 1 , , I~,, . . . . . .,. ............. ,. • • • • • • • • • • • • • ; . i i •..• , I, •• ,,, • • • • • • • ,           120

            B.      Th.e Governmen~ failed to present any evidence of an clement ne-ees.sruy to
                   :SllstaJn certain of Appeilants' corrdttion.~ i.mder the Vki,lcnt Cri:rnes In Aid
                   Of Rru:::ketee.r.if!lg statute and RICO - namely a con:necti.t.in to interstate
                   conU11ercc            '1 ~l'ltl ' ' ~· ,,, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . I I i i i I I I I 1111"111 '"''" " .... ., .... ,,,,, . . . . . . . . I . , 11 iiol i i I f;II €'!!PH "'1'11':''l"ll"I'' .......................... I 111 ,\   20

                    L        The offen:H!-S aUegcd di.d not l:iUfo;fy the Commer<.'.e Clause requirement~
                             ,cnun,e:-:iatcdl tn                        W J J i e Z ~ l ' l w r r ,1 ,,, . . . . . . . . . . . . . . . M • • · · · • I f I a l,i 11\1'1'>'1'•"'""'"'"'" ............ ,.,...11 •• I 1,11111111111,. • 1 . . . . . . . , 11,111                                12:2.

                    2.       The Government musts.how m1 effect on int.e~rate commerce and prove
                             Ui.e De.fen darn' s motive i.fl order ~o s:.uisf y its burden of proof Uflder the
                             \'1 CA.R stt1itute .................... ., ;.
                                  1
                                                                                                            .,1 j,;,111 ! 1,111,~ I• .......................... ; ,l i I I , 111. 1111-.1 . . . . . . . . . . s- . . . . . . . . . . . . .11.i.,, i , lfH - ...... ,., .. ,. ...... i        12.5

                    3.       The Government f:;:i,i[.ed lo prove a nccc1tS11t~; elem.enl of the VLCAR
                             statute ln certain of tlilie c.01.:mts for wruch the Defend.ants were cmwictcd..... 128

                                      a. Anernpted murder - Ulys.se.s Enghs.h (Carson) ............ ,, ................... 128

                                      b. The triple rm.:1rde:r {Coatcs), .. ,......................................................... ,, .... 129

            C.     The D.C ..Pir:sc Degree Murder convii;;tiomi wer.e: mJs.joint.d !IOd inust be
                   \ta.cared     ..:•1n1ri!""'"!" ................................................ ii,liil I l•l'l<ll,;J'l'""lll•!"!'I"'""'' . . . . . . . . . . . . . I . 111111 11 I w 11 . . . . ,,. .............. .,i,ii,i,.;,-i,.<,;.,~.itlt'11i~M- ............. ;,l.                       31

                    I.       The m1:.m:lcrs of Hallman and Hyson: (Cmon) ................. ,000,.... ,. .................... ..,, l,3,2

                   .Z.       MurrJi;;'I" of Anthony Pom1nc (Cin1u)fl ;nnd Mmtn) ,.. ......... ..................                                                                                                                                                           ., . . .. 133

                   .3.      Murde.r a,:f Teresa 1·homas tnd Terita !Luc.as (CU.S0:l'l)....... , .......................... .134

    V,      Reve-rsrill or the Vl:CAR c-oITTl'victions requjrcs rev,crS,P,iJ of the corresponding coovlction.s
            for using ,or carrym g ir fire1m11 in cormcction w1,th a crime of viol.eni:::e ............. ,............ 13 5;


    Vl      The cii:;.triet court erred by refusin.g Defendants' ~quc:i;t t,:-, admit thic grdrttl jury
            iteS,tiu:1ony of ,-...,.o wcmnesse.s \.Vhose testimony wouM have irnpHcared persons other
            than defendants. in the Lrlple murdcrc, ,,,,,••w••··············""'"" ...................... " ,, .... ,............. 136




(Page 189 of Total)
                                                                                                                            App 755
       USCA Case #21-3072                                  Document #2077668                                                                                       Filed: 10/01/2024                                                       Page 190 of 477




            C.      The gr;md jury 1.eS,timo11y shoutd have been a,dmirted ........................... .,., ............... 137

     VIl,   1~hi;. district cou.:rt erroneously aUowcd the Go\ieromemL m M"gu,e; on rc.buttal without
            a ,;;:autionar;y in:;truct1on that~ jury ,;;(lUld use the i;ooperating witness.es'
            guilty pleas, as ~ubslamivc. e1a'idencc of.App-i;il.Mts' guilt ............ ,.........."""··········· .. ······ ... l40



            B.      .A..nalysis.., ... ,......... ,,.......................... ,,, ....................... ,.,................... ,,,., ...... " ............. ,..,.I 4]

     vm.    The Government's. Brad}• violation requires th.at Ca:rsct:1~s and Martin's convictions
            f(lit the Tony FqtrLJ:nc murder be vaca'led .......................................,.,.,.................. ,.......... ,... 143




            B..     N g u m c n t ......   ~   .. ..1,13••··• ... ,11.,11111.0••· .. ·•,.Jol              11',. ........... i<ll.l''l! . . . . . . . . .1.a-1·1-,1•-,., .. 111i!•'l1••··••111r·,•··••liill1••·••..ll,i,ii'"'"''"'"''"ll1!"'                           lM

     IX.    The: counts ill the tndk:trncnt relaci.ng to actrvities .!!l 371.ti Stroot were im1)ropcrly
            joined with the. trial of the iconspm,.c:;• and RICO C(~unts, ~d the dcnml of
            tbc se·,•e:rmce motion was elli'Or..,. ........................ ", ................................................................ 148



            B,      Argum.e11t ,., ......,..,..,,........ ,, ....................... ,,..... ,........................ ,........... ,...... ,,...,. ...... , 149




                    31       Sumniary of raetz;                                 I 111! l!~"!"'•,l•Pl1 It>,~, • • • •• I~ 1 • • · • • i i • l i i l l l I • . . . . . i,i i t l f l • • · - · • • ' , ) . • •      ·~•:r, " . . . . ..,, j 11.l·l« 11·,-·. "'"'lllil   151

                    4.       The eormt5 rda1.«t to actt ,..it}' at 3'111 Street were misjohied with the
                             RICO and conspiracy c<Hl:ilts and with tne subsmnth,•e counu.
                             rc:!ating to the 200 block of K Street. SW ..................... ..,..,..........,................ 153

                    5,       Dc.fcndants were prejudiced b)' the tnisjoht.der of offen~ and defendants
                             and the motions to iievcr should have been granted...,,....... ..,, ........................ ~.56

                    6.       Even ~f 11he 371b Su-ect <lffcnses were properly joined. the e,•ioonce at
                             trial, n:·veak:d multiple C01i11lql~rncie$. rather than the sit1gle coospi.racy
                             ctm.rged: in r.he mdicuncnt ru-td LJefend.ants were pl'ejudiced by the
                             •variance••          '"''•""t.,HJi,,\:f''"'' _. .. • I i 111 t   t• • • • • , I iJoi I i ! 1 I•.,.,.• li I I,~ l!irf ts•• .,.,.,1,1 I r , .,.,., ..   .,;. □ ;,11,-,-••-•••   l·l"I f'F••••• .,, Ii 111' ••~•I i,OII'•~ •4-ii ...        1(j.()




(Page 190 of Total)
                                                                                                                  App 756
       USCA Case #21-3072                                   Document #2077668                                                                                      Filed: 10/01/2024                                                            Page 191 of 477



     X.     The n;strict C.oun's Ex. Pane c...on.mcts v..-.ithjurot$ ,.'iolated Due Proce::ss and Rule
            43 of lhe RuJe.s of Cri:ninal Procedure ......................... ,...................................................162



           B.      A~ument ..........             C!   ............. ·•-~ri.:1 . . . . . . . . . . . . . . . . , I t ...... ao1.;i ;i I l"'l'l!'"'"""""•-il.i,., .. 11,(!'·'I!"'""" . . . . . . . . . ;;..~ 11 r,1 II"!'!'• i. I hi 1111 I I? • • • • • , 11-1 t·t 1 • 1 0 1 6 2




     XI.    >-\ppr:::lla:nt Sweeney i:s entitled ro a new 1.rial. □••o••······ ........................................................168

            A.     The Dislrict Court erred by not allowing Wesley Smith and Frederick 1'-1me:r
                   to tfiti fy                            ~                            tl!!l'l!'l"",.'"""•a.iii■aa,.-• 168
                                 ,If 11111! 11·"'•.,;i.Lr..,_,r 5! f I'll"!'•"""'" oi I t,t·~ ,~ . . . . ,. •-- • ••;;           •• ••-•·••• l•l 11 f I • t •• •• •l•I If r t • .......... ,lf,11 lt"!• ......... ,.ii ..




                    1.     Stand.an! of re view ..................................................... ,..................................... 168

                   21      ArgtJDlCnt .                  ~.;I, ................... .;,; II I I , . . . . . . . . . . . . . . . "'W"'"" ... o,i.,i.:'l'IP"' ........... ;a . . . ,. ................ i i 111 ! I,, ..... o l•li. I t 1111'1' 0"0 • li•i l,lJ'l"ll·!'I' ••   168

                           a. The- district courfs refusal mallow We:sley Smith':1, te.stimony
                               Wti ea-0neo.us ..... ,-............                                   ~'-"'Ii I •• , ~., .......... JI ll'l"ll"'l!" .... --1oa. !!Ir.-••·-- .. -"' 11·1·1 t 9 . . . . •·• • • • 11 I . t·• . . . . . . . o 111 , , ! • • • • ii 111         ·168

                           b. Tb.e district court erroneously refused to a:11 ow Frederick Miller '(Q
                              tesgify....... ,. ~                l.!·I . . . . . . . . . . . . . 1.111 F! t I •••••l.l.t<ll'I !<t·••"''",.,lo.i,.lillt"llll!'!-• ...... .;,.1.;;li'll!S_, .... ,._. i.l 1.1 ltl I.!..••!!'••• I i I I •t ! ! !·""'"'" • i 111 t I• ....    171

           B.      The district court erred in derl}'ing Sweeney', motions for 5,,e\'e-ranci: ,................. .171



                   2.      Argumenu                    1"1''-'••"' .... • .. l-5·11 rrr~•"" .. i I i i 1111 r l f"l'!•-,iol,.lil[lll![HtP•••--·11.1.l,l!IIM5""•••looiJ•"1t"1, •                      ~   •·• • o l l I II t • • • • • i i 111 l"t·t••• • o 111 l'          1,'72

           C.      The district. court. erred in admitting evidence rcgar.ding Wayne Peny .,,........... ., ... 174



                   2.      Irnn:iductioP ......... ,............. ,............ ,,, ............. ,..................., ., ..................... ,... l 14

                   3,      .Argu.ment ..........                  "l"t'I•••••'"' ! 1·r1r•••• .,..,,. .. ol,1111 • I • • • • • il 111'!! ........ ,.,._. i I 11 ! • , , . . i,ioo 1·1·1 !·~• "'•• • • ._.,ii;••a!IIP'Plt••"'• i,l.1 Im••-- .. l · ~ l                        77

           D.      The district court erred tn denying defendant ;Sanctions for Brady violations ..... .., l 79




(Page 191 of Total)
                                                                                                                App 757
        USCA Case #21-3072                            Document #2077668                                                                                                                 Filed: 10/01/2024                                                                            Page 192 of 477


               E.     The district court em.d i1\ deny.h11g defeos.e coons~l Ille right to review
                      Charles Bender's p;sychiatnc· .records, ............... ,, .. ,......................................... ,,, ........ ,180

                       ],      -Standard. of review                                   •=-•IF! ........... 1.1-1 lol!l>l"I"!~ ................. 'I~                    ~   .. .,. . . . . . . . . DCl ................... .i .. .-z:7r11-.• ..........., ....... ,.,,, r.,•r••--··•·· ..... I,-~-                 2. 8.0

                      2-!      Arg.unient        Clil'lll'r•   --•·•   "'"   •   i   1111   r   I   ~'!I••·•••      ol·o   .,;.1.1,l'li·.-••   ~,• ■•■,■,•I   I   I   ,·11    ■·•·~ ■ ■•■·• ,;.o,i."111t·•·•'"'■ ■•r ■:o
                                                                                                                                                                                            •                                 Ill   I   I   I   I   l'l'I,   •   •   •   ■ oi   111111,"I''!,.,• •'•   ,.1-1180

     XU.       AppcHant Carson is entitled to h:aiv,e ru:s .RICO oon.victi.on 'iiat:;ated .... ,............. ,................ 181

               A■     Standard of re·Yiew                 l!e'!l•r--••·· ... k;, 111                   ~   """'' ........ .i 1..111·1~1!,. . . . . . . . . . . . . . . . illlll'~~., . . . . . . . . . . . . . . [.'1~!." ............ 1uL1-1'1 l"I I·'!'•····•,; Ll-i,& I r-1 • • • •                 ■   ...   181,

               B.     The iegl',li! itafldard for a RICO enterprise ................................................................. 181

               C.     The evidence against Mr. Cm·on failed to dcmonstll}.te his p.il.l11cipation in
                      lh.c affairs of a RICO cnterpri..sc ,.~ ......                                                                ,.,il • • • • , , .. , . . . . . . . . . , , •• , •••••• u , , , . , , ~ ... ···• .. •111n"'ll!••·•-••i•••·••·· ...... "! ..........                                         1.-84-

     xm.       The evidence was. insufficient to convict Coates and Martin of violatmg llhe RICO




               B.     Coates• RICO conspiracy conviction must be ,..acared because the
                      Govcmnient failed lo prove:, that he c;;c.mspired to opcnte or man.age the enterprise
                      or that he conspired with those who were doing so and that be wu at a
                      sufficiently high level ta ancur liabiHt}· under§ 1962(d) .......... "'""········ ............... .f 8.8

     X1V. AppcUant fliU .is entitled to a new Uial ... ,........... '""'"'·······""'""················· .......................... 192

               A.     The diserlct court erred when it. refused to aUaw ..-\ ppeUant Hm to nntroduoc:
                      into e"V'idcnce the grand jmy lest1mony or an alibi witness, who w:a:s nut .11,,·a.i&ablc
                      al the time uf Erl a!                                                                     I, 92,
                                                      I ................. 1,111,1 I!~• .............. i .. I I 11·11~ '~ . . . . . . . .1 .. ,1 ... 1'9"!!""""".. "'"'"'"'"1" !,'!! 91!!"!"'"'"''""'"' 0.lll.i r~,r•-·· ....... 1,;;~:1.~!'• P • • - - · . 11' !•




                      L..      Stand.Md o·f re.view . . . ~ ........                                  ,.1   . ,   ••   11""'""""'"' ........... , •••• , ,.~ ...........,, .•. , ,,.,,!1·~· ......... 1, , , ~ , , , . , . . . . . . . . . . . . . . , , , . . . . . . . . . . . . p ............                1.92




                      3.       Atgumcnt ................, ......................................................... ,......... ,, .................. 194

              B..     The trial judge's error 1n :refusing to strike, prejudicial hcanay is grounds
                      for re.versa} of llill" s murder conviction ............. ,.,. ................................ ,. ............. , ............ ,. .. .195

                      I..      Standard of review ................................................. ., .............,......................... ,.......... 19:5

                      2.       Argutnent......................................... ,....................................................................... l 96




(Page 192 of Total)
                                                                                                                           App 758
       USCA Case #21-3072                                Document #2077668                                                                                                 Filed: 10/01/2024                                                                        Page 193 of 477




                          b, The tcst.:i mony Wflll unq1..u::.siion21.bly inadmissible hcanmy ....................... 197

                          c:. The c.rlal coutt's faihire to S'tdke Bym' testimony w,a.~ not
                              harm.less. error.,,,, ............... ,..,.                                                ,11ci• . . . . . . . . . . . , 1, 1 , , , , , , , • • • • • . • ,, __ ......1 .. ;i11,... .,'!''1•, .... ,._. .. , •• I.I•• •• l " l " I " · - - - - - · · ·        Ll.9 8     1




           C.     The district cou.n erroncou:dy anowoo the OoYemm.cml to inlrOO.l.lCe a 1ett~Jr
                  it :re,co,•ered fr-cun H.rn's Jijit i::e.l] tllat had been prepared during plea
                  ~e,go'.tiatio11s                                     ■          ■             ~
                                     • • • I i i I 1,111'1 !·! o • !~ O • o • • , ' ° ' " ' I A i i '""''"'l'"t'" ' ' ' ' " " ' ' , ,   o I i 111111 •-, • • • o • •              • 0 11 i I 11 i!''"'''"'"'"'""'"'"'"••><il                ! W"JI t ""' '"'"""""''"'"' f f'I           ~ l,99
                                                                                                                                                                                                                                                                                          •"'




                  1..     Stilndard of revEe·w                                   i·• "-•·• • • • • • • • • i . , •• , , .. ! ...... ., ............ ••i•· IL~-~-, . . . . . . . . . . . . . . . . . . . , , , , I ! • • • • • • , 1 . , 1 . , , •• ! • • • • , I . I !                       .199

                  2.      Argument ,,,,,,,,............. ,.. .. .,.............. ,... ,.. ,...... ,.,,,,,,, ,., ..............,............ ,. .... ,., ...... 199

                          m.    l11troduction _.                          _.,1,,_11,1,i ,., • , ~"' • • • • • • • • • , ~ ,         ~·~   ... , . . . . . . . . . . . . . , .. ,-!;•11l1'•1• 4 . . . . . . . . . . . . . . . . 1 , , , 1,•1., . . . . . . . . . . ; . , . , , , , . . . . . , . , 1 1 1 1 9 9




                          h. '1.11c lettcr w·as 1n1;1,thnussibic: ............... ,.,.............. "'' .. ., ...................................... 199

             AppeHants' sentences were imposed jn; "iolation of Booker ............ ,..................... , .....202



             B. FilC1"ll.a.l 'bac:'k,g,roun'Ci                 r!'"'!""'' ""'" •• i i 111 f 11•~ I •••• · • - • l o i ... lilf~/1'111.                  ■   . . . . ,,., .. ;.;,001!11t1"1r•"I·--·-- •• , , 1111111, • • • • • • ,,. I I 111 ! I''"'! .. '' • • •                            ,U~"3



                  1.      The Colt.s ,decision .................... ,,, ..                                            ,,,,.M ••. ., ••• ,,,,,, •• ,,, ... , .... 111 ....... 111!!!!!'••·"'---•"'ol ... A , , , , . , , , • • • • • •                                ~.,,...-t·••1••·209




                  l       Appelhmt Coat.es was e.s.peci.111Uy prejudiced b)' the ,c;m)r ................................213

             D. Mand.awry sentendni vio~aitcs: Br.u:,ft.et, .. ,,. ........... , '""·'""···· ........ ,, ................ ,,, ..... ,,, .216



                  2.      Automatic remand for di:scrctio-n.ary rc:-sc~uencing is re.quir:(!d ........... ,, .......... 218




(Page 193 of Total)
                                                                                                                  App 759
          USCA Case #21-3072                              Document #2077668                                    Filed: 10/01/2024                       Page 194 of 477


                   E.              Resa!ution of Appclhmc:-;' .£\Lb:na11llive chal:lenges. to th.err c{1m•i.;;:tjl'.ms may
                                   ntilignify the Booker crrm by im~ir'ting a direct violation of the Sixth
                                   r\mcndmcnt,, ...... ,.................................................., ....... ,......... ,.............. ,......... 226

    CONCLLJSI()N . ,,,, .. , ..,................................................ ,.. ,, .... ,,.,,,,,., .... ,..................................................... 228

    ADDEl'H)lTh·t

    R.EQUEST FOR ORAL ARGU11ENT

    CERTIHCATE OF CO:M'PLL~\fCE

    CERTIFICATE OF: SER VICE




(Page 194 of Total)
                                                                                     App 760
       USCA Case #21-3072                  Document #2077668                       Filed: 10/01/2024             Page 195 of 477


                  The diir;rrict judge's reaction \,·.as wmng. Witnesses are mteither ~~dc's ''properly" and no

         onr::: has the right to prevent the other sidc from sc.eking lo disc-uss matrers wJth prosp,ecti v-e

         witnesses.161

                            8.        Thi!' Cgurt1s responst to Brady and Jenc-b req ue.sts wu lackadaisic-al.

                  The defense WM further frustrated! by the judge~s unwarranted beUef ,n the pros.ecutn:rs"

         diiHgence when defor-.se COU'IJiel sought Jencks statements or r&_1uested Brady materials. In facr,

         the judge's confidence -i:n £he prOSQCutors m rum over such material'~ proved to be m.ispl.a.ced.

         For in5:tance. when 2 woman :named Chadene Viliison le$lifi"--d abmn the murdtr of Tony Frn,:unc,

         w'lticl!i was. an act charged agwnst Martm and CaJSO!'iD,, she said that :she was present at the time of

         the murder, that Carson had ki.l1ed Port.rimi, mid th.at MJU'tin had dihren Carson from !the oc:e11e of

         the anutder..26~ Yet she had earlLer ,gi veil an or_.tl statcmea1t to the Government that she was not

         presem at the- murder. bu; heard about ~r. from others - a plrun!)' it1c1Jn.-.1stcnt earlier st.atcmcnt 26''

        The Government provide.d tf1e fllI report reflecting the Oir3I stalcment _fasA"T mon.tlhs after \'ililson

         ie.ft the witness stand. indeed, had a tcstifYJng agent not made Ihe mistake of refreshing his

         recoUecli.on by ua~ng the l!liOtes of his c-□nvcrsati1on wrtfirJ Mi. Wilson, it is Hk.e1y tha~ 1hisjamng

         e\l'ide'°ce il:)f f:3bricatio!'.li or gros:s im:::onsistenc:y (d.tl-11:i:r by. M.s. Wilsot1. or llie agent)
                                                                                                               .     would nut

         have been disclosed. 270




                    2'? Gregqry 1.•, u"Jtfred SfalBS. l69 F'.2d Ut5, I87si8 (D.C. Cir. 1966} ('' Bw: we know of nothing
         i.ti the !o.w which gi,·es the proscr:utor the right to inre~ wlth Che prepitr3tim1 of the: defense by
         cffe.:;ti vely denying defi:a,se counsel ~ l ' l to die. w t ~ exccept m. his presence_ Presumably the
         prooa::uror, in hitcrril?wmg the Mtnesses. was tmi;ntlftfibered by the p:eser.cc of <hl:fense rounsd. and
         there seems to. be oo reasa□ why di?fel'l.se counsel s.houkl noL ha"~ an equal opportunity co detenni.De.
         mrough i111U\li.eW$ 'With th~- wi~. what they Im™' about the c85e and what they will k'3ltify to.'1-
                  zM    (2113/0.L Af.,t 24-27, App- 2264-67),
                  WI-            .                    .
                  •     (6114/0] PM 55, App. 3431).
                  1.n   (6114/01 PM 48-49. App. 3434·35t



                                                                    -90-
(Page 195 of Total)
                                                               App 761
       USCA Case #21-3072                  Document #2077668                       Filed: 10/01/2024             Page 196 of 477




        tes11m-0ny of the officer who wrote th-c n::po-r:i, 5aymg ihat he had ll-cd m his official report in



        by the Judge, the defense was not able to recall M.s_ \Vi]$.OJl for i mpeachmt::lll with the prit)r



                  h, fllrllnther 1nsrnn-ce, defens~ counsel complamed th.at the Govemmem had nfn t.fooclo.sed




        Governmcnf :s disclo.sl.lre~s viola.led a s.tilfld1ng order to tum over Je,u::ks matefiaJ within 48 hours

        of the ii me the: wime.ss would be c..:tlk<l to the stand. :rn The judge i;;harsi:;tcrized ;h;~t as dc.fcnsc




        Jencks m.1.tcriaLs '1.hac ilie Gm•ernmc:nt had agreed to provide before she fin1shcd h,cr <.:ros5,-

        examination of Agent Usi, who had gJI\"C:n extensive iesiimrmy irnphcat1ng M&:rtin in ;Sevei;-:l!'l iLlf




         witnes.s that had n-0t been ni:;idc- availab!c: ;L~ Jencks. Thi~ pror:npte-d. th.e judge to larneru that lie


                  i,,
                     (hL 111 :55. App. 3437}. M:s. \Vilton Wi'l:s ilOC. however, ident[f.Led to th.e re:pon, b~U raiit~ w.::u.
         named ,as corulderitia.! informimt"r\''Fl46S7C. {6/l4r"Ol PM 6.3, App.). lhis inc-ideu,. fa. sumd.cntly
         egregious UliU it fom~ :an indcpcudcnt basis; for rc,..-e,sa.L of Car:i:;cm•~ and ~[im's c:onvklioli$ for the
         Fonune nmrdcr. Our rcilsoniing is ::;e.c forth in more d~ll in§ vm below.
                  m (.H 11/01 A.i\179, App. !742).
                  m (Id. , App. 1742).
                 1•14 Vnited Slllit•.y 11. D~!lli,igcr, 472 P.2'1 at 387 n. 3, l ("'On PCClL<:icm [lhc jutlgcj dt.,-clinoo dcfcn5.e
         requcsLS for :a s.hort n:cess far con...-cnic:ru:c •□f defense cuun:sd. , .. ").
                  ri~   ( H'2:2/01 PM 34, App, 3970 {Vol. XVI])),




(Page 196 of Total)
                                                               App 762
       USCA Case #21-3072                     Document #2077668                          Filed: 10/01/2024                Page 197 of 477




         ohligi1ilifn'l to tum over e:xculpatory infomun:ion thi!it i:-. msterial.ly s-igmficam to the defen~e.n6

                   What ts mon.:, the Go•.·cmrncnt ad:1nit(ed thal the i,:i,dtr.iess s.aid he had rn~1.dc notes that H




         i:mpl ic:ated :scvcr.aJ of thos.c on trtal. vmh acts of nan::otrcs lr':cifficling .i:nd violent use of firearms.



         Govcrn:mer.~ knew of this. because rn a debriefing •,1,,•c[; befote ITial. he had confes.Sl!J to Iying.

         The defense comphfrne<l. lhat it had not been provided this. Brady eviaeilllce. The judge

         incorrec.:tly tol<l the tleft:n:se that it wa.s lhe:ir b-urdcn to nr,·es.ugmc whether there was Brady

         in.formatil)n rcgardi ng :;my w1tnc;ss thi.':ll the Govcrmncm had ~ot turned m·er. :n 5

                              9.        T.he district court affunkd the G,>,·emment greater lenit:y in the
                                        p:rese:ntntion of Us case and argun:~nt Utan H did tht ddease.

                   Even tht)ugh the Government's case tasted for :se w;rnl mo:nths, the i1udge never groused

         about Ll1e length of th-e Government's prestmtati □ rL nr threateried lt) lirnit it. When he wss

         JJlfl..>:Sented ,1tilh a Govcmmern wirncss list of 170-odd rumes, his reactkm was to rus.h the di::fe.n:-.;i::,



         to rer,ealcd;y r~-can witnesses so that the pres.entation cou.ld be accomplished in an orderly

                    :m, Untr.ed SUtlt.S V, A8ilt1,',', Ui' u.s, 97, % s. a .. 2:392. 2399~2400 0976} (Brad:,' da:!;(loSure),
         u,.tiJ.eJ Stt:11.es. V. BtJgle')•,. 4'7:3 U.S. 667, 105 $. CL 3375, 33SCJ-S L ( l 9·.85) (b:ape.ad1.mcnt); UniJ.~d Stare;s ,,,
         Cuffie, 80 F.:3-d 514,, 51 S (D.C. Cir, 19%) (.dli.le pro:~ ·lfiol.ntion whtn Gov~mme:□ t faib. to d:i,i;clO;W
         c:,1.:k:ricc: •of witne.,:;:;.' perjury, even ilio111gh witncs-:sa ha:d 11lready been impe-11,ched Olli hll:ti:;. of-drug .11ddict1ot1,
         coo~a.tio~ 11,.greement, inoanti:\'CS to [i;.e, and :S'1'.l fct'lh),
                     !Tl ('.2113/0 l PM 9 J-92, App. 2279-80).

                   r:1,   (4fl 8/(J 1 AM 5-8, App. 2820~2;$).
                   n~ (2f.tU01 PM tot. App. '2'113).



                                                                         -92-
(Page 197 of Total)
                                                                    App 763
       USCA Case #21-3072                         Document #2077668                        Filed: 10/01/2024        Page 198 of 477




                       In this case, !he evidence was far from ovr;rwhclming ::md credibility of 1he Gov,ernment' s



         rhe ke)1, factor, By argui.ng lhat (he witni:.s:;;e~' guilty pleas cou.ld l'?e used as substantive cvidcnc;;

         the Gr,vem~cm ga1•e added. credib.ihry to the ,othc:rwis.c confli.cr.iflig and qucstLor.mbk: ti:::shrn011)'

         of 1nany of rhcse witncsses.

                       AdilitionaHy, the impro~r argument we-nt lt.l the is.sue of Appclfanlf gllHt as to the

        ,ccm:spi:racy and the substantive crimes of v~olence. Fmally. not anl)' did. ihc tn.&! judge not

         in.stru'Ct 1.h;e jury (hijt they could not use the w1tnes.ses' pleas as cvlde:nce of the defendants'

         gum,y, the court thought that there w~ m)tlting !lit all wrong ..,,..,th the argument ,u-::,

                       Bec111u:,,r; the improix:r .lrg~1rne111t was. prejudici,al $rid had a substanti~l h1joriuus effect on

         Appclhmts, the error wa.$ 11ot hamilcss, and the i::onviction.s mu.st be rc:veJ:-scd.

         VIH. Th.e G-o\'ernment•.s Brody \'tOluUon :n.~uire:s that Car-son and M,iairtin't ~ convictions
              for the Tony Fortune murder be "'acated.

                       Charlene Wilwn wa:s the solr: wiJnes~ to p:rc·1,ddc sub:star.iti vc testimony abm.i:L the murder

         of Anc.hony ("'Ton:y'') Fo.rtune           m~   It'll ,act c,harged. against Martin and C..:arron.   Wilson tes:tificd th~t

         she. v.•~5 present at the tvme of the murd'l'!r, :hat Carson had killed Portutte, and that Murtin had

         dri\,'CT'I,   Carson from Che sc:cne of 1.he 1nurder. 4~1 Yet. unbeknownst. to the, defendams, WHson had




                  ~ Jar~s Montgomer~·, Paul f1rnnklin. '"LA." Bl;;'c[Jdt~r, Anhu:r Rice. Paul Tnytor. Reginald
         Swllt-tt, Donald Ni,;;_hols. Ronald Sowle.s. Euger~e Ry.ars. Dcm(!'tTJl!I-S Hulfl1~l'", and Jrunt."5 Rochester we~ L,:TL
         the sta:m! f(Jt lerigtJr,y pe,ric•:fao
                   <l!{1 S.l!e. Wms.01t,. supra (~tarida.rd in:n:iur::tlon ~hat a.rgumeats of co1..msel arc not e.,,.-idtn,;.:e

         imrnfficii:::nt t.o ove«:orn.! prejudice LO defot1dam whi::r~ case w.M dose :a:r.d iimpmper arguroenf conce:moo
         central issut f.11 c.as!::.)
                       sl~l   (2ll 3l0t AM 24-27, App, 2264°67).
(Page 198 of Total)
                                                                                        ,/4.;_')
                                                                     App 764        i     l   ~
          USCA Case #21-3072                 Document #2077668                    Filed: 10/01/2024      Page 199 of 477




                    The Gm,•ernment did not pr<Yv:ide the FBI report 1:etlcctmg the or,d sUlit.emen~ to th,i;:



           let) the wimess stand and four months had eiflpscd. fod.eed,, had me F.81 agent who took

           Wil&on•.s :si.atemcnc. not made 1he mistake of refreshing hi:.;. rec-oUection b1• using thr:: notcS of his



           Wilson o:r the agent) WPL.l:M ~ot. hin,•c beerl disclosed. ' 53 Thi.s: palpable Brady v2olat::ion m.~ff.-riaJly

           cffocted the conNit.1·io1u of C;uso:n and. Martin for the Fortune murder and rcqi.,frres i'eversal of



                    A.         Stand~.rd of review .



           .reasonable probability that t11c res~.llt of the proteedit1g would have: bt:e"n. d.Hfereni h:acl the

           evidence been d~:sc los.ed to Lhc defense, 4:S:5 n revtcwii, the reJat.ccl ~nial of the motion for i new



                    B.         Argum1mt.

                    In Brady the Supreme; Coun held: '"tha.t the iuppress1on hy the pro.se.cuUon of cvidence

           fa ..•orable. to an accused upon request \'iofatcs due proceslio where the evide:nc.c i~ mate.rial cij(her




                    ii.:   {6114/0~ PM S:S, App, 3437),
                    4 s3   (Id at ,ts~.9. App . 1435<36}.
                           Huuly V, Mar;rlana, 373 U.S. 83, 83 ~. Ct 1194 ( J.963).


                    -
                    LS'

                    4 ~1   s~e Moore v. /Wr:IOtS, 408 U.S. 786. 194-95, 92 s. Ct .. 2562 n91:2.).
                   Su. l.hru.c:,l SlaJt:s v. A..rrtl'il~t.0111, iS7 F.2d 1484. 14S6 (4 ~ Cir 1985).
(Page 199 of Total)
                                                               App 765
         USCA Case #21-3072                       Document #2077668                          Filed: 10/01/2024   Page 200 of 477




           eff'ecruate this general rutc, a thrce~part res{ has been recognized to 11Sses.!-l H-lleged BTsa.dy




           infonn;at~on; a dctcndiuu n1iu.st show thiu: "{.I) the evidence m: issue ml.Iii~ be favon-1.bk w chc

           dcfr □ danL. w heilier di.eetl y eM:t1lp~ory or of unpca,;h.mcnt vi;"!]ue; (2) it mw.t ha•Je been




           prnbabHity is a probab1l~[y sllffkment to ur,dernune confiiienc-e in the omc:ome."'L~ 9 The




                    Here, the Go.,,.emment's. suppression of Charlene \.Vhl.sori's oral 5"ta~cments to toe lFB.1




           testimony was damning for Appellants ..,~s the only purportc..-d eycwitn,c:3.5- lo fortune's death ,




           When she [l.)okcid in that direction, shc·claimcd, she saw Garsoo "walkmg ·towards ·fo11-y-.Fortunc1

           shootmng. He then stood over top of lti m and shot. ihim." Sh{: further avc:i-red that she then saw


                    ,i.:rr   Id. an 1-487
                    '~' Spicer\'. l?oxbury (,'nrr. hu.t., 194 ~-3-d 547,. 555 (,,ft Cir. l999·).
                    m l).emr.ry1\1mrr\a ·~. R.itdtie,. 480 U.S. 39, 5-7.. .W1 S. Cc. 989 0987} (.ir.1retru1I quocarloin n-.:Mks
           ornilttd),
                    •400     Kyles 'I!. Whitley, 51-4 U. s. 4 rn, •f°H:i. I l 5 S. Ct.. 15:S:5 (E 995) .
               •,u;i Spicer,. 194 F:3-d ac :562,
(Page 200 of Total)
                                                                        App 766
       USCA Case #21-3072                       Document #2077668                         Filed: 10/01/2024                 Page 201 of 477




        iestirnony hnking either Cats0n or Martin to the Fot11..u1,e sho-otrng, could only have: had a

        powerful effect on rhe jury. ff credited it would be sufficiem evidence to cstabhsh !!l1eEr gu51L



        ;he defondr~nts known that her oral st-atr::me!ITI~ tt:i the FBI dffforc<l matenal.!l v' from her cfrre>:::t        •      •




        1-estlmorny- BtH defondmns 1,1,,•crc deprived of th.at knowk<lg e - i~decd it wa:5 not Ufltufou..,

        moruhs laier in June. , 11.rhen FBf Agent \.Vamner mok the sta111d, that d.iefenruum. lc::amecl of the

        e,xistcnce of a contrary, undisclos.ed FBI record of M:s. Wilsrnn's prim incons1stcnt Li:::~~tin:iony.

                  A:gi::mt Warrener was mmally i::alted by Carson !,~ te.stity for th.t:: r.:1.ther i:nundune purprn;e

        of esrablistung tlrnt Wilso11 was .a paid rnftlrm::mt. ~oJ Though perhaps of :some ~ti Ii Ly irn

         e.stablis.hing Wnls.on '$ bias. tllis tes(1mon y was of rel tm '>·eiy rninor irnrortance, given h.cr gripping

        ckiim Otl the sta:rid to have seen the killing" On ,:;::nil':.s-ex.arninatiu:n, however the Government

         iought {ove.r Ca.rsoiITl' s obj1:.':Ction) to :rchabi hmte Wi~son' !:- tetriimo:ny O}' c,,~bhs.hi ng her prior



         asserted that Wilson had ll.,nld him that Cat:50111 shot Fortune and Martm drove Carson away_.i.os In

         testif:-~ ng to Wilson' ;s; prior consistent sUlirements, ilie itil!!;ent retied upon his report of h~s

         lntcrvi.e:\\" with Wilson to refresh his recoUectioo.ilM Thus, even though the report of the


                   4iU      (2Jl J.l0] A.~{ 24, 25.,27, App. 2264..,(jT)c
                   "'5 3• (IVlMOL      P?t.·I 28, App. 3245) .
                   .:i6'!   (6/ 141\J I ~1 38.-19, AJlp. 3429-:lff) (overrull~,e: -objection w '.L,<:e nf prior cun.siscertt s.tatcmen[
         for rehabilitat ion).
                   ~; (1.ti. a.c 40; Ap-p. 3-U i) (FDI agtn, ~~5'tifyiag ltl pric~ «insistr.□ t im1teme-nt af Wilson ide:ntif~•mt~
         C:JJtson as mU1M-Fe':' and Ma.:rtiii as drivert
                  ~ E.g. (6/l.4l0l PM 44, App. 3432) {''Cm I rcfr.r to my fli:J''utT);U.a'. .al 45, A.pp.:
         (r{:"..a.d1ng r;;,;pnt1 to h1m!lf';!f :lt1..d then t.c,sti.t)ifog), R~~:ilusc \Vilnm was a i::nnfidcntial
                                                                                                                   info~Jiilii:i
(Page 201 of Total)
                                                                     App 767
        USCA Case #21-3072                          Document #2077668                                   Filed: 10/01/2024   Page 202 of 477




                    To the defend.a.nts' surpri.:se. v,1hen they recewe,d lhc repm1 they learned that .it




           Hild him ui.:11( .s.he hJd ··nea.rd'' the mfomrntio:n aoom the for,une m11rtler - 1101 th~ she had seen it




                    Agent \V-3rrcncr ackno•,,,·kdged that h1s in·vestigative insert was. a fabric.a.tmt~ but. te:;.t~fie,d




           \Vtlson l1acf ··told. (rum} thal she wit:r:ir:ssed both evcnts.'..:.w Agent Warrener maintained utis.




           as. confidential iniforrnant \VF14681C,-1a 1 i

                    Tc1 be s,ure. the Goverrunent prese.nted s,i:::nn~ indirect evi<lent::e th::!it pr:.1rpcmed to connect

           Martin :and Carson lo the murder - bm that evtdence was co!llllicting arid m1r.elfob!e. as we




           iden~,i,ty wiu 10 be p-to~ced, A.geoc Warrener' .s imer,Lew oot(.S ~-e Dot placed itl a formal FB [ 302
           :n:port.. ltathc:r they were madt:i pm of a:□ investigative: ··m.,;erf" included in lhc invc.:;ltiga.tl,,·c: files. {Id. .at
           35, App. 3428),
                    4.(,.,   {   fd ~t 48 -<19, App . 3434-35) (ordc:ri.Tig prodLLi::1 ior:i of n:[)Qrt).
                    4M O'd, .il 55.56,. App. 3418-39) ("Q: IY]oW" report does say tl11Lt tbe source hea.rd '11:tls
           iufonn11tio•~~ i,,~o "t that lig,ht 7 A: flJ.ijt' s c:i1mcE.").
                    469 (C'il 14/0 m PM .55. .App. 3417).

                    "'1'11   {6/ 14I01 PJ\,t 60. App. 3440}.
                rn (6/l4ffil 1PM ,(jJ, App. 3443)
(Page 202 of Total)                                                                              1
                                                                          I,"· ,:,.:......,.i' ". ",I


                                                                          App 768
                                                                                          11__.t
        USCA Case #21-3072                    Document #2077668                  Filed: 10/01/2024           Page 203 of 477




           explained in discussing tht: VICAR con.victioru;' shortfalb. 472 \Vfol-e S()m_¢ ,i;;oope:ratmg

           Gcn-·crnrne:H v,,iirne:-.scs tcs.L!ficd that Jcrnme Maron co:nfe-sscd oo them L~at Jie h~cl killed Tony

           Fortum::/ 13 another te.stifi.ed th@t Mr. Ca_:rson h:\d ackno•Jdedged his resp,onsibilit.y. 4Ja As. w,ih .1-U

           of the cooperating \'!.'ltncs.::.c.s, each of the..se had a ~ubstan!ia.1 cn:rninal recc)rcl. rt:ndc::ring his

           um:um:ilx.ir£J:ted     te.stimony, af lin~e v~l::r= .. And 1hc onJy corroborative cxtrins.ic evidence offi:,n::d

           ~"·as chat of Officer T::.,:rorie who testified lha! 1'li.·o rlays ~fter the Tony Fortune mmder, Jerome

           Martin had ··h~h" marks on his har.d which the Office:- belEeved co he. caused by slide of~ semi



                    Given Lhi::: time c:cm&Lraints pia.:::-e.d upon defense counsel by theJttdge the d(;:Jen!ie •;,.·as not



           it: il) \Vil son, m fact. told Agent 'iVarrener she only "heard"' about Ute mur<lcr and later changed




                    Herc. the sole eyewitness w the Fornme ma.mi.er war.dd ha\'e been. subject t(J de,..a:stali11g

           crns.s~examination based upon the rnco □ststency bcrn·een herclatmed "eye witn.i:::ss'' status and

           hi:r prier statements to 1he FBL Maybes.he •,:i,•ould have c::,-<pl2med the i.11cons1stcncy in Ulc srune




                    4   t:~ Se~ wp,w ·§ [V .C:2.,
                    03      (4/4/0l AM 86; 419/01 ?M 14, App. 2135, 2764).
                    ,,,11   (4/25/0l A.\1 J0-41, App, 2917"!8); s~f! a.fso (3112/0B PM M, App. 2942} (tc:stin·--·· _..
           Montgo:rr.;cry).
               -= ' C:i/6105 PM 70, A~,p. 14:~1).
                        1
(Page 203 of Total)
                                                               App 769
         USCA Case #21-3072                       Document #2077668                         Filed: 10/01/2024                Page 204 of 477




           made Lha1 rhe. potentially significant cros:o;...ex,an1inatim~ ,1.. as not "materiaJ." Tile Govemmenc's



           lX.     The ~ount..-. in the imfo.:trne:nt r-elaiting to activiti~.s i1t 37!.li StreEt were improperly
                   joined wilh (he, ltiail of tht C(inspi.-a<.'}' ;,.1:nd RlCO couu.l.5 1 uod lhe denial of
                   ddenda.nts' :sc\'~nut<:(' Dltltlon was i!r.ro.-.

                    A. Standard of review"

                    Whi.:::th-er defe1ldarlb or counts 1n ai1 indictment are properly joined far trial is a legid

           question, subject to de rw,.•o rcvrcw. Where counts are proper] y joined, me question 1;.vhether the



           not pe.nnitted by !Fed.R.Crim..P. 8(bt the convictions i.-vW be re,•erscd unlr~s the Gi:;,,•emment (:an



                    D. Airgu.m~nt.

                                 1.         Procedural background.

                    CouQ!S. 3 a.nd 9 of the 1nd1l:ii.mem charged Ma.run with murder of Amhony Fotrune and

           assauilt on officer Marc Lmk. Coun: 2 e:hargcd a R1CO coTJspir.ic;:y, wi1h Predic~ni: Act Number



           Keill.lt Bra-dley, Kei!i.h Thonias, and Officers, TrcadweU. McDonald. Uttlc a~d Ray, and Number




           Ke~lh Jc;me.r;_ AU r.hese counts and predicate acts grew out of events on -:n1h Strnet,. sE,41'.fl




                    "'1"   5pr.c.e~,.
                           ""         19~F3d
                                      . •t . , ac• ·"·  .;,,
                                                   -1::5'-·

                    •n United .Sla.te.s i•. (lame.s) .Brtnw'I., 16 FJd 42J, 426 (D.C. Gr. l 994)"
                    478    WitrieiS;BS ref:BJTcd co lhe 3re,11: H einhe:r 1♦ 37'11 Str-2:et'' 01 "31dl Pla-:::e ." Por eonv(I'.11
(Page 204wm  tlemJmiuatc the atM '"3"1°' St1eet.''
          of Total)
                                                                      App 770
       USCA Case #21-3072            Document #2077668             Filed: 10/01/2024         Page 205 of 477




                                     lUCQUEST FOR ORAL ARGUMENT

           The Appellants hereby request oral argument as trus appeai: a} involves legal is.sues that

    warmrn the Court" s plenary c.onsidc.ration.;. and b) requires review of factual matters of

    complexity where counsels. fam.iHari:ty with the record wm be of assistance to th.e Court
                                 1




                                     CERTlFICAT.E OF COMPLIANCE
           I cettify that this brief bas been prepared using Mkrosoft Word Times New Roma_n

    12.~point typeface. .E~clusivc of the tab.le of conten.ts; table of citations~ statement with .respect to

    oral argument;. addend11m; certificate of compliance: and -certificate of service the brief contains

    71,583 words: in confonnance with the Court's February 23. 2005 On:ler respecting bdef ~ength.

           1 understand that a material misrepresentation can result in the Court's striking the brief

    and imposing .sanctions. If the Court so di.re.cts, I wm provide an electronic version of the brief
                                                                         _,''/
    and/or a copy of the word or line primouL
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                                                                                   f
                                                                            ,II



                                                              _ 1,/."'~/-

                                                               Paul Rosenzweig


                                          CERTIFICATE OF SERVICE

           I hereby certify rllat a true and correct copy of the foregoing was served by Bleettonic

    .f\.1ail (and First Class ~il) on thfa 251.b ~y of April, 2005 upon:

           John R. Fisher, Esq .
           ~1.acy l\iicCoro Esq.
           Assistant United States Attorney
           555 4lh St NW
            W'ashington, DC 20004


(Page 205 of Total)
                                                   App 771
           USCA Case #21-3072   Document #2077668                                          Filed: 10/01/2024       Page 206 of 477




                                Nos. D~-3015, 02-3016, 02-3017
                                  C,2-3018 1 02-30:19 1 02-3046

I.
I




                                                                                                                            .Appelleer



I
                                                                                                                  Appellants,




                                                                                                           ~- ~ (~ ~-~ : ~ ~-:1~;- ~ ~ ~-=- ==-~ -~ -~~~~=7,_;.=. - ~ :
                                                                                                                    :   .   ~   ~-   ~~ =--=.          ==-,~--= =--=-I:"-.




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                                               ;,. :_-. ::. 1( :-(' ,_:. ~!-   _.,./.:,._,\··· ·:
    (Page 206 of Total)
                                           App 772
       USCA Case #21-3072               Document #2077668             Filed: 10/01/2024             Page 207 of 477



                                           CERTIFICATE 0~ PAP.'!'!ES,
                                         ROl.INGS, AND RRLATEEl LJLSE::!::

               Pursuant to D. C.            Circuit Rule 28 (a) ( l) 1 app-ellee,                   the United

         Stateg of .i\merica, hereby states as follows:



               A.                                          The    par ties       tc    th '.i !S   ~pp8..t 1    a re

         app<illa.nts William Sweeney,                Sa.mu~l Carson I          Sean      Coates,         ,Jerome

        Mart.i.n,     and    Vin,c,en t     Hill;   and    app-el lee I        the    United        $ ta te.$    of




               .B.     I~:ul_it':19 s   Under   Review :         This     is    an    .'il.ppcal      fro:n     the

        judgffl0nts of United Sta.tea Dist~ict Co-JJ:rt. Judge Thomas                                 Penfi.eld

        Jackson after appellants we:i::e tound guilty in July and August                                       2ao:
        of narcotics conspiracy, ::ackateeri.ng conspiracy, rnurde:i:- and ot:.hs,r

        violent crirr.es I          narcotics:      tra:ffi<:!king,     and      weapons           possession.

        Appellants challenge numerou~ ~uling~ made by the district judge

        throughout the eourso of the trial and during ju=y delibe~~tions.



               C.     &elated Cas~):~::         There axe no related ca:::1es and this case

        has not bee~ bQfore th~s Court previously_




(Page 207 of Total)
                                                     App 773
       USCA Case #21-3072         Document #2077668                   Filed: 10/01/2024    Page 208 of 477




         COUN~ERSTATEMENT OF THE CASE                                                               - 1

                      Vineent Hil1                                                                  - 2

                      Jerome Mart.in                                                                  J

                      Sam.ueJi. Ca:i:son    "   .   ,                                          - - . 4

                      Willi.am Sweeney                                                              - 5

                      Sean Coa:tos .                                                                  5

         COUNTERSTA'!'~N'l' OF THE FACTS                                                              ..,
               l.     THE GOVERNMENT' S CASE                                                          7

                            ~o narcotics conspiracy,

                            The .RICO ,oon~pira.cy                                                  13

                            l ,     Vi olance           t:o   pro tc o t   turf   or
                                                                                                    14

                                    a.      Murder of Lar·ry Wl:'i.ght ..                           14

                                            Murders            of   Nau.rice
                                            lfallma.n         and   I.ceona.rd
                                            Hy9on                                                   17

                                    e   <   Mu.rders.          of     Torasa
                                            'l'ho.n4:s        and     Terita
                                                                                                    19

                                            Murder of Anthony For tune                              22

                                            Shoc-t.-ou.t a.'t 60~ and :E:a:st
                                            Capitol.          Streets                               23

                                   f.       Shooting of Ulysses Engl.ish                            27

                                   g.       Feud with Kentucky Co•urt~                              28

                                   h,       Feud with Condon Tarrac;e                  .            29



(Page 208 of Total)
                                                        App 774
       USCA Case #21-3072         Document #2077668                         Filed: 10/01/2024   Page 209 of 477


                                                              i.1.




                                    i -       Murder of Donnell Whitfield                                 30

                                    J.        Feud with L Street ,                                        32

                                    k.        Shooting of Popa Mark Phillip                               JS

                             2.     Violence to enrich tllem$elves

                                    a.        Simmons kidnaping                                           .:n

                                    b.                                                                    38

                                    c.        Murders                of     .Alo:n~o
                                              G.a.:.kins 1                 Darnell
                                              Mack,       and               Melody
                                              Anderson_                                                  40

                             3.    W.itne.s$ ir+timid.;1.tion                                             43


                                              w i. tne.s s.e s
                                              against                      Maurice
                                              Proctor                                                     43

                                   b.         Cena.piracy to mu:cde:r:
                                              witne::;ses              in       case
                                              against                      Jerome
                                              r:-:ku:t.i.n,          and    mu;z;,:l,::~
                                              cf              Ch.c-1..shauna
                                              Gla.dden                                                   46

                                              Shooting of J~~~s Coulter                                  48

                                              Murder of Robert Smith ,                                   51

               I .I .   TRE DEFENSE EVIDENCE                                                             53

        SUMMAR'! OF ARGUMENT .            .                                                              57




(Page 209 of Total)
                                                     App 775
       USCA Case #21-3072         Document #2077668           Filed: 10/01/2024      Page 210 of 477


                                                 iii

                                                                                                64

               :r.     THE TRlAL JUDGE DID NOT ABUSE HIS nISCRETION
                       BY EXCUSING JUROR 3 FOR GOOD CAUSE UNOER
                       RULE 23 (b) (3)                                                          64

                             Factual and procedural b.l.c:kgroun.d                              64

                      B.     Stan.dat'd of r,a-view .    .                                      '15

                      C.     The trial court's finding of good cause
                             to    remove juror   3   wa:e:          adequately
                             supported by the record.                                           76

                      D.    The     trial    court di.d not. abu~e it:s
                            discretion      by denying a motion for a
                            mi.strial.                                                          91

                            The ex p.arl!.c!:1 c02mi'liunicatio ns wi. th jurors.
                            1, 3, and 17 did not. violate appellants 1
                            cons ti tutiona,l or st.a.-tutory r;_ghts.                          92

               II.    THlt DISTRICT JUDGE DID NOT DENY APPEi.LAN:l'S
                      1\ FAIR TRIAL.                                                            96

                      A.    L-t)gal principles and :standard of review.               .

                            A,Ppellan t.s   have   n O· t. :t) hown that       the
                            d.iut:r.ict judg-o d-Oniod t.hom a .fai.r
                            t.ri.al.   ,


               l'. t I. THE ADMISSION OF $1'.rA'l'EMENTS BY ROBERT SMI'.CU
                      DID NOT VIOLATE J!i.PPELL?ufTS I       CONFRO?:~TATION
                      CL.AIJISE RIGHTS ,                                                      112

                      .A.   Factual and procedura.l backgt"ou:nd                              ll2

                            Legal principles a.nd standard of reviow                          113

                      C.    The  trial court did not clearly ~rr
                            in  determining t h a t a l l defendants
                            had    waived  their      Cor.f:t<ontat.1.o n
                            Clause and hea:t:S,ti,y objections: to
                            Smith's testimony . .                                         . . 1.17




(Page 210 of Total)
                                              App 776
       USCA Case #21-3072          Document #2077668                   Filed: 10/01/2024             Page 211 of 477


                                                         iv

                      o.     'I'hc trial ,:;::ourt di.d not clear!~• er;i:: by
                             determini!"l.g    th.fit  Smith   wa:s  a     co-
                             conspirator and that Sweeney's ~t~tcrnonts
                             were in furtherance a£ the conspiracy,                                           , 12 4

                      E.     Any -error          in   the     admission             of   Smith':;:
                             statements was harmless.                                                         . 13C

               IV.    APPELLANTS WA.r\i'ED THE1R CONSTITtJTIO~ CRALLENGE
                      '1'0 19 U.S. C. § 1959'" AND THXRE WAS StJFFICIENT
                      EVIDENCE TO SUPPORT TKEIR CONVICTIONS UNDER THAT
                      STATUTE,

                      A.     Appellants               wa.i,.ved            thei::         facial
                             constitutional challenge tc 1B U'.S.C.
                             §   l 959 .                                                                          134

                      B.     The VICAR statute is e~~stitutional                                                  13 6

                      C.     'the evide:r.c-Q wa5 sufficient to establish
                             the elements of LB U.$.C. § 1959 on the
                             challenged counts,                                                           .   .   142

                      D ..   There is n0 reason to vacate                                the   18
                             u.s.c. § 924(c) convictions.                                                         151

               V.     THE FIRST-DEGREE MURDER CHAAGES Al:ID CM.ARGES RZLATED
                      TO 37"' PLAC.E WEP..E PROPERLY JOINED                                                       152

                      A.     Legal principle:!;! and $tbndard ¢f review                                           152

                      B.     The    first=degrG'1:            ltH.u:·der     charges        were
                             properly joined.                                                                 . 153

                      C.     The cha:rges involving                    3 7t·:,   Place      were
                             properly joined.                                                                     159

               VI.    TH.E. OIS'I'.'Rl:C'l' COURT OID NOT ABUSE I'TS DISCRETJ:ON BY
                      EXCLtmING THE GRAND~JURY Ti:STDro·NY OF UNAVAILABLE
                      W!TNE;SSSS     ,   .   ,                                                                . 173

                             I,~gal principles and standard of :,:.-eviow.                            ,           1'13




(Page 211 of Total)
                                                      App 777
       USCA Case #21-3072              Document #2077668                Filed: 10/01/2024   Page 212 of 477




                                                                                                  . 173

                                  l.     Factual       a.nd
                                         backg.:cound.                                            . 173

                                  2.     The     district          court     did   not
                                         abuse its diser-etieift i~ finding
                                         no similar2ty of motive.                                 . 176

                                  3.     Any     e~ror       in     excluding      the
                                         grand jury testimony of Pi.nk.ney
                                         ar.d   Owens wa5 hannle~s.                                   183

                       C.        Hil1 1 s proffered evidence.                                         184

                                  l.     Factual             and           procedural
                                         background                                               . 184

                                         An.y    e~ro~       in     excluding      the
                                         grand-jury testimony of L.Tenifer
                                         was harmless.                                                184

               VII: . THR     PP.OSECUTO!K' S REBUTTAL ARGUMENT   WAS       NOT
                      rMPERMI:SSlBLE rum DID NO'I' SUBST.ANTIALLY FREJT..;'"OICE
                      At:-P£tLAllTS .                                                                 18 8

                                 Faetual and p~ocedural backg1:ound.                                  188

                       Fi .      Tho       prc~~cutor•~
                                 plilrm.is.sibl0 .and did.           not     substantially
                                 p:rejud.ice the trial .                                          .   191

               VIII.          AFPEL-LAJ-iTS HAVE NOT EST~scS~L: 'S:ffED ItNY EtR;py
                              VIOLAT.!O~~S

                       A.        Legal prin.c:iple:3 and st-..l'\d1lrd of
                                 ~0vicw.               . . . .                                  . . 196

                       :a.       Cai:r:aon and Mattin have not shown that the
                                 cela.tod    discl.o:111u~e Qf al1eged Brady
                                 inform.a.ti-en was plain error.        . . . .                   . 19'1

                       C.        Sweeney        has.   not        esta.bl.ished    a   Brady
                                 violation.



(Page 212 of Total)
                                                       App 778
       USCA Case #21-3072           Document #2077668              Filed: 10/01/2024    Page 213 of 477



                                                     vi

               IX.    THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION BY
                      DISALLOWING THE HEAllSAY TES't!~ON\' Of WESLEY SM1:1'H
                      AS SUBSTANTIVE EVID.E.NCE.                                                      206

                      A.      Factual and procedural :ba~kg:r:o'Und,                                  206

                      B.      The     statement      was   not       admissible        as
                              substantive       evidence    under       any      hearsay
                              o:xcoption . . .                                                    .   207

                      C.      Even     if   Robert    Sm.i th' s     statement       was
                              ad:missil::ilra    under    Rule       80€            £or
                              impeac:lul:'lent, its -0xclu:,ion was:
                              harmless.                                                               210

               X.     TH& DISTIUC·!' COUR'I' DID ?~O'l' AB~)SE ITS DISCRETION BY
                      ADMITTING A DOCUMENT SEIZED FROM HILL'S JA:L CELL,
                      AND DID NOT PLAINLY ERR BY FAILING TO SUA SP'QN't'E
                      SEVE~     THt    CASE     AGAINS~    SWEE'h'EY        OR    REDACT    THE
                      DOCUMENT'S REFEF.ENCES TC \'SHORTY. '             1                             212

                      A.      Factual and pro-cedural ba~kground.                                     212

                      B.      The document wa~ not 1nade '' i.r. tho cour~c
                              of piea discussions with an attorney for
                              thE1 Government." .                                                 .   213

                      C.      The distr.ict co1.n:t dict :'\Ot pla.inlji ~.rr in
                            failinq to sua. spo:n.te ,::rrant a .seve~ancei
                            ,or ordiair the doc,.un.ent redacted.                                     216

               XT.    THE TRIAL COURT !DID NOT ABUSE ITS DISCRETlON                         BY
                      PERMITTING LIMITED E'\IIDENCE Ji,P:C~UT WAYNE PERB.Y.                           222

                      A.    Factual and piocedural background.

                      B.    The trial COUJ:'t did not abuse its
                            discretion by admitting evidence about
                            W,ayne l?orr-y,                        . . . 226




(Page 213 of Total)
                                                 App 779
       USCA Case #21-3072             Document #2077668       Filed: 10/01/2024      Page 214 of 477


                                                     vii

                XII,    SWEENEY        ABANDONED ANY    REQ'L"EST FOP, BENDER; S
                        l?SYCHIA'I'lUC RECORDS AND I IN AN'f EVENT , WAS NOT
                        RES TRIC'l".E.D FROM CROS S-EXAlUNING BENDER ABOUT HIS
                        MENTAL.-B:EALTH TRS:A.TMENT .                                           2:n
                        A,      Faot1Jal and procedural background.                             231

               XI.II.        THE. REFIJSAI. TO STRIKE THE HEARSAY TESTIMONY OF
                             EUGENE BYAAS WM AARMI..ESS,                                        236

                        A.      Factual anci procedural background,                             236

                        B.      The refu9al :o strik~ Byars's hearsay
                                testimony does not warrant reversal. .                          241

               XIV. THERE      WAS         SUFFieIENT   EVIDENCE             Of' 'l'HE RICO
                    CONS:El lRACY          ANO  OF   APPELLAl-rT S '         AGREEMENT   TO
                        PARTICIPATE!~ THE CONSPIRACY.                                           24.3

                        A,                                                                      243

                        B.      Coates's and Martin's ctairns.                                 251

               XV.      THE SUP:ro!~ COIJ'RT' S DECISION IN BOOKEH      --- DOES NOT
                                                                       ---   --- -


                        REQUIRE A P.EMANO roR P...E:S:e:tn-ENCINc; IN TH rs CASE               2 61

                        A.      Procedural backgro~nd.                                         2 61

                                1.      Vincent Hill                                           262

                                2.      Samuel Carson                                          263

                                3 -

                                                                                               265

                                5.      Jerome, Marti.n                                       . 266




(Page 214 of Total)
                                                  App 780
       USCA Case #21-3072       Document #2077668                   Filed: 10/01/2024   Page 215 of 477


                                                      viii

                      B.   The di.strict court w-culd not have i.Inpoaed
                           different   sentence::;;., materially   more
                           favorable       t-o appell:utts,
                                                      the   had i t
                           sentenced unde~ the post=~poker regime.                            . 26"1

                           1.     Caraon 1           Sweeney 1      and   Coates
                                  wero :not projudieecl. bec.a\lse the
                                  district court ·was statutorily
                                  required         to      impose      life
                                  .sent,a,nc:a:s on co:c-ta.1.n. counts a.n.d
                                  addition~l               consecutive
                                  sentences on other countn that
                                  add~d      ~p        to    tho     f~nctton~l
                                  equivalent 0£ life sentences.                               , 2i1

                           2,     'I'hG   roe<l rd          show$     that    the
                                  district court would not have
                                  sentenced     appellants   H1ll,
                                  Carson, or Martin to ~~tcrially
                                  mo.re favo:i:able sentences had
                                  the co~ rt been .1-warc of th~
                                  post-Book~~ sen~encing
                                  regime.        ,                                              275

         CONCLUSION                                                                           . 281




(Page 215 of Total)
                                                     App 781
       USCA Case #21-3072                   Document #2077668                          Filed: 10/01/2024                Page 216 of 477

                                                                  196

        1260 n _ 3         (without finding errc,r in adm.ission of guilty pleas                                                    cf

        tastif?t'ing co,operato:i::·s, holdi::-i.g any c,rror was harmless bocause j ·.,1ry

       was instructed not to consider guilty ple.as a,:; subs.tant:ive evidenc(J

       against appellants)

        343,     361       (D. C.      Cir_      1988}       (citing         cases               v;.-!!llpha.s i zing   "curative




                Finally, this was not~ close case_                                        Although the 5trength of

        the g:overnm.(::nt.' s ~vidence varied from cc,unt to count. and def~ndant

        to   de fondant,            the    9,overnm,snt presented                      -l.T'l.   extremely         5 t.i::ong    c::ase


       ove:r:all that ~ppella.nts ware part of an organization whose goals

       included        the         di;::;tri'.::::n.Jtion   of    ~riJu.:-r.f;"l.a         and       the     enric1m~..::nt       and

       protection           o.f     its     members         through       vio!.ence.                   Every       c;t"ime      .~bout

       which thot'"e was ovid,cmcc: pres Gt'! ted                        W"1.S    .shown to be i,n furt.heranc:r~

       of      those       goala.            Viewed         against        t.h::i. s       backgz:-ound,            the      single

        statement by the p:t:'osecut-o:i:::, buried in a lengthy rebi...;tt..a.l arg1,.1ment

       after       tr.ore         than      aix      months         of      t:estimc-nx,

       substantial L:i:• prejud:ic-sd app-ell.:rnt:s _

                VI t I .         APPELLANTS HAVE NOT ESTABLISHED ANY BRAD_:g:
                                 VIOL.ATl'.ONS ._       _ __ _




                Whe:ee      a.    ~;--agy~'~ 1 violation is alleged, the materiality of the

       undisclosed or b~latedly disclosed evidence is a. question of law,




(Page 216 of Total)
                                                                 App 782
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024           Page 217 of 477

                                                        197

       reviewed 4~ J;l,ovo.          D:nj.J;_~_g__ StateJ; _v. Cu.f%ie, 8G F. 3d 514 1 517 (D. C.

       Cir. 1996) .

              Not      eve1:y    failta·e     to     diselose        poteriti.ally           e:xculpat.ary   or

                                                                                               A.1 though the

       term "l:i:i;,_ady violation'' is •· so::neti~es utlied to refer to any breach of

       the    broad      obligation         to     d.isclo:sc       exculpatory         -evidence

       :1trictly ::'Jp,-eaking,      there is never a ~eal                 ':arad}' violation·         unless

       the    neit:!disclasu:re      was     so     s:ericus        that    th.ere      is     a   reasonable

       probabilit~•         that    the    ~-uppriessad      cvider-1ce      'W'ou.ld   have produced         ,;;t.


       cli.ffe~ent verdiGt. "          Stric}cl_:§fV._.Gr":)One,           527 U, S. 2 63, 28:l ( 1999) .

       "A     'reasonable          probabil.i ty'       is      a    probability             sufficiont      to



       U.S.   661,682        (1985}.

                       E.       Carson and Martin hav~ not shewn that the
                                bel.ate:d   disclosure         of     .allege-d !,~ady
                                infoz:--mation ·,.;,a~ --E1ain er:i::_or.   -------~-

              Appellant Carson called FE! Spacial Agent Chris Warrener tu

       impeach Charlene Wilson by establishi~g that she wa~ a paid Fl!il

       informant at the ti.me ::.he provided i.nf:o.rnation that .sho had .seen

       Carsen snoot A.nthony Forti.m.e an.d drive away with ~a.rt-in { 6/14PM 'I;1::.

       2 9-30} .      During his z:edi:z:ect examination by Carson. Agent War:rene.:r

       roferrQd to his notes in ordreir to :refresh his: recollection (6/14PM

       'I"~-. 44-45} .      Th-a district judge for this reason ordered the notes

       turned. over to daf,cm.ae counsel (6/14PM 't:i:.                       48--49) .        Warrener had




(Page 217 of Total)
                                                      App 783
       USCA Case #21-3072                         Document #2077668            Filed: 10/01/2024         Page 218 of 477

                                                                   198

       al:ready ex-plained th.at, in o:t'de-r to protect Wilson 1 s identity, he

       did not write up the information sh0 provided in a gtandard ronn

       302      (u:s-ed fo~             .inte-rv.11:,ws      with people exp~cted to be calle--d .as

       wi t.nesses          in th~ £utt::!re) , but wrote ;i. t up                  i:-i   an anonymoi.ls fnahio~

       as ari- "insert''' {6/l-4PM ~1.·. 35).                       Warrener te5tificd thti.t FBI aget1.ts

       us~     this procedure                      !or    inform.ant:s    who:se:    idon t i ty    thGy     ,;,,•ant   to

       protect and who they de not antic~pate will te~tify in the future



                After          a    roi::;es:s      for    defense       counsel     to     ~ead   the     "insi0:c:-t,"

       Carson's             counsel              resumed     his    examinat:ion           of   Warrener     witho\lt



                            Marti ti's             counsel    then   ex~i.ned Warrener,             a.ls,:;, wi thcut




        (6/14FM Tr. 55).                     M~rtin's counsel did, however, q-~estion Wa~:rener

       oxterH~i vely abe,u t                     the f ac.t th-at hi:s report !;a.id that Wilson. had

       told him that she                     1   'heard'! th,~ infe:rmat:ion ab(;:,ut trJ.e Fo~tuna murdg~

        ( 6/14PM T:r.           55-56) "            Warr-ener explil-i.ned that this is tho style of

       wri. ting the FBI use:s in order t,::;, protect the ideri.ti ty of an ongoing

       ird:orrnant          {j,_,:::L.) .    He disagraod th.at i t was ititended to mi.sl~ad the

       defense; axp.laining that it va.s :never anti..eipatcd that. Wilson lll'OUld

       boeome a tes,ti.fyi:ng 1titnes.s at trial                            (id.) .

       that      the        report          wou.Ld be di~s.ami.natad           to other law-enforcement

       p~,u:·.!Jon:nel. t      a:nd         ho    wanted     to    protect Wi laon' s           ,eonfidenti ali ty,




(Page 218 of Total)
                                                                  App 784
       USCA Case #21-3072               Document #2077668              Filed: 10/01/2024         Page 219 of 477

                                                       199

       Warrener       wrote    th8       r0port   to    sa.y    that Wilson.          had      "heardf'           the

       information I even though she was actually ,an eyewitness                                     {,i_q_,J ,

              Car.son. 1 .s   attorney         then      wa.s     permitted           to       rasuma             his

       exaroin,ation, a:nd fu:rthet: qu;estioned Warrener about the re,ferenca in

       the inse:rt to         the       ~1:~our,ce" having \•-heard' 1 about what happened,

       rathar than :soeing it herself (6/14:i?M 'I':r, 59--61).                       Carson/ s coun:,e.l

       sugge:s ted     that Wa.r.renor         had     been     inconsistent.             in   his     report,

       sometimes using         11   hea.~d" and other t:im.es writing i.t up as though

       Wilson    had .been          a   witnes~   (:i:'L)         Gary       Pri<:!e' a    attorney          also

       exrun.inad Warrener axt.en:sivel.y on the matter                          (6/14:PM Tr.          61-63) ,

       Pric0 1 s attorney @lic:i.ted that Wilson lil'a:s net :;efo:i::red to by name

       in the document r thus suggesting that War:rena.r 1 a oxpl~nat~on 1iil'.a.s

       ineredibl.a because Wilson's idGntit~{ was alrea.d.y welJ. protected

       (6/14l?M Tr. 63).

              Although appellants now claim (at 143} that Warrener; s insert

       cont.$.inod. !!~-!i_gy ata.terial that should have be.an disclo:.ecl EH:u:li~r 1

       appellants do not claim to ha¥e aver made $Ucha Br~~ claim in the

       district r:ou:c-t, no:i:: have we fo'!Jnd one in the record.                             Similarly,

       al though appellants now claim                  (.!it   14 7)   that thay were unable to

       recall Wilson as a w,it.n,eas beea,use o,f time constraints pl.aced on.

       them by th$ di~triet c:ourt 1 the:y point. to no request t:o re-call, he.:t,

       n.o request fox- aasistance in locating her                       f    .E1:nd no ;equ.a,st f'or a

       continuance in the. IL"ecord, alld we have fc:n,;md none.                           I.n fact:., there




(Page 219 of Total)
                                                       App 785
       USCA Case #21-3072                  Document #2077668                   Filed: 10/01/2024              Page 220 of 477

                                                                ;200

        was a.re.ple time 'to recall. W,ilson if the defense had desi:l::'ed to do

        so, a.s the dcfen.so case cantirrued for another five trial. days OV4~:t;"

        the course of 11 cal<stndar daya.

                 Having faLled to prc~erve their Drach' claim i.n the di:s trict

        eourt., appellant.s' claim i,::; ;,:::eviEn,red for pl.ain error only.                                       Yn.iJ;...~g

        s ~a t~~L v. J~.!P.bJ W.ilsort, 160 ~·. 3d 732 i 741 {D, C, Ci:r. 1999)                                      (where

       alleged ~ra£tl: material disclosed mid-tri.al and appellants did not

        .req,..::icst    a     continuance         or     a    mist.rial I              or   even     claiun     a    Br{l.g.y

       violation, :§~.~ claim reviewed on a.ppeal. for plain er:c-or) ,                                               There

        was no e:r:cor I much              less pla.in. error.

                 "[tll) nd41;r Brad~,           'the prosecutor is not requi:ced ti::::, deliver his

       eoti.rG          file    ta       defense    counsel,         but      only           to disclo:se evidence

       :fav,orahle to tbe accused that,                           if suppressed, would dll!prive the

       defendant of a fair trial.. '' 1                       Uni t~_d. St&t:-El.s v, Tara.J!!j.._no         j   846 F, 2d

       1384, 1416-1 '7              (D. C. Cir. l 988)          (quoting Ba.gl.'EY."r 473 U, S. at 67 5) .

       To     prevail.         on    a    claim     of    a    !3-.;J:tdy   11iol.ation             based   o:t :bal~!.::.c!tl

       diaclo:sure,            appellant:s ~u:st show th.at,                       11   had ·the stat.,aments been

       di:scloaod. earlier, there is a p:ebability auffici,;;nt to undermine

       our conf:idenc-e in                 the actu~I. outcome                that           t.he    jucy would. have

       3.c.qui t. ted. ,;       TaranJ~_illQ r 8 4 tS F. 2d. at 141 '1 .                 Appel Lan ta have :mad,e no

        such :showing here; nor coiJld they_, g.iv,en that they l;'tl.ad.e full usQ of

        the     informat1,on in              their e.xam.ina.tions of Agent W.a:rrencr.                                   §~@


        (~J_eh)          :tfiLson,        160     F. 3d   at      742       ·(no         Brad;i!     vi0lat.ion       whieu:~




(Page 220 of Total)
                                                              App 786
       USCA Case #21-3072                    Document #2077668                           Filed: 10/01/2024             Page 221 of 477

                                                                  201

       :s:tatarnents disclosed i.n ti:rn.e for dofendants: to maka eff'ectiv~ use

       of      t:hem.    at     trit1l) ,:                          846 F.2d at 1417

       probability              of    dif£er~nt        4"esul t            where         Court        ''doubt [ed]       whether

                          discovery''           would                           ····t11pp:r0cia:hly          in-creased           the




       not foreclosed :from ar{I'uing in.conaistencies heb.;oen testimony of




       the trial) .~ Uni ted_State:s v. PoIJ.lacjc, 534 F. 2d 96~, 97 4 {D C. Cir.

       197 6}     {no io_J:AdY violation whel'.'.s 1               1'   [w] h.a tev~r: additional ~xaminati•:::m

       could         ha•n::~    beon       prnduce:d     b!il     eit.11:'l.ie:r:-       rave.lat.ion"           of    belatedly

       d.i:sclose:d 1nfo.rmation "would not                                 have         introduced a~                element of

       reasonable <loo.ht.., of do:fendant • s guilt)

                 Appel:tanta.          hero     "f\--1,lly      cxhaus:tad/'                  tho    al leg,ed    di~crepanC"_l

       du 1: ing the.it' exawina t:i.ons of Agent l-iarroner ,                                      Pp l l !'!9.k , S 34 E' _:2 d at

       974       (no     prejudu::o          who.re    •\ i.t     ;:1 s      obvio•J.~          that.       ~.ppel.lan.t    fully

       exhausted               the    subj ~ct") _           App'{'.Jl,lants                  made     no     muli.Qn      f,,r    .a


       continuance in ot·der b:! c.all M"$. Wilson,                                           nor did appellant.s over

       fi.le a. ne'w-b:J,al mo,t.ion alleging th,nt,                                     had they recalled Wilson,

       sh(!,    would          have    testified         that             -'.!ihe    .,,,as    not     an     oyewi tness         to

                                             Agent Warrener fu.l..ly exp.lainsd that. hi:si notes

       were: pu.rposcfu.lly wri t:ten                   to       ind.J.,cate             that hi:s          e:ouree had on.l.y

       '~heard. 1'      ilbout       tha     murder     in       ord.ez:            to   protG.et        the      identity        of

       Wilson, who was continuing to work, as an .infonna.nt for th@ FBI,                                                         In




(Page 221 of Total)
                                                                App 787
       USCA Case #21-3072               Document #2077668              Filed: 10/01/2024              Page 222 of 477

                                                           202

       light of Wil.s¢n' :s tesb.Ji:'lony that .::;he saw Carson ":st {and} over top

       of   [Fort.uneJ and .sho(ot] him,,"                  {2/131\M Tr.    25), a.s well as Agent

       Wa:c:-i:ener' s unequivoeal t..estimony that Wilson                          11   provided to me the



       reasonable pi::cbabi.li ty              t.>ia t,   had the informati~n been d~.sclosed

       earlier, the rosult would have been diffe~ent.

                       C.         Sweeney ha~ not est..~lished a. ~_!_a.g~
                                  yiol~L!:.iOIL~---~ _ ~ - - - - - - - - - - - - - -



       Whitfield,           co~ittcd         .in   ret.aliat..icn     fer   ;:1.n        ilterccAt.ion         at   a

       nightclub        (J' .A,     1180:    sea sup~_a at JD-32).              Sw,.enoy' s             e.heory at

       trial wa.$ thifl.t Reg:l.nald Sw.i. t~er killed Whi t!'ield ~n r€!t.aliat.ion for

       having been :shot by Whitfield and Georgo Seabroo~$ in 1989 or 1990

        ( S/2 3PM    Tr,     4} .      Ind.eed,     Si,r;i t2er   testified         thf<t he         had ki iled

       Scabroo~s i~ retaliat~cn fer thQ shooting and qat he had at&ked

       out Whi tf'i,=d d' :!3 .rosi.de:r.c::e at. lea.st tw1-ec I whi.le ~rm.ed, but did not

       take    the     opport.uni ty        to     kill    him    (5/ lSFM Tr.            1'7-9) .      Sweer,ey' s

       counsel        fully       cr~ss-c;,:E.!!l..in~d   Swi t.zex   a.bout    hi4          rr.otive     ta   kill

       Whitfield. and his attempts to do                    $0    {S/l5PM 'l':t;. 310=35}.              Sweeney':::.

       counsel also elicit.Q.d. that, when Sweeney had a *onversat::io:n with

       Swit2-a,r about SIIQenay 1 s altex-ca.tion with Wbitfie~d at. a nightclub;

       Switzer told Swee:noy not to Jci.11 -w.hi.tfiel.d b-ecau~e S1tit:i:er w-anted.

       to ki.11 Whitfield (5/lSPM Tr, 40).                        Switzer had ~l~ead.y tea:t.ifiad




(Page 222 of Total)
                                                          App 788
       USCA Case #21-3072                   Document #2077668                  Filed: 10/01/2024     Page 223 of 477
                                                                 203

        t;.ha t   Sw-e.-eney      :1ot     only    told Sw.i tzer            that he   was   going       to   kill

       Whi tf_J.eld, but also that, after Whit.field's murder I Sweeney stopped

       by Swit~er'$ house to tell                          Swit2er ~hat he had killed Whitfield

        { 5 / 15 J?M Tr.         9} .      Swi tze.:r had. also te s-eif i(;l:d that,            while he w.a 5

       incarcerated with, Erie Jonl;;)s, Jone.s told him that he had b~en with

       Sweeney when Sweeney killed w"'hi tf.1.old in Sur.:'.lum Co~da                               (5/15FH Tr.

       10-11)

                  Af te :c: Swi t.:: c:=r' s   tes t-:ic!'tlc-ny,       Jame~ Mon tgom~ ry   to.s ti f i ed that

       Sw4:i~ney had adm.i ttcd. while t.hey wt~:re waiting togG'ther with Carson

       a~d C~ates in the van before the triple murder, that he had killed

       Whitfield           .in     Sur sum     C¢rd.a      i.n      ru-'!aliation   far   Whitfield       having

       smacked          him       i~     th~   face      at         a   nightelub    (5/23.A.M     Tr.   51-53}.

       Montgomery also test~fied that., before Whitfield's murd€n:, S,;,.;i tzer

       !-i.ad t,;;,ld hi;n a.bout Switzer 1 s de::.ire to "get." w.'7.i tfisld ( 5/23:!!i.M Tr.

       53),        Montgomery an~ Switzer w~re ~n a ear togethar at the time of

       th~s coAver~~Li~~, and thQy drov~ p~~t the ~uilding where Whitfield

       was hus t.ling            (1,d._)       Wr,en they did so, Montgomery claimed that he

       offered to "go up thers and blast !Wr.it!ield' s] a:;s right: now,"' but

       that $wit~cr said he did not have a gun with hi~ (5/23AM Tr. S~).

       Mon.tgome.z:-y fu.rther testified that he la.ter told Ca.r.son that Switzer

       wanted him to kill Whit:field for Swit1:o:c-, and Car5on advised him

       not to do it becau8e Switzer should handle it himself (~4~}.




(Page 223 of Total)
                                                              App 789
       USCA Case #21-3072                 Document #2077668                 Filed: 10/01/2024         Page 224 of 477


               Aftor a rQces;g, but beforo cros:::;-exami.nation of Montgomery had

       begun, Sweeney·" s counsel moved the court. to s.anct.i.on the go\fern:mont

       for fail.ing to disclose that                      1   '·~..r. Montgomery had cooperated with

       Mr,    Switzer       i..n    plann:ii.ng    to   kill Raboccp,.            alca Donnell Whitfield"

        ( 5/2.3.PM 'l'r_    3) .       Sweenoy alleged that Montgomery'~ teati.mon:'l was

       both     ex:culpa.t<)ry            and.   irt'ipe.aching      and,    as     a   .9anction      :for     the•

       government's failure to disclose ;i..t, asked the court to strike the

       t.e::. timony    of         both     MontgoI'!lery      and    Sw1 t:zer     regarding         Sweeney's

       involvement i.n Whitfield's murdo:ic {5/23PM Tr. 3-7).                                Sweeney argued

       that. l:i:s     cro-:ss.-c;.(amJ.naticn of Switzer and Montgomery would have

       been different: had he known of this inform,3.t1on earll•~r (5/23PM 'l'r.

                     When      told        by    tho    cou:rt    that      ho    could    re cal 1    S'lol'i tze.r,

       Sv1e.er.oy' s   Ct:Yt.ur.:sol   said "I have no int1c:i:i::est ::i.,n calling Mr.                Swi tzar

                               'The distr:i.ct court doni.ed the motion,                      stating:

              I do not dee;n i t a.a nec,s5:;.arily exculpatory evidence.             I
              cannot imagine ho...., :r... t could have been '1Sed off"ec:t.ively
              for    F·'ll.rpcr;o:t;;l 0£  imr,n.achme:nt. and in any event, the
              tes:t.i.mony :is b':1:tore the J'J.:ey to~ such use as yolJ. choo!le
              to mako of it,              [defense counsel],     so !   pe:i::-ceivo no
              p:t.'~judi,ce .in th9 ll',attor.       (5/23PM Tr. l:2 _)

              On cross-examination, Sweeney•'~ coUn$el questioned Montgomery

       exton:si.vt-;ly regarding hi~ conversation with s,.,,i tzar "tbout killing

       Whitfield           (S/23PM         Tr,    39-44).         Sweoney         probed     not      only      the

       convexsat:iort and Montgo:1tery' !I. offer to kill 'k1hitfield for Swi t2:er,


                    Montgomery   t;.te_.s ::i;til.1. being que:.t.ioned  on      d.iraot
       exam.in a tion at. the time :Swt@enay' s coun.se 1 made this a rg-lJJl'len t .




(Page 224 of Total)
                                                          App 790
       USCA Case #21-3072                  Document #2077668                    Filed: 10/01/2024        Page 225 of 477
                                                                   205

       but    also       Montgomery's                 knowl~dge          of   Swit.:z:er' s     motive     to     kil.l

       Whitfield         ( i_g_,J ,

              S'l,i'eeney now argue a;                 {at     l 1 9)    th.at "he was d0pri ved of the

       opportunity to cross-a::uuriine Switzer a:s                              ta whether or not hG ha.d

       the~-e conversations and took                               the.so action:;; with Montgomery a:nd

       impeach Swi t:l:er' s crGd.ibili ty."                        But Sweeney expre;3sly declined the

       ¢ppo rt unity to recal .l Swi t. z.e r and on gage in this cro s a -e)'.a.mi na. ti on ,

       stating that he h.ad ''no inta:re$t" in calling Switzer                                          (5/23PM Tr.

       5) ,   This being so,                  S1'!'eeney .is in no po:si tion to now argue that.

       ther0 is a reasonable probability that he wou.ld have been acquitted

       of Whitfi8ld' s murder if he had known the .inform~tion earlier,                                             Cf.}

       United. St;i).tes . v.          M.~qi~ri r            694    F. 2d 1270,     1280       {D. C.   Cir.     l.98:2)

       (court reluctant to revor.se for invited et:ror) .                                     Moreover, Swe'8ney

       took .advantage of the opportunity to eross-ax:.uri.in-e Montgomory on

       thi.:, subject..         Montgom.ecyr a. testitnony wa.s Coniplet@ly corroborativa

       of SwLt~gr's testimony.

       the issue would have done nothing more to exculpat,Q. Sweeney than

       Swi tze:r 1 s own admission that he had 3 motive to kiJ.l Wh..;i..tfield and

       had, in fact, set out. to do so on more than two occasions.                                         Because

       Sweeney        ta.ad.a    full         u.s.e    ,of     th,e      .information         ·to   eross-exa:mina

       MontgC1mary, and declined the oPPcrtun.ity to re!lC.all Switzer I S-weeney

       has utterly failed to show that, \,had th-a stat,earient:, biaen disclosed

       earlie.r,       there          is    ;a.   prob.abili t.y          ~uffieient.      to       undermi:ne     our




(Page 225 of Total)
                                                               App 791
       USCA Case #21-3072                Document #2077668                     Filed: 10/01/2024           Page 226 of 477
                                                             206

       confid~ncs-           in    the    actual          outco,me        that       the,       jury     would       have




              ::x.     1'HE DI STRICT COORT DID N01' ABUSE ITS DISC!IBTiot~ BY
                       DISALLOWING THE'.: HEARSAY Tl!!STIMONY OF WESLEY SHITH




              rn      his     opening       s ta tcmen t,        Swiecney' s         at to tjney        s ta tod     th a. t

       Wesley $:mi. th,           the great~uncle of Sweeney a-n.d thel uncle of Robert

       Smith_.     would t<.~sb.fy that P.obert Smith to1d. hims 4round J:,.Jly 1996,

       tbat ''•he had gotten beaten out of -$ 60,000"                                 ( 6/6.A}1: 'Tr"    28} ,       Upon.


       the government's objection, a bench conferenc<l! en:s~~di during which

       Sweene~· proffo:re-d that Wesley S:ra.i th would t.estify ~hat Robert Smith

       told him that he waa b['}aten out cf' $60,000 and hu I "wa:::; going to go

       back one       day and take ca.re of tho guy~ in that nlouse"                                      (6/6AM. 'fr.

                 Ho :further pl:.'.offe:r«::!d that,             .l'-   week    a.ft.e:r:   thje t.r.ipl~ murder;

       Robert      Sm.i th    told Wos:l.ey       Smith       ~~r       took   care     0£      parnell Mack ~.nd

                                  (6/6AM 'Tr      29 _)

              Sweeney         arguod       th8t       the    hei!li:t:'say     was    a!:.1rni$s'°ble      as    a    ,co-

       conspiratoc 1 s statement, a sta.to:rr.ent aga.inst penat in tore.st, and ,!;I,

       p~ior incons;i_sten t stat.ement {6/6AM '1'r. zg) _                            'l'he ~overrunent ar.gued

       that co-con:;piratora' at.atamef.lt:!3 c:a.n only be intl:[oduced again~t. .a.

       party who is a co-conspi.:rator, llnd that. th0 hea.rsay statement!:! were:

       not    othe.rwiae            ad:m.i::;~ilile    bec:~use           Sweeney           ha.j;:i   procured        the

       unav.a:ilability           ¢f   Rob-ert    Smith (6/6.AM Tr.




(Page 226 of Total)
                                                            App 792
       USCA Case #21-3072                       Document #2077668                     Filed: 10/01/2024             Page 227 of 477
                                                                     261

       Rather, i t shows that Coates preferred to have someonQ el.s.o do the

       dirty ...,ork while he .reaped the benefit_                                   Whether th.1.s Court follmifs

       the laad of the other c.ircui t.s i.nt-orpreting ~{lli_g~~, 9-s it .should,

       o:t" employs the opera.'Lion-and-managernont tast nf F~.r_§~, I the evidance

       in      thi!;l    ca:'.,;e    wa.::i.   moro    than     suf:fi.cient.:.         fo.r      a    ratiotjt1l    jur.or     to

       conclud,ei         that both              Coates       .;i,nd Mai:rt.in       conap:i.:red           to I violate      the

       substantive provisions of RICO.

                 XV.       Tl-tE SUl?!REME COUR'l''' S DECISION IN ~OO~P, DOES NOT
                           f:E.QUIRE A REMAND FOR RESENTENCING IN TH'.::S CA.SE _

                           A_          Proced.urt1il bac:J.:;,ground.

                 The       jury        found       ''pll'."()Ven"    that.       each       of        the   apjellanta        had

       comrni t t0d at lf!a.st one first-degree murdo:r aa a rack~teer.ing act.

       (,J .A.    1154, 1160 . 1168, 1176, 11136} .                           I.n. addi t.ian,. Car~on, Sw(Jen.-ey,

       and Cea t:.es were each found gu.:i:.3..ty of several counts pf -rr,urder in

       .ai.d    of      rttcke tee,:: ing         { J _A .   11 71 - 7 2 1       1 HI O ,    118 i'} .       clonsequently,

       under         th~      Sentenc:.ing            Guidelines,            each           of     the      a.p~ellant~       wa.:s

       a::;~es:sed a          total otfen5e lev<~l of 43,                           the basqi offen~e level for

       .first:.-diag:i:~ei          I'IIU!:der    and murder          in     a:id     of         rackt:""::te-ar}ng activity

       (,J _A_     4028, 4083,                 4131, 4175, 4218).                :S_ee United Stab~s Sentencing

                                                                                    The      Guideline~ mandated a

       sentence            of        life        im.pri:!.onment           for      total             offense!   level        43,



              :}._'/ Som@ of the appollant:s had higher offense levels I but the
       Guidelines require that high~r offan:!:1-e levels be treated a.e-, offense
       l.ewa l 4 3 .  U _ S , S . G . Cb . 5 Pt . A I ccmman t . ( n . 2) .




(Page 227 of Total)
                                                                    App 793
       USCA Case #21-3072                    Document #2077668                         Filed: 10/01/2024           Page 228 of 477
                                                                         26.2

        rega.rdlesg cf crim.iru=,,l. histo:iry category,                                          U.S.S.G. Ch. 5, Pt. A

         { Sen t:.enci:i:1g         'Table) .          Conaeq\Hl,ntly_,             oach      of     the    .appellants         ;;.faa

        sentenced             to         life     impriaorunent.                    In       addition,        each       of     the

        appellants was sentenced to additional                                            terms of i..:mp,r.iaorun.ent on

        other counts for which they bad been convicted.

                            l -          ViJtc:ent !f{ill

                  Vir.11::ent Mill wa.s sentll1"linced o:n Janua:2:y 29~ 2002 _                                'I'he distri<::t

        court       first            imposed           -two    torms           of     life        impri:5,onm.ent      £.or     the

        narci:i ti cs -oona.p1ra.ey                (courJ; t 1} ~nd the ltICO eon spi t:a.cy (count :2) ,

        to be :;orved consecut:.ively to ea~h other (,J .A. 3898} ,                                                 The court

        then      impo:::i:-®d       a     sentence           of   :20    yea.rs       t:o    life on        the   D. C.       Codo

        o.ffensgi of f:i.rst.-d.egree murder while arm..ad of L&rry W:right (co"Unt.

        3),       and      sentern:::fl)S         of     60    months.          a~ch         on    the     distribution          of

        m.arijuana. and pm,se$Sion with intent to distribute mat:ijuana ~aunts




                  Two days later 1 the di::1t.rict eouz:t reconvened th,ei $,antoncing

        proceeding ir.. o:r:@,r to eorract the .sentence impo.sed,                                           Judg@ Jackson

        a ta ted        th.;,, t,     a 1 though         there           waa    nc-      con troll.ing       O .C .     Circuit

        prec•de.nt en                 t.he   i.~:rue,         othex       c.ircuit:11        had c0ncludod            that t·he

        Guidalin.ea. preel.uded censecutive life sentA:ru:;iea -on fed.er.al cou.nta

         (J. A.    39.25') .             Thus,,    Judge Jac:.kson resl/ilntenced. Hill ·to                           t1'f'O   1ife

        term.s of impriso:runent fo,r the na.~ootic:s a.nd RICO conspiracies, to




(Page 228 of Total)
                                                                   App 794
       USCA Case #21-3072                   Document #2077668                    Filed: 10/01/2024       Page 229 of 477

                                                                 263

        D.f.3   serv~d       concurrently             {i.1.A.    3926)           Ho    fol lowcd     th.::. s   with   .;,-:1,




        sentence of 2 0 years to                     life on the D. C, Code first-deg.ree nmx:d1.:"!r

        conviction,· this t;i:t!l,e irepo:.ing the sotttenca consecu ej i~e to, r~ ther

        than concurrcn-~ with, the life sentence (ig.~J ,                                   The rama~ning 60=

        roon th cor. current. sen tencG-S an thE:J                     ma.r i j u~tHl coun t.s. were re= imposed

        unchanged           ( :i.d_.J .




                 Sam~cl. Carson was G'i:!l'lt.cnced on January 30,                          2002 .       Co:nsi.st:e:nt

        with     the Guidelines,               the district court imposed coneu:t:-rent life

        :sentences          for       the   narcotics           corH~pira.cy       {count   l)     and      the    RICO

        c,-,r.sp.i.rac;.{    {count 2), as well as for: the four counts of mur-de~ in

        aid of racketeering {of Chrish~una Gladden, A:on20 Gaskins, Darnell

        Hack, and Melody Anderson}                         {counts 22, 25, 26, ancl 27}              {,.LA. 3919),

        'I'he   cou.rt       a.ls.o       imposed     at    concurL"ent.         sentence    for     the        federal

        offense       of      attempted        :nurdti:i:t: in        a.1.d of    rackete-erirtg      {of ':Jly$ses

        Engli.t,h)     {count 14}            Cid.)         The court imposed statutorily mandated

        consecutive sentenees of 5 years on the first count of usQ of a

        f~rear~ during and in ~elation to attempted murd~~ {count 29) 1 and

        20 yea~s each on four additional counts of u~e of a firearm during

        and in relation to n,1,1,:dez: {count.a 33, 35t 36, and 37)                                   {id.)

                 :Jror the D, C.            Code    offat:.SO:!ill,    tha district court imposed all

        con,sctcut:ive sentences;                   On five D.C. Code counts of first-degree

       mu:t"der     while         armed       (of Mauri.ce            Hallman,        Leonard Hyson,            'I'eresa




(Page 229 of Total)
                                                                App 795
       USCA Case #21-3072                  Document #2077668                         Filed: 10/01/2024           Page 230 of 477

                                                                    264

       Thomas,          Ter:i. t.a    Lucas t      and 1\nthony                 Fortune)            (counts      4-B},       tho

       di strict court imposed consecutive :.entences of 20 y·oara. to life;

       on the: sixth D" C. Code count. of fir~t-degiree murdier while armed (of

       Chri.shaiuna Gladden}                 (cOUf.ct     21), which occurrod after a change .in

       the    $tatutory              penalty,           the     court          impossd         another        cons~cutive

       ss::i t.encc     0£   3D ya.tu::s to l.if,a              ( J .A.       3919) . u~-·         And on thu coun.t.         0£


       AWih""WA        (of Ulys.ses English)               (count 13) , the diat..:r:ict court impo:::,ed

       another          consecutive           so:n.tenco            of    5     years        b),    life     {_:Ld.)         All

       t.o-gether, Carson received a life semt<tnce foliowed by 220 years of

       cor,:9eCutiv€1         time,        8.5 years          o,f   which were roandated to be a:ervsd

       consocutively                 by    the     a.ppiicable                federal          statute,         18      u.s.c.
       §   924 {c) (1).




              William           s~•eanoy         wa:,     sentenced             on    February          5,    2002.          The

       d,istrict         court        sent.enced :Sweeney                 to       l.ife     imprisonment              for   the

       narcotics and RICO conspiracies (counts 1 and 2}, and ror Ui~ four

       !eder.a.1        count;5       of    murder        in        aid       of     racketeering            (of       :Donnell

       .-lbi tf·ieLd,        Alon-i.o      Ga.:;kin::.,       Darnell           Mack,.       ,and !1elody        Anderson)

        (counts        16,   25, 26, 27), aLl to run concurrently                                    {J.A.    3946).         The


              l:~· 1    governm.ertt had 'O•oted in it~ sentencing memorandum
                         Tho
       that this count c,f first-deg.:i:ee murder of Ch:rishauna. Gladden under
       the D .C. Cod.e (count 21} merged, with the federal count o,:f murder in
       a,;,.d of racketeering: of Chrishauna Gladden ,count ;2.2} .    From the
       record, howevc::i:, i t appears tho.t the di.strict court n(l.lg1-ect-ed to
       merge the counts 3,r,;d va.e.ate the conviction £or eount 21.                                                 S~e J, A.
       1432 (Judgment and Coliiffll.it.ment: for Samuel Carson).



(Page 230 of Total)
                                                                App 796
       USCA Case #21-3072                  Document #2077668                         Filed: 10/01/2024                 Page 231 of 477

                                                                    265

        court also imposed a 20-year ,;-:;on current :sa:ntenC•C! for t.he attemp~ed

       anirder of Anthony Pryc,r :...n aid of                              racketeering                   (i4_,_) .    The cop.rt.

        then imposed cansecuti-v·e sentences of 5 years for the fil.'st count

        of use of         a    :Ei:r,earm dur1.ng and in relation                                to        attempted murder

        ( count 2 8) , and 20 years t:or o-.?.tch of four add.i tional count~ of use

       of a f irea:t:'m dtir: ing and in :re.lat.ion to inurdor                                    (counts 30,              35,      ~6 .

        a.nd    31)    (~d ,_) .      There were no D, C _ Code of fensa::.t for which                                               f:.he

       court      needed         to   impose        sent-ance b0caus8                     the     only         two     D.C.        Code

       offenses for which S1o1•E:,oney was found guilty merged with the federal

       0£fens0:':i'.   (.J. A.     394 5} .      All together t              S-ween.ey was sentenced to                            1 ~fe

        imp:ri:!;,ori.mErnt      followed          by         85.      years         of     statutorily                 mar.dated

       c,onsecuti ve t:im€:! 111nder HI U.S . C. §                         924, {c) ( l} ,

                         4 _       ~e_a n. _Coa ti":_.s


                 Sean Coato.s was sent<)nced. ,on Fe):;u::u.ary 7, 2,002.                                           'l'ha dis:trlct

       court sentrenced Coates to l i f e irnpri.sonment for the na.~cotics and

       RICCI     conspira.i::ies           (counts        1    and        2) ,   and      for        t.:ne     t.hrea       .Ct!d,a,;r;;;s.l


        coun t.s of :rnurde.:'." in aid of racketeering (of Alonzo Gaskins t Darnell

       Mack,      and Molody rutderson)                       (count!'.l     :2 5,    26,       .1:1.nd    27) ,·     nll    to      run

       concurrerntly             (.J .A.    3951) ,           Th t=i    dis: t r i.c t     court           imposed          .2 0-y~a t'

       c:oncurrent sentences ort each of two counts of attempted !/'llurde:,; in

       aid of racketeering (of Anth,ony Pryor and Ronald Sowells)                                                           {counts

        11     and 24}    {J ,J\_     3952, 3955) .                 the    -c,ourt then il:l'ipoaad cons11tcutivc

       .sentences of 5 years for the first count of 1..1~e of ~. firoarm du:ring




(Page 231 of Total)
                                                               App 797
       USCA Case #21-3072             Document #2077668                Filed: 10/01/2024          Page 232 of 477



        and in rola tion to a tbsmpted i'l\U;rder {count 28) , l;llnd 20 ye are fo:r

        Gach of f01.u:: addition.al counts of \~se of a firearm during and :in

        :,·elation to :murder (eounta. 34, 35, 36 r                   3fid   :31)   (.J. A,    3952) .       There

        were no O. C, Code offen:ses fo.r whioh the court needed to i.imposc

        .sentence because the: on.ly t.wo               n,. C.   Codo offe,n,.ses £c::;ir which Coate:s

        was fo1Jnd gu:il ty merged "ifi th the fede::al offem•:;12::s (J. A. 3949) .                              All.

        together, Coat.ea: wa:s sentenced to lif-e imprisonment followed hy 85

        yea.rs of statutorily :fC'landated c::o:oseco.tive                     time 1.::rnder lS          U . S. C.

        §   924 (c) (1) ,

                        S     Jaro~®:_Mart~~

                Jerom.e     Mart.in    wa~       is:er.itenced   on   February          13,      2002.            The.

        distr::..ct court :sentenced him to .lL.ifei imp,r;:i~onment. for the narc:-otics

        and RICO con:spira.c:ia~ (counts 1 and 2) 1 to run concurrently (J' .A.

                      The court sentenced Martin to 20 years 1 :imp;r,iacnt111,0nt for

        the federal count of a.tte~pt.ad murde:t: in aid of :r:a.cketeering                                       (of

        J'amo 9 Coulter)       ( c.oun t   18 J I and 60 ~on ths.'           impr !1 son.men t. on ea.ch           Q f



        thr,a:e fed~:t'al ce,unta of distribution of marijuana. (~ounts                                  4 Qi,    53,

        55) and one federal count of f!Osses~:i.on with intent t.o distribute

        mari.juant\ (count 64) 1 .alao t:.o run concurr,ently (.J. A, 3963=64) .                                  'rha

        court se.nte:n-:e,d Martin to a consecut.ive sentence of 5 years on the

        feder.al      count    o.f    u.s,.ing   a   firearm       during         and     in    relation           t.o

        attempt,aid m:1..u:·de:r (count 31) , aa ;ri::equire-d by 18 t:L S, C. § 924 (c} o.)

        (J,A.     3964).       And     finally r       with      regard      to     the    two    D C.           Code




(Page 232 of Total)
                                                       App 798
       USCA Case #21-3072               Document #2077668                           Filed: 10/01/2024              Page 233 of 477

                                                                   267

        ,::;:iffenses for which Martin was found g\.lil ty,                              the coiurt sc,ntenced him

        to    a   c~•nsecat:ive        sentonca o~ 2:0                      years   ta   life       imprison:i:Dent for

        first-degree murder while armed of Anthony Fortune                                               (count 8) ,       and

        a    cansecuti ~~t:3     :..entence         of     40        to      120    months'        impr ison.ment          for

        assaul t.ing a police officer with a. dangerous wGa.pon (count 9)                                                (.J. A.

        3963}           All   t.ogeitho:r,      Martin          ...,..s.g   sontenc,t;:d to       l i f e i..mprisonmon t

        tollowed by a minimum of 28 yea~.$ of consecutive t.i:me,                                                  5 years o:!f

       which was         statutorily mandatQd by 18 U. S .. C. § 924 (c) (1).

                         a.      The district. court would not have impos0d
                                 d.ifforent             sentences: 1        :material l.y                  more
                                 favorable to the appal lants .•                                      had i t
                                 s _e:_11.t 0!1 ,;;~q_~ n d_e ~ _ th~.9 ~ t:_ -:_B:.9"0'.lt: ~ r _.J::<; ~!:!-,_




        s~premE::i Court held that i t would bG a Six.th Amend:cv.:int. vJ.olation to

        impo~-.e    a    sen ta."lce     undei:      the     m&nda tor:y            United       States            Sentencing

       Gui deli ne s       if e nh.;:1 ncem(!n ts were based on judge -dG teJtID::.. ned f ac: ts ,



       Ref o:t·=n A(::t of      l 984     (which establishod the Sentonc.ing Guidel..in~:.)

        that made thu Guidelines ma.od,~tory.                                 ,Ld .. at 764.      §9e United :St,ate:s

        v_    CQle~.      403     F.3d       7'64,       765-66             {D.C.    Cir.      2005)        ( a:urnma:rr:izir.ig

                                              'l'he Supz:em~ Court ca-utioned,                           however I        that

       although ".it$ holding:!!. s.hould. be appli8d 'to al1 .::asas on di:::-ect

        review f ; "     it. 1'did not 'believe tha.t every appeal will lead to a                                          Clew


        sentencing ho.a-ring. t ' 1             ~Ol"=1§i,     403 F, 3d at 7-66-61                  {quot.ing Booke.f,




(Page 233 of Total)
                                                             App 799
       USCA Case #21-3072                    Document #2077668             Filed: 10/01/2024   Page 234 of 477

                                                              26€

       125      S.        Ct.     .at 1-69} .

       re:viewing courts to .apply c::i~din.ary pr--J.d.e.n b,al doctrine a"" .includ,i.ng

       harmless-error and f>lain-err()t' review.                            125 S. Ct, at 769.

                 Ifi this case, appellants acknowledge                         (at 201)   that they did

       not challeng~ at their ~entenc1ngs eithor the const~tu~icnality or

       t.he rnandator.1 applieation of the Guidelines.                              Accordingly, their



       at      7 67.

       1   'erro;r,"       (2}     th.at   i::;   "plain," ,;1.nd (3)    that "affect [sJ :su.bstan.t:..ial

       right~,".,"               Id.   (quot:..ng (JOY!~~ J'ohns9n v. IJni. te,:;i~t;.e.s, 520 U, S.

       4 61,     466= 67          (1997}     (quoting iJni ted Sta te.s v. Qlano,         507 U.S. 72S,

       732     ( 1998}          {al tel"ation in Jo:'1.n:SQ:i) ) .      " 1 If ~ll three cond.i tions a.re

       mQt,     .:1.:F.   appellate court may then exercise its d1~:eretion to notice

       a ferfeited B~ror, but o~ly if {4) the er~or '~erio~:sly affects the

       fa.irnes:s,               intc}grity,                p®lic         reputation      of     judici.al



       omitted),

                This Court has twice had occasion to a~ply plain-error ~ev1Gw




       497 r 499 (tl .c. Cir. 2005) . the Court found no plain erroz where the

       district court had twice sentenced. the appeliant {tho second time

       after a rc.m~d on grounds not :celevant to hil!il Bo9);e~ claim), and

       had bo-th times depa:c ted. upward.                           At the first aenteneing,          the




(Page 234 of Total)
                                                            App 800
       USCA Case #21-3072                     Document #2077668                       Filed: 10/01/2024         Page 235 of 477

                                                                    269



        the     :sentence          th.at will be               imposed. her~,''

        gen tenc,i ngr,          the         judge       again      @parted              upward    eve:n    though      the

       9ov0:c:-nment had not re.quested it.                               !51..,_    Based on that record, this

        Court         four.id      that        tho       a:.ppollant          was        ttot   pl:'ejudiced       by   th<:

        i.tnpermis:sibly manda.t.ory nature of the Guidelines I and thus c:ould

        not meet tbe pla.i.n-e:r::ror test.                         Jd,

                 In Coles, this Court furtho:r elaborated on the application of

       pl.a.in-error revi.ew to '.Baokll)J~ claims.                                 I t was clear i.n Col~$., as it

        is    i,:ri   thi.:e,    ca.'!'le,     that       application               of    the   Guidelines         on   tho

        assumption              that      they       ,,.,ere   mandatory              sa:tiafiod     tha        first   two

        c.ornponetits: of           the plain-err:or test.                           :In Col.~ 1    this Court hc-ld

        that, i f the error wa.-:s p~ejudicial, i t would ~, "seriously affect [:'l

        the      fairno~s,             irit:egrity,            o~    public              r@putation        of     judicial

       procaeding.s, '''               403 F. 3d at 76.".i'.          Thu~, the question in Coles., ,as



        different rQaul t I more favorable to the defondant 1 had the sentence

       ooen imposed in ac:cordancG with tl1.e post.-Book.Q:.\: semtenc.ing regirn1E11,"

                          Ci ting i. ts earlier decision in ~mith ,• t:he Court in Cole.tl

        noted that              ,, ( tJ he.x-e i.n:idoubtedly will ba soma eases                            in whioh a

        reviewing court will be confidGnt that a defendant has: suffered no

       p;rejudice . "            :;)'.'.d. at. "i' 69,    lt went on to explain:                    '' [ f] or e:ic:ampla ,




(Page 235 of Total)
                                                                 App 801
       USCA Case #21-3072                  Document #2077668            Filed: 10/01/2024                Page 236 of 477



        'if .a judge wore to impose a                  -liontent::c   at the statutory maximum and

       Sla!l that if he co 1i..1ld he would ha:vt'ii irnpo:iliod an oven longer sentence                              f




       the:i:::e would be no bas.is for thinking that :if he had k:oown that the

       sente11cing guid@lines are merely .advi:aory hES would ha,.;re g.ive.n the

       def-end.ant a           light.er        s:antenca.'"    1~-,    (quoting          United -Stat,e§____y:..!..

       t!'.a.ladj.no,    401 F. 3d 41'1.,         483 p·o·, Cir. .2005) .          The ~o).es. Court also

       no,ted that       11   thero will l:;:ie somo caSQS in which we a.re confid1;1tr1.t th.at

        the     defendant            suffered       prejudice,        sayr     for       examplet           if   the

       sen.tenoing            judge        indicated    on    the     record        that,         but.     for   the

       Guida lines,           :She    would have       im.p-osed a     lower sentenc@, ir                          In

       other cases, the Court caut:ione-d, ~•th0 record simply (wil..1 not be]

       suf"ficio:nt for a.n a,ppellat$ court to detennine priajudic8 with any

       cot', f ids nee. "       }£..::.    The Court f o.un.d th.at Cole$. wa.s a.ueh a ea.sei.                    :rn

       t.ha t   case r    the district judg@ had .sentaneed the app@llant to 36

       r.i.ont.hs 1.n prison,             whie}t waa ~• •• so.mewhat above the lo'lfc:r end 1                of the

       33,-to-41 mofith:s Guidelines r.a.ng:e 1 "                but    the Ci;;.ru;i;:-t.    f,o,.aui that f:;;i.ct:

       i,nconclusi ve.            Js1. ,, at 769-70     (quot;i.ng govc~nment' :9, a:c9ument) ,                    It

       ~hus     :remanded the reco.rd to the dis t.r ic t                    cou.r t         "for the l i111i ted

       purpose ¢fallowing it to det.ermitt,e whGther i t would have i~poaod

       ,a. different          sentence,, m~terially mo:t'@ favo~a.bLe to the defendant,

       had it been fully aw.a.re o-f the post-129~er sentencing ragi:n.e."                                       ~-.:..

       at. 770.




(Page 236 of Total)
                                                         App 802
       USCA Case #21-3072                Document #2077668                                  Filed: 10/01/2024              Page 237 of 477

                                                                     271

               This           lt     case 1        unlike        Coles
                                                                 "   -   .   -...,.,   in    which

        "r.:::onf ident'•' that appellants. have ~uffered nc, prejtH:!.i.ce.                                                 Although

        th~ Guidelines mandated life Dcntences. £or each of the appellants,

        because of the statutory ro.and.atory minimu.ra sente:r.ce-s tha.t. Ca:i:::s,:m 1

        S'1t'eer,cy,    and   Coates           receivcQ.ld,              thero         was        no prejudiee              from     the

        d1.strict court' :a. imposition of 1~.fe senb,:U'.lce:s uI'.d-er the Guidel:i.no.:;l

        on   those      appellants.                  In    addition,                   be-ca,;;se         of    the ccmsecutive

        $entofl.ces     that the district :1 udge imposed,                                         i!',   its di~e:l::etion,          on

        appellants Hill, Carson, and Martin, this Court ean be eonfident

        that the di5tr1ct j~dge would not h~v~ ~mposed different sentences

        ''raate;-ially roe-re favo=:-ai:;:ile" to those apf!e,llants, had he been ful !y

        a~are of the post=Booker sentencing regimo.

                        1 ,        Ca..r ~or.: ,     Sweceney .•              not
                                                                             and       Coa tti s          were
                                   prejudic::ed becau:so t.he dis.trict cou~t was
                                   statutorily     required    to   ~mpose life
                                   :S<Hit.,:.ences         on            c,Jt"~ain              counts             ,a.nd
                                   addi.t~¢nal cort~ec~tive ~~~tences on other
                                   counts that added up to the     !una ti on.al
                                   e~:i.y_alent 9-f~.i:.f~ ~entencc;s,

               Carson, Sweeney, ~nd Coat~s were oach found g-~1lty of rnult~ple

        counts     of    ml.U:"der       in aid of              r-,;S.cketeer;i.r1.g              (£01,.a:-     counts each fo~

        Car:!:!on and SweerHJef and thre~ e_a,-,J.nh:; fer Coates) .                                           The VICAR ::.tat:ute

        provides        that         individual~                convicted                    of      mu~der           in     ;aid     of

        racketeeri.ng         •~shall              be     punia.hi'itd                                by        dea till    or-     1if,a

        imprisonment,         o~ a fine under this ti tl0,                                         or both,"               1.8 tr.S.C,

        §    1959 (a} Cl) .            Although             th.a         penalty              fo:r        murde~       in     aid     o:f




(Page 237 of Total)
                                                                App 803
       USCA Case #21-3072                Document #2077668                           Filed: 10/01/2024            Page 238 of 477

                                                                    272

        rackatooring has not                  bc~n at issue before this Circuit 1 the Sceond

        Ci l::'Cui t   n.'.\s    held that           the       :::: tat.\:!te   carries         a     mandatory minimUJlli

        sentenee of life imprisoMient.

        120,     127    (2000)        (r~jecting argu.r:ient t.hat statute permit.~ ~ourt to

        reject a         death        sentencG          o~     life        i:::npriso:r-.imen,t- by         sentencing the

        defendant         to     a   fine     wi thoY;t. prt~on                 time) . ;J.~/

        dis1;.rict court. would be bound in a.r-;::{ ~emand to sen.tanee appellants

        Car~on, s~eeney 1 and Co~tes to the statutory mandatory minimtun of

        life imprisonment.                   A caae in which a defendar,t "can.not obtain any

        improvement             in   hi::.   sentence in resente:r.:cing"                           is      "a prototypical

        exa.-np 1.f:! of harm le s :s        e r:r¢ ;r: . ''

        123,     12i    (2d Cir.         2005)




        on     stat. u tO,?."Y    mandatory           min i;rium         ::ca ther     than         (l:tl   app 1 ica tion   of

        Guidelines, the~!} is fl.a Booke.;: er:tc!;'} : r..rni;:ed States v. Chil~d~, 403




               - ' ,'    Before it:::; ~LGndm,ent. in 19-94, § l.9.5 9 ( a) ( 1) pro,tideJ.d
        pun i sr.r.ien t , '•'· f o.:; m.urde r or k.id.napi;.g, by .i,nprisor.i!llen t for an::,,· te?:sm
        of years or for life or a fine of not more th~n $50,000."                                     The
        Federal neath Penalty Act. of 199 '1 (F:!PA) amencl.0:d several. :sections
        of Title 18 of the U.S. Code to a.uthorii.e the death peti.a.lty fo:r
        c:art.ain ori?!le$; incl.uding m,n:der in aid of .racketeering.            In
        a,r,ending S 1959 Ca} (1), the FDPA ar11thori1:od the death penalty for
        murder in. aid of racketee,ring ,, b~t not for kidnapin.g in aid of
        z:-a.ck,ot.ee:z:oing ~ It also continued. to .autho:rizo pun.isibment of "any
        term of yea.rs" for kidnaping in aid of racketeering. but eliminated
        th.a.t as a .s:entencing option fo:r :=urd.er i.n aid of racketeering.
        Pub. L. 103-322; Titl• VI,                         §    60003(a) (12},



(Page 238 of Total)
                                                                App 804
       USCA Case #21-3072               Document #2077668              Filed: 10/01/2024      Page 239 of 477

                                                        .273




      F. 3d 1220, 1222 n. l             {l0,;,1i Cir. 2005)      ( same) .

              The ::,a.me t:eaul t would obtain even woxE'l! i t not for the life

      sentencos on the VICAR counts.                      Ca~aon, S~eaney, and Coates were

      also four.id guilty of' five counts each of us.i.ng a. fire.arm during and

      in    rela.t.ion        to murder      or attempted. murd0r,            in violation of 18

      U .S.C.      §.   924 (e) (1),    As written a.t th,e time, that statute mar.u:iated

      a ItiinimUtn ,eonsecutive              a0,ntenc@ of 5       years'     imprisonment for         th,e

      first        conviction          and   20    years'       im:pi:iaorunent   for      :,;econd   and



      :z::-ec.,eived 85 years of :!;tatuto.ry manda.to:t::y conaecuti.ve prison t.i:«ie,

      which the distri~t ecu~t judge would be obliged t.o impo.sa during

      any resentencing proceeding,                    For fflen of their age:;, the s.entenc~s

      for    their        §   924 (c) {1)    convietiona alone 14ould be             t.,ar.i.tamo~nt to

      life        sentences. ill'

              •
              -- I                                       ~
                      The $tatute ba::5 since ueen. amended to require a ~-year                  ~



      ma.nd.iito:r-y ,oon:,,ecutive sentence fol'.' the first § 924 (c) (1) convict.ion
      and 25-ycar mandatory consecutive sentences for second and
      :sub~equant § 924 {c) (1)              convict.j,.on.s.

              J.3::) Cat" son ,.,as b,o rn on A.ugu:s t    18 , 19'10, and: has been
      inc.au::ce:rat.ed in th.is ca.:se since his a.rre:st on Septat'flhar 2, 1998
       {J .A. 4044-45) . Ca:rson lfOuld. be 11.'.3 ye.a.:::s old at the e;,q::d.. rati,on of
      a.n 85-yea.:r-tenn. of .im.p:c:·isorumant. Sweeney was bo,rn on August 13 .,
      19;6 1 and has been incarcerated :si.nce his arrest on April 20, 199'7
       (.J .A. 399,6-91} .    Sweaney would be 106 ya,u.rs old at the expi.ration
      of an 85.,year-tel:"m of imprisonmen't..        C,oatee wa=:= horn on May 13,
      19'7:2., and hat; been inear-:::e:rated sincia his arrest. on October 2, 1'998
      (J .A, 40,99-410'0} .   Coa.t$s would ba lll yea.rs old at the e~pil:'.ation
                                                                      ,(con,tin,ued ... , )




(Page 239 of Total)
                                                       App 805
       USCA Case #21-3072            Document #2077668                    Filed: 10/01/2024        Page 240 of 477

                                                        274

      1244 (1.0~ 1 Cir. 2C•02:)       (125.,y(.,a.r sentence is effective equivalent cf

      life    s~ntence) .        Because        of    t.h€   mandatory        consscuti.ve         sontence:l

      r(,1qu.i.rad for the ~; 924 (c) {1}            conv:ict.ic-ns,      noi thex: Carson, Sweeney,

      nor    Coates      would be e,lig.ible for              .a   "I;'.l.aten.ally mor(:I favor,wle''

      ~eotonce on remand,             even with the Guidel:ines                  "-S   adviso.r:·y      ra th-er

      than mandatory,            The district court's e%ror in sentencing these

      thr~e defend.an ts under the mandatory Gu:i,deline5 regi::I!.e caused them

      no haUJ1 i       and   there   is   ntl   need :for          this    Court   to :remand to           the




       (2000) , ;.,~..- where stacking provision of Guid.olinee (5 5Gl _2 (d)) would

      have    raq,.1ired     imposi--::.i.on -of c:on~ecutive sentences on                    ind...ivid.ual

      counts to add up- t.o functional equivalent of life s8nt(;r..-Ce): U!"1i_t.§.,?




      with si~ter cit"co.its that where stack:i..n.g pr,ovision                          0£   Guideiin(:s




      total punishment called for by appli.eatiori. of Guidelines, Afp:r:~n_d.i




             "2." ( ... continued.)
      of an 85-year-te:t:"m of i~prisonmant.

             :.1..:/   '1,-J2PrG1J.d;_ held that \\ [ol ther         than      the- fa.ct     0£    a   prio:i::
      corr.viction, any fact that inc~aases the penalty for a erima beyond
      the p:cescribed ~t.a.tut.ory m.ax.im.um ~us.t be subniitted to a jury, and
      proved beyond .a re.asonabl.e doubt.,,         530 U.S. at 490.     8oQkEtt'
      ext~nded the holding of ~m.•n4i to fact~ supporting enhancea11ents
      under the G-uideliri.es,   125 S. Ct. at 755-56.



(Page 240 of Total)
                                                       App 806
       USCA Case #21-3072           Document #2077668                  Filed: 10/01/2024         Page 241 of 477

                                                     215

                      2     The record shows tha:t the dist:r::ict. court
                            wo1.1.ld not have sl@:ntenccd appellants Hill,
                            Car::;on.,   or      Martinmateria.l.ly more
                                                               to
                            favorable sant~nce:,. had the court .been
                            awara  of  the   po:st-Bo,.:i,kcr sentencing


             In this ea~e, the Court can feel confident that the district

      cou~·t would not. have sont.encod. Hill, Ca.rson, or :Y,;,artin to term:,. of

      imp:r::i:J.on.J1u,mt of less than life bee:a\lsc the court sentenced each of

      th@se th,:ee def,endantn to t~r:il'a;s Longer thtm lifo                         0V('m   when i t had

      the dis<:: r,etion not to .

             First.,      with   reg.a.rd   to    .appellant         ai 11 ,    the    dis tr ic t   court

     ori9in~lly impos~d two consecutive life sentencet. on. the na.~catics

     a.n.d RICO eon.spi:racia.s (J. A. 3898) ,             1:n :so doing I the district court

     fa.illy conveyed his d.esix-e to impose the longest :aentQnce possible

     on appellant Mill.             It was only after recognizing authority from

     other     circuits          holding      that      t.he        Guidelines        pr0cluded       auch

      conzecut;ivo        life   sentences       that      the couJtt          re.sentenced Hil.l       to



      (.if sentenee imposed on count carrying highest statutory :MaJ(.i..m;um :i.:!;l

      ad.equate to .achieve the tot..a.l punishment determined by grouping

      feder.al counts und.e,; the Guidelines I                       than the sentences on all

      c:ount.s sha.ll r1..1n c.oncu:rr::entl.y except as otherW'ige required. by law) ,

     Aga.in 1 however,       the ,co\;!.rt express•ed its intent to sentattce Mill to

      the longest possible term of im:p:risoru'ileu,t by imposing a eo:nsecut.ivo




(Page 241 of Total)
                                                     App 807
       USCA Case #21-3072          Document #2077668                 Filed: 10/01/2024     Page 242 of 477

                                                          276

      sentence of 20 ye.ars to life i.r.pr::...::wnment on th~ D. C. Codo off,i,_:mse

      Clf   f irst.-deg.t'ei;) murder while armed (J. A.. 3926)                Tho district court

      had     the     discretion     to    iro.p(lSE.'I    the   s(mtence    for    the   t:r. C.     Code

      conviction cancur.re.r1 tly I          but      del ib~ rate 1 y   chos(!!   not to.          A.a.   in




      district court twice chose) ta seriterLce Hill to a term longer than

      the life s<E::ntenc.e mandated. by the Guid.(~lines.

      ha.s r1ct shown that he "'1a.:s P,!:"ttjud.iced by any :Booker !!J)rror in th.is



      that the sentoncing Judge appreciate that h@ is not. bound by the:



              !'no di.strict cc:-,urt si.m.ilarly made his                  intentions       clea:.:-      in

      s.entencing appellant Ca:t:·sc::in,             Al tho·J.gh tbe district court ran all

      of the sentonces on the federal co~nts coneur~ently 1 in accordanc~

      with the Guidelines,            the cou:rt imposed cansecutive sentene.e::: for




      JiJ.dge were     to   i.mpo:;;e a   sentence at. the          statutory maxi.mum a!id say
      that ;Lf ha could he would have 1t'!'Lposed an ev~n l.onge;r- oentence,
      ther~ would be no ba~is fo~ thinking that if he had known that the
      sentencing ,guidelines ax-e mere.ly advisory he would have g:iv@n the
      de fenda:n t a l igh terr sentence . ' ,, CoJ.es , 4-0 3 F. 3d at. '7 69 ( quoting
      P~}Afuo, 401 F. 3d •t 483. Hera, al though the district j,udge did
      not exp.licitly :tta.t.e, that he would. have i:ffl.po:sad a. longer sentence
      if he could, his act.ions spoke louder than wo:l'!"ds.            In this case,
      the d.:i.atriet court actually ilil;?osed a long~J: sentence t.ha.n the
      statutory ma~im\l.Di of life impriooM1.Snt. by adding a consecutive
      sentence to tho life sentence.



(Page 242 of Total)
                                                          App 808
       USCA Case #21-3072           Document #2077668                   Filed: 10/01/2024             Page 243 of 477
                                                         277

       found     guilty.         This     included       five        consecutive               2O-year-t,::::i-life

       santuncos for each of fivo fi~st-degree ~urder convictions, and one

       consecutive 30-year-to-lif,ei sentence on a :;.ixt.h first~degreE: mu::der

       convict.ion,       w·bi.ch -occurred after              the    pen.'11 t:'.l      was    rais,;}d £rrn:n a

       mandatory minirnu..'11 of 20 y~ar:s to a mandatory m.i.nirr.um of 30 years.

        {J.A.    3919)        Tho court impos9d this                  :::i.xt.h cons,ecutiYf:ll sentence

       even though the goverr.LJnent had stated in                       ;i,.   ts sentencing rnero.or~ndu.m

       that     the   sixth     .fi.r$t-dogre~ m,.n:df,1;'       conviction I              relating       to   the

       murder of Chr.1. s.ha.un.a Gladden_.          should merge                w1 tb    the m•.1rde:t· in ai,;;i

       of racketeering convict.ion i.nv-01 vi:r~g the same vi.ctim,                                The district

       co~rt then impoa(:d y@t il.nother con.:.H~cu ti i;.~6 sentence of 5 ye~rs to

       life. impri~orunce;:nt on the count. of AWIKWA of c.:..y:i:ses Engli :..h {J" .A,

       3919) ,     And thi!:.l wa:::,; after t.he coux:t had already sentencGd Car::;.on

       to 85 years of at.atutorily n:.andated consecutive t~me for Car!:1on' s

       five counts of us1,1; of a. fireai""lll during and in rt)lation to a mi..irde.r

       or att.ernpted .mu:r:d1,u: (;;.di.,.} .   Al though the c;:our't h,"id r.o di.::.:cr,73tion ir.

       imposing those sentences consecutively,                           i t had the disc,:;et__,_an            to

       impose the sentences for the: D. C.                     Code off(ms(~s con:::::1.n:rently but

       chosQ not to,          Instoad, th0 court imposed an additional mini~um of

       1.35   years    o.f   consecutive         time,    for, a       tot.al. of a             life s-entencc

       foll.owed by at lr31ast. 220 years.                 If thi.a sentence did not. loudly

       and clearly convey what the di.strict cou~t would have dQn& had i t

       :t:'ealized that the Guidelines were merely advisory, i t is ha.rd to




(Page 243 of Total)
                                                    App 809
       USCA Case #21-3072                      Document #2077668               Filed: 10/01/2024          Page 244 of 477
                                                                276

       imagi.ne what: £Jlse t:ho court could have done, to :r:.a.ke i t clear.                                        Thi$

       Court.         cain   be    -confident           that   th<:!   d1stri.ct     c.c-u:t:"t   would     n,:;;it   havo

       imposed a sentence "mats:ri.ally more favorable'' to appell.-::~nt Car~on

       had     i. t    been       fully         aware    of    the     post=pook~_F       s(i:ntencing         regime_

       foles.,        403     ~~ _ 3d    at 770 _

                Finally, w;i. th raga.rd to app©llan.t Martin,                             .'j_gain the district.

       court clearly expressed its intent to impose a se~tence even longer

       than the Grui.dsline:J .:!H~r..tenee by ::u:~posing c.:::msecut:i,r{"! s'=.interi.ce5 for

       ea.ch D. C" Code of:fen~e for which Martin wa.::, foi..md guilty.                                    Al-though

       it    could have                 run    the     sentoncas       concurrent        with     the    Guidelinos

       sentence,             'l:ha court ::;;c,!::ntene:ed Martin         to a     consecutive term of 2C·

       years to lifo impr.isonmont on                          t}ie first-degree m-,irder count                  and G0

       to    120 month.'3 1             irnpri:!3orun-ent on th1:1 count c,f assaul. ting a                      police

       officer •..rith a dangerous weapon {J. A,                             3 St63) .    And,     as i t did for

       appellant              Carson,            the     d:i..strict     court      sentenced           Martin

       con.:;;~c:uti.'if'Q l!:.etnt.cm,....""~    on tho D. C, Code ,:;:,£fense!:l ev~r. after -imposing

       a m~:i.ndatory consecuti,.,.e :sentence on :Mart.in' s '§ 924 (c)                                conv-ic-ti.on _

       In Mar·tin' s           cas€l,         as in Carson's and Hill' .:s case.::.:,             thi::; Cc, 1J:t:t:. (:an

       bs    confident            tha.t        the     district      court    wo,Jld     not have:        :..rnpo:::ed. a

       sentenoe ·-~matat"ially morQ favorable,. to Martin had it been ;aware of

       tha po~t-BopkeF sentenc1ng r~gimo.

                Appcl.lant:s argue (at 2:10} that, .alt.hough the district court

       "eouldr, considex- the Guideline$ a.s advisory on remand, there ~ight




(Page 244 of Total)
                                                               App 810
       USCA Case #21-3072                  Document #2077668                       Filed: 10/01/2024         Page 245 of 477


       bQ other factors                that the appellants could br:i:,.g b:> the cou:c-t' s




       rn~kes        cloar     net      -that,         on   ~ema:r.d,        the     clistriet       courlt      ''cauld' 1

       cons.id.er the Guidelines, but that it. ·•\must. cons\llt these $uid0l.ines

       and take them into account when :!;lent<@ncing."                                    125 S. C't[,, at 767.

       The     Guideline~,           T,i,'h::i.le no    longer ma!lr.d.atory,           oontinue         t~ call. fer

       life      s~ntences            of    i~prisor.mant             fo~       each     of    the       ajpellants.

       iU though        the formr.'.l:X"ly .iJ.andatory            t1a.'C.uro    of -t.he Guidelin~s perhaps

       rosul ted        in    a.    lack     of    incari.tiva          by      appellants         t.o   ~:c:-f;ue   other

       1   'co:r..sidcrations"         war,rantin.g           lcwer          senb,Hices,

       $Ugge s ted        no        such      other          "c:on:siderationsn               that

       conceivably influer.cad the dJ..::;trict c.out-t,                                aspecialiy l-:;ive-n the

       con$ecutive sentonce:s that i t pu~posely i.rnpoa:ed on top Of the life




                 •• •Appellants argu-f.t that tht} district. court, oti remand,
       :rr.ighe con::;i.der that a Di.strict. of CoJ. 1.llnbHt Superior Ccurt judge has
       cha.racter;ized the gov-ern__141ent as a.rgu.ing, in o. c:.:i.co z;,rought: pursuti.r.t
       to the Innocence P.rot.ect1on Act, D; C. Code § 22-4131, ot. s-e-q.
        ( IPA) , that ,_Tames Montgomery 1'i'as lying when he te!ltifi(!C that Sam
       Carson 1 and tH::>t the paetit.1.on~r., ;;:t.:::~.~eri. D<:Witt, had cc-mmitted the
       rr.u:i::der for ";al'hich DeWitt had been convicted,               Uni_!.!;!ld S_tate:s ~Y.
       Pt";i!li.tt, 1 No, FS548-91 {Dec, 17, 2D04}.          Montqorneri.1 t.ostified at the
       IPA ~videnti.n-y hearing that C::ar::.ein had adlrl:i.tted com,"'t1-i ttiflg tho
       mu :c:der .      The        governman t         arqs.J.ed   -;hat w.a..s
                                                                              !:ion tgom.ery' .a     te.a timon:y
       based solely on hearsay and thu.s should be acco:rd.ed l.ittle we:ight
       when compared to tho testimony of the Eryewitnessea.                                          A.a. .appellants
       note,  t:he government disagrees 'l'ith the Supe:r:ior Court judge's
       eharacteriza.tion of its a..t"g,:.mont, and int.end.a 't.o fil.e a ~tion to
       am.end the opinion to cor:t:et;?t this inaccuracy. {The govormne:nt.
       advi.sed appel.la:nts in this. ca.se about tho Superior Court. opi:nion
                                                                                                    (continued ... )




(Page 245 of Total)
                                                             App 811
       USCA Case #21-3072                  Document #2077668                  Filed: 10/01/2024        Page 246 of 477
                                                            280




        court m.iqht con.:sider at a ?:'E"fSE!Ilitencin.g                 C       But oach of th-Q~e :facto ts

        - that the pro.secution h.ad at on4:'.l time been will.ing t.o enter a plr;:a.

        tt.<3reemtmt with Coates; that some E<                     St.X:,Ot":it    me.ir.be:r.e perceivod him f::.

        "t.i;:n..idf" ~\scared 1 "         a:nd "effeminate' ; and t.ha.t he wa.::. the product of

        a   "·'broken hc-n:.ei 0      -    were well killo;,,,n    to    the di::. t:.rict court. from t~o

        rdne Il!.onth~ c,f trial tes t.imo-ny a:nd from tho sentencing pro-:::::sading,.




        indi<;at:io:n that i t waa t:r-:ouhl,sd by the sembg,nco tfh.a t it. i:m.pos:ed                           4r
        that i t would have given a lesser sentQnce i:f it. ha.d the disc:.t:et.i~n




        the Guidel.ines a::; ~c1dvisory only,                     i t would ha.ve boon bound b:t ttj-te

       VICAR at.1;t 1J.te to impose a life ~ci-:.tence on each count olf murder +n

        aid o.f rackct.oering, ~nd would have been bou:nd by §                                     924 {c) ( l}   io
        .i:..mpo:se   85   year:'[j       of   conso,c:utive   :sis,ntonces           for   five   §   924 (c) (~)




        favorablen to him than tho lif0 sontonce he recnived.


                 '    ' ( .... continued.)
        shortly after it waa isa.lll@:d, and has :!!lince provided appellants with
        th0 transcript of the government's argument:., whi.ch w.:ill be the
        basis f ¢:t' the go11orruri.ent' a motion to aine~d) .            At ~ny r,a.te, tho
        Supe,ri.or Cou.t't judge credited Montgomf)ry' a testir:n,o-ny in gi:-anting
        :relief under th.a IPA, and tba:ita is no rea:11-on to thirtk that the
        di:ilitr.ii:=.t cou;i;;-t. wou.ld fi.nd 3-n.ything about t.his un_relat.ed case to be
        a mitigating c.irc.umst..ance that should lead t.o shorter :sar:.tcnces for
        any of the app4l!llants:.




(Page 246 of Total)
                                                         App 812
       USCA Case #21-3072   Document #2077668         Filed: 10/01/2024      Page 247 of 477


                                          28-1

                                      CONCLUSION

               WHEREFOM, appellee :t·espect-fully ~iequests that the jud~ont.s

        of the district court be affirmed.

                                         Respectfully submitted,


                                         I\ENNETH L-. WAINSTErN{
                                         United States Att¢rney.


                                         JOHN R. FISHER,
                                         ROY W. Mcl.EESS II!,
                                         ANJAL I   CHATT.JRVED ! ,
                                         PETER ZEIDENBERG,
                                         A.s_~i_s_tant_ Unit~ States Jli.ttprn-,oy~,




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(Page 247 of Total)
                                        App 813
       USCA Case #21-3072                Document #2077668                Filed: 10/01/2024    Page 248 of 477




                 I HEREBY CERTIFY pursuant ta Fed. R. App. P. 32: {a} (':I) (C)                         that




                                                                 .,(.
                                                                         .~...:
                                                                        ,.,,.-
                                                         MAR¥ B. McCORD
                                                         Assistant United States Attc,rney




                                            CERTIFICATE OF SERVICE

                 I    HEREBY CERTIFY          that an electroni.c                 copy of   the £oregoi.ng

        brief h~s trans~itted to eounsel for 3ppollant Samuel Carso~, Paul

        Rosenzweig,           Esq .. :   counsel   for    appella.n t        Sean Coate a I    Stephen C.

        Leckar,        E.sq. ,·   counsel for appellant Jerome Martin I                     Rei ta Pendry,

        Esq:.;       c:oun.sel    for    afl'pellan t   Willi.am Sweeney,             Steven   R.   Kier sh,




        Christopher Davia, Eaq. 1 and Jensen E.                          Barber 1 Esq., on this 14th

        day of June, 2005.




                                                         MARY B. ~cCOPD
                                                         A~sista.nt United St~~e5 Attor~ey




(Page 248 of Total)
                                                        App 814
              LI\ .I#21-3072
       USCA Case                                                                    Document #2077668              Filed: 10/01/2024                  Page 249 of 477
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                                                                                       \VILLI AJl,·t S\\~"El'-.rE Y. SAMUEL CARSON,
                                                                              SEA.1'\' COATES, JER0~1l: J,..L\RTl:'\, ~r:L.'. VINCE\"T HILL
              ,L_                                   f, \.                         ------~--                                 Appelt:ants •

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         C··, .... 'lj • \1 ~;; I                  .FOR TBE DJSTRIC1" OF COLUMBIA.
         ·~'r~.                             t':l"
                           ".!ll   t.




                                                                              REPLY BRIEF OF APPFLLAt-.. l S SWH..:>.:EY. C_:\RSO~-..;.
                                                                                            COATI:S. MARTIN, and HllL


             . 'P;iul Roscnz,1j;•e1;g, Esq.                                                                      . Steven R. Kicrsh. Esq.
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                 214 :r,,,t.a.s:-;achu s..:LtS Ave .. :\i'F.                                                       .lVa..i,11ngton nc 20004
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               <-lmJmeyfnr Sa.mf4d Cu.rJ.NJn
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             ,.·· Stephen C. L::.:.::;,;ar, Esq.                                                                  ·:F_hlistophe,r D~vis, Esq.
               ,..J.301 Pcnnsylvam~ Ave , NW. Ste. 500                                                            •:nc Llnco!J1 Bldg.
                 _ Washrng:ton. DC 2001),;                                                                        ~14 l O;h St ":-:\V, ::'\,n1h Fir.
                   .Am::q·n!."}' for Sean Comes                                                                   "_l.V ;ishingto:'J., DC 20004

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                /p 0. Box 42249                                                                                    400 7!h SL >rw, Ste" 400
                .....-;.-.,
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                  ·:,iuonzey for lc,rm:t-~ }l,fa.rtfr1                                                             :J.U.:)rt.:l!)'Sjc)r Vi.f!f',-'/!J Hi/!




(Page 249 of Total)
                                                                                                    App 815
       USCA Case #21-3072                             Document #2077668                                    Filed: 10/01/2024                                               Page 250 of 477



                                                                    TAHLF. OF CO;i;"TENTS




        TABLE           or AUTHORlTCES ............. ., .. ., ......................... ,.... .                      "• • ; • • • • •" •"" • ~•   ~ .. '""''""'" • ' ' ' ' ' ' ' ' ' • • • " ' !       'I I I•·••,,,,,   \t


        lVfR()[llJCTH)N '" .. ,.......... ,., .. ,........ __ ............................. ,..... ,. ... ,,,,.,, ................... ············",,,,,.,,,, .... 1



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              A. The di:nricL court's ~rron,cous do;;;:Bion consc1 tut...:.d s:tru::.:, urill :1rror.... ... .. .. ....... ,................9

              B, The _grouni.L;; chat rln: Q,)vc:rn men [ h~L <j tifferi::d w ~·J p!.t<)f1 the tr'i :.t~ cull.rt' s (,ki:;isi on
                 c.:l)Uap.sc under inspecLiu:i ......................... ,.................. ,. ...................................... ,........ ,.,,,, .. 11




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                                 w·iri:l ari eve.r.cha:n.g,.ng rati(m.a.!e., ........ ,, ..................................................·-····.. ... 14

                                             There ~s an irre.c:onci fable iru::on:.;,i :,tr:rn;y octvvccn tl:c di strict judge·:; in:ti ,~:
                                             decision th.at lurer i\o. 3 could s.en·c "'ntl hi:i ulJ1m.1tc conclusion to
                                             remove ti'11i: iw·or """"'""'·•rn•••oa••· ............................. _•.                  LS




                                                    i1.   The Govcrnmen.t ha.. :-:m :shown thm Juror No. 3' ~ voir din::
                                                          ans.w-r-:rs ,ri.,~xe inaccrJrnte m 1kccplr,.·c ....... ,.,.,,, ............................... 19



                    l       Th4: Govcrnrncr.t rclie.,s ;::!1iefly on pre.ce<lent L,e.l :-,er;·,cs to c-::,r1rlm1 Appellu:c:s'
                           Jl(-:,~~11.0:i: t:--:.;;; tl~.c app:-Q:1:u:: h the :rial co11r:: tc-ok: w.as f.arnll y· H,twcd ............................... 24


                    4.     The cxterrni '>'C rrntl:!lte of the ex p,ir!e. ;iroc:ccdir:gs b-c:tYlcen the i2Gur1 and ,J.:::puty
                           marshllil and the j u:rors fu,ther itnp8:r Lh:; potcm:,1l for i1nfor:11C'd appeU.tl.'. n.:view ""' J6



(Page 250 of Total)
                                                                                     App 816
       USCA Case #21-3072                          Document #2077668                                          Filed: 10/01/2024                                                      Page 251 of 477




                    S.    Tl:-,r;: evidence sr::-ongly s:..iggests L'E!.t Juror Xo. ·3 W:'!:S;;; :"lolco:-.n ,::'HW',·i:.:-J :,:
                          coerce a speedy verdjct ,. ................................. ,.,, ................................. .                                                                                                ., ......... 28

              ('., Conclusio1~ ................................................. ,........ ,,,,....................................... ,,,,,,,,,,,........ 30



                    .A. Stmidzm:1 of rev1cw ................................................................... ,............................. 31




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                                4. Thi:;: GLJvcrnmcnt'.~ L:se of fl "1ria! n:.'if..:1gcme-:!C th,.:cir:· rn t:xc::J:<,:! tb~ ~n.~I
                                   cou,t'.., ar1iric:ial l:mics r):1 r'.-:c defense; •:;asc r:.nzs unconvir:.:.::iiH::h .................. AO
                                                                                                                        ~-·                                                   ·-·    ;o                                                                                -




                                5. The jury w,;)uld h.]1,·e tu ha\c bel'.n d~i:- mll \(J nol1,:;c tr.c distrkt cc1'l.L'"1:s
                                   undue cc-1nrncnts towi.lfds ccfcnsc c-t:.0 LJ.il:,•:: I .................... ,.. ,, .. ""," , ............ -+ 1




                    B. S\'l'e-eney's purported statements to Srt'i.s:h were ,-:cir. "::i Curt:-ier;;i::.i:.:e D'.~· trx
                          L:(~TI~pir~c~,"I   1111111,,,   •1•!illl!llllll'   l,i!      -~    ·"'~~-   ··--··············••FFr---~··················~·· ., ... ,.,,,,,,. I"-►[~




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                   .E, Conclus~o.n .... ,......................... ., .......................................... ,.                                                                  ..................... 6:

        IV. Appcll~m u,, ,i;o:nvk:nons under the Violenl Crtmcs In Aid Of Racke'[cerir:g and the D.C.
            n:n..11t.ler i;talt..He mw:st be ove:rturnc,:J, .,.. ,,. .. ,.,.,.,,,.,,,,,,,,,,,. ,......... ,.,........................................... ,..... 62

                    A. The VICAR sLatute is. unconsti tt.tional ....................................... ,...... .,, .......................63

                                l. The c:~m-~tHu1ional ch.a:Jens:c W;j!S f.l(lt wai vcd ..................................................63


                                                                                      ·ll-



(Page 251 of Total)
                                                                                    App 817
       USCA Case #21-3072                                Document #2077668                                             Filed: 10/01/2024                                     Page 252 of 477




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                                             brnu~.hl a~ainsl Car.,-or: ............. ., ...... ,, ................................................ ,.. , ..... 67

                                2. Tr.:c VICAR case against \fr. c~~.;Hi:!':, dc,cs r;or. t1olc up any n-:ore :h;.,ri ·.h:.:: (1::i:.:
                                            ~ga.ms: .\lr. C:1..rson ............................................ _.... , .                                 . ............................ 67




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               Y,:Hnc:SSCS, .......................... ., ................................................ ,, .. ,,,,,,,., ..................... , .......... ,,72


                    A. The rck".iv.! t.0 ~u:lrrM the tc:H:mony '-VilS c:yc,:r ................................. ..                                                           :   ---   ,,;.;,,,,
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                    n. Th::, error,vl!>i.nut hannJc,;:.. .......... , ........................................................................... 75
        VL The prosecutor's rebu[ta\ arg.u:rne::r wa..:; im;m1-:r1e-r :rnd :-f~lbs:.;mu.a:Jy pr,;::judlc1:d [t':t::
               r\ppcllancs..........................................................................................                              . .................................. 76

        VfL The failuri:: lO d1s;;;losc \VU.son's prtor rncons:stc:11t ~ta1,.:-t:Knt ·,~•:.l.'., •l Dr.:.d~ ·,·io'.att(m,
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             jt;,incd ,..,, .. ......................................................................................... ... ........... ... . .. S6




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                                2. foi nLfr:r of the f-\munc rn;,in.icr '\\-' .~::; trr.pro:;:icr. ......................... ·-·········· .............. 90

                                3. Tbe Thon:1as-Lucas murdi::~ also werr;: misjuined ............................................. 91
                                      • ' o,f me
                                4. Joinr~t:r  ' 37:ti ,~j j•, shootmgs was aIso 'LmpermlSSh.t
                                                                                  · · • •r.i.1.e ........................................"':-.i.:..,




(Page 252 of Total)
                                                                                 App 818
       USCA Case #21-3072                        Document #2077668                                  Filed: 10/01/2024                     Page 253 of 477




        IX.   F.t /Juru: c,;rnl::.cts h~nvccn tl1c 11udge :1t1d rb:: Jurnrs v1ulatcd Rule -!.:l ,u:il cht:
              DL:.t: Pn:.:.:·e'.';:, ChrJ::-c , ....... ,...................................................... ,............................. ,.,,, .. ,....... 95




        Cl.RT1HCATE OF c:o:,.[rUA~{CT

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(Page 253 of Total)
                                                                           App 819
       USCA Case #21-3072                      Document #2077668                             Filed: 10/01/2024                                                        Page 254 of 477




                                                        IABLE OF :\t!TH(JRIT[FS~



         ·,·\rizona v. FuJtn.itumu. 499 C.S. 279(1991),,. .. .,.,,, ...... ,.;.... .......................................                                                                            ......... lD

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        mackle.d.ge ~'. Perry . .r17 U.S. 21 (] 'l74) ......................................... . . ...................................... 33




        Cal~{oroia. v. Grt·e.n. 399 U,S, 1,,9 0970) ............................................................ .

        *Com:.1 L llitrbert, :n l F.3d 217 (2d Cir. 200::r:i ..... .,.,,,..,,."··· ................................................, .... ~:




        DelawaTf' v. V,u-1 ArscL:ill, 475 U.S. 6'.:3 (lY86} ,................................................................... ,...... :




                                                                                                                                                                                  .............. 5"'.'




        Jones v. fJnited Stf1'fl'S. 529 Li .S. 848 (:~000) ... ........ .. .. .. .. .. .. ... .. .. ... . ............. .                                                    . ................ 66




        Krulewftch v. Uritred States. 336, U.S. 440 (1949) ................................................... , ...... ,, ........... 79

        Lan1pnu.:h1 v. FCC. 958 fo'.2d 382 (D.C. Cir. 19Q2),,..,,, ... ,,,,,,, ......................................................44


                   ~ A~1th0ri.ti{':.S up:m w!~idi we thi,dly rely :are marked with a.steci~ks .
                                                                             .\' .

(Page 254 of Total)
                                                                       App 820
       USCA Case #21-3072                                  Document #2077668                                        Filed: 10/01/2024                                                     Page 255 of 477




        *:Vedt.,- ~•. {/nired Sta!r-:.\·. 527 U.S. I ( 1999)                                 . .. ..... ., ........................................... ,,, ,, " .... ,......... l O




                                                                                                                                                                               ·························5-;




                                                                                                                                                                        ,,i,,,i••••••••••••••••••••ca                                   :.-:. 11




        Parts ,md Elec!dc Morors, lnc. v. 5terUng Efratir..', lt1,:.' .. 866 J7.:2J 22R (:~<-:. Cu- 1988) ................. 9



        Pointer~··. Texas, 380 U.S.·@ (1965)..................... . .                                               , ............................ ···············•,o••····-- ... 56




                                                                                                                                                                                                                          ., ,,         .... !-,
                                                                                                                         • == • • • • • ,   •-• • , . , , , , , , •, • , , , , ••, •• •   •• •     c • • • • . , , • •,,.;,.  J I       .,~_.I




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        *Spil·en•. Roxbury Corr. hist., 194 E3d 54 7 (4 ili Cir. l 1) 1)() 1... , .. ,, ............................................. :S·+



        Sidfa...:u:1 ,,., l.m#siana., 50S L'S 275 (1993) ............................................. .                                                                                                                               .} l

        Tenn Valley Auzh. '•'· HW. 431 lLS. 153 (1978-) . ,. ................................................................. ,....... 3

        •·tt.,lp,i:r-,
                1 1
                                                ~ .,, :~. ·62
                          J· ~• ••,.,,.,, 0 II ,{'LrL,itU-.i,
                ~l fi L,,.(, J•tii.il I.IJ
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        {Jrr.ih:•d Srart:.•s l 1• Ba.dni, 97 F.3d 147 I (D.C. c~.r. l.996) .................................................. ,... ,.......,. 63




(Page 255 of Total)
                                                                                          App 821
       USCA Case #21-3072                    Document #2077668                          Filed: 10/01/2024                 Page 256 of 477




        United States !-'. Boni})'. 68 f.Jd 497. 51)2. (D.C. Ci:. l 9-95::- .......... ......................... .. . .. . ............        J9




        lh.ltt'.d States v. Bwla, 822 F.2d l l!H CD.C. Cir. 19:S7l.. ............................................................ 17




                                                                                                   ....................................... 56, 5"7




        r.JNi!ed Swt1.:·s v, Des.e:ruJ, 260 f.3d !50 {2d Cir. 2DU1) .......................................... ...... .. ..... 50. 5·l



        United Stmes v, D,mt.sch,. 373 F Supp. 289 (S.D.N.Y. 1974) m ..................................................... 83

        (Jnited Stares •1.•. Dhi,is,~. 243 F.3d 635 (2d Czr. 2001} ............................................................ 57, 58



        United Su:m.• s v. lfdmtJtui, 52 .f:. 3d 1080 {D.C. C;r. i 995) ........................................................... .54




(Page 256 of Total)
                                                                   App 822
       USCA Case #21-3072                     Document #2077668                          Filed: 10/01/2024               Page 257 of 477




        United Smtes v. Felfriat.10, 223 F.3d l02 (2~ C:r. 2000) ............................................ , ,,,., .......... (iJ



        Un.iu:J Sta.te.1· v. G,:rgritm, 47[) U. S, 522 1.1985) ............................... .                           ...... 9.5, 96. 97




        """United St41t/Js 1.-· Gm·m1on.. 146 F..3-d 1015 CD.C. Cir. l 9%:1 ,,,.,,,,,,, .. ,, .. ---·························· 27, 7'7

        U,:itc•d Sla.!l~S ~·- Glick, 463 F2d 49 l (2d Cir. 1972)., ,...................................... .                 """""'"···26




        (.trdlt'.dSmres v. Jfolliman, 923 F.2d 8'73 (D.C. Cir. 199: J .




        llntt'edStatc.1s v, Ltreky, 5l0 U.S. 540 (1994) .........................", ...................................................... 33




        ·United Suaes v. L.iC'auJ.·i. l6i' F.3d 36 (P1 Cir. !999) ... "·······--··· ................................................. 53




(Page 257 of Total)
                                                                   App 823
       USCA Case #21-3072                               Document #2077668                                      Filed: 10/01/2024                                                            Page 258 of 477




                                                                                                                                     .. ,,..;;, ..................................... -1-8




        fJm'!iJd Suu1:.~s v, i'vlorriscm. 529 CS. 598 {2000) ....... .                                                                                                                           .......... 6-1-65




                                                                                                                     •••••••••••••••••• ·•·····••···························24

        Unit,:.•d .Sta!es v. Ohuw, 507 U.S. 725 (J 993) ...................... ., .. .

                                                                                                                           ............................................... ,....H:

        Umted Stales v. Paone, 782 F2J 386 (2d Cir. 19&6) ... ,,, ....                                                                     ..;....................................... ..J.9

                                                                                                                                                                        . ""'·"""";'"";'""; ... 9




        Unitt.•d Scales v. Perry, 7.31 F.2d ~85 (D.C. Cjr. 1984) .................................................................. 86

        Um·1ed Slate.v k'. Peta.wn. 100 F.3d. 7 (2Ll Ciir. 1996) .............................................. ,.,.,,.,,.72. 73, 74



        r,..,.i'TZJ!~
            r •• d Slt.lte:s \l'. Ph J'll'
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                                                 239 F ~d t:·'}n ,l•.,:1i
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(Page 258 of Total)
                                                                            App 824
       USCA Case #21-3072                    Document #2077668                               Filed: 10/01/2024                               Page 259 of 477




        r: 11i1ed Sw1r:~s ·,·. l\.,flack, :G+ F.2..:l 9641.D.C. •Cir. 1976) ............................. ., ., .......................... 82

        r~nited Sw!es v. Pos!k't, Hi4 F2d. J):l:'i 1. l I th Cir. 19:S~) ...................... ,... .                                                                                   so


                                                                                                                                                  '"·•··---··········40




                                                                                                                             •   ••••••••••••••••••••••••-•                               ~
                                                                                                                                                                                         n.'J   I
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                                                                                                                                                       ............ -· Sf.i




        L',Jrcd 5ruu.·s ,. RDld,m-Zlp:-ita, ()_l(i F.2:J 795 (2d Cir. 199():1 ............... _ ................................. 47

        L'uired Srat£::.- v. Ro,~drr, fiJi) F.2d 9., i I ~d Cir         1_   l.}8 t :i ...... ························---·· ........ ,............. :26




                                                                                                                                                                             ..... ;2f.i


                                                                                                                                                                     ......... 47

                                                                                                                   •• •• •• • • ' • •   •   • •   0 IO I ! ' 1 , •   • 1 ' ' ·•• •   •   4~:

        U.tii,.~d S1.r.:r.res t· Snmr,·. 98 F.Jd 1379 (D.C C, I 9q6: ......................................................... ,,.. SO




        "'"Uriirr>d States 1:·. 5~vriggs, 102 F.3d 1145 (D.C. Cir. l 996) ....................................................... 86




(Page 259 of Total)
                                                                   App 825
       USCA Case #21-3072                     Document #2077668                             Filed: 10/01/2024                         Page 260 of 477




                                                                                                                                " ....................... I. 0



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                                                                                           ·•!;;,,   ···~·····~~--~~~--   •••• ,,,,,,111,1,, •••••••••••••••   ~ •1




                                                                                                                                .................... 27. 9R




                                                                                                                             .,.,,,,, ..................... 63




                                                                                                                                     . ············· 5.0-51

        "'[.'mrcd S:ufr•.1· .. ' ~Fl,it,.:, E:38 r.:Supp. 6; E: (D.D.C [•)<)~~J. ,,;Td.
                  l L6 F..3Ll 903 ITJ.C. Cir. !:•i97L ................ ., .............. ., .. ,....................... ,, ............... 5r::,. 57




                                                                                                                          .................. .46. :f7, 4S



        U11ited Slat.es i:. 1-J'olf, S39 f'.2d 1387 (101!) Cir. l 98E} .............................................. ,... ,.,.,,.,Ma .... .48

        lh1ited States v. H~M11I 442 P.ld 858 O).C, Cir. 1971) .................................................................. 3'2

        {}niled States v. Yo~mg, 470 U.S. 1 (1985) ....................................................................................... 40




(Page 260 of Total)
                                                                      App 826
       USCA Case #21-3072                        Document #2077668                               Filed: 10/01/2024             Page 261 of 477




        Con.s:Htutiona!. Statuton·. and Regulator,· Authorities
                                                                                                                                                           .....,-_.,
        r.- S. Cor:sl., Arn. 5 ,, ..... ,.. , ......................................... ., ..... ,                              •••••••••••••••••••         ,I:-




        18 L'.S.C. } 144 ..................................... ,....... .
                                                                                                                                                            , ..,
                                                                                                              ..................... ,. , , , , . , . , .. l).:::


        ]8 L: ..S.C. § 1959, ,




        ft.::d. R. Cnrr..P. 23,

        Fed.. R. Crirn.P. 43.

        Fed. rt Cnrn. ?. :52rh,1 .......                                                                                                     .. ....... 6-4




        fo.j_ K EviJ. SCH : b)::iL ................................ ..




        OU,,.., A uthoritie.,,;




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        4 1. \Veinstcin & ti. Berger, Weins!ei~'s. E1,;·[dence 'i 80l(d)(2){E)[01] (1992) ............... ,.,,., .. ,,,..49

        R. Bolt. A Man for All Seasons. Cfhree P1ays, He.i::rncmmn ed. 1'967) ............................................ .:1




                                                                               ·XU-




(Page 261 of Total)
                                                                          App 827
       USCA Case #21-3072                   Document #2077668                        Filed: 10/01/2024              Page 262 of 477




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                                  APPEAL FRO:\il TIIE ll\[TED STA1TS Ol5TRICT CO(:RT
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                           REPLY BRIEF or APPE.LLA(',~T:S S\VEE:·d::Y. CARSO:-.", COATES.
                                              ~lARTT\" . .:md ffILL


                                                           L~T RO Ul.' CTH):\




        seemin,g strength .of its f3ctuai pre.sen.tatian. The Government opens its brief with a le:11g1hy.

        almos.t painstaking presentation of its ci~se,1 devoting_ fully t1,:vemy pc-rcent nhts word .allotment

        to ~he t.:t.sk, Appareml.y. the Gn'.'t.mrne1u thoughl thi!:i prcscntatfon impe:mrive to i;s rc~,;.ponsc,

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        ht:'i,L~f ~$ "'Arip, lk  .. .'' The r..::ma.rning citation forms wm be the same as thoi;e t1.r;e.d in {tlJ!' opening brief
                  i Sc,~ GTJ'-'L B.r, 7-57,



(Page 262 of Total)
                                                                 App 828
       USCA Case #21-3072                   Document #2077668                   Filed: 10/01/2024         Page 263 of 477



        since Wl chose co i ndude its version of event.s rather th.Jin, for exa.mplet "respond{ingl to ea.c-h of

        appellant's cited examples'' of judicial .mjsconduct.3

                  Yet, mstrictly legal terms lhe Govemme-nt' s ,;.;\position of the faces was generally

        un nec:~ary. Exc.cpt for a few relatively 111a:r.row factu.:11 oruillenges, appeUants did not qur;csoon

        lhe sufficiency of the evi.deocc presented - and those challenges were rc:adily dealt with. in tJ,e

        other ponions of the Government brief.' It is evident, therefore, that the only real n:ason for lhe

        Gov•tmmcnt' s 50~pa.ge dis.qui s.1tion on the f.acts adduced at trial is an attemp1 to ICinforee a ''bad

        rrum11 theory of appellate review- that "bad meo" bould lose their appeals.

                 We spoke of the dangers oftrus approach to lhe law itJ ou.r opening brief.' The

        temptation. surely. i$ great When defendants are perceived as having dcrnc t,enibfo acts and

        whoTI the Government and COLlttU have gone: to grci.t expense a:nd trouble in bringuig a trial to


        fn.rition there is icvery reason for this Coun to seek grounds for affim:umce. The Govemmen,t 's

        extensive :reeimtion of eoncedcdJ y horrific testimony and evidence is designed to reinforce that

        understandable instinct and, implicitly, ro ask this Coun to ground its interpretacior1 of the 1-llW in

        a reaction to tho nature of the crimes with which Appellants w-e ch11rged.

                 The G ovemment doubcles.s defends tlus approach as providing "coo teat'' and we do not

        dispu~e that context matters. But so does the law - even mo.re so tban co:ine,ct A.ad tho law hero

       is on Appellants! side. As_w:e.conc:eded.in out irutialbrlcf,,. theJaw..doesnotrequire_perfectioa..-

        ·'tbe Constitution eatitles a criminal defendfil'!t to a fair lri al , not a pe:rfc-ct one. •>'fi But justice.

        does require fai.t0C$S - and,, w.e r:epe:at, this trial was not Jai.r.

                 3 Id. !It 100. For oor ~ss.io11 of me Govcrn:ineat.' s mspcmsc IDld tt, 111c:,t111ble milure 10 address
        the issue of j u.diciaJ biii.i. see infra § IL
                 • E.g. Gov Br. 24:uiO.
                 $   See App, Br. 14-15.
                 l'i D-6.laware v. Van Arsdall, 475 U .   . 67J, 681 {l9'86),


                                                                  -2-
(Page 263 of Total)
                                                              App 829
       USCA Case #21-3072                Document #2077668                    Filed: 10/01/2024           Page 264 of 477



                 Indeed, gj velil ICCIL-"ILt developments in other ._.mega-trials," 7 affimring lhe c-onviction.s,m

        this case Cl.OW has the pr~pec:E of undemrining the rule o( law for other torus iD this jurisdiction.

        If dis.miss.al of a juror at u1e conclus:iun of a k:ngtby uial is to become a commonplace t11etic in

        our efforts to combat "heinous" crim.o. then where will the Constitutional protecdoo of trial by

        jury be when the Government's aitenlion next turns to less.er crimirud offenses?

                 The thoughts ascribed co Sir Thomas Mote by playwright Robert Bol t offo, a c;autionary

        vision of e~pecial applicability here - one to wruch me Supreme C~ has subscribed.:

                 The law1 R~, the law. i know what's Legal, not whal' s. right And I'll &tick to whar's
                 Iegal .... rm rwt God_ Thll currents and eddies of right and wrong. which you find sueb
                 pla.in-salli.Dg, l cllll't nn'ligntc, rm no voyager, But in the thickets of the faw. oh there rm
                 a fores~r-~-· What would yoo do? Ol1 ill great r,o,a<l throU-gh the law lo get afcer I.be Devil1
                 ·-- And whtm the la.st law was down. 1:1.Dd lhe Devil mmc::d 1'1J'Ulld on you-wbere woold
                 you hide, Ropcli, the laws all being flat'?'-·· ThiB cowmy's pla:ntcd thick with Jaws from
                 coast to coost--'.M11.11' !i htw:s, not God' s-amd Lf you cul them down ... d' you recilly think
                 you.could st.®ct upright m\be winds thai would blow lhcn'L. Ye:s, ra give the Dei,,iJ
                 benefit of law. fo:rmy ,own saf'4;ty's ~ke,1

                 With all due respect, lhc Government would have this Court C:l.lL down the Laws which

        protect all Americans - mool notably the r.lghl to trial by j ury and to an itnpactial jl!dicial officer

        - so that it may get at the Devil it sees in Appellen1s. for the Government m prevail rnmr enlist

        the Court as a fellow lumberjack. TI:iis Coun.. with greater is.sues 1n D'lincl. ~hould ro,r,e.ct the

        invitation to join in any futther c1C3.t'-eutting of oonsti.wtiomtl rights.

                                              SUMMARY o ·F,ARG . ffl.NT

                 1) The distticL oo:urf s. finding of ujust ell.use•• to dismiss Juror Na. 3 d.uirl~g deliberations

        in July, 2001 &snot supported. by the recorc:L The Govcm.mcn:t's response fails to establish thitt

                1
                  We refer hen: to the publicly rcportM decision in Clnir:e-d Stmu 11. Simmons a r.u imd Unlred
        State~ v. McGill, (D.D.C. Nos. 00-157 (RCL), 0:2-045(RCL)), dism:i"SSim,8 Ill hokiootju:ror who ~pressed
        the view Wil/L the Oovcmmcnt's im.f'orm1uu-wit11c:s.se:.11 lachd. cred.lbllity. Sae e.g., Carol L::onnig, ''Trial of
        D.C. Druz Gans '8.Qds witll Six Convicred~ Ja.dge R~placcd RofdouLJuror in •Mureer Inc.' Case Wbich
        Lasted Six Month$," Washington Po:;.£ at .B03 (May 11, 2004).
                1
                   Tenn. Vall8J Auth. v. !Jill, 437 U-S. 153, 19-4-95 (l97S) (quorircg R. Bo!t, A Mll!!I roY AU
        S011.5ous. Act l, p-. l.47 (Three Pkt.ys. Hew:mann ed. 1%7)).


(Page 264 of Total)
                                                            App 830
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024         Page 265 of 477



        thCII:- wa.s any legitimate factua.l basis. to conclude that Juror   o. 3 was mentally inc!lpacitated.

        and unable to set"\le a.r.i. a juror. No.rdoe, lhe record support the proposition that Juror No. 3's

        answers on lhejory questionnaire that be h~d filled out in December 2000 we-re dec.optivc a.ad

        required .his summaey diunissal.

                Morem'er~ the process us.ed by the district OO!Jrt appears to have been a preordaim:d q_ue.st

        for •~u~t cause" to mm.ovc the juror and o!btain speedy \'erdicts aftoT more than six months of

        trial. There were numeroJJS ex pane communicatioas between .several jurors and court persoMel,

        in.eluding the dis.trict judge., concerning Juror No. 3. The court's deputy manhal oo.nctu:cted a

        lackadrusical "'investigation'' of Juror No. 3 and shared bis .findings (if they can be described. as

        such) e.x pQne with the judge and I.he prowcutors. The district court Ulen beld evidendary

        hearings notable more for what lhey didn't ask dmni far what lhey did focus on and fur the way

        that the defense 0011n.sei were e.~luded from meaningful particip:nion. Guilty ve:rdietci bega11 lO

        be rr::tmncd hours after the juror1 s :removal.

                The tnaJ jodge's ultimate ~asoas for dismissing Juror No. :3 were fact1a1ly uosuppmt~

        illogical. and shifting. For [nsta.nce, U,e cow,. conswted a Physicians' De.sk Refer~~e and

       cc.ached the grou11dless conclusion that the juror''s use of a :sop0rific medication somehow

        rendered the juror inc-apable o:f participating in del iberations. Because the juror admitted la!.lting a

        handgun hem his. homeless bro ch.er md thr-0wing-il-.a-wa)' beG.a11Se he knew it was-illegal-to -

        poss-ess handguns in D.C. 1 th.e court also reached the baseless conclusion that thls must have

       happened be.fore tho juror filled out a juror questionnaire eight months pn:vi.ously I in which he

        denied pas.sesstng a weapon sinoc: military service..

                WoISC y-et, the trial court later dis.avowed its. ftncting that I i.rrw No, 3 was :removed for

        suppos.edly having been "ciel:..:eptive•• in answering the questionnaire. Seveili mmnhs. lamcr. Io:ng



(Page 265 of Total)                                        --4-

                                                          App 831
        USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024         Page 266 of 477



         airel" the verdict\ had been returned, the di.Btrict court lbacl"trackc-d~ The juror lhadn 't acted v,ith

         scienur, airer al l -he had only bet-'11 "inaccurate/' 'These inreconcilablc statements further

         confirm that the: process. usod below was askew and chat structural error oocurred .

                 :2) The tti al judge repeatedly exhibited bias against 'tl'te dcfeadants, making clear r.o the

         parties and the jury his belief in the defend.a'nts' guilt. He imposed un.d ue restrictions aa cross-

         c.unnina.tfon Rnd made repetitive, openly expressed. and chillin,g: threats that ne would jmpose

         S'imctioM or withhold: CJA ,·ouchers. Th.is bias conveyed the jodgc's vie-ws of the case to me

         jm)'; influencing their decejs.iJon, and c1.lltailcd counsels• advocacy_ Moreover, this judicial

         conduct provides lhe important context within which to view the dedwn ro exc11se Juror No. 3.

                 'Ihcc Government; s principal response is to argur: tha_t \VC have not met OW' leg.al burden of

         showing error. Confessing chat the c-ited errors are too numerous to respond to !i:ndi vtdual[y. tile

         Go,·ern.:ment' s simply disrega:rds the p~culw- f-11cts - 8Jl inability tbat demonstrates the sheer

         mapntudc of tho judicial bias. When examined careful] y, the Judge 's conduct warranJs reveruJ.

                 J), The djstrict court allowed the Gove~nt to introduce substantial be.us.ay evidence

         of statemcmts made by Robert ('13utchic") Smith. The trio court mistakenly decide-0 thac

         Smjch's m~justified forfeitur-e of the defendants, Si-,;:th Amendmcn.tConfrontation an.use

         rights to object to Smith's be4i.rrsa y stutcments. Bue lhe court wa.s wrong - it first iii1:0I11.ctly

  - --l"oneh1ded that Sweeney' S,--ij1:QleJilenC:s-to Smith were "in furthemnG " of-r.he -E.:OD.Sp.iracy and then

         disregarded the nature of me nears.ay evidenoe wh:i:ch, ev<:m bad it bee11 offered as li \l"C ~ti.many

         by Srnilh. would have vio!aU:.:dBruJon as to defendants Catso:n :imd Coates. fudee.d; lhe coun.'s

         decision, remarkably, p1.1i1 lhe Governrn.,ent in a better evic!cntiary pos.ition lhM it wo1.1-ld have

         beefl in had Smith been alive to testify. This was er.ror_




(Page 266 of Total)
                                                         App 832
        USCA Case #21-3072            Document #2077668                Filed: 10/01/2024        Page 267 of 477



                 4) The district court should have granted Appellants' timely motions for judgment of

         .?cquittal o.n the VIC.'\R (18 U.S.C. §1959) eomns. The Govemmenl':!i theory of the case

         requires ein e,:,pans.ion of VICAR beyond its confines and violates th~ inter.state commerce

         principl.es of Lepez. and Morrison. Mor~over, as to certain acts, there was no evidcm::o a

         conm:ction acts to an enterprise lhat l!ffcctcd interstate commerce. To the contrary, the efiidcncc

         showed th.at these .aciiona were personal in natUit! and weren't related to the organization's

         aff~.

                 5) AppeUan1ts convictions for several murd.eli), under D.C. Code § 22-240 l rouse be
                               1




        vaeatcd as die ch11rges were improperly joined to tbs federal trial. Becnuse they invoh•ed 'YiolenL

        acts JJnConncc:ted to Che alleged enterprise the cbargcs should h.ave beet1t severed. and tried in

        Supierio.r Court.

                 r6) The d~suict ~ourt prohibited the defendants from propoundiDg to the jury ,sworn st.ate

        grand jury testi.mon)' of two u:oa ,,rw !able witnesses whose statemerits tended to exculpate

        defendants from complicity in the triple murder. That timi.ted Appellants· ability to present a

        defense and prevented them from advising the jury of this powerful eaculpatory testimony.

                 7) In rebuttal closing argument lhe Assistant Uniled States. Attomey asked whether the

        jury considered il "'as strange or a.n incredible coincidenc~ that the Government is part of a

- - - eons;pira-cy to charge. imtecoot-peopfo with Grime~ amt th.al ..only the pt();plc-that &ame in and

        admitted their guilt were reaUy gumy and evcry-om:1else compfetely innocent?" Contrary to the

        Govemmeut's assertion, Defendant's p11eserved lhciI"objection to mis m.iSCOfldLrCt. The

        prosecutor' statement asked the jury to mfer defendal'lts' go.ill based on the pleas of tll0$e who

        ~estifitd This was error and the error was not hmn.lcss.




(Page 267 of Total)                                       -6-

                                                      App 833
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024        Page 268 of 477



                8) Charlene \V1lson was the sole pwponod eyewitneitS to the murder of a. man nmne<l

        Anthony ('"Tony') Fortune. She rest.i.fied to seeing Car.son commit Che murder and drive away

        wiU, Martin. But earlier, YBI Agent WIUTI:ncr had recorded io his mvsstigative no~ that Ms.

        Wilson had only '1:iew-d" abool the murder - ftot that she had seen it. That prior inoonsistent

        statement was not dlsclos.ed ~o AppeUa.nts until nC'filJy fortr monchs after Ms. Wilson testified -

        long after it was possible to effo-ccivcly croos~examjne her. The Governl!Jlent's ~ponse: that

        disclosure four months after testimony ti.ms any Brady error blinks a.t reality.

                9) There was a prejudicial misjoindt:r of tho offenses rel.H!ted lO 37:h Street with the R!CO

        and conspiracy couars involving activities at 200 K Street s,,,,_ ThoS(: alleged ~ts of gratuitous

        YioJencc, which occl:lrrCd.in the: 37th St. neighborhood, wr::re unrelated to the undcdying charged

        conspiracy.


                                                     ARGUMENT

                The Oove.nunent has reorgarnzc:d its response t:o our opening brief and grouped it~

        argument in ways chat it deems more appropriate. Given the sc:ructure of our Opening argument.

        i nch.1dlng lbe divergent :ippjjcability of "'arious arguments to ind:l vi dual Appcllruits, we adhere ta

        our ope-ru,,g briers organizatton.9

        I.      The Gov,e,mmenrt bns n.ot r, l'uled ppeUaots' proof dult the. District Court'
                d'mds ·al of a dellberatlngJuror was wtju~1ifled, lllllJ!.red by~ parle
                commumcati:oo.s, based upon flawed ond ini;onsistent remionlng, aind constiklted
                r,evemhle stntctund error.

                The trial coon la.eked the reqolsite jUft .cczuse to dismiss II deliberating juror and then

       proceed over their objQCtions to Ycrdi.cai .from an elevcn-mt:mbcr jury. The discriet court, after
                9
                 ln this Reply BcteJ we ll1$WC-t only the Oovemrnel!t' response to issues 1 thro1Jgh 11 of our
        ppeal. With n:spt::ct lo is~ 12 through 23 (011llyzod in §§ Xl, .xn, xm, XIV 3fid XV of our opening
       brief). wo incorporate our ~Eing alignments ~ our respoa.sc. if:n our view no adciitiorul briefing is.
       noccssary (or the Court to have a dear undcrftanding of tb.e questions involved in resolution of~
       issues.


(Page 268 of Total)                                        -7-

                                                       App 834
       USCA Case #21-3072                 Document #2077668                 Filed: 10/01/2024          Page 269 of 477



        nearly eight months of trial proccedings,1° must have recognized by the cl0,s.e of bu~incs.s on JuJy

        19, 2001. thal il Vora:! facing a mistrial.Hit then indiscriminate,ly dismissed a deHberatfngjmor,

        whom it and the pr~ecutors perc::::i'Ved to be a holdout. Its decision cviBce.rate.d Appellants' due

        prooess: rights to a unanimous verdict from an impartial jury, as well as their rights under Rule-

        2J{b) to a decision from a jmy of twelve. The court's finding of '1ust cau.se" to dismi&s Juror o.

        3 cannm be supported by the mx>rd. In fact the opposite holds tme,

                Th,e Government as&ens mat Juror Na. 3 s diSllllisru was based ••entirely on infotn'lation
                                                               1




        obtaiPe<I. independently of the court's and the deputy :marshnl'o t.T pg.rte communications with

        Juror No. 3+...11 That's not accw-ate. The rocord d.emonsmi.tes that the court erroneously

        discharged the jl\lror from further deliberations bas.Gd on irs ex parte com.tnuniclltion with him

        and on Deputy Marsha[ Adams' s numerous ex p(irte communications with lhe juror, with other

        jurQT'$, with V.A. bospita.l security pcrsonne], and 'With tile prosecutors lhemscl\l'e,s.. The: coon


        thmi compounded that error by relying upon mis.information derived la.rgely from those ex pa-ne

        co11tacts1 by inflating o:r misinterpreting what had been conveyed to it.. and ultimately by

        erronc::ously chru-acrer:izin,g as ..deceptive'' the juror's answers to amb1gllous questions. posed i:n a.

        prolix 1,1oir dire questionnaire adminhtcrc::d sr::-vcn months earlier - a ch.aracter.i2ation the ooun:

        ]atcr ,disavowed in deciding Appellants.' new trial motions.




                10
                  1ne case had consumed approtima.tely six weeks of j ury selection, she m,r;mth.~ of ttial, am! one
        week of jury dclibci:atiotrs. (G01a·cT!l11¥:nt'i Omnibus Oppo~tion to Defenda.nts' Motion fer a ew 'l"rial,
        at~ JnlfYl, R. 827) (App. 1:147-1419).
                11
                      Thi, ap~hemion, no dot:!l1t, was fucl-ed bo/ the lack of any vcnlii;;u afte:ir sc,,·ca days of
        delibm.tion nltbougb. I.be court had i:n!tnl.Cted tlie jury it could rn~ p:mial verd:lets. (7119/01 AM 4,
        App. 3787). St:e alw (71251'01 AM 54~55, App. 3349·5"0)("11 at any time you are of a mmd that you wish
        to return ., partial verdict md coutinue deliberation~ with III view to re-aching :a verdict on lbe remainder of
        lbc c ~ and dsfe:adams, all you Med to do is to no<ify ~ by norc. and we wi.1.1 '3kc ye>ur pmti:d
        v.crdkt. "').
                12
                     Govt. Br. 77 n.42.


(Page 269 of Total)
                                                          App 835
       USCA Case #21-3072               Document #2077668                     Filed: 10/01/2024        Page 270 of 477



                 The trial judge• s conclusions do not s.eriatly or synergistic.ally support dismissal. A.ad no

        maner bow the Government re<:asts the facts, t.h.e district court's decisioo is not defensible, ~vcn

        gjvcn a lrialjudgc's gre.ar discretion in trial management Appellants' co"Dvictions must be

        vacalbd withoJJJt regard to prejudice because the conn lacked Just cause to dis.m.iF.s Juror No. 3.

                 A.      Tiu~district court' errooeoe decision co:nstltutL-d stmctu.ral error.

                 Appclhmts initially argued that the district court's decision to rei-")1ove a dtliberatingjuror

        should be reviewed Ll.Jlder an abuse of diSCJttion standard. 13 The. Governn:l'ent•s. effort to

        rationalize Lhr::: court's. words and deeds confim1s thnt. wheri the e-nti.rc rccoTd is reviewed; the

        decl.sion to dismiss Juror No. 3 does not pass the .._.o!factory test of discretion, " 1• under an abuse

        of disc.reti.on smnda!ldl.

                Moreover, lhis smodard may be too generous. The Fourth Cl.1.'Cuit dee-is.ion 1n U,iit'ed

        States v. Curbelo, reverse.<I. a conviction obtained after the district coun improvidently dismissed

        a juror 311d forced the -case to continue on with ,eieven juro:rs. 15 Looking to mis Court's decisions

        in Uruted Stares v. &rst!.r16 and United State& v. Pa1tersun, 17 Curbelo held chat lhe erroneous

        deprivation of a defendant's. right under Rule 23(b), to a. rweJve-penionjury 1"tHinted the process

        by which guilt was determined. and it therefore mberently casts doubt on t.ho n;liabilit)' ,o f the




                13 A
                     ,.-,,pp. Br. -·
                             '],I


                  14
                     Pan.s and !Electric Motors, fnc. "· Sterling Eie.ctric. ln.c., 866 F.2.d 228, 233 (7ai Cir.
        l988)(nbuse of discretion .assessed by whether proffcmd cxpl.aJ)ations ,..5tri..ke us :is WtOJlg with the force
        of a fh,'C-wcck old, unrcmgenued dea.d fish."').
                ,., Uni1ttd Star:e, ..,_ Cmwlo, 34:l P.3ci 273 (44! Cir. 2003).
                Id Uniied Stait.s ~. Essa, 134 F.2d 832. 834, 842 (D.C. Cir, l 984'){,cited in Cl•rb~. 343 F.3d M.
        283-84)).
                 l1 Urrited Stat!!s ~- Patterson, 16 P.3d 1]27. 1l29, 842 (D.C. Cir. 1994}(dt8'f in Cu-rbt.lo, 343
        F.3d at 284).


(Page 270 of Total)                                             -9-

                                                           App 836
       USCA Case #21-3072                     Document #2077668                Filed: 10/01/2024            Page 271 of 477



        jury's. verdice•L The panel majority concluded mat such e:rror con:stiwted structural crrorL9 that

        was automatically reve:rs.ible.l'O

                 To be swe, Curbelo conceivably could be lim1ted to iis facts (as the Government suggests

        it should be.)111 fat there the jury had not begun delibenui0:ns before the jllIDr's removal. So lhe

        Government argues that Rule l3(b) w.as not impUc:ated there, since Che .rule becomes operative

        only after the jury retires to deliberate.12 However, Curbel,c relied on. a numj'ber of cases

        e.ddi.'e.s.sing the rem.O'-'al of a ,delil.'ie.ratiogjuror,2'.l In nearly all of these (:ases, the district court

        failed to,estab1ish suffic~ent •~ust cause" for e,ccosing a juror before. proceeding with an

        11-member jury. The e.ppeUare decisions overturning the verdictS reflect the nnportancc ol

        preve-nting juro.rs- particalarly those who mig}u ha.ve dissenting views-from simply "opt[ing]



                 A;ppella.nLS do :not view 1he tim~ at which. a s,itting juror is dismis.<ioo as the critic-al

        diitinctiori. Regardless of when a juror is. clism.isied., dilling trial or deliberations, Rule 23(b)

        manifests. Congress 1 s ''particular cam'' to preserve the, venernb!e common law nghl to .o: trial by



                 18
                         CurotZo, 343 F.'3d at. 283.
                     0
                 '    StluctuJ".d mm affo-:t the very •• 1frameN,o.tk withm wbieh the bia1 proceeds, rathel' iban simply
        ,.. 'the trial pl"()QC$S i~lf.... N~r V. Unitea SraU_f, 52? U.S. 1. 8 (1~9) (gl,lQting Ariion~ i..•. Fuf.milt(JPUe,
        499 U.S. 279, JIO {199l)).
                 10
                         Curbelo, 343 iF.3d ru: 283 .
                 11
                         Gon Br. 76 n.40.
                 12
                         Ourbdo, 143 F.3cl at 2.S0.
                D Se"- t.g.J Unired SUUIJ ,.., A r®,J'o, 62 F.3d 930 (fl' Cir.1995}(vio.Lation of Rule 23(b) entitles a
        def~ndimt to~ n~w trial, v;;itb,ol,.Tt n;.gaJ'd to actual pmjud.i:oe); Unite.a St<:u~s v, Tab~a, 924 F.2d 906 (91b
        Cit.1!:>9-l)(Rulc 23(b) violated. whc:njuror exc.-1l!ed ~use Jnis wife had taken his. car kc.ys); Unit~tl Slates
        v. G~rre,o-Peralta, 446 F.2d 876 (~ Cir.197 l}: United States ·.>. Rt!ytJ, 603 F.2d 69, 71-72 (9th
        Cir.1979) (dodinfog to .apply hannless error standml to violation of Rule23(b)'s written, $<tipu.lallor:i
        req~melll); Utii-tsd Sr.a1t,r ~. Taylor1 498 F.2d 390 (6th Cir.1974) (per curiam). (rejecting iPropoidtion
        that barm!ess eITOl' review applies to a violation of Ru.le 23(b)).
                 i.c &su. 734 F.2d at 8411.



(Page 271 of Total)
                                                             App 837
       USCA Case #21-3072                Document #2077668                  Filed: 10/01/2024       Page 272 of 477


                          15
        twelve ju:rors. .As this Court's decision in Essex ma.kes plrun, •·even defendants wlto a.re

        ob,riously guHty are ~ntilled to the basic procedural &ilfeguards of a fair trial, including I.hose

        required 'by Rule '23(1)).''u Thus a district court's erroneous decision to remove a deliberating

        juror js 'inhc;re,nl1y prejudicial and per se reversible.''27
                 1




                       B. The grou.ru:ls that tb.e Govenunent bas offend to support tbe tr.lnl c-oun:'
                           dedsi.on coilapse under inspection.

                In its reply the Government makes essentially two oounte:r arguments: Ihm. lhe rustrict

        court made an ~~ate rrec-ord ta support removing Juror o. 3;28 and that the lower court did

        not commit et'l'Ot by failing to, grant :u. mistrial.19 These contentions miss. the mark.

                Fir.vr:, tnetc was no f acu.utl bui~ LO conclude that ltlfor     o,. 3 either- was mefltaHy

        incapadtated m: unable to perfom his .ser,'ice as a juror or that he had provided anything other

        tha.o truthful imswers lo the questions posed in lhe jll1"0t' questionnaire and during voir di.re.

        Sftond. by allowing Lhe case to go forww-d with c:le...,en j 1.1rorn and m f ailmg to grant a misuial,

        the court commi.ned sttucb.ll:.l.J error.

                           t.      Tiu: pl"O~!; by wh.k h t1ue Court conduCU.>d its i.nqlliry was deep]y
                                   (1a~·ed.

                Appellants: were deprived of their rl ght to a v,erdtct by twch·e impartial jurors. The

        reco.rd is mple.i.-e with bmmful excess engaged jio by a trial c..ou:rt seekmg to conjl.l[IC a. finding of

       _:_just cause•• to dismiss an.nppa:renthrudout..juror. As a part.of its "'investigation:"'lruo.Jh.e po.ssibhL




                ?S Curbdo, 343 F.3d at 283~84-.
                16
                     Ls,sx,, 734 F.2d Ill 845 (quoled in Curbelo, 343 F.ld al 285).
                :r, Curbelo, 343 F,3d at 283-85 (qr«?rlng Essex. 134 F.2d .u S4:5). Accord Unmted StateJ v. Arar{io,
        62 F.3d 930 ('fl Cir. 199S)(no hannlcss error where Rule 23(b) violfl.t:ed}~Taba:c;C{J, 9-24 F.2d at 913-15
        (same).
                • Govt Br. 76.
                19
                  OovL Br. 9 L



(Page 272 of Total)
                                                          App 838
       USCA Case #21-3072                Document #2077668                      Filed: 10/01/2024           Page 273 of 477



        holdout juror's coaduct the: district coun. alone (or in oonc:cn with DUSM Adams.fl cros..qed the

        line into structur--al effllr when~

                 -   [t interfered with the juror's rnodic..d privacy by tole:rating DUSM Adams' s


        eavesdropping on Juror Na. 3' s treatment by courthouse mcwcal pc:rsom:1el and Adam· &

        subsequent inveigling Juror No. 3 .into disclosing his prescriptive m~dication/'1

                 - lt issued a coven writ of attachmcn_t hauling the juror from the hospital in the U.S.

        Marshals' custody without infonmng tru: parties;

                 - it appears. co have :res.che.duled me juror's medi<:al appointment,:!i (the reco.rd is silent as

        to what the Juror knew n:nd when he was. infoaned of his appointment ch.ange);

                 - mt re~e.lllrChed mID1 onguided ma_nner the juror's medication in the Physicians D~sk.

        Refermce. and then, without benefit of medical training, e:,:;pe.r,:ise, or any inpul from a qualified

        mental health professional, inaccura.tely dl :ignosed the illness for wh1ch the juror was presrnbcd

        the m.ooi.cntion ?3

                 - it interrogated the juror in chrunbers ex pa rte,34 :iu:td withool oonefit of tran.scriplion, so

        thal the.R: i.s no reoord of what occurred;



                 :i' (if2SIOl   AM 24. App. 3822) {court OOoTimUll~ actions with DUSM M.ams).
                 ll (7/'l5IO AM 2.2. App. 3820).

                 J! (7124/0l Pi."! 7, App. 3793).

                 u The d.istrict court aci:epted DUSM Ada.ms' s. unsupport~ ''dla.gnom"' of what Ju.ror a. J \.V'a.s
        taking medic:atioDi for rut1d dms misd.ia~ Juror No. l's c:an.clicl:cm and tt:liod upon lhis crmr in
        deciding ta disdw:ge ~ jur'(l!' for ~-& 1DJtrothfu! tnl his qoe"5tionnaire.
                 34 The u part~ :oatl!lre of these o:mtact.s is s.1guifica.nt for thmc reasons. FLrit, tthey ba___A the dfect
        of dspriving Appelbn{S of any meaningful opportun1ty to be be.w on I.he merits of t.bc Court's dc.cisi.on.
        Second, s.ee iJTfra ,§ I.B-4, the ex par1.e p.rocce,d-inp deprived tllli Coort of any meaningful reco:rd wim
        which to :review ma.11. dei;.-.i.sion. Fiaally, aB w~ discussed u !engili :iu our opening brief. :r.e.e App. Br. § 'X.
        and bel.Q"'• m.fr'1 '§ DC, consideration of a jury inquiry mllit rake place o-n Ole recotd. ill the pi:ue:ooe of lhc
        d.etendtLnt. United Stales 1.i. Snri=th, 31 F'. .3d 469,471 (7m Crr. 1994). Priwt.e 0fJDtacts between :.,judge
        and a jury are rife wilh the 0pportunity to ,err. Rogers v. Un~·1ed Slates, 4:22 U.S. 35, 41 (1975). The~
        fXITI~ discnssiOIJ.5. were, tbeTefQre, independently error, v3olating both D u e ~ :n.nd Rule 4:3(.i).


(Page 273 of Total)
                                                             App 839
       USCA Case #21-3072                 Document #2077668                      Filed: 10/01/2024            Page 274 of 477



                 - i,t autllori2ed DUSM A<h!.ms to act as its agenc in conducting addirional suncptitiou.s

        in vcstigati ons ?S

                 ~ jt either permitted DUSM Adams to meet w:ith the prosecat0irs1 e..~ parte. and exchange

        information with them the night before the critical e,•1 dentiary hearing_ on wbr:lhcr to remove

        Juror o. 3, or upon teaming of 'the me~ting fatlcd lo inquJre whcehcr Adams•s coven. assistan<::e

        had given Che prosccutor-.s an undue. advantnge;

                - Ll alll)\'.'OO DUSlii.if Aclami to use his considi,..Tabk influence36 in an atLc:mpt to discover

        in a clandestine way additional mfoami.non thru: could support ctismissal of the juror,

                - it :relied upon third-h1md hcarsay31 1-lii thout making any cri cical inquiry into the

        underlying sources;

                - it wi thhcld the foregoing infot:mation, much of which was it1,correct, from the vames

        for tbe better part of a week;,

                - it arbitrarily rronca.ted I.hi; defendants' efforts to learn from DUSM Adams about his

        pri vale: (:Ontacts with deliberttl:ing j1.1tors and the prosecutors - which itself ought to be grounds

        for a remand~3a

                - it asked no questions of Jurors Nos. l and 17, whom DUSM Adams said had

        complained about Juror o. 3, regarding the ~ubstanco ,of their a patttt allegations concemiog


                i,    (7f2.SI01 AM 24, App. 3822).
                311
                    The jury was ano.nymoas. For six months, they .assembled each day and were lraaspom:d t n
       M(JSS.t: to and from the US C.ourthausc to m as jurors io this mat Ar :ill Limes lh.ey were acc.omparued by
       US Manhals., inclu,ding DUSM Adams.
                17
                   Security guard, at the Ve.tcrnn's Hospit.&I .supposedly advi$ed Adams dwing !hi! oovm
       invc:stigation rha<L they kneW Juror o. l. The Mture of I.bat acqua:inlance ~ fuzzy in the exU"CJDe. Tue
       guards thought dlat the ju:ror ,eilhcr htl.d. ibeien a pa:tical in the pa5t for some unkno\lo'fl i_ll_ness ~ t.tw Ibey
       simply had $Ceo him and chaU;sd. (7/2.510l A.~ 31, App. :3829). The latter explwiation, iLS not.rd in our
       opening brl.ef, is collAl.stent with lhc JumT's ,cmplt>yroe11t a.s a bus drh-ec whose route stopped at the
       h~ilal.
                ]S (1/25/01 AM 22-24, App. 3320-2.2),




                                                                -ll-
(Page 274 of Total)
                                                             App 840
       USCA Case #21-3072               Document #2077668                   Filed: 10/01/2024          Page 275 of 477



        J urm o. 3 's vague statements about homicide, suicide1 or violence, ch.us lc111vi:ng a skewed

        record reptete w.ith hears_a:y; 39

                 - it refused to allow oefense inqu.iry into possible jury concarn:inahon by the events

        sw:rounding the dismissal of Juror No. 3 by. inter alia, rcfus.ing to allow voir din of Jmo.r -a. 17

        ~gm-ding ber ex pane communications wHh DUSM Adams, Nor did the coun inquire of Jurors

        Nos.. l or 17 concerning whether thedr,encoUI1ters with Juror o. 3 could_affect t.h-eir

        impertiality;40

                - il refused an defense requests for furthcrvoir dire of Juror No. 3 co determine whether

        there ·were legitimate grounds to remove him from. d.etiberations;4 i

                - U shaped its limited inquiry of Juror No. 3 at the Govemmcnt' s prompting, giving this

        Court a one-sided t'1C.cord~ and

                - it refused ::n·oir din of tho rem.ainina;ju_rocs to dctcmrine the effects, if any, oUhe

        cin::u.ms.tl.f,nces underlying, Juror a. 3's dismissai.q

                2~         Tihls ad hoc ·process produced th.e ine.vHable result - a doopty flawed decision
                           with an ~ w-cb.aag.ing rationale.

                 The Government has embraced the grounds that tho district .:au.rt proffered tor its

        decision lO discbarg-c Jucor No. 3 from deliberations.0 Bm mose groumis w,crc. in effect. an

        ever--:shifl:ir.ig effort lo,find some reason - a,iy Ieason - lo discharge the holdout j uror. To sec lhis.
                19
                      (7/24101 PM I0-13, App. 3796-99).
                'll (7/25/01 AM 39', App. 3S37).
                411
                   (1/25/01 Alt-1 37, App, 38351.
                {2 (7/2S/01 AM 39. App. 38J7).


                   Th.e Govmune.□1 bears. pairti.ru respons3bility for dlC silent ~ord this Conn fa~ .i.oomnich as rt
                43

        shaped lhe comt·~ ~nquiry, objected to l)()ir dirt of die remaining jurors. u.nd speci-fically obj ected t-0 any
        inquiry ofJlJrofNo. 17, who bad :reporuid to DUSM Adsnw. ilbat.sbe fert threatened I>}' Jurut No. :3. and
        suppcl6C-dly ..wa5 sc~:• The Oo..,emment assured the eoott tirnJ: oo tbs basis of this 1ecord. "'-it is ncx
        in-cumbem bpon thecom,t lD make fmthc:r i'raquiry." (Jd. al 3?, App. 3835). Mo.reovc.-. whe-n tbc court
        announced it woukll not allow inquiry by ll!D.}' oc.hci- party, ilhc Go~nt agreed~"I lhink I.bat is
        advisable."' Id..


(Page 275 of Total)
                                                          App 841
       USCA Case #21-3072                Document #2077668                     Filed: 10/01/2024           Page 276 of 477



        clearly o:ne l'leed only examine I.he Cour5C of events and the t:dal court's internally inconsistent,

        morphing .iwalysis.

                          a,       There is an ir.r«omc.ilabJe mcona--1steney between the di:;trict j11dge s
                                   imtial decision that Juror No. 3 ,could serve a'lild bis ultimate
                                   CIJHch:1 ion to remo'!le 'lhe juror.

                 An irreconcilable and material inconsistency uodenmn~ lhe district judge 1s assessment

        of Juror o. 3. Initially I uror o. 3 was found! capable of serving ev,en though lhe trial court

        questioned hiE literacy. A few months later tli.e juror's same la.ck of literacy became a tooJ to

        drive him off the jury and. obtuin quick verdicts.

                 On Dca::mber 5, 2000. during the individual 11d1r di.re of the v-erure, dcfendaDts believed

        that Juror • o. 3 had misunderstood some of the mquities in the. written questionnaire. For

        example, 11.is response to question 101 (E), which inquired. "How do you think if you would

        react if something you le~ duJirig \he trial of Lhis c-asc was different from what )IOU saw. read

        or heard in the mcdliar' was ••ask attorney questions.'~44

                 Based upon this answer (aJJd mher ~ponses, wbfoh the oo-£en.se unsuccessfully sought to
                 4
        cxplore, ') Appellants argued that Juror No. 3 had mwillest difficulty answering .same of the

        questions on die fengthy (and sometimes. ambiguous) juror quei;tionruri.re.<llil The tnal court found:




                 44
                      121S/OO AM1 4849, App. 1580-S 1}.
                      (

                   • QueS!iou 88 asb::d the juror ~ opinion or whether or not crlrninal.s .are being deah with
                  5

        :s.cvc:rcly enough. Tbe juroi· cespooded lha:t cb~gmg procedure in crying to pre'Vent crimes m.i;.~hL 'Ix:
        hi=fpful. When lhc ddcnsc :1ttc-m.ptcd to faUow up end determine how his answer res-ponded to me
        quc$tion a,_c;kod, the coon announced lllmt,. "All right. Jt hH iakeo.d)' Meo. pucm.cd. .... That's enough..'" (Id at
        50, App. 3968 (Vol. XVIl)),
               ,I(, The w,iNli.re form c:onm:med 132 qnesti~rus .nnd was 3i pages long:. (App. 952-1000): Jtt '1lso

        App. Br., 47 n. 102.

                                                                -15-
(Page 276 of Total)
                                                            App 842
       USCA Case #21-3072                Document #2077668                     Filed: 10/01/2024           Page 277 of 477



        that the: ,.,e:nifemaJ1 was pemaps. somewhat illiterate. but concluded that ~s problem was not an

        imp~__mr;nt to serving -11S aj11ror.'1

                      onethe?ess the trial judge monlhs later removed JUior No. 3 for supposedly fibbing by

        noc disclosing that he lived in a "bad neighborhood" (wh~ecvcr that mems).4l1 This- even though.

        at the time of jut)' selection the juror had commented indiiectly about ms neighborhood when be

        reported he had been robbed at gunpoint on bis way to work .some 12 ye:11.:ro c:wer.49 He blamed

        himself for Laking a shon cut to the Metro station, for which he "should have koown lbet"4:r,                   11




                In olher words, despite the finding lhaL Ju.ror No. 3' s illit~rncy was a.ct a bm- to jury

        service, the district court later summ,anJy dismissed him from deliberations bued. largc:Jy upoa

        his iIDSwers lo .several! ambig,uous questions posed in that same questionnaire. The judge's and

        the dcpuly marshal• s numerous a parte meetings with Juror No. 3 must be deemed to have

        played s.o-me i1l-defin~d but nevertheless decisive role in re.aching Uris inconsistent re-suit.

                The Government has chosen to deaJ with the coun's initial deciston (denying the defense

        motion lO strike Jur--or No. 3) by pretending it never occurred. for one can scour its response in

        vain for any rcferc:nc0 to Lbat e~L.. Bt1t lhat decision rn~ lhe trial judg,1.: 's ultim1tte decision to

        re1nove Juror No. seem alJ the more outiondi,h.

                           b.      The rourt's articuJated !basis~ tire sbiifting ~cgood cause';, fou:ndatlon.

                 Contraey toil.S initial finditig of adequate Jjteracy, sevCJILmontm latcr,.J.h.teing lh0

        deliberations., the. oourt deter.mined that me Juror No. 3 was mentaUy inc.apac:1t01ed ~nd had lied


                 41
                     The Court: ..I think he my luiv.e ~ome difficulty with lite:n1.cy~ bur tbal c:erbinly does;rn"t.
        disqllillify him." (1215100 AM 5 l, App. 15,52),
                 3
                      The prospGClh-c j arc>T ~ c d that he did a.at (ecJ them WR$ e, crime problem i.n his
        neighborhood. Qlteslioo 80 (pa,ge 23) (App. 97 n.ro this day oo one bas proved otherwise.
                   49
                      (1215100 AM 41, App.1579). See Qac.s.tion 86 (b) inqumng ifhe had been a. victim of a crime:
        ''Yc.s, robbed at gu:g p,oint Qff way to work.." (App. 9'72). His aos'WCJ' to Qucs-ti,an 6 jndk:3li?.d that Juror
           o. :3 had lhed in same nc-igbbothood for l 7 yem. (~p. 952).


                                                                -16-
(Page 277 of Total)
                                                            App 843
       USCA Case #21-3072              Document #2077668                    Filed: 10/01/2024      Page 278 of 477



        o:n hl s q_uesti.o-nnaire. The Government for all practical purpo-~s concedes that the record does

        not support Ute finding of mental mc-ompetcnce. Col'ls_equenUy it is left defending the dtt-brion to

        remove furor No. 3 on tbe· ba5is o.f th~ "deceptive" answer ration.ale offered by lhe Court..

                However, the court rejecred that same basis► embraced .in iJs memorandum opini,011,

        during the hearing determining Appellants• motion for new trials.. The Government's response

        ma.k.a! oo mcnt:iioa of mis fa.ct either. But while t_hc mcmaraodmn says ii.he juror was '•dcccpti vet

        the Coun: farer denied that it intended to impute to Ju~r No. 3 any sdmter - and said thac. it~

        only conclusion was that the. jW'Qt' tu1d been ..inaccurate." An.cl so the flna.l ground oo which the

        trial court rested its decision is effectively this - misspell your :name on the jut'Ot' fo-nn and you

        Cl!Jl be dismissed. Quite lite.rally, that is the rule   me trial court offered.
                The Govc.mment. now fo«ed to suppon. the court's dcci.sioD or accept retrial ► d'oe.~ not

        attempt to justify the court's action on those grounds. Rathe_r, it responds 10 Appellants'

        arguments by ignoring the court's i.ttitial dedsion empanelling lhc juror. baskally conceding d'ie

        record does nol support mental incapacity, and focusing exch1S;ively on tho juror's alleged.

        deception. The GO\l'emmcmL essentially argues th.at two wrongs (no incapacity, no deception)

        somehow make it right: Just cause can be s1t~~ned by the combination of two enoneou~

        findings..

                                 _i J w-ilr fl, J pla.JoJy was ootineapadtnted.

                The Government conceded below thac the record evidence did aot ' 1necessarily'' eslabtish

        chat Juror o. 3 WM mentally incompetent.~ Nevermeles.s it insisted that he was removed

        legitimat.ely because of his. ~rensibly deeeptivest answcrn to the jury questionnaire - a. ground


                :io Gove.mmcut' s Oi:nmbw. Oppodt:ion en Defendants' Motton for .1. N-ew Trial, tnl'.2002, mt 65
        (It 827) (App. 1411).
                51
                     ,Q.ovt. Br. 74. Su aJ.w Memorandum and Order. 811001, ~t4 (R.779)(App. 1148).


                                                            -11'-
(Page 278 of Total)
                                                         App 844
       USCA Case #21-3072               Document #2077668                  Filed: 10/01/2024         Page 279 of 477



        that. as we demonstrate below, the district court itself ccjcct:ed.> 2       otwithstanding the

        0()-v-cmment'.s concess~on, ,~ briefly adms.s ihe qo.esti on of incapacity, for that was one of lhe

        l:lrticwated bases- upon wruch Juror No. 3 was dismissed, despite his represent:atjon that he could

        continue to deliberate.

                 There was no factual oo.sis for oonduding that Juror No. 3 was mentally incapacitated -

        and thLJ& the Government's second--0:roer argument that his answers about mcmtru illness on the

        Jury question.Ila.ire were dr.:ceptive also mils. .In fact, the avwlabk evidence clearly lends no

        support to a finding of int.iq,.1.u;ity:

                L        Oa JaJy 19, 2001, me coun pemuttcd Juror No. 3 to continue deliberating►

        impHeitly ooocludmg that he was competent ro do so al Ehal time.

                2.       On Jul:y 24, '2.001, in response lO concerns voiced by Jurors 1 os.l and 17, tile

        <:ourt re,Yisired che issue of Juror No. 3's servioe. How-ever, wh~n the tourt briefly inquired of

        th0t;e nvo jurors, it faile<l to .as.k them questions about Juror o. 3's mental capaeit;·. Nor did it

        ask about lheir purported statements. to Adams chat Juro-t No_ 3 had expressed vioient cendcn,ci~,

        The: only s.ignificam. thing t t.iat happened on July 24. 2001, was lh11.t Jo-rors, :res. 1 and 17 advised

        the cour1 that the jmy would roach verdicts mo.re rapiclJy if Juro.r No. :3 were m be e~used.

                l.       The dismissa.1 hearing on July 25, 2001~ disclosed DUSM Adams1s heretofore-

        secret a pa.ru..interview wilh JLLior No. 1on luly 19, 200 L The Go:v..emment sought to recall

        DUSM Adams to reveal previoo&ly omitted c-ontenu of his e.;: pane· interview with Juror No. 3~

        wbi:ch it then argued demonstrated that Juror No. 3 should be chscluu-ged for provicEng

        "deceptive., ans.we.rs on his que.stionnai.re.53



                :n (11.129/02. PM 15, App. 3886). See a.ho Memorandum a.nd Onicr at 4 (R.779}(App-. 1148).
                :sl (7125/01 AM 5-9, App. 3803)_The rnJ.rm-U in which me Government '"discovered" JW'Ol' ~o.
        3's aUeg(ld misconduct is ilse.lf petpletlag, Aliliough Ada.m.5 testified OD July 24, 2001, concerning Juror


(Page 279 of Total)
                                                           App 845
       USCA Case #21-3072               Document #2077668                    Filed: 10/01/2024          Page 280 of 477



                The trial judge's concern with lhe fact that Juror No. 3 admitted •1being acquainted with

        the security personnel at the hospital because he was a paliem at the mental hygiene unit'.54 is

        markedly insufficient to indicate that Juror t: o. 3 could oot serve because he was mentally unfit.

        Juror No. 3 never admitted 'to being a "'patiea.t1' at the VA Ho.spita1 •s Mental Hyg.1e11e Unil foI

        any period of time, 55 o:r to suffering from mental illness or to h-aving gono to the VA faci lily for

        any :reason ofucr than to get some sleeping pi.Us. We daresay that if sleeple$sness were a ground

        for removLng jurors chat the jury pools in urban America would be vastly depleted.

                 In short, though the court initially exam.med Juror No. 3's mental capacity, the evidence

        makes clear that incap11ci ty a& a gro1.1r[l(i for dismi~a.l was abaodoned in favor of the altemative

        explanation offered for Juror o. 3 s removal - th.al hj ~ a-n S\f.•cni lo some of tile jucy

        questionnaire were d.ecr;ptive. Tbat ,decision, too, was pretextl:Ull.

                         U..      Tbe ·Gover1nt1e-nt bas not sho-wo that Juror No..J's- vu'ir dire am~,en
                                  wcr~ llu1.emrate or deeepti ve.

                Radler limn relying on incapacity, t:he Govemment contended ''that the court can make a
                                                                         0




        cfenr finrung that ne [Juror No. :3] snnply was not fodhcoming when he responded on lhe

        questionnaire. and tbat it · s for those reasons h.e should not. 'be a part o,f the pam:1. ••,~ It cone.ended

        that Juror No. 3 had not been candid in denying that he had an alcohol probleml lb.at he took

        proscription drogs for a me,r1tai health problem. that he rumdled a firearm outside of miliwy




        3, fm nc\rcr mentioned that he had interviewed, lbei juror. [m: was onJ:y a.fie,- the GoveJ'Dml;nt met wilh
        Adams, OO[Side of the presc:m::c Qf dd'cnse CQUl1!iel, that me -oonten~ of me interview were disdo.si;::d rmd a
        da:im asKfted tha1 Juror No, 3 might have given untruthful, answcr.s oo ~1, queslio.nnaire.
                :!'4 (7/2SI01 Mf 49, App. 34a?).

                " The juror a_cknov.•ledgcd dmt be had been sent c.o the :mental health unit fm tfi.e firsL tinx: on July
        l9, 2001 as a seconciar:)• .referr.il to add.teu his slcepi:as; problems. (7(25/0l AM •17, App. '3845).
                S6 ('7/25!01 A.i.\.143, App. 3841)



                                                              -19-
(Page 280 of Total)
                                                          App 846
       USCA Case #21-3072                Document #2077668                    Filed: 10/01/2024            Page 281 of 477



        service, and rn dc:nying that he felt ther-c was a '"crime pl"Obli::m'.s, ia his a0ighborbood.

                 The district court's investigation cooduclcd to conclude whether Jurot No. 3 had given

        illltentionally do::eptive5~ ansWet:S was abbr-cVJ:ated. The court limmted itsclf to DUSM Adams'

        testimony about his interview of Juror •o. 3 and some perfunctOlj' qLICStion1ng of Juror No_ J_ lt

        did not direcllly confront Juror No- 3 about lhc truthfulness of his: ques.tionnai.re wswr:rs, • or did

        Juror No. 3 admit fuat hi.s questionnaire answers were false, much kss intentionally so,SSJ

                 The district court's limited inquiry of Juror No. 3 o:n lhe.,;e nn1.Ltm, given its recognition

        during the initial voir dire that Juror No. 3 ''bad some difficulty with literacy,"60 failed to

        establish in any cogent way that the juror had diScsembled in filling out tbc questionrunre. To

        compol.lnd the probkm1 the trial court failed to do anythlng om.er than ask Jnelcva.nt q_uc6tions

        and made no effon: c.o give Juror No. J ~ opponuni1y Ito c:r.;plain his answers or to lake i nio

        account the ''limracy problem'' it had recognized before.

                 The Ll"ial c.ourt's initial finding lhat Juror No. J intentionally lied on the. questionm)rure was

        clearly erroneous and at odd!l. with it~ later :..ta.temen,t denying th~t Juror i o. 3 had been

        dewpti vc. The cou1'1 simply ~ r d~ermiried wJu1hcr Juror No. 3 tnisimerpreted the questions

        or could ha:ve be.en. hone:rtly crwfused or mistaken in his tul.S'Wers. Rather,,, bared tipon an

        incomplete reooro6 1composed primarily of 1he hearsay and double hearsay tf:stimony of DUSM


                 n The inartfu_JJy pos.c.d Q.Utl:$twD No- 80 oo the jury questionnaire re1id as foll~: "Do you fool
        there is a crime problem in )'Our ne~rhood7 Ple.ase cf>tplair)_•· (App. 971). Denying cbe existence of a
        ''crime prQble1tl."' does not necesS.lrily signify S.ltis.factioo with the safety or one's res.identi:al
        Sutt'Owtdint;S.
               "Only ..lying ot failing L'C! disclose relc.Vfilll. information da:rfr1g voir dire," ts grounds for
        removeJ U1t.i.te:d Stmes v. Boney. '6'8 P.Sd 497, 502 (D.C. Cir. 1995).
                 19
                  Cf. Un.iled State:s v. Brttn, 243, F.3dl 591, 59B {2d. Cfr_ '2001J(judgc que.stionedjaror about
        truthfulacu of his wir' dire ~ r s and jwor coneooed lhat he Md lied).
                «i (1115/00 AM 5 l,   App. 1SS2).
                 1
                • See Unired Sr.mes v. Capra, 2i 1 F.3d 962 (11 lh Cir. 2001Xan simitlljfl)' inadequate record, Ille
        E.levealh Cncu;t. w~ated di.strict conn.' s denaal of a moo.on for a. new lrla.l based upon j UHJ'f rniSC<lllduct).

                                                                -20.
(Page 281 of Total)
                                                            App 847
       USCA Case #21-3072                 Document #2077668                Filed: 10/01/2024      Page 282 of 477



        Adams, the coun mistalamly assumed lhat Juror No. 3 gave in~entionally fws.c an.swcrn.

                The fou.:r questions !hat so exercised the trial cou.rr:

                1.          With rcspr::ct to Juror o. 3's d.e:nitl that be took prescription medication for a

        mental heal th -condition, the Govemim:nt did not establish that his answer was not itro1thf1Jl , hen

        given during volr dire in Deoember 2000. Vt/hen questioned on July 25. 20(H, Juror No. 3 stated

        l.run ''as of Jast ThW'Sday• he ,,,ras a patient of the menital. health u:n.it or the VA hospital and had

        been p:rr:scribcd Trazodone thGrc. 61 Th-crt: \V&'S no evidence that he was a patient in I.he menml

        health unit prior to••~, Thi.m;day'' (July l9, 2001) or dml he was on Tradozonc prior to th.al date

        or that he was taking Tramdcme for anything other than to help hEm sleep. Thr; condusion that

        Juror No. 3 was a patient of fuc mental health unit bee.a use the ~urity officeffi al the hospital
                                              1




        knew him was a leap of faith. H.e was a bus d!river who transported patfoots co the VA hoS:pital.631

        For an Ol'\yone mows, his was a face that was seen aroMd ~use of ms bus .routc-

                2.         Likewise, Juror No. 3•s disavo,,,vaJ of a drinking proolem is. llllderst:andable. Jury

        Questionnaire No. 65 asted! [H]ave you, any members of your fami~y. or a.oy clos.e personal
                                                  11




        friends .ever had an alcohol or drug related problem, o.r twcr sought counseling, treatment, or

        consulratton with any mental health professional or recc:1vc:d inpatient matment for :my Lype: of

        alcohol or drug abuse?" This i~ a compound question with a possible (3x2:r,:;:6x2=) 72

        pe.i:mutations of th~ti.cm. The answe£ ••· ~a" was re-ason able and truthful, for JurQr.No. 3 Jold

        DU.SM Adams that he had not had a drink in thirteen }'Ca;r&. • o one claimed oc-heJWise then rmd

        no o.ne claims othervtise today.

                3.          Similarly, the trial court attempted to lead Juror ~o. 3 into admitting that he had

        owt:1ed a firearm butJu:n)T No. 3 denied lhM forcefully. 'The j u.-or :admittt:d hav1img taken~ fin:arm

                62
                     (7/lS/0147-48, App. 3845-46).
                E    App. Dr. '.369 n. 6 L.


(Page 282 of Total)
                                                         App 848
       USCA Case #21-3072               Document #2077668                Filed: 10/01/2024        Page 283 of 477



        from lus brother, :a homeless person, and then di.sposing of it becmJJSe he knew that one: <:umot

        own weapons in D.C. MoreQl\lef, no one evc:_rclaimod 'that Juror No. 3 had 111.e weapon in his

        hand~ b~fare he fiJ Eed out tie juror quClitionnarrc. The disuict court may have thought otherwise

        but there was no e1,idence to suppon that belief and tho Government does not serious];, <::htlm

        lhere was.

                4.         Toe notion lhat Juror a. 3' s. admitting to Living in a ugem:Ililly bad

        neighborhood" proved tba:t he mw;.t hnve lied wh1Zn he denied eight months earlier tl:uat there was

        a "crime problem" in his neighborhood (the on.Jy qlle8tiOn that be was asked}, is an elitist one.

        The judicial officer ru:vc-r asked what living iD a ••generally bad :neighborhood" meant and the

        Government ,d oesn't quite ~a.ve im ariswct for it, c:iither.

                In es.sence. the trial conn appears. to have drawn any and all possible negative inferences

        f.rorn the juror•s answers that would suppon a contr:mtion of dissembli!llg, ~f lilOt dishonesty, even

        when those inferences "1i1ere mutually contradictory. Juror       o. 3•s answers on Joly 25, 1001 were
        bascJcss1y im-puted in one lnstMce to a lime frame prior to voir dire (rumdgun possession). and in

        mother instil.flee lO II limr: frame: :six. months sftcr trial had beguo (mental health is.sues). Yet the

        Jurlge never asked the commonsense quesuons - when Juror             o. 3 had la.ken the handgun from

        hls brothc1: when be stmerl going. to the V.A. clinic; and wharfor - although 11:hc court bad

        discretion. 10. do so and Ow Go.vemmcnt.hsd c.Y.cij' ap.ponunity to requestihill he: do..s.o.

                           e.      Th.4! trtail court dtsa,·o'W'Cd Us &Wil .amtJym.

                On August 16, 2001 ~iS4- the. court wrote that 11certain behnviof' on lhe jU-ro:r's pm hm:I cast

        doubt 011 his capacity to con-centrate on lhe det'ibcti1.11ons and that Juror No. 3 h.J.d given

        "deceptive answcrn" to vofr dire. questions eight months earlier when he -fi lle-d out a juror



                6.l   See Mc::mrmmdumand! Order (Aug. l6, 2001) (R.779) (App. 1145-48).


                                                            -22-
(Page 283 of Total)
                                                         App 849
       USCA Case #21-3072                 Document #2077668                Filed: 10/01/2024          Page 284 of 477



        guestio11naire. The court decided I.hat based cm trus ..deception" it was unwilling to credit Illt'Or

        No. 3's assurances lh.at he. could continue to deliberate arid th.at in conJuoction with the testimony

        of Jurors Nos. I and 17, there was "'good cause'' to remove. Juror~ o. J .6.S Thus, the lync:bpin of

        lhc trial co11It':s written analysis was its conduslon lhat Juror l o. 3 had acted with deceptive

        mtcnL- rending hi.s July 25 protestations of good faith :md capacity to delibcra~c unreliabk.

                The eoun· ·wrluen words were little more tban a po.st-lwc rati.ooaliziruon. for a decision

        it bad already made - a decuion inrended to ,expedite a jury ~'erdicc., This conclusion is

        suf:lsta:ntiall)' buI.1.:ICs.se(l b_t the trial C-Ourt"s apparent disavowal of its written memorandum at the

        nearing on Appel lanlS' motion for a new trial.

                In Jam.1ary 2002 a :hearing was held to consider a new cria.l motion - the principal ground

        of which was the dismissal of Juror No. 3. Perhaps forgetting its own earner written

        concJusions, lhe court acknowledged in open coui;-t lhat Juror No. 3 bad ru;jthcr lied nor bee:n

        deceptive in his aru-wers:

                 The Coon;: I never cbaractetized his answers as bel:og unD'Um:ful, i.naccut3.Ie.66

                • •
                Mr-, ~ker. To tho extent the ~~ on the voh- dire [quemonnrurc] Fovidcd II biiru
                for his bcins .struck, if Ibey weren' t inatturare, wbat W"d:S it - - - or if 'they -wcrcn'l
                ~mtrvthfill. wb3~ was it?

                The Court: They were .i na«lifdie.61

                [n other words, it was not that Jumr No. 3 was willfully deceptive. merely that he w.e.s

        ''i.naccu.rate'" (porh.a.ps bec:mse of the very illiteracy that did not disqualify him in lhe :first




                6! Id. iU   1-4,
                6' (1/29/02 PM, 15, App. 3886).
                67
                     Id. (eznp~..asis supplied).


(Page 284 of Total)
                                                         App 850
       USCA Case #21-3072              Document #2077668                  Filed: 10/01/2024         Page 285 of 477



        instance). And lb.is disavowal by the oourt of its own reasoning rcllccts either impossible

        confusion or mappropriate wil.lfuhtess.

                The G0Yemmc11t makes only a ba[f-hem:tcd attempt to defend die J1.1.d.gc•sJa.rLtpas1

        arguing ths:t he Wais merely '"explaining.. his :p.ri.o r order.68 But i:he fact remains chat there is a

        fundamenml incon istency between a OOlilclusion of ••deceptiveness'~(as, in lhe August ,order} Wld

        a disavaowal of ''untruthfulness,. (a--5 at the January hearing). We are at a ioss to understand bow

        deceptiveness contd not be equated wilh wnn.1thfulness or, altr:mativo1dy, how the Judge (or the

        Go,•ernment) oould sanction the removal of a j u.ry for •·deceptivenes.s" that wa.-. the product of

        mere "inaccuracy" (th.al is, not wmM, but ralher innocent error).

                Surely, i.f the Government. concedes. th.at the juror's mistakes wc11t me.na innoc600e 1 it

        must concede that the dismiis.sal was wrong. The court's wntren words ~ an attempt to

        amelionne aod r.i.tionalizo i(s abuse of disc.rction for earlier dismissing the juror. Its later impliciL

        admission tttat the wrilten decision was overstated should, in our l'iew, end the mquiry.

                       3.    The Government re]ies cldefty on prec:ed~nt th.at s.e:n•es tu c.on:r1m1
                             Appellants' po.ilHoo. that the approach the trial cour t took was fatally
                             Oaw,e d.

                The G~mment hWi also roc:ru,t mid di:sl.Gned .seveoo of Appellants• legat arguments..~

        For C'-xamplc, it states that Appellants fault the trial judge ror faili ng to solicJt ll m__odical opinioil

       -.regatdingJ uror No. 3's. mental oondition. This. missmic-s o u r ~ : cle-.arJy me judge WQ$ not

        required to do so, as Appell.ants smted i!FI their openirng brief. \Ve fault him for not doing so and

        trum m.akicg the Y.TOng dee1sion..

                Toe. 001,•emmcnt also reche.s a number of .,good causen cases and argues thru. many of

        them susminoo the removal of a deliberating juror cm n less demi led record. It specifically

                Q   Gow. Br. 8S n.44
                6.9 Oovt. Br. 79.




(Page 285 of Total)
                                                         App 851
       USCA Case #21-3072               Document #2077668                     Filed: 10/01/2024           Page 286 of 477



        focuses on Unit~d Slal~ v, Huniress10 and United Scates v. O'Bri£11.,1t both of which Appellants

        discussed i.n their opening brief as examples of proper ways to handle these types of sicu.ations.~

        tn both ens~ the lrialjudgcs secured medical opinion that r.hojuroIB coald not participate. Thaf.
        dad not bappea here.

                 Li~cwisc lb~ Government's reliance on Unired States v, Wa·Jsh (anociher deci&iori which

        AppeHants commended as being representative of a correct disposition of a s-iruati.on in wltich a

        juror plainly couldn't continue deliheratiog),73 to :support what happeoecl here js equany

        misplaced, Walsh invo]vcd die dismissal of a juror due to ine3pacity, even though there was no

        m.txhcal opinion lhat the juror was unable to complete service. Thc:re, however, the iriaJ oourt

        interviewed the Juroll' on1ly aft.er repeated-consultation wilb counsel '\n detcnnini ng lhe course of

        the inquiJy a:mi the question lo be put to jaror X." The interview elidled ''disjointed and!

        rambllog commerits. by juror X'' from whlcb the COllrt cotK:luded that lhe juror wns "not a perso□

        capable of engaging in rational discussions basod on the e,.iclence:'74 11,e FirsL Cireuit affirmed,

        holding that me trrutscr.ipt of juror X's voir dire "gave the trial judge ample basis for concluding

        that the juror w~ not able to perform his dutics."75 This case. falls far short of this model. for the

        re.cord does not d.ep1CL Juror o. l ~ mentally dlsJomted. and the defe,,se law ye~• role here wu

        largely circumscribed.

                70
                  United Suaes v. Jiuntras, 956 F.2'1 1309. 1311-1312 (Sllli Clr. J992) (dclibcrntin_gj urar'.s
        physician ~dviscd court lhat juror was "distraught and suicidal" and suffering from patanoi~ stcmmJiag
        from a history of dnlg abuse).
                  l t tJ:tiMd Stares v. O'Brien. 898 F.20 983,986, (Sia Cir. !990) {court clismisssdjuroraitu
        physician verified that juror c.ould not oontinuc serving; juror's wife advised t.MJ. lhe ju.tor "'was ,sevm-cly
        disttrrbc-4, had a. re:ceru history of se\rete depression aud that she had tab:n him to ~ ps:;·cblaoic clifiic for
        COJl~uttruion").
                n A_p,p. Br. 35-36
                n App. lk 36.
                ,., United Stme$ v. Wal.sh, 15 P.3d I. 4 (1 111 Cir. 1996)(emphasis added)
                 jld. ec 5.

                                                               -25-
(Page 286 of Total)
                                                           App 852
       USCA Case #21-3072              Document #2077668                    Filed: 10/01/2024         Page 287 of 477



                The OoveT'lllilCnt' reliance on United SLates v. Web.st.t!:r7<i is. equally Ul'l.0,.rrulin,g. The

        Govemment suggests that a court can di s.mjs II deliberating juror without inquiry if 1t bchc.w;s

        the juror dissembled. The Websler juror, however, was not dclibenu:ing. bm. was merely qualified

        by the conn to be a juror. Pnor to commcnccmcm of the trial, the Government uncovered the

        prospecth•e juror's criminal R:cord.. wJuch had not been mentioned in the juror's questionnaire

        answer$.n The prosecution chllllen ged the juror far cause and the court dis.missed lhe juror for

        prmoid:ing faJsc information. without rt::f.:3Jling rum for qoe.sliomng.

                This is no Webster scenario: t~re was no ifldi pu.mb]e,jarring, discrepancy bee.ween the

        juror's questionnarrc responses and Che underl}'lng facts. To rlur c,,-nrrary, in rhis cas~ thR. I.in~

        was arrijicicd and creaud by mhe court JMlow to force a ~edy llerdict.

                        4.       The extenshe nature of the ex pa.rte prooeeding between the, cuud
                                 and de.pu.ly marshal and the juru'rs furllil.Qt lmpalrcd the potentlal ror
                                 informed appellate review.

                On-ce we remove all of the ex parte conven1ations, inrerroptiom. debriefmgs. "informal

        intemewsi" and third-hand hearsay from the t:Jlleulus, a new trial remains as Hte only op-ti:on.

        The record do~ not provide a basis upon1which either to sustain any action by the district court

        or to provide a foundatioel for this Cow-t to anal)1:U th-e actions of che distnct court. DUSM

        Adams, and the jurors. Altaough the Government seems disinclined to discuss th.is with the

        occcssary focu:; on Lhc ovr;ral.J conce~LOf..the..proceedmgs, WE_ will.

                We know th1ll the trial judge had ex p'€Ilfe contact with a1 le.lUI one ,o f the jurors - Juror

         •o. '.l And we also know that DUSM Adams poke ,(!X pare~ with aJ' lMSl three jurors - Juron.



                1(, Uhitta Statu v. Weluter-, 1,62 P.3.d 308. 347 (:SdL Cir. 19'98)
                13
                  The juror had been convict.ea of aggrav:ued assaiull on a police offit.er and aggravated as:5auh.
        with ~ deadly ~      - Neither of these conviction$ b-ad been mentioned r11 hii. ans;we:,;-j to a qne&tiwmairc.
        ld


(Page 287 of Total)                                           ·26--

                                                          App 853
       USCA Case #21-3072                  Document #2077668                    Filed: 10/01/2024           Page 288 of 477



          os. 1, 3. and 17 (and perhaps ~vcml othersi' oonce-ming foror o. 3. DUSM Ada.ms then

        testified to his meetings with Jurors No. I ~ti o. 17. as weU ~ hls ialk& with Juror No. 3.

                 Yet when Jurors o. 1 and No. 17 were questioned on the stand later lhsr. da.y. lhe trial

        court did not ask lhtm to verify what DUSM Adams had relayed, although presumably they

        would have been the ones to know. Moreover rtfua:y stated that Juror .i o. 3 was no1 being

        disruptive. Instead they .said ithat he was nol con'tdbuting to the delibcr-aticms and was having

        problems staying focused due to concerns with his Job and lhat tbe j ury would reach vcrrdric:tS

        faster if he were dismissed.

                 But this approach begg~d the questions conoerrung Adams's e.."t pwte t:ontacts. Any e.x.

        part~ contact bctw-ecn a judgt: or fm officer or the. court and jury raises a smong pot:ent:i al, if noc a

        presumpt-ioD. of reversible e-rror prejadice.19 Su.ch contacts are 1-pregnant whh possibilities for

        ,e,m,r.'""1 Nomw.ly a trial judge coofrooledl with an allegation of improper conduct on the pan of

        om: of lhe deliberating jurors is expecced to give notice to the parties and to question Ille jwors




                   1'll Appcllmru use 1he tcnn ..at ]easl"' in H2hl of the Gov<.mmcnt' & briBf, whicb. a5:j¢fts that all li,c
        juroli'S shm'ed coo~ for the "health and wcll-bc.insHof Imo.-- No. 3. Sl!e Govt. Br. 89. Perhaps this was
        momenlary OIVer-ewbcr.m.ce on the part of the Government. If it wam' t. lheo me. ,entire panel lllillY \\'ell
        have been ~ . Beea!Me Adams MI.cl the tou_rt ,vctc prooQQl3ioR tmQUgh ~ pa.rte
        com.munieations. Ap(;lellmlts wi:re unaware th.at then: might him~-been in.ore ~m,til.cts ·.vithjl:JJ'ors than
        tJmi.ejden,tif:ied m Q~n court. Q;rta.inly jf thc:'.re ht1.ve been. such addhioaaJ contacts that, ~ • alaue
        would be ample grounds for a i:etlllmd to conduct .m inqouy into that ;s:sue.
                 19
                      In United Sta,i~ 111. Garmwra, ·146 P.3d 101:S, 1028-2-9 (D.C. Ch-. Hl-98), thL11 Court notiocd a
        'lltemion"' between its decision in U'fU.t~d Sta.te:i v. Williams-Davis. 90 F.3d 490. 495-96 (D.C. Cir. 1996)
        and other d~i1;ms, snc,b as U:rritM Sta1es v. Butlt1r1 822 F.2.d 1191, l 19S-96 & :m.2 (D.C Cir. J987), O\'e.r
        whether tm: .so-called Rttmmer {&m:mer "'· u,rmd St'al~.,, 34-7 U.S. 227. 229 (H>54)) prcs,.n:nptfon of
        prejudice remains valid Law. In lipt oftbc higb value placed by the Sllpreme Court on the ~ t to a criru
        by an. u:npali'tit1.ljucy, (e.g. , Unire.d Swe.s 'I-', Um.t.~ Statf.9 Gypsum Co., 438 U.S. 422 ( l ~8t Rogers 'I-'.
        Unittd S1atu, 422 U.S. 35, (l97S)}, we co.rucn-d that Remmt!r- remains good law. Undenny set of
        cqu1.unstJmces, the l.e:pgtb and D11lUI'e of DUSM Adams:' s ~ w1thJurors os. 1, 3. and 17, as well aR
        any other members of the jury, s-.imply is ommO\'i'!l.. No record was l.--ept m.or was .notice gh-en to the
        p:ames.. Ond@f the~ eircun.1Sla.D<."1!iS, lhc potentiil.1 for re,·etsible error is even more pro-oolli!Ged.
                 l!D (iP1i1ed   Stntes Gypsum UJ., 438 U.S. aL 460.

                                                                 -27-
(Page 288 of Total)
                                                             App 854
       USCA Case #21-3072               Document #2077668                  Filed: 10/01/2024          Page 289 of 477



        on the record about any alleged incident. 81 Throughollt lhc hearing!i here, howcvc£, Lhc defense

        objected to nol lbe:icig :;easonably informed of me ex pane communications between the ma!

        court and deliberating jurors, and between DUSM Adwns and deliberating jurors.Ill The district

        oourt thwarted Appellants' efforts to Gxamiac the jurors aboul tbeir a pw-te discu.,;;s.iom: with the

        oowt and with Adams. Worse yet, then: is now some indication that a good. bi.t more mrreptitiOL15

        discussions with the jury wenc on behjnd Appe11a.iu.s' backs.

                Because this Court is deprived of a recor-d upon which to di seem the effecl of the

        contacts. and, absent any :showing thal lhe contact oetwecfl Ada.ms and Jurors o. J and No. 17

        (and the rest of the jury. given the Oovemrnenl's intimation that he communicaaed with othera)

        was inconsequential, 1.bis Court m1.1St act upon lhe p:resmnption of impropriecy, reverse and onler

        a new trial.

                         5,       The ,e~idene:e trongJy u~ts lha'l Juro:r Noi. 3 -was a holdou.t
                                  rtmo,ved to ooerne a speedy verdJct.

                Appellants contend 'that faced with the possibility of a h1mgjury, the trial judge•s

        dedsion to forge ahead towar-d ,a verdict with only 11 jurors was preordained: Juror o. 3 's days

        on the ju:cy were de..stined co lbc vety short. The process employed to reacb that end was

        improperly coerci {e. 1




                On July 19, 2001.. the court told the U member jury (Jumr o. 3 being absent) that.

        un.de1r certain circumstances, a "court has the illllhority to aHow a jury of 11 to c-ontinue to



                11
                    Su Petrycki v, Youngstown & N Ry. Co .• 531 F.2d 1363 (6th Cir. 19,6). Sei! ab.o Un.ited
        Stalt.s v. Florea, 541 F.2d 568, :572-73 (6th Cir. 1976).
                "2 F-<Jr eicampEe, as Mr. Kief'Sh $tarolt
                But I would Mk the eoort, if these issues come up. ·that I would like to be m.ade aware of
                this information before action b, taken before ajurori.s s~cgsn:d from the r.est C!lf the
               j l!IrO:rS and g;ucstiamm by a United Slates l\,fatshal. Tb.et;e am so mrmy problems th.31 can
                M':ire ftom tha1 type of siru.ation duri.ng the process. (712.5101 AM 25~ App, 3823)


                                                             -2-8-
(Page 289 of Total)
                                                            App 855
       USCA Case #21-3072              Document #2077668                   Filed: 10/01/2024         Page 290 of 477



        delibenne and return a venlict."8'.l On J u.ly 24, 200 l. after the cowt' s limited inquiry of Juron

        Nos. 1 and 17, tbe govcmrnent announced that it was ..vigorously opposed'' to allowing the jury

        a mid-August ·recess.~ The next day, the court urged the eleveni-membcr nunp jury t.o reach :a

        "v,r;:rdict now,'' and added th:lt it was postponing any oon.s.ideration of any va.catioa ·ti.mc.115 'The

        oourt sua sponte :reinstructed the jury on Jury lrutruction 34, which allowed for partial verdicts,SG

                One defense coWLScl advised th<: trial judge: •1. am concerned lterc that what maybe we

        don' t iknow exactly what's going on. There ls obvious!;, something going oa, but what may be

        going oo is that Juror o. 3 i.s expressing a different decision than the majtnity ,of me j1.1rOrs. aJ:ld

        Juror 1 and 17 lll view of d:J.at, arc attempting to eliminate him.' 1
                        1




                The conocm Ith.at farms No, 1 and No. l7 weTe trying to elimirurte Juror No. :3 .in order t:o

        brea!c a deadlock in lhe vot1111g i based on oompellirig c-ircums1antial e:vidence that the

        Government has not refuted. 'The jury had been in detiberat~ons since July 9, w,thout reacWng a

        verdict. After the trial judge rcmo..,·ed Juror No. 3. the remaining elevea. jurors immediately

        (wjfuin two hours) .returned vcrdic~ in ·th.is case. Ai the district oouxt seated in its order of August

        161 2001: 1ff]ih,e Coun ooncEuded that just cause existed to dis.m.iss Juror No. 3, That conclusion

        has since: been confirmed.by tbe oroed}' rotum of vc_rdicts."

                The law is to lhe contrary, for "a district conn. may u.nder no r;ITCUmBlmOC remove 11.juror

        in an effort to break a de.adlock..''" "'ithiin two ho.ors after Juror_ Q. 3-.was excus.ed,_th.e..nunp


                n (7/l9J01 A}l,f 7, App. 3788).
                IA (7/24.tOI PM 15, App. 3801)

                ~ ('i/2S,Ot AM 54, App. 3a49).
                111
                  (Id at 54--55. App. 3849..S0).
                n (7/25/01 A.i\1 0, App. 383:3),
                13
                    United S'tail!S v, Thomas, J 16 :F. 3.d 606, 624 (2d Cir. 1997). See ab,; Quin.o-,us v, Unfte.d'
        Stille~. 489 U.S. 1032 (1989)(e.fi'.Qt in dedsion to dismiss jW'Ot where po"1ble call\ic of~ re:mo1e·nl was.
        as much LO avoid a mistrial lleca'18e of a h.W'lg jury as ro excuse .an incompeteot juror); United Slatn v.

                                                             -29-
(Page 290 of Total)
                                                         App 856
       USCA Case #21-3072               Document #2077668                     Filed: 10/01/2024          Page 291 of 477



        jury returned !.l guihy verdict against four defendant.c:39on the key narcotics conspiracy charge.

        These facts certainly create a reasonable hlference that Juror o. 3' v1e,.,rs of lbr.:: merits were::
                                                       90
        contrary to lhose of some of the other JUrors,.

                The: Govenuncnc assemi mnar the Appellants failedl co ptove tt,m Juror No. 3' s discharge

        had to do with his. views on the merits. Bm th.at is not our burden, wh.en AppeUruit!i were denied

        1.he oppo.rtuni cy to participate io the inquiry of Juror No. .3 and were not present when me cou:n:

        privately interviewed Juror o. 3, onr when OUSM Adams eovcrtl)' interviewed Juroc No. 3, nor

        when the prosecurors inc:ervi!ewed DUSM Adams a'bou11 h.is in:rer\'iew or Juror No. 3. Nor were

        Appellants allowed to que;stioa the remaining jurors about Juror No. 3 or to inte:view Juror •o. 3

        after he was discharged. The absence of proof is the fauJ t of lhc court, not Appellants.

                Di:-mis$al of jurorS has been upheld only when .. me la.wyen;, were not shut out of the

        process."?1 As we have shown here the defense lawye1'6 were not merely shut out; they were

        never invjted in. The court's dircctl vcs concerning return ,of Vc-rdi,cts and removal of Juror No, 3

        were oocrcivo, violatmg Appoll:mbi' due proces righui to '1 fair, im:partial and a ummimous

        verdicL

                  c.      Condu.slon

                  The district court'~ decision to excuse the twelfth jurnr without j Ll!St ca:ui;e 2nd over

        H~rna.ndn-. !62 F. 2d 17, 23 (211di Cit. 1988).
                "Threeco-<id'crufanls were convicted of coa.s:pi:r.i.ey at lbe.1:.111me time.
                  90
                   See United Stales. l/_ Tabacca1 924 F.2d 906 (9'21 Cir. 199l)(comtiction reversed for i,npr•Oper
        diffllisMl of juror dutin g delibemti®s.~ d.e:adlod.ed,jury retmne<i 11 verdict of guilty wimm two boon
        after reccmvmrlng in his absence.)_
                  91
                     United Scaus v. Boykm, 8~8 F.2d 230, 259 (1 i.c Cir. 1990}("On at l~t six oocasioo.s, defease
        counsel su!!esled supplementary qu-e!itions which were lhen put to jurors")', United S1ares ..,_Sharpe:, L93
        F.3d 852 (5 Qr. 1999) (c:oun "consulted with the laW)ws throughout. giving thoughtful comi<leratioo to
        lbei:r sugges.tions. '-')~ Cf., Remtt~r, 347 U.S. n.t '2:11, 229 (Jutlg:ment wr:at:c~ wd ca.so rcmamied for factual
        findings, where a juror was coa.bctcd dwing Id.al by fUlOtbar il.bool '!be cast. th~ i5$ue wEl1i brought to tbc
        court' s: attention. was invcstigntcd by the FBI., and determined hannless by lhe court without knowledge
        or participation of defeuse counsel),


                                                               -30-
(Page 291 of Total)
                                                           App 857
       USCA Case #21-3072               Document #2077668                    Filed: 10/01/2024          Page 292 of 477



        Appellants' objections falls jooo the special category of errors that ''ddy analysis by

        harmfess-errm standards" and require automatic reversal because they are ''necessarily
                                                1
        unquantifiable and indetenninate.' 02: Vie.wed as a whole, the proce$S leading to Juror No. 3's

        dismissal was neither fair nor open, and AppeU1.1t1Es• convictions mu.st be vacated.

        n.         p:pelku1ts ~-ere denied a lfair t-rial by die comd0,d ,o f the trial .iu:dge.

                The Govm:nment chooses not to reply to fue particulars of our p.resenration on this issue.

        The choi~ is tmdel'S~dable, given the sheer magnirude of the number of the errors made. But

        the Government's, very unwiHingnesi to undertake the defense proves our po1nt-the enurs in

        this trial -were of sufficient number to constitute a qunlitltively diffe.rem son or error. Ttus was a.

        differe-nce in kind1 not one ,of degrae.

                Rather than aldtl:t-ess. 'fully me merits of our cJaim, the Government chooses, instead, to

        hide hen.ind a mmstaken construction of the standard of review. incorrectly arguing that

        Appellm~ did not adequately preserve thciI objections below. Toe Gov·emm~nt is wrong, l:Jut

        even if it is right - even 1f a plain c:rror tanda_ro governs this is ·ue - Appellants meet that

        stand.a.rd. iu\dee.d. lhe Government's response simply reinforc.es ourshowin._,g of how tl'te biaJ

        court·.s unfair treatment of lhe defense mfiuencec.l the: Jury.

                A.       Standard of .r-eview.

                The Oovemment a.cgues for n plain~ITQJ:' slandud of re.view .b.ec:ause defense.counsel

        neither objected to the trial court's conduct at trial on bias grm.mds nor sought recusal.9l




                    !l'l Sullivan...,_ lnuisimw• .SOS U.S. 27.S, 23l-B2 (1993), As a l.mal Sll!lily, the Gm·cmmc1n submits
        th.a.rt there w-~ ao reu0D1 at rba11. l.ale stage of che case to d.echre a mi.~ and that Rule 23(b) was :adopted
        for thH type Qf R~tion. Ap-pell~ do not quam:! witfi lihB U$C of Rule 23(b) in approprtate
        cb-tllmStannes. Those presented here differ so significantly as to can doubt on the reli111mlity of the jmys
        Vtttlic:t.
                in Govt. B.li. 98.



                                                               -31-
(Page 292 of Total)
                                                          App 858
       USCA Case #21-3072                   Document #2077668                      Filed: 10/01/2024   Page 293 of 477



        Howevet, the Government c:,0ncede-s that in United States v. Barry, !'M> this Cowt reserved the

        question of whether failur:e to Jtui.ke an e,~prc5s obj<:ction based upon bias re-quires only limited.

        plain error review. In Barry1 the cou,rt declined r-o deicide w beth.er fuilure to seek :recu.s.al woold

        constitute a waiver of a bias daim but acknowledged that al least one other circu.it took the
                                                                            1




        position chat we endorse, nameJy, that actual bias cowd be rai ed explicitly as a theory of relief

        for the fi-rst time on appeal, 9s

                The Government af.so recognizes that tbis Cin;wt's precedent est:abli&hed in United Stales

        v. i;,atf<i supports the proposition that the absence of :an ex.press objection i.s illOt a waiver,,but

        contends lb at W')iatt is limited to claims of ~oessiv,e judic:i at questioning, UasurprisingJy, the

        Government offen no mnonale lo distinguish ~ssues of undue judicial ql!lestioning from any

        othe.r fonn of jud.idru bia,s in a_pplyi:ng a :sumdard of review. And, as tbs Government also

        conccdc.s1 counsel obJected to much of the challenged conduct below, although not ,explicitly on

        bias .grounds,911 Accordingly, we contend that the objections were preserved. below.

                But even if the ~tandard of review is plain error, Appellant! meet it. The first two prongs

        of Unit4d States v. Olano' s plain error test are met where ( 1) there was error; and (2) the error

        was pJafu.911 The trial court greaLly o,,.•en;toppcd lhe bounds of judicfal decomm, as we have

        shown, and to treat deferadants as plll'i:e.h.s whi:lc treM:ing thr: pToSA:cuton as h.onore<l guests could

        not more..p1ain1¥-offend notions of faimess.

                The lhird prong of Olano is also met, in that the ,errors rufected substantial rights. The

        right to a fair triall unimpcdeti by ju.diculll malm:atment a substantial fundamental constitutional


                ~ UnUt.d. Sta.te.s ;,. Barry, 91.8 F.ld 1327, 1340 n, 1.!i (D,C. Cir. 1991 ).
                l),f   s~~ id. (citing untt.ea States- 'Y, Mr+rphy, 768 F.2d 1518 (7dl Gr. 1985)),
                M United State.s v. Wyatt, 442 P.2d 85&, 860 (D.C.          Cir. 1971).
                ,-a Govt, Br. 98.

                11.t   f.lltited SUJles v. Olmw. 5(17 U.S. 72.5, 732-34, (1993),

                                                                  ..:3:2-
(Page 293 of Total)
                                                              App 859
       USCA Case #21-3072                    Document #2077668                   Filed: 10/01/2024          Page 294 of 477



        right.fl Brea.ch of that right in the ways ser forth., demeans I.he system of justice and erodes

        public faith in the s,ysrem. If mis Court fi mis; as we submit it musi, that the trial judge W1I.S so

        biased against Appellants and their counsel that his r:oodud robbed the proceedings of foime.ss

        and dignity, then .il\ppellants hav,e made an g~uatc: case for relief u:ndei- Olano. aoo

                B.            Appell.a.nits rights to o. fair tf'J:al IM!forei a disi.nte.[lested t ribU!llal were
                              evm:e-rnted.

                The G ovemmonf s defcDBC to Appcllants • ju.dicntl bias claims rests upon broad and

        une;'i;;Ceptfonablc: legal principles: but ove:rloob the undcrlyi-ng facts. Everyone agrees thai under

        Unireti. Su1us ~. Lic~kyroi a bias or partiality challenge ean be supported if tho .rcc-0rd 1eveals the

        tria] judge demonstrated a high degrae of fa voriusm or antagonism and. made fair jt1dgmen1

        impossible. Jn lhat \'ein, Utefy's words, although offered in the context of the fede.ral. recusal

        staUlte (which ~snot at i~sue he.re) remain instructive~ LTf]he Ie.,,•ision brought into [the. rccusal

        :starute] e.Lemenas of genera) 'bia.... and pt-ejudfoe' reeusal that had previously been ac!dresscd only

        in [18 U,S,C.§)144 .. . n~quirlng them all to be evaluated on an objective basis, so tha! whln

        matters is not the rea13ty of bins or prejudice buc its appea.mt'l.c:e."Hn This i~ essentially a

        reatatemcmt of the Offutt doctrine. which da::.mcs "'justice mu.st satisfy the appearance of

       justice/tLO) That guideline was not met here, as we once more show.




                 '9'J See, ~g.. North Caroluw v. Pearce, 39.5 U.S. 111 (1969) (Due P«ioes, limits au.ahirity to
        inaea.se se11ter11: e a.fu:r retrial); Blm:kledge v. P8rry, 417 U.S. 21 (1974) (Due Process limits p~ut0r'15
        discretion to add new chl!.rp:S 01 coo:ms).
                 moo S07 U.S. at 736-. See also tr•sh v. Smath, 56 F.ld 918, 92S (8 111 Cb;-. 1995)(findins plain !!(TOT rn
        eivil rights c:asc due to c:nal judge's deportmoJlt before ]'Ill.'}'~ applyiog Olano).
                 301
                        510 U.S . 540 (1994).
                 ao-z 1.J.. ar 54&.
                 ro1,   OffuU' v. U11i1-ed Slaltt.S, 348 U.S. 11, 13 (l 9S4).


(Page 294 of Total)
                                                                 App 860
       USCA Case #21-3072                Document #2077668              Filed: 10/01/2024         Page 295 of 477



                         1.      The Government resorts ·to t:hdol'ic over par.ificlJ huization.

                liteky does not confer upon trialjudg,es a lioense to treat people bruily, to cilStigate them

        fo:r no reason~to impugn th;eir mqtives at opponune moments. bl indly to ascribe :misconduct to

        them, and to threaten them, bee---aus.e judges bold positions of power. Yet the Gover.nmenf s

        response to Appellam:i ' argument that rhe t1faJj1u.dge was so biased! and pro-prosecution as to

        deny tbem a fair trial can be distilled inro one woro: "avoidance.'' The Govemment frequently

        co.needed l'.bat the defense accurately ~l forth the. trial judge"s conduct, For example. the

        Government did not diSputo Appel.IantB' conlcotion that the rtrial judge purpo~fully p-ut tutificia.1

        tmw limitations on tile defense's et:oss-examinations.. Instead it made a "o:ne ~ize fits .all" claim

        that tlw :restrictions weTe merely an exercise or j udicial discretion over complex itriaJs_1a-i

                lt is. not ins.igruficanl, we think. that the Government declirnxll to tackle. mos.t of the

        examples Appellruus proffered by ooruign:ing them en masse to a lengthy footnote, oontcnrliog

        that ii cannot respond to each example AppeUnrnts proffered because of word Lin:lirations. 1be

        Government made no monon to exceed the worn. limitation in o:rcfer to try to refute Appellants'

        daims of bins.. lruitead 1t <-hose io dsdkate fift)'-two pages of its. brief lO reciting lhc under~ying

        factB, sveo though lhls. :n:ppeal largely focu-ses on the unfau:ness of the trial process_ Hence the

        Govern___ment's resort to word limits as a constraint on its ahHicy to Lak.~ on fue bjas. claim is, we

        believe. untenable.~ - - -

                Frankly. if the storied shoe were on the other foot, we submit that lhe Government's

        ouLcry would be pronounced. But the facts rema1n, and those facts demonstrate an a.tmosp"here of

        repression. A re-.ading of the trial transcnpts conveys what Appelfants contended in thcir opening




                ra,a Govt. Br. 101-02.


(Page 295 of Total)                                        -34-
                                                       App 861
       USCA Case #21-3072                 Document #2077668                      Filed: 10/01/2024            Page 296 of 477



        brief: this trim was anything but r~, Md the tri ru judge was as a-ccom.modating to Che

        Govc:mmcnt n.s be was contentious to che defense.

                 The Government tells as th:.u the tti aJ judge ruled .against it occasionally and professes

        that it is not challenging b..is impani.ality. Tbos.<: few rulings do not mitigate tile AppelJants•

        complamt. Our ,concern is that the dcfemc case was infected with so ml!Icl'I oven nnimosity from

        the lrial judge that no juror who was sens.ate oould but conclude that the judge intensely disliked

        lhe d.efondani:s. Lhek oou.nscl, and their theories. The repetitive, dear mes.sage from the passages

                                                                                        '°~
        recited in our open.ing brief was thai the defendants wtme guilty.1 To s.a.y mat they were not

        prejudiced by the trial c-owt's r;onducl is to deny reality,

                          2.        The Government itmSI misstated lhe r-econl.

                 In i~ uuetnpt to divert attencion from [he mat proces..q,, the Govemrn.c:nc sometimes

        misstated. testimony. For example_ AppeUants claimed that court below truncated Hill's cross-

        e~amioation of Cindy .Perkins (who ac--eused Hil I of killing James Coulter). The Government tells

        us. th.al. Hill's oou:nsel jmplicitl:y CO'flfessed to an improper cross-e,rnmi:n.auon by admitting thal[

        that he did not believe that Ms. Perkins. had ever bee1:1 cbarged with stabbing Mr. Coulter and

        should not have brou,ght up, a lino or cross designed to show that aho had been 1cosseted by the

        pt0.Sc:(:utors. 106 The Govc::rnment's: representation i:s ineorrect, as che following colloquy ensued;



                 Q. Did you eYer stab your ooyfriend betwce:n me time of when the incident that yoo have
                 tewfi.e.d abtnit regm-ding Mr. Hill imd now?

                 NtR.. ZEIDENBERG~ Objeetian.

                  ioe; O~es \!, Ma.,-Jocluuetts, 115 P. Supp. 443. 460-623, 467 (D. Mass. H>!)it)(_''ButJudge
        Clmrlclmki 's actions went beyond aoy reasonable bounds. of m:ililtaitW'l.g e-ontrol i in-stead of p ~ g
        the ideal of dignity, orne:r, and 4e-eoru:m,, his grs.taito1.15ly s.a.rc11Stic (IBID!lfks se~ to de:stroy it. From Ille
        jury•s perspei,tive-. Ute trial j~t:'s actions eould only be nttetpreted as u wbole.silll'e ju.did.a.I rejection of
        die ,_.alidity of Oses'.!i pro EB defeye.'')(ganrirlg fr.ab.cas relief), tJjf'd, 961 P.2d 985 ci• Cir. 1992),
                 IOI! Govt.Br. 100, 1'1.52 (cfttng l/30/0 l 98, App. 1893)



                                                                  -35-
(Page 296 of Total)
                                                              App 862
       USCA Case #21-3072              Document #2077668                    Filed: 10/01/2024           Page 297 of 477




               tvm.. DAVIS; Your Honor, if law enfoi:-cemBnt intervened. I illlll eoOOed to bring i1 ouL J 1UI1just
               as.ldng ber. If Ibey didn' t, she can .mswt"T na.

               THE COtrRT: What do you men.n. by luiw enfcrt:cmcnt int~rvened?

               MR. DAVIS: I have a c:rcdiblo basis-
               nm COURT: You mean some law enforcmicnt officer oonneeted with this ease. p-rocured the
               dismissal of that chuge •

               MR. DAVIS: Perh~ I should approar:b and mQw Your Honor whM. I run refarri:a,; to.

               THB COURT: l guess you better cio that.

               (Rea.ch c:ooicmnce an ilie mcord).

               MR. DA VIS; Your Honor.just so Your Honor knows what I was doittg a few IDOilk'!nts. ago, the
               reason I wnis o.sking her about thi.!i ls th.a.t she was cba.rgcd with A0W and altempt.ing to ~1..1.b I.he
                                                                                        1



               young woman with a pair of scissors. Md the chitrg~ wit$ di5mi~scd .llpproximJltely a year I.utt.
               Sincc she was a witness in the K Street case. I wa.cS inqu.i.ring aibout this to deu:nninc whether-

               THE COURT: May 4, 19-97-

               MR. DAVJS: Well, Your Honor, wi:tnesse:s have char,ges dismissed and mimy times it's as a resuh
               oflbeireoo-pr:muion. l'mju:st i!Sk:ing,. If it isn' t, I have moved on.



               MR DAVIS: I know. and I am dooe wilh that. Now I lh!ivc -

               THE COURT; The complainant ~ to thn Mct:ropoli~n Police OepMtment mait me had
               been assaul1edi by the defendaru. wilh a pole.

               .MR. O,AVIS: If you read furthcr, Your Honor, h'i in tbere.

               lHE COURT: Ail right. It's a fight berween two womeo over-the same man.

               MR DAVTS: ll involved Mr. Coulter. But I am done with that.

              nm COURT: What h, the further relevance? ls il your contention lhac some I w r:m.forceUlelilt
               officer cn111Dcctcd. with thls ca~ proc;uJcd dJis wmp!idnt's dismissal in ierurn 'for so:me
               coope.mtion?

               MR. DAVIS; That's wbat 1 asked.. And she: said no, .so it' ij done. r am moving on. ~ow I have -

               nm COURT: Did you have an}' ~is to su.5PC-ct that?

               MR. OAVlS: Yes,jus,t. gi,•co the fact that 1>he W'a.$ cberged with stabbing someone ·with a pair of
               SCISlior.s and I.bey didn"t pro!!cctl.1£ her. ( ~an, it's fairly routine thaL people have cb..i.rges



(Page 297 of Total)                                           -36-

                                                          App 863
       USCA Case #21-3072             Document #2077668                     Filed: 10/01/2024          Page 298 of 477



               overfookod or Law enforcement lnteri/e:i:ies. Your H®oI, I have had clients th.al have been
               .fitt'Uted o.t:'.I. things. Now there is ruiotb.u iticiderit -

               THE COlmT: The objection is sunainod.

               MR. DAV[S.: Well, no. Your Honor, we: have already dooe this. Now I have anOl'lhcr incident
               wbCII: I mvc WQIIllaltOil -

               THE. COURT: tf you ha.1,1C no fo:rtl1cr- con.ncction, no better comteetion w[th mis ease for that
               other incident -

               MR. DAVIS: Lt's. James Coulter. My infoTIT1BliQl'Ji is that .she st.abbed l:le.r boyfrleml. And since
               they a.re, both intricately in'f'olved in this c:Ue,, I want to --

               THE COURT: What is lh::: cumJection wlth this case?

               MR. DAVIS: They~ both -

               THE COURT: Are you cooLending th.at was III charge that was dismi.s:.cd?

               MR. DAVltS: ] don't think .sbe wa:i ever cooged. But I guess we cm do it up 11 ilie ~ndt. 1
               me.an, I ~ fQW1d out lllbout this this a.fb:::r.a~ ! brui.rd -

               THE COURT: Both of the.so charge$ w,ne djsmis:sed, she wts oev,e.r c.onvlc:~ed of I.hem?



               nm COURT: Are you trying to unpc:u::h her, is lhat what yau m:; tryiDg tQ do?

               MR. D'AVIS: No, I'm trying to find oot if the gained illl)f •

               THE COURT= 'Thi.sis not a. d4coycry dcp,ositi.on., Mr. Davis.

               tm. DAVIS: Your- Honor, [ am simply lrying -
               -CHE COURT: The obje!:tirJII +s su!itainod, Oo not go into lbe subsequent incident.



               nm COURT: If' for :wmc. reason you think. you oughl to be aJlowed -


               \MR. 2EID&'\':BER.fr. I am not il.Wate of I.Ire i.ucldcot, I don't mow what 1¥:&-. Da1,is is atfoging to.
               I don't blow what he is. b~ing Ull$ other mcidcnt on.

               THl! COURT~I think he hll/S had!, lik~ Qtb,cr- dcfemc ccwsel. m~gaw.rs out roaoocog mt ovu
               me city picking up whatever d:i.n I.bait he cm pick op, afid lu: is going to use it.. Jo7

               100
                     (U30/0l PM 9.5-99, App. 1890.94).


                                                             .3;.
(Page 298 of Total)
                                                         App 864
       USCA Case #21-3072                 Document #2077668                  Filed: 10/01/2024           Page 299 of 477




                Quite plainly defense counsel h,11.(J a good faith bws to <kmo:astrnte. the relcvanoc of a

        liac of bi.as-type of cro.ss~aminatioo. The court inteffllptod him rnpeateclly and then cut off I.he

        cross-examination. And its oam.ments then needlessly ohasti:se-d defense counsel for cm:rying oUl

        their constitutionally mandated duty to thoroughly investigate the ,case a.ad develop impeachment

        infonnation concerning Government Witnesst:s.. JOB

                         1          The Goverm.ment :has aJso .mi.s5tated ihc law.

                The Govemment also advRllOCs :some incorrecc. legal principles. For msmnce it s.uggcsts

        Uiat the trial judge was under no obhgation to 1e1aiJI notes from jarors se.eking icxcusal and to

        show the no~ to e<>uosel. ln fact. Rule 43 and lhe Cou.stimtfon! forbid ~x pa.rte communications

        between the ,court and jurors, and it is the practice I.hat whenever jurors communicate to the court

        mwriting~ the writh11g will be. prescrvcd. 1® Thus seen, me following colloquy confirms that the
        trial court r:an afoul of the rule:

                       nm COURT; I a.lcn.counsei th.at w.e are g,Gttmg :re.peared requests fromjur<QrJ who protest
                       that they are being imposed upon by being liequi:red to remain tiere. So fat ] ha,·r.: yet to see
                       on.c t:hal. I think is suffkie'ntly mcrltorioos co justify exCUAiag tru:m from senice. But I am
                       gmru.nely oon~ tlw we could very vtcll gn,d up in a situt11tio:a where we hitve les~ than
                       the mini mum number of j llr-Ots.

                       MS. HEPWORTH; Your Honor, may we be advised as w the com.mu:nicati0ns from the
                      juror;?

                      THE COURT: No, because mo.st of them ~ s.i_gned, and 1 send them b~ck..

                      MS. HEPWORTH: Perhaps some son of ittd.lcation Qf the jwo:r Ilwnbef and ,..,.'bat. was tm. -




                to1 ( l/30J01   PM 99--99'. App. 18~3-94).
                tC9 l?,0gers Y, Unil,ed Srates, 422 U.S. 35 (1975) (Judge's. reply ttx parte c.a jwy now viota.1eid
       di::fendu:nc.' s right to be pieSent in person OJ by r:oUDSC.I o.t all proocodiQg:a: from Che time lbe jury is
       empanelled. Wl.til iL Ls discharged a_ftc-r rcndcriog a verdlot; lrial court correctly ordered note w be filed cm
       the record)~ Unilcd Staltt~ JI.I. DegrojfeJlried, 339 FJd 516 ('111 Cit. 2000) (discu!lsion of Jury Dote owsi~
       defendant's~ violated Rule 43).


                                                              -38-
(Page 299 of Total)
                                                             App 865
       USCA Case #21-3072              Document #2077668                     Filed: 10/01/2024           Page 300 of 477



                      THE COURT: I Ctl.fi fdenut), r.be-m from the numbtr~, yes, but none of them in roy
                      judgme.nt, and it is my judgment wh.icb controls., rep.resents a. sufficient ju.stific.ation for
                      ~cusal from savi.c-e bc:rt.

                      Whether that situation wiU oootinuc to obtain; I don't !know, [f h appears lb11:t jt is likely
                      that I.be jury is bo;ximi.ng so restive that. we cannot t::ouat on their continued vohmwy
                      ttcqtliesceace, acd c:onlia.u:ed ser\lice b.tte, ] will very ~luctanll.y, but not hl}:sit3tr:: to
                      ~u.est.er Lhlsjury. I don't lhitilc anybody wanLS this jury sequcS1m"Cd.

                      MS. HEPWORTH: No, Ymrr Honor.

                      MR. ZUCKER: Yoqr t·fonor,jrus.t so I unde:.msnd. Would it be p0ssible so 1.bat 'We cou3d at
                                                                                                         1




                      least add~ss the iss.ue - J unde.msnd your concern for am;mymjty. Can we fuld out what lhe
                      l!Ubject m.1trer of the compla:im. is wilh a redael.cd version so we clon' t know wbo it i.s? W~
                      don't know tbei.r id.eo:ticy but at le--asi: we eould address it, Because there w-e - we' re sating
                      up .

                      THE COURT: Address what?

                      MR. ZUCKER: You{ 'ref sayi'llg that -

                      THE COURT~Ale )'OU tldkmg about the jury or a.re you wking abolll apm Lisi' s •

                      MR.. ZlJCKE.R: Oh, no, no, oo, Thejlnj', lbejury, lbejUJ}'. You're saying you cll.OJlOl
                      disclose - you did .cot C008tder aillY of the complaints. sufficient enough lo wan----J.Dt excnsal.
                      We mighl want to a.ddress thaL And ~f we did ii. you s-a.idi your conoem w:n.s Ulllit they're DOI
                      anonymous.. They're signed.

                      Well, fine, Take out the signanae and let \LS !know lhe seat u ~ . nnd whnt Lhc complaint
                      is, ooea:use we might want to take a posicSon oo wme of Chem

                      THE COURT: Denied, rm going to exffl:is.e my pIUog!!ltive ;md ~ them ll.Dtil such
                      lime CB I think I see a sufficient justification for cxcusaJ..

                      MR. BESHOURI; Your Honor, will the coun at least put them under seal cttt:n to be pan of
                      lhci.RiCord?

                      THE COURT: I have returned tbe:aHo the jurors. ll"1

               Thj CB$C in\•oJved nn ainonrymous jury, and it is uru-ealistic to lhink they did not realize

        s011uithing was moot under mose circumstances. Dcnymg the defense access to complaints that

        were conveyed pri·varely to lhe dislri,ct coWt pre,rents Appellants :and this Court from kno,wing

        what the jurors were protesting. Suppose the notes bad told the rrtal judge that lhe juro1·& had



               HD (119/0J PM 59-61, App, 1650-5:l}.




(Page 300 of Total)
                                                          App 866
       USCA Case #21-3072                  Document #2077668                    Filed: 10/01/2024           Page 301 of 477



        conferred. had begun to discuss the evidence amoogsl themselve..,;, and ckcidcd they had heard

        enough and were ready to proceed to .a verdict. Would anyone not chink that would ~ve some

        reason forconcem?m

                             4.      1'he Go <!mmeot' ll~ ,o f a ' trial manB_gement" theory to C;XCJUil!! th
                                     triaJ ,tourl's arttnclal limits on the det:ense case ring:s nncon lltdngly.

                 rn %'eb1]CJnse to Appellants' proof lha.t dlc trial judge aU--too-frequently hmited cross-

        examination, the Government argues 1hat 1he lriru coun all.egedly needed to constrain defense

        counsel in order to prevent the trial from becoming unmanageabk. It claims chat this need

        bee-run~ apparonc after the defense bad cross.exam.med the first cooperaung wicuess for 214

        pages of trial transcript, although his direct examination had consumed only 60 page.s of
        tr.mscri pl 11 2


                 This is a. red herring designed to distract from the oveml I te(:ord which demonstrates the

        in ttt,.,-orun cffet":t of the judge's actions. ...In reviewing criminal cases it is particularly

        important f:or appellate courts to re-live tile ,,,,t,olo lrial ima,ginati vcly and not to extract from

        episodes in isolation abstract questions of evideru::e and pro~urc. •" l ll The question is nol a

        single witness. but timi~ on defense cross-e.x.amination of all witness-es

                 Moreover] the wit~ to whom the Govcmme:nt alludes, Andre Mw:rny, was a major

        iofoonant against Hill, Sweeney, Cars-on, and Proctor. Mt. Ii.•Iu-rrny also admitted on direct

        eu.n:wlll.Uon to befog a heroin addict, to having oeen arrested ..about a. :hundrN'' times m:i.d

        having been convicted of a dozen serious crimes, to selling narcotics throughout D.C., aruJ. to and



                 111
                       &,:, 1.g., U11ite-d SUJle.s ,.,, Resto, 3 F.Jd 684 (3d Cir. l993)(finding error whcro bial c.o-im not
        al.en to indications tb:it jUfOI:'$ were engaging in piem~tuIC delflxmuions).
                  111
                      Govt. nr-. 102..
                 "' Unir~d Srates v. Y4'ung, 470 U.S. L 16 0985.)(Jntemal quota.tions omittcd)(quorcd t.,1 Ou.s, 775
        P.Supp. a.t 4(;7),


                                                                  -tO-
(Page 301 of Total)
                                                              App 867
       USCA Case #21-3072                  Document #2077668                Filed: 10/01/2024           Page 302 of 477



        10 ooopcnl:ing with the Government and s.eeJa_11g its h.eJp With the Parole Bomd.11" Defense

        c(lunsiel h3.d an obligation to cross-examine him vigorou.sl "I. snd u, ere was 1LI1Iple fodder for thru.

        effort. llS

                               5.     The Jury would have to have been deaf not to ootlcc th,e distrid
                                      court1s. m1d11e com.me.nu towards defense oou.nseL

                 TI-1e Goyer:nme.nt ugges-ts th.a:t the dtmearung and disrespectful c-,0m____ments of the lrial

        judge to counsel were ''i11nocuou ." Doubtless. ilfi posinon would be differenL had it bec'o the butt

        of me repetitive and gratuitous comments. Worse yet. it bas misstated their conte:x,: by cle.iming

        that defense attorneys had invited the judge• s approbation. 1u In fact, some of the instanoes it

        cites acrually were pointS dW1J1g the tmd lhat defense cows.el merely :sought either 10 uridcr..mmd

        the court"s rulings in order to abide by them or to make a recurd of thcili grounds for objection. 117


                      4
                 Ll       (211/0i AM 12-15. 18-20, 22-25, 29-65, App. 1996-99, 2002-04, 2006.00. 2013-49).
                    u:s Strickland v. Washington. 466 U.S. 668 ( 1984). The Government nlso exaggernl.CS in 11:Ssmting
        that the acfen!ie requested one ruili d.ay to prepare for c l ~ uguments and when the court gnmted them
           fl.Ill day. decliatd in favor of a balf-day break. See Govt. lJr. 98, 1n facr. after illiti.tl dis.ctJ.SSions,
        (61"15/0l PM 55--02, App. 3533-40), the finlll sttw:ture Wil!S ad0pted at the ,q:ing Qf the Go~iernmtnt who
        •.vislll=d lO commence cl05,ing argument$ while th.c fa.nu lits of tile deoeden~ ud victims were prc_scnt - a
        request to which defense cl'lUn$CI acquiesced. Se.e (6126/01 AM. 4~ , App. J,,541-42).
                    Ltt. Ck>'l'L Br, 104~5.
                 1
                  " For ex.ample, cou.nseJ objected when Lhe Gci\1emmen1 asked A.mhe MUD'ay his opinion as to
        whom Proctor COIJ$idercd friends or assoct~. Toe ~ourt 0 11erruled the objection. When counsel
        s_u.ccmClly a.sbxl.: "'Guilt b,y t1s$0Ciat:ion is not le.gi~tc examination?," lhe 0011tt Then said "Would you
        please sJt dowu, }.lfr, Bramson. The objection is ovcrntlcd. You c.an CToss--examine.'' (211/01 AM 63,
        App. 1499}. Coun~l ws.s hardly guilty-o( ''continued persi.stettce. in c'lFC8.S where ~judge had ntled."
        Govt. Br. lO:t.
                 As for M.utin's. eo1.U1.&el's being admon1shed tlul she was running out of the coUfl's •'time" and
        •)>ati.encc,'• the Go¥emmeJJl gJ'U(3gmgly concedes that thrs <lid ..openly re0ect[] some s;,r;a.spention" lmt
        $11)' tba1 the j uclgc n.c_cdm ta maintain order. Oovt. Br. 104~05. Counsel was confronted by 3rll e\"ilh-c
        v.iimess. Instead of d.irecci.n,g I.he wiiness to answer ~ questions, tho court susta_med objectiom to the
        qa.esti.01:LS. When OQffl)s,el tried to impe3ch the wiwess, asking a:bour. his neod to ple.asc the Gcwcumu:C1t in
        order LO g1UD the benefit of his cooperation ammgemcmt, me Oo,•emment succ:essrully objected and the
        coi.m gratUJtoosly added: "Ms. Hepworth. you are j 1.u1t a.bout. ouc of...time and patie,0ce." Wben couru.el
        as.km pcrmissioo to put two more questions to tbe wri:ness., lhe court curtly responded: •·J hope IOO)' are
        helter than the last ones. Go ahead.•• One of those questions elicited rrom the witness an adtlliss10n cha! b.e
        wa~ hoping by his cooperation wilh the Oo·,•erruncnt Lo void a. life sentence. (5/2!01 PM 90-91, App.
        2484-85).


                                                               -4.1-
(Page 302 of Total)
                                                           App 868
       USCA Case #21-3072                   Document #2077668                     Filed: 10/01/2024          Page 303 of 477



                     The Government .says that the uarguabty critical comments about which rhe defense
                                                                             11




        complains were all made outside tne jl.J.t'Y' preacoc~. either at the bench or \.\'hen the jury was. on.
                     138
        i;:recess.         W,e beg to differ. While the disparate treatment of defense counsel alone strongly

        signaJs j udiciaJ bias, the fact that tbe jury overheard! some of the exchanges further buttresses our

        position.. Indeed Lhe Govemmem•s transcript .referenc.es, 119 when put m proP,Cr context, rev~.m cbe

        following:

                     1/24101 JU.f 18-l.9! Counsel for Hill had objected to testimony b;i cooperating witness

        Reginald Switz.er. on the gmunds that there was no foundation for the testimony and that the

        witness. was stiting his, opinion. Durmg a bench conference the court deemed lhc objection

        "bi.volous.. and threatened "[l]f you make an)' more frivolous objectioncS-, I am g,oing to

        discipline you.•• Cbunsel tried to explain that m:at lhe w:i cness w-as aot testifying, ftom personal

        knowfedge. Alter further discussion lhe court overruled the objection, warning counsel, 4•Do n,ot
                                                     11
        make any more frivolous objections When counseJ asked rot clarification !IS to what objections

        would be deemed frivolous, ii.he court resp0nded "[y] ou do what yoa do a1 your peril. I have

        warned you now. Take your seat:• 120 The level of annoy0.fle-e demon_,:itralcd by the. coa:ri:►s

        comments were conveyed through gr.:"8tit1..rc and body language 11nd must have be.en dctectc:d by
        the ju.ry.121



                     n, OovL Br. 106.
                     Lit &e id.
                     1• (L/24/0l
                                 AM 18-20, App. 1802-04).
                  m A.simi.larc,•cnt qoclJITed QO. Fc:bflJuy 141ti, wnen.Ma.nin's C01J.D5.Cl objected to II wi;trle$.S being
        asked ·why she w-a3 tettifyitag. The eaUJ1, after ftn:1hct' disc-ussilJ!l at a beach confete.il'Oe, Wlcd: '"[t)hat is, a
        Cri,.,orous objection. 1' Coa,nseJ replied "I dcm1 t 1lh1nk ~o.'" The co1Ut .-cspondod lha.t "[y)ou make a.not.her
        frivolous objeelioa Like that. and you•ro going to be the next one to tmd yourself at llhc \lirTOns cud of s
        s:mctrcm. Why a.re you timlfyirig? There is abliclutely nat.h:ing ,objections.ble .3bout dlat. Obj~tio11 is
        ov.errulcd."(2/14/01 f'M 3f! 39, App. 2312-13). The jlll)" cau.ld net rui:ve boon Pl$OTI$[tive lo what W-iliS
                                        8




        happening.


(Page 303 of Total)                                              -42-

                                                             App 869
       USCA Case #21-3072              Document #2077668                    Filed: 10/01/2024        Page 304 of 477



               2J6.f0 l il1 90i: Price's counsel W.ill:i, croM~cxlllirini.ng cooperating witness Norman Yus.uf
                      1




        ShnmoID abom IDJ.lrders be and Thomas Field$ had c-ommitted. 122 Coooscl then asked:

               MR. ZUCKER: Okay, and when you wcut ove-, toTho--ous. Fields' house md they 'Wtm g:mg-
               raping that woman ro, hours and bad hor handcuffed in lhe bed, yo1c1 "'iue agreeable with that;
                ' nlh+'?
               n~-

               wrrNESS: l wa.s agreeable'? There was noilii:ag I eoold do as far as me s-topping someone from
               raping Iler.

               MR ZUCKER: You d.idil'1 try to do m~thi.ng?
               WITNESS: No.1 didn 't.

               MR. ZUCKER: You didJ'.l't try to disassoclate yoorselrin BiI1)' 'ilr.1.}', did you?

               WITNESS~ There came a. ~int in ti..me wbcn 1 md diwsocia.te myself.

               MS. CT'1ATURVED1: Objection, YC)ur Honor. This !us been asked and a.ns.wcred.
              11-a_E. COURT: Sustaiw:d.

              !Yllt ZUCKER! May Tapproll.eh..

               THE COURT: _ o.

               ~m.. ZUCKER~Woll, I need clarifieano11 ou the CiOml's ruliq.
              THE COURT: You dOli'l't ~ 8!DY e-larlfiai.tic111 except my sosra.iniu.g; of Ebe objection.

              !\1R. ZUCKER: Well. I don't want ro brea.c.h the cowt' s nrli_ng by gomg rn.to ad~ .stuff.

              THE COUR.1': Wm you plca$0 courinuc wrtb your examination. Mr. Zu.cbt.

              ?!,fr. ZUCKER: I don' t want toda sl) if it woold be in ·

              TiiE -COURT: Your ewnin1Bion 11 iC1:Jfi lurk d. Sit down.
              We'U take Otll:' uo.ontimc recess now, ledi~ and ~1'111e.m.en. (Jury O ut).

              MR. ZUCKER: Mfl.)' I address the C0Ut1 before wci leave?

              THE COURT~No, you may not. Mr. Zucker. yo-u were warned. I fwd you in conlcmpt or court.
              Y0 11 an: fined the sum of S.S00.00.w
                                                1




              m (216/0 l AM 85-8&, App. 2206-00).
              m (2/6"0 I AM 88-90, App, 2109~11).


(Page 304 of Total)                                          -43-

                                                         App 870
       USCA Case #21-3072   Document #2077668    Filed: 10/01/2024   Page 305 of 477




(Page 305 of Total)
                                       App 871
       USCA Case #21-3072               Document #2077668                   Filed: 10/01/2024          Page 306 of 477



                 The only thing that. happened outside the jury's presen~ wa.$ tbe actual finding or

        contempt. The other demeanJng stntcmcots occwred in front of the jury.•2-t

                For these reasons., and those previously srated in Appellan:ts' opening brief.judicial bias

        s.o infected the proceedings below lhat Appellants were denied due process..

        m.      The :iotrodinetioo of Robert Smith' hearsay statements to,Agtnt Lisi nqwres
                r--enrsal.

                The district c:ourt•s decision to admh Agent Lisi's account of what Robert ('•Bucchic'")

        Smith told him, and to,deem Appellants to have waived their Confrootaci on Clause objections

        WllS error and tlw error was n.at hannfess.

                The Government mpproaches lhis issue by fntming lhe qur:-smion as (1) wbe:ther the district

        coun "clearly em:d" in deeming Appellants to have wai,•e-d their rights.~and then asking whetner

        1t was clear error for the trial judge to have found: (2) that Smitl1 wru; a co-conspirator; IIJld (3)

                                                                                              °"
        that Sweeney's: .statements to Smith were in fu.t.1:.h_eranee. of the conspiracy. 1 We think lhe

        prme.cution hru. it in reverse order and "WIOng on tha merits

                The proper questLOos are (1) wus it clear error to conclude that Swoency' s statements to

        Smith were made with tnaent to further the conspiracy~ md (2) whether (under the requisilc .de
                                    2
        ru)'lo SLQndard of rcvie,v·1 '°') it was enor to strip away Appell&rus• Confro111.:ation rights.

        Approaching die questions from this persl)ecli'i,1e j,s. more logje:al and allows the issue to be

        reso,l \rOO ln way that does not implicate constitution al c...onsideralioos. 121


                 J:2,4, &e al.sQ (5/2/01 PM 90-91, App. 2984--85)(Mruttn':s coun.sel remonstrated injury's pre.sen.c:e

        lbat she \VU running otrt of lhc coart' s ..time.. md ''patienoo" and tlw. ttial judge b0p0t1 :my f1..lf'th.cr
        questions. "'are bcttcl' Iha.TI the last 011es.'?.
                m~ Govt. Br. 1l7, 124.
                w Unmd Stme.s v. {Ralph} Wilscm., 160 F.Jd 732. 739 (D.C. Cir. l 998).
                m l..ampreclrJ v. r CC. '9-SS F.2d 382., 389-90 fO.C. Cir. l992)("'When .t federal coun ~ as.keel to
        amwer a co:nsti.tutional q11c.stiou. bask- mncr:.s of judicial JWtramt am1 :separ.ntion of powcr8 call upoo it
        fim to cous.i.der altemati,•e gioucds for ~ution.")(ci1i11g Av1wmuur v. T~ Valley AialL' 291 U.S.

(Page 306 of Total)
                                                          App 872
       USCA Case #21-3072                 Document #2077668                    Filed: 10/01/2024                 Page 307 of 477



                  Whether or not Mr. Smith W-9lS a coconspirator is,. in, the cnd1 not material. The critical

        question is whether Sweeney's statements 1.0 him (as 11eported by Agent Lisi) were in furtherance

        of the coosp.in\cy. The <;ootext and content-. of Sweeney" s comme.nts' makes it evident that his

        words were idle chatter and thal their admission at ltial cannot be justified under Rule

        80l(d)(2)(E) , F.R-E.vid..

                 The constitutional question need only he addressed if the Court concludes (contrary to

        our view) that Sweeriey's &::<:lw:.arions wooJd have been admissible had S.rruth restified in ~.rson,

        On that issue. we maintain that th(: evidence was fosafficient co permit waiv·er of De{end:ants.'

        Confrontation Clause rights and adr:nit Sweeney's statements. The Government has. not .shown

        I.hat dcfcmdruns ''en.gag~ or acqui£s,:~d in 'io\tr0ngdo1ng that was intended to, 1;md did. procure the

        unavailability of [Smith] as a witn.G&S. ,.J 28 Any &ding otll.e:rv.'ise,. espcdall y as to Cilt'S()i\ and

        Co.atcS (the Latter not even being shown lO have any knowledge of a. p!ot ro eliminate Smith) is

        unsupported by die record.

                 fjna1ly, the Govermncnt's brief confirms (albeit unwittingly) Ehat ad.miss.ion of S:m;itb's

        tcstimm1y WM far from        l 'Ulm:ifoss .   Smith's   statements corroborn1ed   claims made by         convicted




        felorn;. ·testifying 1JI1der plea. agreements_ For the most part.. Us.i's. rendition ,of what Smith

        supposedly told him was not co1TOboTI1.t•e d by physical evidence or by tes.timony from

        di~intcmsted witnesses. as com_pined_1o..c.oopccating felons. Thus its.-admhsi.on. was reversible _ _ __




        288. 347 (1936.)(Brandeis. J.,   concwring))i  Knnim1r v. Barry, 74:l F.2d 30, 39              L984)("[(]t i.s the
                                                                                              ( D . C . C i r.

        general policy of the. fudcrnl courts kl a.void ~ddres.sing brood constitution.al i~ucs unless tbeit reso1ution
        is imperative .i.n the eonte~l of tbc c~ at hsrn;1. •').
                 1
                  ~ Fed. R. Ev-id. 804CbX6) (emphas.is ~ddc:d).




(Page 307 of Total)
                                                                App 873
       USCA Case #21-3072                 Document #2077668                  Filed: 10/01/2024           Page 308 of 477



                 A.         Whether Sooth ,vas o co-c.ott.~1rator is immaterial

                 The Government itself says that Smith was "a ]arge-scale drug dealer,''L19 who sold. drugs

        to AppGllants, On that che evide1Lce is clear. Th.e parties dispute, however, whelher Smith joined

        as a member of the appellanc.s·• a.Heged conspiracy. In. the end. however. this dispme doesn't

        n:rntter, Ruic 801(d){2)(E) ''does not embody a requirem.enc that- tile statement in question •be

        .made by a c:ooo11spil:atOT u, a coconsp.irator. mllO As a oonsequenco, the patties• disagreement on

        this sabsidiary factual question is irrelevanL 131

                 B.         S,weeney's purporttd :statement~ to Smith were no·t ''m furtherantt ,o r' the
                            censp:irucy.

                 It is worth repeating here ao import.ant point - the Oovemru,ent now embracai a theory of

        admissibility (that S\\1eeney's statements to Smith were "in furtherance." of the conspiracy) that il

        did not raly on initially below. As we have already deta.Hed,u2 when the Government flJ'St

        proffered .Lisi's reeitation of Smith's statements. it acknowledged that t11ere was ''No question''

        that had Snl!ith been present lO te$lify the Brillon doctrine would have mt1de Smith's statenumtS

        inadmissible as against C-arson, and Coates_uJ Ree-ognizing this reality~the Government

        c.(plicifly sought an excep,tioa to Bruton in cases or waiver-hy-rmsconduc1.. The district cowt

        rejected that approath, yet offe1cd the Government an even more untenable altemative - holding

        lhat the statcment.s by Sweeney to Smith were '"in further,,u'lce" of the oonspincy.


                 129
                       Govt. Br. 125 n. 72 (µ.a ma.Jar supplier of mmjuana in Soulhwe.sr''), 127 o. 73 ("Smith
        admitted to tiavmg lraffielc.cd in cocaine illld hcro:in').
                 l3U United Sta1~s "'· Wlllmmson, 53 F.'3d 1500, 1519 (10'1!1 Cir. 199S)(cmpb.aslc: original).

                   m Our initial sub:mi!:i~on di!icus~ tbb f~tu:;1J q~tioa. In our view, il$ we note abovc. lhat
        f,a,otual q,1estioo is imrelevant, To me extent bo~~,-er lbuL it 1~ not. our injti1111 submission. App. Br. 103-
        0.S, demo~tratcs lhat the Govem:men,t' s vic:w of Smith'5 role l~b facwaJ, follfidatl()iit.
                   1H Sttt App. Br, 98,

                in (5129/01 Ai.'d 58. App.1277} (iicknowledging thalBrutol'J v. llnitd St~. 391 U.S. 123
        (1968) would precluxi.e admission of Smith's. !tltem.enu agaiMt Carto11 im.d Coates).


(Page 308 of Total)
                                                            App 874
       USCA Case #21-3072                  Document #2077668                     Filed: 10/01/2024          Page 309 of 477



                    The Govemme.nt's initial unwillingness to embrace an "in funhcrnnce" theory of

        admissibility was u.nderstmldabfa. Despite its vigorous attempts to defend the res1.11t, in lhc end

        there simply is no facriu.aJ predicate for the district court's e--0nclusions.

                    Before a statement can be said to have been made "in furthe:raDce'• of a c-0nspirac:y, them

        must be a reaso:na.bl.o basis upon which to conclude that the suucment was mo.de during 1.hc

        course of the conspiracy and acllll\lly f1.nthc11:d !the conspimc:y's. objectivcs., 34 Under the

        reasonable basis standard~ a statement may be suite.e.ptibk 10 altemative interpre,tations and still
            1
        be •in furtherance" of 'tho conspiracy, and the smtemenit need noc have been exclu.si vely, ot even

        primmily1 made to further the r;onspiracy. al$ Nor ·need. the statement be important or essential t.0

        the conspiracy: it need. only be importanl enough lio serve some pwpose to promote the

        conspiracy's ohjccti ves in order to be adml ssi'b1e. 136

                    In lhi s respect, we .acknowledge that a stateme'nt that i~ «pan of chc information flow

        between conspirru:o:rs intende.d to htlp 11;ach perform a role'• is ad.mi ssible under Ru.le
                             1
        SO l (d)(2)(E). " Wo recognize that a wide range of statemc::ats satisfy rue 11in furtherance"

        requirement. These includt statements mack:: (1) to identify other mernbcr5 of tbt: conspiracy and

        their roles: tlll (2) to recrwt potential c:oconspir.aton:; •J9 (3) to control damage co nu ongomg

        consp,ira.cy and pre.vent I.he desertion of cooonspirators~ 140 ; (4) t.o keep coconspirators advised~


                    LJ.4 United State3 v. Sho~r.   8'26 F.2d 619, 6:28 ('F Cir. 1987).
                    I~ ld.

                    IJl'i IJniJ~d Staus v. Gal(), 290 F.Jd 922, 929 ('f! Cir. 2002).

                    m Unired Stales v. Sanl('J, 20 P.3d 280, 28{) {7111 Cir. 1994).
                t.li (J~itf:d Staus tr'. W.ll1amron.. 53 F.3d at 1520; Um"te-d Stm4s 'If. Magat, 821 F.2d 134. 244 (Sib
        Cir. 1987), United States v. Ro'faan-Zapaia, 916 F.2:d 795, 803 ('2-d Cir, 1990).
                mi United Su:lle.s v. Godinez~ 1 lO r.3d 448, 454 ('fl Cir. !997); United States v. ,Slwres, 33 F.3d:
        438. 444 (4 Cir. 1994); Umud Stmu v. Nazenrinn. 948 F.2d 522., 5291 (9th Cir. 1991); SfuJffner, 826 "P.2d
        11l 628..

                    ,.so G(}(fincz 110 F.3d at 454; United Sm1~$ v. V<CDt Daal B),A;. 840 R 2d 4.94, 499 (7lll Cir. J 98S).


(Page 309 of Total)                                               -47.

                                                              App 875
       USCA Case #21-3072                 Document #2077668                     Filed: 10/01/2024            Page 310 of 477



        to the progress of the compi.racy. 141 (5) to cooceal: ihe criminal objectives of the c:on.spin.¢y or

        help a void detection by law enforcement officials; 142 ,or (6) to plan or to review a cooonspirator's
                    143
        exploits.         Some courts have amruued e:xtrajudiciai. statements as being i·n fw-thernm:e of a

        conspiracy where tho comments. were made {7) to descnl:l!C prope:r sources. avenues or condu.im

        to promote the co~piracy~ 144 (8) lo prompt further action by Q co«>nspirator. l4J OJ' (9) to allay

        s1.IBp-icions or serve as an assura:n.c.e that a coconspirator can be trusted \O pcrlorm his role. 146

                  The Government (md this Une of c~es) cannot. however, escape the fundamental

        ration ale for pc-rmitting. lhis species of hearsay to be introduced. It stems from rthe fiction of the

        agency theory of a.consp~y. under which ~•each membet of a conspiracy is [deemed] the

        agenr of each other eoliL~pirators whenever he:: is acting - mcludmg speaking - to promote the

        conspiracy (hcmce the requirement that the staiement bt in ~ranee of the conspiracy).... u7

            'The requin;ments that the statement be both •during tfa~ course' and •m furtherance of' the
        1




        conspiracy arc tbcrdoro not only compelled by the agency ficaon, thei' are in fact ihe r,easoo

        why the drafters of the fedenil rufe 1ncorporatf;d Ult ag4;:ncy approach into Rule 80l(d)(2)(E).

        1111,c;, Rule 801(d)(2)(B) is a limiranon on the ~dmissibilby of co-conspiratoni' statements mha.t is




                  t•-1united Statt!$ .... Jordan. 2.60 F.3J 9.30, 933, (-Slh "e ir. '!00:t);-1\'Qzernwn, 948 F .2d at 529,i!nite'..J.-- - - -
        S1ate.s v. Pott$, 840 F.2d 368. 37L (?Cir. 1981).
                  142
                       Willia11uon, 53 F.3d al 1520~ Unite.a Stales. v, Kallen, 819 F.2d 8l31 820 (~ Ci.r. 1987).
                  141
                       Umrtul SI.ates v. Mal(, 772 F.ld 366. 3.68.-60 ('7th Cir. 1985).
                l.W Jonkrn, 200 F.3d 11,_t 933; WilltamJ'Oh, 53 F.:3d ii.I[ 1,20 (qUDtin,: f.htil.J'.,d St.aies v. uch~ga. 888
        F.2d 1412, 1480 (Sm Cir. 1989)).
                  1
                   -, Naz~ 948 F.2d at 52.-9.
                   146
                   Unit~ Staiu v. Wolf, 839 f.2.d l:.l87, 1393, 1395 (l<f' Cir. 1988); U1titedS1at~v. Buuluu,
        791 F.2.d 1310, 1'.U:5 (1" Gt. 1986); llniw/. Sta1a r.i. Millu.. 664 f.ld 94,, 98 {5a. Cir. 1981).
                  11
                  Urnu:d Sl6tu v, Psnz. 989 F.2d 1574, l 'S'17 ( 1oi" Cir. 1993)(qucring Vnired S1at~$ ..,_ Pallai.J,
                  "
        921 F.2~ 684,687 ('fb Cir. 1990)).


(Page 310 of Total)                                              -4&-

                                                             App 876
       USCA Case #21-3072               Document #2077668                    Filed: 10/01/2024          Page 311 of 477



        meant to be taken serioosly-" 148 'Toe 'in furthcrnnce' .requirement embodies :the drafters:' •desire

        to strike a balance between tbe great oe-od for collspirators" statements in combating undesirable

        criminal activity which is inherently secretive and difficult of proof, and the need to protect th-t

        ttttuscd against idle chatre.r of criminal p.arrners as weJl as inad~·ertentJy misreponed and

        deliberately fabricated evidence. "'149

                  The Government's. argument for the admiss,bilitY of Lis.ii' s testimony concerning Smith's

        :m1.tcmcnts unmoors the co-conspirator e.xception from irs foundations. to meet the ''in

        fonherancc" requirement the statements mast be more than "mc:,c .. . uarradve•• description by

        one conspirator of the acts of another. uo Rather, the statements must prompt the listcne:r to

        respond in a .IIlll.Illl.er that promotes or fad lit.ates me carrying out of the criminal ru:livitf- 151 A

        statement is ..in furtherancet only if either the sta.te.meiu ~tself or the coovc.rsation a.s a whole

        was intended lO adY'anco tho ultimate conspiratorial objective. Co-nversely. conversations that

        repr,esent "mere idle chatter'' or which arc mere descriptions of past conduct are not tn

        funhc:r..uJcc of the r;;onspi.rncy because mhe starement and the conversation were not intended to

        advance the conspi rncy, regardles-s of whether an imlividuaJ e&e0nspiratot wa& implicatc<l in the

        oo:nversati.011. tn



               1
                "RP.ere.q 989 F.2d at 1-517 (emphasis original) {quming {Jm'-Jed Stutes v. JQflliS®. 921 F.1.d 999.
                 111
        1001 (7 Cir. HJ9i)(iuti:rnal quotation omitted)): United Sltu.n . D·oerr. 886 P.2d 944, ~51 (7 Cu.
        1989).
                i.cr;i Peret 98'9 F.2d at ] 577 (.qMring 4! J Wein.stein & M Berger, Wei.ostcin's Evidence t
        80l{d)(2)(E)[Ol]at 801-31 J to-3l2 (1992)) (footnotes omitted),
                 ~ Um1~ Sta1ss v. lie/Jerman, 637 f.2d 95, 1U2--03 (2d Cir. 1980). See: o.J.so Uni1ed Stale.s ,.,_
        PoorJe, 782 F.2d 386, 390 (2d. Cit. 198.6}(mete "idle chatter" does not :satisfy Ro.le 80 l (d)(2.)(E)), Cf.,
        Urtittd SJmu v, Beeclt:-Nut NutrUum Corp., 871 F.2d urn, 1199 (2d Cir. 1987).
                  ui Budt~Nur, 87 l F.2.d. at 1199.
                 m See Unired St~, v. M.e(UJS., 695 F.2d 811, 818 (5 th Cir. 1983). See WQ United StU1es v.
        Phillips. 664 P.1.d 971. 10'17 (5 111 Cir, H>SO)(aibrogation oo other grounds recognized by Un11ed States v.
        Hu111ru3, 9~ F..2d 1'.309 (:5 111 Cir, 1992)).


(Page 311 of Total)                                            -49-

                                                           App 877
       USCA Case #21-3072                  Document #2077668                       Filed: 10/01/2024              Page 312 of 477



                  Th~ Crucshold qacstlon th.at must ibe 1Y;kctl io each o( these cases is: Wiuu was tnc

        decl arant' s int,eom. in making rtbc underlying stacemenm:?3" This fundmnen.tal distinction -

        be.tween conversations in furthcrnncc of the cons.pirncy a:nd prejudicial statements made jn

        co:nversat1oos th.at were not in furtherance of that 00:J:].Spiracy - has been recognized by every

        circuit court of appeals that has consideied the guestion.15' Understnnding lhe disti11tcti on is vital

        to proper resolution of th.is. case~ m1 well.

                 The most difficult ,questiOl'l.s. regarorog admissibility of coconspira1o:r statements invoJve

        smt:ements s1,1.cb as those at hand, in wrucb one aHeged c-onspiramr supposedly said that "X..

        defendant perpetrated some bad act or play(:d some role in the c..onspirac y. The argument against

        admissibitity in such s.ilWlitions is simple - recjtations. of past history do, lllOt generally further the

        cause of the c.onspiracy. 1n most ~nstances they are little more than •idle cbauer_,.. To be &'UI't;,

        sometimes relating past crimes and cum.mt rofas does 1furthef' the conspiracy - but that is the
                                                                              L




        exception ratbe_r lfo1.n the rule.

                 To see lhis, comider mbe situation where such information is t:onveycd to keep the

        conspiracy intact. In Um"i·ed State:, v. Westmoreland. L$S a witness 'Eestified that her husband had


                 a:n Un.lttd S'Jate-s 11. Rouert-1, 14 f .3d 502, 515 (10 ,c if. 1993)(dJrng Naz.en1ian, 948 P.2d at 529):
        Doe:rr, 886 F.2d at 951-52
                  l :M Su, a.g., ()nlted Simes v. Dlsuia. 260 P.3d 150, 158 (2d Cir. 2001){cernrln conven:uioos held
        bearsa-y rnura.tives). (hrrted Slate:s V. s~. 2Q-.F.U 269,--U6 (1-dt-Cir. 1994 "=Tite,sc--statcmcnts..flr.nHleScl
        cfescn'bed as n~,·e disx:ussioos of past eve:iU.&. wtiieh do not sati$fy lhc 'io furt:heml!l.Ce.' teqwrtmlclll of
        Rule 80l(d)(2)(B)"); R.obem, l4 P.3d t Sl4 {''mere namw.ves ber.weea c:o-ccms:pimtm . . . of pa:n events
        are .not in fm1hermee''); United State-1 v. J<>hnsmr., 92? F.2d 999, 1002 r,6 C-11.". 199!)( S~ncs dlllit
        consist or ''idte chatter, nrur.rative decJamtioas und super.f1ucm$ ~mu :reow:ts" do not satisfy the •'in
        filnbM11Jce., requin:mcnt)(quOl:JltLQns gd c:imtion omitted): Ur.iltd Slates v. IJrfxuuJ;. 8()1 P:.2d 692,, 698
        (41h Cir. 1986) ("'th:i:$ :st:a.1cnica.t can fairly bf! treated o.my as tl:w. oort of idle eon1,•eirsacioa wt-Lich t.bougb it
        touches npoTI, does not •fl.:irther :i. conspiracy."); UnJtlll Statt!~ v. 'Pcm~r. 7(>4 :F.2d lS35, 15'38 (U,m Cir.
                                            1


        1985)(evidcnc.c which "'spHled the beans" could 11.ot be said to have a-dvuced any object of the
        cou$piracy); UJJ.iUd Sta/63 v. .Snidi!r, 720 F.2d 985, 992 ( Cb', 1983): Ltt:.!Mmr.an., 637 R 2d at 102 (''The
        eonversa Lion • , . mw:cks of rwchln_g IIJ..1JTe Umn ca.sual convetsatlon aibou1 past evs11,ts. It is difficult to
        eDvi5ion how it would have fw-thc~ed I.he conspiracy").
                  w Un.U4d StaJ,t:s I!!. Wtstmbrdand. 312F.3d 302 (711, Cir. 200'2).


(Page 312 of Total)
                                                                App 878
       USCA Case #21-3072             Document #2077668                   Filed: 10/01/2024         Page 313 of 477



        come h.ome covered in blood and told her that he h.ad. helped ahc defendant on trial b.ury someone

        wno bad owed the defencia'nt money and who had ..truk.ed too much." The Seventh Circuit held

        that this statc:.rnent funhered the cons.piracy because. the sui.tement. which the witness perceived

        as a threat. was intended to prC,.<iet'f/e the conspiracy by .frightening the witness and dissuading her

        from informing the authorities about the defend1u1l's drug scheme.ISG

                There is also a line of cases involving criminal oiganizations in wruch tnformation about

        panicip,unts in a conspi:rncy and theif'l'Jespective role...;; sub!ita.ntudly furthers lhe conspiracy. For

        example~j n Unit~d S1a1es v. Russo, Hl a wj LMSS was told that the de!eJ1dant on trial h"d become a

        captain within an organized crime family and thaI the defendant's son told him and anolher

        individual that lhe codefendant was 4witb1' the family. The Second Circuit held that these

        ita.1.cment8 wen: m furtherance. of the conspiracy beca.use they helped mruntain lihe syndicat.e by

        giving assocl ates infoonatioo about its membership. us.

                Hero the Government nss-en.s llu1t the infonnation Sweeney i.mparted to Smith. '"help[ed]

        him ca:rr--y OLlil his dutir;s."L~ 91 Il is not surpnsing that lhc Govemrn.ent makM no <;(:fort to

        particularize those dutfe~ or C1;)1'1nect them to the hearsay statements. Just what Smith's "'duties"

        were, let alone how the information helped SmithftJfill these dutics 1 is left dangling1 as if th.e

        Governm.ellit's ipse dixit should suffice to carry the day.

        -~      Even if Smith's. mle was.. a~the govemro.cm~i,..Jrul.t of a sup.plier of narcotics. .the

        go~nt':s. case is illogic.al. It is implausible that a description of three ml.JJ.'OfilS that, as the

        Goi,·emmcnt concedes, arose om of an unrelated robbery that ooc~d several months earlier,


                1
                 "  &e uJ. a:t 309-10.
                m United Statn v. RUJSQ, 302 F..3d 37 (2ad Cir. 2002}.
                ISi Saa id ilt 46-47.

                u, Govt. Br. 128,,



(Page 313 of Total)
                                                         App 879
       USCA Case #21-3072              Document #2077668                    Filed: 10/01/2024          Page 314 of 477



        would assist Smith in fulfilling his fun~lion of supplying drugs. Yet tlte Govem_ment would have

        Lh.is Court assl.llDc:, in £he absence or any evidence, lhat Ole mformation was sufficiently vilal to

        Smith's business that conveying infonruuion about the murders was an essentiaJ act by Sweeney

        in furtherance of some ]arg,e r cons.piracy. To conclude so is not only UrtJ,,SLlpportcd by lhe

        evidence~ it is rank speeulntion.

                B,y the same token, Smith's ostensibly Jeami.ng iha[ Co.ates bad kidnapped Annhony Pryor

        years befu,:e, and bemg told tl:tat Camon had attempted to find and kill Kenneth Adams. years

        earlier, can hardly be said ro have helped Smith ''fulfill his duties" to lhe group.

                In our \'1ew, the present case is factually !timilllf LO the one address.cd by the Fourth

        Circuit in United States v. Urlx:mik. There two co-conspirators conducted a coavcrsation in

        furtherance of the conspiracy. Afterwards they moved to a different pan: of the h.ouse and began

        lifting weights. One of the eo--oonspirators then itnplic.aled 11 third co-conspirator. The Fourth

        Circuit held that thi~ statement was nol in rurtbermioe of che cor1tpiracy. It was evident that the

        conversation wa." between two co-con:spirato~ and that it was made during the course of I.he

        conspiracy ~ they had, after rul, jus.r finished coocmcting tho business of the COMpiracy,

        Ho1.,u;vcr, it was also clear lhat the co--conspirn.tors had ceased chscussing the open.lions of the

        conspiracy and lrn:d begun cng,aging in "mere idle chatter" as tlley pllfSued an unrelated activity.

        In 'tne wolds of the...Fouttb.Circui.t:

                Tbe slatemem identifying Urbanik .u. Pelino' s "'cormoction" for ma.rijuooi:I was merely r11
                ca$~l a.iidc to the disc'1.Sl!iot1 of Urlxtnik the weigbt-lifkr. fn no sense 1:mt.a most
                ~ulativc oac could it be thought to ba,\'C been made to funhet the piirp().scs of the
                conspiracy. Haselhuhn himself ~ficd II.bat UU5 irumtific:1.tioo of Pelino's nurijuana
                :supplier could have had no effect oo !the conspiratorinl ~lationshLp betw@el] bim and
                Pelino. We rhink lhat this sta.wnumt can f11tirly be treaced only as I.be s0rt of idle
                conversation which though it muches up<:rn.. does aot "further." a ccospiracy, :1r11dl which
                &c:ording]y showd ·cot be admittcdl u_11der R:we 801(d)(2)(E). See United SlaJBS v. Means,
                695 F.2d 811, 8 t8 (5111 Crr. 1983); United Stales v. LiJ!bermt111, 6~7 F.2d 95, 102 (2111 Cir.
                1980); Untted Suit~· v. £!ufxmf<j, .513, 520 (9th Cir. 1979). The f0C!ttircmcnt tbait the
                suitcmcnts have been in furtherance of lhe conspiracy .is desigincd both to assure lheir


(Page 314 of Total)
                                                          App 880
       USCA Case #21-3072                  Document #2077668                    Filed: 10/01/2024           Page 315 of 477


                reliability and to be co□s1ste:a1 with lhe prei;mn_ption that the coco:ns-piraror would have
                authorizmi them... The :requirement is not satisfied by a cDJJvc,mlti_<>n ... which filD.Otwted
                to no .more than idle c:nattsr:•1~

                It is, therefore, important co undersumd the cont~xt in which rhe hearsay stslem.6llts

        related by Smith to L11si :supposedly wcro madt:.111 c

                A:n cxa..minatioo of lhc Government's principal authorities. proves Ille point even moret

        for Sweeney's statements to Smith (agllin, indulging the belief that Lisi was not e);.a_ggeJating hls

        discussions wilh Smith) cannot be admHted under the Tar(lnrfrw imaJ:ys.is th.e Government

        advll.Ilces. l &2 one of the unde:rlyu,g ad.missions wcie made with the objective of indn.ci n_g Smir.h

        to do anything to further lhe cllarged conspiracy, 163 And the Government's claim that Sween~;"&

        comments were a means of opdati ng Smithi 64• is speculative in che extreme. The record contains

        absolurely no indication that Sweeney told Smilh any of this hifoanation with the initcnt of

        having Smith do nnything for the conspiraty.

                Instead the statemenlS fall within die class of u 'casual comments to people outside o.r

        inside of the conspiracy"' which Tarantino reoogruzes as a ground for exclusioo.166 As in ',f.lru!ed

        Slates v. Snider, the decision lh~t TaranJir,o citeS to illustrate tho point. Mootbing in the record

        SY8Gcsts that (any of Appellants') descriptions to [Smith] of 'the ope.ration, and the duties of the

        participants, in :my way furthered the objectives of the conspiracy."166



                ~ United Slnl~s v. O>rneU. 195 F.3d 776, 784 (5111 Cir. 1999) (quo.ring 1/r.btmik, 801 F.2d at 698).
        &e al.ro lfr:iited" Starl!s v. U.Caui~ 167 f Jd 36, 50 (lac Ctr. l999)(a..dmi$sion of Wl:rraitive emmeous}.
               L♦L Unil'e.d Stal4's 11. McConnell. 98~ F.2-d S:30, 534 {se, Cir. 1993)(rever.sing conviction where
        inndmis~blc evidence was introduced Lmder Role 80 l(d)92)(E)).
                1'l. Unired Stal.es ""· T ~ . 846 P..2d 13&1 (D.C. Qr 1988}.
                163
                      Taraltlitw, 846F.2d fll 1412-13.
                1.,. GovL Dr. l2S-2'9.
                1
                "     St:e uL .al 1412 (qu'lJ.ting United Stales V. Snider, 720 :F.2d 985,992 f8 111 Cir. 1983)).
                l6Ci S11ider1   no R2d al 992.


(Page 315 of Total)
                                                              App 881
       USCA Case #21-3072                   Document #2077668                 Filed: 10/01/2024          Page 316 of 477


                 Nor is this maner akin to Alta Rec Zanville's fateful lunchtime: coni.·ersation with Rayful

       Edmond's motb.eI in United States v. &lmond, 167 the adrmssion of whlch this Court described as

        pa close question.''16 Th.ere, Constance Perry's sc::at~ments to 1i,1s, Zanville arguably were made

        to keep her ' 1 \:ummt oo the status of the business.·•.,L159 Here, on the other hand, even if one

        fndwged the bclid I.hat Smith w.as patt o{ the conspiracy, what he purponedly told Lisi consisted

       of entirely of statements of historical eventS, n0t1e of which could reasonably be construed as

       having been ma.de in~tially lO Smith with the. inte-nt to furthe1' the conspiracts future business.

       Tiui:t, however, is the touchstone of the Rule 801(d){2)(E) analysis. no

                 The shortfalls. m c::ven more pronounced in Coares.' case. lt woul1d be pa.rtic:ulady odd

        and counrerfactual, to ,say that the. conspiracy's business WtlS being advanced when Smith learned

        that man)• years before, Coates had been. iovolvcd in shootlng Michaol Jones and in kidnapping

        Antbony ("'Wysocki") Pryor. i 11 Tarantino rcoognizes.1.rntl it is difficult u.o argue Lha.:t. lhc

       «c-apjtulation ,of events mom:hs or year.s after they occurred can be deemed to be in furtherance

        of a conipiracy.172 The Government never established lhat an}'1hi0g Smith 'wa.s told conveyed to

        hlm any msss.ags about how future business in 'the conspiracy was to be conducted. At most

        these conversations might hav,e been the klnd of conversation lhat touched upon the conspiracy                 1



        but they cannot fairly be said to have furthered. the conspiracy and lhus their admissibility was

        not authorized by Rule 801(d)(2)(E).



                 iirr Unl1Ni SltJtes 1r. l!d!Mn4, 52 F.3d 1060 (D.C. Cir. 199S).
                 261
                       See rd Bl 11 lO-U.
                 1
                  ~    Set id at l lll.
                 10
                 ' See, e.g.,    Cormtt, l~:S' F.3d at 784-85i Unite.J SJate-J v. Ba"bbtro, 749 F.2d 581, 583-84 (91b Cir.
        1984).
                 11
                 ~ Govt. Br. J32-JJ,
                 in Taran.ti.M, 846 'F.ld at 1412. See cwo Desu.a. 260 F.3d tit 1.58.



                                                                -54-
(Page 316 of Total)
                                                             App 882
       USCA Case #21-3072                Document #2077668                  Filed: 10/01/2024        Page 317 of 477

                C.          o legal bas.is justtfied adm:ilii:silbillty under a Rule 804(b,)i wmver dteory.

                We oome, fuJaJJy, lO the Confrontatroo coneero - a_n issue the Court need not reach if jt

       at;C:cpU our submissjon on the factual "iii (unhenmce" question. At the t:Jrn::shold we submit tbcro

       are two gfaring discrepancies in the Government' is theory of admissibility, The first is that it

       never charged :my of !'.he defendants dire:clJy widi killing Smith. l'he Government concedes tJ,at

       the indictment rux:uscs Sweemey illld Carson of eonspfring to kill him, but not of murdering him,

       and did not ciiarge Coates ait all with those s.teps. i 13

                It bears reitemtfog lhat the evidence regarding the cause of Smith~s death is completely

       circumstantial. .lndeed, lhe only speculative testimony offered by :Montgomery WWI thl:lc Carson

       h.ad bo:aowed Montgomery's car the day S.mith was JtiJled and later told Montgomery not to

       drive on Hnlf St where S m.ith' s body was found. 11' •~either is at all probative nnd, indeed, th-c

       later precaution is a sensible one whenever a murde:r has occurred, iuespct:tivo of one's role fo

       that event

                The s,ccond concern arises from an even more curious notion.. Smilh was a man whom the

       Government i~elf concedes was a major drug dealer :in South,,n:sl Washington, D.C.. who sold a.

       wide array of drugs at wholes.ale quarntiti~ to a. lot of people ill the city.ns Word .indisputably

       had leaked out to some pe150o or petsoM wbo never were identified that he had become an

        infonna..,t. SIJOh a public identW.rotion carries wlt:h. it a great deal of baggB,ge - thr,:,rc: i • both \he

       danger of being out on the ~•street' under the cloud of bemg a "snitc.b" and me .changed

       c.irelJlll!lumcc: of being an infom,ant with every incentive to embellish or fabricate ms claims.

       Thdi informant wa.~ killed under mysteriou.s circumstmtc~ and uo one CYcr was charged with the


                L7j   Govt. Br. 120 n. 66.
                tr.c. (S/23./01 PM '27-:12., Api,. 3246-51) (Montgomery}.
                m Oovt, Br. 127.




(Page 317 of Total)
                                                         App 883
       USCA Case #21-3072                 Document #2077668                       Filed: 10/01/2024            Page 318 of 477

       killing. The Government nonetheless convinoed a fedcraJ court lO forfeit the. Confrontation

       Clause rights of those on trial► including the right:; of one defend.an~ (Coates) as to whom it

       admittedly had no evidence that he had auy id.ea S:mifh was an informant, !et a.lone knew aibour.,

       a.cqwesced to► or participated in lho man's killing. This deci ion was flawed.

                 Appellants do not suggest that it is improper to forfd'l the Confrorrtotion rights of a

       defendant who has participatod in planning to eliminate o:r in eliminating a potential witness.. 276

       That defendant ha_s made a eonseious choice and can hardly be pemtltted to take advantage of his

       wrot1gdoing.

                .But lhat situation is far removed from the one pres.e-illred here, where mere i.s scant - or no

       - evidence connecting any dcfendanl wilh \he witness• elimination. At its core the prosecution's

       waiver theory is based i;oiely on me defen.dants' !being. member-s of a group cbal has killed

        witflesses ,n the past. \.Vllile the 2~1 holding in United States~. Cheny17'1 permitted waiver under

        those circumstances, that decision is. 11ot binding on this. Circuit.n8 Allowing Cherry to c:ontrol

        the admis5io:n of :rank. inculpat.Ory t!e.arsay .ngainst persons no't involved remot:c:.Ly m Smith"s

        mur,d et dissef\'os me Co-nfro:ntation Clause's significance as a '1J.cdrotk penonal gua:t'!lRtee" ta

        the rux:used179 and undermines the constit:utional "ba.me.r against flagrant a.buses, trial by

        anonymous accuscn, nnd abseutee w itnesses,ulBI)




                 rm Un.ired SlaJe;s ~. Whitt:, 116 fl ,Jd 900, 911-16 (D.C. Cir. 1997).
                     m Unired Sf(l!uv. Cherry, 2E7 F.3<1 S.11. 8l6-820 0{f1 Cir. 2000). Accord Unfteil States v.
                                                                           1



        11wmpson, 286 F.3d 9S0, 96:u;(i r;ib. Ck. 2002.). The First Cm:1.11t' s recent dicta of ~nili:tg 0ipprovait is,
        llS df.c.tti, oo more tMl an a.side of liUJo persuasl vc. fotre. Umte-d SUIU'.r 1-'. Rodrlgue,z•!,1arr.,ro,, 39'0 F'.3d l,
        18 n.8 (IJJ Cir. 2004) (c.itcd in Go'J'L Bt. 121 :c.69).
                 171
                       m lrrdustrit!.s, Inc. v. NLRB, 251 P.3d 995, 1003 (O.C. Cir. 1001).
                 179
                  See., e.g., C,(fk!ff>rd ~. W'ashmgton., .S41 U.S. 36, 124 S.Ct 1354. 1359 (2004). Se.tt also
        Califomia \I. Grun. 399 U.S. l49, 1.58. (1970)~ Poitr.r.erv. Te.xoi. 380 U.S. 400, 4-06 (1965).
                 Jao Green, 399 U.S. at. L79 (Burger, CJ., conco.mng).




(Page 318 of Total)
                                                               App 884
       USCA Case #21-3072                  Document #2077668                        Filed: 10/01/2024    Page 319 of 477

               A$ we noted in our opening brief. the better view is that adopted by the· CJi,erry dissent: a

       finding of fode-iture sjmply on the bmis of pattieipation in a drug c-onsp.ira-cy that had murdered

       ln the past "is too expansive and goe-s q_ga,i11st the rule ,o f fundamental faimcss." 1-si In p«rtic-ular,

       "the right to confront witn~~ is a constitutional rigbt personal lo tJ,c ac"Cused and ... only the

       defendant or someone acting on his behalf may waive or forfeit 1hat cot1stitutional rig,bL' ;llfZ This

       is co:nsi.stent with a long line of cases holding that constit1.1tionaJ guarantees are not lightly

       dee.med waived, 1~ i:ncludi11:g lhose conferred by the Cori_uontarion Clause. 1'-'

               Rcnti:1.i'kably, the Govemmcn.t's brief says absolutely nothing of the: Cherry dissent. ID om

       view; Clutrry marb a singular break \\1th established law, whieh has traditionally viewed the

       forfeitu:ie-by-misconduct docctine as Unkmg individuul res.pom.J.bility with causatlon. Thr:.

       waiver-by-forfeiture rule '"has its foondation in the maxim ch11it no one shall b<: pcmriLted to take

       advantage of his 0W11 "rrong.·" IM Thus cbc s.c:rs or one defendant to, procure the un$vailabi1ity of

       n p1rrtieular witness: historically hi!:VC not been imputed to codefcndants absent some evidence
                                                                                                         1
       thru: the codcfcadants pLtrticipaied in or knew of me atcemp1 to silence lhe witness.'' !86 And dl.nt

       circumspcctioo h:Mi also extended to the clement of intent, for the Govcmment has bee.n required


                111 Chl!rry, 217 .f'l,jQ. f!l 823 (Hollowuy, J., dill e 1cLinJS).

                tn &e td. (cifjng Olson~- Grum,. 668 P.2d 421. 429 (81.h Cir, ]982)). See ak(} Unittd SltUt:.S ,,.
       White, 83S ? .Sa.pp. 61&. 623 (D.D.C- 191)3), ,ajfri. 116 F.:Jd 903 (D.C. Cir. 1997).
                m Unital Sta.tel \I, Clur.vu.-Salais, 331 F.3d 1170, ll 72~7:l (l(Yb Cit. 2003): Fogt! v. Frank, 34:l
       F.3d 90 I, 909 ~ Cir. 2003)~ United StaJM v. Newell. 3 t S F.3d 510, 519·20 (.5111 Cir. l002)~ Hrmier v.
       Moore, 304 F.3d 1066, 1071-72 (11 Cir. 2002).
                IU e.g., B,ookhan "'· Janis, 384 U.S. I, 4 {J966); Jolwcm 11. urbst. 304 U.S. 458,464 (1938);
       Cotto v. Herbert-, 331 F.ld 217. '24.S-53 (~ Ci!. 2003)(gra__n_nns writ o f hh.bc:as corpus}. Cf., Unit.ed Srat:es
       V. DhirutJ, 24'.3 F.3d 035, 651 (2~ Cil'. 2001).

                1.t:1 s~~ Cot1D, 331 F.3d ilt 25J (.tpwti1tg &},7WldS II, United States. 98 U.S. 145. 149 (1878)
       (emphasis. ~uJ)plled)).
                 au John R. Kroger, "'The Confrontation Wa.h-cr Rule," 16D.U.LR~. 835,853 (1996)(cilJit8
        01.ron. 668 F'.2d 111429, and Un.ired. S.tmes v. '!kflli$, &4 F.R.O. 57, 72 (N.D. 0-,.1, l979)(defen.dant having
        uo responsibility for witncs.11,'s munler dld not w:uvc-canfrontllition right), aff'd. 665 F.2d 616 (~lb Cir.
        1982)).


                                                                    -57-
(Page 319 of Total)
                                                                App 885
       USCA Case #21-3072               Document #2077668                    Filed: 10/01/2024          Page 320 of 477

      lo show that lhe defettdQnl whose confrontatjofl rights it seeks w forfeit .sought to secwe the

      witness's Lrnavailabilit-y. 317

               lt is a.t those two junctures I ca.usati<on and iment, that the Cli£rry rationale founders.

       Chury substioutes a aew .est of foces-eeability oonsttl!icted 011 a legal fiction (lhe conspira.cy

      doctrine of 1;tgenc:.y) for one that ,dcJrumds proximru.e causation and mrent (did lhe defendan11.

      inte.n-d to make this witness unaV1!.i.b1.b1e). What Cherry yields, chc:n, is Ille S-oeflario chat fue

      Su:pi-eme Coun condemned in Du.non.11. Evans. IM a wholesale and complete denial of cross~

      e.x.aminadon. without an informed \Vaiver. That is a "constitutionali error of the first

       m.agmtudo. n 189

               D.         Tbe Ol'ror" was not hannl~

               Applying a Cherry approach has me potential o.f sweeping wtm; n its ambit dcfendmts

       who a.re not shown to ha\'C murdered or threatened or ~ to participate in or otherwise

       acqaies.ced .in the specific acts of witne-ss intim.idac.ion of whieh the Oovanmcnt com.plains. L90 J.n

       the case of Coates this sbortcom.ing is mo.s.t pronounced; in C~on' s. and Sweeney's situation it

       is nearly as. strong. Nothmg 1.lte Qovcmmeol has staled convincingly ov~mes the prejudice

       that we showed inured to Appellanm' caso.




                  m Kroger~ 'The Confrontalio-ri W:a.ive.r Rule." 76 B.U.L.R~. at 854 (dJing UniUd.Stau;:s v.
       lloulifrL111,. 92 F.3d l27 l, 1280 (1• Ciir. 1996)), See alw Dltrnsa. 243 F.3d at 6Sl-S2.: Unite-d Stales -v.
       Thai. 29 F.'Jd 78..5, 815 tl:ild Crr. 1994)(..If a wi~s• S111imce il procured by die defcndnnr. hi.mse'lf .•. lby
        a.ct\lal violence or mm:d.e:r . .. the defendant cannot men usert bis confrootatioa dlll.LSc rights morder to
        prevent prior .. , testlalony of ~t witnc5s. fmtn being admi~ed ~gain$\ him'')(co.Mpira.cy
       prosecution)(ciustlon omi~tcd!).
               ,u Duttcrt v. Ewurs., 400 U.S. 74 ( 1!HO}.
                    19
                !   See id. at 85.
               l9ll James .f. Fl:magan. "'Forfeirure By Wro:ragdcnng and Those Who k:qwesoe in Witness
       Jntimid.ttion=A Reach Bxceedillg lcs. Grasp and. Ocber Problems With Frid.erill Rule of Evide:nc-e
       804(b)(6)~"51l D~ L R,ev. 4S91 544-45 {2003).


                                                              -:SS-

(Page 320 of Total)
                                                           App 886
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024         Page 321 of 477

               L         To begin with. the Government blandly asserts 1.hat '"Smith's statements did not

       J:>rovidc new information about any violen1. crimes tluu had not already be-en pmvided by other
                                                                                   11
       witness.es.. but it did ,corroborate details of other witncssos • rc-cstimony. m!n From this. the

       ao,~ernnieo,t reasons that an:y e1TOr in admitting Lisi's rccotJDting of Smith's lilatcments. was
                   592
       harmless.

               But this claim befies: the record in this case. H it were true, then Lisi'.s cestimo:ny about

       Smith' s statements should have been C;(cludcd as cumulruive. The tnnh is that the Government

       fought fur the admission of Srnilh's hearsay. and it fought hard. [t began the fighl \iii.th a pre-triru

       motion. in limine. Duri_ng triaJ. when Carson and Coates filed a cmss.-motion to exclude ~e

       Smith hcursay, it respo11ded at. lengllh, For the Govcmmcol lO now advance, with a straight face.1

       lhe argument that Smith1 s hearsay really wa.5111'1 th.at significant blinks at reality. Is it really

       credible to suggest that the Oovemment has vig,orously advanced &nd defended a position,

       which, as even the Gov.emment musA acknowledge. is subject to substantia11 legal uncfflainty, for

       the mere advantage of a mildly corroborative hearsay statement? Su,ely not.

               Rather, the Government's pooition appears to be the more typical one indulged. in

       routinely by pros.cc 1,uon~ Identify s.1gnifica11l, yet legally problen,aric testimony;. advancc it on

       any possible theoey1 change tb.eori.es as neceuary; and, if successful, defend the decision as

       ''hmnless'' on i!ippeal. If the Court were lo ac-cept ihe Government's pt,sition. in this case it

       would. effecti'IICly, insulate from all appellate rovlew '11'irtually any contr,oversial evidentiary

       decision. Simply on procedural grounds, the h~Jess error argument must fail.




               111
                  Govt. Br. 113.
               Wl {d. at 130-34.


                                                           -59-

(Page 321 of Total)
                                                       App 887
       USCA Case #21-3072                   Document #2077668                  Filed: 10/01/2024           Page 322 of 477

               z..        Toe argument fails on fur:: merits as well. Only Montgomeri s nakied testimony

       lrn.ked Coale$ and Carson 10 the triple murder. 1~3 No ballistics_, fingerprints, or disinterested

       witnes.ses accused Coates of complicity in this evenl The jury did not agr;co with Mont.gomery

       on aU oounts charged in the indictment,. far as the Gov,emment elsewhere concedes some of the

       defendants were acquitted oo char~ for which M.oncgom.ery was. the srar witness OT a J«..y

       witness. 1~ The jury's suspicion of Montgomery is consistent with the Governmeot's own new-

       found he.sittmcy !d:101.11 bts testimony. 195 Accordingly. on this record one cannot say Ihm

       admission of Smith's hearsay and the forced waiver of Confro11tation right_-s did not a.ffect the

       dispositioo of those charp 8JJ,d/Or :racketeering acts arising lfrom lhe triple kimngs that were

       lodged against Coates. L!:1'6

                3..       The Government agrees th.at tho :admission of Smith' & hearsay also borie on its

       accusation lhat Co ares had shot Michael Jones. It claims, however, that lth,r:; j lll:)' W1do11bredliy

       relied inste,e:d on the teS,timony of Arthur Rice, and so ru,y error was Qn its view) harmles~.J9? We

       are not so sang'Uine. Once more lherc wa.Jl. no baJ Ii sties or crime scene evidence. Ri,oe was the

                m App. Dr. t t:S-16; Go...-L. Br. 130. The Government's reference LO Sweeney's revd:ttion 10
       1'emctrius Hunter that he bew Coa~s wa5, not ''telling... cm rum (Oovt. Br. at l 3l-32) was not admissibl e
       as ai (cOCcmspirator st~nt ;md in any e'le.W. did not directly tic Cea.ms into the killings.
                IN A prime ex.ample wa3 Hill's a.cquitt.al o.f the: Pryor tidnappi.llg illotwi.tnstand311g Montg,ome.11)•' s
       .a.cc~tions of Hill's and Coaites' ccrr:nplicity. Govt. Br. 134 n,    n.Add.itiooaUy ilicjl.l!)' credited
       Mon.cgomuy in convicting Coate& of shoocing Ronald SoW£..lls but acquitted Carson of Chose cilu,gts,
       nQtwitb!i(m)dj.ng Moot,gorncry•s testimony. id. at 35 n.'21. Thejucy did not c.rediE Montgomc.-yts clab:as
       that Carson bad shot Mark Phillips, eithi:r. ld :a1 37 o. 21
                L?l In colhitern.l proceedings   in Superior Court: re1a:ti:Dg lO w pr05eeatfon Stcwe,n R DeWitt for
       the mmdec of Pao.I Ridley, Montgomery itWibuted the Ridley ll'!lmlcr lo Silllllllel Caison. &~ App. lk
       211-12. In argumem to the C'Qllrt, lhc Oove.l"DIDe:Dl chaJlcngcd Montgomery's credibili.t.y , contending lhat
       hi:s, tcstimqny was •<oar borne: om or ... s-upportod b}' athet evidence:" thst he W85 "conf'us~d about d.~••
       lfi. rus testimony; and that his w.timo0iy eonurined nmncrQua "inooMistcncie.s." Stts U!UU4 Sun~s v.
       IJeWitt, (D,C. Super. a.. 'o. F5548-91) T,;-ansaript af Oct. 26, 2004 at 40. 4'3. 49, This belated
       concession by the OO"i·elJlID(:nt goes II long way ~OWW$ t$tablis:hing the weakness of Mootgomery"s
       naked tatimony antl,, 't.n'IIS, the saliency o:f l.is.j•s account of Smith's statements.
                L~    These cl:ul.rges Mid racketeering couiw: ;uic: Coonts 25. 36, a1"1d 27. and Racketeering Aet 49.
                l97 Govt Br.     l 32-33.




(Page 322 of Total)
                                                            App 888
       USCA Case #21-3072                    Document #2077668           Filed: 10/01/2024       Page 323 of 477

       only pcnmn lo identify Co.aces as having a motive (revenge) and having shot :Mr. Jones. But Rice

       was bardly a disinlatstw bystander. He, too, was a convicted felon working under a cooperation

       agreement, imd had plenty of reason co implicate those on ttiaJ. In these circumsttmccs one

       cannoc depreciate Smith's ncaniay as being insignificant~contrary to the pros.ccution' s vczsion of

       the t-tlal.

                 4.         What Smith said to bolster tht:: Go"Yemme,n"s charges arising f_riom the Pryor

       kidnapping was perhaps less significant tlum what Smith's hearsay added to tl,e othet,charges.

       But H Wb not inc:onse4uential. Our main brief explained uui.t the disintere.sted w~tn~es didn't

       identify Coates as one of the perpetrators and the. ru soovery of llis fingerprint from lhe car said co
                                                                                                   198
       have been used in the kidnapping me.rely showed that he tmd been in it at ome point.              So once

       more Coates' fate re.~ted on me jacy•s appraisal of i nforma.nts' 1e.stimotty, and insofar a.s these

       charges went, damning hearsay from lho grt1.\1e.

                 E..        Condusioo.
                            1




                 In sum, the ad.mission of Smith's staLement! through the moatb of Agent Lisi was en-orof

       the worst son. The first error lie~ in the disnicl court's mistakCJJ coodu:rlon lhat Sweeney's

       s-Latemem to Smith WBi .. in furtherance" of lhc conspirracy. Thal conclusion is without factual

       foundation and~ so divergent from ithi:: record that the Government dediocd. initially, tO seek

       admission of Smith's stateme~t& on thig basis. Only now. with che procective impri.matur of an

       erroneous district court decision~ docs the Government advance the argument.

                 Second, and more fundamentally, lhe district court erroneously chose to waive

       Appellants' confrontation rights withom any legal or factual founda.tiOfl. To the extent that

       Smith's mu.rd.er Wilit unputed to any one cJefe,ndant, it could not.. and shou.ld not be irmputed to


                     Lw App. Br.   116-18.




(Page 323 of Total)
                                                         App 889
       USCA Case #21-3072                Document #2077668                     Filed: 10/01/2024            Page 324 of 477

       other participants in the conspiracy merely on lhe spec11lative assl!lmptio.tt th.at all participants ma

       conspiracy must automatkfllly be deemed to acquiesce in all murders. This expansion, endorsed

       by die Ch~rry court, trenches upon fr,.md.amentail Confrontation Clause principles.

               finally, fue error was not haonless. The jury evinced substantial .s.keptidsm about

       }.1oni:gomery's testimony, rejecting it in many i11slilt'lces. The powerful, iimpermisstblc

       OOITOboratian provided by a dead voice from Ille grove can only have had a ,suhstantiaJ.

       detcmrinati vc influcn4;:e, ,..[TJhe improperJy admitted smtemenlS . ...helped to cementa ·the

       government's case by adding an invisible, pgsumably disinterested witness.' to corroborat-e the

       government• s position.,. 199

               As a. consequence a new trial J!I necessary on all counts or, at a minimum, on tho~ counts

       infected by the cn:or of Smitb's hearsay resti.mon}'.

       IV.     Appellants' convictlons nnder the Vi<0leot Crimes In A[d Of Racketeering and the
               D,C. mur4u statute must lbe ove.rturn~d"

               AppeUnnts' convictions for certain cbarge.s of violating the Violent Crimes In Aid Of

       Racketeeri.ng s.tartute~ 18 U.S.C. § 1959 ("'VICARn) and the District of Columbia. n1W'de.r statute

       (D.C. Code§ 22-2401) mu~t be overturned bec:a.tLSe the VICr\R :statute i.s un~onstitutional a.rid

       becatise tti.c. Oovemmecu fm.led r.o show IJtat the. underlying. i:1.Cl!i were eommi'tted in furtherance.

       of the charged rackereerin,g activities and/or that interstate commerce was .aiffected.
                                                                                                           200
                                                                                                                 m
       partieuJar,Ca.rson•s conviction for an assault with intent to kill Ulyss~ Engliih was 1 mftdated to

       any of fuc 11a.rootiai charges, which were the a:ncrpns.e' s rtriscm d •we.UJi Coates' convictions


                199
                 United Stales v. Ll>pet.. 340 F.::ld 169, 177 (3d Cir. 2003} ('11.!!otiiag United Sta.ts:. v. Salliia.r. 993
       P.2d 344, ~ (3d Cir. 1993)) (:mi;-ersi.a,g 00111rieuoo based upQ!l admissic;m of improper hearsay}.
                100 To ths extent thls argume.111. is accepted, the Go,·crnment does DOl cwpute that the :tt:famd

       firie~ c:onvicckms under ]8 U ..S.C. § 924(c}. truJ.St.al.so 'be vru::ated.;:,. point we Im!de m§ V of our
       opcll.m,g brie!. Se:e App. Br. 135.
                .ai Set td. at   128.

                                                                -62-

(Page 324 of Total)
                                                            App 890
       USCA Case #21-3072                            Document #2077668                          Filed: 10/01/2024                  Page 325 of 477


        aris,i ng from the tnple murder neither mel the interstate OOlllfilc:ret: clement nor showed that

        Coates' participation wasg acnibuc.ablc to bis membershj p in the enterprise. a,~ The Oovcmmcnt

        has not shown cogent reasons to the c-0ntrary.

                  A.           'fbe VICAR. s~tu:te is ancanstitntiotud,

                  In response to our argtr_mct1t that the VICAR sumn.e 1s 1.mconst1tutionaD the Government

        makes two ngumcms. one procedural (that our chaJ tcnge was wo..ived) 1:1t1d the oLher on the

       merits. The Government is, with respect~ wrong on both accounts.

                               l.       The consti.tutionru clmll'en:g~ wss not waived.

                 The ·Government irfrtiaUy s~ts that our consti:rutionru challenge has been waived~

       Il relic on several earlier cases frorn this and othc..r c.rrcuits that it reads for the proposition that

       constitutional challenges must be raised ru. the trial level bcfme lhey may be considt.>:red on

       appeal»t

                 The OovemmenLover--.staee~ thi:se cases and neglects their inconsister\Cy with subsequent

       Suprt:rne Cowt precedent. First, and mo I ob,.1 iously. tbis Circuit has never held Uuu the waiver

       rule is. mandatory, Rather. the prooedent in this Circuit is. as Ibis Comt noted in Bau.am,, that a

       TQviewing cou.rr is ernp0wcred l~ make a prudential judgment: lt may choos.c either to •'refuse t.o

       adcht:ss. (the constitutional issu~] beeal.1$e lhe defendants ha[ve] neglected to raise them below,

       ()r   decicleO 10 reach th.em onty upon determining Chat the Jowcrcourt1 s failure to ;;id.dress them

       oonstitutedl 'plain error, ,,,l0$ The choice is discretionary a.nd. indeed, many of the cases cited by



                 ,m, See id. at 128-30.
                 203
                       See Govt. Br. t34--3S.
                 204
                     (citing
                       I d .        U n / J e d          9i F.3d l47~ (D.C. Cir. 1996);
                                                  S l a t & r   v   .   B a d r u ,                      U h i l t r d   96
                                                                                                                         S l a t e s   v .   D a v i d .




       f .Jd 1477 (D,C. Ciir. 1996); U11ite.d Slates v. Feiic'i'11W, 223 F.lrl 102. (2dl Cu. 2000); ()'nired St't!ltU u.
       'Wemn.ers, 186 F.Jd 948 (D.C. Cir. 1999).
                 n5 {Jnud States         v   ,   Bcnu:um, 80 P.3d 539, 541 (D.C. Cir. 1~9-6) (per curiam) (citing c:~).


                                                                                       -63-
(Page 325 of Total)
                                                                                      App 891
       USCA Case #21-3072                 Document #2077668                   Filed: 10/01/2024           Page 326 of 477


        lhc Govemmtmr ns examples of the waiver rule (e.g. FeliciaJl,>3''6) concain altomare plain error

        analyses - which is. of course, the only review Appellants seek.m

                More importantly, all of the cases cited by the Government pre-date the Supreme Court's

        decision in United Slates v. Cotton,2tl! \\mcb suggests e:har. the plain cn:ot mode of malysis

        (rathcinhan waiver) is the proper one. To be sure, Cotton involved a different aUeged

        constitutional eJ.TOr- the error of failing lo inCOT])Ot11tc requisite factual al!Jegat1ons. in an

        i ndictownt. But if the Government• s. an111lys1s. of wai vcr were correct, then lhe Co11on court

        ought to have dismissed the writ of ctrtiorari as impro,11.dently granb,d, having concfaded tlrnt

        the petitioner had no cognizable uawmve4 constitutional claim. Of col.ll'Ee, the Coutt in Cotton

        did no .such thing. Rather. cOflsistent with our submission, it consuie~d the. merits of the core

        constitutioaal issues raised under the plaiin error review mndmd.200 We seek nothing more.

                        2.          VICAR ls factally unconstitutional

                On I.he men ts. the Government misreads our ar,gument and the statute. Apparent) y the

       Govemment' s. theory is as fallows - it is sufficient co.n:stitntionally foT an act of violence to be

       connected r.o 11 OLCketccring enterprise: if, in tum. the enterprise is one lhat the jury foufs has acted

        in a manner effecting intonta.tc commorco. Wo disagree:, as has t1,e Supreme Coun. ln our vir:w,

        the ooderl)'lng oooduct that is the subject of the conviction must itself be. provert to ha.ve a

       oonncction to some form ro inte:rsmte commerce to Support Congressional authority to legislate.




                   Sc6 Fctlkiano. 223 F..ld 1kt 125.
                m See App,. Br. 120 a. 374.
                * Unl1ed States v. Cott.on, 535 U.S . 615 ('.2000).
                2nt See uL ~t   631 (applying ptam error standard of Fed. R. Crim. P . .S2{b) LO forf'ej:i:ed claims).



(Page 326 of Total)
                                                            App 892
       USCA Case #21-3072                Document #2077668                 Filed: 10/01/2024          Page 327 of 477

               Ai we noted in our opening brieft in Unir«d Simes v. Aforrison ?10 the Court emphasized

       the non-economic. criminal natlm} of the coo duct a.t issue. Building 011 the Lopez,, r~asoning. the

       Court in Morrison hoJd lh:at

               We accortfatgly reject the Btgwne:-at I.bat Coog,ie:ss may regulate ocmeccmotnic, violel'.'lt
               crl.mimiJ OOfid.uct based solely o:n th Ort conduct's agr,egare effect oo .inlen.iate commerce.
               Th.eCoil.St.itutioo requites a dirunction between what is truly na_tiooal and what is truly
               local. . . . ID reeogn izi ng this fa.ct we ~ on:e of the few principles that ~ b®n
               coo.siste-nt sln0e the -Clause WI\!! sdopt~d. 'The n:gularlon e.nd punishment of muastAtc
               violence lh111t i,s act diRiCtcd at lhe ntStrumentllllities, charute.ls. or goods: involved iD
               l.ncet'$t-ate commerce has always been the pro-Yince of the ~ .... Imfeed, we can ttiiok
               ofno better example oflbe potice p0,werr, which the faumlm; denied the ~ationa.l
               0o¥Bmment :md reposed in 'tnc Sti.i.es, ihaa die s.upp.ression of violent cti.me and lbe
               v.iodit:arions of its vittitm. 211

               The ehalle-nged con.duct in chis case - the. acts of violence - are aJdn co the conduct of

       poss.essin,g a gun in a schooJ zone tn Lepe;:. or domestic violence in Morriscm. All of them are (as

       defined in the smtute) unrelated directly to any economic 1.mlt:Iprise and U) commerce of my

       kind.

               In a.11 effon 10 rescue VICAR from faciaJ unconstitutionality,. the Governm1..,n (andothi::r

       courts) has :relied on a second - leveJ argument. The)' recogniu: that the ac11. of viole.flce. itself is

       not connected to intcrstak commerce, but argue lh.i.t it is connected to, a ra.c~eteering. acti.vity

       cOimcc-tcd to inten.tate commerce. .imd Lhal the jurisdictional nexus satisfied. But this argumGDt

        proves far too much - for lt allows approval of a criminal starut.e even when the jwisdicrional

       elem~1:1t is contain.ed1 not in the statute :itsr:Jf, but. is imported thro1,11gh second-order defhdtion.

               Even the CMCS on whic-h the Government relies recognize the problematic: nature:: of this

        eonstro.ction. In Unii:ed Srarf!s v. Crenshaw, for example, the- Eighth Circuit ret:Ogill1..Cd that

        VICAR ma.s.t satisfy the 1 'substantial effects" pron8 of the intetStatc commerce test. To be sure,

        the CrerisJmw court deemed that VICAR did so - bat it did so in a context where the intrastate
               110
                      United Stl:tla v. Mom.ion. 529 U.S. S98 (2000).
                211
                      Jd, al 617-1& (dtaticms omi1ted}.


                                                             -65-
(Page 327 of Total)
                                                          App 893
       USCA Case #21-3072                Document #2077668                Filed: 10/01/2024          Page 328 of 477

                                                                                      212
       vrnlence was linked explicitly lO Lhe interstate regulated drug activity.            Herc, by contrast, the

       jury instructions permitted a conviction without that explicit, and constitutionally requm:d1 link,

               Notably, the jury instructions charged lhe connections between the VICAR offenses to

       the enterprise in the alternative - ••for the purpose of gaining entrance to, or i ncrui.5-i og or

       maintaining the defendant's posilion in the cntcrpris.c or for the purpose of reoejv:ing money from

       the enlcrprisc,"211 B~~use the jury rerumed a gc11cral verdict we CMI10t know which of these

       premises. - including lhe aitenoated '1:-eceivmg money from an enterprise.'' requirement - formed

       the bufa for its verdicc.

               But it simply cannot be that merely re:cei viDg moacy from an interstate enterprise is

       sufficient to sutisfy the C001ilillltional standm:d. If that were tnte, then given lhe nature of

       commerce in modem America. every economic transaction of any sort would be subject to

       Congressional p;gulation - u result utterly inconsistent with Supreme Court juris.prudoncc. At

       s-0me point in every causal chain it is inevitable. thar the money in question ustd to pUFChase a

       purely local sm-vice ,vould hnve been denvcd from sorn~ io1en;ta.Le commercial activity. I:n shorL,

       one might as well say that Lop~t bas ao mcan.iog- for there, surely. lbc gun was purchased with

       money diat had been e.amed through some atteouared interstate commercull activity. The proper

       answer is that mere connection to SQtne other interstate commercial activity is not; iD and of

       its.elf, sufficiimt to 5.1£ctis{y ll'te inrem:i.te commet~ roquiremenLnc

                Because the VICAR starute neither reguJrues. commercia.l activity nar contains a

       requirclllfmt that the prohibited acts be comncctod in any way to intentate commerce, the statute

       is facially un:cor.isl!itution&.l. Defenda:nis' convi.cnons. under ths statute must be i,•ac0.1ect

                212
                      Su. Cremh4M-•. 3S9 F.3d 11t 987.
                133
                      (719/01 AM 20, App. 3780).
                D<L Set: also Jo~s v, United Staies.. 5'29 U.S. 848, 110 S. CL ! 904 (2000) (striking arson

        conviction even though lnt(1$1ictlolli oec:essaril'y involved ~aten.-r.atc ~ e r of money).



(Page 328 of Total)
                                                         App 894
       USCA Case #21-3072               Document #2077668              Filed: 10/01/2024       Page 329 of 477

                B.         The evlden.l:!e did nut establish the ehu.rgoo VICAR violations.

                In addition to our fad al cha3lenge, we also a.58crted individ·ual factual challenges ro tbe

        convjcrioos. Even assuming lhat VlCAR ts. constitutionaJ, the law is clear that there must,

        noncchcde.s.s be some ooonO(ltiOn bcLwc:cm the alloged violent ect, and the underlying i nr:enitat:e

        c-orupimcy_ Despite the Gove:rnroont's arguments l:o he contrary, several of the VICAR

        convictions fail ta meet ·thi.s evidi:ntiary lhrcshold.

                        1.        The Gnvem:ment's lated r-eason..s do not suffice to save the VICAR
                                  c.ha.rgc hrnug,ht against Carsoa.

                In its brief. the Govcmmem subDllts that Glenn English was a member of the .58'11 Street

        Crew (although it does. nOl .say that Carson believed that)_ Aceo.rding to the Government, Cats.Qn

        thought that English had told the 581!:i Street group where Carson's mother lived md so Carson

        enfjs1ed Montgomery to etiminat,e English as a dealer on K Street 2" After EngJL~h was shot :md

        wounded, Carson and Montgomery discussed [ciHing him lf Lhc: opportunity arose, out of cone-cm

        that English wou1d retaliaec. 216

               This theory is i:n.sufficienl to sus,a1n Carson's attempted m~r coTI'f'ic-tion because it is

        inconJistcnt with the overwhelming weight oftbc evidence. Momgomery ma:de ck->llr that the

        motive fot Cttd;on•r; Ahootins Mr. Engti&h was a concern that Bngli.sh would cnuse h!Y'ID to

       Cam>n. l 17 This concern was utterly uru,dated to possess.ion with in~cnt to distribute or

       dis.tnbution of drugs. Thus fue requ.isJt,e connection to the enterprise and thus ~o in1.ers1atc

       commerce was completely Jacking..




               2.1, QQvL   Br. at 147
               m See id. al 147-48.
               m (3/13/01 PM 20-21, App.2567--68).


                                                          -67-

(Page 329 of Total)
                                                       App 895
       USCA Case #21-3072                   Document #2077668                    Filed: 10/01/2024         Page 330 of 477


                           2.        The VICAR case ag.nin~t M_r. Coates does not hold up any more tham
                                     the one against Mr. CW!"SOD,

                Toe Government treats the fus.t of hofr. Cook:s' two arg-wn_ents as if it was based on lhe

       singulnr theory that the enterprise did not afteec in\.crntate commerce. At least so it appears, tfor

       tlte Government's response to Coates' cJai.ms focuses on ltte motive r:kme:nt218 and seems to

       assume that hh interstate commerce argument was based on the notion that cho cntequise didc 't

       in1roh·e or affect mntt:qw.te commerce. Acma.Uy, Coates' position as Lo the VJ:CAR cJaim was not

       so much 'that tho enterprise didn't affect i1ntc:rstatc commerce (alchough be docs not concede ttiru.

       it did) bm rather that (1) his participation jn lhe robbery that went awry at1dl tulll.Cd into a tripJlc

       murder was not undertaken. as part of or to furth•t lilcmbcrs.h.ip in the enterpri e am:d (2) Chat the.

       robbery of a private iocli vi dual does not affeet i nmet'SUL~c commerce.219

                We firnt address the moti v,e- elr;mcnt. Wo have 11 fundamental di.s.agrc£mcol with the

       Govemment over wherhcr United States v. ThaiDO ha!t v.ah.1e M precedent for this. case. A_i the

       G,ovcmme-nt concedes, 221 in Thai a gang was known for murder, robbery, and exrmtion, Imm nol

       bombings.. The Second Circlliit :reversed the VICAR con~·iction of the gang leader. who engaged

       [n a side venture -      the paid bombing of a. restaurant. Nothing indicated tlllat the defcndmt had

       undertaken his act in fwtheraoc:e or the gang's business or mo enhance or maintairi his status as

       me leader of the gang. m

               That analogy hol~ true here. The K Street org:ani..zation engaged in drug sales (usually

       marij 11lbla) and. fought off or ell minared competitors and informants. On very rare ,and widely

               ua See id.. Govt. Br. 149-50.
               m A:pp. Br. 129-30.
                ?211 £l1tild SttH.tJJ w. Thm".   29 F.3d 185 (2d Cir. 1994)(ciled in App. I3r. 127-28, 13 1}.
               DJ Govt. Ik 150 o. S-7]

               m Thai, 29 .ld at S1S. Se~ al.sc Unlted Slalt.s 111. flou.liMJJ., 92 F.3d 12.7 l , 12'9'3-95 ( 1111 Ck
       1996)(revcrni:ng f 1959 CC!ih'ictfon for murder- for lack of evidentiuy gupport).



(Page 330 of Total)
                                                                App 896
       USCA Case #21-3072              Document #2077668                Filed: 10/01/2024     Page 331 of 477

       separated occasions (two inc1dcncs in 1990 and 1993) people were kidnapped for r11.DS01t1.223 lD

       no prior 1n:citance did the Govemment contend or show chat Appen an1.g w~ armed robbers, The

       planned armed robbery of Gaskins was not, therefore, an act connected to the ente.rprlse. In other

       words. I.ht fad that some of M,. Coates• friends m vited him (seemingly !llmost on n lark) to join

       in a mugging not hn.k:ed co th1: K Street (rew's noana.l busincs , This case, then. is a Thai

       scenario.

               To be ure. there was evidence that lht robbery was planned to gain m1Jaey for the K

       Screet group ~o repleru&h its stock of w,capons. Whether c:ruc or 1101, lbc concention of our opening

       brief remains umcfu1ed.: there simply was no evidence that Sean Coates knew of, much Jess

       shured the intent of Montgomery, Car.son, and Sweeney tiO rob Gaskins io older to restock a

       cache of guns. 2:24

               The prosecution failed to prove lh11ic Mr. Coates had II common motive with Sweeney,

       Mont.gomery and Carson. The Government canno{ sustain Mr. Coms• VICAR convic;nons for

       the triple mUl'dec - BDd lhe ass.ociated weapons charge. :w

               C.        The D.C. m:urdec convictioro were m.isjoined.

               We will :respond elsewhere at lcng,lh to the general i ~ue of lhe joinder of lhe 37tts Place

       m1.mfcrs: here we restrict our response to those other murders charg.od under the D.C. Code. that

       vl'CtC improperly joined in tlus Federal tadiconenc. The entirt substanco of the Go.,·emment' s

       response 216 is that the murders of Hallman, Hyson, Fortune, Thomas pnd Lucas were all linked. to

       che cbm-ged RICO conspiraC)' for the so1e reason that they were conducted to enhance the



               m Y~uf .Simmon~ {Govt. Dr. 37) .n.nd Anthony Pi'yor (Id. .al 38, 39).
               %U App,. Br. l 30.
               mThat 29 F,3d at 8lS•t9.
               225
                     See OovL Br. •56-58.




(Page 331 of Total)
                                                       App 897
       USCA Case #21-3072               Document #2077668                   Filed: 10/01/2024         Page 332 of 477

       rcpu.tations: for violence of Montgomery, Camon, a.nd l\1artm. In other words, the Govcrnmem's

       theory is exclusi\•cly tbs:t these murders (which otherwise o.llegedJy relate to disput

       disconoe.cle-d from any drug dealing - i.e. disputes over a gambling debt an.d disobedience 10 a

       peraona.1 relation. hjp) may nontthe!es.s be link.cu to a RICO c.onspuacy because all violent acts.

       by a RICO conspirator senc to enhance the conspirator's reputation and thus serve to effecruare

       the purposes of the conspiracy,

               Again, this Lheory simply weeps too broadly. To be s.urc, ,f there is direct evidence of

       this intent, a conric1ion may be. sustained. Thu·. attacking tho3C who affronted other gang

       members in order lo further the enterpruc 's reputation for violence and standing in the narcotics

       trade i$ ufficient. 211

               On the other hand. even when .a dekndm1t is a member of a charged entc.qmse, not every

       net of violence that defendant has commhtcd necessarily wiJl lcad to VICAR liability. In 171ai,

       as discussed above, the Second Circuit ro\•e:rst.d for insufficiency of eviden~0 the conviction of

       the lr;ad.er of a gang who hud given a man an inceodiary device used to bomb a business. Wb:ile

       there was evidence lh.e defendant had received n1onies to do this, there was no proof mat the

       defendant a.cted. for any reason other lb.an as a personal p-rofil•making meroen.ary venture. The

       prosecution bad failed to present any evidence that the d.efendJlnt had undertaken his acl in

       forthemnce of the. gat1 g•s business or to enhru:Jce <1r maintarn bis tatus as we leader of the

       gang.Zl! The Government•s attempt co dfatingtush Thai (relegated to a footnote)219 •s unavailing.




               m E.g.. U11i:e.d States v. PhlllipJ, 239 F.3d 829 (71!1 Cir. 2001); Untte:d Statu v. Tipton. 90 F.3d
        61, 890..9 J (41b Crr. 1996).
               ":21 1hai, 29 F.ld l 81.8. Sl!tt CW() Uniced Stu.tt:, "· H()ulih.an. 92 F.3d 1271. 1293-95 ( IJf Cir.
       1996) (rcven-hlg-§ l959 con'lfictioo for m.wtler for lack or cvi.denLia.ry .support).
               no See C'JOVL Br. 150 :n. 87.


                                                             -70-

(Page 332 of Total)
                                                          App 898
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024         Page 333 of 477

       Thai stands for a s.impie dear proposition - violent acts D1USt be hnked by some evidence to the

       underlying RlCO conspir2ey or fue convictions may not stand.

               Here, no such links were proven. ~ 111e Govecn.oumt, for exinnple, asserts thnt
                                                                                                        131
       Montgomery shot Fla]lman to enhance Montgomery's reputation within the org:anization.                  But

       the ~vide:nce contains no proof of tl:nu assertion - rather it discloses only that Montgomery and

       Hallman got inro a fight in public_ There is not a sciotilJa ofproot that Montgomery thougbl {or

       was told} that a failure to respond to the dispu.tc would ioj11re hjs reputation. :tivlontgomery

       hi.mself admitted that these murders nad not.bing to do with drugs:, but ml.her st¢mmed m-om a his

       fight wilh Mr. Hallman and lhc fact lhn.t ~it. Hyson happened to be present ood wjtIJ.e55 .Mr.
                                                 132
       'Montg,o mecfs shooting Mr. E.allman.

               Similarly, the Gov,emment offcrn cvidenc:.e lha.tFortune was bllod bec~use of a dispute

       over money in a cra,ps game,23, Bul, ap~n, th-ere is absolutely no reputational motive proven,

       much less alleged.

               .J-\Dd the &1DD.e is wr.:: for the. munfers of Thomas and Lucas. Mont.gomery claimed that

       the. motive for che murders was that Canon had ~e:ft one gu_n at Thomit1>' house and that she bad

        not ;rec:umed it LO bjm_ According to Montgomery. Cmon aelod alone and had killed Thoma!

        only after she worud not M-tU.m the gun to him, but mat lhete was no advance pbm to kill her.             o

        testimony l..ink:c<l these killings. to the affairs of the enterprise. To dJe contrary, the evidence in

        the case su.ggt::Sts that ?vh'. Carson acted alone and that the offense iwias not ,connec~cd with the

        charged conspiracies. I n ~ even tlhe district cou_rt understood that the '"government's theory


                :no We discuss the evi:dc:nee more fully below. See infra § vmB.
                23 ~ See Govt. Br. l:57 (dt'mg 3/12/01 AM 53-56, App. 2460-63).

                m {3/15/01 AM 10, App. 2-644),
                DJ See Govt. Br. 157-S.8 (citing 3/12/0l PM 34, App, 2492). We address I.he Foct.W1e murde-1 in
        more d.eta.il infra§§ VIL VIlJ..B.2.


                                                           -7l-

(Page 333 of Total)
                                                       App 899
       USCA Case #21-3072                Document #2077668              Filed: 10/01/2024       Page 334 of 477

       [was] that this was for want of a, bette.r teffll, a domestic dispute be.tween Can-0n and 1m

       paramour. ,.23,4 The Government• s. hypothetic.al lhat Carson w.:mted to ".send a message'' to the K

       Street group i.s nothing more lhmi that - 011 ummpported hypothetical. Not a &bred of evidence

       buttresses !that eot1dusion.

               What the Gowmm.ent is foft wjth is an inference without evidentiacy support. Under I.be
                          1




       Government' s theory arzy ru;,.1 of Violence committed by any member of a RICO conspiracy is

       uec.essarily properly joined 1,e-.cause it afortiorib:acs Upon the member's reputation. But that

       constructi,on utterly drains tlte joindcr rcquiremePCS of M}' me.acing and is contrary to the

       requirement that joined acts n'l.1.LSl be pan: of a common sch.e.mc orplan.ns Some evidence

       beyond mere speculation i:s requiredl and none wus p~ented here. As a oonsequeru:e, die

       '1.IDI'Clatoo murders of Hallman, Hyson, Fortune, Thom.a, and Lucas were misjoined and the

       coovfotions for murder under the D.C. Code must be vacawd.

        V.     Tiio District Coo.rt abused its discretion by excluding the grand jury testimony of
               nno.vailahle witnesses,

               The: Government assens Ihm because (.he (edeml and state gavcrnmcn~ :n-e. separate

        sovereigns, that under Rule 804 (b)(l}, Ped R. Bvid.► the United States. wa.i; not a party to the

        Mmy•altd Grand. Jury proceed.mp a:nd lherefon= con1.em:ls Ille r:.dw_ ju.Jge- s.ctod within his

        discretmn ia refusing admissi,cm or state grand jury cranscripts that would have e:x.cuJptited

        Sweeney.:236 The Go\ emment is wrong Md the error wa:s not hannlcss.
                               1




                n,c (216/01 PM 28. App. nri}.
                23' United Swes v. Railiman, 923 F.2d 873, 883. (D.C. C'tr. 1991).

                ~ See C<Jvt. Br. l 76.


                                                          ,72-

(Page 334 of Total)
                                                       App 900
       USCA Case #21-3072                 Document #2077668                   Filed: 10/01/2024          Page 335 of 477


               A.         T he refusal to admit the ·testimony wa.s ,e rror..

               ln support or its position, the Unired States heavily relies on United Sr:a1es v. Peurson.'lJr

       There the defendant sought to introduce nis state grand jury investigation. testimony 1nto

       evidence at his federal trial pursuant to Ped. R. Ev'.id. 804 (b)(l).

               The Peterson court looked 'to many factors in upholding the t.dal court• s cliscreti:on to

       disallow lhe testimony. The coun. for example, noted that ''Peterson was mrested on the street

       by local offiocrs on patrol, not as part of an ongoing investig:ation~ no Federal offiC".em We«;

       inv,ol'vcd. "231 But Peters{).TJ is mot this case.

               Member-s of the FBI a:n-estcd Sweeney l!t the M'on1gomery County Detention Omt,e r. His

       mrest was lhc product of a joint ongoing investigation, begun in 1991, that was pw:sued by lhe

       FBI. and chi:: Metropolillm, Mmllgom,ery County and Prince George's Couocy Polic..e

       ~partmcnts.239' With :res.poet to the Prince Georg,c"s polioe inv.ol've:rnent in the iinvesti.gation of

       U)e triple murder, A.gent Llsi stated:

               They camei oc. late, and I bolir:ve the: only :reaso11 that Ibey bec:a.me involved in the
               'invest.igatlon WB$ because of dWli tti:pEe nmrder in Maryl1.md. So ~t wars thc:ir prlmairy
               fot:us il1S 1.0 wbtit happened in. Maryland in that triple murder. Howc\·e.t. lhe &ct that they
               we.re assmgned there-lhey didn 't oome 10 worlun otiltoflice e-.ierydtly. You know lhey
               might show up one d3)" a week or two days a week. spor.adkally. So, they mlght nor. be
                aware of all the info~on uw.t is g,omg oa We tried lo koop tbcm in,.ol_,,.,ed,, Thch'
               prirns.ry {ocQ i,;,,ra.s 1he triple mw:'der, We. tried tG lr:t them know CYl!rytrung we have on
                the triple mw:der. ZAO




                23" Untt-ed Stales \I. Pater3tm, 100 F.Jd,7 (2d Ctr. 1996).
                233
                      See id 100 F3d:. al I-2.
                1.W(l/22/0] AM 11. App. 174:3),
                w (1t22/0J AM 14, App. 1744).


                                                              -71-
(Page 335 of Total)
                                                            App 901
       USCA Case #21-3072                 Document #2077668           Filed: 10/01/2024        Page 336 of 477

              ln short. Lhe FBI was sharing everydnng it knew a.bout the triple murder wHh I.he Prince

      George's County Police Dcp!Umlenl. That s.cparates tbLS case from Petencm where "[t)he roc:ord

      [fell] shon of showing any panicipa.tioo by the federal government in the state procc:¢dings."~1

              ·Moreover, in Peterson the tkfendom invoked his Fifth Amendment privilege at trial and

      then with. some boldne s sou.gin to introduc;e his own prior grand jury testimony as ubsumtivc

      evidence - in offeet. causing his own unavailability. As the Pe-terson court noted; "\Vb.en the

      defendant invokes his Fifth Amendment privtlege, he ha.s made himself unavailable. to any other

      pllfrY, hue he is not um1\1ailable to himsetf."142

              Here. by contrast, Sweeney sought the inLrodtJCtion of gnmdjury ~limony of two people

      whom he had never met and was never connected to in any manner. The testimony was

      pot.O"ntially e~cttlpatory as it suggested that an individual with no rolationsh.ip to Sweeney may

      have bad iavo•voment with the triple murder.

              Robert Smith was arrested ou D~embcr 5, 1996. Information provided by Srnilh

      ultimately led lo Sweeney's arrest by the FBl. Pinkfley and Owens ·testified bcforec the Prince

      George's County Grand Jury five days ajre,· Smith's mest, exculpating Sweeney The

      chronology makes it clear that the State's Anorney Office in Prince George's County and the

        nited St.ates Attorney"s Office in Washington, D.C. had &Ullllar mou\'i:::i bcca\L'Sc 'they wete

      obr.aioing information about crimes tbJ1t they were jointly investigating.

              In a footnote, the Government dismisses the significance of Smilh's being m fcderul

      cusr:ody a1 the time of me state grand jury proceeding. '-'Eve11 if lhc FBI had shared the

      information it had obtained from Smid, at the time, that infom,ation was chen nothing more 'than

      tbe u-ncorrobo[tl.ted starement of a cooperator, which lhe Prince George's Count}' prosecutor

              111
                    Pe1~r:tcm. 100 F.3d. Ill 12.
              %.4'1 Se~ id 3.1 13.




(Page 336 of Total)
                                                       App 902
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024     Page 337 of 477


       would have hnd no reason to belic-ve wa.') more credible than the testimony of Pmknoy .and

       Owe:ns.••143 The reelity is that the United Srntes built mt.1,Cb of irs case against Sweeney around

       statements purportedly made to Smith and ~ived in e\lideflce without the. opportunity to

       examint:. Smith. Before this Court. me govcrnmcm dismiss.es PLnkney and Owens as p00ple who

       "(fla.lsely implicated a drug dealer to whom they owed mo,ncy. in order to bcncfil themselves..14'

              The credibility of the wimesses at various ~tages of the proceedings is not detemtlnative.

       The important fact.or is that Prince GC()rges, County and the FBI condu(:ted a joint investigation
                                                                                                       1
       of lhe triple mw-ders. The g:raodjw-y testimony of Pl.nkney ood Owens in Pon~ George s

       County was entirely incon$1Sl.tnr with the .mfonnlllion provided by Smith to the FBI . Therefore.

       Lhe incons.isteacy v.ith one of the govcrn.ment's most importan~ 1tvitnes& would have been

       exculpatory and g1Ct1.tly ajd.\ed Sweeney.

               In United Stares v. M,iller,245 lhis court found error in me ,exclusion of grand jury

       testimony that te-nded to exculpate the deiendant. The same crrcums.tance arises ncrc and
                        1




       Sweene)' seeks the same .remedy,

               B.       Th,c error wa:; uot hiarmless.

               There e i sted substantial evidence suggesting thaL orneone other than Sweeney

       committed the triple murders. That eviocncc:, in the form of me grand jury tra.nscri pts of Pinknc:y

       and Owens. and in lhe form of t-cstiIDonial evjdence from Wesley Smith, was dc-omcd

       in.a.dmiss1bk.




               w Govt Br 182 n. 104.
                ~ Govt. Br. 181.
                ~ United Stat.el 11. Miller, 904 F.2d. 65 (D.C. Ck. 1990).


                                                           -75-
(Page 337 of Total)
                                                       App 903
       USCA Case #21-3072                Document #2077668              Filed: 10/01/2024      Page 338 of 477
               With regard to the grand jwy transcripts. [tie Government~~ that "[a]ppelliml8

      offered no evi<fonce to corroborate that Green bad committed the triple murder."~ This burderi-

      shifti.ng argument should hie sutll.lillUily di missed because ii is incorrect.

               The record. of the tri a1strongly suggests that Smith was involved in the triple mUfdcrs.

      James Moalgomcry, the centerpiece of lhe govemmcnc's case and a perpetrntor of the triple

      murders. testified lhru. he was. worried that Smith was telling lhe police about his invoJvemcnt in

      killing three people m Temple Hills, Mlll)'la:nd ta November of 1996.247 l\itomgomery's claims.

      bowe,1er, must be viewed in the context of the cestimony of Prince George' s County Police

      Officer Robert Taylor. He testified that he interviewe.d triple mu.rd.er eyewitness c;nema

      Hawkins , hortly after the crimes had been committed.. She described both assailants as beitt_g six

      foet ta] I.2q

               Jrunes Moot,gomecy testifi,e d that he was five eleven in height,249 & also testified that

      Robert Smith was just about the umc lteighL ns be wa!.15(> Montgomery described William

      Sweeney as being sboner than him about ufive fool wmcthinif and added that no one has ever

      gotten the two of them con.fused iD terms of height.251

               The recor<l unque.-.tiom1b•y establish~ that Lhere wa5 a factuw basi for a rc-asonable juror

      to conclude that Robert Smith had invoLvcmem With the tri,pte mun!1:r. Tbu.s, c11:eluding tho

      corroborative grand jury testimony and the testimony of Wesley Smith can.not be considered as

      ba.rmless.


               ZAb Go'lt. Br.   183.
               u, (5123/01 PM 46, App. 3259).
               ~• {6/12/01 PM 6.S, App. 3401).
               11.1 (3/15/01 PM 49 App. 2651).
               'lSO Jd.

               1'l (3114/0l     PM 65 App. 2642).


                                                         -76,,


(Page 338 of Total)
                                                       App 904
       USCA Case #21-3072            Document #2077668                Filed: 10/01/2024        Page 339 of 477

       Vil.    The pro ecutor' rebw:t~ argument was imprioper and subsmntia]Jy pr-ejudiced the
               App~lll a"ts.

               The Government argues that a smglc sentence of the rebuttal argument, '\'iewed in

       i olar.lon. could be i1uerpreted Man argwncot that the jury should infer Appellants' guilt from

       the admissions of the cooperar.ors.M!Sl But. tho Go,tommcnt contends. thCll when viewed in

       eont,ext, it is unlikely that the jury would havr; ornkn.Loodit lha1 way.253 Beyond that

       concession. the Government find& nomhin.g improper with the prosecutor's rebuttal argume.ol.

               With -!dl due respect. chat Mngle sentence must be viewed as an .-gument that the

       defcndwts C-ilnnOt be i.noocent because the <;oopcrators were not innocent. It is also clear, that

       that argument, when viewed in context with the entire case. rendered lhe rebuttru argumtmt aot

       onl)' i mproper, but also overwhelmingly prejudic~nl.

               To dc~crminc whether tlle error was. harmless or not, this Coun must consider the severity

       of lhe error, the centrality of the issue affected by it, whethet there were any cur-3.ti ve measures

       taken. and i:he clo&eness. of the~.~

                The Government argues fust lh:at a single missmtement. made in respotJ e to defense

       counw1's arguments, will nol be viewed as uscvcre.' lli In uppon, the Government relies on
                                                                1




        G(ITtmcn: "'[w]llhom other compelling facton, ~ s;inglc lniss~1n COllWlcd to u. (:l~i.ng

        argument rarely will be viewed as •.s.ev.e:re.."' G(If'tmon. however, is casitly dlstingmshable from

        this case.




                ffl Govt. Br. ~91.

                ID Jd.

                ~ Uniltd StMu v. Gamnon, 146 F.3d t015, l026 (D.C. Cir. 191)8).

                m 1Govt. Br. 194.


                                                         -77-
(Page 339 of Total)
                                                      App 905
       USCA Case #21-3072               Document #2077668                  Filed: 10/01/2024          Page 340 of 477


               In that ease, the Gov·cmment misstated a single sentence of testimony at taal.250" In chis

        case, the Government ru-gued th:'.ll the C•o11victio!llS of the cooperators were proof of the

        defendants• guilt. Ulllik,e mtJummm, rhe statement at is.sue here impacted on the entire case and

        was the-refo-re ovccwhr:lmingly prejudicial. Such II pate11tly improper argument runountB to

       ,qevere misc-0nduc-t.

               The Government al~<.1 ~gue.s. 'th8l the sllttement was no£ severe because it was. made in

       response t:o defense counsel's argument. In fact. the 00\•emment s.ugg~ts that when the defense

       claims thal cooperators me fabricating the facts. it is appropriaJ:e to cnll the jury·,s ru:ret'Lt:iop ro the-

       fJ?Cl that ·thr:: cooperators plod guilty. l't is not necessary to address the i.mplicatiori of ~uch a rule

       si f'l.a friar is riot the issue in this case. The proSbCUtor not only brought to tbe j ury's attention lb.at

       the coope,rato.rs pled guHry, but also went beyond that and 0rgued mat because they pled guilty

       the defendants must also be gwlty. As the Government concedes, it is ""impermissible lO argue

       lhat the guilty pleas of former codcfcodants raiise an iaiercncc of the guilt of the d.efen.dants. ,rZP

                While lhe Go"eannent c-0ncedes lhat the c:ooperotors· ie-stimony w-as central to the

       prosecution, it argues the closing arrgu:me:nt did not affect the jury~s assessment of the credibility

       of the cooperators. Put another way, the Govcmmcol argues that the jury wowd first have to

        Find. the c00peratom co bo e&dible beiorc it could we the fact of their coni;'ictions as proof of the

       AppeUant1l • go.i It. Therefore, tro; OTtOt was ••,tes.CJ cenc.ral! ch:111 appellants make il O\lt to be...m

               The Government's argument is simply wrong. The fact that the cooperators pled guilty

       was unoontrov<:rte<l. Toe jury did not have: to find any part of their testimony relevant to


                                        I.he jmy in closing that Gartmon Lofd ilie victim. '•(! you dc,m 't keep
               'lS5 The 1Go~_____roiem told
       doing it, rm going !l:o pull the~." The aerual te.!itimot1y was 1 "'He told. me iliat I 'Nill listen to
       eVierytbmg ne says ma. do u. he says." Gar1m0n, 146 F.ld al 1025.
                m Govt Br. 193 n. 107.
                m GoVt. Ilr. 19:S.



(Page 340 of Total)
                                                          App 906
       USCA Case #21-3072              Document #2077668                    Filed: 10/01/2024           Page 341 of 477

       AppeJlants to be true bcforu accepting that they p!ed guilty. The very reason the prosecutor'.s

       argument was e:rroneous was be.cause il ••raises the concern I.hat a defeadanl might be convicted

       based upon the disposition of the charges against the co-c--0nspirator, rather than upon an

       individual .a..•,sessment of me remaining defendant's personal culpability.'..2S9 That is, the

       argument is unacceptable. been.use it suggests iliat the jury may find the defendants• guiJty based.

       solc,ly on lhe c-00pemtor' s g111 lty plea, without ever scrutim2ing their testimony at aJl. 1f the

       Go\l'emlllent's approach to the issue were to be accepted, the Govc:mment wou!d be free 10

       always argue as ir did in this case. That stmply runs afoul of the law.

               The error ts especially problematic in complex c<mspiracy cases such as th.is. '"ln 11

       conspiracy trial, wlucb by tfefinitiot11 cont,emplates two or more culpable parties. couns must be

       especially vigilant to ensure that defendants are nol convicted on the theory lh:nt .guilty 'birds of a

       feather are flocked togcther.•••'Z60 B~ausc the argument went to lhe very issue of guilt. it was

       eentntl to the entire case.

               Third, lhe Government argues that ..where lhe instruction. so clearly addressed the very

       imiue now raised by appellants, any poss_ible prejudice from nuslnierpret-ation of the prosecutor'

       c::ommenl was greatly minimized. if not dispelled completely." 261 ►null misconsuues the

       instruction actually given to the jury. The instruction was directed at the plea agreements und the

       admis.sions. contained within the agreements, which had been entered into c:vidence.261 The

       ~butta.l argwrient did not speak to the plea agreements, but rather, to the fact that Lhe coopcrator.s



               259
                   Uni1td Stmes v. Blevins. 960 P.2d 1252. 1260 (411, Cir. 1992).
               ]60 United SttJJeJ v. Grljjm, 778 E2d 707,711 {1 lc Cit. 19B5) (citing. K71li~r,,.•J':c:h v. Unittd

       Start.J, 33<> U.S. 440,454 (1949)).
               :61 Govt. Br. 19S,

               ~ (7/5/01 PM 29--30,. App. 3764'"65).


                                                             -79-

(Page 341 of Total)
                                                          App 907
       USCA Case #21-3072              Document #2077668               Filed: 10/01/2024       Page 342 of 477


       "came in and admitted their guilt [and) were really guilty."'l63 Thls is no small distinction. On

       the one hand, the jury was instructed that Lhcy could ,wt we the plea agreements entered into

       ~Yidencc as evidence against Appell:mt:s. On the other hand. the Govemm.enL tofd I.he jurors that

       they could use mhe f ac:L that die cooperncors. ad.mi tted their guilt and were guiJty as evidence

       against the de.fendanas on trial. Thus., cancrary ro the Oovemme-nt's ar gument, no instruction

       e..,·er ar:klressed the issue now on appe;al, let alone dispeUed. it completely.

               Fm.ally, as e;w;pectsd1 the Govommcnt argues tbar this was such a slrong case against all of

       the defendanui, lhat any eaor was no.i p.rejudicial.w But •he Government ignores th.at the very

       foundation of ic:s case was its coopemting witness.es.. The jilt')' was invil{.Cd, abstm my limiling

       instruction. to use those witnesse:~• guilt as proof of guile againsLAppellants.. Adclitionally, Che

       improper argument was the first thing the jurors heard on tbe: last day of the case. It was not

       '-'buried in a lengthy rcbutml argument.••us The prose.cut.or's rebuttal argumr::nt effectively

       vitiated the jurors• leg~tinmte consideration of the evidence. and :tlJowed me j Uf)' to render

       verdicts on impermissible grounds.

               Bee ause the Govcmmcmt is unable to bear its burden of showing that the improper

       argument did not have e. substantilil and injurious effect or influence in determining lhc jw-y' s

       verdict,266 the comrictio.ns, must be ~versed.




               261
                     (7/5/01 AM 9, Ar,p. 3100).
               U& Govt. Br. 196.

               w Govt. Br. 196,
               w Urur.ed Stat~ v. Smart. 98 :P.Jd 1379J 1390 (D,C, Cir. 1996).


(Page 342 of Total)
                                                        App 908
       USCA Case #21-3072              Document #2077668                 Filed: 10/01/2024        Page 343 of 477


        "came i.n and admitw-d their guilt [and) were rcruly guilty. '"263 Trus is no s.maJt distinction. Oa

        the on-e hand, the jury was i:rutrucced that they co1,Jd raot use the pie.a agreements entered mta

       c:vidcoc:e as evidence. against AppeUzmt:s. On the other hand. Lbc Government told the jurors th11t

       tl'!.ey could use the fact that the cooperators admitted their guilt and \\fete guility as cv1dcmcc

       against the defenilimM on. trial. Thus, contrary lo the Govcmmimt•s argument, no insm.iction

       over addressed the issue now on appeal . let alone dispelled ii c-0mpletely,

               fimilly, as ex~ted, the Government argues that this was sucb a sttong case agalnst all of

       the defendants, that. any error was not prejudrdal.264 But the Gnvemment t.gnores that the very

       foundation of rls ~e was its cooperating witncssc-s. The jury was invited. absent any iimi ting

       lll8truction, to use those witnesses' guilt a.~ pruo{ of guilt against Appellants. Additionally, the

       improper argument was the first thicg the jurors heard on the last day of the case. It was not

       "buried in a lengthy rebutta.1 argumenlt,W Tbe prosecut.or's rebulta.l argument cffc~tivcly

       vitiated Lhc juro:rn' legiti.m.a.te consideration ,o f the c.vidence. and :1Uowed the jury to render

       verdiccs Oil i:mpetmissibfe ground!.

               Because the Govcmment •s unabk to bear its burde-n of showing that the improper
                               1




       argument did not ha \~e a substantial and mjurious effect or influence in detetmining the jury's

       verdict, )(1' the convictiocs must be reversed




               m (7/5/0l AM 9, App. 3700),
               2'4 Oovt. Br. 196.
               l6:! Go,.iL Br. 196.

               i,a   Uni~ Smw \I, S,narl, 98 P.3d 1379, 1390 {D.C. Cix. 1996).



(Page 343 of Total)
                                                        App 909
       USCA Case #21-3072              Document #2077668                   Filed: 10/01/2024         Page 344 of 477


       VD..    The faUu.tt to dlsdo1Sc WIison '-s prior lncomiste:nt statement was a Bratly iol'aJioD,
               requiring « versa! or Corson and l}tanm 's eouvktlons for tho murder o{ Antbo11JJy
               Forhme.

               Though the Government strains mightHy~llli all of its argument cannot obs.cure a simple

       fact The sole alleged eye-witness lo the murder of A.nthotty Forwne, Ms. Charlene Wilson - the

       witness wbose oral testimony identified Carson and Martin as the perpetta.to:rs.of the al leg.ed

       crime - had (according to the Government's own ooces of interview) car.lier told govemment

       agentS that she had 1101 s.een the crime t-ake plece. And tho dcfrmsc was aot provided with th.is

       cont.radic:cory prior staeemcm Wl'Lil four months. <ifier Ms. '\\ti) on le51.i.fied.. E·veo lhc;n the

       disclosure occurred by accident because of a tact ical. error by a government \\'itness.

               Now, the Go-vem.metl't bas any number of exphinatlons for this rather stunning

       contradiction. The one offered at trial was the rclill!Ikablc oxphmat:J.on that the agent recording

       Ms. Wilson's ata~nts (Agent Warrener) had deliberar~ly lied mhhi notes- I! inCJCtbolc

       explanation that pres.upposes che Agent dis.regaided his training, and one which the Gove.mm.enc

       wisely does not defend to any great, degree on appeal,

               The explanation offcrc-d in its ~onse fatie.'> no berter. The: Go,,.emm~t nowhc:r(:

       c-0ntends chat ?\lk. Wil&-o.n •s eQrhet sl3telt'ent w~ not $:ignificMt BYud)I i.nJonnotion lh:at ought to

       have been disclosed. Rather, its position appenrs lo be that the belated, fortuitous disclosure of

       Ms. Wilson· s inoonsisrent statements does not wammt relief bee au.so tho defendants we.re able to

       tross-examine Agent Warrcner1who too!< me statement. as to this drastic inconsistency, even

       though they ~ not able co reexrunitle Ms. Wilson.

               Apparently, the Govemmcnt•s theory is as follows;




(Page 344 of Total)
                                                         App 910
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024         Page 345 of 477


               •   defendants may rrepeated.1)\ reguJany and !'Otltino]y request the disclosure of Brady

                   information;

               •   the district court may routinely grant the motion and cApress its faith that the

                   Govem_ment is complying with its obligations;

               •   the district c:owt ~y ro.utindy reject requests from the defendancs for more: c:w;.mnsive

                   inquiry in to tl,e Oovemment•s represen~Uons that it has complied \Vi.th its Brady

                   ob]iptions;

               •   the Gtwermne:n:t may., there.after. call as a 1,,vitness rui individual whose FBI iritef't'icw

                   ~(:t1y conttadicts her oral testimony and fail to di:wlosc the prior inconsistent

                   s.mtcrmmt to defendants, in viol ati.on of its B.rady obligations;

              •    if the discovery of this Brad}•violation occ1U"S, not Ut_rougb lhe Govemmeot•s

                   pw:posefu] disdo$u:rc and actnowledgrnoat of the ,error, but dirough happenstance

                   because the testifying agent fortuitously chose to rely on the wricte:n statemtol in

                   refreshlr1g hLS rec0Uect1on, lheo the dtslrict court may require it to be 1IU1.de available

                   t-o defendants;.

              •    tll.c infonnation dJ sc.losed may directly contradic1C the only ~tJmonial ,evidence of the

                   crime ht question;

              •    d.cfondants may oo.mplai.n of the enor. and

              •    yet, despjte all this. no error bas occu:m:d because the de.fondants could cross e:uurun.e

                   lthc 11ulhot of lltc staiemesnt and faj1ed io complain loudly enough that they could not

                   e:s.amine the witness whose .statements a.re at issue.

              The Govern.ment's theory is. self-evjdently wrong. Indeed, it cites no cue~ not a. single

       one - for the proposition that belated fortuito1,1s discovery and questioning of an alternate




(Page 345 of Total)
                                                       App 911
       USCA Case #21-3072               Document #2077668                   Filed: 10/01/2024       Page 346 of 477


       non percipienl witness can sulfioe to cure :a Brady i,iolation.261 The Gov.emmem c:hes any
           5




       nwnbe_r of cases, where the dc:l~yed disclos.ure of Brady i.nfurmati.on did not hiinde:r

       cross-examination, but 1wne involve the cas-e. where the disclosure occ-u:rred after t:he witness's

       testimony had been complete.ti..

               In U1uted States v. T(J.ru:nlino, for example, 'the wimess statements were turned over ma

       timely fashion under lhe Jencks Act before the dcfcndmi.Ls. were afforded the. opportunity to cross

       examme the wiui,es.s whose statements were at 3ssue_269 Similarly, in United State~ v_1(Ralph)

       Wiiso11, the two statements of the te.o:.ti fying witness were belattidly discloood w defendants, !::mt

       the disclosure was still befo·r:e. the wimass testified.rm i\ad in Uni1ed Sta1.tS v. Pollack. the

       statements disclosed were, :11.,gailli provided to th~ defendants che day be/o~ opening

       statemcnts.-271

               ln shon, there has never been a case in this Ci«:uit (at leut not one that the Government

       has cited or iof wbfob AppeUants are aware) in whicll a fortuimus Bt"ady disclosure months after

       lhc witn~ has testified has been hdd to be hanfllw because of defendants' opp0nunity to c:ur-e

       the failure by recalling t:1-Le witness. Nm o:ne. This is unsurprising. u die s~nernl rule {or nearly

       30 years in this j u.risdiction has. focused on disclosure in a rim~ly manner: "'Disclosuro by the

       government must be made at su_ch a time as co allow lbe defense to use the fs:vorable material

       effectively in the p.rep:a:ration and pnsentaticn cf its {:1l.SC, even if sat.isfaction of this criterion

       requ.:ires pre-trial disclosUJ11:.••m The practical reality is that disclosure more lh:mjour,rwmhs



               2t.i Su Govt. Br-200-02.

               '16' See United   s,au:J "'· Taram~. 846F.2d 1384, 1416-17 (D.C. CiI.198S).
               m Sse Unirtd SJaJ.eJ 111. (R.alplJ) Wibon, 160F.3d 131.~ 742 (D.C. Cir. 1998).
               l1l See l/niled Stat:ec.5 v. Pollack, S34 F.2d! 9&1-! 973-14 (D.C. Cir. 1976),
                                                                                       th
               m ld. at 973 (citing United States v. Elnrar~. 423 F.2d 775, 779 (4 Cir- 1970); Uniled St~s v.
                                                                                   1



       Dtut$th-, 373 F.Supp. 289'-290-91 (S.D.N.Y. 1974),



(Page 346 of Total)
                                                          App 912
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024        Page 347 of 477


       after the witness' testimony bas been compteted is aUog_ethcr too late and cure at that point is

       impossible.

               One ftmiler aspoct of the Governmem•s c-0nduct bears comment - the apparem

       unwillingness of the Gove.mm.enc. even at thi.s late jLmctu.re, to acknowledge any fom1. of error.

       No party to this prococding disputes the mJ1.teriality gf the written .rec.ord in question - lhe

       Government challenges its weight but acknowledges, as it must. tbat rhe wrirteo 1tcord is fad.ally

       contracfic:tory to 11s. Wilson's. oral testimoa:y. Yot th.e plain fact remains; to th.is very day. that

       had Agent \Varrener not made the tactic.o:I error on the \?,tilttl~s stand of rcl'cning to Ehe writt,en

       record of his conversation with Ms. Wi Ison, that record woufd never h:ave be.en disclosed. It i

       only the .sheer happenstance of a m.israke by lhe FBI that revealed the Government's:

       concealment. And wbc:n~at literally the J 1th hour, lho ovide:m:e was - to l:'.be Govc-mment1 s

       discomfort- revealed, the Government's principal answ,er now is that the defendants c:annO't

       complain because they failed to seek a continunncc.

               But wieh five trial days iefUn a trial dlat lasted more Ihm six mondis and with a judge

       who, a.i:; we have alre.ady dcmotu1-tnuw.n-3 was vigOTous. in shon-circuiling the:: prescnttttion of the

       dofonse csss-. that s:olution WD.i impractical. The Govemme11.t woo.Id h:i~e this: Court bel3eve th~t

       the San\l: judge who wolJ.ld not even allow defense CO@~el to make: a complete ~cord of their
                     4
       objections IV who required defense counsel to cross-exmnine without the benefit of Jencks

       mat,erials 2--1-s who fhrea1ened to close the defendants' case if there were no witnesses present in




               m See App. Br. 76-S2. 92-95.
               21
                 ,. ltL at 83 (dting e-i· 114/01 PM 30-40, App. !625-35).
               t?J id. at 91 (dling l122/0J AM 34. App, 1745).



                                                          -84-
(Page 347 of Total)
                                                       App 913
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024         Page 348 of 477


       court :u ~u times,zr6 and who; at the end of a months-long trial donic:d the defendants. even a

       single day to prepare for ctasing argumcot.Z" would have granted such :111 continuance.

               Alternatively~ the Govcni.mcnl offers. the odd suggestion that the crosssexamination of

       Agenc Warrener was an adequate substilute for the opporrnruty to examine Ms. Wilson. 1'o read

       the Oovennnent' s. brief, one would think lna.t c;,;.aJ:nmation or Ote note taker is eqw valcn:t to that

       of I.he pnndpal - as if speak:in,g to BosweU were the same as. speaking to Dr. Jonnson. But more

       saliently. liUt:h a substitute inquiry is inadequate fo:r the same reason ih9.1 all hearsay is inadequate

       LO eslabli:5h lhe truth of a rnntter asserted - out adveJSBrial system is founded on the righl ~o

       confront one's 1tecuser, not the accuser's amanuensis.

               To establish a Brody 'lfiotation ha.sed oa the proseculion's failure mo disclos.e information,

       a d.cfo:ndant must :;bow th:ar: "(l) me evidence al issue mu~r be favorable to the defendant,

       whether directJ y exculpatory or of impeachment 'lilalue: (2) it must have beea sup-pressed by cho
                                                                                  118
       state, whether willfuUy or inadvenenll)'; and (3) it must be matorial."          Herr:, the Government's

       sui;>pres&ion of Charlene Wilson's oml sratements lo the FBI elcarl y met all three prongs of this

       Court's. tesL

               When she testified on February 13111 , her tesnmony was damniog for .several Appellants,

       As the only :pUlJ)Orted eye.witness to Fortune's deii.th, the firsr: res.tified that she saw HSam" (i.e.,

       Mr. Cilr".>00) come out or me building. While engaged in co-nvenatlon she purportedly he.aJd

       g,msl\ots and ru.t"fled to look "to where the! &hots were being tired.'' When she looked 'in that

       direcnon, she claimed, .she s.1w Carson "walking towards Tony Fortuoe, shooting. He d:ie-n stood

       over top nf h1m and shot him.'1 She further 1:1.verred I.hat she then saw Carson run down the !;treet


               11'♦ Id. at 93 (citmg 6118/01 AM 57, 97~6t20/01 AM 102. App. 3453, 3459, 349'l).
               m Id. at ~3 (citing 612-5/01 PM 57.-61. App. 3535 39).
                                                                 4




               m Spic«r v. Roxbury Corr, hr.st.. 194 f.3d 547,555 (4th Cir. 1999).


                                                          -85-
(Page 348 of Total)
                                                       App 914
       USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024       Page 349 of 477


       and get into a van drivmg by "Pimp" (i.e. Mr. Martin) and drive away.279 Manifestly, th,i.c;

       ICStimony about a cold-blooded murder (which t•·cryone agrees was Lhe only subsumtivc

       testlmony linking either Carson or Martin co the Fortune shooting) could only have had a

       powerful effect on the Jury. Tf credited, it would be sufficient evidence to establi h their guilt

               Cross-examination of Ms. Wilron would, therefore, bnve been sub.1.ancfa..Jty effected had

       the defendants known at the time she look Ille 'timd that her oral statement ta the FBI differed

       materially from h.cr diteel te.Stimony. There was. as we rioted in our 0p(rning brief, no fore:rudc or

       other significant corroborative evidence of this crime.280 Blllit: the only U1Jly probative r.estirtlOJly

       was that of Ms. Wilson - and the Govern.m.ene's misconduct deprived appellants of thefr ability

       to ad.oquatcl y examine Ms. Wilson.

               For this reason, as well as. those identified in oor opening brief, J\,lr. Cmon and Mr.

       Ji.1.artin' s convicltioru for the murd.e.r of Mr. Fortune must be va.cated.

       'VID. The First Degree Murder charges and the charges related to 37th Pince we.re not
             properly jomed.

               "If wishes wcre horses, beggar& \\'Ould ride" approprialtly ch:arac.teri~e.s lhe

       Government's recital of the evidence at the trial of this case that pw:portedly justifies j oinder of

       two ,cntw:ly separate sets of offensc.s. In its brief, the Government advances the sc~nwio, offered

       ~n its opening statr:me-nt - the two set~ of offense.ci. were pan of a common plan or scheme - and
                                                                                          1




       mgnores the manifest fact that the evidence actually adduced at I.rial did not support its theory of

       the case. The murders of Maurice Hallman, Leonard Hyson, Anthony Fortune. Teresa Thomas,




               m (211310. AM 24. 25-27, App. l:264-67),
               ~ See App. Br. 146-48.




(Page 349 of Total)
                                                        App 915
       USCA Case #21-3072                   Document #2077668               Filed: 10/01/2024          Page 350 of 477

      and the shootin~ at 37111 Place had no real connection to the K Street conspiracy. l8l The. response

       ~mpmperly conflates the proset:UlOt"&► pre~trial tbeo.cy with the trial ,evjden-ce.

               A..          The Gm•ernmeut i.cu:orrectly perce.iives the stan.dard of revciew.

               Toe Government asserts that Rule S, fed. R. Crim.P., joinder was permissible based on
       its allegations in the indictment and at the premaJ hearing even though the e,•idenee it proffered

       was not forthcoming. As a. consequence. according to 11.ht: Go1,•cmtnClll's theory, th.is Court must

       merely review for abuse of discretion for a failure to gr.mt severance under Rule 14, fed R

       Crim. f . Tha:t argument is not Wllalll rounded.

                   In Uni!ed Sra,es v. Spriggs,2~ the court noted lhal a preserved challeng.e to joioder wder

       Rule 8 j s reviewed for hw:mlw ettar. whlle the denial of a motion for severance is reviewed for

       abuse of discrction. 233 Tou.5 this court can Bl___Ue an independent dcte:aoinatioTI whether joioder

       was proper under Rule 8 and is not bound by the trial court' s fimting'S mat were based oolely

       upon the indictment and the prdrial proceedings considering misjoinder.

                   That is oruy logical bocause otherwise lhe Oovemmenl could forestall any challenge to

       misjoin~r simply by atle~ng sufficient facts i.n mi imlictme-nt t.o j~'tify joinder and by

       prnffering th0&e same facts if misjoi.nder was claimed pretrial. Then regardless of whether lhe

       Govem.ment had proven ias theory at trial an appellate court would be limited to cons.idering

       whether denial of SC'-'eran.ce was an ab!J~ of discretion, rnfuor ·than eons.idering, whethcI, as a




                   '!II C:iovt. Br 1:5"6.

                   ~ 2 102 F.3d 1245, 1255 (D.C. Cit. J9%) (er.ting United Stales v. Brown, 16 F.3d 423 (D,C, Cl!.
        1!394)).
                   m Cf., (inned Statn-v. Ptuzy. 731 F.2d 985,990 (D.C. Qr_ 1984) (dis.a.using whetl:!.eT
        Government mu.tJ maM 1m~tri~ sho~ supportmg Rule S(b) joi.nde.r by allegations jn mdietmcnt illld at
        pretrial bearing or whcilicrr s.bowing ~ou.ld be dda~ co aria.I of CllSe; smcc prctriatl sh.owing was sufficient
        to s1Jpport join.det coun: aid not reach qucttima whether joindc:r could have been uphe'd by trial cvide1tce),



(Page 350 of Total)
                                                          App 916
       USCA Case #21-3072                   Document #2077668                  Filed: 10/01/2024            Page 351 of 477


        legal matter, joinder under Rule 8 was permlssible, and if not. whelher the Govem.ment could

        s.Jt-ow that tb:c misjoinde.r was harmless.~

                B.            These p!l"O<'eedings violated Rule ,8~

                Rule 8 rc:qu.iires ai logical relationship between tile orfeoses before j oinder is permitted.

        Where that relationship is lacking, joioder is improper. 255 I:n United States v. (John) Richtrrthon,

        this Circuit re,iterated tbat 4'[H]oindcr under Rule: 8 is not infinitely mnll,c::a.ble; it caDD.ot be

        stretched to cover of'feru;e..s.,. tike those hep; (fireann.s, threatsJ, which are discrete and dissimilar

        and which do not constitute parts of a common sche.;ine. Of plan,"186

                              1.      There was no basis for Joinde:r of the ~urders of Hallman and Hysoo.

                The Govemmeot strains lO paint a picture of two sets of offenses -- those invomving 37di

       P]ace and those involving K Street - as joined by a common scheme or plan. For example1 the

       Govemment contends that the rou.rrler of Mauri.c e Hallman was in rc:lffliation for Hallman

       e,mbmass.ing Moncgomcry in front of Hill and other K Street members.M Bot lh,e ~videlllCe

       demonstrates mh.at the Government has put a.spin on the facts that is aot waJ:IWitcd.

                Montgomery testified,Chait ''\vie"' i"t·i:ro "bustling" on Delaware Avenue and Halltma:n was

       showing off in front of Hlll, pi:rnching Montgomery to the hady. Montgomery told H"1.lhr!M Lo

       stop. \\'hen. he did 11ot, 1\·In11t,i;omery Mt rum. H8llrnitn got mad and rottieved a. handgun. He

       came back out and pointed tlte gun at Montgomery. Montgomery Cl.lrSed mm. Hallman put the

               W4- The Government is wrong lhat Mm.in did n01 object ro the evidence when it came. in at trill!L
       He objected. to evidence. of the c:xocutic:m of a ~ h wama:it that he ~ssened ,;i;•a:s nor related t0 the
       alleged conspjracy. The Gove.r:iUJ'lellt counrered lhat pe0pfe i:a the bot:1$C that wa.'l sr:a:rched w.ere p!!.1.'t of
       M.ani_n's 37th l1tl!Qe "'ere",., imd participated in shootings with him. The coUrt o,•emded lhe objcclion.
       (315/01 AM 6-10, App. :24fS-2:2). Martin al$0 objected to l!dmission ohi gun seized ·from.a v.ehicle
       c-omec~ed. to him. (Id. JO, App, 2422). The court defetred nillog. When office-es who partictpa1m jn the:
       search ~tified, the objecnon was mnewed, and ag~ ovetruled. (Jd. 39-40, l4 App. 2523-35).
                :w U1mit&d States v. (John) RachardSQn, 161 f .:3d 728, 734 (O.C Cir, 1998).
                *Id. al 733.
                21.'"7   Govt. Br. ~t 156-57.


(Page 351 of Total)
                                                            App 917
       USCA Case #21-3072               Document #2077668                  Filed: 10/01/2024          Page 352 of 477


        g1,1.n in ~fontgomcry's side. Montg-0mery toM Hallmru, to "doiL"' but warned ,that when he did,

        Montgomery would 1'knock YQW' ass out." Bill tried to IL8.kc the gun fr1m1 Hallman, who then mt

        Montgomery on !the head with It. In front of unnamed wi lll.~Sts, Montgome:ry thrieatmed

        ffilllma:n . C!U"SOD told ~fontgomery he should not have llhreru.em.ed Hall man in Eroul of witnesses,

        because if somemi.ng happened to hlm, ~fontgomecy would be the first suspect. Later

        Montgomery ap,ologiz.od to Hallman in front of wilm:sse$, s-0 it would appear that they had made

        up but confided to Cman mat '1'm going to get his w." Montgomery waited form op()Ortune

        ume and shot and killed HaUma.n. Car.son was not present at the .shootifl.g. That same night,
       Carson allegedly rnu.rdcted. Leon~rd Hyson, According to Montgomery t Carson took: both guns.

       and threw the sheUs into tbe sewer. 283

               Montgomery later lea.med lha.t Raymond Washington w~ tallting, abouc the killings. He

       proposed to Carson that they kill \'\'ashington but Canon rejected the idea.. Montgomery decided

       to .kill him anyway, but eventually abandow::d any plan to kill Wa.shingt.on.i.r;<1

               Thus, lhe Government's assertion that 4'(t]be evidence showed L1t~t the murder of?,.,fauricc

       Hnllman was in retaliation for Hallman embmns5ing Montgomery in front of Vina,nt Hill and



               m (YI 210 J AJvt 53~:5-, App. 2460-72).
                 :us Cocmisr:cnt with the oVCJ"-rMdio,g of lhe record rlw we n.ote in text, rthe Go~nt misstates.
       lhr; r(;Card with respea lo the Washington assault a.cg well The Oo\'?:nmJ.Cnt allege;S th.at•~ told
       MoatgolllCJ;)' that he should kill Washington.'' See 001/it. Br. 19 (,citi.og jn2f01 A.._\r165A61, AlJP, 2472-
       74) The e1idence is ta il:be OQOttarJ. As Moo.tgarm:ry ~cifiro~
               A.         I totd •'Chin" [i. ~- Carson] that we shoold b~ - that we should kill 'blm. That we
                          shoold kill Raymond.
               Q.         So did ho agree with you?
               A.         No. He s:aid. thnt be was mad about lt. but he said that Ray wai; coot with him,
                          and he didn't want Lo tw.1-1e to do h t] w rum. So I tofd him I wruld do iL
       (.3/]2/0 l Mt: 66. App. 2473). \ bcn Montgomery lat.er :saw \V34hfogWn and .s!tid. be wmted to kill him.
                      1




       Ca.rwn acqui~. See Id. (Montg0me:ry says "l can hit him where he ~ now'' and ,Ctm:Jn iFCsponds "'If
       you c-au do it, thc1:1 do iL). But.th¢ Gove[lllf{]ent's misdwai:terlzarion converts :Mr. Carson.' s alleged
       fitjJ~ to dissent, lnto    crimmund,



(Page 352 of Total)
                                                          App 918
       USCA Case #21-3072                  Document #2077668              Filed: 10/01/2024         Page 353 of 477


        other K Street members'1m is grmmdJess_ Nor is there support for its cont.cntion that ''[tlo gain

        re.spec:L and enhance his reputation in the organization, Mo1ngomcry waited for an opportunity to

        ki.U Hill i[sic], then told Carson ,of h:is intent.'' ;wi Likewise 'the: Govmim.tml's as5ertion th11Jt

        '-''[a]ltho1Jgh Carson could have rurned away, because of his allegnmce to Montgomery, and to

        enhance his reputation for violence, he \villingly came along" 292 as as much rank conjecture .as

        ilS snying thin 'ls)mce this was Montgomery's .first mw-der .. . . it oemented his status in the

        group.' ,29'.3

                  In fact. the testimony pmved that Montgomery decided on his own co shoot Washington,

        ml"I spite of Omou's objections, and then decided not lo shoot hi.m when he could not get bun


        alone. Thus the prosecutors' version of the "facts" is nothiag more than whar they wish they had

        proYen, not what was proved.

                             2.      JoJnd.cr of die Fortune mllrde.r was imp.reper.

                  Equally flawed is the Govc:mmr:-nt' s vcrs.:ion of lhe Tony Fonune murder 3.l'ld its claim

        that this cpmsode wns part of a common scheme or pla:n of retaliation against those who

        di:srcspccted tbe l( Street organization or ilS members. Actually the Govmtm-eot's evidence

        demoMtratcd that the murder occurred because certain peTSons, including Carson and M!.r1.ln.

        believed that Porrune ''v.,oulcl roh your mother."29• The Govie:mment notion that jt WltS Martin

        who expressed bis dislike for .Fortune :is unduly under--itlclusive_m et,~kne ~·uson. testified

        that Mart.in was p-rescnt at a discussion in which not ooe person. but everyone. pres.em.. agreed


                  2t0 'G ovt Br. 1S6.

                  :m Govt Br. JS7.
                 ~ Id
                  m id.
                  194
                        (2113/01 AM 19, App. 2259).
                  2'M   Govt. Br 1:52. J57~5S.

                                                            .go.
(Page 353 of Total)
                                                         App 919
       USCA Case #21-3072               Document #2077668                    Filed: 10/01/2024           Page 354 of 477


        that Fortune was a thief and was thus disliked, In spite of repeal.Cd a.trcmpcs by the Government

        lo le.ad Wilson to say that Martin spoke during the, C"-Orwersation, she steadfastly mllinlaincd that

        it was ilie group speaking of Fortune, not Martin or ar,y one particular person.m

                11oreover, lhough there is good reason to doubt Wilson' s ·t cstimony,m even accepting it

       as true disproves the Government's tbCtJry. Wilson testified that hl.ter she s-aw Foru.mc leave a

       building and walk toward his black Merce~ after be had robbed a craps game. Sh,e heard shots

       and saw Carson firing at om.me. She did not see Martin there bui glimpsed tum drh-ing the van

       that Carson nm to after the shooting.291 Hence the Government's assertion that Carson's shooting

       of Pocwnc was "a move clearly designed to enhance his own roputa.tion for violence, a.s wen as

       that of the K Street organ.izati:on. ' is speculative and is nol supported by the trial testimony. 299

       The tilliog was, committed out of a personal animru;, and nm K Street. business.

                          3.      Th e Thomas-Lucas murders also were mlsj oiined.

                '111c Government also attempts. to j ustify I.he j cinder of tht murdc.rs of Teresa Thomas and

       Terita Lucas, a.ud the court's denial of severance motions, by mote hypo hesizing, According to

       the Government, cbese murders were in rctailiation for Thomas' s disobemenoe to her th.en-

       boyf:riend, Carson, nnd to eTiha.nce Cru:soo' s. reputation as a violent enforcer in lhe K Street




               ~(2113/01 AM 19·-20. App. 22-59-60).
               m See n1pra f VU.
               28&   (21 J ll01 AM 25-27, App. 2265-67).
               m Tm Go\'ffll.IllC'.llt cites to restimony by James Montgomery liw,t Carsen told him that he bad
       whispered to Martm wbc:t:t a d.i.spute .IYlJSC between Mamo and Pomme after II era-p g,a.Int:: "Do yo11 we.nt
       me tto till thls piece of .shit'1" (Govt. !Br. 15i-.S8, It did not mention that ~ord.ing to M .arugollli=cy, Martin
       made no response a;nd: that Carson got a gun and snot FortlJ.oe, acting on bis O'Ml.. {3✓ 12101 PM 34, App
       2492). E1,·c n MontgomcT)'' s vcman Qf ovcncs: docs llQt support the Oovemmeol' s allegn.tiaa lhnl lhe
       .k.illi.ng of Foli'tUDe had any canna::tio:n what5.oevcrto tbc nJJegcd K Stteet "organ.i.zatiou.''




(Page 354 of Total)
                                                           App 920
       USCA Case #21-3072                 Document #2077668                Filed: 10/01/2024           Page 355 of 477


        orga:o.izatioa. 300 The notion thaL tbc killings were to enhance Carson's reputation for vfolcocc is a.

        furtbcr attempt to rum an 1Jon:lt1.tcd murder into M act of the conspiracy.

                Thomas and Luc.as were murdered, according to the Government's evidence. because

        atrson was angry Y:.rith Thomas about her relation.ship with another man, and abom h.er giving

        Ca.rson •s gan tu the man. While lhe Govcmmcmt says th.nl Carson was worried that Thomas had

        given his gun - an instrumentality of u,e orpnization's business - ro someone el.Bc,301 that

        concern was not demonstrated to bave a. logical nexus lo the underlying conspiracy and the

        C(U:Hcntmn that Carsotl wa..o; worried about losing an ·'irutrumentality of the organization's

        business" was sheer speculation.

                           4.       Joindcr: ,o f thc:i 3,'h St. ·h.ootmw, was also,impeffllisslble.

               In addition, the Government's argwnenL thlll joindet was proper in th.is ,case mu.st fail

        be.cause the evidence al uia.J makes it uhsolutcly clear that there was no common scheme or phm

       of which the events regm-ding 37m Place and those involving K Street were part.

               The Government ac-c:uses the defense of attempting to "artilidally split one conspiracy

       inlo two based simply on geographic line~: •:.01 Of course. g,e ogmphic linCI! m:: not the basis of

       the defons_e posnio» that me events at 37 111 Place and K Stn:-et arc two entirely di ffereti L seu. of

       events. The defense d.emonstrat,cd that tb.e Government produced no evidence whaisoever of

       dlug dealing on 37th Place by any member of this alleged conspiracy. Nor d'id the Government

       produce any evidefice that :any of the events related to 3th Place served I.he ends of the alleged K




                                58.
               :lllO Govt. 8,-. J

               >ill Set: rd.

               YllGovt, Br 164.




(Page 355 of Total)
                                                           App 921
       USCA Case #21-3072               Document #2077668                    Filed: 10/01/2024       Page 356 of 477


                The Gove:mment claims that ''the link belwcen Sooth.we.st (including K Stre~) and 37121

        PJacc was forged when sev,eral fa.mi lie& originally horn Southwest were relocated to 371:!i Place,

        S.E. in the ]980s," and cites lO ~sti.mony by CharJes Bender.303 Bender t~tified that he sold

        marijuana, on Kand L S·trc.cts, s.w..10:t Hill, Price, Franldia, Coat~. Switz(:r, and 0th.era (the

        latter apparently having no alleged connection to this case) reguhtdy sold in the 200 block of K

        Street. lOd People gamble.di on the K Street court. including Coates, Price. Frankilin, Swi12er and!

        others not named in the im:lictment. 3        °' Bender sometim,es   S-a'>V Cars.on gamhting on K Street


        court.. He also saw Sweeney standing among the group, but did oot sec him gambling.'01

                In 1994 and 1995, Bender went 10 tho an:a of Ridge Roadl and 37L11. Place, Southeast. He

        described the area as ")ust ruiothetr pan: of southwest." He went there bec-aase ua lot of dudes in

        .southwest bung out up there. And I would go up lhere 10 purchase P.C.P., and I smoked wjth the

        dudes up the.re.'' He regularly saw lvfartin as we'll as •'Bill" andF.ranklin, "ci.·erybody, I mean

        everybody:•108 He went to night.clubs where people from Southwest a.o,dl from 37lih Plwc were

        partying. There '"it was ~e lhoy were together.. , . One, Because I am from che southwest

        neighborhood. Two, became I mean they "'OUld call o u L ~ ocigbbo:r.hood.►.J09 When asked to

        elabo:J:'ale; Bender 5caid thaJ when a aeigbborhood would be called out at a club, '"I would say

        'southwest· . . , That's ju.st basice!ly saying where you're fium, l mean. That is bas.ically just

        saying your aeighbo:rhood., you know. Sometime.'> beefs would sta:rt because of that. But I mean



               w. Govt Br 164 n. 96.
                >01'(4/4/0l AM54, Sn, App. 2713, 2715).
                m(4/4101 AM 56. App. 2715).
               106
                     (4/4/01 AM 61, A?P. 2i 17).
                1111 (Id at 62-6j, App. 27 l 8~19).

               :m(ld. at 63,-64, App. 2719-20).
               ~ (Id. at 64, App. 2720).



(Page 356 of Total)
                                                            App 922
       USCA Case #21-3072              Document #2077668                 Filed: 10/01/2024     Page 357 of 477


       that was just ti form of rcp~cnting }'QtJ:r n~ighborhood.11JJO When the Go1,•emmcnt prt:ssed

       Bender for more details, asking "'When that would happea, either- the DJ. doing il or someone .in

       tl1e club yelling out •southwest,' what would happen in response?" 'he replied~4"J7~ would yell

       ouE their neigbbomood:~311 If Bender was at a nightclub and a figbc broke out, or a shooti-t1g
                      th
       occurred, 37 l'l.&cru'R.idge Road and Southwest wou.Jd join [Qgether to resp0:od.312

               Nothing i:n Bender' i ce$timony s-.apportS the conclusion that people from K Sc. and 3th

       Place ac:led together in furtherance of a drug conc&p.irac:y or a RICO conspiracy. Jf simil.u-

       oon:duct was obse_rved bet'..ireen youngsters. from Georgetown .imd Tenley Cirele, ortbwest, no

       one would claim that such innocuous activities bespoke a coflspiracy.

               The Government nom::theless contends that its evidence was s.ufficient lo show that thi:

       shootout at ,fiOill Street and Enst a;.pit,o1, the :murder of Curtis Edwards and the shootings of

       Burton Jones were in furtherance of the common goal of me e,uerprlse.:n'.3 This is b-a:scless.

       Aetua11 y from tho Govcmnumt's own rccimtion of the e1r•idence~ Fortune's, shooting re~,;lllted in ~

       retaliatory s.hootinl!l of Curtis Buch.mari. The .shootings at 6<1' Street and Ea<St Capitol then were

       spawned by that event. But Fonune, s shoollng had nothing whatsoever to do with the alleged K

       Street oonspkacy, was not done to further any aims of the conspiracy, and was not done in

       connection \vi.th a.ny drug :activity, as we have shown. The Governmeol~s argument. rests upon a
                                                                     1




       c:onspir--acy must fail.




               m (Id. at 6S. App. 2?21).
               m (Id. at 6:S--66 App. 2.721-22).
               m (4/9/01 PM 19-20 App.2166-67).
               mOovt. Br 166.




(Page 357 of Total)
                                                      App 923
       USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024         Page 358 of 477

                The Government addresses Appellants' prejudice argumenc by in isting thst th~ was 110

        spillo,vcr effect from the presentafi on of thi:; entirely unrelated ev1denc.e becau...e it tried the

        counts of the indictment dj cretel y and the oowt instructed the jury to consider each coUDt

        separately. The Government ignoro.ti the fact that the bulk of the: evidence of' violence introduced

        against Carson and Martin related to events occurring in the 37lll Place area, which were

        IJDfolated to any narc-01..ies or RIGO conspfr!lty. HRd Carson and Martir.I p!IOCeeded ta u'ial on lhe

       murijumm conspiiracy. without being bombarded with evidence of violence that nad nothing to do

        with bis $Celling marijuana on K Street and nothing to do with his :alleged participation in an

       enterprise that sofd marijuana on K Strc::ct, the re.suit of this case would probably have been

       diffc:rant. The .severance motion should have been gt"anled, and lhc preJuclice was so enomrous

       that the Gov,crnment coo never show that the errior of rnrsjoirider w3s hannl~s.

       IX.      Ex pane <'.ootacts between. die Judge and Ute Jurors violated Rule 43 and the Due
                Process Cl11iuse.

                In 'Uniud Scali!~ "· G,agnon, 1" the Supreme Court addressed tbc is.sue ,of a defen.dant's

       Due Process Right to be present wh.en a trial judge holds a con fen:mc:e wath a j 1,gor m chambers.

       In its bri~f. the Government addresses Gagnon,11 s However, lhe analysis of Gagnon emplo.rtd

       by the Uoitcd S~u:s ii nrurow, supe:rflc1al and unpcrsuasi ve In Ult: euruexL of the facts pn::sently




                In Gagnon, four defendants were indicted and tricrl together in a large scrue narcotics

       distribution conspiracy. During trial, a coon.room maishal mfo:rmoo the court that he had been

       adv:ised by a juror of a concern that one of the defendants was sketcbmg portraits of 'tbe jury.

       Toe defoodant's co1JI1S.el admitted that I.he defendant had been drawing slllCh sketches.


                1 14
                   4'70 U.S. 522 (1985).
                Ja Govt. B[. 9l-93.


                                                           -9.5-
(Page 358 of Total)
                                                        App 924
       USCA Case #21-3072               Document #2077668                   Filed: 10/01/2024           Page 359 of 477

               Tho trial judge ordered tile defendant 10 ce~e drawing the sketches. Defendant's c;o,.mse.l

        suggested that the juror be questioned to determine whether the sketching :prejudiced the juror.

        ID 11:sponsc, and in the presence of each defend.am a.rod his c:ounsel, the trial judge announced chat

        be would talk lo the juror in chambers and make a, determination. There were no objections. to

        the trial judge's pronouil'le,ement and no defendant ~ucstcd to be present in cha:mbcIS for the

       confereoc.e.

               The judge went ,to c.hRlllOOrs and called for the coLJrtrOom bailiff md I.he defendant's

       (Ongnon) COUIDiC'l. In lh~ presence of Gagnon's counsel, the judge discussed the sketching WJtb

       tne. juror. Th:e juror stated: '1 jlli.t r.hoi,Jght that pe:i:iiaps because of E.he seriousness of U'!e trial,

       u.nd because of - whichever way the deliberations. go, it kfad of-.il upsca me, because - of what

       could happen afterward...:ns The juror was assured tha,t the sketching wouJd slop and that tt.ie

       drawings that were made would be confiscated. The judge further elicited tho j uror• s w11lingncss

       to continue as an irnpa.nial ju_roL

               Gagnon's counsel was permitted to question lhe jut0r. After posing questions. Oagnon's

       counsel stated that he was satisfied. A transcript of the in camera proceedings io chamb~ was

       m.ade 41.vruJable to all parties. The~ were no motions m.1de to dis.qualify any of the other juror!>.

               The Nioth Ci.rcU,it Court of Appeals reversed the convictions of ea,cb of the defendants.

       The basis for the revers.a.ls Will the determ~,nation that the in c:arocrn <.hfflDbc.rs confeTence was in

       violation of Rule 43 and the. Due Prncess Clause of the Fifth AmendntenL 117

               The Supreme Coun ultimately revened Lhs Ninth Circuit. However, tbe revelis-.al was for

       reasons not similar to those in the irecord befott Uris. Court. Indeed, the Gagn.on. hoh:lirit, i.r.t tM



               !LG   Gagnon. 470 U.S. el S.24.
               m Uni.red Srcllc~ 111. OagM11-, 721 .F.ld 672. (9m Cir. 1983), r~v'd, 470 U.S. S'22 ( 19SS).



(Page 359 of Total)
                                                          App 925
       USCA Case #21-3072             Document #2077668                Filed: 10/01/2024        Page 360 of 477

        cont.exc of the facts that arc before: this Coon, ctearly requires a reversal of the subject

        coavii:tions.

               In this ease, the clli t1kt judge took it opon himself, .in cooperatJon with Mars.fad Adams,

        lo conduct a private inquiry of JLiro:rNo. 3. Thl!lS., defendants were precluded from invoking their

        Rule 43 rights to be present during the inquiry. There is no trnrucript of the: private inquiry and

        we are foft with nothing but I.he trial judge"s recollection of 'the in cbamben; c-Onfcrsnce. The

        failure of the 'Ltial judge to require e tranS'Criptioo of the chambers conference immensely

        pIEjudiced defendaots. as there is no accuni.tc memorlalization of the proceedings.

               Moreovm\ the rustrictjudgc prohibited the defend.mes from questi~;ining Jurors #3► 1 am,d

        17 and d-efcndants moved for a mistrial after Jmo:r#J was dismissed.

               The ru::ti.ons of the district court were far more prejutlicial and far more secreti\le than

       those of the trim judge in Gas,ion. Defendants wcra dep-rlved or their ability to adequately

       assess the conduet o,f Juror No. 3 and i:m~mtis ibly and in.explicably denied the ability to review

       a transcription of tl1e ~n camera conference between lhe tria]judge and the Juror,

               In concluding th.at it was not consticutiona! error to proeludc Gagm.on 1s presence at tbo

       cbambers at the chambers confere nee, the Supreme Court noted f.hat lhe cncmmter was a "short

       i11t:crludet and dlat "the Fifth Amendment does. not requi.m tb.:n all tbe patties be piesent when

       lhe judge inquires into such a minor occurrence-/'31

               Tho issue regarding Juror No. J was anything but a minor Of;Curron«::e. It w11-s an ongoing

       matter. After initially speaking to Jud ge Ja,q;:kson in chambers without the presence of counsel,

       Marshat! Adams was approached by Jurors NO$. 1 and 17 t,o express co1:1cems. about Juror No. 3.

       Toe jurors commul'licated with Judge Jack.son through a written 110Ce statlag, ..\Ve wish lo speak



               JlB Gagnon.. ~70 U.S. at   sn (ernptuisi.s supplied).


(Page 360 of Total)
                                                          App 926
       USCA Case #21-3072               Document #2077668               Filed: 10/01/2024         Page 361 of 477


        to you dh-ectly on a matter of considerable importance, and we wish to do :so right away_ ..Jisi The

        note from the jurors '"as unambiguous. This was .a matter of serious. conc-,em that required. the

        immediate attention of the. trial court

                Juror . o. 3, by contrast1 e.xpres.sed to the Cou:rt that he fell t,e would have no difficulty

        fulfiUing his obligetion,320 and urged his fellow jurors to, •1[Ljet's go back tO what we're doing,

        Let'.s continue."3.?1

                It was utterly m.niapproptiate for the trim c:ourt to conduct its own inquiry of a juror, fail to

        have the inq1.1.iry ttansc-ribed or olherwi.se memorialized, and then deny oounsel"s request to voir

        dire the !tHlividually involved jurors. This was ooc haonless uror. This was a complete denial

        of du~ process.

                In Untted Srates ,Gypsum Co.. the Supreme Cout1 VC:I)' carefully and thoroughly

        a.ddres.scd wh.y an in ct1ml!.m comm!JTiication between. a juror and a trial! court has greai pote-ntiru

        for prejudice.

               Any ex parte meeting or communicatioo between Che judg,c and the foreman of a
               deliberating jury is pregnanl with possibilities for error. The record amply
               demonstrates that e:yen an e,xperiencoo lriali judge cannot be certni.11 to avoid al I
               lhe pitfalls inherent in such nn e-ntmpase,. Fir:st, i1 is. difficult. to contain, much less
               to aoticipat:ej the direction the oonveniation will ta.Ice at such a meeting.
               Unexpected questions or eonunents can gene.rate a.ninrended ~d misleading
               impre.ssforu. of the. judge,s .subjective personal views which have no place in his
               instruction to the jury - all Ehe more so when counsel art: not present to chaJle_nge
               the statem.ents?22

               In the conrext of the particular facts oofore this Court, it i.s clear that the dramatic

        actions of tile trial judge were in clear violation of tbc due process rights of the



               :M (7124 P?vl Tr. lOr App. 3796).
               DI (7/'},4 PM 8, App. 3794),

               $2.l   (7125 AM l l. App. 3809)
                m Uni1-1!d States 1,1_ Uni~d Stales Gypsum Co., 438 U.S. 422, 460 (19?8).



(Page 361 of Total)
                                                       App 927
       USCA Case #21-3072               Document #2077668                Filed: 10/01/2024         Page 362 of 477


        defendants. The extent of the prejudice can.not be adequately asse..ll.Sed because the trial Judge

        chose not to memorialize critical portions of his inter-action with the JIJT()r and precluded counsel

        from conducting an appropriate vofr dire of the .involved juron1. The only remedy 1S a reversuJ of

        t.hc convictions ~!ll':td a reman(I to the trial court.

                                                       CO CLllSJO

                Fo,r the fofltgoing tea!..Cms as well as those set forth in our opening. brief, Arpollants are

        en.Litled, both individua]Jy and oollectively, co a new Lrial. Each is also entitled to resentencing m

        light of Booker.ID In the ahemal:r•·c, m thee, Lt:ut requested, each Appellant is ~ntitlcd to have

        n.is conviction cm the various counts challenged, reversed, and hi case remanded for retnal as ta

        tho:;e counts or, as li ppropriate, resentcncing.

        Dated: July 6, 2005                                                          ·ned.,




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                lll See App. Br.   f XV.
                 • For idcnrification • nd m3iling purposes only




(Page 362 of Total)
                                                          App 928
       USCA Case #21-3072            Document #2077668               Filed: 10/01/2024        Page 363 of 477

                                      CERTJFICATE OF C01tt1PLIA CE

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                                         CERTJFICATE OF SERVICE

                   I here.by certify that a Lrue and concct oopy of ·the foregoing was served by

           Electronic Mml and Pirsc Class :ti..hil on this ~ day of July 2005 upon:

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                   Mary hfoCord Esq.
                   As&i su11t Un.itt:d States Attorney
                   555 4111 SL. NW
                   Washington 1 DC 20004



                                                                     Paul Rosenzweig




(Page 363 of Total)
                                                     App 929
       USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024        Page 364 of 477
                  Case 1:98-cr-00329-RCL Document 1013 Filed 02/05/08 Page 1 of 4




                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


          UNITED STATES
                                                                98-cr-329-4 (TFH)
          V.

          WILLIAM S\VEENEY


                       EMERGENCY MOTION FOR ACCESS TO COURT RECORDS
                        AND POINTS AND AUTHORITIES IN SUPPORT THEREOF

                William Sweeney, by and through undersigned counsel, respectfully moves this Court to

          order that all court papers and proceedings of the above captioned matter be unsealed. In

          support of this Motion, Petitioner upon information and belief states the following:

                  I.     Mr. Sweeney was a defendant in this matter.

                 2.      Based on the transcripts of the proceedings in this matter on Novembe.r 13, 2000

          in this matter, counsel knows that there was an ex parte motion to disqualify defense counsel

          Leonard Long in November 2000 and an opposition filed by Mr. Long prior to the November

          13, 2000 trial date. Both of these pleadings stiil appear to be sealed still, as they do not appear

          on the docket sheet for this matter.

                 3.      Counsel needs access to copies of these motions to adequately represent Mr.

          Sweeney in this matter. His 2255 petition is due February 20, 2008.

                 4.      ln the alternative, counsel requests that the Court redact the pleadings and

          provide counsel with redacted copies, as the November 13, 2000 transcript, see Exhibit I,

          details that the hearing before the court that aired a portion of the motion, was conveyed to Mr.

          S,.:veeney by Mr. Kiersh, so there should be no need to maintain at least that portion of the

          motion and opposition.




(Page 364 of Total)
                                                       App 930
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024         Page 365 of 477
                  Case 1:98-cr-00329-RCL Document 1013 Filed 02/05/08 Page 2 of 4




                 5.      Mr. Sweeney also has an historic First Amendment right of access which should

          not be abridged under the circumstances. The courts of our nation are presumptively open."

          Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 569 (1980); see also Press Ente,prise

          Co. v. Superior Court, 464 U.S. 50 I, 508 (1984 ); Craig v. Harney, 331 U.S. 367 (194 7). This

          right of public access is derived not only from the common law but is guaranteed by the First

          Amendment to the United States Constitution. Richmond New::.papers, 448 U.S. at 576 ("The

          First Amendment guarantees of speech and press ... prohibit the government from summarily

          closing courtroom doors.").

                 Since Richmond Newspapers, our courts have made it abundantly clear that the right of

          public access extends not only to trials but to pretrial proceedings as well. See, e.g., Press

          Enterprise Co. v. Superior Court, 478 U.S. 1 (1986) (preliminary hearings); Press Ente,prise

          Co. v. Superior Court, 464 U.S. 501 (] 984) (voir dire examinations); In re Knight Publishing

          Co., 743 F.2d 231, 233-34 (4th Cir. 1984) (pretrial motions, affidavit and hearings). The right

          of access is never more important than in criminal hearings. See Press Ente,prise Co. v.

          Superior Court, 464 U.S. at 508.

                 The right of access to pretrial criminal proceedings traces not only the right to attend

          but also the right to copy related court records. See, e.g., Nixon v. Warner Communications,

          435 U.S. 589, 597 (l 978) (longstanding common law right to access to court records); In re

          Globe Ne-.,11spaper Co., 729 F.2d 47, 52 (1st Cir. 1984) (recognizing First Amendment right of

          access to pretrial criminal documents); Associated Press v. United States District Court, 705

          F.2d 1143 (9th Cir. 1983) ("There can be no dispute that the press and public have historically

          had a common law right of access to most pretrial documents .... "); In re National

          Broadcasting Co.,, 653 F2d 609,612 (D.C. Cir. 1981) ("[Tlhe existence of the common law




(Page 365 of Total)
                                                       App 931
       USCA Case #21-3072              Document #2077668                   Filed: 10/01/2024          Page 366 of 477
                   Case 1:98-cr-00329-RCL Document 1013 Filed 02/05/08 Page 3 of 4




          right to inspect and copy judicial records is indisputable.")

                  Although this Court may impose reasonable limitations on public access in very limited

          circumstances, restrictive orders are tolerated only to the extent that "the denial is necessitated

          by a compelling governmental interest, and is narrowly tailored to serve that interest." Globe

          Newspaper Co, 457 U.S. at 606-7. Here, however, there is nothing in the record that suggests

          that any compelling governmental interest necessitate the sealing of the transcript and court

          papers. Without a showing of compelling governmental interest, the sealing order should no

          longer stand.

                  This matter should be unsealed from the Court pursuant to Mr. Sweeney's right to

          effective assistance of counsel.

                  Finally, the public's right of access is protected by strict procedural rules. 1 As far as Mr

          Sweeney knows, none of these procedures were followed in this case. Thus, at a minimum Mr.

          Sweeney requests hearing on the matter, affording the public and Mr. Sweeney an opportunity

          to state why further sealing is impermissible unless the Court finds that sealing is necessary to

          serve a compelling governmental interest.

                  Because Mr. Sweeney has at issue crucial constitutional rights under the First, Fifth and

          Sixth Amendments to the United States Constitution, comprehending his rights to public

          access, to a fair trial, to effective assistance of counsel, and to the due process of ]a\v,

          counterbalanced by no substantial governmental interest of record, and certainly by none



          1 The party seeking closure must make a showing, on the public record, as to why access must be

          denied. Globe Newspaper Co, 457 U.S. at 608. The court must then make findings in the public record
          to support closure and inquire whether alternatives to closure are available. Richmond Nev-.,spapers, 448
          U.S. at 508-11. The findings must be specific enough "that a reviewing court can determine whether the
          closure order was properly entered." Press Enterprise Co., 464 U.S. at 510. Finally, in advance of the
          sealing order, the public is entitled to notice and an opportunity to object. Gannet Co. v. DePasquale,
          443 U.S. 368, 40 I (1979) (Powell, J., concurring in part and dissenting in part); Globe Nett·spaper Co ..
          457 U.S. at 609 n.24.




(Page 366 of Total)
                                                         App 932
       USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024         Page 367 of 477
                   Case 1:98-cr-00329-RCL Document 1013 Filed 02/05/08 Page 4 of 4




          sufficient to outweigh Petitioner's vital trial rights, he respectfully requests that this Court grant

          the instant motion and unseal the specific proceedings in this matter.

                  WHEREFORE, for the foregoing reasons, and any others which may appear to the

          Court at a hearing on this motion, Mr. Sweeney respectfully requests that this Court grant the

          motion for access to court records.

                                                          Respectfully submitted,



                                                          JENIFER WICKS
                                                          Bar No. 465476

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(Page 367 of Total)
                                                        App 933
        USCA Case #21-3072                Document #2077668                Filed: 10/01/2024        Page 368 of 477
                        Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 1 of 17




    <:opiesto: Judge                 IN THE UNITED STATES DISTRICT COURT
              AUSA-SpaclalProcud+l'IIJ§ FOR THE DISTRICT OF COLUMBIA
              Oft.
            UNITED STATES OF AMERICA,                               )
                                                                    )
                                             Plaintiff,             )
                                                                    )      Crim. No. 98-329 (-fPJ) 7 T-1---/
                       V.                                           )
                                                                    )
            JEROME MARTIN,                                          }              fILEO
                                                                    )
                                             Defendant              )
                                                                              ,~Jene_, u.s. Gtstdcr and
                                                                                 Bankru:~•~cy CJurts
                              MOTION TO VACATE, SET ASIDE, CORRECT SENTENCE
                                     PURSUANT TO 28 U.S.C. SECTION 2255

                       For the reasons set forth below, defendant Jerome Martin respectfully requests that the

            court vacate, set aside or correct his sentence. 1bis motion is made pursuant to 28 U.S.C. section

             2255.

                                                            FACTS

             A.        Procedural History

                       On September 18, 1998, Jerome Martin was charged along with seveml co-defendants in

             a mu1ti•count indictment alleging a narcotics conspiracy, racketeering conspiracy, murder and

             other violent crimes, narcotics trafficking, and weapons offenses. A superseding indictment was

             filed on March 25, 2999. Trial began on November 15, 2000. A second retyped superseding

             indictment was filed on July 2, 200 l, containing all the counts that were submitted to the jury.

             In July and August, 2001, the jury returned guilty verdicts against all defendants. Jerome Martin

             was convicted of Count I, narcotics conspiracy, Count 2, RJCO conspiracy, Count 8, first-degree

             murder while armed of Anthony Fortune, Count 9, assaulting a police officer with a dangerous

             weapon, Count 17, assault with intent to kill while anned of James Coulter, Count 18, attempted




(Page 368 of Total)
                     App 934
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       USCA Case #21-3072              Document #2077668                 Filed: 10/01/2024         Page 369 of 477
                   Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 2 of 17




          murder of James Coulter in aid of racketeering, Count 31, use of firearm during and in relation to

          attempted murder of James Coulter, Count 42, possession of firearm during crime of violence

          against James Coulter, and Counts 49, 53, 55, 64, related to marijuana trafficking.

                  Martin wa,; sentenced under the then-existing mandatory determinate Federal guidelines

           system. Pursuant to that system the Probation Office calculated a sentencing guideline

           mandating life imprisonment and Martin was sentenced to that term.

                   On appeal, the United States Court of Appeals for the District of Columbia Circuit

           affirmed Martin's convictions. United States v. Carson, et al._. 372 U.S. App. D.C. 251,455

           F.3d 336 (2006).

                  The United States Supreme Court denied Martin's petition for writ of certiorari on

           February 20, 2007. Samuel Carson, et al. v. United States, Docket No. 06-9046.

                  B. The Government's Evidence 1

                  Martin and others were charged with a large-scale narcotics and RICO conspiracy. In

           furtherance of the conspiracy, Martin was alleged to have engaged in extensive narcotics

           trafficking and multiple acts of violence. By way of an overview, it was the prosecution's

           theory that Martin and the other defendants were lifelong friends who grew up during the l 980s

           in the Greenleaf Gardens neighborhood in southwest Washington. As they entered their teenage

           years they began selling drugs. By the early 1990s, the Government claimed, most of them were

           selling substantial quantities of marijuana, along with less significant quantities of other drugs.

           Most of the sales were made on the 200 block of K Street, SW, and on the comer of Delaware


                   1Only such evidence as is necessary for an understanding of the issues raised in this

           Motion is recited herein.


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(Page 369 of Total)
                                                        App 935
       USCA Case #21-3072             Document #2077668               Filed: 10/01/2024       Page 370 of 477
                   Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 3 of 17




          Avenue and K Street, SW. The Government charged that Martin and the other defendants ran

          these locations as cooperative markets in which they rotated serving marijuana to customers

          driving into the area from the D.C. Metro area. Toe prosecution depicted Vincent Hill as the

          leader of this "crew," and Martin as one of its members.

                  Government law enforcement witnesses testified to sales of marijuana by Martin in 1995

          and early 1996 in the 200 block ofK Street, SW, some of which were preserved on audio or

          videotapes. According to cooperating witnesses, Martin sold marijuana on K Street regularly

          during 1993 and 1994, and 1996 through 1998.

                  The Government also asserted that Martin and the other defendants engaged in ventures

          other than drug dealing, both for purposes of self-enrichment and protection. For example,

          through the testimony of informants and cooperating insiders, evidence was presented that

          Appellants sometimes committed kidnappings to fund weapons, drugs or living expenses.

          Witnesses testified that Martin and others were responsible for a number of acts of violence,

          some planned and others spontaneous. Martin, the other defendants, and their allies, in

          particular a group from 37th. St., SE, which Martin was said to have organized, engaged in

          frequent confrontations ("beefs") with competing factions. Several witnesses attested to fights,

          driveMby shootings, and occasional homicides between the K St. And 3 7m St. members, on the

          one hand, and groups operating out of Condon Terrace and L St., SW (these being gangs of drug

          dealers that frequently warred with Martin and the others over control of territory). Other

           witnesses recounted instances where persons who had disrespected members of the K St. Group,

           such as the so-called 58 th St. crew, were attacked.

                   Martin and the others were aJJeged to have resorted to force and violence where believed


                                                             3


(Page 370 of Total)
                                                        App 936
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 371 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 4 of 17




          necessary to prevent rival drug dealers from operating in their territory. Sometimes this

          extended to acts intended to punish suppliers believed to have knowingly supplied inferior drugs

          or to have shortchanged some of them in transactions.

                  The Government claimed that Martin's marijuana selling in the 200 block ofK Street.

          SW was related to several acts of violence occurring on 37fh Street, S.E. and 58th Street, N.E., one

          of which was the killing of Anthony Fortune. Every Government witness who testified about

          the Fortune killing attributed it to a personal dispute between Martin and Fortune, and most

          attributed the dispute to Fortune trying to rob or actually robbing Martin at a craps game.

           Charlene Wilson, the only eyewitness to testify, said that Carson did the shooting, and that

           Martin drove Carson from the scene_ Some cooperating witnesses testified that Carson admitted

           shooting Fortune, while others claimed that Martin did so. They, too, variously ascribed a

           singular motive for the shooting: a dispute arising from a crap game.

                  According to the Government's evidence, the Fortune shooting triggered a dispute

           between Martin and the 58th Street group. In that dispute, the 58th Street group killed Curtis

           Buchmon in retaliation for Fortune's killing. Martin and Buchmon were very close, and after

           his killing, Martin, Carson and Montgomery allegedly went gunning for the 58th Street group.

           There was a shootout between them and the 58th Street group, during which the police arrived.

           Martin and his associates exchanged gunfire with the police. Edwards, Burton and Jones came

           into the 37th Street area in a car with tinted windows, and Martin assumed they were with the

           581h Street group. Concerned about a drive-by shooting. be gave Antonio Knight a gun, and

           Knight shot into the car, killing Edwards and wounding Burton and Jones.

                  Testimony was presented that accused Martin and the others of involvement in murders


                                                            4


(Page 371 of Total)
                                                      App 937
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 372 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 5 of 17




          or shootings which supposedly were undertaken to track down or silence persons believed

          (correctly or otherwise) to be potential Government witnesses in prosecutions or grand jury

          investigations against members of the organization. One of the persons Martin was accused of

          shooting was James Coulter. According to the Government, in 1995, Vincent Hill complained

          to Martin and others that Coulter was "hot," and needed to be killed. On May 30, 1995, Coulter

          was shot. A cooperating witness was on the corner of Delaware and K Street when he heard Hill

          and Martin talking about Coulter's shooting. Hill told Martin that Martin should have used two

          guns, and asked why the gun jammed. Some time later, another cooperating witness overheard

          Martin talking with Coates and Carson about Coulter's shooting. Martin said that they were

          trying to say he had something to do with Coulter getting shot but they could not prove it because

          he had a mask on. Martin complained to another infonnant that he had tried to shoot Coulter at

          a crap game but his gun jammed.

                  After Martin was arrested for Coulter's shooting, he reportedly asked an informant to talk

          to Coulter and have Coulter give his investigator a statement about the shooting. The informant

           talked to Coulter twice at Martin's request; Coulter refused to give a statement, but said he was

           not going to come to court. Martin also asked the informant to contact a witness to the shooting,

           which the informant did. When neither man would give a statement, at Martin's request the

           informant showed Martin's uncle where Coulter and the eyewitness lived. Martin also asked an

           acquaintance who was in jail at the same time as Martin to contact the eyewitness and ask him to

           say that he did not know who shot Coulter, but that it was someone with a sweatshirt and a pistol

           at a crap game. Martin said that the eyewitness owed him a favor because his head was in the

           way when Martin shot Coulter, and if it was not for the witness, Coulter would be dead . Coulter


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(Page 372 of Total)
                                                      App 938
       USCA Case #21-3072            Document #2077668                Filed: 10/01/2024         Page 373 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 6 of 17




          gave a statement to a fonner attorney representing Martin that he did not see who shot him.

                  C. Constitutional Violations

                  L Withholding of Exculpatory Evidence

                  The centerpiece of the Government's case against Martin was not drug trafficking, but

          violence - the shooting of Fortune and the 5&th Street beef, and the shooting of Coulter as a

          potentia1 witness. Martin recently located a witness about whom he was unaware at the time of

          the trial of this case who was an eyewitness to the shooting of Anthony Fortune and who can

          testify under oath that the Government's twin theories that Martin shot Coulter himself, or that he

           had Carson do so, are wrong. The witness, Steven Thomas, knows that Martin did not shoot

           Fortune. He also describes Fortune's shooter as very dark complected, taller than Martin (whom

           he knows) and heavy set, which would eliminate Carson, who is light-complected, tall and thin,

           as the shooter. Equally importantly, Steven Thomas was interviewed by police on the very

           evening of the Fortune shooting, and he told them the description of the man he had seen doing

           the shooting. The police knew on the eve of the shooting that an eyewitness described the

           shooter as someone other than Martin or Carson. The defense was never provided Steven

           Thomas' name, address or the exculpatory information he gave police. The Affidavit of George

           Steel, the private investigator who interviewed Steven Thomas, is attached hereto as Exhibit A.

                  2. Impeding the Presentation of Martin's Defense

                  At the trial of this case, counsel for Jerome Martin sought to compel Coulter's attendance

           at the trial. Based upon the sworn statement Coulter gave a form.er attorney for Martin, Martin

           did not shoot Coulter. Counsel had a good-faith basis for believing that Coulter would

           exonerate Martin ifhe could be subpoenaed to testify at the trial. The Government represented


                                                           6



(Page 373 of Total)
                                                      App 939
       USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024        Page 374 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 7 of 17




          that it did not know Coulter's whereabouts, or even if he was alive. at the time of the trial. The

          trial ended with verdicts in July and August, 200L Just a few months later, sometime before

          February, 2002, the Government indicted Coulter in a major narcotics conspiracy in this court.

          Coulter was arrested on February 13, 2002. United States v. James Christopher Coulter,

          02-mj-00104-AK (2/14/02). On February 14, 2002, the case before the magistrate judge was

          terminated because it merged into criminal case No. 02-074. Proceedings in the criminal case

          against Coulter are not available on PACE~ and are presumably under seal. Martin intends to

          file a Motion with this court to unseal the proceedings, because the complaint and indictment in

          the case will likely reveal that the government was investigating Coulter for the months prior to

          his arrest in February 13, 2002 and that when the government represented to the trial court that

          Coulter had disappeared and could be dead, they knew his whereabouts, knew that he was alive

          and well, and subject to subpoena or writ of habeas corpus ad testificandurn.       The docket report

          from 02-mj-00104-AK is attached hereto as Exhibit B.

                                                        ARGUMENT

                  INTRODUCTION

                  A motion filed under 28 U.S.C. section 2255 must allege that (1) the judgment was

           imposed in violation of the Constitution, or (2) the judgment was imposed by a court lacking

          jurisdiction, or (3) the sentence imposed exceeded the statutory maximum, or (4) the judgment

           was otherwise subject to collateral. attack. The suppression of evidence favorable to the accused

           is a ground for relief under the statute; likewise, prosecutorial misconduct is a ground if it

           violates the accused's right to Due Process of law. Rafael Moreno-Morales v. United States,

           334 F.3d 140, 148 (1 st Cir. 2003).


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(Page 374 of Total)
                                                        App 940
- - - - - - - - - - - - - - - - - - - - ' -----
          USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024           Page 375 of 477
                     Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 8 of 17




                     I.     THE GOVERNMENT VIOLATED MARTIN'S RIGIIT TO
                            DUE PROCESS OF LAW BY WITHHOLDING EVIDENCE
                            OF ms INNOCENCE OF THE ANTHONY FORTUNE MURDER.

                     Suppression of evidence favorable to an accused and material to guilt or innocence is a

             violation of Martin's right to due process of law, guaranteed by the Fifth Amendment to the

             United States Constitution. Brady v. Maryland, 373 U.S. 83 (l 963). If the evidence suppressed

             is material, that is, its suppression undennines confidence in the outcome of the trial, a new trial

             is warranted. United States v. Bagley, 473 U.S. 667 (1985). The question is not whether a

             different verdict would more likely than not have resulted if the suppressed evidence had been

             available to the defense, but whether in the absence of the evidence, Martin received a fair trial,

              understood as a trial resulting in a verdict worthy of confidence. Kyles v. Whitley, 514 U.S. 419,

              4343 (1995). Materiality of evidence is assessed cwnulatively, not item by item. Id. at 436.

                     There are three components of a Brady violation: (l) the withheld evidence is favorable

              to the accused, either because it is exculpatory or because it is impeaching; (2) the evidence was

              suppressed by the government 'Willfully or inadvertently; and (3) prejudice resulted.    Strickl.er v.

              Greene, 527 U.S. 263 (1999). The government's duty to disclose evidence extends beyond

              material in the possession of the prosecution. The prosecutor has a duty to learn of any

              favorable evidence known to others acting on the government's behalf in the case, including

              police. Kyles v. Whitley, 514 U.S. at 437.

                     The petitioner need not show that after discounting inculpatory evidence in light of the

              undisclosed evidence, there would not be enough evidence to convict. The possibility of

              acquittal on a criminal charge does not imply an insufficient evidentiary basis for a conviction.

              The law makes it easier to obtain a new trial where the government engineered an unfair trial by


                                                               8




  (Page 375 of Total)
                                                           App 941
       USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024       Page 376 of 477
                  case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 9 of 17




          withholding material exculpatory to the accused. Conley v. United States, 415 F.3d 183, 188 (I st

          Cir. 2005), citing Kyles v. Whitley, 415 U.S. at 434-35.

                  The "reasonable probability" standard can be problematic, as noted by our circuit in

          United States v. Bowie, 198 F.3d 905, 908-09 (D.C. Cir. 1999):

                   "What is a •reasonable probability'? Probability is often expressed in terms of
                  percentages, with 100% representing certainty. We know, because the Supreme
                  Court has told us, that a •reasonable probability' can be less than 50.01%.
                  In other words, to reverse a conviction for a Brady violation, it does not have
                   to be more likely than not that the defendant would have been acquitted had the
                  evidence been disclosed. See Kyles, 514 U.S. at 434. We are also sure that
                  a 'reasonable probability' is somewhat greater than 1%. How much greater?
                  Enough, the Supreme Court says, to 'undermine confidence in the verdict,'
                  id. at 435, which may lead us in a circle: one cannot be confident of the
                  outcome when there is a 'reasonable' probability that it may be wrong, and
                  a 'reasonable' probability is one high enough to undermine confidence
                  in the outcome."

                  Another circuit explained it thusly: The "sufficient to undennine confidence in the

          outcome" formula means that reversal will be warranted even if there is less than an even chance

          that the withheld evidence would produce an acquittal. The petitioner is not required to show

          that a different outcome is certain with the presentation of the evidence. The value of the

          withheld evidence is evaluated in context of the entire record to determine materiality. Conley

           v. United States, 415 F.3d atl 88. Put another way, the petitioner need only show that the

           favorable evidence could reasonably be taken to put the whole case in such a different light as to

           undermine confidence in the verdict. United Stales v. Jernigan, 492 F.3d 1050. 1054 (9tli Cir.

           2007) (en bane), citing Kyles v. Whitley, 514 U.S. at 435.

                  Once the court finds a Brady violation, meaning that non-disclosure of the evidence is so

           serious that there is a reasonable probability that the suppressed evidence would have produced a



                                                            9



(Page 376 of Total)
                                                      App 942
       USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024        Page 377 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 10 of 17




          different result, the court must grant a new trial. Strickler v. Greene, 527 U.S. 263,281 (1999);

          In re Sealed Case, 285 F.3d 887,892 (D.C. Cir.1999).

                  In the instant case, the only direct evidence linking Martin to the murder of Anthony

          Fortune came from a witness named Charlene Wilson. Ms. Wilson claimed to be an eyewitness

          to the shooting, that Sam Carson shot Fortune and that Martin drove Carson from the scene of the

          murder. Very late in the trial, well after Wilson testified, the defense stumbled on withheld

          Brady material, in the form of the notes of a police officer who had interviewed Wilson right

          after the shooting. To that officer, Wilson said she heard about the murder later but was not

          actually present at the scene. The police officer attempted to explain Wilson's contradictory

          statements by saying that he created a false report to shield Wilson's identity. In addition to

          Wilson's contradictory versions of events, the government called several informants who

          claimed that Martin confessed to shooting Fortune, that Carson con.fessed to shooting Fortune,

          and that one goaded the other to do the deed.

                  In Steven Thomas' statement, we have an unrelated eyewi.1ness who exonerates Martin a.,;;

          the shooter and who identifies the perpetrator in a way that eliminates Carson as the shooter.

          The evidence is clearly material, applying the case law developed by the Supreme Court and by

           our circuit. According to Thomas, his evidence was made known to the police on the night of

           the Fortune murder. The evidence was therefore in the government's possession as early as the

           night of the shooting. The evidence was never made available to the defense. Because the

           evidence was withheld, Martin was precluded from calling a witness who would have testified

           that he and Carson were innocent of the shooting. The evidence creates a reasonable

           probability, a probability sufficient to undermine confidence in the verdict, that a different result


                                                             10



(Page 377 of Total)
                                                        App 943
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024        Page 378 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 11 of 17




          would have obtained at trial had the evidence been available. The government used the Anthony

          Fortune shooting as evidence of Martin's participation in the marijuana conspiracy and the RICO

          conspiracy. Had evidence of Martin's innocence of the Fortune shooting been available to the

          jury, the result of the entire proceedings, not just the cowit involving Fortune, would have been

          different. Martin is entitled to a new trial.

                  II.     THE GOVERNMENT IMPEDED THE PRESENTATION OF
                          MARTIN'S DEFENSE ON THE CHARGE OF SHOOTING
                          JAMES COULTER

                  The government violated Martin's right to Due Process oflaw when it impeded his

          counsel from procuring the testimony of James Coulter at the trial of this case. Defense counsel

          could not locate Coulter to subpoena him to trial, and petitioned the trial court for assistance in

          securing his presence. The government claimed to have no knowledge ofCoulter's

          whereabouts. The government even suggested to the trial court that Coulter was deceased. On

           information and belief, around the time the government was making these representations to the

          court and counsel, Coulter was the subject of a prosecution by the United States Attorney's

           Office, and a federal Grand Jwy investigation into narcotics trafficking. He was indicted for

           narcotics traffic.king and arrested on February 13, 2002, six months after verdicts in the case.

          See, United States v. James C. Coulter, 02-mj-00104~AK, consolidated -with Criminal Number

           02-074. According to the docket sheet in 02-mj~00104-AK, the government sought detention

           after Coulter's arrest on February 13, to ..pennit revocation of conditional release, deportation or

           exclusion."    Since there is no evidence that Coulter is an alien, in his case the revocation would

           have been based on the fact that he was on conditional release. The government would

           necessarily have kno'Nil of the case in which he was on conditional release, since the government


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(Page 378 of Total)
                                                          App 944
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024        Page 379 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 12 of 17




          would be the prosecuting authority in that case. 2

                  Because the representations of the government at the trial of the instant case that it lacked

          knowledge of Coulter's whereabouts, and that he could be deceased, were false, and because the

          government's conduct prevented petitioner from securing Coulter's testimony at trial, the

          govern-ment violated petitioner's Due Process rights. Prosecutorial misconduct is a ground for

          relief under 28 U.S.C. section 2255 if it violates the accused's right to Due Process oflaw.

          Rafael Moreno-Morales v. United States, 334 F.3d 140, 148 (1 st Cir. 2003).

                  Coulter gave petitioner's counsel a signed, witnessed statement that Martin did not shoot

          him. Based upon that statement, Martin would have called Coulter to testify in his defense if he

          could have located him and placed him under subpoena, or if he was incarcerated, petitioned the

          court for a writ of habeas corpus ad testificandum. The government's conduct prevented Martin

          from presenting exculpatory evidence. If that evidence had been available, it is unlikely the jury

          would have convicted Martin of the four counts in the indictment related to Coulter. As with the

          Anthony Fortune shooting, the government used the Coulter shooting as evidence of Martin's

          participation in the marijuana conspiracy and the RICO conspiracy. Had evidence of Martin's

           innocence of the Coulter shooting been available to the jury) the result of the entire proceedings

          would have been different. Martin is entitled to a new trial as a result of the government's

           conduct which deprived him of Due Process of law.

                                                    CONCLUSION

                  For all the above reasons, and any others that may appear to the court at a hearing on this

                  2 A check of PACER reveals that the criminal case with which the magistrate case was

           consolidated is not available for public inspection. Petitioner will seek discovery, including an
           Order from this court unsea1ing the court records to permit the full development of this claim.


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(Page 379 of Total)
                                                       App 945
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024       Page 380 of 477
                 Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 13 of 17




          Motion, petitioner respectfully requests, pursuant to 28 U.S.C. section 2255, that the court

          vacate, set aside or correct bis sentence and grant him a new trial.



                                                        Respectfully submitted,




                                                      kh~
                                                         Federal Register Number 18894-083
                                                         USP Hazelton
                                                        PO Box 2000
                                                         Bruceton Mills, WV 26525


                                           CERTIFICATE OF SERVICE

                         I, Jerome Martin, appearing prose in the instant case, DO HEREBY CERTIFY

          that I have this day served a copy of the foregoing Motion to Vacate, Set Aside or Correct

           Sentence Pursuant to 28 U.S.C. section 2255, by depositing a copy in the United States Mail,

           postage prepaid, addressed to Jeffrey Taylor, United States Attorney, 555 4th Street, NW,

           Washington, DC 20530, this the - day of February, 2008.




                                                            13



(Page 380 of Total)
                                                      App 946
       USCA Case #21-3072               Document #2077668                 Filed: 10/01/2024       Page 381 of 477
                    Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 14 of 17




                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA

          UNITED STATES OF AMERICA,                               )
                                                                  )
                                           Plaintiff,             )
                                                                  )      Crim. No. 98-329 (TPJ)
                    v.                                            )
                                                                  )
          JEROME MARTIN,                                  )
                                                                  }
                                           Defendant              )


                                                        AFFIDAVIT

                    I, George Steel, do hereby aver and say, upon penalty of perjury, that:

                 1. My name is George Steel. I reside in Frederick, Maryland. 1 am a private investigator
          and I work in the District of Columhia on cases where I am retained hy the parties and on cases
          where l am appointed by the courts.

                2. £ am a former detective with the Metropolitan Police Department of the District of
          Columbia.

                3. I was retained to conduct a post-conviction investigation in the case of United States v.
          Jerome Martin.

                4. In the course of my investigation, I interviewed Steven Thomas, who resides in
          Maryland.

                    5. Mr. Thomas advised me of the following:

                    a. He knows Jerome Martin and knew Anthony Fortune.

                 b. In August 1991, he was present on 58 th Street in Washington, D.C. when Anthony
          Fortune was shot and killed.

                  c. He saw the person who shot Anthony Fortune. He knows Jerome Martin and knows
          that Jerome Martin was not the person who shot Fortune.

                    d. The person who shot Fortune was very dark"complected, stocky and taller than Jerome
          Martin.

                    e. On the evening of the Fortune shooting, police officers interviewed him as an




(Page 381 of Total)
                                                          App 947
       USCA Case #21-3072             Document #2077668                Filed: 10/01/2024        Page 382 of 477
                 Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 15 of 17




          eyewitness to the shooting. He described the shooter to the officers and gave them the same
          information about the shooter that he gave to me. He was never called by the government to
          testify about Fortune's killing.

                  I swear upon penalty of perjury that the foregoing information is true and accurate to the
          best of my knowledge.
                                --Ft
                 This the J   f day of February, 2008.

                                                               George Steel ~




(Page 382 of Total)
                                                         App 948
        USCA Case #21-3072       Document #2077668       Filed: 10/01/2024  Page 383 of 477
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                                                                                                CLOSED

                                            U.S. District Court
                                 District of Columbia (Washington, DC)
                           CRIMINAL DOCKET FOR CASE#: l:02-mj-00104-AK-l


 Case title: USA v. COULTER                                            Date Filed: 02/14/2002

 Assigned to: Magistrate Judge Alan Kay

  P~t:.t:ndant (1)
 JAMES CHRISTOPHER COULTER
  TERMINATED: 02114/2002

  Pegding Counts                                  Disposition
 None

  1-lig_hest Qff~11:i~L~y~lLQ~Qjng)
  None

  ferminated Counts                               Dis..Q9sition
  None

  Bi1;the~t Qfff,!OS~ .L.~ve_UJ.~r..m.m_a,t~.d}
  None

  Complaints                                      P.~$.1!.QSi_tiop
  Complaint filed in violation of2 l :841(a)(l)



  Plaintiff
  UNITED STATES OF AMERICA


      Date Filed           #       Docket Text
      02/13/2002                   DEFENDANT JAMES CHR1STOPHER COULTER arrested. (jdc) (Entered:
                                   02/15/2002)
      02/14/2002               1 MAGISTRATE COMPLAINT and Affidavit filed against JAMES CHRISTOPHER
                                 COULTER in violation of2 t :841(a)(l ). (jdc) (Entered: 02/l 5/2002)
      02/14/2002                   PDID AND DATE OF BIRTH for JAMES CHRISTOPHER COULTER : PDID #:
  f                                386-197 DOB: l/10/69 Gdc) (Entered: 02/15/2002)

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(Page 383 of Total)
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              of Columbia  #21-3072
                              database    Document #2077668              Filed: 10/01/2024 Page 384Page
                                                                                                    of 477
                                                                                                        2 of 2
                       Case 1 ·98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 17 of 17
      02/14/2002                  Prison Registration Number for JAMES CHRISTOPHER COULTER : Reg.#:
                                  24717-016. (jdc) (Entered: 02/15/2002)
      ·1'2/14/2002                   lNJTIAL APPEARANCE on magis complaint for JAMES CHRISTOPHER
                                     COULTER held before Magistrate Judge Alan Kay : Attorney appearance for
                                     JAMES CHRISTOPHER COULTER by Tony Ax.am. Detention hearing set for 9:30
                                     2/15/02 for JAMES CHRISTOPHER COULTER ., Defendant
                                     committed/commitment issued. Pro-typist. Inc.: Tape & Lines: Courtroom 7) (jdc)
                                     (Entered: 02/15/2002)
      02/14/2002                     DEFENDANT(S) JAMES CHRISTOPHER COULTER ordered held without bond
                                     by Magistrate Judge Alan Kay . Ude) (Entered: 02/15/2002)
      02/14/2002             2       ORDER by Magistrate Judge Alan Kay as to JAMES CHRJSTOPHER COULTER :
                                     of temporary detention pending hearing pursuant to Bail Reform Act (N) Ude)
                                     (Entered: 02/15/2002)
      02/14/2002             3       ORDER by Magistrate Judge Alan Kay as to JAMES CHRISTOPHER COUI, TER :
                                     of temporary detention to permit revocation of conditional release, deportation or
                                     exclusion (N) (jdc) (Entered: 02/15/2002)
      02/14/2002                     Magistrate case closed as to JAMES CHRISTOPHER COULTER. Merged into
                                     criminal case no. 02-074. (erd) (Entered: 02/19/2002)
      02/15/2002                     DETENTION HEARING before Magistrate Judge Alan Kay as to JAMES
                                     CHRISTOPHER COULTER : Bond set to HWOB. Criminal indictment has been
                                     filed against the defendant and assigned to Judge Robertson. Defendant
                                     committed/commitment issued. Court Reporter: Courtroom 7 (jdc) (Entered:
                                     02/15/2002)
      02/15/2002             4       ORDER by Magistrate Judge Alan Kay as to JAMES CHRISTOPHER COULTER :
                                     committing defendant to the custody of the U.S. Attorney General. (N) (jdc)
                                     (Entered: 02/15/2002)



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 (Page 384 of Total)
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       USCA Case #21-3072            Document #2077668                Filed: 10/01/2024                   Page 385 of 477
                 Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 1 of 17

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          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
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                                                                              I'--•-    --   •   ,   ••      ._,J


         UNITED STATES OF AMERICA

         v.                                                      Cr. No. 98-CR-00329-4

         WILLIAM SWEENEY


                       MOTION TO VACATE, SET ASIDE OR CORRECT SENTENCE

                                          PURSUANT TO 18 USC §2255

                 Mr. William Sweeney, by and through undersigned counsel, respectfully moves this

         Honorable Court for relief from the sentence in this case imposed in violation of the Constitution

         and laws of the United States.

                 In support of this motion, counsel states:

                 1.      This motion is based upon all files, records and proceedings in this case, as well

         as activity and inactivity outside of the record, and any such other materials as may be

         subsequently submitted.

                 2.      On September 18, 1998, Mr. Sweeney and codefendants were charged by

          indictment with conspiracy to possess with intent to distribute and distribution of controlled

          substances, conspiracy to participate in the affairs of a racketeer influenced and corrupt

          organization ("RICO") and various substantial counts.

                 2.      On March 25, 1999, Mr. Sweeney was charged by the superceding indictment.

                  3.     Mr. Sweeney went to trial with Vincent Hill, Jerome Martin, Sean Coates, Samual

          Carson and Gary Price.

                  The defendants were charged with a large-scale narcotics and RICO conspiracy. In

          furtherance of the conspiracy, Mr. Sweeney was alleged to have engaged in multiple acts of

          violence; there was no evidence presented at trial that he participated directly in narcotics


                                                          • I-
(Page 385 of Total)
                                                      App 951
       USCA Case #21-3072    Document #2077668     Filed: 10/01/2024   Page 386 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 2 of 17



         distributions. By way of an overview, it was the prosecution's theory that Mr. Sweeney and the

         other defendants were lifelong friends who grew up during the 1980s in the Greenleaf Gardens

         neighborhood in southwest Washington. As they entered their teenage years they began selling

         drugs. By the early 1990s, the Government claimed, most of them were selling substantial

         quantities of marijuana, along with less significant quantities of other drugs. Most of the sales

         were made on the 200 block of K Street, SW, and on the comer of Delaware Avenue and K

          Street, SW. The Government charged that the defendants ran these locations as cooperative.

          markets in which they rotated serving marijuana to customers driving into the area from the D.C.

          Metro area. The prosecution depicted Vincent Hill as the leader of this "crew,'' and Mr.

          Sweeney as one of its members.

                 The Government also asserted that :t:vfr. Sweeney, along with other defendants, engaged in

          ventures other than drug dealing, both for purposes of self-enrichment and protection. For

          example, through the testimony of infom1ants and cooperating insiders, evidence was presented

          that the defendants sometimes committed kidnappings to fund weapons, drugs or living

          expenses. Witnesses testified that Mr. Sweeney and others were responsible for a number of acts

          of violence, some planned and others spontaneous.

                  On August l 5, 2001, a jury found M.r. Sweeney guilty of conspiracy to possess with

          intent to distribute and distribution of controlled substances' (count 1rrs), conspiracy to

          participate in the affairs of a racketeer influenced and corrupt organization ("R.ICO'')2 (count


          1 Counsel would note that there was no evidence of any drug selling by Mr. Sweeney at trial is
          this matter but Mr. Sweeney's participation in the conspiracy was by way of other alleged crimes
          of violence.
          2 Again there was no evidence presented of any drug dealing by Mr. Sweeney but instead, other
          activities that "contributed" to the conspiracy. In addition to the substantive counts charged,
          which were incorporated as overt acts of Counts 1 and 2, Mr. Sweeney was also charged with
          other conspiracies to murder individuals and another murder, which was unproven as an overt act
          and he was found not guilty. See Verdict Fonn, Docket Entry 810.

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(Page 386 of Total)
                                                      App 952
       USCA Case #21-3072    Document #2077668     Filed: 10/01/2024   Page 387 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 3 of 17



          2rrs), attempted murder of Anthony Pryor in aid of racketeering (count l 1rrs), first degree

          murder while armed of Donnell Whitfield (count 15rrs), murder of Donnell \'Vhitfield in aid of

          racketeering (count 16rrs), murder of Alonzo Gaskins in aid of racketeering (count 25rrs),

          murder of Darnell Mack in aid of racketeering (colnlt 26rrs ), murder of Melody Anderson in aid

          of racketeering (count 27rrs), use of firearm during and in relation to attempted murder of

          Anthony Pryor (count 28rrs ), use of firearm during and in relation to murder of Donnell

          Whitfield (count 30rrs), use of firearm during and in relation to murder of Alonzo Gaskins (count

          35rrs), use of firearm during and in relation to murder of Darnell Mack (count 36rrs), and use of

          firearm during and in relation to murder of Melody Anderson (count 37rrs), and possession of a

          firearm during a crime of violence (murder of Donnell Whitfield (count 41 rrs).

                 4.      On February 5, 2002, the Court sentenced Mr. Sweeney as follows:

                         (A)     As to counts lrrs, 2rrs , 16rrs , 25rrs , 26rrs , 27rrs: Mr. Sweeney was

                 sentenced to life imprisonment on each of counts lrrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs;

                  sentences to run concurrently to each other. A supervised release period of 5 years is

                  imposed on each count and is to run concurrently by the counts and concurrently to count

                  11 rrs. A Fine of $500,000.00 is imposed on count l rrs and is due immediately. It shall be

                  paid through the U.S. Bureau of Prisons Inmate Financial Responsibility Program. A

                  special assessment of $100.00 is imposed on each count and is due immediately.

                          (B)    Count 1lrrs: the deft. is sentenced to 20 years incarceratio~ to run

                  concurrently with all other counts; followed by a 3 year period of supervised release, to

                  run concurrently with all other counts. A special assessment of$100.00 is imposed and is

                  due immediately.

                          (C)     Count 28.rrs: the deft. is sentenced to 5 years incarceration, to run




(Page 387 of Total)
                                                      App 953
       USCA Case #21-3072    Document #2077668      Filed: 10/01/2024  Page 388 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 4 of 17



                 consecutively to all other counts; followed by 5 years supervised release, to run

                 concurrently with all other counts. A special assessment of $100.00 is imposed and is due

                 immediately.

                         (D)     Counts 30rrs, 35rrs, 36rrs, and 37rrs: the deft. is sentenced to 20 years

                 incarceration on each of counts 30rrs, 35rrs, 36rrs and 37rrs; to run consecutively to each

                 other and to all other counts. A five year period of supervised release is imposed on each

                 count, to run concurrently with all other counts. A special assessment of $100.00 is

                 imposed on each coW1t and is due immediately.

                         (E)     On that date, the oral motion of government to vacate counts l 5rrs and

                 41 rrs was granted (Count 15rrs merges with count 16rrs and cooot 41 rrs merges with

                 count 30rrs).

                 5.      The United States Court of Appeals for the District of Columbia Circuit affirmed

          Mr. Sweeney's convictions. United States v. Carson et al, 372 U.S. App. D.C. 251; 455 F.3d

          336 (D.C. Cir. July 21, 2006),petitionfor rehearing and rehearing en bane.denied, 2006 U.S.

          App. LEXIS 26335 (D.C. Cir., Oct. 23, 2006).

                 6.      On February 20, 2007, the Supreme Court denied Mr. Sweeney's petition for writ

          of certiorari. Carson et al v. United States, 127 S. Ct. 1351 (Feb. 20, 2007).

                 7.      This petition is timely filed because it is filed within one year of the date that the

          Supreme Court denied Mr. Sweeney's petition for writ of certiorari.

                  8.     There have been no previous post~conviction petitions, applications, motions, or

          proceedings filed or maintained by Mr. Sweeney in this or any other federal court with respect to

          the judgment entered in this case.

                  9.     Section 2255 of Title 28 permits a prisoner in custody under sentence of a federal



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(Page 388 of Total)
                                                      App 954
       USCA Case #21-3072    Document #2077668     Filed: 10/01/2024   Page 389 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 5 of 17



         court to move the court to vacate, set aside or correct an erroneous sentence. The Supreme Court

         has read the statute to provide four grounds on which relief may be claimed: ( l) the sentence

         was imposed in violation of the Constitution or the laws of the United States; (2) the court was

         without jurisdiction to impose such a sentence; (3) the sentence was in excess of the maximum

         authorized by law; or (4) the sentence is "otherwise subject to collateral attack." Hill v. United

         States, 368 U.S. 424,428 (1962).

                  l 0.   Mr. Sweeney submits that his convictions in this matter were imposed in violation

          of his right to counsel and right to effective assistance of counsel, both on the trial and appellate

          levels. The cause of action for ineffective assistance of counsel is based on the Sixth

          Amendment right to counsel, which exists "in order to protect the fundamental right to a fair

          trial." Lockhart v. Fretv.,ell, 506 U.S. 364 (1993 ). In Strickland v. Washington, 466 U.S. 668

          (1984), the United States Supreme Court established a two"part test to determine whether a

          defendant was denied effective assistance of counsel. Under Strickland, the defendant must

          show that (a) counsel's performance was so deficient that it fell below an objective standard of

          reasonableness, and (b) counsel's perfonnance prejudiced defendant to such an extent that the

          result of the proceeding was unreliable. Id. at 669. With respect to the "deficient performance"

          prong, the court must examine the entire proceedings and detennine ''whether, in light of all the

          circumstances, the [conduct of defe.ndant' s trial counsel was] outside the v.-ide range of

          professionally competent assistance." Kimme/man v. Morrison, 477 U.S. 365, 386 ( 1986)

          (quoting Strickland, 466 U.S. at 690). Strickland specifies that an unreliable result means 0 that

          there is a reasonable probability that, but for counsel's unprofessional errors, the result of the

          proceedings would have been different. A reasonable probability is a probability sufficient to

          undermine confidence in the outcome." Id. at 694. The defendant must show that counsel's



                                                            . 5.
(Page 389 of Total)
                                                       App 955
       USCA Case #21-3072    Document #2077668     Filed: 10/01/2024   Page 390 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 6 of 17



          performance fell below an objective standard of reasonableness wider the prevailing professional

          norms. Id. at 688. In order to obtain relie±: the defendant must make both showings. Id.

          However, "a defendant need not show that cowisel's deficient conduct more likely than not

          altered the outcome of the case;" rather, "the defendant must show that there is a reasonable

          probability that, but for counsel's unprofessional errors, the results of the proceeding would have

          been different." Id. at 693. "Reasonable probability" is a probability sufficient to undermine

          confidence in the outcome. Id. Appellate counsel has an obligation to raise all cognizable issues

          on appeal. Smith v. Murray, 477 U.S. 527 (1986); Evitts v. Lucey, 469 U.S. 387 (1985).

                 In failing to properly investigate this case, and in failing to call necessary witnesses at

          trial and to produce documentary evidence at trial, counsel rendered ineffective assistance of

          counsel as defined in Strickland v. Washington, 466 U.S. 668 (1984). Under the standards set

          forth in Strickland, counsel is obligated to conduct pretrial investigation, including locating and

          interviewing potential defense witnesses, and subpoenaing favorable witnesses to testify at trial.

          Williams v. Washington, 59 F.3d 673 (7th Cir. 1995); Sanders v. Ratelle, 21 F.3d 1446 (9th Cir.

          1994); Bryan v. Scott, 28 F.3d 1411 (5th Cir. 1994); Chambers v. Armontrout, 907 F.2d 8225

          (8th Cir. 1990); United States v. Gray, 878 F.2d 720 (3d Cir. 1989); Tosh v. Lockhart, 879 F.2d

          412 (8th Cir. 1989); Code v. Montgomery, 799 F.2d 1481 (11th Cir. 1986); Thomas v. Lockhart,

          738 F.3d 304 (8th Cir. 1984). Th.is rule applies to expert as well as lay witnesses. United States v.

          Tarricone, 996 F.2d 1414 (2d Cir. 1993). Counsel has a similar obligation to investigate

          evidence that might favor the defense. Foster v. Lockhart, 9 F.3d 722 (8th Cir. 1993); Sims v.

          Livesay, 970 F.2d 1575 (6th Cir. 1992).

                  Mr. Sweeney's counsel's performance at trial was deficient because he failed to

          adequately prepare for trial, failed to adequately interview and prepare witnesses for testimony,



                                                       -·- -6- ___ _
(Page 390 of Total)
                                                      App 956
       USCA Case #21-3072    Document #2077668     Filed: 10/01/2024   Page 391 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 7 of 17



          failed to adequately represent Mr. Sweeney at trial and preserve issues for appeal. His same

          counsel's performance in handling his appeal was deficient because he failed to raise issues and

          raise issues in an appropriate manner on appeal. Mr. Sweeney is entitled to relief because his

          convictions were obtained in violation of his Sixth Amendment right to counsel and to effective

          assistance of counsel when:

                         (A) Trial counsel failed call Dr. Jonathan Pincus, a neurologist who examined

                 Mr. Sweeney, to describe Mr. Sweeney's Tourette Syndrome and to refute the witness's

                 testimony that he displayed no symptoms during violent acts and to rebut the importance

                 of witnesses' testimony and the jurors view of Mr. Sweeney and his symptoms in 2001.

                 as his symptoms would be less in court than during stressful events and less severe in

                 2001 as compared to five to ten years earlier. While defense counsel crossed almost

                 every eyewitness on the barking/ tics that Mr. Sweeney exhibited when they knew him

                 or during an alleged incident, other than the defense testimony of Anthony Pryor and

                 Shaheem Johnson, two career criminals, there was no context for this evidence and Mr.

                  Kiersh provided the jury with no explanation for any differences between the witnesses'

                  testimony as well as no explanation for what the jurors saw and heard from Mr. Sweeney

                  during the trial as compared with the eyewitness testimony that one would hear the barks

                  and throat clearing every few minutes or so. Dr. Pincus was announced as a potential

                  witness to the jury and discussed nwnerous times as a potential witness during the

                  defense case but was not called.

                          (B)    Trial counsel failed to call an alibi witness for the Donnell Whitfield

                  (September 24, 1994) murder, Anthea Henry, who was announced as a potential witness

                  to the jury but declined to be called during the defense case. Courts have found that a



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(Page 391 of Total)
                                                     App 957
       USCA Case #21-3072            Document #2077668              Filed: 10/01/2024         Page 392 of 477
                Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 8 of 17



                lawyer's failure to investigate potential defense witnesses, as here, combined with the

                showing of the specific necessity of the importance of the witness' testimony rendered

                coW1sel' s strategic choice unreasonable and therefore counsel's perfonnance deficient.

                See, e.g., Garcia v. Portuondo, 466 F. Supp. 2d 488 (S.D.N.Y. Dec. 21, 2006)(counsel

                ineffective in second-degree murder case for failing to adequately investigate and present

                alibi evidence); Sanders v. Ratelle, 21 F.3d 1446, 1457-58 (9th Cir. 1994); Chambers v.

                Armantrout, 907 F.2d 825 (8th Cir. 1990), cert. denied, 111 S. Ct. 369 ( 1990); Tosh v

                Lockhart, 879 F.2d 412 (8 th Cir. 1989); Code v. Montgomery, 799 F.2d 1481, 1483 (11th

                Cir. 1986); Gomez v. Beto, 462 F.2d 596, 596-97 (5th Cir. 1972).

                       (C)     Failure to Recall Witnesses after Brady materials were disclosed late

                               (i)     Trial counsel failed to recall Reginald Switzer after the late

                       disclosure of Brady materials. The defense theory at trial was that Reginald

                       Switzer had killed Donnell Whitfield aka Robocop in retaliation for having been

                       shot by Whitfield and George Seabrooks in 1989 or 1990 (5/23PM Tr. 4). Indeed,

                        Switzer testified that he had killed Seabrooks in retaliation for the shooting and

                        that he had staked out Whitfield's residence at least twice, while armed, but did

                        not take the opportunity to kill him (5/lSPM Tr. 7-8). Trial counsel cross-     .

                        examined Switzer about his motive to kill Whitfield and his attempts to do so

                        (5/l5PM Tr. 30-35) and also elicited that, when Sweeney had a conversation with

                        Switzer about Sweeney's altercation \\,jth Whitfield at a nightclub, Switzer told

                        Sweeney not to kill Whitfield because Switzer wanted to kill Whitfield (5/1 SPM

                        Tr. 40). When Montgomery was recalled after Swhzer, he then testified that

                        before Whitfield's murder, Switzer had told him about Switzer's desire to "get"



                                                         • 8-
(Page 392 of Total)
                                                    App 958
       USCA Case #21-3072              Document #2077668             Filed: 10/01/2024       Page 393 of 477
                Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 9 of 17



                      Whitfield (5/23.AM Tr. 53) and that Montgomery and Switzer were in a car

                      together at the time of this conversation, and they drove past the building where

                      Whitfield was hustling (id.) When they did so, Montgomery claimed that he

                      offered to "go up there and blast [Whitfield's] ass right now," but that Switzer said

                      he did not have a gun with him (5/23.AM Tr. 54). Montgomery further testified

                      that he later told Carson that Switzer wanted him to kiil Whitfield for Switzer, and

                      Carson advised him not to do it because Switzer should handle it himself (id.).

                      After a recess, but before cross-examination of Montgomery had begun,

                      Sweeney's counsel moved the court to sanction the government for failing to

                      disclose that "Mr. Montgomery had cooperated with Mr. Switzer in planning to

                      kill Robocop, aka Donnell Whitfield" (5/23PM Tr. 3). Counsel declined the

                      opportunity to recall Switzer and engage in this cross~exarnination. 5/23PM Tr.5.

                      Counsel should have recalled Switzer to cross him on this subject, both to

                      preserve the issue and to further impeach the individual the defense was accusing

                      of the crime.

                                (ii)     Similarly, trial counsel should have recalled Charlene Wilson to

                      impeach her statement made to Detective Warrener that she had merely heard

                      about the murder ofrather than she had actually seen the murder. (5/14PM Tr.

                      55-56).

                                (iii)    Finally, trial counsel should have recalled cooperating witness

                      Ronald Sowells. When testifying, Ronald Sowells described an incident where

                      two guys were squeezing people's marijuana bags and then said that they said that

                      they did not want to buy it; he said Sean Coates aka Chin asked for a gun, Sowells



                                                          -9-
(Page 393 of Total)
                                                     App 959
       USCA Case #21-3072     Document #2077668      Filed: 10/01/2024 Page 394 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 10 of 17



                       gave him one, Chin chased the guy down, the guy fell and William Bumbrey ran

                       over and shot him. (4/17/01 pm 47-49) After Sowel1s' testimony, the complainant

                       Roland Brown gave a very different version of events (4/24/01 am 41 A 2) . Trial

                       counsel failed to recall Ronald Sowells to challenge his version of the events.

                       (D)     Trial counsel failed to impeach James Montgomery with prior inconsistent

                statements made to a defense investigator as well as cross examine him regarding

                additional bias material.

                        (E)    Trial counsel failed to provide the trial cowt with any authority for cross

                examination of John Venable about his arrest for criminal charges that were dismissed

                during the time between the alleged crime and his testimony at trial as well as the fact

                that he perfectly matched the description of the person who murdered Morris Hallman,

                which lead to a search warrant authorizing police to search his house, and locating the

                gun and ammunition.         Eg., United States v. Anderson, 881 F.2d 1128 (D.C. Cir 1989)

                ("district court's denial of cross"examination of a prosecution witness regarding an

                unrelated murder indictment against her, dismissed without prejudice eleven months

                before trial, violated appellants' confrontation rights Wlder the Sixth Amendment. ... for

                the jury might reasonably have found that the government's ability to reinstate the murder

                 charge furnished the witness with a motive for favoring the prosecution in her

                 testimony"); Delaware v. Van Arsdall, 475 U.S. 673,680 (1986); Davis v. Alaska, 415

                 U.S. 308, 316· 17,318 (1974); Alford v. United States, 282 U.S. 687 (1931).

                        (F)     Failure to request admission of evidence - admission of party opponent

                 (pleading by USA re unreliability of James Montgomery), Grand Jury witnesses'

                 transcripts as well as Wesley Smith and Frederick Miller's testimony, even if



                                                           - IO -
(Page 394 of Total)
                                                       App 960
        USCA Case #21-3072           Document #2077668                 Filed: 10/01/2024       Page 395 of 477
                 Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 11 of 17



                 inadmissible under hearsay rules, given the introduction of this evidence implicated Mr.

                 Sweeney's right to present a defense. See Chambers v. Mississippi, 410 U.S. 284

                 ( I973)(holding that the exclusion, under state hearsay rules, of exculpatory testimony that

                 another party had committed the crime, which under the circumstances was likely to be

                 trustworthy and within the rationale of the exception for declarations against penal

                 interest denied him a trial in accord with fundamental standards of due process).

                         (G)     Failure to make a Massiah demand and litigate issues related to jailhouse

                 confessions allegedly made to including but not limited to Charles Bender, Donald

                  Nichols, Eugene Byars, Theodore Watson, Reginald Switzer, and Arthur Rice. See

                  Watson v United States, 2008 D.C. App. LEXIS 12 (January 28, 2008)(matter remanded

                  for hearing based on nondisclosure during trial by government regarding witness (the

                  same) Charles Bender) ; Massiah v. United States, 377 U.S. 201 (1964).

                         (H)     Failure to object to the ex parte communications between the Court and

                  juror #3 and subsequent failure to raise th.is issue properly on appeal. Counsel did not

                  object to not being present for voir dire of witness - although asked after the fact for voir

                  dire after excused. Based on these ex parte communications, Mr. Sweeney's deliberating

                  jury was reduced to l l. This was a critical point3 where Mr. Sweeney, by and through

                  counsel, had a right to be present and provide input into the process.

                          (I)     Failure to provide an opening statement at the beginning of the case.

                          (J)     Failure to corroborate jail records with court records which show the same

                  time period of detention, after government counsel crossed the business records custodian



           3 A defendant has the right to be informed of the substance of all communications from the

           jury and has a right to be heard before the court provides a response. See Rogers v. United States,
           422 U.S. 35 (1975) (right to be present under Fed. R. Crim. P.43); United States v. United States

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(Page 395 of Total)                                                                                          •
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                                                      App 961
       USCA Case #21-3072        Document #2077668      Filed: 10/01/2024  Page 396 of 477
                 Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 12 of 17



                 on the alleged unreliability of the records.

                         (K)     Failure to properly object and then appeal the court's ruling permitting

                 voluminous use of inadmissible and/or hearsay evidence to establish material facts

                 including, but not limited to (1) the testimony of Medical Examiner Jonathan Arden, who

                 testified as to autopsies he had not conducted, (2) the testimony of police officer

                 regarding fingerprint evidence he had not lifted, examine or compared \\11th the known

                 prints, (3) reputation evidence concerning alleged conspiracy member Wayne Perry, (4)

                  statements of Robert Smith aka Butchie to SA Vincent Lisi, and (5) the constant hearsay

                  testimony, material to the government's case and never proven by competent evidence,

                  that Lil Ty kill Dihru.

                  11.     In violation of Mr. Sweeney's right to effective assistance on appeal 4. appellate

          counsel failed to note sections of sealed matters for the Court to review and to cite authority for

          those requests, in contradiction of the Circuit's direct order (October 2, 2002), although such

          authority had been provided in the joint co-appellants' motion, so Mr. Sweeney's convictions in

          this matter were without judicial review of the undisclosed materials and also not providing a

          statement of facts. Counsel would note that without a statement of facts, the court of appeals

          cannot know the extent of prejudice and therefore can not ascribe levels of error5.



          Gypsum Co., 438 U.S. 422, 460 (1978) (discussing the "hazards of ex parte communications
          with a deliberating jury or any of its members'')
          4 See Cirilo-Munoz v. United States 404 F.3d 527 (1st Cir. 2005); United States v. Reinhart, 357

          F.3d 521 (5th Cir. 2004); United States v. Skurdal, 341 F.3d 921 (9th Cir. 2003); Brown v.
          United States, 167 F.3d 109 (2nd Cir. 1999); Jackson v. Leonardo, 162 F.3d 81 (2nd Cir. 1998);
          Roe v. Delo, I 60 F.3d 416 (8th Cir. I 998).
           5Toe Cowt of Appeals stated "[f}irst, the appellants object to discrete, allegedly biased rulings by
           the trial judge which ( 1) set the timing of disclosure of exculpatory material under Brady v.
           Maryland, 373 U.S. 83 (1963), and of witness statements to the government under the Jencks
           Act, 18 U.S.C. A§ 3500; (2) denied defense motions to strike jurors for cause; (3) overruled
           defense objections to hearsay and opinion testimony of government witnesses and excluded as

                                                           • 12 -
(Page 396 of Total)
                                                      App 962
       USCA Case #21-3072    Document #2077668      Filed: 10/01/2024  Page 397 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 13 of 17



                 Counsel incorporates by reference the requests made in the appellate motion and requests

          that this Court review the requested materials. In addition, due to the cumulative Brady errors,

          both non disclosure and late disclosure, as well as allegations of prosecutorial misconduct,

          counsel requests that this Court review in camera the materials sealed by the trial court.

                 12.     Mr. Sweeney is sentenced to consecutive sentences in violation of the Double

          Jeopardy Clause of the United States Constitution when counsel failed to object to and did not

          raise on appeal the consecutive sentences Mr. Sweeney received for using a fireann in relation to

          a crime of violence, Counts 35rrs, 36rrs, and 37rrs, namely the triple homicide. See Matthews v.

          United States, 892 A.2d 1100 (D.C. 2006); A1onroe v. United States, 600 A.2d 98 (DC 1991);

          Nixon v. United States, 730 A.2d 145, 153 (D.C. 1999)(holding that multiple PFCV convictions

          will merge, even if the predicate felony offenses do not merge, if they arise out of a defendant's

          uninterrupted possession of a single weapon during a single act of violence); United States v.

          Chalan, 812 F.2d 1302 (10 th Cir. l 987)(imposition of consecutive sentences for 2 violations of

          18 USCS § 924 violates Double Jeopardy Clause, since legislative history does not indicate that



          hearsay testimony of a defense witness; and (4) limited the scope of defense cross-examination.
          But "judicial rulings alone almost never constitute a valid basis for a bias or partiality motion."
          Liteky, 510 U.S. at 555 (citing United States v. Grinnell Corp., 384 U.S. 563,583 (1966)).
          "Almost invariably, they are proper grounds for appeal, not for recusal." Id. "In and of
          themselves (i.e., apart from surrounding comments or accompanying opinion), they ... can only
          in the rarest circumstances evidence the degree of favoritism or antagonism required when no
          extra-judicial source is involved." Id. The isolated unfavorable rulings the appellants cite in the
          course of a trial proceeding lasting some nine months do not constitute such "rare
          circumstances. 11 Nor does the fact that the judge may have ruled in favor of the government more
          often than he did in favor of the defense, as the appellants contend, by itself show bias. See
           Edmond, 52 F.3d at 1100 ("Appellants do not claim that a greater percentage of government
          requests than defense requests were granted, but even if that were the case such a disproportion
           would be insufficient by itself to establish bias." (citing United States v. Pisani, 773 F.2d 397,
          402 (2d Cir. 1985) ("[A] trial judge must rule on countless objections, and a simple numerical
           tally of those sustained and overruled, one which here favors the government, is not enough to
           establish that the scales of justice were tipped against a defendant.")). The record here does not
           show that the judge did so disproportionately or unjustifiably."

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(Page 397 of Total)
                                                      App 963
        USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024      Page 398 of 477
                  Case l:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 14 of 17



           Congress foresaw how court should determine number of crimes of violence that have occurred

           in single criminal transaction); Bruce v. United States, 471 A.2d 1005(D.C. 1984).

                     13.   Mr. Sweeney's convictions were imposed in violation of his right to counsel of

           choice and right to effective assistance of counsel, specifically by the Court refusing to appoint

           counsel (Kenneth Robinson) who had been retained for the triple homicide in Prince George's

           County (the center of the case against Mr. Sweeney) and later disqualifying defense counsel who

           was appointed with prior second counsel moved to withdrawal due to a career change. This

           egregious error was compounded by counsel's failure to immediately appeal, see United States v.

           Garcia, 517 F.2d 272 (5 th Cir. 1975) (citing Cohen v. Beneficial Industrial Loan Corp., 337 U.S.

           541 (1949)), or subsequently appeal the Court's pretrial denial of Mr. Sweeney's right to counsel

           - denial of Mr. Sweeney's Motion for Appointment of Counsel (Kenneth Robinson) and the

           November 13, 2000 order granting the government's motion to disqualify6 Leonard Long as

           counsel for Mr. Sweeney. The government had further exacerbated the problem when it moved

           to disqualify7 Leonard Long, a mere three weeks before trial, without justifiable reason and in

           interference with Mr. Sweeney's rights, based on a theory of conflict regarding Leonard Long's

            previous representation of Stephan Mason, who was a possible codefendant as an accessory after

            the fact for a murder (of Keith Johnson) Mr. Sweeney was not charged with in this case. This

            resulted in Mr. Sweeney proceeding to trial with one counsel, after the Court had found that his


            6Mr. Long was allegedly conflicted due to his prior representation ofStephon Mason. Both Mr.
            Sweeney and Mr. Mason would waive this potential conflict and since there was no actual
            conflict, the discharge of Mr. Long was based on a non issue. As such, this was error and in
            violation of Mr. Sweeney's Sixth Amendment rights. See Harling v. United States, 387 A.2d
            1101 (DC 1978)(holding that once an attorney is serving under a valid appointment by the court
            and an attomey~client relationship has been established, the court may not arbitrarily remove the
            attorney, over the objections of both the defendant and his counsel); see also English v. State,
            259 A.2d 822,826 (MD 1969); McKinnon v. State, 526 P.2d 18 (Alaska 1974); Smith v.
            Superior Court of Los Angeles County, 68 Cal.2d 547, 68 Cal.Rptr. I, 440 P.2d 65 (1968) (en
            bane).

   - -398
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(Page      of Total)
                                                               App 964
       USCA Case #21-3072    Document #2077668      Filed: 10/01/2024  Page 399 of 477
             Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 15 of 17



          matters necessitated two attorneys to stay appointed, even after the death penalty was taken out

          of the case. This then was compounded by the failure of counsel to request any remedial

          measure such as additional second counsel or a continuance.

                  14.     Mr. Sweeney's convictions were obtained in violation of his right to present a

          defense, secured by his rights under the Due Process Clause of the United States Constitution,

          when between counsel's ineffective attempts, the government's opposition, and the court's

          rulings, the testimony that exculpated Mr. Sweeney from both the Doru1.ell Whitfield murder,

          Glenn Jenkins murder (that he was acquitted of) and triple homicide was not admitted in the

          Court, namely, (1 )the sworn statements of Cheree Owens and John Pinkney in the Prince

          George's County Grand Jury implicating Dennis Green and his friends in the triple homicide, (2)

          the profcrred testimony of Wesley Smith, to whom Robert Smith aka Butchie confessed

          involvement in the triple homicide, and (3) the testimony of Frederick Miller, regarding Little

          Ty's confession to killing Glenn Jen.kins. Counsel compounded the problem by not raising this

          issue, the violation of Mr. Sweeney's constirutional right, on appeal.

                  15.     Mr. Sweeney has been denied his right to effective assistance of counsel, as great

          portions of the trial file and appellate file are unavailable to counsel appointed to investigate and

           litigate matters in this 18 USC § 2255 proceeding. While counsel does have some of the

           materials provided in discovery and during trial, most were not provided by previous counsel and

           cot.lllsel will therefore need leave of this Court to supplement with additional material as it

           becomes available (and likewise may withdrawal some claims after review of the now unknown

           materials are provided) but Mr. Sweeney is also prejudiced without possible remedy, as

           apparently defense work product has also been lost, which may irreparably hann Mr. Sweeney in

           attempting to litigate his ineffective claim and other post conviction matters in this case.



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(Page 399 of Total)
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                                                           App 965
         USCA Case #21-3072                 Document #2077668                   Filed: 10/01/2024    Page 400 of 477
                    Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08                        Page 16 of 17




                     16.     In reviewing the files and records that are currently available Counsel for Mr.

            Sweeney believes that the prosecutors engaged in deliberate misrepresentations and other

            prosecutorial misconduct, including but not limited to the nondisclosure and late disclosure of

            Brady infonnation and the use of perjured testimony, in violation of Mr. Sweeney's

            constitutional rights, but counsel needs further investigation as well as a complete set of

            discovery, Jencks, Brad/ and Giglio provided to trial counsel. Initially, counsel raises the

            following matters in this category:

                             (i)       Suppression of information impeaching James Montgomery's credibility~

                     noteably the basis for the government's admission of his unreliability in 1991 and its

                     subsequent assessment of his unreliability pertaining to the homicide of Paul Ridley

                     (information conveyed to and assessed by the government before Mr. Sweeney's trial) as

                     litigated in the United States v. Steven Dewitt. who was locked up for the murder of Paul

                     Ridley for a decade, when apparently the government had learned but did not believe

                     James Montgomery's information that Sam Carson had confessed the murder to him.

                             (ii)       Prosecutorial misconduct in obtaining testimony by any means necessary,

                     including but not limited to procuring Arthur Rice's testimony by misrepresentation and

                     bending of the procedural rules in his Rule 35 motion for reduction and the initial and

                     then two subsequent plea agreements with James Montgomery after he lied and violated

                     previous plea agreements. Mooney v Holohan 294 U.S. 103 (1935)(Govemment has an

                     obligation to the truth).

                              (iii)     procuring "jailhouse'' confessions in violation of Mr. Sweeney's Sixth


             8 Counsel speaks of materials disclosable under Brady v. Maryland, 373 U.S. 83 (1963) and
             subsequent caselaw, noteably, United States v. Agurs, 427 U.S. 971 (1976), United States v.
             Bagley, 473 U.S. 667 (1985); Strickler v. Greene, 527 U.S. 263, 119 S.Ct. 1936, 144 L.Ed.2d
             286 (1999).

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(Page 400-· -of-Total)
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                                                              App 966
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024       Page 401 of 477
                 Case 1:98-cr-00329-RCL Document 1017 Filed 02/19/08 Page 17 of 17



                 Amendment rights. See Massiah v. United States, 377 U.S. 201 (1964).

                 17.     Counsel also incorporates by reference the claims raised by co~defendants in their

          post conviction petitions related to trial and appellate counsel's ineffectiveness, based on actions

          and omissions, as due to the fact that in this group prosecution, actions and inactions by other

          counsel affected the case against and defense of Mr. Sweeney.

                  18.    Mr. Sweeney requests discovery and an evidentiary hearing on this motion and

          seeks leave to supplement the issues when discovery is received or provided access to transcripts

          currently unavailable to counsel.

                  WHEREFORE, for the foregoing reasons, both singularly and in the aggregate, for the

          reasons set forth in legal memorandum and exhibits and for such other reasons as may be

          subsequently submitted or may appear at a hearing in this matter, counsel and Mr. Sweeney ask

          that the Court grant this motion.

                                                         Respec




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(Page 401 of Total)                       -- . --- ----- -17- ---·- -----·- -·-

                                                      App 967
        USCA Case #21-3072                Document #2077668                Filed: 10/01/2024        Page 402 of 477
                        Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 1 of 17




    <:opiesto: Judge                 IN THE UNITED STATES DISTRICT COURT
              AUSA-SpaclalProcud+l'IIJ§ FOR THE DISTRICT OF COLUMBIA
              Oft.
            UNITED STATES OF AMERICA,                               )
                                                                    )
                                             Plaintiff,             )
                                                                    )      Crim. No. 98-329 (-fPJ) 7 T-1---/
                       V.                                           )
                                                                    )
            JEROME MARTIN,                                          }              fILEO
                                                                    )
                                             Defendant              )
                                                                              ,~Jene_, u.s. Gtstdcr and
                                                                                 Bankru:~•~cy CJurts
                              MOTION TO VACATE, SET ASIDE, CORRECT SENTENCE
                                     PURSUANT TO 28 U.S.C. SECTION 2255

                       For the reasons set forth below, defendant Jerome Martin respectfully requests that the

            court vacate, set aside or correct his sentence. 1bis motion is made pursuant to 28 U.S.C. section

             2255.

                                                            FACTS

             A.        Procedural History

                       On September 18, 1998, Jerome Martin was charged along with seveml co-defendants in

             a mu1ti•count indictment alleging a narcotics conspiracy, racketeering conspiracy, murder and

             other violent crimes, narcotics trafficking, and weapons offenses. A superseding indictment was

             filed on March 25, 2999. Trial began on November 15, 2000. A second retyped superseding

             indictment was filed on July 2, 200 l, containing all the counts that were submitted to the jury.

             In July and August, 2001, the jury returned guilty verdicts against all defendants. Jerome Martin

             was convicted of Count I, narcotics conspiracy, Count 2, RJCO conspiracy, Count 8, first-degree

             murder while armed of Anthony Fortune, Count 9, assaulting a police officer with a dangerous

             weapon, Count 17, assault with intent to kill while anned of James Coulter, Count 18, attempted




(Page 402 of Total)
                     App 968
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       USCA Case #21-3072              Document #2077668                 Filed: 10/01/2024         Page 403 of 477
                   Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 2 of 17




          murder of James Coulter in aid of racketeering, Count 31, use of firearm during and in relation to

          attempted murder of James Coulter, Count 42, possession of firearm during crime of violence

          against James Coulter, and Counts 49, 53, 55, 64, related to marijuana trafficking.

                  Martin wa,; sentenced under the then-existing mandatory determinate Federal guidelines

           system. Pursuant to that system the Probation Office calculated a sentencing guideline

           mandating life imprisonment and Martin was sentenced to that term.

                   On appeal, the United States Court of Appeals for the District of Columbia Circuit

           affirmed Martin's convictions. United States v. Carson, et al._. 372 U.S. App. D.C. 251,455

           F.3d 336 (2006).

                  The United States Supreme Court denied Martin's petition for writ of certiorari on

           February 20, 2007. Samuel Carson, et al. v. United States, Docket No. 06-9046.

                  B. The Government's Evidence 1

                  Martin and others were charged with a large-scale narcotics and RICO conspiracy. In

           furtherance of the conspiracy, Martin was alleged to have engaged in extensive narcotics

           trafficking and multiple acts of violence. By way of an overview, it was the prosecution's

           theory that Martin and the other defendants were lifelong friends who grew up during the l 980s

           in the Greenleaf Gardens neighborhood in southwest Washington. As they entered their teenage

           years they began selling drugs. By the early 1990s, the Government claimed, most of them were

           selling substantial quantities of marijuana, along with less significant quantities of other drugs.

           Most of the sales were made on the 200 block of K Street, SW, and on the comer of Delaware


                   1Only such evidence as is necessary for an understanding of the issues raised in this

           Motion is recited herein.


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(Page 403 of Total)
                                                        App 969
       USCA Case #21-3072             Document #2077668               Filed: 10/01/2024       Page 404 of 477
                   Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 3 of 17




          Avenue and K Street, SW. The Government charged that Martin and the other defendants ran

          these locations as cooperative markets in which they rotated serving marijuana to customers

          driving into the area from the D.C. Metro area. Toe prosecution depicted Vincent Hill as the

          leader of this "crew," and Martin as one of its members.

                  Government law enforcement witnesses testified to sales of marijuana by Martin in 1995

          and early 1996 in the 200 block ofK Street, SW, some of which were preserved on audio or

          videotapes. According to cooperating witnesses, Martin sold marijuana on K Street regularly

          during 1993 and 1994, and 1996 through 1998.

                  The Government also asserted that Martin and the other defendants engaged in ventures

          other than drug dealing, both for purposes of self-enrichment and protection. For example,

          through the testimony of informants and cooperating insiders, evidence was presented that

          Appellants sometimes committed kidnappings to fund weapons, drugs or living expenses.

          Witnesses testified that Martin and others were responsible for a number of acts of violence,

          some planned and others spontaneous. Martin, the other defendants, and their allies, in

          particular a group from 37th. St., SE, which Martin was said to have organized, engaged in

          frequent confrontations ("beefs") with competing factions. Several witnesses attested to fights,

          driveMby shootings, and occasional homicides between the K St. And 3 7m St. members, on the

          one hand, and groups operating out of Condon Terrace and L St., SW (these being gangs of drug

          dealers that frequently warred with Martin and the others over control of territory). Other

           witnesses recounted instances where persons who had disrespected members of the K St. Group,

           such as the so-called 58 th St. crew, were attacked.

                   Martin and the others were aJJeged to have resorted to force and violence where believed


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(Page 404 of Total)
                                                        App 970
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 405 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 4 of 17




          necessary to prevent rival drug dealers from operating in their territory. Sometimes this

          extended to acts intended to punish suppliers believed to have knowingly supplied inferior drugs

          or to have shortchanged some of them in transactions.

                  The Government claimed that Martin's marijuana selling in the 200 block ofK Street.

          SW was related to several acts of violence occurring on 37fh Street, S.E. and 58th Street, N.E., one

          of which was the killing of Anthony Fortune. Every Government witness who testified about

          the Fortune killing attributed it to a personal dispute between Martin and Fortune, and most

          attributed the dispute to Fortune trying to rob or actually robbing Martin at a craps game.

           Charlene Wilson, the only eyewitness to testify, said that Carson did the shooting, and that

           Martin drove Carson from the scene_ Some cooperating witnesses testified that Carson admitted

           shooting Fortune, while others claimed that Martin did so. They, too, variously ascribed a

           singular motive for the shooting: a dispute arising from a crap game.

                  According to the Government's evidence, the Fortune shooting triggered a dispute

           between Martin and the 58th Street group. In that dispute, the 58th Street group killed Curtis

           Buchmon in retaliation for Fortune's killing. Martin and Buchmon were very close, and after

           his killing, Martin, Carson and Montgomery allegedly went gunning for the 58th Street group.

           There was a shootout between them and the 58th Street group, during which the police arrived.

           Martin and his associates exchanged gunfire with the police. Edwards, Burton and Jones came

           into the 37th Street area in a car with tinted windows, and Martin assumed they were with the

           581h Street group. Concerned about a drive-by shooting. be gave Antonio Knight a gun, and

           Knight shot into the car, killing Edwards and wounding Burton and Jones.

                  Testimony was presented that accused Martin and the others of involvement in murders


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(Page 405 of Total)
                                                      App 971
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024        Page 406 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 5 of 17




          or shootings which supposedly were undertaken to track down or silence persons believed

          (correctly or otherwise) to be potential Government witnesses in prosecutions or grand jury

          investigations against members of the organization. One of the persons Martin was accused of

          shooting was James Coulter. According to the Government, in 1995, Vincent Hill complained

          to Martin and others that Coulter was "hot," and needed to be killed. On May 30, 1995, Coulter

          was shot. A cooperating witness was on the corner of Delaware and K Street when he heard Hill

          and Martin talking about Coulter's shooting. Hill told Martin that Martin should have used two

          guns, and asked why the gun jammed. Some time later, another cooperating witness overheard

          Martin talking with Coates and Carson about Coulter's shooting. Martin said that they were

          trying to say he had something to do with Coulter getting shot but they could not prove it because

          he had a mask on. Martin complained to another infonnant that he had tried to shoot Coulter at

          a crap game but his gun jammed.

                  After Martin was arrested for Coulter's shooting, he reportedly asked an informant to talk

          to Coulter and have Coulter give his investigator a statement about the shooting. The informant

           talked to Coulter twice at Martin's request; Coulter refused to give a statement, but said he was

           not going to come to court. Martin also asked the informant to contact a witness to the shooting,

           which the informant did. When neither man would give a statement, at Martin's request the

           informant showed Martin's uncle where Coulter and the eyewitness lived. Martin also asked an

           acquaintance who was in jail at the same time as Martin to contact the eyewitness and ask him to

           say that he did not know who shot Coulter, but that it was someone with a sweatshirt and a pistol

           at a crap game. Martin said that the eyewitness owed him a favor because his head was in the

           way when Martin shot Coulter, and if it was not for the witness, Coulter would be dead . Coulter


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(Page 406 of Total)
                                                      App 972
       USCA Case #21-3072            Document #2077668                Filed: 10/01/2024         Page 407 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 6 of 17




          gave a statement to a fonner attorney representing Martin that he did not see who shot him.

                  C. Constitutional Violations

                  L Withholding of Exculpatory Evidence

                  The centerpiece of the Government's case against Martin was not drug trafficking, but

          violence - the shooting of Fortune and the 5&th Street beef, and the shooting of Coulter as a

          potentia1 witness. Martin recently located a witness about whom he was unaware at the time of

          the trial of this case who was an eyewitness to the shooting of Anthony Fortune and who can

          testify under oath that the Government's twin theories that Martin shot Coulter himself, or that he

           had Carson do so, are wrong. The witness, Steven Thomas, knows that Martin did not shoot

           Fortune. He also describes Fortune's shooter as very dark complected, taller than Martin (whom

           he knows) and heavy set, which would eliminate Carson, who is light-complected, tall and thin,

           as the shooter. Equally importantly, Steven Thomas was interviewed by police on the very

           evening of the Fortune shooting, and he told them the description of the man he had seen doing

           the shooting. The police knew on the eve of the shooting that an eyewitness described the

           shooter as someone other than Martin or Carson. The defense was never provided Steven

           Thomas' name, address or the exculpatory information he gave police. The Affidavit of George

           Steel, the private investigator who interviewed Steven Thomas, is attached hereto as Exhibit A.

                  2. Impeding the Presentation of Martin's Defense

                  At the trial of this case, counsel for Jerome Martin sought to compel Coulter's attendance

           at the trial. Based upon the sworn statement Coulter gave a form.er attorney for Martin, Martin

           did not shoot Coulter. Counsel had a good-faith basis for believing that Coulter would

           exonerate Martin ifhe could be subpoenaed to testify at the trial. The Government represented


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(Page 407 of Total)
                                                      App 973
       USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024        Page 408 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 7 of 17




          that it did not know Coulter's whereabouts, or even if he was alive. at the time of the trial. The

          trial ended with verdicts in July and August, 200L Just a few months later, sometime before

          February, 2002, the Government indicted Coulter in a major narcotics conspiracy in this court.

          Coulter was arrested on February 13, 2002. United States v. James Christopher Coulter,

          02-mj-00104-AK (2/14/02). On February 14, 2002, the case before the magistrate judge was

          terminated because it merged into criminal case No. 02-074. Proceedings in the criminal case

          against Coulter are not available on PACE~ and are presumably under seal. Martin intends to

          file a Motion with this court to unseal the proceedings, because the complaint and indictment in

          the case will likely reveal that the government was investigating Coulter for the months prior to

          his arrest in February 13, 2002 and that when the government represented to the trial court that

          Coulter had disappeared and could be dead, they knew his whereabouts, knew that he was alive

          and well, and subject to subpoena or writ of habeas corpus ad testificandurn.       The docket report

          from 02-mj-00104-AK is attached hereto as Exhibit B.

                                                        ARGUMENT

                  INTRODUCTION

                  A motion filed under 28 U.S.C. section 2255 must allege that (1) the judgment was

           imposed in violation of the Constitution, or (2) the judgment was imposed by a court lacking

          jurisdiction, or (3) the sentence imposed exceeded the statutory maximum, or (4) the judgment

           was otherwise subject to collateral. attack. The suppression of evidence favorable to the accused

           is a ground for relief under the statute; likewise, prosecutorial misconduct is a ground if it

           violates the accused's right to Due Process of law. Rafael Moreno-Morales v. United States,

           334 F.3d 140, 148 (1 st Cir. 2003).


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(Page 408 of Total)
                                                        App 974
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          USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024           Page 409 of 477
                     Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 8 of 17




                     I.     THE GOVERNMENT VIOLATED MARTIN'S RIGIIT TO
                            DUE PROCESS OF LAW BY WITHHOLDING EVIDENCE
                            OF ms INNOCENCE OF THE ANTHONY FORTUNE MURDER.

                     Suppression of evidence favorable to an accused and material to guilt or innocence is a

             violation of Martin's right to due process of law, guaranteed by the Fifth Amendment to the

             United States Constitution. Brady v. Maryland, 373 U.S. 83 (l 963). If the evidence suppressed

             is material, that is, its suppression undennines confidence in the outcome of the trial, a new trial

             is warranted. United States v. Bagley, 473 U.S. 667 (1985). The question is not whether a

             different verdict would more likely than not have resulted if the suppressed evidence had been

             available to the defense, but whether in the absence of the evidence, Martin received a fair trial,

              understood as a trial resulting in a verdict worthy of confidence. Kyles v. Whitley, 514 U.S. 419,

              4343 (1995). Materiality of evidence is assessed cwnulatively, not item by item. Id. at 436.

                     There are three components of a Brady violation: (l) the withheld evidence is favorable

              to the accused, either because it is exculpatory or because it is impeaching; (2) the evidence was

              suppressed by the government 'Willfully or inadvertently; and (3) prejudice resulted.    Strickl.er v.

              Greene, 527 U.S. 263 (1999). The government's duty to disclose evidence extends beyond

              material in the possession of the prosecution. The prosecutor has a duty to learn of any

              favorable evidence known to others acting on the government's behalf in the case, including

              police. Kyles v. Whitley, 514 U.S. at 437.

                     The petitioner need not show that after discounting inculpatory evidence in light of the

              undisclosed evidence, there would not be enough evidence to convict. The possibility of

              acquittal on a criminal charge does not imply an insufficient evidentiary basis for a conviction.

              The law makes it easier to obtain a new trial where the government engineered an unfair trial by


                                                               8




  (Page 409 of Total)
                                                           App 975
       USCA Case #21-3072            Document #2077668                  Filed: 10/01/2024       Page 410 of 477
                  case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 9 of 17




          withholding material exculpatory to the accused. Conley v. United States, 415 F.3d 183, 188 (I st

          Cir. 2005), citing Kyles v. Whitley, 415 U.S. at 434-35.

                  The "reasonable probability" standard can be problematic, as noted by our circuit in

          United States v. Bowie, 198 F.3d 905, 908-09 (D.C. Cir. 1999):

                   "What is a •reasonable probability'? Probability is often expressed in terms of
                  percentages, with 100% representing certainty. We know, because the Supreme
                  Court has told us, that a •reasonable probability' can be less than 50.01%.
                  In other words, to reverse a conviction for a Brady violation, it does not have
                   to be more likely than not that the defendant would have been acquitted had the
                  evidence been disclosed. See Kyles, 514 U.S. at 434. We are also sure that
                  a 'reasonable probability' is somewhat greater than 1%. How much greater?
                  Enough, the Supreme Court says, to 'undermine confidence in the verdict,'
                  id. at 435, which may lead us in a circle: one cannot be confident of the
                  outcome when there is a 'reasonable' probability that it may be wrong, and
                  a 'reasonable' probability is one high enough to undermine confidence
                  in the outcome."

                  Another circuit explained it thusly: The "sufficient to undennine confidence in the

          outcome" formula means that reversal will be warranted even if there is less than an even chance

          that the withheld evidence would produce an acquittal. The petitioner is not required to show

          that a different outcome is certain with the presentation of the evidence. The value of the

          withheld evidence is evaluated in context of the entire record to determine materiality. Conley

           v. United States, 415 F.3d atl 88. Put another way, the petitioner need only show that the

           favorable evidence could reasonably be taken to put the whole case in such a different light as to

           undermine confidence in the verdict. United Stales v. Jernigan, 492 F.3d 1050. 1054 (9tli Cir.

           2007) (en bane), citing Kyles v. Whitley, 514 U.S. at 435.

                  Once the court finds a Brady violation, meaning that non-disclosure of the evidence is so

           serious that there is a reasonable probability that the suppressed evidence would have produced a



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(Page 410 of Total)
                                                      App 976
       USCA Case #21-3072             Document #2077668                  Filed: 10/01/2024        Page 411 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 10 of 17




          different result, the court must grant a new trial. Strickler v. Greene, 527 U.S. 263,281 (1999);

          In re Sealed Case, 285 F.3d 887,892 (D.C. Cir.1999).

                  In the instant case, the only direct evidence linking Martin to the murder of Anthony

          Fortune came from a witness named Charlene Wilson. Ms. Wilson claimed to be an eyewitness

          to the shooting, that Sam Carson shot Fortune and that Martin drove Carson from the scene of the

          murder. Very late in the trial, well after Wilson testified, the defense stumbled on withheld

          Brady material, in the form of the notes of a police officer who had interviewed Wilson right

          after the shooting. To that officer, Wilson said she heard about the murder later but was not

          actually present at the scene. The police officer attempted to explain Wilson's contradictory

          statements by saying that he created a false report to shield Wilson's identity. In addition to

          Wilson's contradictory versions of events, the government called several informants who

          claimed that Martin confessed to shooting Fortune, that Carson con.fessed to shooting Fortune,

          and that one goaded the other to do the deed.

                  In Steven Thomas' statement, we have an unrelated eyewi.1ness who exonerates Martin a.,;;

          the shooter and who identifies the perpetrator in a way that eliminates Carson as the shooter.

          The evidence is clearly material, applying the case law developed by the Supreme Court and by

           our circuit. According to Thomas, his evidence was made known to the police on the night of

           the Fortune murder. The evidence was therefore in the government's possession as early as the

           night of the shooting. The evidence was never made available to the defense. Because the

           evidence was withheld, Martin was precluded from calling a witness who would have testified

           that he and Carson were innocent of the shooting. The evidence creates a reasonable

           probability, a probability sufficient to undermine confidence in the verdict, that a different result


                                                             10



(Page 411 of Total)
                                                        App 977
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024        Page 412 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 11 of 17




          would have obtained at trial had the evidence been available. The government used the Anthony

          Fortune shooting as evidence of Martin's participation in the marijuana conspiracy and the RICO

          conspiracy. Had evidence of Martin's innocence of the Fortune shooting been available to the

          jury, the result of the entire proceedings, not just the cowit involving Fortune, would have been

          different. Martin is entitled to a new trial.

                  II.     THE GOVERNMENT IMPEDED THE PRESENTATION OF
                          MARTIN'S DEFENSE ON THE CHARGE OF SHOOTING
                          JAMES COULTER

                  The government violated Martin's right to Due Process oflaw when it impeded his

          counsel from procuring the testimony of James Coulter at the trial of this case. Defense counsel

          could not locate Coulter to subpoena him to trial, and petitioned the trial court for assistance in

          securing his presence. The government claimed to have no knowledge ofCoulter's

          whereabouts. The government even suggested to the trial court that Coulter was deceased. On

           information and belief, around the time the government was making these representations to the

          court and counsel, Coulter was the subject of a prosecution by the United States Attorney's

           Office, and a federal Grand Jwy investigation into narcotics trafficking. He was indicted for

           narcotics traffic.king and arrested on February 13, 2002, six months after verdicts in the case.

          See, United States v. James C. Coulter, 02-mj-00104~AK, consolidated -with Criminal Number

           02-074. According to the docket sheet in 02-mj~00104-AK, the government sought detention

           after Coulter's arrest on February 13, to ..pennit revocation of conditional release, deportation or

           exclusion."    Since there is no evidence that Coulter is an alien, in his case the revocation would

           have been based on the fact that he was on conditional release. The government would

           necessarily have kno'Nil of the case in which he was on conditional release, since the government


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(Page 412 of Total)
                                                          App 978
       USCA Case #21-3072             Document #2077668                 Filed: 10/01/2024        Page 413 of 477
                  Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 12 of 17




          would be the prosecuting authority in that case. 2

                  Because the representations of the government at the trial of the instant case that it lacked

          knowledge of Coulter's whereabouts, and that he could be deceased, were false, and because the

          government's conduct prevented petitioner from securing Coulter's testimony at trial, the

          govern-ment violated petitioner's Due Process rights. Prosecutorial misconduct is a ground for

          relief under 28 U.S.C. section 2255 if it violates the accused's right to Due Process oflaw.

          Rafael Moreno-Morales v. United States, 334 F.3d 140, 148 (1 st Cir. 2003).

                  Coulter gave petitioner's counsel a signed, witnessed statement that Martin did not shoot

          him. Based upon that statement, Martin would have called Coulter to testify in his defense if he

          could have located him and placed him under subpoena, or if he was incarcerated, petitioned the

          court for a writ of habeas corpus ad testificandum. The government's conduct prevented Martin

          from presenting exculpatory evidence. If that evidence had been available, it is unlikely the jury

          would have convicted Martin of the four counts in the indictment related to Coulter. As with the

          Anthony Fortune shooting, the government used the Coulter shooting as evidence of Martin's

          participation in the marijuana conspiracy and the RICO conspiracy. Had evidence of Martin's

           innocence of the Coulter shooting been available to the jury) the result of the entire proceedings

          would have been different. Martin is entitled to a new trial as a result of the government's

           conduct which deprived him of Due Process of law.

                                                    CONCLUSION

                  For all the above reasons, and any others that may appear to the court at a hearing on this

                  2 A check of PACER reveals that the criminal case with which the magistrate case was

           consolidated is not available for public inspection. Petitioner will seek discovery, including an
           Order from this court unsea1ing the court records to permit the full development of this claim.


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(Page 413 of Total)
                                                       App 979
       USCA Case #21-3072            Document #2077668                 Filed: 10/01/2024       Page 414 of 477
                 Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 13 of 17




          Motion, petitioner respectfully requests, pursuant to 28 U.S.C. section 2255, that the court

          vacate, set aside or correct bis sentence and grant him a new trial.



                                                        Respectfully submitted,




                                                      kh~
                                                         Federal Register Number 18894-083
                                                         USP Hazelton
                                                        PO Box 2000
                                                         Bruceton Mills, WV 26525


                                           CERTIFICATE OF SERVICE

                         I, Jerome Martin, appearing prose in the instant case, DO HEREBY CERTIFY

          that I have this day served a copy of the foregoing Motion to Vacate, Set Aside or Correct

           Sentence Pursuant to 28 U.S.C. section 2255, by depositing a copy in the United States Mail,

           postage prepaid, addressed to Jeffrey Taylor, United States Attorney, 555 4th Street, NW,

           Washington, DC 20530, this the - day of February, 2008.




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(Page 414 of Total)
                                                      App 980
       USCA Case #21-3072               Document #2077668                 Filed: 10/01/2024       Page 415 of 477
                    Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 14 of 17




                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA

          UNITED STATES OF AMERICA,                               )
                                                                  )
                                           Plaintiff,             )
                                                                  )      Crim. No. 98-329 (TPJ)
                    v.                                            )
                                                                  )
          JEROME MARTIN,                                  )
                                                                  }
                                           Defendant              )


                                                        AFFIDAVIT

                    I, George Steel, do hereby aver and say, upon penalty of perjury, that:

                 1. My name is George Steel. I reside in Frederick, Maryland. 1 am a private investigator
          and I work in the District of Columhia on cases where I am retained hy the parties and on cases
          where l am appointed by the courts.

                2. £ am a former detective with the Metropolitan Police Department of the District of
          Columbia.

                3. I was retained to conduct a post-conviction investigation in the case of United States v.
          Jerome Martin.

                4. In the course of my investigation, I interviewed Steven Thomas, who resides in
          Maryland.

                    5. Mr. Thomas advised me of the following:

                    a. He knows Jerome Martin and knew Anthony Fortune.

                 b. In August 1991, he was present on 58 th Street in Washington, D.C. when Anthony
          Fortune was shot and killed.

                  c. He saw the person who shot Anthony Fortune. He knows Jerome Martin and knows
          that Jerome Martin was not the person who shot Fortune.

                    d. The person who shot Fortune was very dark"complected, stocky and taller than Jerome
          Martin.

                    e. On the evening of the Fortune shooting, police officers interviewed him as an




(Page 415 of Total)
                                                          App 981
       USCA Case #21-3072             Document #2077668                Filed: 10/01/2024        Page 416 of 477
                 Case 1:98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 15 of 17




          eyewitness to the shooting. He described the shooter to the officers and gave them the same
          information about the shooter that he gave to me. He was never called by the government to
          testify about Fortune's killing.

                  I swear upon penalty of perjury that the foregoing information is true and accurate to the
          best of my knowledge.
                                --Ft
                 This the J   f day of February, 2008.

                                                               George Steel ~




(Page 416 of Total)
                                                         App 982
        USCA Case #21-3072       Document #2077668       Filed: 10/01/2024  Page 417 of 477
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                                                                                                CLOSED

                                            U.S. District Court
                                 District of Columbia (Washington, DC)
                           CRIMINAL DOCKET FOR CASE#: l:02-mj-00104-AK-l


 Case title: USA v. COULTER                                            Date Filed: 02/14/2002

 Assigned to: Magistrate Judge Alan Kay

  P~t:.t:ndant (1)
 JAMES CHRISTOPHER COULTER
  TERMINATED: 02114/2002

  Pegding Counts                                  Disposition
 None

  1-lig_hest Qff~11:i~L~y~lLQ~Qjng)
  None

  ferminated Counts                               Dis..Q9sition
  None

  Bi1;the~t Qfff,!OS~ .L.~ve_UJ.~r..m.m_a,t~.d}
  None

  Complaints                                      P.~$.1!.QSi_tiop
  Complaint filed in violation of2 l :841(a)(l)



  Plaintiff
  UNITED STATES OF AMERICA


      Date Filed           #       Docket Text
      02/13/2002                   DEFENDANT JAMES CHR1STOPHER COULTER arrested. (jdc) (Entered:
                                   02/15/2002)
      02/14/2002               1 MAGISTRATE COMPLAINT and Affidavit filed against JAMES CHRISTOPHER
                                 COULTER in violation of2 t :841(a)(l ). (jdc) (Entered: 02/l 5/2002)
      02/14/2002                   PDID AND DATE OF BIRTH for JAMES CHRISTOPHER COULTER : PDID #:
  f                                386-197 DOB: l/10/69 Gdc) (Entered: 02/15/2002)

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              of Columbia  #21-3072
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                       Case 1 ·98-cr-00329-RCL Document 1021 Filed 02/18/08 Page 17 of 17
      02/14/2002                  Prison Registration Number for JAMES CHRISTOPHER COULTER : Reg.#:
                                  24717-016. (jdc) (Entered: 02/15/2002)
      ·1'2/14/2002                   lNJTIAL APPEARANCE on magis complaint for JAMES CHRISTOPHER
                                     COULTER held before Magistrate Judge Alan Kay : Attorney appearance for
                                     JAMES CHRISTOPHER COULTER by Tony Ax.am. Detention hearing set for 9:30
                                     2/15/02 for JAMES CHRISTOPHER COULTER ., Defendant
                                     committed/commitment issued. Pro-typist. Inc.: Tape & Lines: Courtroom 7) (jdc)
                                     (Entered: 02/15/2002)
      02/14/2002                     DEFENDANT(S) JAMES CHRISTOPHER COULTER ordered held without bond
                                     by Magistrate Judge Alan Kay . Ude) (Entered: 02/15/2002)
      02/14/2002             2       ORDER by Magistrate Judge Alan Kay as to JAMES CHRJSTOPHER COULTER :
                                     of temporary detention pending hearing pursuant to Bail Reform Act (N) Ude)
                                     (Entered: 02/15/2002)
      02/14/2002             3       ORDER by Magistrate Judge Alan Kay as to JAMES CHRISTOPHER COUI, TER :
                                     of temporary detention to permit revocation of conditional release, deportation or
                                     exclusion (N) (jdc) (Entered: 02/15/2002)
      02/14/2002                     Magistrate case closed as to JAMES CHRISTOPHER COULTER. Merged into
                                     criminal case no. 02-074. (erd) (Entered: 02/19/2002)
      02/15/2002                     DETENTION HEARING before Magistrate Judge Alan Kay as to JAMES
                                     CHRISTOPHER COULTER : Bond set to HWOB. Criminal indictment has been
                                     filed against the defendant and assigned to Judge Robertson. Defendant
                                     committed/commitment issued. Court Reporter: Courtroom 7 (jdc) (Entered:
                                     02/15/2002)
      02/15/2002             4       ORDER by Magistrate Judge Alan Kay as to JAMES CHRISTOPHER COULTER :
                                     committing defendant to the custody of the U.S. Attorney General. (N) (jdc)
                                     (Entered: 02/15/2002)



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 (Page 418 of Total)
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        USCA Case #21-3072                          Document #2077668                                  Filed: 10/01/2024                Page 419 of 477
                               Case 1:98-cr-00329- CL Document 1023 Filed 02/28/08 Page 1 of 6
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                                                                                                                           AUSA-Special Proceetin!JS
                                                                                                                           Oft
    AC> ,aJ                        MOTION UNDER 28        SC § :;255 TO VACATE, SET ASIDE, OR CORRECT
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                                                SENTENC    BY A PERSON IN FEDERAL CUSTODY
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                       UNITED STATES OF A.tv.lERI A                        V.
                                                                                                   S~~i:~n::;;~;•hich convi~i                LED
                                                                                                                (fuU name of movant)

                                                                       MOTION                                                      Clerk, U.S. District nd
         1. Name a d locanon of coun which ente           d the judgment of conviction under anack
                                                                                                                       District        o'F~l~~~ifgu
                  Cir uit,             Washington D.C.

                                                        J nuary 30, 2002
         2. Date of ·udgme:nt of c o n v i c t i o n - - - + - - - - - - - - - - - - - - - - - - - - - - - - -
         3. Length     l                  Life and 220 Years
                       1t sentence_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                       i
         4. Narure f offense involved (all counts)
                                                           Drug conspiracy in violation of 21 U.S.C. §846
                Rico Conspiracy in vi lation 18 U.S.C.§1962(d); and VICAR in violation
                 18 u.s.c. § 1959



          5. What          as your µlea? (Check. one)
                 {a)   ot guilty           !XX
                 (b)   uilry               D
                 (c)   olo contendere      0

                If you ~ntered a guilty plea ,o one cou tor indictment, and a not guilty plea to another count or indictment, give det.:i.i!s:




          6.     Kin u.ryoftrial: (Check o~L
                 (a)                       ~
                 (b) udge only              0

          7. Did ou testify at the trial?
             Yes D Noili,X

          B. Did :t9U appeal from the judgment of conviction?
                 Yes~ No 0




(Page 419 of Total)                                                             (2)


                                                                        App 985
       USCA Case #21-3072                        Document #2077668                       Filed: 10/01/2024            Page 420 of 477
                                Case 1:98-cr-00329- CL Document 1023 Filed 02/2




          9.   If you did appeal, answer the foU ow i g

                (a) Name of coun _ _o_._c_.--.-:..i=-r=-=t.......;o:..:f:._:..:AJ;J;:..C..e=a.:::l:.::S:...._________~ - - - - - - - -

                ( b) 1esu!t          Affirmed

                ( c)     dIate of result -----'--;.,-.;
                                             July      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         10. 0th.er !than a direct appeal from the judgment oi conviction and sentence, have you previously filed any pC!lllOns.
             appli~~uons or motions w11h ~spect o this judgment in any federal court?
               Yes     q No 0:(
         IL lf yoJ answer to 10 was "yes," giv the following information:
                          I

                (a)(p Name of court

                       , Nature of proceeding - - 1 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                       (b

                         I'
                         'I
                       {3) Grounds raise<l, _ _ _ _4-_ _ _ _ _- - l " ' 4 - + r - - - - - - - - - - - - - - - - - - - - - -




                                                                                     N/A

                         (4) Did you receive an evide tiary hearing on your petition, application or motion?
                     I         Yes D No 0

                     !(5) Resul                                          N/ A

                         ( 6) Date of resu It

                                                      _p~ca_[i~n _?T motion_give the ~ame information:_-·-·- -··--- .. _______ _
                                                                        N/A
                              (l) Name of court - - - f - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                          (2) Nature of proceeding   -+------------------------------

                                                                           N/A
                          (3) Gro11nds raised, _ _ _+ - - - - - - - - - - - - ~ - - - - - - - - - - - - - - - - - -




                                                                           {3)
(Page 420 of Total)
                                                                     App 986
       USCA Case #21-3072                   Document #2077668                          Filed: 10/01/2024               Page 421 of 477
                        Case 1:98-cr-00329- CL Document 1023 Filed 02/2




                       /4) Did you receive 3n ev1de l1ary heanng on your pcuuon. 3pphcauon or rnouon~
                           Yes O No D

                       (5)                                     NIA
                             Resul~•_ _ _ _ _ _....J-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                       (6) 0Jte of result

                   C~l A~ to any 1h1rd petition. app ication or mouon. give the same 1dor:nation:

                   ,   (!l Name of coun     ---+-------------------------------
                                                                !'1/ t.
                       121 Narure of proceeding - + - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                       (3) Grounds r a i s e d - - - - , i - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



                                                                               N/A




                        (4) Did you receive an e demiary hearing on your peuuon. apphcation or motion?
                            Yes D No 0
                        (5) Result -----f------------..J:J..I--J;:J~-----------------
                        ( 6) Date of Resu ll
                ( d) Did you appeal, to an appe ate federal court having1urisdiction, the result of action taken on any petition, applic::nion
                         or motion?
                     {]) First peU!Jon, etc.       Yes D "lo 0
                     (2) Second petition. etc.     Yes O No 0                          N/A
                     (3) Third petition, etc.      Yes O No D
                 (e) If you did not 3ppeal from he adverse :ic:ion on any petition, apphcauon or motion, explain briefly why you did no,:



                                                                              N/A


              1.    State concisely every ground on which you claim that you are being held unlawfully Summari:z.e briefly the facts suppomng
                    each ground. If necessary, ou may auach pages stating additional grounds and facts supporting same.
                    CAUTl0N 1f you fail to set f rth all grounds in rh1s motion, you may be barred from presenting addaional grounds at a
                     later date.
                      For your information. the oUowing is a list of the moi.1 fre4uently raised grounds for relief rn these proceedings. Each
                   statement preceded by .a leue constilutes ll separate ground for possible relief. You may raise any grounds which you have
                   other than those listed. How er, you should raise 1n this motion all available grounds (relaung to this conviction) on which
                   you based your a!lega11ons hat you are be1ng held in custody u nlawflllly.
                       Do no! check any of these isted grounds. If you se lee! one or more of these grounds for re lief, you must allege facts The
                   motion will be returned to au if you merely check (a) through U) or any one of the grounds.
                     (a) Conviction obtained b plea of guilly which was'unlawfully induced or not made voluntarily or with understanding of
                          the nature of the char e and the consequences of the plea.
                     (b) Conviction obtained y use of coerced confession.


                                                                              (4)
(Page 421 of Total)
                                                                  App 987
       USCA Case #21-3072                               Document #2077668                         Filed: 10/01/2024          Page 422 of 477
                                    Case 1:98-cr-00329- CL Document 1023 Filed 02/28/08 Page




                           I
           ( c)  Conviction obtamed by use of ev1 cnce gamed pursuant to an uncons[l(utional scar::h and seizure.
           (c)   Ccpwiction obt,J.med by use oi ev· dence obtained pursuant 10 an unlawful a.rrest
           (eJ   cqnviction obtained by a v1olat10 of ilit privilege against sclf•incrimrnauon.
           (fl   C nviction obtained by the uncons iu.'tional failure of the prosecullon to disclose to the defendan1 evidence favcrable
                 to the defendant.
            (.g) C nviction obtained by a v1ol:111   oi the protection against double Jeopardy
            (h) C nviction obtained by action of a gr:i.nd or pet:t jury which was unconst1rut1onally sele~ted and impanelled.
            (i) D nia1 of effective assistance of ounsel.
            (J) D nial of right of appeal.

                               A.    Ground one: _ _T_h_e_,__e_t_i_·_t_i_o_n_e_r__W_a_s__D_e_p_r_i_v_e_d_H_i_s_S_i_x_t_h_A_m_e_n_t_im_e_n_t__
                      I              Right To Effective Assistance of Counsel
                      i;
                                     Supporting FACTS (tell . our srory briefi.y without citing cases or law:

                                       A) Failure to Investigate; B) Failure to Object to Inadmissa le
                                       Evidence

                                                    See A tached Memorandum of Law and Facts




                                                      Sent nee Imposed in Violation of The United States
                               B. Ground two: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                     Constitution

                                     Suppomng FACTS (tel your story briefly without citing c3ses or law): _ _ _ _ _ _ _ _ _ _ __
                                            See Attac ed Memorandum of Law and Facts




             -,-,k= ·---~
                  I                   --e----------~


                  l             C.    Ground three:
                                       Petitioner
                                                             Newly Discovered Evidence Establishes
                                                             as Denied His Fifth Amendment Right To Due Proce s


                                      Supriorting FACTS ( ll your story briefly without cmng cnscs or law): - - - - - - - - ~ - - -



                                             See Atta hed Memorandum of Law and Facts




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(Page 422 of Total)                                                                                                                             .,
                                                                             App 988
       USCA Case #21-3072                           Document #2077668                                  Filed: 10/01/2024                 Page 423 of 477
                               Case 1:98-cr-00329- CL                      Document 1023 Fiied 02/28/08                      Pa.qr, 5 of 6



       --·---_J_---------1----------------------------,

                                --------- -                     -




                          :)    G :uund four

                                                                               N/A




                                                                                    N/A




         l3     If ani· of the grounds lis1ed in 12A,
                pres,nted, a:-id gt'!e your reacons
                                                           t,       C, and D \!,er::: not previous!)· presented, stact briefly whar gnxir.::L "ere no, so
                                                        rot nol presenring them:
                                  Ineffective Iassistance of counsel claims are to be raiser! nn
                ap1~eal; appellate co~nsel ineffect1.'ve t·o:c ~ot raising sentencing issu

                Ne1     evidence established due process violations.



          14-    Dd yoll hav: any petition or appe I now p~ndin_g in any court a, to the _iudgrnent under att;,d(!
                 Ye!~ No~

          15     G; ve the name and add re,~, if knov. n, of each :10.orney y, ho represenred you in ::i ~ foll c,"·:n g s:ages of ,he _i LJ d:;mrni an:i.c ;·.eo
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                  (n) A: pr'.':'.;m1r,aJ',' h e a r i n g - - ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                 Wa shing ton, D.C. 20004

                                                                    Same
                      b) At arraignment and p l e a - . . . / - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



                                                             Same
                   (c)At tna!    ~ ~ =~                  I
                                            Same
                  {a) At sentenc:ng -----1--------------------------------



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(Page 423 of Total)
                                                                                 App 989
       USCA Case #21-3072                    Document #2077668                        Filed: 10/01/2024            Page 424 of 477
                           Case 1:98-cr-00329- CL Document 1023 Filed 02/28/08 Page 6 of 6




            (e) Onrppeal        B:iul ........... ~ 21 M3ssxlusetts ~ . , [\J.E. i
                                      R'""""""'·""'"'                                          tQl   o.c. Xfff2.· I
                     •       1n.artl &lssran Em            lvania !wr2., N.W. ~th

            (f) In ny post-conviction proceeding
                                                                              N/A

             (g) 0       appeal from any adverse rul ng in a post-conviction proceeding _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                      N/A

       16. Were      u sentenced on more than one count of an indictment, or on more than one indictment, in the same coun and at
                     mately the same time?
                     No□


        17. Do yo have any future sentence to s rve after you complete the ~entence imposed by the judgmem under attack?
           Yes       No~

            (a) If o, give name and location of        urt which imposed sentence co be served in the furure: - - - - - - - - -



                                                                  N/A

            (b) G ve date and length of the abov sencence: - - - - - - - - - - - - - - - - - - - - - - - - -




            ( c) H ve you filed, or do you conte plate filing . .:iny petitwn anacking the judgment wh1ch imposed tht ~entence to be
                    ed in the funu-e?
                   s ONoX]X



          Where, re, movanr prays that the Co t grant him a!! relief co which he may be entJt!ed in this proceeding.




                                                                                        Signature of Artorney (if any)




            decl e under penalty of perJwy t       l    the foregoing is true and correct. Executed on

            Fe ruary 18, 2008
                             (date)



                                                                                             Signature of Movant




(Page 424 of Total)                                                     (7)

                                                                   App 990
       USCA Case #21-3072               Document #2077668          Filed: 10/01/2024      Page 425 of 477
                       Case 1:98-cr-00329-RCL Document 1020 Filed~~~p ot--n3

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       Copies to: !~3!-speclal Proceedings                             r,i £/25/u?'.
                 Oft                    UNITED STATES DISTRICT COURT                   ' 1-YLf??
                                        FOR THE DISTRICT OF COLUMBIA

                UNITED STATES OF AMERICA~

                         v.                                                                 olJl
                                                                     Cr. No. 98-329        flPJ>( TFJ--J)  J

               SEAN COATES
                                                                                            FILED
                                        Defendant.                                          FEB 19 2008
                                                              ..                       Clerk, U.S. District and
                                                                                         Bankruptcy Courts
                               MOTION PURSUANT TO 28 U.S.C. § 2255 TO
                               VACATE. SET ASIDE OR CORRECT SENTENCE

                                                 INTRODUCTION

                         Defendant, Sean Coates, by and through his Counsel, Veronice A. Holt,

                Esq., hereby moves, pursuant to 28 U.S.C. § 2255, to vacate, set aside or correct

                his judgment and his sentence on the grounds that: 1) Trial Counsel, Frederick

                Jones, 1 was totally ineffective throughout the entire proceeding; 2) the


                         1  Counsel has not spoken to Mr. Jones concerning this matter.
                Counsel has learned that in late 2007, Mr. Jones withdrew his appearance in
                representing Glendale Earl Lee in United States u. Suggs et al 07-cr-00152-ESH
                because of illness and moved to Arizona. There are several references to Mr.
                Jones having health problems during the trial and this may account for his poor
                performance. At one point, Mr. Jones ne~ds to recess the trial to pass a kidney
                stone. At another point he mention the need to go to the hospital weekly to give
                a blood sample. Finally during dosing Mr. Jones notes that he has had a cold for
                six months.

                         Mr. Jones: your honor, this is the time each week that I have to go down
                         to G. W. I have never been late before. I just want to alert the court that



(Page 425 of Total)
                                                     App 991
       USCA Case #21-3072         Document #2077668            Filed: 10/01/2024    Page 426 of 477
                  Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 2 of 53




              Government intentionally failed to disclose Brady infmmation and othen.vise

              engaged in misconduct; and 3) Appellate Counsel failed to appeal the admission

              of an identification of Coates fingerprint by hearsay testimony; and 4) both Trial

              and Appellate Counsel failed to inform the Court that Coates three convictions

              for Use of a Firearm During and in Relation to a Crime of Violence or Drug

              Trafficking on or about November 17, 1996 merged. Trial Counsel, Frederick

              Jones, was dearly unprepared for trial. Most importantly, Mr. Jones failed to

              exercise Mr. Coates Sixth Amendment right to confront the evidence and the

              witnesses against him. For the most part, he did not cross examine witnesses at

              ail. On the occasions, that he did, he simply winged it for a few minutes and then

              sat down without challenging the witnesses substantive testimony. Mr. Jones

              made promises in open statement that he did not keep, failed to make a hearsay

              objection to fingerprint evidence that was admitted without a copy of the



                      I have to go down and give some blood. So I will be right back as soon as
                      I can.

                      "Excuse me. ru tell you one thing. This old man has had a cold ever since
                      we started this thing. I have been carrying it throughout. As a matter of
                      fact, colds have been going around these tvJo tables here, but, nonetheless,
                      fresh air is soon to be found." (Tr.070301 am p.33)



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(Page 426 of Total)
                                                 App 992
            USCA Case #21-3072         Document #2077668           Filed: 10/01/2024    Page 427 of 477
                       Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08       Page 3 of 53
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                   fingerprint or expert opinion regarding the print, consistently allowed hearsay

                   evidence to be put before the jury without objection, and failed to make

                   arguments on the law and facts that any competent lawyer would have

                   recognized the need to make. He filed only one original pretrial pleading. 2 That

                   pleading was a supplement to a pleading filed by a co-defendant and it failed to

                   make a critical legal argument. In six months of testimony, Mr. Jones did not

                    introduce a single exhibit and only on one occasion completed an impeachment

                   by presenting a document. Mr. Jones did not make any discovery requests and

                   appeared confused about the scope of the charges against his client. The first

                   substantive witness to give testimony against Mr. Coates was Yusef Simmons.

                   Simmons testified about a kidnapping for which Coates had been adjudicated

                   as a juvenile. Although Jones had mentioned this incident in opening statement,

                    he appeared to be surprised when Simmons was called as a witness until he was

                    informed that this was an overt act charged in the indictment. Jones then

                    proceeded to cross examine Simmons as if Simmons were making this up.

                           Mr. Jones failed to preserve his client's files and records. The documents




                           2
                                 Jones did file joinders to motions filed by other counsel.
                                                            3




     (Page 427 of Total)
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            USCA Case #21-3072         Document #2077668           Filed: 10/01/2024    Page 428 of 477
                       Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 4 of 53


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                   that Jones turned over to Appellate Counsel did not include any discovery.3

                           Mr. Coates further asserts that the Government withheld critical Brady

                   information. The Government at all times knew that a critical government

                   witness, James Montgomery, had accused co-defendant William Kyle Sweeney

                   of a murder that another person! Steven Dewitt, had been convicted by a jury of

                   and had been incarcerated on for 10 years. Because this evidence would have

                   sharply challenged Montgomery's testimony, the Government chose to withhold

                   it until after the convictions in this case.

                           Coates, further asserts that the Government engaged in willful misconduct.

                   The Government knew it had admissibility problems with the fingerprint

                   attributed to the kidnapping of Anthony Pryor. lt therefore improperly elicited the

                   fingerprint evidence through rank hearsay and did not put on any foundational

                   evidence or a fingerprint expert to testify to whether the fingerprint matched.



                           3 Counsel has obtained a copy of the numbered discovery produced by

                   overt act from another attorney involved in this matter. Counsel has also
                   obtained FBI Agent Llsi's Grand Jury testimony, but does not have Jencks or
                   Giglio for any" other witness. Counsel has not been able to obtain a copy of a
                   relevant videotape, Government's Exhibit V-35. Subsequent to filing this case,
                   Counsel will requests an opportunity to obtain the missing records through
                   discovery and to examine the FBI 302's that were sealed during the trial and to
                   obtain certain records, for example medical records that should have been a part
                   of the discovery in this case or obtained through defense subpoena.
                                                              4




     (Page 428 of Total)
                                                       App 994
           USCA Case #21-3072         Document #2077668           Filed: 10/01/2024    Page 429 of 477
                      Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 5 of 53
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                  Coates also asserts that the Government knowingly elicited false testimony

                  regarding his involvement in the June 20th shooting of Michael Jones. Counsel

                  has reviewed the discovery provided with respect to this incident and the

                  Government simply did not have a good faith basis for the testimony it elicited

                  placing Mr. Coates as being involved in this incident. More importantly, the

                  government did not have a good faith basis for suggesting that Michael Jones was

                  a victim of the June 20, 1992 shooting. Jones was neither shot nor shot at. He

                  was a witness to the shooting of Jermaine Hall. Although the jury found this

                  Racketeering Act (No.25} unproved, it added ballast to the assertion that Mr.

                  Coates was involved in the conspiracy to kill Michael Jones and shooting Michael

                  Jones on June 28, 1992.

                          Both Trial Counsel and Appellate Counsel were ineffective in their failure

                  to assert that Mr. Coates three convictions for Use of Firearm During and in

                  Relation to a Crime of Violence or Drug Trafficking on or About November 17,

                  1996 (The Triple) Counts 35, 36, and 37 merged. Mr. Coates received a total

                  sentence of 60 years for these counts. He should have received 20. The total

                  sentence that Mr. Coates received for Use of a Firearm During and in Relation to

                  a Crime of Violence or Drug Trafficking was 85 years. These 85 years were cited


                                                           5



    (Page 429 of Total)
                                                    App 995
        USCA Case #21-3072     Document #2077668       Filed: 10/01/2024   Page 430 of 477
                Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 6 of 53




                by the Court of Appeals in denying Mr. Coates Coles remand4.

                I.   PROCEDURAL HISTORY

                       Sean Coates was arrested on October 2, 1998 and charged in a multiple

                count indictment, commonly referred to as the "K Street Case". On August 16,


                       4

                       " Finally, we turn to the appellants' challenges to their sentences under
                       United States u. Booker, 543 U.S. 220 (2005}, and United States v. Coles,
                       403 F.3d 764 (D.C. Cir. 2005). Appellants argue that the district court
                       erred under Booker when it imposed their sentences and that our decision
                       in Coles requires us to remand their case to the district court because, they
                       assert, the record is insufficient to determine if the district court's errors
                       were prejudicial. We conclude that a remand is not required and affirm
                       each appellant's sentence. ***38 In setting these sentences, the district court
                       treated the Guidelines as mandatory. It made no statements regarding what
                       it might have done were the Guidelines only advisory, nor did it provide
                       alternative sentences. None of the appellants objected. At issue before us
                       is whether the district court1s sentencing of the appellants is consistent with
                       United States u. Booker, 543 U.S. 220 (2005), and this Court1s subsequent
                       application of Booker. ***38 No remand is needed for Carson, Coates, and
                       Sweeney because the Violent Crime in Aid of Racketeering statute
                       (VICAR), 18 U.S.C. A.§ 1959(a)(l), and not the Guidelines, mandates that
                       each of them receives a life sentence for their convictions.
                               38 ... Coatesreceived concurrent life sentences for each federal
                               offense of narcotics conspiracy, RICO conspiracy, and three counts
                               of murder in aid of racketeering. [Hel also received a 20-year
                               concurrent sentence for the federal offense of attempted murder in
                               aid of racketeering, as well as a statutorily-mandated 5-year
                               consecutive sentence for the federal offense of use of a firearm
                               during and in relation to attempted murder, and 20 years each on
                               four additional counts of use of a firearm during and in relation to
                               murder.
                                                             6



(Page 430 of Total)
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       USCA Case #21-3072        Document #2077668           Filed: 10/01/2024   Page 431 of 477
                  Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 7 of 53




              2001, the jury returned the following verdicts against Sean Coates.

              Count 2:    RICO

                          Racketeering Acts

                          Racketeering Act 1:     Marijuana Conspiracy 1988 through 1999

                          Racketeering Act 27:    Conspiracy to murder Michael Jones from
                                                  June 20-June 28, 1992

                          Racketeering Act 28:    Assault with Intent to Murder while Armed -
                                                  Michael Jones on June 28, 1992

                          Racketeering Act 33:    Kidnapping while armed of Norman Yusuf
                                                  Simmons April 28, 1990

                          Racketeering Act 35:    AWIMW/A Ronald Sowells, October 30,
                                                  1996

                          Racketeering Act 39:    Kidnapping W/A Anthony Pryor October
                                                  22, 1993

                          Racketeering Act 49:    Attempted Robbery W/A Alonzo Gaskins,
                                                  Darnell Mack, and Melody Anderson,
                                                  November 17, 1996

                                                  first-degree Felony Murder W/A of Alonzo
                                                  Gaskins, November 17, 1996

                                                  First~Degree Felony Murder of Darnen
                                                  Mack

                                                  First-degree Felony Murder W/A of Melody
                                                  Anderson



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(Page 431 of Total)
                                                App 997
       USCA Case #21-3072     Document #2077668       Filed: 10/01/2024   Page 432 of 477
               Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 8 of 53




              COUNT 11:      Attempted Murder in aid of Racketeering Activity of Anthony
                             Pryor, October 30, 1996

              COUNT 23:      AWIK:vV/A Ronald Sowells on or about October 30, 1996

              COUNT 24:      Attempted Murder in Aid of Racketeering Activity of Ronald
                             Sowells, October 30, 1996

              COUNT 25:      Murder in Aid of Racketeering Activity of Alonzo Gaskins,
                             November 17, 1996

              COUNT 26:       Murder in Aid of Racketeering Activity of Darnell Mack,
                              November 17, 1996

              COUNT 27:       Murder in Aid of Racketeering Activity of Melody Anderson,
                              November 17, 1996

              COUNT 28:       Use of firearm During and in Relation to a Crime of Violence
                              or Drug Trafficking on or About October 22, 1993 (Anthony
                              Pryor)

              COUNT 34:       Use of firearm During and in Relation to a Crime of Violence
                              or Drug Trafficking on or About October 30, 1996 (Ronald
                              Sowells)

              COUNT 35:       Use of firearm During and in Relation to a Crime of Violence
                              or Drug Trafficking on or About November 17, 1996 (The
                              Triple)

              COUNT 36:       Use of firearm During and in Relation to a Crime of Violence
                              or Drug Trafficking on or About November 17, 1996 (The
                              Triple)

              COUNT 37:       Use of firearm During and in Relation to a Crime of Violence
                              or Drug Trafficking on or About November 17, 1996 (The
                              Triple}


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(Page 432 of Total)
                                         App 998
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       USCA Case #21-3072          Document #2077668            Filed: 10/01/2024    Page 433 of 477
                     Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 9 of 53




              COUNT 45:            Possession of a Firearm during a Crime of Violence on
                                   Dangerous Offense on or about October 30, 19965

                       The Couli of Appeals for the District of Columbia denied Coates' appeal

              on July 21, 2006. United States v. Carson 455 F.3d 336, (D.C. Cir. 2006)

              The Supreme Court denied his petition for certiorari on February 20, 2007,

              Order List 02/20/2007.

               11.     THE EVIDENCE RELATED TO SEAN COATES AND TRIAL
                       COUNSEL'S FAILURE TO CONFRONT THE EVIDENCE

               1.      DRUG CONSPIRACY

                       Mr. Jones' first blunder came in the cross examination of the first witness,

               Agent Lisi. Agent Lisi had pointed out various co-defendants making sales on

               videotapes. He did not show a picture of Jones. On cross Jones pointed out that

               Coates was not doing anything illegal in any of the videos Lisi had shown the

               jury. (Tr.012301 am p.14)         In redirect, the government was permitted to

               introduce evidence of a video of a person who Lisi identified as Coates going to

               a stash (Tr.012301 p.33-35) Mr. Jones did not cross examine Agent Lisi on the

               video. Therefore, the jury would accept the fact that the video was exactly what

                       5  The following Rico Acts were found not proven: 1) Act 1 Cocaine
               and PCP; 2) Act 26 AWfM.N/AJennaine Hall and Michael Jones; 3) Act 29 First-
               degree Murder Glenn Jenkins; and 4) Act 31 AWIMW/A In Kentucky Courts
               neighborhood.
                                                         9




(Page 433 of Total)
                                                  App 999
               USCA Case #21-3072      Document #2077668           Filed: 10/01/2024    Page 434 of 477
I                      case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 10 of 53
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                    Lisi said it was - a photo of Sean Coates engaged in criminal activity.

                            Mr. Jones and Sean Coates6 had previously viewed the videotapes and

                    Coates had informed Jones that the person on the tape was not him. Coates

                    believed that the individual on the tape was Sam Marbury. 7 The face of the

                    person on the tape was not shown. The person on the tape was going over the

                    fence. He was not holding drugs. Jones did not request an opportunity to

                    recross on this new evidence. He did not challenge the identity of the person on

                    the tape. This videotape was the only "hard" evidence that Coates was a part of

                    the drug conspiracy. No drugs were ever seized from him. He did not make any

                    sales to undercover agents.      Jones, having "opened the door" for Lisi's

                    identification of Coates failed to challenge the identification and thus conceded

                    his client's presence on the videotape and his strongest argument that he was not

                    a part of the drug dealing conspiracy. 8


                            6
                                 Mr. Coates sworn statement will follow.
                            7    Sam Marbury is an actual identifiable party and is twice mentioned
                    in the transcript Tr.031901 am p.28; Tr.312101 am p.65; Tr. 050701 am p.25;
                    Tr050801 am p.16; Tr.070201 am.
                            8   Donald Nichols also identified the person on the videotape
                    introduced during Agent Lisi's redirect as being Mr. Coates making a sale in a
                    video. (Tr.01/26/01 am p.11) Counsel has not viewed the videotape because Mr.
                    Jones did not tum over discovery items to appellate counsel. Counsel has not
           (                                                10



      (Page 434 of Total)
                                                    App 1000
       USCA Case #21-3072         Document #2077668          Filed: 10/01/2024    Page 435 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 11 of 53




                      Ronald Switzer testified that Coates and Vincent Hill were the people out

              there making big money in 1996 and 1997 (Tr.012501 p.m. p.6- 9). Mr. Jones,

              having blundered his cross examination of Agent Lisi, chose not to cross examine

              Switzer. "I have nothing your honor." {Tr.013001 am p.18) Thus Switzer's

              testimony regarding Coates remained uncontradicted.

                      Donald Nichols "Hard Rock" made an in-court identification of Sean

              Coates - identifying him by his nickname "Birdy". Nichols said that he knew

              Birdy from when he was five or six. (Tr.021401 pm p.81)        Nichols identified

              Coates as one of the people who would be out selling on a typical day.

              {Tr.021501 am p.31-32) Jones did not cross examine Nichols. Thus Nichols,

              testimony remained uncontradicted. "No questions." (Tr.02201 pm p.54)

                      James Montgomery testified that in 1989 1 Montgomery, Chin, Meechie,

              Bird, Art, Eric, and Poo Poo were selling drugs around Delaware and 203 P

              Street. 0301201 p.38.      He denied having any conversation with Vincent Hill

              about who was permitted to sell drugs in area. When Montgomery came home

              in '95, business was bad but Bird still seemed to have money.

                      "I was coming down K Street. I caught the ·subway down there, and I don't



              been able to contact Mr. Jones
                                                      11




(Page 435 of Total)
                                               App 1001
       USCA Case #21-3072          Document #2077668            Filed: 10/01/2024    Page 436 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 12 of 53




                      think they knew I was home, and I walked up on them,9 and I told them
                      that I was -- my words to them was that I'm fucked up. letting them know
                      that I need some money. They told me that you can't -- they said,
                      everybody fucked up. You came home at the wrong time, Hke that. Q.
                      And what did you interpret that to mean? What did you understand them
                      to mean?*** they didn't have no money to give me." (Tr.031301 pm 15-
                      16)

              Q.      Did you notice at that time whether or not Birdy appeared to have any
                      money?

              A.      He still had his car. He still had his Q. Then like a few days later -- I had
                      eventually got some money. I borrowed some money from Squirmy, and
                      like a few days later, me and Bird was talking. They was having a -- there's
                      going to be a cabaret somewhere sitting downtown, and Bird had all this
                      Versace stuff in his trunk, and he was showing-*** All this Versace stuff,
                      clothes, like shirts and jeans and stuff like that. So in my mind I was like>
                      man, just the other day you told me you was fucked up, you know,
                      meaning that he was broke. (Tr.031301 pm 16}

                      Mr. Jones did not cross examine Montgomery on his testimony about Sean

              "Birdy" Coates being out their selling drug in 1989. (Tr.043001 am 9-59)

              Despite Montgomery having handed Jones a motive for him to lie about Sean

              Coates, Jones never confronted him about it.            He had a perfect line of

              questioning that could have exploited the fact that Montgomery was not a big

              time drug dealer. He was a stick up boy who ran around sticking his gun in

              people's face and who spent most of the relevant period incarcerated. Now that


                      9
                            Chin, Bird, and Pimp.
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(Page 436 of Total)
                                                App 1002
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I
           USCA Case #21-3072         Document #2077668          Filed: 10/01/2024    Page 437 of 477
I                    Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 13 of 53
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                  his crimes had come back to haunt him, he was trying to implicate Coates to get

                  from under.

                          Charles Bender "L.A." testified that in 1994 and 1995, to the best of his

                  recollection, He 1 Vito, Harry 0, Dirty Meat, Birdy, Switzer, 11 Gus," his brother

                  Antoine Bender and Bill Hill were out in the 200 block of K Street SW.

                  (Tr.040401 am p.56} "I have no questions, Your Honor." {Tr.040501 pm p.62}

                          Ronald Sowells ("Manute")was charged in the L Street case. ( Tr.041701

                  pm p.5) He started selling marijuana when he came home in 1993. Business was

                  prosperous. Sowells testified that there were 30 or 40 people out there selling

                  marijuana in the alley; including, Hodges, Ben, Morris, Hallman, Birdy, Draper

                  and Chin. (Tr.041701 pm p.25) Sales started to slow down and in '94 or '95,

                  they moved out of the alley to Delaware and K Vito, Chin, Draper, Harry 0,

                  Bird were selling on K street. (Tr.041701 pm p.31) Vito appeared to be running

                  the strip. When Vito was out there, everyone would let him sell his weed. When

                  they were selling on Kstreet, they would rotate. (17 pm 36) Sowells said that he

                  frequently sold with Birdy. (Tr.041701 pm p.40) Jones cross examined Sowells,

                  but he did not question him about his allegations of drug dealing. (Tr.041801

                  pm p.30-51)


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    (Page 437 of Total)
                                                   App 1003
       USCA Case #21-3072         Document #2077668            Filed: 10/01/2024        Page 438 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 14 of 53




                      Paul Franklin "Dirty Meat" testified about marijuana sales in Southeast.

              He identified Birdy as someone who has known for 15 years and had a "cool"

              relationship with. (Tr.050101 am, p.53) Franklin identified Bird as one of the

              people selling marijuana in the area of the alley, Delaware and K streets.           In

              addition to the Defendants, he said that Rock, Switzer and James Montgomery

              were out there. (Tr.050101 amp. 70} Franklin testified that they sold drugs in

              "rotation". (01 am p.78) Franklin also said that he "bagged up" weed at Birdy's

              Mother house in Kenilworth. (Tr.050101 am p.81)              In cross examination of

              Franklin, Jones attempted to show that Coates primary reason for being on K

              street was to gamble. When Franklin resisted him, Jones asked Franklin it he had

              anything to do with the murder of Sibley Hamilton. Franklin denied it. Jones

              rested his cross and the never again visited the issue in the trial. 10

                      10

              Q.      As part of your plea agreement, you were required to inform the
                      government of all of your criminal activities,isn t that correct?
                                                                       1


              A.      Correct.
              Q.      Now, did you inform them about a young man by the name of Sibley
                      Hamilton?
              A.      Who?
              Q.      Sibley Hamilton.
              A.      I can't recall if I did.
              Q.      Do you know a man by the name of Sibley Hamilton?
              A.      Yes.
              Q.      As a matter of fact, did you have something to do with his murder?
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(Page 438 of Total)
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                                                App 1004
       USCA Case #21-3072        Document #2077668           Filed: 10/01/2024   Page 439 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 15 of 53




                      Demetrius Hunter, from L Street, identified Birdy as someone he knew

              from Southwest. (Tr.050301 pm p.69) According to him he occasionally sold

              weed for Birdy and Draper in '94 and '95. (Tr.050301 pm p.77) Jones cross

              examined Hunter about his drug dealing.         He did not chalJenge Hunter's

              assertion that he sold weed for Birdy and Draper in '94 and '95.

              2.      KIDNAPPING OF YUSEF SIMMONS

                      On January 22, 2001, Mr. Zeidenberg made clear his intent to elicit Yusef

              Simmons testimony regarding the kidnapping for which Sean Coates had been

              adjudicated as ajuvenile. 11

              A.    No, I didn't.
              Q.    Back in 1990?
              A.    No, I didn't.
              Q. Mr. Jones: The Court's indulgence.
              The Court: Sure.
              Mr. Jones: I have no further questions, your honor. {Tr.050101 am p.18}
                      11

              Mr. Zeidenberg: And the other thing, your honor, is I have trial testimony from
                              a juvenile trial of a witness that we are going to be calling, and
                              I just would ask the court to order that disclosed. It is jencks,
                              however, because it was a juvenile trial. I wanted the court's
                              authority to release it.
              The Court:      You may release it. Yes.
              Mr. zeidenberg: Thank you.
              Mr. Jones:      I would object to that on behalf of Mr. Coates. I am going to
                              object to any reference to this juvenile proceeding that took
                              place when Mr. Coates was years of age. It violates all of the


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(Page 439 of Total)
                                              App 1005
       USCA Case #21-3072                      -------~----.
                                 Document #2077668                   _____ .. ____
                                                       Filed: 10/01/2024-
                                                                              Page_440
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                                                                                       of 477
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                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 16 of 53




                      Fourteen days later when the Government called Simmons on February 5,

              2001, ,Jones, again, appeared to be caught off guard.

              JONES:       Your Honor, on behalf of Mr. Coates, rm asking the Court to bar this
                           testimony of Mr. Simmons. It's a matter that occurred when Mr.
                           Coates was 17 years old, some years ago, Your Honor. It has
                           nothing to do with this conspiracy trial. To let this testimony in -

              THE COURT: I don t know what testimony he's going to give.
                                    1




              JONES:       Well, he's giving testimony about a kidnapping that Mr. Coates was
                           charged with and tried in a juvenile court in the District of Columbia
                           back in 1990, and as far as I'm concerned, Your Honor, it viblates all
                           the laws against confidentiality as far as juvenile offenses are
                           concerned. It s a situation that does not purport to be, as far as I can
                                         1


                           see from the evidence, it doesn't have anything to do with this case
                           at all, and we would object to the idea. What it amounts to, Your
                           Honor, is propensity evidence.

              THE COURT: What is its relevance?

              MS. CHATURVEDI:           A couple of things, Your Honor. First of all, it's not
                                        charged as a substantive count. It1s just a racketeering
                                        count. It's charged in the indictment. It is part of this
                                        conspiracy in that Mr. Simmons was kidnapped, ifs our
                                        allegation, and Mr. Simmons was a member of the L
                                        Street group. He was kidnapped by Sean Coates and
                                        others who were part of the K Street group. It goes


              The Court:         It, nevertheless, is Jencks material.
              Mr.Jones:          Well, we object to Mr. Yusef Simmons coming in and testifying
                                 at all about that juvenile matter.
              The Court:         Well, let's deal with the testimony when the testimony is
                                 presented.
              Mr. Jones:         Okay. (Tr. 012201 am p.62)
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(Page 440 of Total)
                                               App-1006
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         USCA Case #21-3072       Document #2077668             Filed: 10/01/2024     Page 441 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 17 of 53




                                        directly to show the animosity between K Street and L
                                        Street, which by our calculation began in •1990. The
                                        greater escalation occurred in 1996. But this is one of
                                        the events, precipitating events that caused a conflict
                                        between K Street and L Street.

              THE COURT:          Okay. And Coates was, in fact, 17 at the time?

              MS. CHATURVEDI:           That1s right, Your Honor. I actually -- Mr. Jones and I
                                        have talked about this issue prior to this discussion at
                                        the bench, and I've provided him with two cases that
                                        discuss the propriety of the --

              THE COURT:                I think ifs admissible. (Tr.020501 pm p.25-26}

                      The prosecution began its examination of Simmons by talking about events

              in 1996 during the war between L Street and K Street. Jones objected and the

              Court stated that his objection was frivolous. 12 Thereafter, Jones rarely objected: 13

                      12

              Jones:        I object to this line of questioning. Judge, we're talking about 1996
                            and she is ostensibly bringing this man in to talk about a kidnapping
                            that occurred back in 1990. I don't know the relevance of this."
              Court:        She perhaps has not gotten to the subject of the kidnapping. I don 1t
                            know. The witness may have other relevant testimony to offer.
                            What is the nature of your objection?
              Jones:        My objection is relevance, Your Honor. We're talking about brothers
                            being murdered. We are talking about everything other than what
                            she brought him in here to talk about.
              Court:        I don't know what she brought him in here to talk about and either
                            do you. Your objection is overruled. It's a frivolous objection and
                            you know it. Now, let's proceed. (Tr.020501 pm p.35-36)
                      13   Jones made one more frivolous objection when Simmons testified
              that after Coates was no longer on the scene the gunman said "Where's your
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     '                                                  17



(Page 441 of Total)
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       USCA Case #21-3072         Document #2077668             Filed: 10/01/2024     Page 442 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 18 of 53




                      During his direct, Simmons provided detailed testimony about his

              abduction at gunpoint and being put in a car driven by Sean Coates. Simmons

              was put in another car and never saw Coates after that. The demand for money

              was made after Coates was no longer there. Despite the prior adjudication and

              the fact that the police had been called, Jones began his cross-examination by

              referring to the "so-called kidnapping back in 199011 • Jones got Simmons to

              admit that in his original statement, he did not name Coates as someone who

              was involved. Jones did not identify introduce the relevant portion of the

              statement. (Tr.020601 am p. 70-71} Jones did get Simmons to admit that the

              kidnapping was just about money.            It had nothing to do with K street.

               (Tr.020601 am p.71-72)

              3.      AITEMPTED MURDER OF RONALD SOWELLS

                      Prior to Sowells taking the witness stand, Detective Robert Mitchell testified

              that on October 30, 1996, he was called to interview the victim of a shooting at

               1100 Howard Rd. Mr. Sowells told him that Bird who hung out in the 200 Blk

              of Delaware Southwest. "I ask him did he know his real name , and he told me


               money." His objection was based on hearsay. The statement was clearly part
               of the res gestae. The objection was overruled. (Tr.020601 am p.28)
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(Page 442 of Total)
                                                App 1008
        USCA Case #21-3072          Document #2077668           Filed: 10/01/2024    Page 443 of 477
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                  the guy's name was Sean Coates.,, (Tr.041701 am 38) Detective Mitchell's

                  partner went to the hospital with him, but he did not go into the room while the

                  statement was being taken.      The Detective took notes, but they were not

                  verbatim. (Tr.041701 am 40)

                        Mitchell was asked by Counsel for Carson whether he had sought an arrest

                  warrant for Coates. His answer was no. (Tr.0417 am p.47) Jones had lots of

                  good fodder for cross. Mitchell had an established crime scene, the forensic

                  evidence was recovered and he said he had an identification by name. Under

                  the circumstances there could not be any rational basis for an identification.

                  Police officers are required to preserve statements of identification. Why had

                  Dectective Mitchell not done so. Jones did not even inquire whether Mitchell

                  recorded this infonnation in his police notebook.      As usual, there was no

                  examination about the crime scene or the witnesses ability to observe the

                  incident.

                        Sowells 14 testified that he saw Birdy driving his Q45 in the opposite


                        14     According to Sowells although the people from K Street and L Street
                  did not get along and he was associated with Woozie and L Street, he hung out
                  with the people from K Street. It was all a plot to rock them to sleep so they
                  could kill Vito, Chin, Draper, and Pimp. (Tr.041701 pm p.51) Woozie and
                  people from L street thought Vito and Chin had something to do with Patcho
                  getting killed, Hallman getting killed, Yusef getting kidnapped and Donnell
                                                         19




(Page 443 of Total)
                                                 App 1009
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       USCA Case #21-3072         Document #2077668          Filed: 10/01/2024    Page 444 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 20 of 53




              direction. He blew his horm and waived. Birdy saw him and sped off. He was

              going to going to tell Birdy to stay out of it and mind his business. When Birdy

              sped off, he knew he was scared. {Tr.011801 am p.13) Sowells went to the

              barber shop, drove down Pennsylvania Ave and picked up his brother. He was

              going to drop his brother off at the Anacostia Metro. His brother got out of the

              car. When he was pulling out, he saw Birdie "pulling up". "He was at an angle

              trying to block the car in so I couldn't back out." The prosecutor asked what

              happened after Birdie pulled up behind him, The door kind of slid open. Birdie

              was in the passenger seat. The car pulled back to the side. He knew that Birdie

              was about to shoot. As Birdie was about to shoot, Sowells sat back and after

              Birdie shot and got close, he shot back three or four times (Tr.041801 am p.16)

              Birdie was no longer in the Q45. He was in something like a Dodge Stratus. He

              was shot twice in the arm. "As he was pulling up some more, he just started

              shooting." The car Birdie was in was pulled off.
I •
                      Although Sowells story provides rich fodder for cross-examination, Jones,
i
              as usual did not examine Sowells on his story. He did not inquire about the


              Burroughs getting killed. (Tr.041701 pm p.52) Sowells and Vincent Hill could
              not stand each other. (Tr.041701 pm p.59) According to Sowells, when Vito
              got shot, Price saw a guy hop in his car and he went back and told. (Tr.041701
              pm. p,59).
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(Page 444 of Total)
                                               App 1010
       USCA Case #21-3072           Document #2077668          Filed: 10/01/2024    Page 445 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 21 of 53




              placement of objects on the crime scene. He ask nothing about the medical

              records even thought there is a glaring disparity between the testimony of Mitchell

              and Sowells. Sowell's story would depend upon a tremendous coincidence.

              Coates see him while are driving his Q45. Sowells picks he brother up and gives

              him a ride to the metro. Thus Sowell was someplace he did not intend to be.

              Yet, Coates has changed cars, located him at this coincidental location and come

              prepared to ambush him. That does not make sense.

                      The government did not present any pictures of Sowells injuries. There

              was no medical testimony about his injury. As a former prosecutor, Mr. Jones

              should know that when the prosecutor leaves out this type of evidence, he is

              spinning his facts.

                      Although there was a glaring disparity between Detective Mitchell's

              testimony and Sowell's regarding the interview, Jones never explored that

              discrepancy. Detective Mitchell had said that he waited until after Sowells'

              surgery. Sowells' testified that he did not have surgery - "that they ain't never

              take the bullets out." (Tr.041801 pm p.49)          He said that the Detective's

              inteiviewed him while they were doing the x-ray. 15


                      15 Further undercutting his credibility, Sowells admitted lying about seeing

              who shot Kim Richardson, seeing Kevin Hart get shot, and seeing Joey Simmons
                                                       21




(Page 445 of Total)
                                                App 1011
       USCA Case #21-3072         Document #2077668           Filed: 10/01/2024    Page 446 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 22 of 53




                      Jones starts his cross-examination (Tr.041801 pm p.30-53) by asking

              about how much money Sowells' made dealing drugs. Thus, he gave the

              impression that he was running away from the witness rather than cross

              examining him. Jones then elicited that at the time of the shooting, Birdy and

              Sowells were fine with each other.



                      Sowell said on direct that you pulled up next to him and started shooting.

              Jones got Sowells to say that the first shot came through the back which would

              be consistent with the window. (18 pm 37) Mr, Jones ask Sowells whether he

              told FBI agent McCauley that he was not able to identify the two black males that


              get killed. (Tr.041801 am p.22-24) Sowells described an incident where two
              guys were squeezing people's marijuana bags and then said that they said that
              they did not want to buy this shit. Chin asked for a gun. Sowells gave him one.
              Chin chased the guy down. The guy fell. William Bumbrey ran over and shot
              him. (Tr.041701 pm p.47-49)
                     Roland Brown, the man who Sowells testified was shot because he was
              squeezing marijuana bags and then did not buy them, testified about the incident.
              His version of events was very different from Sowells. He took a urine by the
              tennis courts and then went to buy marijuana. He was approached by a
              gentleman with marijuana who asked him why did he piss on the street.
              Somebody said kill them niggers. His friend told him to run and he ran and a
              hail of gunfire let loose. He got hit between Land Mand fell. Some one with a
              coat on ran up behind him and shot him in the shoulder. He was shot six times
              and remained in the hospital 43 days. (Tr.042401 am p.41-42) Brown did not
              know who shot him. (Tr.042401 am p.48)


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(Page 446 of Total)
                                               App 1012
       USCA Case #21-3072         Document #2077668              Filed: 10/01/2024   Page 447 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 23 of 53




              were in the car shooting. He denied saying it. {18 am 40} Jones did not show

              him the document to refresh his recollection. 16

                      Jones then becomes accusatory and accused Sowells of lying. He ended

              his cross-examinationup by saying improperly 'Tm not going to waste the juror's

              time." (18 pm 51)

                      Montgomery said he loaned Bird his gun so that they could go after Ron

              Sowells. Montgomery said Bird gave the gun back after the shooting and

              Montgomery threw it in the river. According to Montgomery, Bird told him that

              Manute was sitting in the Anacostia subway station and Bird pulled up on Manute

              and blasted him. Chin later complained because Bird did not finish Manute off.

              {Tr.031201 pm p.90) Jones not ask the obvious questions to undergird a defense

              that Montgomery committed the offense. The weapon was Montgomery. He

              was the last person in possession of it. Montgomery is about the same height and

              complexion as Coates. 17


                      16  Counsel anticipates that she will have additional points to make once
              she obtains the discoveryt Jencks, and medical records for this incident.
                      17  Lisi also testified regarding the Sowells shooting. Montgomery took
              him to the waterfront to find the gun. He saw the harbor police retrieve the gun.
              (Tr.041701 am p.15-16} Joe Welsh from the Harbor Patrol testified that he
              recovered the .30 carbine from the river. Jones asked one question - whether
              Montgomery was there. (Tr.041701 am p.81-82) The answer was no.
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(Page 447 of Total)
------                                         App 1013
             USCA Case #21-3072        Document #2077668           Filed: 10/01/2024     Page 448 of 477
                         Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 24 of 53
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                    4.      KIDNAPING OF ANTHONY "WYSOCKI" PRYOR
 I;                         Sergeant Deloatch testified that he was assigned to investigate the
 I



                    kidnapping of Anthony Pryor, "Wysocki". The kidnapping occurred in Oxon Hill.

                    He went to the home of Doreen Key and looked out her window and saw the

                    dumpster in the alley. (Tr.042301 pm p.90-91) Key gave a physical description

                    of Draper, said that she knew him four years and that he cleared his throat a lot.

                    (Tr.042301 pm p.95-98) In cross examination, Kiersh established that Sweeney's

                    fingerprints were not recovered from the car.       (Tr.042401 am 17). Jones

                    examined Deloatch about the location of the car. (24 am 30) In redirect, the

                    prosecutor was permitted over a non specific objection by Jones to elicit that the

                    prints belonged to Sean Coates. (Discussed further below)

                    5.      MURDER OF ALONZO GASKINS, DARNELL MACK AND
                            MELODY ANDERSON, "THE TRIPLE"


                          Keith Slaughter testified about the processing of the crime scene for Sowells
                    shooting. The tan Chevrolet was in front of the metro station. The rear driver's
                    window was shot out. (Tr.041701 am p.62) He seized a Taurus handgun, a
                    magazine, (from a Book Bag) 9 mm shell casings and .30 carbine shell casings.
                    (Tr.041701 am p.58-61) The nine millimeters came from inside the car.
                    (Tr.041701 am p.65) The .30 carbine casings were found outside the car.
                    Slaughter did not prepare a crime scene diagram. One of the 9 millimeters was
                    recovered fror:n the drivers seat. He does not know where the other's came from.
                    (Tr.041701 am p.67) There were no bullet holes in the body of the car. The shell
                    casings were within 8 to ten feet of the station wagon. (Tr.041101 am p.69)
                    Chatuivedi showed the witness a photograph with one of the 9 mm.
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      I
      (Page 448 of Total)
      I ------                                      App 1014          ----------
        USCA Case #21-3072        Document #2077668          Filed: 10/01/2024    Page 449 of 477
                 Case 1:98-cr•00329-RCL Document 1020 Filed 02/19/08 Page 25 of 53




                      According to Montgomery, initially Chin did not want Bird on the triple
              because Bird did not ever want to do anything - he always wants to be the driver.
              (Tr.031401 am p,17) Chin, Draper and Montgomery had 2 to 4 conversations
              about doing Lonnie. Montgomery said if we are going to do, this let's do. They
              did not have any guns. Draper went and got a .40 caliber Glock and a stun gun.
              After Chin Draper, and Montgomeiy spent some time looking for Lonnie, they
              went to get Bird because Bird and Lonnie was cool. (Tr.0314 am p.34} Bird did
              not know what they had planned when they went to get him. Draper played a
              joke and pretended to shoot Bird. They told Bird what they were going to do.
              He does not remember Bird saying anything.            Bird, Chin, Draper, and
              Montgomery were sitting in the van when Lonnie, Darnell Mack and the 3 girls
              came out. Mack was a dose friend of Vito, Lonnie, Darnell and the girls got in
              a car and left.

                   Montgomery, Chin, Draper and Bird went back to Montgomery's house
              and Montgomery made 4 masks out of black skull caps, one for each of them.
              Montgomery and Birdie took a tag off a car and put it on the van. Birdie was
              supposed to go in, but when it was time to get out of the car, Birdie did not get
              out of the car. Montgomery and Draper ran up to the people and pushed them
              in the house. One girl ran upstairs. He did not see what the other one did.
              (Tr.031401 am p. 4 7 -48) Montgomery grabbed Darnell Mack and Draper grabbed
              Lonnie. Mack was not resisting. He said he did not have any money.
              Montgomery lifted up Mack's jacket so he could stun him and Draper started
              shooting. He pushed the screen door open with his thumb. He did not see
              Draper shoot the girl. Draper got to the car first and then Montgomery.
              (Tr.031401 am p.53).
                    Montgomery testified that he was mad about Draper shooting. Draper
              claimed that Lonnie was reaching. Chin believed that Draper hit Lonnie or
              Darnell for Boo and Barn, drug dealers. (Tr.031401 am p.73)
                      Chin said that Draper told him that the only person that he had told about
              the murder in Temple Hills (the Triple) was Butchie. Chin said that they had to
              hit Butchie and that there would be no case. On July 31, 1997, Montgomery
              and Chin were arrested for the Temple Hill's murders. The police told them that
              they definitely had Draper. Montgomery in a hand written statement told the
              police that Draper was the only person who got out of the car, and that shortly
              after, they heard gunshots. He said that Bird, Chin, and himse)f remained in the
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(Page 449 of Total)
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       USCA Case #21-3072        Document #2077668           Filed: 10/01/2024    Page 450 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 26 of 53




              car. He went to the grand jury in PG on August 5, 1997 and testified that the
              statement he gave the PG police was true. Montgomery was charged in District
              of Columbia and Lisi explained to him that they had videotapes of him making
              drug transactions on K Street.
                     When he went to the grand jury, he lied about the guns in the 60th and East
              Capitol shooting. (Tr.031401 pm p, 27) After he pied to the narcotics conspiracy,
              he was released and the government supported him. (Tr.301401 pm p.28) Lisi
              would come to visit Montgomery and Montgomery told him about T. T. and
              Terita and Chrissy. He provided more information because he was concerned
              that if he withheld anything people could snitch on him. Bird could tell them
              about the Triple. Raymond could tell about Maurice and Slick. He then entered
              the second plea agreement (14 am 30-33). He was concern that Poo-poo would
              say that he was the shooter in Tim-Tim's case so that Poo-poo could get his time
              back.

                      In November of 1999, Montgomery told Lisi and Chateverdi that he had
              not been in the house during the Triple. He said that Bird went in. About a
              month latter, Montgomery called Ziedenburg and told him that he did go in the
              house. (Tr.031401 pm p.41). The government again asked to have his release
              revokedy but Judge Jackson allowed him to remain on release. Montgomery
              went into witness protection. He left witness protection and came back to D.C.
              He understood that witness protection was voluntary. After leaving the program,
              Montgomery's release was revoked. (Tr.0314101 pm 43}
                      While Montgomery and Chin were in the cellblock, Chin told him that he
              knew what Montgomery had told the detectives. Chin was angry that
              Montgomery put them on the scene. Chin said that if he got out, he was going
              '•to hit heads". (Tr.031401 pm p.45)
                      Mr. Jones began his cross examining Montgomery about Coates' daughter.
              He is shut down by the Judge when he says "And you know Birdie 1s crazy about
              'Shanese' ." (Tr.032101 am p.25) He brought up the point about Coates having
              "fen:iinine ways" 1 but that was not meant to suggest that you were homosexual.
              (Tr.032101 am p.28) Montgomery said he was not sure whether he told the
              government that you would snitch. (Tr.032101 am p.30).
                      Jones received pennission from the Court to go over some things that had
              Montgomery had already been questioned about. {Tr.032101 am p.30) So ne
              was not constricted by the Coutfs earlier rule limiting repetition. Jones then

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(Page 450 of Total)
                                              App 1016
         USCA Case #21-3072       Document #2077668             Filed: 10/01/2024   Page 451 of 477
                  Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08       Page 27 of 53




              repeats the fact that Coates was eligible for the death penalty. (21 am 41) Jones
              questioned Montgomery about the admitted lie he had told in Maryland - that
              Coates went into the house with Sweeney and not him. According to Jones,
              Chaturvedi had stressed to him "that it didn't matter whether I went in or stayed
              outside of the house. The point is it happened. I stressed to them that no one
              was supposed to get killed. So it happened in the commission of another crime.
              And whether we had guns or not that all of us was liable to the same degree."
                                                   1

              (Tr.042101 am p.41)
                    Jones had Montgomery say again that from his perspective he was not
              involved in a conspiracy. {Tr.032101 am p.55) Jones sat down without laying
              a finger on Montgomery.·
              6.     FEUD WITH CONDON TERRACE

                      Sean Coates 18 was charged with three racketeering acts related to the feud

              between Condon Terrace and Southwest:


                            Racketeering Act 26:       AWIMW/A Jermaine Hall and Michael
     f   L
                                                       Jones (Not proven)

                            Racketeering Act 27:       Conspiracy to murder Michael Jones from
                                                       June 20-June 28, 1992 (Proven)

                            Racketeering Act 28:       Assault with Intent to Murder while Armed -
                                                       Michael Jones on June 28, 1992

                      Several witnesses testified to the feud between Condon Terrace and

              Southwest. At least two possible motives were put forward for the feud. 19 With


                       Coates was the only defendant charged with these offenses. Thus his
                      18

               counsel could not expect to benefit from spillover from his codefendants' cases.
                       James Montgomery testified to a fistfight at a club, Cherry's. A guy
                      19

               threaten to slap Clifton Edwards (Meechie). Montgomery said that he, "Chin,
                                                         27



(Page 451 of Total)
                                                App 1017
       USCA Case #21-3072         Document #2077668          Filed: 10/01/2024    Page 452 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 • Page 28 of 53




              respect to the June 20, 1992 shooting of Montgomery testified that Meechie told

              him that he had a pistol, Poo-Poo had a pistol and Bird had a machine gun, and

              that he was going to kill Bird when he came home because Bird did not shoot.

              (Tr.031201 pm p. 75-76)

                      The government had absolutely no factual basis to infer that Sean Coates

              was involved in the January 20 or had a machine gun.               The discovery

              documents show that there was never an allegation of anyone having a machine

              gun During direct, Montgomery admitted that he did not want Meechie to pled

              guilty because he was a co-defendant with Meechie in another case. 20 (Tr .031201

              pm p.77)



              Bird, Erik, Hard Rock, Morris, Crawford" were the people he remembered being
              there. (Tr.031201 pm p.72-73) Arthur Rice testified that a guy named Motor
              from Condon Terrace actually punched Meechie in his face. Montgomery also
              testified about the 1993 murder of Dihru (Wayne Perry's nephew) by Condon
              Terrace but this occurred in 1993. (Tr.031201 pm p.74-75)

                    Eric Gray testified that at the courthouse during a case involving Michael
              Jones in the summer of 1992 people from Condon Terrace got into a fight with
              lrky Berk, Draper, Skinny Pimp and Sam. (050801 pm p.13-15)
                      20    In addition to pleading to shooting Jermaine Hall, Clifton Edwards
              pied guilty to ULN in case number F-6465-92. Edwards admitted that he was
              driving a car without the owner's pem,ission which was stopped on November
              13, 1991. Montgomery was in the front passenger seat when the car was
              stopped. (Tr.052593 p.11-13)
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(Page 452 of Total)
                                               App 1018
       USCA Case #21-3072         Document #2077668          Filed: 10/01/2024    Page 453 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 29 of 53




                      Arthur Rice was not sure when the incident happened, but after the

              incident Meechie got locked up.     He said that he spoke to Meechie and Birdy

              about a shooting at a Exxon station on South Capital - said some dudes was up

              there in a Accura and either Meechie or Birdy chased them, one of there guns

              jammed, but the guys got away. (Tr.042501 pm 47-49}

                      Arthur Rice testified about Michael Jones being shot on June 28, 1992.

              According to him, after the June 20th incident, Meechie call and spoke with Birdy

              and himself. Meechie said that a dude name Michael Jones is testifying against

              him. Rice testified that Birdy knew where to go. They went somewhere around

              Condon Terrace. 21 According to Rice, Birdy and Gus walked up to Michael

              Jones. They shot at him. Without objection, the government elicited from Rice

              that after Mike survived, Meechie pled guilty. (Tr.042401 pm p.55)

                      Also without a hearsay or confrontation clause objection, the Government

              admitted Edward's plea {Ex M78) proffer into evidence without objection. The

              Government deleted a portion of the proffer as agreed to by Edwards which




                      21    Actually Michael Jones was shot in Congress Heights at 10th Place
              and 4 th Street.
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(Page 453 of Total)
                                                App 1019
          USCA Case #21-3072       Document #2077668           Filed: 10/01/2024    Page 454 of 477
                    case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 30 of 53




               would strongly suggest only one person was involved in the June 20 shooting. 22

               {Tr.043001 pm p.23-24)

                       Mr. Jones entire cross-examination regarding Arthur Rice ~s testimony about

               the Condon Terrace shootings was as follows:

               BY MR. JONES:

               Q.      Good morning, Mr. Rice.
               A.      Good morning.
               Q.      My name is Jones. I represent 11 Birdie. 11
               A.      All right.
               Q.      Sean Coates.
               A.      Yes.
               Q.      Now, Mr. Rice, you have talked a lot about -- well, you mentioned a few
                       incidents in which you observed uBirdie, 11 and one of them which sticks in
                       my mind is the incident involving Mike -- this guy named Mike?
    f          A.      Yes, sir.
               Q.      Now, in what neighborhood did that shooting take place?
               A.      Southeast.
               Q.      Southeast. There is no other -- you can't break it down any further than
                       that?
               A.      Over there towards Condon terrace, over there by fourth street and 10th
                       Place. That area over there.
               Q.      Now, you said you posted up at some street?
               A.      Yes.
               Q.      What street did you post up at?
               A.      I can t recall.
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               Q.      You don't recall?
               A.      No, sir.

                       22 Mr. Kiresh (Sweeney's lawyer) objected because he thought that
               Edwards was a member of L street. He was confusing Clifton Edwards with
               Demetrius Hunter also nicknamed Meechie. (Tr.043001 pm 21)
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(Page 454 of Total)
                                                 App 1020
       USCA Case #21-3072           Document #2077668                  Filed: 10/01/2024   Page 455 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 31 of 53




              Q.      Now, you indicated, sir, that you saw ' Birdie", Sean Coates, stand over top
                                                                 1


                      of this man named Mike and pump bullets into him?
              A.      Yes, sir.
              Q.      Now, that, sir, is a lie, isn 1t that correct?
              A.      No, sir. (Tr.043001 am p.9.10)

                      Also Agent Lisi testified to the following statement made by Co-Defendant

              Sweeney to Michael "Butchie" Smith.

              Q.      Did Mr. Smith tell you about conversations he had with Mr. Sweeney
                      involving the shooting of an individual by the name of Michael Jones?
              A.      Yes, but he didn't know the name Michael Jones. What he told me was
                      that, he said that back in 1992, Meechie, and that's just the name he gave
                      me, Meechie was charged with shooting somebody from Condon Terrace.
              Q.      Let me just stop you for a second. When you say he told you, this is what
                      Mr. Smith told you? (Tr.052901 pm p.29-30)
              A.      Yes, ma'am.
              Q.      And the source of his knowledge was what?
              A.      Mr. Sweeney.
              Q.      All right. I1m sorry to interrupt.
              A.      That s okay. So Mr. Smith is telling me that Mr. Sweeney told him that
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                      Meechie got charged with shooting a person from Condon Terrace, and
                      that one of the persons or the victims was cooperating against Mr. 1-- was
                      cooperating against Meechie. So that Mr. Sweeney went to an area in
                      Southeast nearMississippi Avenue to kill the person who was testifying or
                      who was going to testify against Meechie. And Mr. Smith was under the
                      impression that the person did die, that there actually was a murder. And
                      he said that Mr. Sweeney went down there, chased a person through the
                      alley and it was some place near Mississippi Avenue, caught up with him,
                      shot him, and stood over him and shot him some more. And it was Mr.
                      Smith1s understanding that the person died. And I tried going back and
                      finding this crime, and this is an example of where 11d call him and ask him
                      a question, and I'm trying to find -- I said, hey, you know, tell me about
                      that again. And then he told me that, yeah, he said, it was Draper or
                      Shorty are the words he used and Birdy and he knew Birdy. He said Birdy

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(Page 455 of Total)
                                                    App 1021
         USCA Case #21-3072       Document #2077668            Filed: 10/01/2024    Page 456 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 32 of 53




                      was with Draper when they went down there, and he said Birdy also shot
                      somebody during the same event. So we looked back through and based
                      on what he had told us, it matched up exactly with the shooting of Michael
                      Jones. However, Michael Jones did not die. Let me back up. Match
                      exactly. (Tr.052901 pm p.29-30)

                      Although not a single question had been asked about Condon Terrace, Mr.

              Jones when asked whether he had cross, responded: "Your honor, most of the

              questions have been asked. At this point, I don 1t think I am going to have any

              questions." (TR053001 am p.89) 23




                      23 Mr. Jones did call a witness, a police officer who testified that Michael

              Jones said that Wayne Perry shot him. (Tr.061401 pm p.22-23)

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(Page 456 of Total)
                                                App 1022
                USCA Case #21-3072       Document #2077668            Filed: 10/01/2024     Page 457 of 477
                          Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 33 of 53




                     Ill.   COUNSEL'S OTHER FAILURES

                     1.     Opening Statement

                            Mr. Jones' opening statement is obviously off the cuff. It is less than seven

                     transcript pages. (Tr.010901 pm p.10-16)           The first three pages are just

                     generalized statements that do nothing to refute the charges. Jones explicitly

                     states "... there's not going to be any physical evidence linking [Sean Coates} to

                     any crime." (p.11)

                             Jones then implied that he will present an alibi defense for the triple. "The

                     evidence will show that Sean Coates wasn't even there." 24 Jones said he is going

                     to cross examine Mr. Montgomery. {p.14) With respect to Michael Jones, Mr.
     (_

                     Jones informs the jury that they will hear that Michael Jones said that William

                     Perry shot him. (p.4) He makes no mention of the other Condon Terrace

                     shooting. Jones told the jury that they would hear about a gun that Coates pied

                     to years ago. "And you will hear another set of facts describing the incident when

                     he was a juvenile." (p.14 ) Jones does not mention the marijuana or RICO

                     conspiracies. Jones did not mention the shooting of Ronald Sowells or the

                     kidnapping of Anthony Pryor.

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                                   Jones did intend to present an alibi witness, Coates' sister, but he did
                     not.
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(Page 457 of Total)
                                                       App 1023
       USCA Case #21-3072         Document #2077668           Filed: 10/01/2024    Page 458 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 34 of 53




              2.      Jones Trial Preparation and Representation of Mr. Coates at Trial

                      Current Counsel does not have Mr. Jones' files to access his trial

              preparation. Further, as set forth above, Counsel does not currently have access

              to Mr. Jones.       There is, however, information in the record which points to

              the paucity of Jones preparation. First there is the issue of his failure to make

              discovery request. Perhaps he anticipated that with so many lawyers, it would

              not be necessary.

                      The problem with that thought process is illustrated by the Condon Terrace

              allegations. Defendant Coates was the only defendant who had to defend against

              the Condon Terrace allegations. The Bates Stamp numbered discovery related

              to Condon Terrace is 900215-900353. That discovery relates solely to the June

              20, 1992 shooting of Michael Jones. There was no discovery related to the June

              28, 1992, the Racketeering Act that was found proven. In trial, Jones did not

              mention the June 28, 1992 shooting in his opening. He obviously did not have

              a plan for cross examination and simply had Rice repeat his testimony without

              challenging it.

                      Likewise with Ronald "Manute" Sowells. Jones did not mention this crime

              in his opening statement. Sowells was potentially the most dangerous witness


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(Page 458 of Total)
                                               App 1024
         USCA Case #21-3072       Document #2077668            Filed: 10/01/2024   Page 459 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 35 of 53




              against Mr. Coates. AUSA Zeidenberg said in opening statement:

                       "Well, you know what's going to happen to Ronald Sowells. On October
                      30, 1996, Sean Coates and Sam Carson find out Ronald Sowells is in the
                      neighborhood at the Anacostia Metro. They go back to Southwest, get a
                      gun. Carson is driving. Coates is in the passenger seat, pulls up alongside
                      the car where Ronald Sowells is, blasts Ronald Sowells from right next
                      door, shoots him in his side. He lives, and he will come in, and he will
                      testify, as will other witnesses, that the shooter was Sean Coates, and
                      it was Sam Carson that was with him. (Tr.010801 pm p.24-25)"

                      The discovery documents that are available to Current Counsel do not

              include any documents regarding Sowells. Defendant Coates joined motion

              previously filed by his codefendants including their motion for pretrial

              identification procedures. (Docket Entry 313 06/06/2000) The government did
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    I.        not present any evidence regarding a pretrial identification of Coates by Sowells.

              Mr. Zeidenberg did not mention that Sowells had made an identification of

              Coates to Detective Mitchell. When Mitchell took the stand and testified to the

              identification, Mr. Jones did not make any objection. More importantly, Mr.

              Jones apparently failed to notice that the Government did not move Sowells

              medical records into evidence. That should have been a red flag. Generally, the

              Government will want the jury to know how badly the complainant was injured.

              When these records are not produced, it is a red flag for the defense. Even when

              they are produced, many defense counsel routinely obtain their own copies of

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(Page 459 of Total)
                                                App 1025
                 USCA Case #21-3072       Document #2077668           Filed: 10/01/2024     Page 460 of 477
                         Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 36 of 53




                      these records to make sure nothing has been omitted. Even if he did not receive

                      the records in discovery, after the conflict between Sowells and Detective

                      Mitchell's testimony regarding the circumstances of the identifical became clear,

                      Jones should have immediately ask the Court to execute a subpoena for the

                      medical records?'> Counsel for Carson later introduced the records in his case.

                      (Tr.062501 am p.39) 26
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                              Mr. Jones most egregious error of pretrial preparation was going to trial
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                      unaware of the fact that the Government claimed to have matched his client's
Ii                    fingerprint to a print taken from the car that Anthony "Wysockin Pryor had been
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I                     kidnapped. Surely, he was unaware because he told the jury in opening that
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                      there would be no physical evidence !inking his client to any of the crimes.


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                              25 There is an indication in the record that the Government was in
                      possession of these records. Counsel for Proctor requested medical records
                      which he did not receive from his predecessor. Mr. Zeidenberg responded:

                              "We literally have a dozen binders of the materials that were turned over
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                              two years ago. And, since that time, we have a box, for instance, of
    i                         medical records that are probably several thousand pages. *** he can
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    !
                              come over to our office and review the discovery binders, and if there is
                              something specific that he sees that he doesn 1t have, obviously, we'll make
                              a copy." (Tr.092700 p.165)
                              26   Carson put on a very agrressive defense to this Racketeering Action
                       and it was found not proven.
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        (Page 460 of Total)
                                                        App 1026
            USCA Case #21-3072        Document #2077668            Filed: 10/01/2024   Page 461 of 477
                        Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 37 of 53




                           Discovery Document 300475 disclosed to the defense that a Brown 1983

                   Cadillac, license number unknown, VIN 1 G6AD698D9214743 was towed to a

                   Prince Georges County Impound at 7600 Barlowe Rd. Landover. The report

                   says that the owner of the victim is unknown.

                           Document 300484 and 300485 relate to the fingerprint examination of the

                   Cadillac.    Document Number 300484 is a Prince Georges County Police

                   Department Evidence Report which states that of the Cadillac " ... which had

                   previously been fumed for latent fingerprints utilizing cyanocrylate ester pm

                   10/22/93, was fumed for the presence of any developed latents with none of

                   value being obtained.

                           Document 300485 is a mostly illegible copy of the Request for Latent

                   Fingerprints. Coates name can barely be made out in the report section but

                   whether or not there was a match is illegible. In redirect examination of Sargeant

                   Deloatch, found an opportunistic moment to elicit the following.

                   Q.      Sergeant Deloatch, you were asked about some fingerprints that were
                           taken -- latent prints that were taken from the car compared to known
                           prints.
                   A.      Yes.
                   Q.      Do you recall being asked about that?
                   A.      Yes.
                   Q.      Do you recall whose known prints were found on the car?


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     (Page 461 of Total)
                                                   App 1027
        USCA Case #21-3072         Document #2077668           Filed: 10/01/2024    Page 462 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 38 of 53




             Mr. Jones: Objection, your honor.

             The Court: Overruled.

              The witness: Coates.

              Mr. Zeidenberg: Sean Coates?

              The witness: Yes.

              Mr. Zeidenberg: No further questions, your honor.(Tr.042401 am 30-31)

                      Mr. Jones did not make a proper objection, hearsay· and no foundation.

              Indeed despite the criticality of this evidence, he did not even asks to approach

              the bench to explain his objection. Here is on of those examples where it is clear

              that Mr. Jones is winging it- not acting with the skill and knowledge that would
    (
              be expected of a lawyer trying a case of this magnitude. The court inquires

              whether there is anything further. Rather than approach the bench and ask the

              Court to strike that evidence if the Government does not produce the

              foundational evidence, Mr. Jones proceeds to reinforce the notion that this is his

              client's finger print:

              Mr. Jones:

              Q.      You have indicated that it1s your understanding that Mr. Coates1 prints were
                      found on the car?
              A.      Yes.
              Q.      Those prints were found on the outside of that automobile, isn't that

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(Page 462 of Total)
                                                App 1028
          USCA Case #21-3072       Document #2077668              Filed: 10/01/2024     Page 463 of 477
                    Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 39 of 53




                      correct?
               A.     I'm not sure.
               Q.     lsn t it a fact that those prints were found on the right rear taillight?
                         1


               A.     Now, that you mention that, yes. Yes, it is. (Tr.042401 am p.31)

                      At this point, Mr. Jones has not only failed his duty as an advocate. He has

               become his client nemesis.        Rather than making proper objections, he is

               supplying information to affirm the Government's case against his client.

                      In his cross examination of Sergeant DeLoacth about the ownership of the

               Cadillac and where was it, Jones elicited clearly false testimony from Deloatch

               and made no effort to correct DeLoatch's suggestion that the Cadillac was given

               back to the owner was clearly false and unsupported by the evidence.
    t          By Mr. Jones:

               Q.     Good morning, Mr. Deloatch, or Sergeant.
               A.     Good morning.
               Q.     Sergeant, where is that car, the Cadillac?
               A.     Where is it now?
               Q.     Yes.
               A.     It was probably given back to the owner. I know we impound it
                      and we take it to the impound lot. And the officer that was involved
                       in the case back in 193 should have contacted the owner so the owner
                       could pick the car up. Where it is now, I couldn t tell you.
                                                                           1


               Q.      Have you ever seen the car?
               A.      No.
               Mr. Jones: I have no further questions. (Tr.042401 am p.30)

                       According to the incident report, the owner of the vehicle was unknown.

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(Page 463 of Total)
                                                  App 1029
           USCA Case #21-3072          Document #2077668            Filed: 10/01/2024     Page 464 of 477
                       Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 40 of 53
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                  No record of the car being returned to its owner was produced in discovery. 27



                          Finally, Jones did not participate in the discussion of jury instructions.

                  3.      Michael "Butchie" Smith

                          Agent Lisi's rendition of Michael Butchie Smith statements was obviously

                  prejudicial to Mr. Coates. Since Coates was not alleged to have any involvement

                  in the death of Butchie, the question as to him was whether his conduct resulted

                  in a waiver. Smith's motion merely rehashed what the Government and the

                  other defendants had said. He did not look at the issue from the perspective of

                  his Client's rights. The question for Mr. Coates was whether he had made a

                  waiver. The law from the Supreme Court is quite clear. "There is a presumption

                  against the waiver of constitutional rights ... and for a waiver to be effective it

                  must be clearly established that there was -an intentional relinquishment or

                  abandonment of a known right or privilege. 1 Johnson v. Zerbst, 304 U.S. 458,

                  464." Jones did not cite or argue Johnson' applicability.

                          As the transcript further establishes Mr. Jones, as usual, misunderstood the

                  nature of the evidence that the government intended to present.


                          27 The points made herein about Mr. Jones disastrous trial preparation and

                  performance are meant to be representational and not exclusive.
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    (Page 464 of Total)
                                                     App 1030
             USCA Case #21-3072        Document #2077668            Filed: 10/01/2024    Page 465 of 477
                        Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 41 of 53
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                   Mr. Jones: But in their statements, your honor, they list Coates as a participant
                              in the triple homicide. and I just want to know what he is going to
                              say before he gets up there and says it. I mean if he says that
                              Sweeney told him that Coates was part of that -- in the 302 it says
                              James Montgomery and Draper and Others. And that1s always been
                              what we have been under the impression of. t1And others. 11 This is
                              page 3 of the 302's, your honor.

                   The Court: that's fine. Ask him about his 302's and what is the explanation for
                   this glaring omission. A set forth above, Agent Lisi testified to something
                   different. Mr. Jones did not cross examine the glaring omission or admit the
                   statement in evidence. Jones said that most of his questions have been asked.
                   He does not think he will asks any questions. (Tr.052901 pm. p.89 During
                   closing argument Mr. Jones did not mentioned Butchie.

                   4.      Failure to Object to Continuous Hearsay Solicitation by
                           Government

                           Trial counsel continuously failed to object to hearsay solicitations by the
         (
                   Government. For example, to bolster its case about the feud between Condon

                   Terrace and K Street, the Government elicited this hearsay testimony about the

                   murder of Wayne Perry's nephew from James Montgomery.

                   By Mr. Ziedenberg:

                   Q.      Okay. Now, are you familiar with someone named Dihru?
                   A.      Yes.
                   Q.      Who is Dihru?
                   A.      Dihru is Darryl Young.
                   Q.      And was he a friend of-~ where was he from?
                   A.      Southwest.
                   Q.      Was he related to someone else from Southwest?
                   A.      Yeah.

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     (Page 465 of Total)
                                                     App 1031
         USCA Case #21-3072      Document #2077668            Filed: 10/01/2024     Page 466 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 42 of 53




              Q.      Who was he related to?
              A.      Wayne.
              Q.      Wayne Perry?
              A.      Yes.
              Q.      Now, directing your attention to around 1993, was Dihru killed?
              A.      To my knowledge. I was locked up.
              Q.      What was your understanding of who was responsible - what part of the
                      city was responsible for his murder?
              A.      Condon Terrace.
              Q.      Now, you said you were incarcerated in 1993?
              A.      Yes.
              Q.      How long had you been incarcerated, was that since November of '91?
              A.      Yes." (Tr.031201 pm p.74-75)

                      Without objection, the plea of Clifton "Meechie" Edwards was admitted

              into evidence.    Even before Crawford v. Washington, competent lawyers in

              theDistrict of Columbia routinely made hearsay objections to these plea proffers. 28
     (
                      As another example, the prosecutor asked Sowells what was his

              understanding of where Joey Simmons got killed and whether Simmons was

              armed. Without objection Sowells testified behind Harry's O's house and he was

              armed. There was absolutely no foundation laid for Sowell's having personal

              knowledge of this fact or having even learned it from a co-conspirator.

              (Tr.041701 p.79)


                      28
                            See for example Morten v. United States, 856 A.2d 595 (D.C.
              2004)

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(Page 466 of Total)
                                               App 1032
            USCA Case #21-3072         Document #2077668            Filed: 10/01/2024     Page 467 of 477
                        Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08       Page 43 of 53
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                   5.      Closing Argument

                           Having consistently failed to challenge the evidence against Coates at trial,

                   Jones gave a rambling closing statement in which much of what he had to say

                   barely passed the giggle test given the seriousness of the allegations.          He

                   suggested that Montgomery's testimony against Coates was motivated by

                   Montgomei-y's perception that Coates had "feminine ways" Tr.070301 am p_l9)

                   He adopted the argument put forward by codefendants that special agent Lisi

                   driving through the K street area and, "lo and behold, Vincent Hill and some

                   others have the nerve to talk to them. They have the nerve to be argumentative

                   and nasty with them. They didn't show them the proper respect."(Tr.070301 am

                   p.11)

                           As to the Triple, Jones argued:

                           "Well, he figures that out by saying, well, yeah, as a matter of fact, he
                           helped me change the tags. We went and stole some tags from a car and
                           put it on the van. That, you see, gets him involved. Aiding and abetting.
                           That's it. He takes a part in the actual crime itself. But, look, did anybody
                           bring anybody in here to tell you about a police report filed for a missing
                           tag or stolen tag? No. Nothing. Just Montgomery."

                           There was an obvious defense to Montgomery's pointing the finger at

                   Coates. Montgomery's fingerprints were at the crime scene. He was death

                   penalty eligible. The only way for Montgomery to improve his situation was to

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     (Page 467 of Total)
                                                     App 1033
           USCA Case #21-3072         Document #2077668          Filed: 10/01/2024     Page 468 of 477
                     Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 44 of 53




                  point the finger at someone who was not placed at the scene by incriminating

                  physical evidence. By the time that Montgomery told his story, it is impossible to

                  corroborate or disprove the underlying details - such as the car.

i                         Montgomery's allegations against Coates on the Triple were not
!

\                 compelling. He could not even say with certainty that Coates knew what the plan

                  was.

                          As to Butchie, there was reasonable doubt that he actually did point the

                  finger at Coates. After Michael Smith cooperated, Sweeney and Montgomery

                  were initial charged with the Triple, not Coates. More impmiantly, Coates was

                  not allege to be involved in the hunt for Smith. If Coates was involved in the

                  Triple, he would have had a motive to be involved in the hunt for Smith. More

                  importantly, Montgomery had an enormous reason to eliminate Smith. Revenge.

                  These, and many other inferences favorable to Coates, could have been drawn

                  by any lawyer of reasonable competence.

                          Having failed to make a proper argument to the Court for exclusion of the

                  fingerprint, Jones then argued to the jury that the fingerprint should not have

                  been admitted.      In making his argument, he improved the government's

                  evidence.


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    (Page 468 of Total)
                                                   App 1034
         USCA Case #21-3072         Document #2077668            Filed: 10/01/2024     Page 469 of 477
                    case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 45 of 53




                       "... then they talk about a fingerprint that is supposed to be on Sean Coates'
                       own car -- on the outside of the car. But who did you hear that from? The
                       crime scene search officer. You didn't hear it from the fingerprint
                       expert. The fingerprint expert from Maryland didn't come in here and tell
                       you anything about any fingerprint. And I objected to the fact that they
                       tried to elicit this information from the crime scene search officer. He has
                       no business testifying about a fingerprint. But that's what you got. )' 29

                       The fingerprint evidence came from Sgt. Deloatch, the detective

               investigating the kidnapping of Wysocki, not a crime scene officer.

               IV.     INEFFECTWENESS OF APPELLATE COUNSEL

               1.      Failure to Appeal Admission of Fingerprint by Hearsay Evidence
                       without foundation

                       Although, the admission of the fingerprint was readily recognizable as rank
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               hearsay that did not fit within any exception of the hearsay rule, Appellate

               Counsel did not appeal the overruling of the objection on appeal.

               2.      Failure to Obey Court's Order Related to Sealed Portions of
                       Transcript

                       In the Court of Appeals, Defendants' moved to review the sealed portions

               of the record in order to mount a challenge to the District's Court's Brady rulings.

               By order dated 28, 2003, the Court entered an order denying their request and

               directing them to:


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                             Here again, these examples are representative.
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(Page 469 of Total)
                                                 App 1035
         USCA Case #21-3072        Document #2077668             Filed: 10/01/2024      Page 470 of 477
                   Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 46 of 53




                      " .. .identify the specific rulings that they believe are erroneous, and if they
                      present a colorable claim, this court may review the sealed material in
                      camera to determine whether a Brady or Jencks act violation has in fact
                      occurred. ***Any future arguments concerning the district court's
                      application of Brady and or the Jencks Act should be presented in
                      appellant's brief, rather than by motion."

                      Rather than comply with the Court's order, Appellate Counsel included a

              section in its Brief titled "The Court's response to Brady and Jencks Request was

              Lackadaisical."

              3.      Failure to Raise Issue of Ineffectiveness on Appeal

                      On appeal, Appellate Counsel relied on structural issues {except the issues

              related to Robert Smith) that had almost no chance of success and were indeed

              dismissed per curiam. Appellate Counsel chose to attack the Court as biased but

              failed to address the glowing deficiencies of trial counsel that were obvious in the

              record. Jones failure to move to strike the fingerprint identification as rank

              hearsay was obviously deficient performance, but Appellate Counsel failed to

              address it. With respect to the issues regarding Robert Smith, Appellate Counsel

              cited Johnson v. Zerbst, supra, but did not assert that the Court below

              rendered its opinion without argument on its applicability because the Trial

              Counsel failed to raise the issue.



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(Page 470 of Total)
                                                  App 1036
       USCA Case #21-3072         Document #2077668             Filed: 10/01/2024     Page 471 of 477
                   Case 1:98-cr~00329-RCL Document 1020 Filed 02/19/08 Page 47 of 53




              V.      INEFFECTIVENESS BY TRIAL AND APPELLATE COUNSEL

                      Coates was convicted of three counts of Use of firearm During and in

              Relation to a Crime of Violence or Drug Trafficking on or about November 17,

              1996 (Count's 34, 35, and 36). He was sentenced to 240 months on counts to

              be served consecutive to each other and all other counts. Although it is uniformly

              held that gun possession that is uninterupted merges, Trial Counsel did not raise

              this issue at sentencing or file a motion to correct the sentence. Matthews v.

              United States, No. 03-CF-432 (D.C. 2006); Bruce v. United States, 471 A.2d

               1005 (DC 1984); Monroe v. United States, 600 A.2d 98 (DC 1991); United

              States v Chalan 812 F2d 1302 (1987, 10th Cir.). Appellate Counsel did not

              seek remand to merge the counts.

              VI.     PROSECUTORIAL MISCONDUCT

                      In reviewing the files and records that are currently available Counsel for

               Coates believes that the prosecutors engaged in deliberate misrepresentations

               and other misconduct but needs further investigation and a complete set of

               discovery, Giglio, Jencks and the sealed 302s. For example, the prosecution had

               asked _Coates to stipulate to the fingerprints in reference to Anthony Pryor. In

               light of the earlier report saying no fingerprints of value and the claim that the car


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(Page 471 of Total)
                                                App 1037
         USCA Case #21-3072       Document #2077668          Filed: 10/01/2024     Page 472 of 477
                    Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 48 of 53




              had been disposed of, it is not surprising that the Government was concerned

              about getting the fingerprint admitted. When Coates refused to stipulate, it

              purposefully violated the rules of evidence and admitted the fingerprint

              identification as pure rank hearsay with no intention to later lay the foundation.

                       Counsel believes the Government made deliberate misrepresentations

              regarding the Condon Terrace counts. For example the Government put on

              evidence regarding a fight between Condon Terrace and Southeast in summer

              of 1992 while Michael Jones was there for a court hearing in June of 1992. 30 It

                       30

              Q.       Was there a time in the summer of 1992, Mr. Gray, when you were down
     (                 at the court building; D.C. Superior Court, in connection with the case
                       involving a friend of yours by the name of Mike?
              A.       Yes.
              Q.       Do you know Mike's full name?
              A.       Michael Jones.
              Q.       And what neighborhood was Michael Jones from?
              A.       Condon Terrace.
              Q.       When you went to the court building in Superior Court. did you go there
                       by yourself or with other people?
              A.       With other people.
              Q.       The other people that went with you, what neighborhood were they all
                       from?
              A.       Condon Terrace.
              Q.       When you got down there, did you see any people from Southwest?
               A.      Couple.
               Q.      Got to keep your voice up.
               A.      A couple of them.
              Q.       Okay. Did anything happen between you and the peoplethat you were
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(Page 472 of Total)
                                               App 1038
         USCA Case #21-3072       Document #2077668           Filed: 10/01/2024    Page 473 of 477
                 Case 1:98-cr~00329-RCL Document 1020 Filed 02/19/08 Page 49 of 53




              should be noted that it was Ms. Chaterverdi who supplied the date in her

              question. Counsel has reviewed the Superior Court records. According to

              Superior Court records, Michael Jones had a case pending in 1992, but that case

              was disposed of on March 20, 1992.

                      Counsel also notes that there was not one scintilla of evidence pointing to

              Coates involvement in the June 20, 1992 shooting or that Michael Jones was

              shot at. The Government asserted that Michael Jones was a victim in order to

              bolster its case for the shooting on June 28, 1992. Knowing that Michael Jones

              had said that Wayne Perry had shot him, the government sought to connect

              Coates to a non-existent earlier attempt on Jones life. Counsel also wants to
     (
              investigate whether Mr. Ziedenberg had a good faith basis for his representation

              that Michael Jones told the police in the hospital that it was one of Wayne Perry's

              boys and Wayne Perry who shot Michael Jones.

                      The testimony of Detective Mitchell that Sowells named Coates on the date



                    with versus the people that were from Southwest?
              A.    We was about to get in a beef. ***
              A.    I say, we was about to get in a beef.
              Q.    What was about to happen? What was happening?
              A.    A lot of arguments, this and that, and before, you know, we got into it,
                    there, you know, police got involved with it.
              (Tr.050801 p,9-10)
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(Page 473 of Total)
                                               App 1039
         USCA Case #21-3072      Document #2077668            Filed: 10/01/2024   Page 474 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 50 of 53




              of the shooting as his assailant makes absolutely no sense and Counsel intends

              to further investigate this as an instance of misconduct.

                      Finally, James Montgomery had told the Government that Sam Carson had

              killed Paul Ridley. Another man Steven R. DeWitt had been convicted of this

              murder and been incarcerated for 10 years. The fact that Montgomery was

              accusing Carson of a murder for which someone else had been convicted had the

              potential to seriously undermine Montgomery's credibility and the Government's.

              Although this was clearly Brady, the government elected to withhold this

              information until after the conviction of Coates.

                          MEMORANDUM OF POINTS AND AUTHORITIES
     (          IN SUPPORT OF MOTION PURSUANT TO 28 U.S.C. § 2255 TO
                       VACATE, SET ASIDE OR CORRECT SENTENCE

                      Mr. Coates was charged with the most serious offenses possible, four

              murders, two kidnappings, several shootings, RICO conspiracy and a Marijuana

              Conspiracy. He did not select his counsel. His counsel was appointed by the

              Court and clearly here, Counsel did not function in the manner required by the

              Sixth Amendment right to Counsel.

                      "Thus, a fair trial is one in which evidence subject to adversarial
                      testing is presented to an impartial tribunal for resolution of
                      issues de.fined in advance of the proceeding. The right to counsel
                      plays a crucial role in the adversarial system embodied in the Sixth
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(Page 474 of Total)
                                               App 1040
         USCA Case #21-3072       Document #2077668           Filed: 10/01/2024    Page 475 of 477
                 Case 1:98-cr-00329-RCL Document 1020 Fi 1ed 02/19/08      Page 51 of 53




                      Amendment, since access to counsel's skill and knowledge is necessary to
                      accord defendants the "ample opportunity to meet the case of the
                      prosecution" to which they are entitled. Adams v. United States ex rel.
                      McCann, 317 U.S. 269, 275, 276 (1942); see Powell v. Alabama, supra,
                      at 68-69. ***

                      The benchmark for judging any claim of ineffectiveness must be whether
                      counsel's conduct so undermined the proper functioning of the adversarial
                      process that the trial cannot be relied on as having produced a just
                      result.***

                      A convicted defendant's claim that counsePs assistance was so defective as
                      to require reversal of a conviction or death sentence has two components.
                      First, the defendant must show that counsel's performance was deficient.
                      This requires showing that counsel made errors so serious that counsel was
                      not functioning as the 'counsel' guaranteed the defendant by the Sixth
                      Amendment. Second, the defendant must show that the deficient
                      performance prejudiced the defense. This requires showing that counsel's
                      errors were so serious as to deprive the defendant of a fair trial, a trial
                      whose result is reliable. Unless a defendant makes both showings, it cannot
                      be said that the conviction or death sentence resulted from a breakdown
                      in the adversary process that renders the result unreliable.*** When a
                      convicted defendant complains of the ineffectiveness of counsel's
                      assistance, the defendant must show that counsel's representation fell
                      below an objective standard of reasonableness.*** The proper measure
                      of attorney performance remains simply reasonableness under prevailing
                      professional norms. Counsel also has a duty to bring to bear such skill and
                      knowledge as will render the trial a reliable adversarial testing process.
                      See Powell v. Alabama, 287 U.S., at 68-69. *** Moreover, the purpose
                      of the effective assistance guarantee of the Sixth Amendment is ***simply
                      to ensure that criminal defendants receive a fair trial." Strickland v.
                      Washington, 466 U.S. 668, _ 1984)

                      Appellate Counsel was likewise ineffective for failure to raise on appeal

              clear errors in the proceedings below. Cirilo-Munoz v. United States 404 F.3d
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(Page 475 of Total)
                                          App
    - - - - - - - - - ------- - - - - ~ - -   1041
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         USCA Case #21-3072       Document #2077668          Filed: 10/01/2024    Page 476 of 477
                 case 1:98-cr-00329-RCL Document 1020 Filed 02/19/08 Page 52 of 53




              527 {1st Cir. 2005); United States v. Reinhart, 357 F.3d 521 {5th Cir. 2004);

              United States v. Skurdal, 341 F.3d 921 (9th Cir. 2003); Brown v. United

              States, 167 F.3d 109 (2nd Cir. 1999); Jackson v. Leonardo, 162 F.3d 81

              {2nd Cir. 1998); and Roe v. Delo, 160 F.3d 416 (8th Cir. 1998)

                      Mr. Coates further asserts that the government breached its obligation to

              the truth under Mooney v Holohan 294 U.S. 103 (1935); failed to disclose

              exculpatory information of Kyles v. Whitley, 115 S.Ct. 1555 (1995), Brady v.

              Marylandt 373 U.S. 83 (1963), United States v. Agurs, 427 U.S. 971 (1976),

              United States v. Bagley, 473 U.S. 667 {1985); Strickler v. Greene, 527 U.S.

     (        263, 119 S.Ct. 1936, 144 L.Ed.2d 286 (1999) and deliberately engaged in

               misconduct.

                                              CONCLUSION

                      For the foregoing reasons and for such other reasons as should appear

               from supplementation of the record, that this Court should grant a hearing,

              vacate Mr. Coates convictions on each and every count and vacate his sentence.

              Respectfully submitted,

                             I . s/
              Veronice A. Holt, Esq. 183756
              Wlll 3003 Van Ness, NW
              Washington, D.C. 20008
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(Page 476 of Total)
                                               App 1042
               USCA Case #21-3072         Document #2077668          Filed: 10/01/2024       Page 477 of 477
I                          Case 1:98•cr-00329-RCL Document 1020 Filed 02/19/08 Page 53 of 53
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         ,_.
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                                               CERTIFICATE OF SERVICE

                             I HEREBY CERTIFY that on February 19 , 2008, a copy of the foregoing
                        Motion Pursuant To 28 U.S.C. § 2255 To Vacate, Set Aside Or Correct Sentence
                        wash and delivered to the office of Assistant United States Attorney Robert D.
                        Okun, Chief, Special Proceedings Division, Room 10-836, 555 4th Street, N.W.,
                        Washington, D.C. 20530.


                                                           VERONICEA. HOLT.


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     (Page 477 of Total)
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                                                       App 1043
